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                               EXHIBIT 3
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                                                            Exhibit 3
                                                   New York City Computations


  Week                                                                             State Section 7: Section 7: Total Section 7
                                                                   Hourly Hours/
 Ending                            Name                                          Minimum Regular Half-time Overtime Back
                                                                    Rate Week
  Date                                                                            Wage   Rate Due     Due       Wages Due

 12/2/2018 Aaron D. Morles - Valet                                 $12.00   54.45   $   13.00   $ 54.45    $ 93.93    $   148.38
 12/9/2018 Aaron D. Morles - Valet                                 $12.00   59.07   $   13.00   $ 59.07    $ 123.93   $   183.00
12/16/2018 Aaron D. Morles - Valet                                 $12.00   60.67   $   13.00   $ 60.67    $ 134.33   $   195.00
12/23/2018 Aaron D. Morles - Valet                                 $12.00   61.13   $   13.00   $ 61.13    $ 137.37   $   198.50
12/30/2018 Aaron D. Morles - Valet                                 $12.00   42.55   $   13.00   $ 42.55    $ 16.58    $    59.13
  1/6/2019 Aaron D. Morles - Valet                                 $12.00   42.58   $   15.00   $ 127.75   $ 19.38    $   147.13
 1/13/2019 Aaron D. Morles - Valet                                 $12.00   62.08   $   15.00   $ 186.25   $ 165.63   $   351.88
 1/20/2019 Aaron D. Morles - Valet                                 $12.00   56.45   $   15.00   $ 169.35   $ 123.38   $   292.73
 1/27/2019 Aaron D. Morles - Valet                                 $12.00   54.05   $   15.00   $ 162.15   $ 105.38   $   267.53
  2/3/2019 Aaron D. Morles - Valet                                 $12.00   59.63   $   15.00   $ 178.90   $ 147.25   $   326.15
 2/10/2019 Aaron D. Morles - Valet                                 $12.00   57.02   $   15.00   $ 171.05   $ 127.63   $   298.68
 2/17/2019 Aaron D. Morles - Valet                                 $12.00   56.67   $   15.00   $ 170.00   $ 125.00   $   295.00
 2/24/2019 Aaron D. Morles - Valet                                 $12.00   56.02   $   15.00   $ 168.05   $ 120.13   $   288.18
  3/3/2019 Aaron D. Morles - Valet                                 $12.00   57.07   $   15.00   $ 171.20   $ 128.00   $   299.20
 3/10/2019 Aaron D. Morles - Valet                                 $12.00   58.98   $   15.00   $ 176.95   $ 142.38   $   319.33
 3/17/2019 Aaron D. Morles - Valet                                 $12.00   49.85   $   15.00   $ 149.55   $ 73.88    $   223.43
 3/24/2019 Aaron D. Morles - Valet                                 $12.00   58.37   $   15.00   $ 175.10   $ 137.75   $   312.85
 3/31/2019 Aaron D. Morles - Valet                                 $12.00   58.63   $   15.00   $ 175.90   $ 139.75   $   315.65
  4/7/2019 Aaron D. Morles - Valet                                 $12.00   57.90   $   15.00   $ 173.70   $ 134.25   $   307.95
 4/14/2019 Aaron D. Morles - Valet                                 $12.00   48.57   $   15.00   $ 145.70   $ 64.25    $   209.95
 4/21/2019 Aaron D. Morles - Valet                                 $12.00   44.10   $   15.00   $ 132.30   $ 30.75    $   163.05
 4/28/2019 Aaron D. Morles - Valet                                 $12.00   53.42   $   15.00   $ 160.25   $ 100.63   $   260.88
  5/5/2019 Aaron D. Morles - Valet                                 $12.00   50.72   $   15.00   $ 152.15   $ 80.38    $   232.53
 8/18/2019 Aaron D. Morles - Valet                                 $12.00   44.82   $   15.00   $ 134.45   $ 36.13    $   170.58
 8/25/2019 Aaron D. Morles - Valet                                 $12.00   44.08   $   15.00   $ 132.25   $ 30.63    $   162.88
  9/8/2019 Aaron D. Morles - Valet                                 $12.00   42.80   $   15.00   $ 128.40   $ 21.00    $   149.40
 9/15/2019 Aaron D. Morles - Valet                                 $12.00   46.40   $   15.00   $ 139.20   $ 48.00    $   187.20
10/22/2017 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   46.40   $   11.00              $ 57.60    $    57.60
  2/4/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   42.03   $   13.00              $ 18.30    $    18.30
 2/18/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   41.80   $   13.00              $ 16.20    $    16.20
 2/25/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   41.68   $   13.00              $ 15.15    $    15.15
  4/8/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   40.83   $   13.00              $   7.50   $     7.50
 4/15/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   41.27   $   13.00              $ 11.40    $    11.40
 4/22/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   42.45   $   13.00              $ 22.05    $    22.05
  5/6/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   42.08   $   13.00              $ 18.75    $    18.75
 5/13/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   40.92   $   13.00              $   8.25   $     8.25
 5/27/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   46.22   $   13.00              $ 55.95    $    55.95
  6/3/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   41.08   $   13.00              $   9.75   $     9.75
 6/10/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   45.45   $   13.00              $ 49.05    $    49.05
 6/24/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   43.83   $   13.00              $ 34.50    $    34.50
  7/1/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   44.17   $   13.00              $ 37.50    $    37.50
 7/15/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   41.37   $   13.00              $ 12.30    $    12.30
 7/29/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   40.55   $   13.00              $   4.95   $     4.95
  8/5/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   40.88   $   13.00              $   7.95   $     7.95
 8/19/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   41.13   $   13.00              $ 10.20    $    10.20
  9/9/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   41.62   $   13.00              $ 14.55    $    14.55
 9/16/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   40.20   $   13.00              $   1.80   $     1.80
 9/23/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   40.03   $   13.00              $   0.30   $     0.30
 10/7/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   40.38   $   13.00              $   3.45   $     3.45
10/21/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   40.02   $   13.00              $   0.15   $     0.15
 12/9/2018 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   40.05   $   13.00              $   0.45   $     0.45
 1/13/2019 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   40.88   $   15.00              $   7.95   $     7.95
 1/20/2019 Aaron Rodriguez- In Charge of Used Cars Inventory       $18.00   41.27   $   15.00              $ 11.40    $    11.40
 3/26/2017 Abel Estevez                                            $11.50   43.20   $   11.00              $ 18.40    $    18.40
  4/2/2017 Abel Estevez                                            $11.50   65.72   $   11.00              $ 147.87   $   147.87
  4/9/2017 Abel Estevez                                            $11.50   56.82   $   11.00              $ 96.70    $    96.70
 4/16/2017 Abel Estevez                                            $11.50   55.55   $   11.00              $ 89.41    $    89.41
 4/23/2017 Abel Estevez                                            $11.50   65.78   $   11.00              $ 148.25   $   148.25



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                                                Exhibit 3
                                       New York City Computations


  Week                                                                 State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
 Ending                         Name                                 Minimum Regular Half-time Overtime Back
                                                        Rate Week
  Date                                                                Wage   Rate Due     Due       Wages Due

 4/30/2017 Abel Estevez                                $11.50   57.43   $   11.00              $ 100.24   $   100.24
  5/7/2017 Abel Estevez                                $11.50   53.05   $   11.00              $ 75.04    $    75.04
 5/14/2017 Abel Estevez                                $11.50   50.63   $   11.00              $ 61.14    $    61.14
 5/21/2017 Abel Estevez                                $11.50   71.52   $   11.00              $ 181.22   $   181.22
  6/4/2017 Abel Estevez                                $11.50   58.42   $   11.00              $ 105.90   $   105.90
 6/11/2017 Abel Estevez                                $11.50   54.42   $   11.00              $ 82.90    $    82.90
 6/23/2019 Adriano De La Rosa                          $15.00   62.52   $   15.00              $ 168.88   $   168.88
 6/30/2019 Adriano De La Rosa                          $15.00   62.68   $   15.00              $ 170.13   $   170.13
  7/7/2019 Adriano De La Rosa                          $15.00   51.70   $   15.00              $ 87.75    $    87.75
 7/14/2019 Adriano De La Rosa                          $15.00   62.52   $   15.00              $ 168.88   $   168.88
 7/21/2019 Adriano De La Rosa                          $15.00   59.50   $   15.00              $ 146.25   $   146.25
 7/28/2019 Adriano De La Rosa                          $15.00   60.22   $   15.00              $ 151.63   $   151.63
  8/4/2019 Adriano De La Rosa                          $15.00   61.70   $   15.00              $ 162.75   $   162.75
 8/11/2019 Adriano De La Rosa                          $15.00   61.43   $   15.00              $ 160.75   $   160.75
 8/18/2019 Adriano De La Rosa                          $15.00   61.22   $   15.00              $ 159.13   $   159.13
 8/25/2019 Adriano De La Rosa                          $15.00   63.00   $   15.00              $ 172.50   $   172.50
  9/1/2019 Adriano De La Rosa                          $15.00   61.65   $   15.00              $ 162.38   $   162.38
  9/8/2019 Adriano De La Rosa                          $15.00   51.35   $   15.00              $ 85.13    $    85.13
 9/15/2019 Adriano De La Rosa                          $15.00   61.72   $   15.00              $ 162.88   $   162.88
 9/22/2019 Adriano De La Rosa                          $15.00   62.10   $   15.00              $ 165.75   $   165.75
 9/29/2019 Adriano De La Rosa                          $15.00   58.97   $   15.00              $ 142.25   $   142.25
 10/6/2019 Adriano De La Rosa                          $15.00   58.70   $   15.00              $ 140.25   $   140.25
10/13/2019 Adriano De La Rosa                          $15.00   58.60   $   15.00              $ 139.50   $   139.50
10/20/2019 Adriano De La Rosa                          $15.00   57.78   $   15.00              $ 133.38   $   133.38
10/27/2019 Adriano De La Rosa                          $15.00   59.07   $   15.00              $ 143.00   $   143.00
 11/3/2019 Adriano De La Rosa                          $15.00   58.33   $   15.00              $ 137.50   $   137.50
11/10/2019 Adriano De La Rosa                          $15.00   57.38   $   15.00              $ 130.38   $   130.38
11/17/2019 Adriano De La Rosa                          $15.00   58.12   $   15.00              $ 135.88   $   135.88
 2/26/2017 Adriel Jimenez                               $9.00   56.02   $   11.00   $ 112.03   $ 88.09    $   200.13
  3/5/2017 Adriel Jimenez                               $9.00   56.40   $   11.00   $ 112.80   $ 90.20    $   203.00
 3/12/2017 Adriel Jimenez                               $9.00   48.68   $   11.00   $ 97.37    $ 47.76    $   145.13
 3/26/2017 Adriel Jimenez                               $9.00   46.03   $   11.00   $ 92.07    $ 33.18    $   125.25
  4/2/2017 Adriel Jimenez                               $9.50   67.13   $   11.00   $ 100.70   $ 149.23   $   249.93
  4/9/2017 Adriel Jimenez                               $9.50   62.72   $   11.00   $ 94.08    $ 124.94   $   219.02
 4/16/2017 Adriel Jimenez                               $9.50   61.47   $   11.00   $ 92.20    $ 118.07   $   210.27
 4/23/2017 Adriel Jimenez                               $9.50   61.92   $   11.00   $ 92.88    $ 120.54   $   213.42
 4/30/2017 Adriel Jimenez                               $9.50   68.65   $   11.00   $ 102.98   $ 157.58   $   260.55
  2/5/2017 Akerodolu Oladapo                           $13.00   44.83   $   11.00              $ 31.42    $    31.42
 2/19/2017 Akerodolu Oladapo                           $13.00   41.63   $   11.00              $ 10.62    $    10.62
 2/26/2017 Akerodolu Oladapo                           $13.00   52.30   $   11.00              $ 79.95    $    79.95
  3/5/2017 Akerodolu Oladapo                           $13.00   55.85   $   11.00              $ 103.03   $   103.03
 3/12/2017 Akerodolu Oladapo                           $13.00   45.38   $   11.00              $ 34.99    $    34.99
 3/19/2017 Akerodolu Oladapo                           $13.00   44.12   $   11.00              $ 26.76    $    26.76
 3/26/2017 Akerodolu Oladapo                           $13.00   47.77   $   11.00              $ 50.48    $    50.48
  4/2/2017 Akerodolu Oladapo                           $13.00   56.40   $   11.00              $ 106.60   $   106.60
  4/9/2017 Akerodolu Oladapo                           $13.00   45.63   $   11.00              $ 36.62    $    36.62
 4/16/2017 Akerodolu Oladapo                           $13.00   56.88   $   11.00              $ 109.74   $   109.74
 4/23/2017 Akerodolu Oladapo                           $13.00   44.47   $   11.00              $ 29.03    $    29.03
 4/30/2017 Akerodolu Oladapo                           $13.00   55.97   $   11.00              $ 103.78   $   103.78
 5/14/2017 Akerodolu Oladapo                           $13.00   55.90   $   11.00              $ 103.35   $   103.35
 5/21/2017 Akerodolu Oladapo                           $13.00   57.97   $   11.00              $ 116.78   $   116.78
 5/28/2017 Akerodolu Oladapo                           $13.00   55.43   $   11.00              $ 100.32   $   100.32
  6/4/2017 Akerodolu Oladapo                           $13.00   45.70   $   11.00              $ 37.05    $    37.05
 6/18/2017 Akerodolu Oladapo                           $13.00   54.85   $   11.00              $ 96.53    $    96.53
 6/25/2017 Akerodolu Oladapo                           $13.00   54.68   $   11.00              $ 95.44    $    95.44
  7/2/2017 Akerodolu Oladapo                           $13.00   55.12   $   11.00              $ 98.26    $    98.26
 7/16/2017 Akerodolu Oladapo                           $13.00   49.00   $   11.00              $ 58.50    $    58.50
 7/23/2017 Akerodolu Oladapo                           $13.00   54.95   $   11.00              $ 97.18    $    97.18



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  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                        Name                                 Minimum Regular Half-time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

 7/30/2017 Akerodolu Oladapo                          $13.00   44.08   $   11.00        $ 26.54    $       26.54
  8/6/2017 Akerodolu Oladapo                          $13.00   45.25   $   11.00        $ 34.13    $       34.13
 8/13/2017 Akerodolu Oladapo                          $13.00   52.62   $   11.00        $ 82.01    $       82.01
 8/20/2017 Akerodolu Oladapo                          $13.00   51.40   $   11.00        $ 74.10    $       74.10
 8/27/2017 Akerodolu Oladapo                          $13.00   55.28   $   11.00        $ 99.34    $       99.34
  9/3/2017 Akerodolu Oladapo                          $13.00   48.92   $   11.00        $ 57.96    $       57.96
 9/10/2017 Akerodolu Oladapo                          $13.00   43.10   $   11.00        $ 20.15    $       20.15
 9/17/2017 Akerodolu Oladapo                          $13.00   55.57   $   11.00        $ 101.18   $      101.18
 9/24/2017 Akerodolu Oladapo                          $13.00   54.80   $   11.00        $ 96.20    $       96.20
 10/1/2017 Akerodolu Oladapo                          $13.00   56.18   $   11.00        $ 105.19   $      105.19
 10/8/2017 Akerodolu Oladapo                          $13.00   45.42   $   11.00        $ 35.21    $       35.21
10/22/2017 Akerodolu Oladapo                          $13.00   49.47   $   11.00        $ 61.53    $       61.53
10/29/2017 Akerodolu Oladapo                          $13.00   56.72   $   11.00        $ 108.66   $      108.66
 11/5/2017 Akerodolu Oladapo                          $13.00   56.70   $   11.00        $ 108.55   $      108.55
11/12/2017 Akerodolu Oladapo                          $13.00   46.83   $   11.00        $ 44.42    $       44.42
11/19/2017 Akerodolu Oladapo                          $13.00   56.92   $   11.00        $ 109.96   $      109.96
11/26/2017 Akerodolu Oladapo                          $13.00   46.20   $   11.00        $ 40.30    $       40.30
 12/3/2017 Akerodolu Oladapo                          $13.00   57.02   $   11.00        $ 110.61   $      110.61
12/10/2017 Akerodolu Oladapo                          $13.00   55.20   $   11.00        $ 98.80    $       98.80
12/17/2017 Akerodolu Oladapo                          $13.00   50.40   $   11.00        $ 67.60    $       67.60
12/24/2017 Akerodolu Oladapo                          $13.00   59.77   $   11.00        $ 128.48   $      128.48
12/31/2017 Akerodolu Oladapo                          $13.00   49.32   $   13.00        $ 60.56    $       60.56
 1/14/2018 Akerodolu Oladapo                          $13.00   54.53   $   13.00        $ 94.47    $       94.47
 1/21/2018 Akerodolu Oladapo                          $13.00   46.43   $   13.00        $ 41.82    $       41.82
 1/28/2018 Akerodolu Oladapo                          $13.00   56.95   $   13.00        $ 110.18   $      110.18
  2/4/2018 Akerodolu Oladapo                          $13.00   51.37   $   13.00        $ 73.88    $       73.88
 2/11/2018 Akerodolu Oladapo                          $13.00   41.45   $   13.00        $   9.43   $        9.43
 2/18/2018 Akerodolu Oladapo                          $13.00   55.45   $   13.00        $ 100.43   $      100.43
 2/25/2018 Akerodolu Oladapo                          $13.00   53.93   $   13.00        $ 90.57    $       90.57
  3/4/2018 Akerodolu Oladapo                          $13.00   48.17   $   13.00        $ 53.08    $       53.08
 3/25/2018 Akerodolu Oladapo                          $13.00   48.20   $   13.00        $ 53.30    $       53.30
  4/1/2018 Akerodolu Oladapo                          $13.00   59.13   $   13.00        $ 124.37   $      124.37
  4/8/2018 Akerodolu Oladapo                          $13.00   46.97   $   13.00        $ 45.28    $       45.28
 4/15/2018 Akerodolu Oladapo                          $13.00   58.17   $   13.00        $ 118.08   $      118.08
 4/22/2018 Akerodolu Oladapo                          $13.00   58.33   $   13.00        $ 119.17   $      119.17
 4/29/2018 Akerodolu Oladapo                          $13.00   59.67   $   13.00        $ 127.83   $      127.83
  5/6/2018 Akerodolu Oladapo                          $13.00   58.13   $   13.00        $ 117.87   $      117.87
 5/13/2018 Akerodolu Oladapo                          $13.00   54.93   $   13.00        $ 97.07    $       97.07
 5/20/2018 Akerodolu Oladapo                          $13.00   48.82   $   13.00        $ 57.31    $       57.31
 5/27/2018 Akerodolu Oladapo                          $13.00   48.58   $   13.00        $ 55.79    $       55.79
  6/3/2018 Akerodolu Oladapo                          $13.00   48.48   $   13.00        $ 55.14    $       55.14
 6/10/2018 Akerodolu Oladapo                          $13.00   53.28   $   13.00        $ 86.34    $       86.34
 6/17/2018 Akerodolu Oladapo                          $13.00   58.57   $   13.00        $ 120.68   $      120.68
 6/24/2018 Akerodolu Oladapo                          $13.00   56.58   $   13.00        $ 107.79   $      107.79
  7/1/2018 Akerodolu Oladapo                          $13.00   49.93   $   13.00        $ 64.57    $       64.57
  7/8/2018 Akerodolu Oladapo                          $13.00   40.58   $   13.00        $   3.79   $        3.79
 7/15/2018 Akerodolu Oladapo                          $13.00   56.03   $   13.00        $ 104.22   $      104.22
 7/22/2018 Akerodolu Oladapo                          $13.00   48.65   $   13.00        $ 56.23    $       56.23
 7/29/2018 Akerodolu Oladapo                          $13.00   55.50   $   13.00        $ 100.75   $      100.75
  8/5/2018 Akerodolu Oladapo                          $13.00   55.12   $   13.00        $ 98.26    $       98.26
 8/12/2018 Akerodolu Oladapo                          $13.00   44.97   $   13.00        $ 32.28    $       32.28
 8/19/2018 Akerodolu Oladapo                          $13.00   47.38   $   13.00        $ 47.99    $       47.99
 8/26/2018 Akerodolu Oladapo                          $13.00   56.60   $   13.00        $ 107.90   $      107.90
  9/2/2018 Akerodolu Oladapo                          $13.00   56.55   $   13.00        $ 107.58   $      107.58
  9/9/2018 Akerodolu Oladapo                          $13.00   48.97   $   13.00        $ 58.28    $       58.28
 9/16/2018 Akerodolu Oladapo                          $13.00   54.63   $   13.00        $ 95.12    $       95.12
 9/23/2018 Akerodolu Oladapo                          $13.00   47.83   $   13.00        $ 50.92    $       50.92
 9/30/2018 Akerodolu Oladapo                          $13.00   58.33   $   13.00        $ 119.17   $      119.17



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                                                             Exhibit 3
                                                    New York City Computations


  Week                                                                              State Section 7: Section 7: Total Section 7
                                                                    Hourly Hours/
 Ending                           Name                                            Minimum Regular Half-time Overtime Back
                                                                     Rate Week
  Date                                                                             Wage   Rate Due     Due       Wages Due

10/14/2018 Akerodolu Oladapo                                        $13.00   53.38   $   13.00              $ 86.99    $    86.99
10/21/2018 Akerodolu Oladapo                                        $13.00   50.93   $   13.00              $ 71.07    $    71.07
10/28/2018 Akerodolu Oladapo                                        $13.00   56.83   $   13.00              $ 109.42   $   109.42
 11/4/2018 Akerodolu Oladapo                                        $13.00   52.32   $   13.00              $ 80.06    $    80.06
11/11/2018 Akerodolu Oladapo                                        $13.00   52.57   $   13.00              $ 81.68    $    81.68
11/18/2018 Akerodolu Oladapo                                        $13.00   46.65   $   13.00              $ 43.23    $    43.23
 11/4/2018 Alejandro Adames - Car Washer/Detailer                   $16.50   47.83   $   13.00              $ 64.63    $    64.63
11/11/2018 Alejandro Adames - Car Washer/Detailer                   $16.50   54.18   $   13.00              $ 117.01   $   117.01
11/18/2018 Alejandro Adames - Car Washer/Detailer                   $16.50   53.75   $   13.00              $ 113.44   $   113.44
11/25/2018 Alejandro Adames - Car Washer/Detailer                   $16.50   44.27   $   13.00              $ 35.20    $    35.20
 12/1/2019 Alejandro Jesus Cittadino Hernandez                      $15.00   48.00   $   15.00              $ 60.00    $    60.00
 12/8/2019 Alejandro Jesus Cittadino Hernandez                      $15.00   59.80   $   15.00              $ 148.50   $   148.50
12/15/2019 Alejandro Jesus Cittadino Hernandez                      $15.00   66.10   $   15.00              $ 195.75   $   195.75
12/22/2019 Alejandro Jesus Cittadino Hernandez                      $15.00   67.97   $   15.00              $ 209.75   $   209.75
12/29/2019 Alejandro Jesus Cittadino Hernandez                      $15.00   50.33   $   15.00              $ 77.50    $    77.50
  1/5/2020 Alejandro Jesus Cittadino Hernandez                      $15.00   50.23   $   15.00              $ 76.75    $    76.75
 1/12/2020 Alejandro Jesus Cittadino Hernandez                      $15.00   65.55   $   15.00              $ 191.63   $   191.63
 1/19/2020 Alejandro Jesus Cittadino Hernandez                      $15.00   46.23   $   15.00              $ 46.75    $    46.75
 1/26/2020 Alejandro Jesus Cittadino Hernandez                      $15.00   53.33   $   15.00              $ 100.00   $   100.00
 10/8/2017 Alexander Gutierrez - Valet                              $16.00   49.92   $   11.00              $ 79.33    $    79.33
10/22/2017 Alexander Gutierrez - Valet                              $16.00   47.22   $   11.00              $ 57.73    $    57.73
12/23/2018 Alexander Jemmil Aponte Sierra                           $12.00   50.13   $   13.00   $ 50.13    $ 65.87    $   116.00
 1/13/2019 Alexander Jemmil Aponte Sierra                           $12.00   54.98   $   15.00   $ 164.95   $ 112.38   $   277.33
 1/20/2019 Alexander Jemmil Aponte Sierra                           $12.00   53.20   $   15.00   $ 159.60   $ 99.00    $   258.60
 1/27/2019 Alexander Jemmil Aponte Sierra                           $12.00   55.25   $   15.00   $ 165.75   $ 114.38   $   280.13
  2/3/2019 Alexander Jemmil Aponte Sierra                           $12.00   57.23   $   15.00   $ 171.70   $ 129.25   $   300.95
 2/10/2019 Alexander Jemmil Aponte Sierra                           $12.00   58.77   $   15.00   $ 176.30   $ 140.75   $   317.05
 2/17/2019 Alexander Jemmil Aponte Sierra                           $12.00   52.70   $   15.00   $ 158.10   $ 95.25    $   253.35
 2/24/2019 Alexander Jemmil Aponte Sierra                           $12.00   64.23   $   15.00   $ 192.70   $ 181.75   $   374.45
  3/3/2019 Alexander Jemmil Aponte Sierra                           $12.00   62.05   $   15.00   $ 186.15   $ 165.38   $   351.53
 3/10/2019 Alexander Jemmil Aponte Sierra                           $12.00   64.08   $   15.00   $ 192.25   $ 180.63   $   372.88
 3/17/2019 Alexander Jemmil Aponte Sierra                           $12.00   62.13   $   15.00   $ 186.40   $ 166.00   $   352.40
 3/24/2019 Alexander Jemmil Aponte Sierra                           $12.00   64.73   $   15.00   $ 194.20   $ 185.50   $   379.70
 3/31/2019 Alexander Jemmil Aponte Sierra                           $12.00   66.37   $   15.00   $ 199.10   $ 197.75   $   396.85
  4/7/2019 Alexander Jemmil Aponte Sierra                           $12.00   55.13   $   15.00   $ 165.40   $ 113.50   $   278.90
 4/14/2019 Alexander Jemmil Aponte Sierra                           $12.00   64.58   $   15.00   $ 193.75   $ 184.38   $   378.13
 4/21/2019 Alexander Jemmil Aponte Sierra                           $12.00   62.33   $   15.00   $ 187.00   $ 167.50   $   354.50
 5/12/2019 Alexander Jemmil Aponte Sierra                           $12.00   53.10   $   15.00   $ 159.30   $ 98.25    $   257.55
 5/19/2019 Alexander Jemmil Aponte Sierra                           $12.00   64.93   $   15.00   $ 194.80   $ 187.00   $   381.80
 5/26/2019 Alexander Jemmil Aponte Sierra                           $12.00   64.82   $   15.00   $ 194.45   $ 186.13   $   380.58
  6/2/2019 Alexander Jemmil Aponte Sierra                           $12.00   54.37   $   15.00   $ 163.10   $ 107.75   $   270.85
  6/9/2019 Alexander Jemmil Aponte Sierra                           $12.00   65.00   $   15.00   $ 195.00   $ 187.50   $   382.50
 6/16/2019 Alexander Jemmil Aponte Sierra                           $12.00   64.57   $   15.00   $ 193.70   $ 184.25   $   377.95
 6/23/2019 Alexander Jemmil Aponte Sierra                           $12.00   64.73   $   15.00   $ 194.20   $ 185.50   $   379.70
 6/30/2019 Alexander Jemmil Aponte Sierra                           $12.00   65.07   $   15.00   $ 195.20   $ 188.00   $   383.20
  7/7/2019 Alexander Jemmil Aponte Sierra                           $15.00   53.42   $   15.00              $ 100.63   $   100.63
 7/14/2019 Alexander Jemmil Aponte Sierra                           $15.00   65.57   $   15.00              $ 191.75   $   191.75
 7/21/2019 Alexander Jemmil Aponte Sierra                           $15.00   65.43   $   15.00              $ 190.75   $   190.75
 7/28/2019 Alexander Jemmil Aponte Sierra                           $15.00   65.28   $   15.00              $ 189.63   $   189.63
  8/4/2019 Alexander Jemmil Aponte Sierra                           $15.00   65.25   $   15.00              $ 189.38   $   189.38
 8/11/2019 Alexander Jemmil Aponte Sierra                           $15.00   65.25   $   15.00              $ 189.38   $   189.38
 8/18/2019 Alexander Jemmil Aponte Sierra                           $15.00   65.05   $   15.00              $ 187.88   $   187.88
 8/25/2019 Alexander Jemmil Aponte Sierra                           $15.00   64.75   $   15.00              $ 185.63   $   185.63
  9/1/2019 Alexander Jemmil Aponte Sierra                           $15.00   65.33   $   15.00              $ 190.00   $   190.00
  9/8/2019 Alexander Jemmil Aponte Sierra                           $15.00   60.68   $   15.00              $ 155.13   $   155.13
 9/15/2019 Alexander Jemmil Aponte Sierra                           $15.00   64.73   $   15.00              $ 185.50   $   185.50
 9/22/2019 Alexander Jemmil Aponte Sierra                           $15.00   65.17   $   15.00              $ 188.75   $   188.75
 9/29/2019 Alexander Jemmil Aponte Sierra                           $15.00   65.05   $   15.00              $ 187.88   $   187.88



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  Week                                                                      State Section 7: Section 7: Total Section 7
                                                            Hourly Hours/
 Ending                           Name                                    Minimum Regular Half-time Overtime Back
                                                             Rate Week
  Date                                                                     Wage   Rate Due     Due       Wages Due

 10/6/2019 Alexander Jemmil Aponte Sierra                   $15.00   65.07   $   15.00                $ 188.00   $   188.00
10/13/2019 Alexander Jemmil Aponte Sierra                   $15.00   65.68   $   15.00                $ 192.63   $   192.63
10/20/2019 Alexander Jemmil Aponte Sierra                   $15.00   65.65   $   15.00                $ 192.38   $   192.38
10/27/2019 Alexander Jemmil Aponte Sierra                   $15.00   55.95   $   15.00                $ 119.63   $   119.63
 11/3/2019 Alexander Jemmil Aponte Sierra                   $15.00   65.57   $   15.00                $ 191.75   $   191.75
11/10/2019 Alexander Jemmil Aponte Sierra                   $15.00   65.97   $   15.00                $ 194.75   $   194.75
11/17/2019 Alexander Jemmil Aponte Sierra                   $15.00   56.60   $   15.00                $ 124.50   $   124.50
11/24/2019 Alexander Jemmil Aponte Sierra                   $15.00   56.05   $   15.00                $ 120.38   $   120.38
 12/8/2019 Alexander Jemmil Aponte Sierra                   $15.00   55.42   $   15.00                $ 115.63   $   115.63
12/15/2019 Alexander Jemmil Aponte Sierra                   $15.00   40.05   $   15.00                $   0.37   $     0.37
12/22/2019 Alexander Jemmil Aponte Sierra                   $15.00   40.13   $   15.00                $   1.00   $     1.00
12/29/2019 Alexander Jemmil Aponte Sierra                   $15.00   40.03   $   15.00                $   0.25   $     0.25
  1/5/2020 Alexander Jemmil Aponte Sierra                   $15.00   41.43   $   15.00                $ 10.75    $    10.75
 1/12/2020 Alexander Jemmil Aponte Sierra                   $15.00   60.25   $   15.00                $ 151.88   $   151.88
 1/19/2020 Alexander Jemmil Aponte Sierra                   $15.00   46.35   $   15.00                $ 47.63    $    47.63
 1/26/2020 Alexander Jemmil Aponte Sierra                   $15.00   44.22   $   15.00                $ 31.63    $    31.63
  9/8/2019 Alexander Santos                                 $16.50   51.00   $   15.00                $ 90.75    $    90.75
 9/15/2019 Alexander Santos                                 $16.50   48.05   $   15.00                $ 66.41    $    66.41
 9/22/2019 Alexander Santos                                 $16.50   48.27   $   15.00                $ 68.20    $    68.20
 9/29/2019 Alexander Santos                                 $16.50   57.02   $   15.00                $ 140.39   $   140.39
 10/6/2019 Alexander Santos                                 $16.50   46.88   $   15.00                $ 56.79    $    56.79
 8/19/2018 Alexander Simo                                   $10.00   44.57   $   13.00   $   133.70   $ 29.68    $   163.38
 8/26/2018 Alexander Simo                                   $10.00   44.63   $   13.00   $   133.90   $ 30.12    $   164.02
 9/16/2018 Alexander Simo                                   $10.00   51.75   $   13.00   $   155.25   $ 76.38    $   231.63
 9/30/2018 Alexander Simo                                   $10.00   42.35   $   13.00   $   127.05   $ 15.28    $   142.33
 10/7/2018 Alexander Simo                                   $10.00   42.12   $   13.00   $   126.35   $ 13.76    $   140.11
10/21/2018 Alexander Simo                                   $10.00   45.48   $   13.00   $   136.45   $ 35.64    $   172.09
 11/4/2018 Alexander Simo                                   $10.00   40.22   $   13.00   $   120.65   $   1.41   $   122.06
11/11/2018 Alexander Simo                                   $10.00   44.10   $   13.00   $   132.30   $ 26.65    $   158.95
12/23/2018 Alexander Simo                                   $10.00   44.87   $   13.00   $   134.60   $ 31.63    $   166.23
 1/13/2019 Alexander Simo                                   $10.00   50.32   $   15.00   $   251.58   $ 77.38    $   328.96
 1/20/2019 Alexander Simo                                   $10.00   51.52   $   15.00   $   257.58   $ 86.38    $   343.96
  2/3/2019 Alexander Simo                                   $10.00   46.63   $   15.00   $   233.17   $ 49.75    $   282.92
 6/30/2019 Alexander Simo                                   $16.50   40.42   $   15.00                $   3.44   $     3.44
 7/14/2019 Alexander Simo                                   $16.50   40.40   $   15.00                $   3.30   $     3.30
  2/5/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
 2/12/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
 2/19/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
 2/26/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
  3/5/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
 3/12/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
 3/19/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
 3/26/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
  4/2/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
  4/9/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
 4/16/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
 4/23/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
 4/30/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
  5/7/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
 5/14/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
 5/21/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
 5/28/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
  6/4/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
 6/11/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
 6/18/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
 6/25/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
  7/2/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00
  7/9/2017 Alimon Jahongi                                   $11.00   60.00   $   11.00                $ 110.00   $   110.00



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                                            Exhibit 3
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  Week                                                             State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
 Ending                     Name                                 Minimum Regular Half-time Overtime Back
                                                    Rate Week
  Date                                                            Wage   Rate Due     Due       Wages Due

 7/16/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
 7/23/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
 7/30/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
  8/6/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
 8/13/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
 8/20/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
 8/27/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
  9/3/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
 9/10/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
 9/17/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
 9/24/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
 10/1/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
 10/8/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
10/15/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
10/22/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
10/29/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
 11/5/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
11/12/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
11/19/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
11/26/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
 12/3/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
12/10/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
12/17/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
12/24/2017 Alimon Jahongi                          $11.00   60.00   $   11.00        $   110.00   $    110.00
12/31/2017 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
  1/7/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 1/14/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 1/21/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 1/28/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
  2/4/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 2/11/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 2/18/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 2/25/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
  3/4/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 3/11/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 3/18/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 3/25/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
  4/1/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
  4/8/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 4/15/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 4/22/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 4/29/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
  5/6/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 5/13/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 5/20/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 5/27/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
  6/3/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 6/10/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 6/17/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 6/24/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
  7/1/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
  7/8/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 7/15/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 7/22/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 7/29/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
  8/5/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 8/12/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 8/19/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00



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                                            Exhibit 3
                                   New York City Computations


  Week                                                             State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
 Ending                     Name                                 Minimum Regular Half-time Overtime Back
                                                    Rate Week
  Date                                                            Wage   Rate Due     Due       Wages Due

 8/26/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
  9/2/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
  9/9/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 9/16/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 9/23/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 9/30/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 10/7/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
10/14/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
10/21/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
10/28/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 11/4/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
11/11/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
11/18/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
11/25/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 12/2/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
 12/9/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
12/16/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
12/23/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
12/30/2018 Alimon Jahongi                          $13.00   60.00   $   13.00        $   130.00   $    130.00
  1/6/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 1/13/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 1/20/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 1/27/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
  2/3/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 2/10/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 2/17/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 2/24/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
  3/3/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 3/10/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 3/17/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 3/24/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 3/31/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
  4/7/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 4/14/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 4/21/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 4/28/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
  5/5/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 5/12/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 5/19/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 5/26/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
  6/2/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
  6/9/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 6/16/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 6/23/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 6/30/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
  7/7/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 7/14/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 7/21/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 7/28/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
  8/4/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 8/11/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 8/18/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 8/25/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
  9/1/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
  9/8/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 9/15/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 9/22/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00
 9/29/2019 Alimon Jahongi                          $15.00   60.00   $   15.00        $   150.00   $    150.00



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  Week                                                                            State Section 7: Section 7: Total Section 7
                                                                  Hourly Hours/
 Ending                           Name                                          Minimum Regular Half-time Overtime Back
                                                                   Rate Week
  Date                                                                           Wage   Rate Due     Due       Wages Due

 10/6/2019 Alimon Jahongi                                         $15.00   60.00   $   15.00                $ 150.00   $   150.00
10/13/2019 Alimon Jahongi                                         $15.00   60.00   $   15.00                $ 150.00   $   150.00
10/20/2019 Alimon Jahongi                                         $15.00   60.00   $   15.00                $ 150.00   $   150.00
10/27/2019 Alimon Jahongi                                         $15.00   60.00   $   15.00                $ 150.00   $   150.00
 11/3/2019 Alimon Jahongi                                         $15.00   60.00   $   15.00                $ 150.00   $   150.00
11/10/2019 Alimon Jahongi                                         $15.00   60.00   $   15.00                $ 150.00   $   150.00
11/17/2019 Alimon Jahongi                                         $15.00   60.00   $   15.00                $ 150.00   $   150.00
11/24/2019 Alimon Jahongi                                         $15.00   60.00   $   15.00                $ 150.00   $   150.00
 12/1/2019 Alimon Jahongi                                         $15.00   60.00   $   15.00                $ 150.00   $   150.00
 12/8/2019 Alimon Jahongi                                         $15.00   60.00   $   15.00                $ 150.00   $   150.00
12/15/2019 Alimon Jahongi                                         $15.00   60.00   $   15.00                $ 150.00   $   150.00
12/22/2019 Alimon Jahongi                                         $15.00   60.00   $   15.00                $ 150.00   $   150.00
12/29/2019 Alimon Jahongi                                         $15.00   60.00   $   15.00                $ 150.00   $   150.00
  1/5/2020 Alimon Jahongi                                         $15.00   60.00   $   15.00                $ 150.00   $   150.00
 1/12/2020 Alimon Jahongi                                         $15.00   60.00   $   15.00                $ 150.00   $   150.00
 1/19/2020 Alimon Jahongi                                         $15.00   60.00   $   15.00                $ 150.00   $   150.00
 1/26/2020 Alimon Jahongi                                         $15.00   60.00   $   15.00                $ 150.00   $   150.00
 10/6/2019 Altagracia Encarnacion - Porter @ Jeep Showroom        $15.00   57.00   $   15.00                $ 127.50   $   127.50
10/13/2019 Altagracia Encarnacion - Porter @ Jeep Showroom        $15.00   58.00   $   15.00                $ 135.00   $   135.00
10/20/2019 Altagracia Encarnacion - Porter @ Jeep Showroom        $15.00   58.67   $   15.00                $ 140.00   $   140.00
10/27/2019 Altagracia Encarnacion - Porter @ Jeep Showroom        $15.00   58.90   $   15.00                $ 141.75   $   141.75
 11/3/2019 Altagracia Encarnacion - Porter @ Jeep Showroom        $15.00   56.33   $   15.00                $ 122.50   $   122.50
11/10/2019 Altagracia Encarnacion - Porter @ Jeep Showroom        $15.00   64.18   $   15.00                $ 181.38   $   181.38
11/17/2019 Altagracia Encarnacion - Porter @ Jeep Showroom        $15.00   71.95   $   15.00                $ 239.63   $   239.63
11/24/2019 Altagracia Encarnacion - Porter @ Jeep Showroom        $15.00   73.22   $   15.00                $ 249.13   $   249.13
 12/1/2019 Altagracia Encarnacion - Porter @ Jeep Showroom        $15.00   57.53   $   15.00                $ 131.50   $   131.50
 12/8/2019 Altagracia Encarnacion - Porter @ Jeep Showroom        $15.00   48.35   $   15.00                $ 62.63    $    62.63
12/15/2019 Altagracia Encarnacion - Porter @ Jeep Showroom        $15.00   54.28   $   15.00                $ 107.13   $   107.13
12/22/2019 Altagracia Encarnacion - Porter @ Jeep Showroom        $15.00   44.12   $   15.00                $ 30.88    $    30.88
 2/25/2018 Amadeo Hernandez-0041                                   $9.00   51.05   $   13.00   $   204.20   $ 71.83    $   276.03
  3/4/2018 Amadeo Hernandez-0041                                   $9.00   52.45   $   13.00   $   209.80   $ 80.93    $   290.73
 3/25/2018 Amadeo Hernandez-0041                                   $9.00   47.75   $   13.00   $   191.00   $ 50.38    $   241.38
  4/1/2018 Amadeo Hernandez-0041                                   $9.00   50.53   $   13.00   $   202.13   $ 68.47    $   270.60
  4/8/2018 Amadeo Hernandez-0041                                   $9.00   55.42   $   13.00   $   221.67   $ 100.21   $   321.88
 4/15/2018 Amadeo Hernandez-0041                                   $9.00   46.92   $   13.00   $   187.67   $ 44.96    $   232.63
 4/22/2018 Amadeo Hernandez-0041                                   $9.00   59.85   $   13.00   $   239.40   $ 129.03   $   368.43
 4/29/2018 Amadeo Hernandez-0041                                   $9.00   54.75   $   13.00   $   219.00   $ 95.88    $   314.88
  5/6/2018 Amadeo Hernandez-0041                                   $9.00   56.38   $   13.00   $   225.53   $ 106.49   $   332.03
 5/13/2018 Amadeo Hernandez-0041                                   $9.00   46.45   $   13.00   $   185.80   $ 41.93    $   227.73
 5/20/2018 Amadeo Hernandez-0041                                   $9.00   51.95   $   13.00   $   207.80   $ 77.68    $   285.48
 5/27/2018 Amadeo Hernandez-0041                                   $9.00   52.43   $   13.00   $   209.73   $ 80.82    $   290.55
  6/3/2018 Amadeo Hernandez-0041                                   $9.00   52.85   $   13.00   $   211.40   $ 83.53    $   294.93
 6/10/2018 Amadeo Hernandez-0041                                   $9.00   53.28   $   13.00   $   213.13   $ 86.34    $   299.48
 6/17/2018 Amadeo Hernandez-0041                                   $9.00   60.83   $   13.00   $   243.33   $ 135.42   $   378.75
 6/24/2018 Amadeo Hernandez-0041                                   $9.00   61.55   $   13.00   $   246.20   $ 140.08   $   386.28
  7/1/2018 Amadeo Hernandez-0041                                   $9.00   43.37   $   13.00   $   173.47   $ 21.88    $   195.35
  7/8/2018 Amadeo Hernandez-0041                                   $9.00   41.45   $   13.00   $   165.80   $   9.43   $   175.23
 7/15/2018 Amadeo Hernandez-0041                                   $9.00   60.75   $   13.00   $   243.00   $ 134.88   $   377.88
 7/22/2018 Amadeo Hernandez-0041                                   $9.00   44.37   $   13.00   $   177.47   $ 28.38    $   205.85
 7/29/2018 Amadeo Hernandez-0041                                   $9.00   66.55   $   13.00   $   266.20   $ 172.58   $   438.78
  8/5/2018 Amadeo Hernandez-0041                                   $9.00   59.92   $   13.00   $   239.67   $ 129.46   $   369.13
 8/12/2018 Amadeo Hernandez-0041                                   $9.00   64.58   $   13.00   $   258.33   $ 159.79   $   418.13
 8/19/2018 Amadeo Hernandez-0041                                   $9.00   54.05   $   13.00   $   216.20   $ 91.33    $   307.53
 8/26/2018 Amadeo Hernandez-0041                                   $9.00   48.65   $   13.00   $   194.60   $ 56.23    $   250.83
  9/2/2018 Amadeo Hernandez-0041                                   $9.00   54.08   $   13.00   $   216.33   $ 91.54    $   307.88
  9/9/2018 Amadeo Hernandez-0041                                  $10.50   43.23   $   13.00   $   108.08   $ 21.02    $   129.10
 9/16/2018 Amadeo Hernandez-0041                                  $10.50   60.82   $   13.00   $   152.04   $ 135.31   $   287.35
 9/23/2018 Amadeo Hernandez-0041                                  $10.50   49.00   $   13.00   $   122.50   $ 58.50    $   181.00



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  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                        Name                                 Minimum Regular Half-time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

10/14/2018 Amadeo Hernandez-0041                      $10.50   47.27   $   13.00   $ 118.17     $ 47.23    $   165.40
10/21/2018 Amadeo Hernandez-0041                      $10.50   57.00   $   13.00   $ 142.50     $ 110.50   $   253.00
10/28/2018 Amadeo Hernandez-0041                      $10.50   45.38   $   13.00   $ 113.46     $ 34.99    $   148.45
 11/4/2018 Amadeo Hernandez-0041                      $10.50   40.62   $   13.00   $ 101.54     $   4.01   $   105.55
11/11/2018 Amadeo Hernandez-0041                      $10.50   47.57   $   13.00   $ 118.92     $ 49.18    $   168.10
11/18/2018 Amadeo Hernandez-0041                      $10.50   45.28   $   13.00   $ 113.21     $ 34.34    $   147.55
 12/2/2018 Amadeo Hernandez-0041                      $10.50   53.70   $   13.00   $ 134.25     $ 89.05    $   223.30
 12/9/2018 Amadeo Hernandez-0041                      $10.50   56.88   $   13.00   $ 142.21     $ 109.74   $   251.95
12/16/2018 Amadeo Hernandez-0041                      $10.50   49.63   $   13.00   $ 124.08     $ 62.62    $   186.70
12/23/2018 Amadeo Hernandez-0041                      $10.50   42.75   $   13.00   $ 106.88     $ 17.88    $   124.75
 4/23/2017 Anabel Felix                               $10.00   42.18   $   11.00   $ 42.18      $ 12.01    $    54.19
 4/30/2017 Anabel Felix                               $10.00   40.42   $   11.00   $ 40.42      $   2.29   $    42.71
 6/10/2018 Anass Sbiyyaa                              $13.00   45.47   $   13.00                $ 35.53    $    35.53
 6/17/2018 Anass Sbiyyaa                              $10.00   50.92   $   13.00   $   152.75   $ 70.96    $   223.71
 6/24/2018 Anass Sbiyyaa                              $10.00   51.05   $   13.00   $   153.15   $ 71.83    $   224.98
  7/1/2018 Anass Sbiyyaa                              $10.00   54.78   $   13.00   $   164.35   $ 96.09    $   260.44
  7/8/2018 Anass Sbiyyaa                              $10.00   41.33   $   13.00   $   124.00   $   8.67   $   132.67
 7/15/2018 Anderson Bonifacio                         $10.00   44.00   $   13.00   $   132.00   $ 26.00    $   158.00
 7/29/2018 Anderson Bonifacio                         $10.00   41.73   $   13.00   $   125.20   $ 11.27    $   136.47
10/14/2018 Andretti Pimentel                          $10.00   49.18   $   13.00   $   147.55   $ 59.69    $   207.24
  7/7/2019 Angel Paulino                              $15.00   53.92   $   15.00                $ 104.38   $   104.38
 7/14/2019 Angel Paulino                              $15.00   68.53   $   15.00                $ 214.00   $   214.00
 7/21/2019 Angel Paulino                              $15.00   71.87   $   15.00                $ 239.00   $   239.00
 7/28/2019 Angel Paulino                              $15.00   72.28   $   15.00                $ 242.13   $   242.13
  8/4/2019 Angel Paulino                              $15.00   75.52   $   15.00                $ 266.38   $   266.38
 8/11/2019 Angel Paulino                              $15.00   76.73   $   15.00                $ 275.50   $   275.50
 8/18/2019 Angel Paulino                              $15.00   76.23   $   15.00                $ 271.75   $   271.75
 8/25/2019 Angel Paulino                              $15.00   78.42   $   15.00                $ 288.13   $   288.13
  9/1/2019 Angel Paulino                              $15.00   60.03   $   15.00                $ 150.25   $   150.25
  9/8/2019 Angel Paulino                              $15.00   56.18   $   15.00                $ 121.38   $   121.38
 9/15/2019 Angel Paulino                              $15.00   68.67   $   15.00                $ 215.00   $   215.00
 9/22/2019 Angel Paulino                              $15.00   71.93   $   15.00                $ 239.50   $   239.50
 9/29/2019 Angel Paulino                              $15.00   69.95   $   15.00                $ 224.63   $   224.63
10/13/2019 Angel Paulino                              $15.00   72.07   $   15.00                $ 240.50   $   240.50
10/20/2019 Angel Paulino                              $15.00   70.98   $   15.00                $ 232.38   $   232.38
10/27/2019 Angel Paulino                              $15.00   71.72   $   15.00                $ 237.88   $   237.88
 11/3/2019 Angel Paulino                              $15.00   75.10   $   15.00                $ 263.25   $   263.25
11/10/2019 Angel Paulino                              $15.00   72.35   $   15.00                $ 242.63   $   242.63
11/17/2019 Angel Paulino                              $15.00   67.90   $   15.00                $ 209.25   $   209.25
11/24/2019 Angel Paulino                              $15.00   68.25   $   15.00                $ 211.88   $   211.88
 12/1/2019 Angel Paulino                              $15.00   57.75   $   15.00                $ 133.13   $   133.13
 12/8/2019 Angel Paulino                              $15.00   44.93   $   15.00                $ 37.00    $    37.00
12/15/2019 Angel Paulino                              $15.00   69.55   $   15.00                $ 221.63   $   221.63
12/22/2019 Angel Paulino                              $15.00   72.72   $   15.00                $ 245.38   $   245.38
12/29/2019 Angel Paulino                              $15.00   46.88   $   15.00                $ 51.62    $    51.62
 1/19/2020 Angel Paulino                              $15.00   46.28   $   15.00                $ 47.13    $    47.13
 1/26/2020 Angel Paulino                              $15.00   45.45   $   15.00                $ 40.88    $    40.88
 9/24/2017 Angel R. Paulino                           $12.50   60.35   $   11.00                $ 127.19   $   127.19
 10/1/2017 Angel R. Paulino                           $12.50   73.32   $   11.00                $ 208.23   $   208.23
 10/8/2017 Angel R. Paulino                           $11.50   63.67   $   11.00                $ 136.08   $   136.08
10/15/2017 Angel R. Paulino                           $12.50   68.33   $   11.00                $ 177.08   $   177.08
10/22/2017 Angel R. Paulino                           $12.50   75.68   $   11.00                $ 223.02   $   223.02
10/29/2017 Angel R. Paulino                           $12.50   62.62   $   11.00                $ 141.35   $   141.35
 11/5/2017 Angel R. Paulino                           $12.50   75.00   $   11.00                $ 218.75   $   218.75
11/12/2017 Angel R. Paulino                           $12.50   73.95   $   11.00                $ 212.19   $   212.19
11/19/2017 Angel R. Paulino                           $12.50   61.58   $   11.00                $ 134.90   $   134.90
11/26/2017 Angel R. Paulino                           $12.50   58.50   $   11.00                $ 115.63   $   115.63
 12/3/2017 Angel R. Paulino                           $12.50   71.85   $   11.00                $ 199.06   $   199.06



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  Week                                                            State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
 Ending                       Name                              Minimum Regular Half-time Overtime Back
                                                   Rate Week
  Date                                                           Wage   Rate Due     Due       Wages Due

12/10/2017 Angel R. Paulino                          $12.50   61.25   $   11.00              $ 132.81   $   132.81
12/17/2017 Angel R. Paulino                          $12.50   72.33   $   11.00              $ 202.08   $   202.08
12/24/2017 Angel R. Paulino                          $12.50   70.97   $   11.00              $ 193.54   $   193.54
12/31/2017 Angel R. Paulino                          $12.50   58.35   $   13.00   $ 29.18    $ 119.28   $   148.45
  1/7/2018 Angel R. Paulino                          $12.50   52.42   $   13.00   $ 26.21    $ 80.71    $   106.92
 1/14/2018 Angel R. Paulino                          $12.50   70.58   $   13.00   $ 35.29    $ 198.79   $   234.08
 1/21/2018 Angel R. Paulino                          $12.50   69.87   $   13.00   $ 34.93    $ 194.13   $   229.07
 1/28/2018 Angel R. Paulino                          $12.50   73.82   $   13.00   $ 36.91    $ 219.81   $   256.72
  2/4/2018 Angel R. Paulino                          $12.50   70.87   $   13.00   $ 35.43    $ 200.63   $   236.07
 2/11/2018 Angel R. Paulino                          $12.50   69.62   $   13.00   $ 34.81    $ 192.51   $   227.32
 2/18/2018 Angel R. Paulino                          $12.50   57.25   $   13.00   $ 28.63    $ 112.13   $   140.75
 2/25/2018 Angel R. Paulino                          $12.50   67.90   $   13.00   $ 33.95    $ 181.35   $   215.30
  3/4/2018 Angel R. Paulino                          $12.50   71.38   $   13.00   $ 35.69    $ 203.99   $   239.68
 3/25/2018 Angel R. Paulino                          $12.50   64.27   $   13.00   $ 32.13    $ 157.73   $   189.87
  4/1/2018 Angel R. Paulino                          $12.50   63.15   $   13.00   $ 31.58    $ 150.48   $   182.05
  4/8/2018 Angel R. Paulino                          $12.50   71.37   $   13.00   $ 35.68    $ 203.88   $   239.57
 4/15/2018 Angel R. Paulino                          $12.50   72.43   $   13.00   $ 36.22    $ 210.82   $   247.03
 4/22/2018 Angel R. Paulino                          $12.50   72.33   $   13.00   $ 36.17    $ 210.17   $   246.33
 4/29/2018 Angel R. Paulino                          $12.50   62.13   $   13.00   $ 31.07    $ 143.87   $   174.93
  5/6/2018 Angel R. Paulino                          $12.50   67.82   $   13.00   $ 33.91    $ 180.81   $   214.72
 5/13/2018 Angel R. Paulino                          $12.50   64.65   $   13.00   $ 32.33    $ 160.23   $   192.55
12/23/2018 Angel R. Paulino                          $12.50   60.78   $   13.00   $ 30.39    $ 135.09   $   165.48
12/30/2018 Angel R. Paulino                          $12.50   56.90   $   13.00   $ 28.45    $ 109.85   $   138.30
  1/6/2019 Angel R. Paulino                          $12.50   62.08   $   15.00   $ 155.21   $ 165.63   $   320.83
 1/13/2019 Angel R. Paulino                          $12.50   73.78   $   15.00   $ 184.46   $ 253.38   $   437.83
 1/20/2019 Angel R. Paulino                          $12.50   77.00   $   15.00   $ 192.50   $ 277.50   $   470.00
 1/27/2019 Angel R. Paulino                          $12.50   62.45   $   15.00   $ 156.13   $ 168.38   $   324.50
  2/3/2019 Angel R. Paulino                          $12.50   75.08   $   15.00   $ 187.71   $ 263.13   $   450.83
 2/10/2019 Angel R. Paulino                          $12.50   72.40   $   15.00   $ 181.00   $ 243.00   $   424.00
 2/17/2019 Angel R. Paulino                          $12.50   74.45   $   15.00   $ 186.13   $ 258.38   $   444.50
 2/24/2019 Angel R. Paulino                          $12.50   76.77   $   15.00   $ 191.92   $ 275.75   $   467.67
  3/3/2019 Angel R. Paulino                          $12.50   76.48   $   15.00   $ 191.21   $ 273.63   $   464.83
 3/10/2019 Angel R. Paulino                          $12.50   76.37   $   15.00   $ 190.92   $ 272.75   $   463.67
 3/17/2019 Angel R. Paulino                          $12.50   79.42   $   15.00   $ 198.54   $ 295.63   $   494.17
 3/24/2019 Angel R. Paulino                          $12.50   76.13   $   15.00   $ 190.33   $ 271.00   $   461.33
 3/31/2019 Angel R. Paulino                          $12.50   75.08   $   15.00   $ 187.71   $ 263.13   $   450.83
  4/7/2019 Angel R. Paulino                          $12.50   61.68   $   15.00   $ 154.21   $ 162.63   $   316.83
 4/14/2019 Angel R. Paulino                          $12.50   78.13   $   15.00   $ 195.33   $ 286.00   $   481.33
 4/21/2019 Angel R. Paulino                          $12.50   73.88   $   15.00   $ 184.71   $ 254.13   $   438.83
 4/28/2019 Angel R. Paulino                          $12.50   78.90   $   15.00   $ 197.25   $ 291.75   $   489.00
  5/5/2019 Angel R. Paulino                          $12.50   76.30   $   15.00   $ 190.75   $ 272.25   $   463.00
 5/12/2019 Angel R. Paulino                          $12.50   50.02   $   15.00   $ 125.04   $ 75.13    $   200.17
 5/19/2019 Angel R. Paulino                          $12.50   64.93   $   15.00   $ 162.33   $ 187.00   $   349.33
 5/26/2019 Angel R. Paulino                          $12.50   73.48   $   15.00   $ 183.71   $ 251.13   $   434.83
  6/2/2019 Angel R. Paulino                          $12.50   59.58   $   15.00   $ 148.96   $ 146.88   $   295.83
  6/9/2019 Angel R. Paulino                          $12.50   63.42   $   15.00   $ 158.54   $ 175.63   $   334.17
 6/16/2019 Angel R. Paulino                          $12.50   63.27   $   15.00   $ 158.17   $ 174.50   $   332.67
 6/23/2019 Angel R. Paulino                          $12.50   56.60   $   15.00   $ 141.50   $ 124.50   $   266.00
 6/30/2019 Angel R. Paulino                          $12.50   63.67   $   15.00   $ 159.17   $ 177.50   $   336.67
 6/24/2018 Angelo Martinez                           $10.00   48.22   $   13.00   $ 144.65   $ 53.41    $   198.06
  7/1/2018 Angelo Martinez                           $10.00   40.48   $   13.00   $ 121.45   $   3.14   $   124.59
 7/15/2018 Angelo Martinez                           $10.00   52.23   $   13.00   $ 156.70   $ 79.52    $   236.22
 7/22/2018 Angelo Martinez                           $10.00   52.58   $   13.00   $ 157.75   $ 81.79    $   239.54
 7/29/2018 Angelo Martinez                           $10.00   51.75   $   13.00   $ 155.25   $ 76.38    $   231.63
 8/12/2018 Angelo Martinez                           $10.00   47.25   $   13.00   $ 141.75   $ 47.13    $   188.88
10/21/2018 Angelo Martinez                           $16.50   46.72   $   13.00              $ 55.41    $    55.41
 12/2/2018 Angelo Martinez                           $16.50   43.95   $   13.00              $ 32.59    $    32.59
 12/9/2018 Angelo Martinez                           $16.50   47.80   $   13.00              $ 64.35    $    64.35



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  Week                                                                 State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
 Ending                            Name                              Minimum Regular Half-time Overtime Back
                                                        Rate Week
  Date                                                                Wage   Rate Due     Due       Wages Due

12/16/2018 Angelo Martinez                                $16.50   49.17   $   13.00                $ 75.63    $    75.63
12/23/2018 Angelo Martinez                                $16.50   42.47   $   13.00                $ 20.35    $    20.35
 1/13/2019 Angelo Martinez                                $16.50   45.50   $   15.00                $ 45.38    $    45.38
 1/20/2019 Angelo Martinez                                $16.50   48.85   $   15.00                $ 73.01    $    73.01
 1/27/2019 Angelo Martinez                                $16.50   47.10   $   15.00                $ 58.58    $    58.58
  2/3/2019 Angelo Martinez                                $16.50   48.40   $   15.00                $ 69.30    $    69.30
 2/10/2019 Angelo Martinez                                $16.50   47.25   $   15.00                $ 59.81    $    59.81
 2/17/2019 Angelo Martinez                                $16.50   49.88   $   15.00                $ 81.54    $    81.54
 2/24/2019 Angelo Martinez                                $16.50   49.83   $   15.00                $ 81.13    $    81.13
  3/3/2019 Angelo Martinez                                $16.50   49.93   $   15.00                $ 81.95    $    81.95
 3/10/2019 Angelo Martinez                                $16.50   50.45   $   15.00                $ 86.21    $    86.21
 3/17/2019 Angelo Martinez                                $16.50   50.15   $   15.00                $ 83.74    $    83.74
 3/24/2019 Angelo Martinez                                $16.50   46.40   $   15.00                $ 52.80    $    52.80
 3/31/2019 Angelo Martinez                                $16.50   47.10   $   15.00                $ 58.58    $    58.58
  4/7/2019 Angelo Martinez                                $16.50   45.40   $   15.00                $ 44.55    $    44.55
 4/14/2019 Angelo Martinez                                $16.50   45.25   $   15.00                $ 43.31    $    43.31
 4/21/2019 Angelo Martinez                                $16.50   44.58   $   15.00                $ 37.81    $    37.81
 5/12/2019 Angelo Martinez                                $16.50   43.47   $   15.00                $ 28.60    $    28.60
 5/26/2019 Angelo Martinez                                $16.50   44.13   $   15.00                $ 34.10    $    34.10
  6/2/2019 Angelo Martinez                                $16.50   45.47   $   15.00                $ 45.10    $    45.10
 12/2/2018 Annelly Paulino Feliz                          $11.00   54.50   $   13.00   $   109.00   $ 94.25    $   203.25
 12/9/2018 Annelly Paulino Feliz                          $11.00   57.38   $   13.00   $   114.77   $ 112.99   $   227.76
12/16/2018 Annelly Paulino Feliz                          $11.00   68.13   $   13.00   $   136.27   $ 182.87   $   319.13
12/23/2018 Annelly Paulino Feliz                          $11.00   57.45   $   13.00   $   114.90   $ 113.43   $   228.33
12/30/2018 Annelly Paulino Feliz                          $11.00   54.95   $   13.00   $   109.90   $ 97.18    $   207.08
  1/6/2019 Annelly Paulino Feliz                          $11.00   47.02   $   15.00   $   188.07   $ 52.63    $   240.69
 1/13/2019 Annelly Paulino Feliz                          $11.00   45.43   $   15.00   $   181.73   $ 40.75    $   222.48
 1/20/2019 Annelly Paulino Feliz                          $11.00   53.95   $   15.00   $   215.80   $ 104.63   $   320.43
 1/27/2019 Annelly Paulino Feliz                          $11.00   67.38   $   15.00   $   269.53   $ 205.38   $   474.91
  2/3/2019 Annelly Paulino Feliz                          $11.00   68.03   $   15.00   $   272.13   $ 210.25   $   482.38
 2/10/2019 Annelly Paulino Feliz                          $11.00   65.27   $   15.00   $   261.07   $ 189.50   $   450.57
 2/17/2019 Annelly Paulino Feliz                          $11.00   66.23   $   15.00   $   264.93   $ 196.75   $   461.68
 2/24/2019 Annelly Paulino Feliz                          $11.00   55.92   $   15.00   $   223.67   $ 119.38   $   343.04
  3/3/2019 Annelly Paulino Feliz                          $11.00   66.60   $   15.00   $   266.40   $ 199.50   $   465.90
 3/10/2019 Annelly Paulino Feliz                          $11.00   62.68   $   15.00   $   250.73   $ 170.13   $   420.86
 3/17/2019 Annelly Paulino Feliz                          $11.00   52.10   $   15.00   $   208.40   $ 90.75    $   299.15
 3/24/2019 Annelly Paulino Feliz                          $11.00   43.73   $   15.00   $   174.93   $ 28.00    $   202.93
 3/31/2019 Annelly Paulino Feliz                          $11.00   42.15   $   15.00   $   168.60   $ 16.13    $   184.73
  4/7/2019 Annelly Paulino Feliz                          $11.00   41.55   $   15.00   $   166.20   $ 11.63    $   177.83
 4/14/2019 Annelly Paulino Feliz                          $11.00   41.55   $   15.00   $   166.20   $ 11.63    $   177.83
 4/21/2019 Annelly Paulino Feliz                          $11.00   41.45   $   15.00   $   165.80   $ 10.88    $   176.68
 4/28/2019 Annelly Paulino Feliz                          $11.00   49.23   $   15.00   $   196.93   $ 69.25    $   266.18
  5/5/2019 Annelly Paulino Feliz                          $11.00   42.33   $   15.00   $   169.33   $ 17.50    $   186.83
 5/12/2019 Annelly Paulino Feliz                          $11.00   58.38   $   15.00   $   233.53   $ 137.88   $   371.41
 5/19/2019 Annelly Paulino Feliz                          $11.00   60.75   $   15.00   $   243.00   $ 155.63   $   398.63
 5/26/2019 Annelly Paulino Feliz                          $11.00   59.70   $   15.00   $   238.80   $ 147.75   $   386.55
  6/2/2019 Annelly Paulino Feliz                          $11.00   53.17   $   15.00   $   212.67   $ 98.75    $   311.42
  6/9/2019 Annelly Paulino Feliz                          $11.00   58.67   $   15.00   $   234.67   $ 140.00   $   374.67
 6/16/2019 Annelly Paulino Feliz                          $11.00   63.80   $   15.00   $   255.20   $ 178.50   $   433.70
 6/23/2019 Annelly Paulino Feliz                          $11.00   65.52   $   15.00   $   262.07   $ 191.38   $   453.44
 6/30/2019 Annelly Paulino Feliz                          $11.00   60.40   $   15.00   $   241.60   $ 153.00   $   394.60
 7/14/2019 Annelly Paulino Feliz                          $11.00   62.23   $   15.00   $   248.93   $ 166.75   $   415.68
 7/21/2019 Annelly Paulino Feliz                          $11.00   47.02   $   15.00   $   188.07   $ 52.63    $   240.69
  8/4/2019 Annelly Paulino Feliz                          $16.50   61.22   $   15.00                $ 175.04   $   175.04
 8/11/2019 Annelly Paulino Feliz                          $16.50   66.47   $   15.00                $ 218.35   $   218.35
 8/18/2019 Annelly Paulino Feliz                          $16.50   61.93   $   15.00                $ 180.95   $   180.95
 8/25/2019 Annelly Paulino Feliz                          $16.50   58.57   $   15.00                $ 153.18   $   153.18
  9/1/2019 Annelly Paulino Feliz                          $16.50   61.80   $   15.00                $ 179.85   $   179.85



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  Week                                                                 State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
 Ending                            Name                              Minimum Regular Half-time Overtime Back
                                                        Rate Week
  Date                                                                Wage   Rate Due     Due       Wages Due

  9/8/2019 Annelly Paulino Feliz                          $16.50   58.60   $   15.00               $ 153.45   $   153.45
 9/15/2019 Annelly Paulino Feliz                          $16.50   60.22   $   15.00               $ 166.79   $   166.79
 9/22/2019 Annelly Paulino Feliz                          $16.50   59.68   $   15.00               $ 162.39   $   162.39
 9/29/2019 Annelly Paulino Feliz                          $16.50   44.27   $   15.00               $ 35.20    $    35.20
 10/6/2019 Annelly Paulino Feliz                          $16.50   48.93   $   15.00               $ 73.70    $    73.70
10/13/2019 Annelly Paulino Feliz                          $16.50   50.72   $   15.00               $ 88.41    $    88.41
10/20/2019 Annelly Paulino Feliz                          $16.50   60.62   $   15.00               $ 170.09   $   170.09
10/27/2019 Annelly Paulino Feliz                          $16.50   59.12   $   15.00               $ 157.71   $   157.71
 11/3/2019 Annelly Paulino Feliz                          $16.50   45.53   $   15.00               $ 45.65    $    45.65
11/10/2019 Annelly Paulino Feliz                          $16.50   58.05   $   15.00               $ 148.91   $   148.91
11/17/2019 Annelly Paulino Feliz                          $16.50   50.58   $   15.00               $ 87.31    $    87.31
11/24/2019 Annelly Paulino Feliz                          $16.50   58.00   $   15.00               $ 148.50   $   148.50
 12/8/2019 Annelly Paulino Feliz                          $16.50   49.45   $   15.00               $ 77.96    $    77.96
12/15/2019 Annelly Paulino Feliz                          $16.50   65.42   $   15.00               $ 209.69   $   209.69
12/22/2019 Annelly Paulino Feliz                          $16.50   50.63   $   15.00               $ 87.72    $    87.72
12/29/2019 Annelly Paulino Feliz                          $16.50   50.87   $   15.00               $ 89.65    $    89.65
  1/5/2020 Annelly Paulino Feliz                          $16.50   46.42   $   15.00               $ 52.94    $    52.94
 1/12/2020 Annelly Paulino Feliz                          $16.50   43.17   $   15.00               $ 26.13    $    26.13
 1/19/2020 Annelly Paulino Feliz                          $16.50   63.25   $   15.00               $ 191.81   $   191.81
 1/26/2020 Annelly Paulino Feliz                          $16.50   68.22   $   15.00               $ 232.79   $   232.79
 5/21/2017 Anthony Abbene                                 $10.00   41.60   $   11.00   $   41.60   $   8.80   $    50.40
10/22/2017 Anthony D. Brown II                            $22.00   40.28   $   11.00               $   3.12   $     3.12
 11/5/2017 Anthony D. Brown II                            $22.00   45.87   $   11.00               $ 64.53    $    64.53
11/12/2017 Anthony D. Brown II                            $22.00   40.70   $   11.00               $   7.70   $     7.70
 12/3/2017 Anthony D. Brown II                            $22.00   41.28   $   11.00               $ 14.12    $    14.12
12/24/2017 Anthony D. Brown II                            $22.00   40.13   $   11.00               $   1.47   $     1.47
 1/21/2018 Anthony D. Brown II                            $22.00   46.28   $   13.00               $ 69.12    $    69.12
  2/4/2018 Anthony D. Brown II                            $22.00   43.40   $   13.00               $ 37.40    $    37.40
 2/11/2018 Anthony D. Brown II                            $22.00   45.93   $   13.00               $ 65.27    $    65.27
 2/18/2018 Anthony D. Brown II                            $22.00   45.62   $   13.00               $ 61.78    $    61.78
 2/25/2018 Anthony D. Brown II                            $22.00   42.48   $   13.00               $ 27.32    $    27.32
  2/5/2017 Antonio Osorio                                 $12.50   50.00   $   11.00               $ 62.50    $    62.50
 2/26/2017 Antonio Osorio                                 $12.50   45.52   $   11.00               $ 34.48    $    34.48
  3/5/2017 Antonio Osorio                                 $12.50   40.05   $   11.00               $   0.31   $     0.31
 3/12/2017 Antonio Osorio                                 $12.50   46.32   $   11.00               $ 39.48    $    39.48
 3/19/2017 Antonio Osorio                                 $12.50   44.62   $   11.00               $ 28.85    $    28.85
  4/2/2017 Antonio Osorio                                 $12.50   59.97   $   11.00               $ 124.79   $   124.79
  4/9/2017 Antonio Osorio                                 $12.50   46.27   $   11.00               $ 39.17    $    39.17
 4/16/2017 Antonio Osorio                                 $12.50   55.55   $   11.00               $ 97.19    $    97.19
 4/23/2017 Antonio Osorio                                 $12.50   43.27   $   11.00               $ 20.42    $    20.42
 4/30/2017 Antonio Osorio                                 $12.50   55.53   $   11.00               $ 97.08    $    97.08
  5/7/2017 Antonio Osorio                                 $12.50   45.62   $   11.00               $ 35.10    $    35.10
 5/14/2017 Antonio Osorio                                 $12.50   50.58   $   11.00               $ 66.15    $    66.15
 5/21/2017 Antonio Osorio                                 $12.50   47.47   $   11.00               $ 46.67    $    46.67
 5/28/2017 Antonio Osorio                                 $12.50   47.12   $   11.00               $ 44.48    $    44.48
  6/4/2017 Antonio Osorio                                 $12.50   47.88   $   11.00               $ 49.27    $    49.27
 6/11/2017 Antonio Osorio                                 $12.50   55.65   $   11.00               $ 97.81    $    97.81
 6/18/2017 Antonio Osorio                                 $12.50   45.43   $   11.00               $ 33.96    $    33.96
 6/25/2017 Antonio Osorio                                 $12.50   53.58   $   11.00               $ 84.90    $    84.90
  7/2/2017 Antonio Osorio                                 $12.50   56.28   $   11.00               $ 101.77   $   101.77
 7/16/2017 Antonio Osorio                                 $12.50   46.72   $   11.00               $ 41.98    $    41.98
 7/23/2017 Antonio Osorio                                 $12.50   53.18   $   11.00               $ 82.40    $    82.40
 7/30/2017 Antonio Osorio                                 $12.50   52.90   $   11.00               $ 80.63    $    80.63
  8/6/2017 Antonio Osorio                                 $12.50   42.42   $   11.00               $ 15.10    $    15.10
 8/13/2017 Antonio Osorio                                 $12.50   50.10   $   11.00               $ 63.12    $    63.12
 8/20/2017 Antonio Osorio                                 $12.50   49.62   $   11.00               $ 60.10    $    60.10
 8/27/2017 Antonio Osorio                                 $12.50   44.30   $   11.00               $ 26.88    $    26.88
  9/3/2017 Antonio Osorio                                 $12.50   50.67   $   11.00               $ 66.67    $    66.67



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  Week                                                          State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
 Ending                     Name                              Minimum Regular Half-time Overtime Back
                                                 Rate Week
  Date                                                         Wage   Rate Due     Due       Wages Due

 9/10/2017 Antonio Osorio                          $12.50   49.70   $   11.00               $ 60.63    $    60.63
 9/17/2017 Antonio Osorio                          $12.50   61.38   $   11.00               $ 133.65   $   133.65
 9/24/2017 Antonio Osorio                          $12.50   60.87   $   11.00               $ 130.42   $   130.42
 10/1/2017 Antonio Osorio                          $12.50   60.42   $   11.00               $ 127.60   $   127.60
 10/8/2017 Antonio Osorio                          $12.50   61.88   $   11.00               $ 136.77   $   136.77
10/15/2017 Antonio Osorio                          $12.50   43.88   $   11.00               $ 24.27    $    24.27
10/22/2017 Antonio Osorio                          $12.50   51.38   $   11.00               $ 71.15    $    71.15
10/29/2017 Antonio Osorio                          $12.50   60.65   $   11.00               $ 129.06   $   129.06
 11/5/2017 Antonio Osorio                          $12.50   48.87   $   11.00               $ 55.42    $    55.42
11/12/2017 Antonio Osorio                          $12.50   56.65   $   11.00               $ 104.06   $   104.06
11/19/2017 Antonio Osorio                          $12.50   62.48   $   11.00               $ 140.52   $   140.52
11/26/2017 Antonio Osorio                          $12.50   50.62   $   11.00               $ 66.35    $    66.35
 12/3/2017 Antonio Osorio                          $12.50   59.32   $   11.00               $ 120.73   $   120.73
12/10/2017 Antonio Osorio                          $12.50   60.47   $   11.00               $ 127.92   $   127.92
12/17/2017 Antonio Osorio                          $12.50   53.92   $   11.00               $ 86.98    $    86.98
12/24/2017 Antonio Osorio                          $12.50   62.58   $   11.00               $ 141.15   $   141.15
12/31/2017 Antonio Osorio                          $12.50   52.27   $   13.00   $   26.13   $ 79.73    $   105.87
  1/7/2018 Antonio Osorio                          $12.50   43.35   $   13.00   $   21.68   $ 21.78    $    43.45
 1/14/2018 Antonio Osorio                          $12.50   56.22   $   13.00   $   28.11   $ 105.41   $   133.52
 1/28/2018 Antonio Osorio                          $12.50   56.83   $   13.00   $   28.42   $ 109.42   $   137.83
  2/4/2018 Antonio Osorio                          $12.50   46.83   $   13.00   $   23.42   $ 44.42    $    67.83
 2/11/2018 Antonio Osorio                          $12.50   51.05   $   13.00   $   25.53   $ 71.83    $    97.35
 2/18/2018 Antonio Osorio                          $12.50   55.67   $   13.00   $   27.83   $ 101.83   $   129.67
 2/25/2018 Antonio Osorio                          $12.50   57.37   $   13.00   $   28.68   $ 112.88   $   141.57
  3/4/2018 Antonio Osorio                          $12.50   51.82   $   13.00   $   25.91   $ 76.81    $   102.72
 3/25/2018 Antonio Osorio                          $12.50   52.18   $   13.00   $   26.09   $ 79.19    $   105.28
  4/1/2018 Antonio Osorio                          $12.50   62.50   $   13.00   $   31.25   $ 146.25   $   177.50
  4/8/2018 Antonio Osorio                          $12.50   61.22   $   13.00   $   30.61   $ 137.91   $   168.52
 4/15/2018 Antonio Osorio                          $12.50   55.15   $   13.00   $   27.58   $ 98.48    $   126.05
 4/22/2018 Antonio Osorio                          $12.50   61.78   $   13.00   $   30.89   $ 141.59   $   172.48
 4/29/2018 Antonio Osorio                          $12.50   64.85   $   13.00   $   32.43   $ 161.53   $   193.95
  5/6/2018 Antonio Osorio                          $12.50   65.05   $   13.00   $   32.53   $ 162.83   $   195.35
 5/13/2018 Antonio Osorio                          $12.50   60.90   $   13.00   $   30.45   $ 135.85   $   166.30
 5/20/2018 Antonio Osorio                          $12.50   64.83   $   13.00   $   32.42   $ 161.42   $   193.83
 5/27/2018 Antonio Osorio                          $12.50   64.00   $   13.00   $   32.00   $ 156.00   $   188.00
  6/3/2018 Antonio Osorio                          $12.50   52.78   $   13.00   $   26.39   $ 83.09    $   109.48
 6/10/2018 Antonio Osorio                          $12.50   61.27   $   13.00   $   30.63   $ 138.23   $   168.87
 6/17/2018 Antonio Osorio                          $12.50   63.73   $   13.00   $   31.87   $ 154.27   $   186.13
 6/24/2018 Antonio Osorio                          $12.50   64.58   $   13.00   $   32.29   $ 159.79   $   192.08
  7/1/2018 Antonio Osorio                          $12.50   63.08   $   13.00   $   31.54   $ 150.04   $   181.58
  7/8/2018 Antonio Osorio                          $12.50   44.90   $   13.00   $   22.45   $ 31.85    $    54.30
 7/15/2018 Antonio Osorio                          $12.50   62.27   $   13.00   $   31.13   $ 144.73   $   175.87
 7/22/2018 Antonio Osorio                          $12.50   51.48   $   13.00   $   25.74   $ 74.64    $   100.38
 7/29/2018 Antonio Osorio                          $12.50   58.78   $   13.00   $   29.39   $ 122.09   $   151.48
  8/5/2018 Antonio Osorio                          $12.50   54.72   $   13.00   $   27.36   $ 95.66    $   123.02
 8/12/2018 Antonio Osorio                          $12.50   60.10   $   13.00   $   30.05   $ 130.65   $   160.70
 8/19/2018 Antonio Osorio                          $12.50   51.32   $   13.00   $   25.66   $ 73.56    $    99.22
 8/26/2018 Antonio Osorio                          $12.50   60.08   $   13.00   $   30.04   $ 130.54   $   160.58
  9/2/2018 Antonio Osorio                          $12.50   62.92   $   13.00   $   31.46   $ 148.96   $   180.42
  9/9/2018 Antonio Osorio                          $12.50   52.53   $   13.00   $   26.27   $ 81.47    $   107.73
 9/23/2018 Antonio Osorio                          $12.50   62.13   $   13.00   $   31.07   $ 143.87   $   174.93
 9/30/2018 Antonio Osorio                          $12.50   64.17   $   13.00   $   32.08   $ 157.08   $   189.17
 10/7/2018 Antonio Osorio                          $12.50   61.67   $   13.00   $   30.83   $ 140.83   $   171.67
10/14/2018 Antonio Osorio                          $12.50   56.17   $   13.00   $   28.08   $ 105.08   $   133.17
10/21/2018 Antonio Osorio                          $12.50   59.27   $   13.00   $   29.63   $ 125.23   $   154.87
10/28/2018 Antonio Osorio                          $12.50   63.60   $   13.00   $   31.80   $ 153.40   $   185.20
 11/4/2018 Antonio Osorio                          $12.50   62.33   $   13.00   $   31.17   $ 145.17   $   176.33
11/11/2018 Antonio Osorio                          $12.50   58.87   $   13.00   $   29.43   $ 122.63   $   152.07



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  Week                                                          State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
 Ending                     Name                              Minimum Regular Half-time Overtime Back
                                                 Rate Week
  Date                                                         Wage   Rate Due     Due       Wages Due

11/18/2018 Antonio Osorio                          $12.50   62.73   $   13.00   $ 31.37    $ 147.77   $   179.13
11/25/2018 Antonio Osorio                          $12.50   52.65   $   13.00   $ 26.33    $ 82.23    $   108.55
 12/2/2018 Antonio Osorio                          $12.50   63.63   $   13.00   $ 31.82    $ 153.62   $   185.43
 12/9/2018 Antonio Osorio                          $12.50   60.10   $   13.00   $ 30.05    $ 130.65   $   160.70
12/16/2018 Antonio Osorio                          $12.50   64.28   $   13.00   $ 32.14    $ 157.84   $   189.98
12/23/2018 Antonio Osorio                          $12.50   58.12   $   13.00   $ 29.06    $ 117.76   $   146.82
12/30/2018 Antonio Osorio                          $12.50   48.72   $   13.00   $ 24.36    $ 56.66    $    81.02
  1/6/2019 Antonio Osorio                          $12.50   50.62   $   15.00   $ 126.54   $ 79.63    $   206.17
 1/13/2019 Antonio Osorio                          $12.50   60.97   $   15.00   $ 152.42   $ 157.25   $   309.67
 1/20/2019 Antonio Osorio                          $12.50   48.15   $   15.00   $ 120.38   $ 61.12    $   181.50
 1/27/2019 Antonio Osorio                          $12.50   59.08   $   15.00   $ 147.71   $ 143.13   $   290.83
  2/3/2019 Antonio Osorio                          $12.50   62.50   $   15.00   $ 156.25   $ 168.75   $   325.00
 2/10/2019 Antonio Osorio                          $12.50   47.25   $   15.00   $ 118.13   $ 54.38    $   172.50
 2/17/2019 Antonio Osorio                          $12.50   60.53   $   15.00   $ 151.33   $ 154.00   $   305.33
 2/24/2019 Antonio Osorio                          $12.50   53.02   $   15.00   $ 132.54   $ 97.63    $   230.17
  3/3/2019 Antonio Osorio                          $12.50   60.78   $   15.00   $ 151.96   $ 155.88   $   307.83
 3/10/2019 Antonio Osorio                          $12.50   52.12   $   15.00   $ 130.29   $ 90.87    $   221.17
 3/17/2019 Antonio Osorio                          $12.50   61.50   $   15.00   $ 153.75   $ 161.25   $   315.00
 3/24/2019 Antonio Osorio                          $12.50   60.43   $   15.00   $ 151.08   $ 153.25   $   304.33
 3/31/2019 Antonio Osorio                          $12.50   64.55   $   15.00   $ 161.38   $ 184.13   $   345.50
  4/7/2019 Antonio Osorio                          $12.50   62.70   $   15.00   $ 156.75   $ 170.25   $   327.00
 4/14/2019 Antonio Osorio                          $12.50   58.97   $   15.00   $ 147.42   $ 142.25   $   289.67
 4/21/2019 Antonio Osorio                          $12.50   61.87   $   15.00   $ 154.67   $ 164.00   $   318.67
 4/28/2019 Antonio Osorio                          $12.50   59.65   $   15.00   $ 149.13   $ 147.38   $   296.50
  5/5/2019 Antonio Osorio                          $12.50   54.10   $   15.00   $ 135.25   $ 105.75   $   241.00
 5/12/2019 Antonio Osorio                          $12.50   62.60   $   15.00   $ 156.50   $ 169.50   $   326.00
 5/19/2019 Antonio Osorio                          $12.50   63.03   $   15.00   $ 157.58   $ 172.75   $   330.33
 5/26/2019 Antonio Osorio                          $12.50   61.98   $   15.00   $ 154.96   $ 164.88   $   319.83
  6/2/2019 Antonio Osorio                          $12.50   53.42   $   15.00   $ 133.54   $ 100.63   $   234.17
  6/9/2019 Antonio Osorio                          $12.50   62.40   $   15.00   $ 156.00   $ 168.00   $   324.00
 6/16/2019 Antonio Osorio                          $12.50   56.98   $   15.00   $ 142.46   $ 127.38   $   269.83
 6/23/2019 Antonio Osorio                          $12.50   57.52   $   15.00   $ 143.79   $ 131.38   $   275.17
 6/30/2019 Antonio Osorio                          $12.50   63.58   $   15.00   $ 158.96   $ 176.88   $   335.83
  7/7/2019 Antonio Osorio                          $12.50   40.52   $   15.00   $ 101.29   $   3.87   $   105.17
 7/14/2019 Antonio Osorio                          $12.50   57.55   $   15.00   $ 143.88   $ 131.63   $   275.50
 7/21/2019 Antonio Osorio                          $12.50   60.90   $   15.00   $ 152.25   $ 156.75   $   309.00
 7/28/2019 Antonio Osorio                          $12.50   64.43   $   15.00   $ 161.08   $ 183.25   $   344.33
  8/4/2019 Antonio Osorio                          $12.50   64.98   $   15.00   $ 162.46   $ 187.38   $   349.83
 8/11/2019 Antonio Osorio                          $12.50   53.08   $   15.00   $ 132.71   $ 98.13    $   230.83
 8/18/2019 Antonio Osorio                          $12.50   62.12   $   15.00   $ 155.29   $ 165.88   $   321.17
 8/25/2019 Antonio Osorio                          $12.50   63.02   $   15.00   $ 157.54   $ 172.63   $   330.17
  9/1/2019 Antonio Osorio                          $12.50   63.85   $   15.00   $ 159.63   $ 178.88   $   338.50
  9/8/2019 Antonio Osorio                          $12.50   51.65   $   15.00   $ 129.13   $ 87.37    $   216.50
 9/15/2019 Antonio Osorio                          $12.50   60.10   $   15.00   $ 150.25   $ 150.75   $   301.00
 9/22/2019 Antonio Osorio                          $12.50   63.92   $   15.00   $ 159.79   $ 179.38   $   339.17
 9/29/2019 Antonio Osorio                          $12.50   64.97   $   15.00   $ 162.42   $ 187.25   $   349.67
 10/6/2019 Antonio Osorio                          $12.50   62.87   $   15.00   $ 157.17   $ 171.50   $   328.67
10/13/2019 Antonio Osorio                          $12.50   53.72   $   15.00   $ 134.29   $ 102.88   $   237.17
10/20/2019 Antonio Osorio                          $12.50   52.73   $   15.00   $ 131.83   $ 95.50    $   227.33
10/27/2019 Antonio Osorio                          $12.50   64.95   $   15.00   $ 162.38   $ 187.13   $   349.50
 11/3/2019 Antonio Osorio                          $12.50   62.15   $   15.00   $ 155.38   $ 166.13   $   321.50
11/10/2019 Antonio Osorio                          $12.50   54.63   $   15.00   $ 136.58   $ 109.75   $   246.33
11/24/2019 Antonio Osorio                          $12.50   64.35   $   15.00   $ 160.88   $ 182.63   $   343.50
 12/1/2019 Antonio Osorio                          $12.50   55.08   $   15.00   $ 137.71   $ 113.13   $   250.83
 12/8/2019 Antonio Osorio                          $12.50   62.50   $   15.00   $ 156.25   $ 168.75   $   325.00
12/15/2019 Antonio Osorio                          $12.50   64.23   $   15.00   $ 160.58   $ 181.75   $   342.33
12/22/2019 Antonio Osorio                          $12.50   64.10   $   15.00   $ 160.25   $ 180.75   $   341.00
12/29/2019 Antonio Osorio                          $12.50   49.85   $   15.00   $ 124.63   $ 73.88    $   198.50



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  Week                                                            State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
 Ending                       Name                              Minimum Regular Half-time Overtime Back
                                                   Rate Week
  Date                                                           Wage   Rate Due     Due       Wages Due

  1/5/2020 Antonio Osorio                            $12.50   51.10   $   15.00   $   127.75   $ 83.25    $   211.00
 1/12/2020 Antonio Osorio                            $12.50   56.92   $   15.00   $   142.29   $ 126.88   $   269.17
 1/19/2020 Antonio Osorio                            $12.50   53.10   $   15.00   $   132.75   $ 98.25    $   231.00
 1/26/2020 Antonio Osorio                            $12.50   64.93   $   15.00   $   162.33   $ 187.00   $   349.33
  2/5/2017 Antonio Santiago                          $13.50   48.27   $   11.00                $ 55.80    $    55.80
 2/12/2017 Antonio Santiago                          $13.50   42.88   $   11.00                $ 19.46    $    19.46
 2/19/2017 Antonio Santiago                          $13.50   43.20   $   11.00                $ 21.60    $    21.60
 2/26/2017 Antonio Santiago                          $13.50   55.90   $   11.00                $ 107.33   $   107.33
 3/12/2017 Antonio Santiago                          $13.50   56.37   $   11.00                $ 110.48   $   110.48
 3/26/2017 Antonio Santiago                          $13.50   55.13   $   11.00                $ 102.15   $   102.15
  4/2/2017 Antonio Santiago                          $13.50   56.40   $   11.00                $ 110.70   $   110.70
  4/9/2017 Antonio Santiago                          $13.50   53.12   $   11.00                $ 88.54    $    88.54
 4/16/2017 Antonio Santiago                          $13.50   54.12   $   11.00                $ 95.29    $    95.29
 4/23/2017 Antonio Santiago                          $13.50   53.58   $   11.00                $ 91.69    $    91.69
 4/30/2017 Antonio Santiago                          $13.50   52.93   $   11.00                $ 87.30    $    87.30
  5/7/2017 Antonio Santiago                          $13.50   45.43   $   11.00                $ 36.68    $    36.68
 5/14/2017 Antonio Santiago                          $13.50   52.97   $   11.00                $ 87.53    $    87.53
 5/21/2017 Antonio Santiago                          $13.50   49.87   $   11.00                $ 66.60    $    66.60
 5/28/2017 Antonio Santiago                          $13.50   59.08   $   11.00                $ 128.81   $   128.81
  6/4/2017 Antonio Santiago                          $13.50   45.05   $   11.00                $ 34.09    $    34.09
 6/11/2017 Antonio Santiago                          $13.50   55.42   $   11.00                $ 104.06   $   104.06
 6/18/2017 Antonio Santiago                          $13.50   55.33   $   11.00                $ 103.50   $   103.50
 6/25/2017 Antonio Santiago                          $13.50   51.97   $   11.00                $ 80.78    $    80.78
  7/2/2017 Antonio Santiago                          $13.50   49.70   $   11.00                $ 65.48    $    65.48
 7/16/2017 Antonio Santiago                          $13.50   47.43   $   11.00                $ 50.18    $    50.18
 7/23/2017 Antonio Santiago                          $13.50   55.78   $   11.00                $ 106.54   $   106.54
 7/30/2017 Antonio Santiago                          $13.50   50.63   $   11.00                $ 71.77    $    71.77
  8/6/2017 Antonio Santiago                          $13.50   45.10   $   11.00                $ 34.43    $    34.43
 8/13/2017 Antonio Santiago                          $13.50   43.88   $   11.00                $ 26.21    $    26.21
 8/20/2017 Antonio Santiago                          $13.50   50.98   $   11.00                $ 74.14    $    74.14
 8/27/2017 Antonio Santiago                          $13.50   46.15   $   11.00                $ 41.51    $    41.51
 9/17/2017 Antonio Santiago                          $13.50   42.62   $   11.00                $ 17.66    $    17.66
 9/24/2017 Antonio Santiago                          $13.50   52.68   $   11.00                $ 85.61    $    85.61
 10/1/2017 Antonio Santiago                          $13.50   56.30   $   11.00                $ 110.03   $   110.03
 10/8/2017 Antonio Santiago                          $13.50   55.60   $   11.00                $ 105.30   $   105.30
10/15/2017 Antonio Santiago                          $13.50   47.77   $   11.00                $ 52.43    $    52.43
10/22/2017 Antonio Santiago                          $13.50   50.67   $   11.00                $ 72.00    $    72.00
10/29/2017 Antonio Santiago                          $13.50   56.37   $   11.00                $ 110.48   $   110.48
 11/5/2017 Antonio Santiago                          $13.50   55.37   $   11.00                $ 103.73   $   103.73
11/12/2017 Antonio Santiago                          $13.50   51.78   $   11.00                $ 79.54    $    79.54
11/19/2017 Antonio Santiago                          $13.50   56.58   $   11.00                $ 111.94   $   111.94
 12/3/2017 Antonio Santiago                          $13.50   55.45   $   11.00                $ 104.29   $   104.29
12/10/2017 Antonio Santiago                          $13.50   53.40   $   11.00                $ 90.45    $    90.45
12/17/2017 Antonio Santiago                          $13.50   53.78   $   11.00                $ 93.04    $    93.04
12/24/2017 Antonio Santiago                          $13.50   52.73   $   11.00                $ 85.95    $    85.95
12/31/2017 Antonio Santiago                          $13.50   47.27   $   13.00                $ 49.05    $    49.05
 1/14/2018 Antonio Santiago                          $13.50   52.60   $   13.00                $ 85.05    $    85.05
 1/21/2018 Antonio Santiago                          $13.50   43.07   $   13.00                $ 20.70    $    20.70
 1/28/2018 Antonio Santiago                          $13.50   46.92   $   13.00                $ 46.69    $    46.69
 2/11/2018 Antonio Santiago                          $13.50   45.93   $   13.00                $ 40.05    $    40.05
 2/18/2018 Antonio Santiago                          $13.50   49.72   $   13.00                $ 65.59    $    65.59
 2/25/2018 Antonio Santiago                          $13.50   41.23   $   13.00                $   8.33   $     8.33
  3/4/2018 Antonio Santiago                          $13.50   53.83   $   13.00                $ 93.38    $    93.38
 3/25/2018 Antonio Santiago                          $13.50   49.53   $   13.00                $ 64.35    $    64.35
  4/1/2018 Antonio Santiago                          $13.50   47.40   $   13.00                $ 49.95    $    49.95
  4/8/2018 Antonio Santiago                          $13.50   48.40   $   13.00                $ 56.70    $    56.70
 4/15/2018 Antonio Santiago                          $13.50   49.40   $   13.00                $ 63.45    $    63.45
 4/22/2018 Antonio Santiago                          $13.50   56.30   $   13.00                $ 110.03   $   110.03



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  Week                                                            State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
 Ending                       Name                              Minimum Regular Half-time Overtime Back
                                                   Rate Week
  Date                                                           Wage   Rate Due     Due       Wages Due

 4/29/2018 Antonio Santiago                          $13.50   56.58   $   13.00               $ 111.94   $   111.94
  5/6/2018 Antonio Santiago                          $13.50   49.38   $   13.00               $ 63.34    $    63.34
 5/13/2018 Antonio Santiago                          $13.50   56.35   $   13.00               $ 110.36   $   110.36
 5/20/2018 Antonio Santiago                          $13.50   55.52   $   13.00               $ 104.74   $   104.74
 5/27/2018 Antonio Santiago                          $13.50   58.75   $   13.00               $ 126.56   $   126.56
  6/3/2018 Antonio Santiago                          $13.50   46.53   $   13.00               $ 44.10    $    44.10
 6/10/2018 Antonio Santiago                          $13.50   53.78   $   13.00               $ 93.04    $    93.04
 6/17/2018 Antonio Santiago                          $13.50   57.78   $   13.00               $ 120.04   $   120.04
 6/24/2018 Antonio Santiago                          $13.50   56.13   $   13.00               $ 108.90   $   108.90
  7/1/2018 Antonio Santiago                          $13.50   57.00   $   13.00               $ 114.75   $   114.75
  7/8/2018 Antonio Santiago                          $13.50   43.72   $   13.00               $ 25.09    $    25.09
 7/15/2018 Antonio Santiago                          $13.50   46.23   $   13.00               $ 42.08    $    42.08
 7/22/2018 Antonio Santiago                          $13.50   43.42   $   13.00               $ 23.06    $    23.06
 7/29/2018 Antonio Santiago                          $13.50   52.57   $   13.00               $ 84.83    $    84.83
  8/5/2018 Antonio Santiago                          $13.50   54.03   $   13.00               $ 94.73    $    94.73
 8/12/2018 Antonio Santiago                          $13.50   49.48   $   13.00               $ 64.01    $    64.01
 8/26/2018 Antonio Santiago                          $13.50   54.52   $   13.00               $ 97.99    $    97.99
  9/2/2018 Antonio Santiago                          $13.50   56.43   $   13.00               $ 110.93   $   110.93
  9/9/2018 Antonio Santiago                          $13.50   46.43   $   13.00               $ 43.43    $    43.43
 9/16/2018 Antonio Santiago                          $13.50   44.23   $   13.00               $ 28.58    $    28.58
 9/23/2018 Antonio Santiago                          $13.50   53.55   $   13.00               $ 91.46    $    91.46
 9/30/2018 Antonio Santiago                          $13.50   55.50   $   13.00               $ 104.63   $   104.63
 10/7/2018 Antonio Santiago                          $13.50   55.75   $   13.00               $ 106.31   $   106.31
10/14/2018 Antonio Santiago                          $13.50   51.50   $   13.00               $ 77.63    $    77.63
10/21/2018 Antonio Santiago                          $13.50   45.32   $   13.00               $ 35.89    $    35.89
10/28/2018 Antonio Santiago                          $13.50   53.58   $   13.00               $ 91.69    $    91.69
 11/4/2018 Antonio Santiago                          $13.50   53.67   $   13.00               $ 92.25    $    92.25
11/11/2018 Antonio Santiago                          $13.50   56.22   $   13.00               $ 109.46   $   109.46
11/18/2018 Antonio Santiago                          $13.50   54.05   $   13.00               $ 94.84    $    94.84
11/25/2018 Antonio Santiago                          $13.50   45.45   $   13.00               $ 36.79    $    36.79
 12/2/2018 Antonio Santiago                          $13.50   46.57   $   13.00               $ 44.33    $    44.33
 12/9/2018 Antonio Santiago                          $13.50   51.13   $   13.00               $ 75.15    $    75.15
12/16/2018 Antonio Santiago                          $13.50   55.93   $   13.00               $ 107.55   $   107.55
12/23/2018 Antonio Santiago                          $13.50   52.73   $   13.00               $ 85.95    $    85.95
12/30/2018 Antonio Santiago                          $13.50   42.30   $   13.00               $ 15.53    $    15.53
  1/6/2019 Antonio Santiago                          $13.50   43.55   $   15.00   $   65.33   $ 26.63    $    91.95
 1/13/2019 Antonio Santiago                          $13.50   50.17   $   15.00   $   75.25   $ 76.25    $   151.50
 1/20/2019 Antonio Santiago                          $13.50   47.70   $   15.00   $   71.55   $ 57.75    $   129.30
 1/27/2019 Antonio Santiago                          $13.50   48.78   $   15.00   $   73.18   $ 65.88    $   139.05
  2/3/2019 Antonio Santiago                          $13.50   53.43   $   15.00   $   80.15   $ 100.75   $   180.90
 2/10/2019 Antonio Santiago                          $13.50   43.52   $   15.00   $   65.28   $ 26.38    $    91.65
 2/17/2019 Antonio Santiago                          $13.50   48.95   $   15.00   $   73.43   $ 67.13    $   140.55
 2/24/2019 Antonio Santiago                          $13.50   44.10   $   15.00   $   66.15   $ 30.75    $    96.90
  3/3/2019 Antonio Santiago                          $13.50   57.45   $   15.00   $   86.18   $ 130.88   $   217.05
 3/10/2019 Antonio Santiago                          $13.50   42.92   $   15.00   $   64.38   $ 21.88    $    86.25
 3/17/2019 Antonio Santiago                          $13.50   51.95   $   15.00   $   77.93   $ 89.63    $   167.55
 3/24/2019 Antonio Santiago                          $13.50   58.85   $   15.00   $   88.28   $ 141.38   $   229.65
 3/31/2019 Antonio Santiago                          $13.50   58.25   $   15.00   $   87.38   $ 136.88   $   224.25
  4/7/2019 Antonio Santiago                          $13.50   57.47   $   15.00   $   86.20   $ 131.00   $   217.20
 4/14/2019 Antonio Santiago                          $13.50   56.50   $   15.00   $   84.75   $ 123.75   $   208.50
 4/21/2019 Antonio Santiago                          $13.50   49.57   $   15.00   $   74.35   $ 71.75    $   146.10
 4/28/2019 Antonio Santiago                          $13.50   56.35   $   15.00   $   84.53   $ 122.63   $   207.15
  5/5/2019 Antonio Santiago                          $13.50   58.02   $   15.00   $   87.03   $ 135.13   $   222.15
 5/12/2019 Antonio Santiago                          $13.50   59.48   $   15.00   $   89.23   $ 146.13   $   235.35
 5/19/2019 Antonio Santiago                          $13.50   58.38   $   15.00   $   87.58   $ 137.88   $   225.45
 5/26/2019 Antonio Santiago                          $13.50   57.92   $   15.00   $   86.88   $ 134.38   $   221.25
  6/2/2019 Antonio Santiago                          $13.50   49.25   $   15.00   $   73.88   $ 69.37    $   143.25
  6/9/2019 Antonio Santiago                          $13.50   58.93   $   15.00   $   88.40   $ 142.00   $   230.40



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                                         New York City Computations


  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

 6/16/2019 Antonio Santiago                              $13.50   59.37   $   15.00   $    89.05   $ 145.25   $   234.30
 6/23/2019 Antonio Santiago                              $13.50   55.25   $   15.00   $    82.88   $ 114.38   $   197.25
 6/30/2019 Antonio Santiago                              $13.50   60.33   $   15.00   $    90.50   $ 152.50   $   243.00
  7/7/2019 Antonio Santiago                              $13.50   51.60   $   15.00   $    77.40   $ 87.00    $   164.40
 7/14/2019 Antonio Santiago                              $13.50   63.62   $   15.00   $    95.43   $ 177.13   $   272.55
 7/21/2019 Antonio Santiago                              $13.50   61.20   $   15.00   $    91.80   $ 159.00   $   250.80
 7/28/2019 Antonio Santiago                              $13.50   64.88   $   15.00   $    97.33   $ 186.63   $   283.95
  8/4/2019 Antonio Santiago                              $13.50   56.80   $   15.00   $    85.20   $ 126.00   $   211.20
 8/11/2019 Antonio Santiago                              $13.50   64.72   $   15.00   $    97.08   $ 185.38   $   282.45
 8/18/2019 Antonio Santiago                              $13.50   43.87   $   15.00   $    65.80   $ 29.00    $    94.80
 8/25/2019 Antonio Santiago                              $13.50   50.78   $   15.00   $    76.18   $ 80.88    $   157.05
  9/1/2019 Antonio Santiago                              $13.50   53.43   $   15.00   $    80.15   $ 100.75   $   180.90
  9/8/2019 Antonio Santiago                              $13.50   43.05   $   15.00   $    64.58   $ 22.88    $    87.45
 9/15/2019 Antonio Santiago                              $13.50   51.23   $   15.00   $    76.85   $ 84.25    $   161.10
 9/22/2019 Antonio Santiago                              $13.50   54.70   $   15.00   $    82.05   $ 110.25   $   192.30
 9/29/2019 Antonio Santiago                              $13.50   46.53   $   15.00   $    69.80   $ 49.00    $   118.80
 10/6/2019 Antonio Santiago                              $13.50   55.53   $   15.00   $    83.30   $ 116.50   $   199.80
10/13/2019 Antonio Santiago                              $13.50   54.77   $   15.00   $    82.15   $ 110.75   $   192.90
10/20/2019 Antonio Santiago                              $13.50   57.43   $   15.00   $    86.15   $ 130.75   $   216.90
10/27/2019 Antonio Santiago                              $13.50   49.05   $   15.00   $    73.58   $ 67.88    $   141.45
 11/3/2019 Antonio Santiago                              $13.50   55.77   $   15.00   $    83.65   $ 118.25   $   201.90
11/10/2019 Antonio Santiago                              $13.50   56.08   $   15.00   $    84.13   $ 120.63   $   204.75
11/17/2019 Antonio Santiago                              $13.50   57.27   $   15.00   $    85.90   $ 129.50   $   215.40
11/24/2019 Antonio Santiago                              $13.50   53.15   $   15.00   $    79.73   $ 98.63    $   178.35
 12/1/2019 Antonio Santiago                              $13.50   42.05   $   15.00   $    63.08   $ 15.38    $    78.45
 12/8/2019 Antonio Santiago                              $13.50   59.03   $   15.00   $    88.55   $ 142.75   $   231.30
12/15/2019 Antonio Santiago                              $13.50   56.93   $   15.00   $    85.40   $ 127.00   $   212.40
12/22/2019 Antonio Santiago                              $13.50   48.87   $   15.00   $    73.30   $ 66.50    $   139.80
12/29/2019 Antonio Santiago                              $13.50   47.05   $   15.00   $    70.58   $ 52.88    $   123.45
  1/5/2020 Antonio Santiago                              $13.50   50.37   $   15.00   $    75.55   $ 77.75    $   153.30
 1/12/2020 Antonio Santiago                              $13.50   59.27   $   15.00   $    88.90   $ 144.50   $   233.40
 1/19/2020 Antonio Santiago                              $13.50   46.30   $   15.00   $    69.45   $ 47.25    $   116.70
 1/26/2020 Antonio Santiago                              $13.50   51.52   $   15.00   $    77.28   $ 86.38    $   163.65
 3/25/2018 Arcadio Urena Medina                          $13.00   54.70   $   13.00                $ 95.55    $    95.55
  4/1/2018 Arcadio Urena Medina                          $13.00   56.27   $   13.00                $ 105.73   $   105.73
  4/8/2018 Arcadio Urena Medina                          $13.00   55.05   $   13.00                $ 97.83    $    97.83
 4/15/2018 Arcadio Urena Medina                          $10.00   54.92   $   13.00   $   164.75   $ 96.96    $   261.71
 4/22/2018 Arcadio Urena Medina                          $10.00   55.67   $   13.00   $   167.00   $ 101.83   $   268.83
 4/29/2018 Arcadio Urena Medina                          $10.00   45.22   $   13.00   $   135.65   $ 33.91    $   169.56
  5/6/2018 Arcadio Urena Medina                          $10.00   56.78   $   13.00   $   170.35   $ 109.09   $   279.44
 5/13/2018 Arcadio Urena Medina                          $10.00   55.12   $   13.00   $   165.35   $ 98.26    $   263.61
 5/20/2018 Arcadio Urena Medina                          $10.00   62.15   $   13.00   $   186.45   $ 143.98   $   330.43
 5/27/2018 Arcadio Urena Medina                          $10.00   63.17   $   13.00   $   189.50   $ 150.58   $   340.08
  6/3/2018 Arcadio Urena Medina                          $10.00   53.17   $   13.00   $   159.50   $ 85.58    $   245.08
 6/10/2018 Arcadio Urena Medina                          $10.00   57.75   $   13.00   $   173.25   $ 115.38   $   288.63
 6/17/2018 Arcadio Urena Medina                          $10.00   47.63   $   13.00   $   142.90   $ 49.62    $   192.52
 6/24/2018 Arcadio Urena Medina                          $10.00   54.12   $   13.00   $   162.35   $ 91.76    $   254.11
  7/1/2018 Arcadio Urena Medina                          $10.00   54.37   $   13.00   $   163.10   $ 93.38    $   256.48
  7/8/2018 Arcadio Urena Medina                          $10.00   47.30   $   13.00   $   141.90   $ 47.45    $   189.35
 7/15/2018 Arcadio Urena Medina                          $10.00   53.87   $   13.00   $   161.60   $ 90.13    $   251.73
 11/4/2018 Arcadio Urena Medina                          $10.50   51.72   $   13.00   $   129.29   $ 76.16    $   205.45
11/11/2018 Arcadio Urena Medina                          $10.50   57.03   $   13.00   $   142.58   $ 110.72   $   253.30
11/18/2018 Arcadio Urena Medina                          $10.50   54.45   $   13.00   $   136.13   $ 93.93    $   230.05
11/25/2018 Arcadio Urena Medina                          $10.50   45.42   $   13.00   $   113.54   $ 35.21    $   148.75
 12/2/2018 Arcadio Urena Medina                          $10.50   55.92   $   13.00   $   139.79   $ 103.46   $   243.25
 12/9/2018 Arcadio Urena Medina                          $10.50   56.58   $   13.00   $   141.46   $ 107.79   $   249.25
12/16/2018 Arcadio Urena Medina                          $10.50   56.12   $   13.00   $   140.29   $ 104.76   $   245.05
12/23/2018 Arcadio Urena Medina                          $10.50   51.90   $   13.00   $   129.75   $ 77.35    $   207.10



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                                                Exhibit 3
                                       New York City Computations


  Week                                                              State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
 Ending                         Name                              Minimum Regular Half-time Overtime Back
                                                     Rate Week
  Date                                                             Wage   Rate Due     Due       Wages Due

12/30/2018 Arcadio Urena Medina                        $10.50   41.92   $   13.00   $   104.79   $ 12.46    $   117.25
  1/6/2019 Arcadio Urena Medina                        $10.50   43.33   $   15.00   $   195.00   $ 25.00    $   220.00
 1/13/2019 Arcadio Urena Medina                        $10.50   51.12   $   15.00   $   230.03   $ 83.37    $   313.40
 1/20/2019 Arcadio Urena Medina                        $10.50   48.58   $   15.00   $   218.63   $ 64.38    $   283.00
 1/27/2019 Arcadio Urena Medina                        $10.50   47.73   $   15.00   $   214.80   $ 58.00    $   272.80
 2/10/2019 Arcadio Urena Medina                        $10.50   54.42   $   15.00   $   244.88   $ 108.13   $   353.00
 2/17/2019 Arcadio Urena Medina                        $10.50   50.20   $   15.00   $   225.90   $ 76.50    $   302.40
 2/24/2019 Arcadio Urena Medina                        $10.50   54.40   $   15.00   $   244.80   $ 108.00   $   352.80
  3/3/2019 Arcadio Urena Medina                        $10.50   49.97   $   15.00   $   224.85   $ 74.75    $   299.60
 3/10/2019 Arcadio Urena Medina                        $10.50   58.82   $   15.00   $   264.68   $ 141.13   $   405.80
 3/17/2019 Arcadio Urena Medina                        $10.50   52.45   $   15.00   $   236.03   $ 93.38    $   329.40
 3/24/2019 Arcadio Urena Medina                        $10.50   49.25   $   15.00   $   221.63   $ 69.38    $   291.00
10/20/2019 Armando Rodriguez                           $15.00   40.27   $   15.00                $   2.00   $     2.00
 11/3/2019 Armando Rodriguez                           $15.00   40.27   $   15.00                $   2.00   $     2.00
 12/8/2019 Armando Rodriguez                           $15.00   40.52   $   15.00                $   3.87   $     3.87
 1/19/2020 Armando Rodriguez                           $15.00   46.28   $   15.00                $ 47.13    $    47.13
 8/18/2019 Arturo Santana @ Showroom                   $16.50   53.85   $   15.00                $ 114.26   $   114.26
 8/25/2019 Arturo Santana @ Showroom                   $16.50   59.27   $   15.00                $ 158.95   $   158.95
  9/1/2019 Arturo Santana @ Showroom                   $16.50   53.85   $   15.00                $ 114.26   $   114.26
 9/24/2017 Audy J. Rodriguez                           $11.00   41.70   $   11.00                $   9.35   $     9.35
10/29/2017 Audy J. Rodriguez                           $11.00   44.70   $   11.00                $ 25.85    $    25.85
11/12/2017 Audy J. Rodriguez                           $11.00   49.02   $   11.00                $ 49.59    $    49.59
11/19/2017 Audy J. Rodriguez                           $11.00   48.65   $   11.00                $ 47.58    $    47.58
 12/3/2017 Audy J. Rodriguez                           $11.00   59.27   $   11.00                $ 105.97   $   105.97
12/10/2017 Audy J. Rodriguez                           $11.00   53.20   $   11.00                $ 72.60    $    72.60
12/17/2017 Audy J. Rodriguez                           $11.00   58.17   $   11.00                $ 99.92    $    99.92
  2/5/2017 Benjamin M. Almanzar                         $9.50   56.97   $   11.00   $    85.45   $ 93.32    $   178.77
 2/12/2017 Benjamin M. Almanzar                         $9.50   57.27   $   11.00   $    85.90   $ 94.97    $   180.87
 2/19/2017 Benjamin M. Almanzar                         $9.50   60.75   $   11.00   $    91.13   $ 114.13   $   205.25
 2/26/2017 Benjamin M. Almanzar                         $9.50   59.98   $   11.00   $    89.98   $ 109.91   $   199.88
  3/5/2017 Benjamin M. Almanzar                         $9.50   61.12   $   11.00   $    91.68   $ 116.14   $   207.82
 3/12/2017 Benjamin M. Almanzar                         $9.50   61.55   $   11.00   $    92.33   $ 118.53   $   210.85
 3/19/2017 Benjamin M. Almanzar                         $9.50   50.68   $   11.00   $    76.03   $ 58.76    $   134.78
 3/26/2017 Benjamin M. Almanzar                         $9.50   64.68   $   11.00   $    97.03   $ 135.76   $   232.78
  4/2/2017 Benjamin M. Almanzar                         $9.50   65.27   $   11.00   $    97.90   $ 138.97   $   236.87
  4/9/2017 Benjamin M. Almanzar                         $9.50   56.10   $   11.00   $    84.15   $ 88.55    $   172.70
 4/16/2017 Benjamin M. Almanzar                         $9.50   48.27   $   11.00   $    72.40   $ 45.47    $   117.87
 4/23/2017 Benjamin M. Almanzar                         $9.50   49.08   $   11.00   $    73.63   $ 49.96    $   123.58
 4/30/2017 Benjamin M. Almanzar                         $9.50   48.73   $   11.00   $    73.10   $ 48.03    $   121.13
  5/7/2017 Benjamin M. Almanzar                         $9.50   49.33   $   11.00   $    74.00   $ 51.33    $   125.33
 5/14/2017 Benjamin M. Almanzar                         $9.50   48.93   $   11.00   $    73.40   $ 49.13    $   122.53
 5/21/2017 Benjamin M. Almanzar                         $9.50   61.17   $   11.00   $    91.75   $ 116.42   $   208.17
 5/28/2017 Benjamin M. Almanzar                         $9.50   48.60   $   11.00   $    72.90   $ 47.30    $   120.20
  6/4/2017 Benjamin M. Almanzar                         $9.50   41.73   $   11.00   $    62.60   $   9.53   $    72.13
 6/11/2017 Benjamin M. Almanzar                         $9.50   47.60   $   11.00   $    71.40   $ 41.80    $   113.20
 6/18/2017 Benjamin M. Almanzar                         $9.50   48.45   $   11.00   $    72.68   $ 46.48    $   119.15
 7/16/2017 Benjamin M. Almanzar                         $9.50   61.48   $   11.00   $    92.23   $ 118.16   $   210.38
 7/23/2017 Benjamin M. Almanzar                         $9.50   58.78   $   11.00   $    88.18   $ 103.31   $   191.48
 7/30/2017 Benjamin M. Almanzar                         $9.50   59.88   $   11.00   $    89.83   $ 109.36   $   199.18
  8/6/2017 Benjamin M. Almanzar                         $9.50   58.67   $   11.00   $    88.00   $ 102.67   $   190.67
 8/13/2017 Benjamin M. Almanzar                         $9.50   60.63   $   11.00   $    90.95   $ 113.48   $   204.43
 8/20/2017 Benjamin M. Almanzar                         $9.50   58.85   $   11.00   $    88.28   $ 103.68   $   191.95
  9/3/2017 Benjamin M. Almanzar                         $9.50   58.48   $   11.00   $    87.73   $ 101.66   $   189.38
 9/10/2017 Benjamin M. Almanzar                         $9.50   58.18   $   11.00   $    87.28   $ 100.01   $   187.28
 9/17/2017 Benjamin M. Almanzar                         $9.50   60.47   $   11.00   $    90.70   $ 112.57   $   203.27
 9/24/2017 Benjamin M. Almanzar                         $9.50   62.30   $   11.00   $    93.45   $ 122.65   $   216.10
 10/1/2017 Benjamin M. Almanzar                         $9.50   51.80   $   11.00   $    77.70   $ 64.90    $   142.60
 10/8/2017 Benjamin M. Almanzar                         $9.50   61.68   $   11.00   $    92.53   $ 119.26   $   211.78



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                                                         Exhibit 3
                                                New York City Computations


  Week                                                                       State Section 7: Section 7: Total Section 7
                                                             Hourly Hours/
 Ending                          Name                                      Minimum Regular Half-time Overtime Back
                                                              Rate Week
  Date                                                                      Wage   Rate Due     Due       Wages Due

10/15/2017 Benjamin M. Almanzar                                  $9.50   60.70   $   11.00   $ 91.05    $ 113.85   $   204.90
10/22/2017 Benjamin M. Almanzar                                  $9.50   58.77   $   11.00   $ 88.15    $ 103.22   $   191.37
10/29/2017 Benjamin M. Almanzar                                  $9.50   49.70   $   11.00   $ 74.55    $ 53.35    $   127.90
 11/5/2017 Benjamin M. Almanzar                                  $9.50   50.45   $   11.00   $ 75.68    $ 57.48    $   133.15
11/12/2017 Benjamin M. Almanzar                                  $9.50   49.55   $   11.00   $ 74.33    $ 52.53    $   126.85
11/19/2017 Benjamin M. Almanzar                                  $9.50   50.78   $   11.00   $ 76.18    $ 59.31    $   135.48
 1/13/2019 Bienvenido Jesus Almanzar Leonardo                    $9.00   59.85   $   15.00   $ 359.10   $ 148.88   $   507.98
 1/20/2019 Bienvenido Jesus Almanzar Leonardo                    $9.00   60.07   $   15.00   $ 360.40   $ 150.50   $   510.90
 1/27/2019 Bienvenido Jesus Almanzar Leonardo                    $9.00   59.90   $   15.00   $ 359.40   $ 149.25   $   508.65
  2/3/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   50.23   $   15.00   $ 251.17   $ 76.75    $   327.92
 2/10/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   52.23   $   15.00   $ 261.17   $ 91.75    $   352.92
 2/17/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   52.80   $   15.00   $ 264.00   $ 96.00    $   360.00
 2/24/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   47.25   $   15.00   $ 236.25   $ 54.37    $   290.63
  3/3/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   50.35   $   15.00   $ 251.75   $ 77.63    $   329.38
 3/10/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   59.38   $   15.00   $ 296.92   $ 145.38   $   442.29
 3/17/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   53.52   $   15.00   $ 267.58   $ 101.38   $   368.96
 3/24/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   50.25   $   15.00   $ 251.25   $ 76.88    $   328.13
 3/31/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   52.97   $   15.00   $ 264.83   $ 97.25    $   362.08
  4/7/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   60.53   $   15.00   $ 302.67   $ 154.00   $   456.67
 4/14/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   56.12   $   15.00   $ 280.58   $ 120.88   $   401.46
 4/21/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   62.12   $   15.00   $ 310.58   $ 165.88   $   476.46
 4/28/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   53.43   $   15.00   $ 267.17   $ 100.75   $   367.92
  5/5/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   57.15   $   15.00   $ 285.75   $ 128.63   $   414.38
 5/12/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   56.17   $   15.00   $ 280.83   $ 121.25   $   402.08
 5/19/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   51.03   $   15.00   $ 255.17   $ 82.75    $   337.92
 5/26/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   50.98   $   15.00   $ 254.92   $ 82.38    $   337.29
  6/2/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   44.02   $   15.00   $ 220.08   $ 30.13    $   250.21
  6/9/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   51.15   $   15.00   $ 255.75   $ 83.63    $   339.38
 6/16/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   48.32   $   15.00   $ 241.58   $ 62.38    $   303.96
 6/23/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   51.50   $   15.00   $ 257.50   $ 86.25    $   343.75
 6/30/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   55.43   $   15.00   $ 277.17   $ 115.75   $   392.92
  7/7/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   50.70   $   15.00   $ 253.50   $ 80.25    $   333.75
 7/14/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   60.62   $   15.00   $ 303.08   $ 154.63   $   457.71
 7/21/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   59.10   $   15.00   $ 295.50   $ 143.25   $   438.75
 7/28/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   52.32   $   15.00   $ 261.58   $ 92.38    $   353.96
  8/4/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   66.60   $   15.00   $ 333.00   $ 199.50   $   532.50
 8/11/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   58.18   $   15.00   $ 290.92   $ 136.38   $   427.29
 8/18/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   56.12   $   15.00   $ 280.58   $ 120.88   $   401.46
 8/25/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   61.68   $   15.00   $ 308.42   $ 162.63   $   471.04
  9/1/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   70.12   $   15.00   $ 350.58   $ 225.88   $   576.46
  9/8/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   68.37   $   15.00   $ 341.83   $ 212.75   $   554.58
 9/15/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   66.85   $   15.00   $ 334.25   $ 201.38   $   535.63
 9/22/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   70.50   $   15.00   $ 352.50   $ 228.75   $   581.25
 9/29/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   67.75   $   15.00   $ 338.75   $ 208.13   $   546.88
 10/6/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   64.67   $   15.00   $ 323.33   $ 185.00   $   508.33
10/13/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   63.33   $   15.00   $ 316.67   $ 175.00   $   491.67
10/20/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   65.08   $   15.00   $ 325.42   $ 188.13   $   513.54
10/27/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   49.42   $   15.00   $ 247.08   $ 70.63    $   317.71
 11/3/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   60.90   $   15.00   $ 304.50   $ 156.75   $   461.25
11/10/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   59.85   $   15.00   $ 299.25   $ 148.88   $   448.13
11/17/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   58.90   $   15.00   $ 294.50   $ 141.75   $   436.25
11/24/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   59.58   $   15.00   $ 297.92   $ 146.88   $   444.79
 12/8/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   59.52   $   15.00   $ 297.58   $ 146.38   $   443.96
12/15/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   61.25   $   15.00   $ 306.25   $ 159.38   $   465.63
12/22/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   61.63   $   15.00   $ 308.17   $ 162.25   $   470.42
12/29/2019 Bienvenido Jesus Almanzar Leonardo                   $10.00   52.38   $   15.00   $ 261.92   $ 92.87    $   354.79
  1/5/2020 Bienvenido Jesus Almanzar Leonardo                   $10.00   54.87   $   15.00   $ 274.33   $ 111.50   $   385.83
 1/12/2020 Bienvenido Jesus Almanzar Leonardo                   $10.00   69.85   $   15.00   $ 349.25   $ 223.88   $   573.13



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  Week                                                                       State Section 7: Section 7: Total Section 7
                                                             Hourly Hours/
 Ending                          Name                                      Minimum Regular Half-time Overtime Back
                                                              Rate Week
  Date                                                                      Wage   Rate Due     Due       Wages Due

 1/19/2020 Bienvenido Jesus Almanzar Leonardo                   $10.00   59.00   $   15.00   $ 295.00   $ 142.50   $   437.50
 1/26/2020 Bienvenido Jesus Almanzar Leonardo                   $10.00   60.13   $   15.00   $ 300.67   $ 151.00   $   451.67
11/19/2017 Body Del Rosario - Valet                             $16.00   48.05   $   11.00              $ 64.40    $    64.40
11/26/2017 Body Del Rosario - Valet                             $16.00   40.50   $   11.00              $   4.00   $     4.00
12/10/2017 Body Del Rosario - Valet                             $16.00   44.63   $   11.00              $ 37.07    $    37.07
12/17/2017 Body Del Rosario - Valet                             $16.00   45.35   $   11.00              $ 42.80    $    42.80
12/24/2017 Body Del Rosario - Valet                             $16.00   59.02   $   11.00              $ 152.13   $   152.13
12/31/2017 Body Del Rosario - Valet                             $16.00   41.85   $   13.00              $ 14.80    $    14.80
 1/21/2018 Body Del Rosario - Valet                             $16.00   42.85   $   13.00              $ 22.80    $    22.80
 1/28/2018 Body Del Rosario - Valet                             $16.00   45.23   $   13.00              $ 41.87    $    41.87
  2/4/2018 Body Del Rosario - Valet                             $16.00   45.17   $   13.00              $ 41.33    $    41.33
 2/11/2018 Body Del Rosario - Valet                             $16.00   48.42   $   13.00              $ 67.33    $    67.33
 2/18/2018 Body Del Rosario - Valet                             $16.00   44.50   $   13.00              $ 36.00    $    36.00
 2/25/2018 Body Del Rosario - Valet                             $16.00   44.02   $   13.00              $ 32.13    $    32.13
  4/8/2018 Body Del Rosario - Valet                             $16.00   40.67   $   13.00              $   5.33   $     5.33
 1/21/2018 Brian Acosta                                         $12.00   56.17   $   13.00   $ 56.17    $ 105.08   $   161.25
 1/28/2018 Brian Acosta                                         $12.00   53.83   $   13.00   $ 53.83    $ 89.92    $   143.75
  2/4/2018 Brian Acosta                                         $12.00   45.82   $   13.00   $ 45.82    $ 37.81    $    83.63
 2/11/2018 Brian Acosta                                         $12.00   54.52   $   13.00   $ 54.52    $ 94.36    $   148.88
 2/18/2018 Brian Acosta                                         $12.00   54.03   $   13.00   $ 54.03    $ 91.22    $   145.25
 2/25/2018 Brian Acosta                                         $12.00   46.88   $   13.00   $ 46.88    $ 44.74    $    91.62
  3/4/2018 Brian Acosta                                         $12.00   55.02   $   13.00   $ 55.02    $ 97.61    $   152.63
 3/25/2018 Brian Acosta                                         $12.00   50.98   $   13.00   $ 50.98    $ 71.39    $   122.38
  4/1/2018 Brian Acosta                                         $12.00   46.52   $   13.00   $ 46.52    $ 42.36    $    88.88
  4/8/2018 Brian Acosta                                         $12.00   56.15   $   13.00   $ 56.15    $ 104.98   $   161.13
 4/15/2018 Brian Acosta                                         $12.00   46.90   $   13.00   $ 46.90    $ 44.85    $    91.75
 4/29/2018 Brian Acosta                                         $12.00   59.67   $   13.00   $ 59.67    $ 127.83   $   187.50
  5/6/2018 Brian Acosta                                         $12.00   46.93   $   13.00   $ 46.93    $ 45.07    $    92.00
 5/13/2018 Brian Acosta                                         $12.00   56.92   $   13.00   $ 56.92    $ 109.96   $   166.88
 5/20/2018 Brian Acosta                                         $12.00   49.35   $   13.00   $ 49.35    $ 60.78    $   110.13
 5/27/2018 Brian Acosta                                         $12.00   50.92   $   13.00   $ 50.92    $ 70.96    $   121.88
 6/10/2018 Brian Acosta                                         $12.00   49.57   $   13.00   $ 49.57    $ 62.18    $   111.75
 6/17/2018 Brian Acosta                                         $12.00   40.87   $   13.00   $ 40.87    $   5.63   $    46.50
 7/15/2018 Brian Acosta                                         $12.00   50.60   $   13.00   $ 50.60    $ 68.90    $   119.50
 7/22/2018 Brian Acosta                                         $12.00   49.55   $   13.00   $ 49.55    $ 62.08    $   111.63
 7/29/2018 Brian Acosta                                         $12.00   48.17   $   13.00   $ 48.17    $ 53.08    $   101.25
  8/5/2018 Brian Acosta                                         $12.00   50.73   $   13.00   $ 50.73    $ 69.77    $   120.50
 8/12/2018 Brian Acosta                                         $12.00   41.28   $   13.00   $ 41.28    $   8.34   $    49.63
 8/19/2018 Brian Acosta                                         $12.00   51.53   $   13.00   $ 51.53    $ 74.97    $   126.50
 8/26/2018 Brian Acosta                                         $12.00   60.83   $   13.00   $ 60.83    $ 135.42   $   196.25
  9/2/2018 Brian Acosta                                         $12.00   41.18   $   13.00   $ 41.18    $   7.69   $    48.88
 9/16/2018 Brian Acosta                                         $12.00   41.78   $   13.00   $ 41.78    $ 11.59    $    53.38
 9/23/2018 Brian Acosta                                         $12.00   48.82   $   13.00   $ 48.82    $ 57.31    $   106.13
 9/30/2018 Brian Acosta                                         $12.00   55.98   $   13.00   $ 55.98    $ 103.89   $   159.88
 10/7/2018 Brian Acosta                                         $12.00   48.75   $   13.00   $ 48.75    $ 56.88    $   105.63
10/14/2018 Brian Acosta                                         $12.00   57.07   $   13.00   $ 57.07    $ 110.93   $   168.00
10/21/2018 Brian Acosta                                         $12.00   56.82   $   13.00   $ 56.82    $ 109.31   $   166.13
10/28/2018 Brian Acosta                                         $12.00   63.95   $   13.00   $ 63.95    $ 155.68   $   219.63
 11/4/2018 Brian Acosta                                         $12.00   76.22   $   13.00   $ 76.22    $ 235.41   $   311.63
11/11/2018 Brian Acosta                                         $12.00   45.97   $   13.00   $ 45.97    $ 38.78    $    84.75
11/18/2018 Brian Acosta                                         $12.00   57.22   $   13.00   $ 57.22    $ 111.91   $   169.13
11/25/2018 Brian Acosta                                         $12.00   40.27   $   13.00   $ 40.27    $   1.73   $    42.00
 12/9/2018 Brian Acosta                                         $12.00   56.47   $   13.00   $ 56.47    $ 107.03   $   163.50
12/16/2018 Brian Acosta                                         $12.00   64.05   $   13.00   $ 64.05    $ 156.33   $   220.38
12/30/2018 Brian Acosta                                         $12.00   41.68   $   13.00   $ 41.68    $ 10.94    $    52.63
 1/13/2019 Brian Acosta                                         $12.00   40.07   $   15.00   $ 120.20   $   0.50   $   120.70
 2/10/2019 Brian Acosta                                         $12.00   47.82   $   15.00   $ 143.45   $ 58.63    $   202.08
 2/24/2019 Brian Acosta                                         $12.00   41.67   $   15.00   $ 125.00   $ 12.50    $   137.50



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  Week                                                                        State Section 7: Section 7: Total Section 7
                                                              Hourly Hours/
 Ending                            Name                                     Minimum Regular Half-time Overtime Back
                                                               Rate Week
  Date                                                                       Wage   Rate Due     Due       Wages Due

 3/17/2019 Brian Acosta                                          $12.00   47.23   $   15.00   $   141.70   $ 54.25    $   195.95
 3/31/2019 Brian Acosta                                          $12.00   46.52   $   15.00   $   139.55   $ 48.88    $   188.43
  4/7/2019 Brian Acosta                                          $12.00   51.55   $   15.00   $   154.65   $ 86.63    $   241.28
 4/21/2019 Brian Acosta                                          $12.00   43.85   $   15.00   $   131.55   $ 28.88    $   160.43
 4/28/2019 Brian Acosta                                          $12.00   47.35   $   15.00   $   142.05   $ 55.13    $   197.18
 5/12/2019 Brian Acosta                                          $12.00   43.28   $   15.00   $   129.85   $ 24.63    $   154.48
 5/19/2019 Brian Acosta                                          $12.00   44.97   $   15.00   $   134.90   $ 37.25    $   172.15
 5/26/2019 Brian Acosta                                          $12.00   43.35   $   15.00   $   130.05   $ 25.13    $   155.18
 7/28/2019 Brian Acosta                                          $12.00   41.80   $   15.00   $   125.40   $ 13.50    $   138.90
  8/4/2019 Brian Acosta                                          $12.00   52.43   $   15.00   $   157.30   $ 93.25    $   250.55
 8/11/2019 Brian Acosta                                          $12.00   44.50   $   15.00   $   133.50   $ 33.75    $   167.25
 8/18/2019 Brian Acosta                                          $12.00   48.72   $   15.00   $   146.15   $ 65.38    $   211.53
 8/25/2019 Brian Acosta                                          $12.00   51.05   $   15.00   $   153.15   $ 82.88    $   236.03
  9/1/2019 Brian Acosta                                          $12.00   58.80   $   15.00   $   176.40   $ 141.00   $   317.40
  9/8/2019 Brian Acosta                                          $12.00   41.20   $   15.00   $   123.60   $   9.00   $   132.60
 9/15/2019 Brian Acosta                                          $12.00   43.98   $   15.00   $   131.95   $ 29.88    $   161.83
11/17/2019 Brian Acosta                                          $12.00   51.02   $   15.00   $   153.05   $ 82.62    $   235.68
12/15/2019 Brian Acosta                                          $12.00   54.68   $   15.00   $   164.05   $ 110.13   $   274.18
12/22/2019 Brian Acosta                                          $12.00   43.70   $   15.00   $   131.10   $ 27.75    $   158.85
 1/12/2020 Brian Acosta                                          $12.00   63.25   $   15.00   $   189.75   $ 174.38   $   364.13
11/19/2017 Bryan Figueroa - Valet                                $16.00   48.20   $   11.00                $ 65.60    $    65.60
 3/26/2017 Bryan Platero - Car Washer/Detailer                   $11.00   56.88   $   11.00                $ 92.86    $    92.86
  4/2/2017 Bryan Platero - Car Washer/Detailer                   $11.00   57.93   $   11.00                $ 98.63    $    98.63
  4/9/2017 Bryan Platero - Car Washer/Detailer                   $11.00   57.40   $   11.00                $ 95.70    $    95.70
 4/16/2017 Bryan Platero - Car Washer/Detailer                   $11.00   52.38   $   11.00                $ 68.11    $    68.11
 4/23/2017 Bryan Platero - Car Washer/Detailer                   $11.00   55.27   $   11.00                $ 83.97    $    83.97
 4/30/2017 Bryan Platero - Car Washer/Detailer                   $11.00   55.48   $   11.00                $ 85.16    $    85.16
  5/7/2017 Bryan Platero - Car Washer/Detailer                   $11.00   60.43   $   11.00                $ 112.38   $   112.38
 5/14/2017 Bryan Platero - Car Washer/Detailer                   $11.00   54.57   $   11.00                $ 80.12    $    80.12
 5/21/2017 Bryan Platero - Car Washer/Detailer                   $11.00   47.38   $   11.00                $ 40.61    $    40.61
 5/28/2017 Bryan Platero - Car Washer/Detailer                   $11.00   59.30   $   11.00                $ 106.15   $   106.15
  6/4/2017 Bryan Platero - Car Washer/Detailer                   $11.00   55.27   $   11.00                $ 83.97    $    83.97
 6/11/2017 Bryan Platero - Car Washer/Detailer                   $11.00   49.37   $   11.00                $ 51.52    $    51.52
 6/18/2017 Bryan Platero - Car Washer/Detailer                   $11.00   56.07   $   11.00                $ 88.37    $    88.37
 6/25/2017 Bryan Platero - Car Washer/Detailer                   $11.00   54.60   $   11.00                $ 80.30    $    80.30
  7/2/2017 Bryan Platero - Car Washer/Detailer                   $11.00   59.45   $   11.00                $ 106.98   $   106.98
  7/9/2017 Bryan Platero - Car Washer/Detailer                   $11.00   46.02   $   11.00                $ 33.09    $    33.09
 7/16/2017 Bryan Platero - Car Washer/Detailer                   $11.00   54.88   $   11.00                $ 81.86    $    81.86
 7/23/2017 Bryan Platero - Car Washer/Detailer                   $11.00   54.42   $   11.00                $ 79.29    $    79.29
 7/30/2017 Bryan Platero - Car Washer/Detailer                   $11.00   55.10   $   11.00                $ 83.05    $    83.05
  8/6/2017 Bryan Platero - Car Washer/Detailer                   $11.00   54.68   $   11.00                $ 80.76    $    80.76
 8/13/2017 Bryan Platero - Car Washer/Detailer                   $11.00   53.58   $   11.00                $ 74.71    $    74.71
 8/20/2017 Bryan Platero - Car Washer/Detailer                   $11.00   53.08   $   11.00                $ 71.96    $    71.96
 8/27/2017 Bryan Platero - Car Washer/Detailer                   $11.00   44.55   $   11.00                $ 25.03    $    25.03
  9/3/2017 Bryan Platero - Car Washer/Detailer                   $11.00   58.28   $   11.00                $ 100.56   $   100.56
 9/10/2017 Bryan Platero - Car Washer/Detailer                   $11.00   51.53   $   11.00                $ 63.43    $    63.43
 9/17/2017 Bryan Platero - Car Washer/Detailer                   $11.00   48.82   $   11.00                $ 48.49    $    48.49
 9/24/2017 Bryan Platero - Car Washer/Detailer                   $11.00   61.13   $   11.00                $ 116.23   $   116.23
 10/1/2017 Bryan Platero - Car Washer/Detailer                   $11.00   61.03   $   11.00                $ 115.68   $   115.68
 10/8/2017 Bryan Platero - Car Washer/Detailer                   $11.00   58.47   $   11.00                $ 101.57   $   101.57
10/15/2017 Bryan Platero - Car Washer/Detailer                   $11.00   58.23   $   11.00                $ 100.28   $   100.28
10/22/2017 Bryan Platero - Car Washer/Detailer                   $11.00   50.42   $   11.00                $ 57.29    $    57.29
10/29/2017 Bryan Platero - Car Washer/Detailer                   $11.00   55.52   $   11.00                $ 85.34    $    85.34
 11/5/2017 Bryan Platero - Car Washer/Detailer                   $11.00   45.38   $   11.00                $ 29.61    $    29.61
11/12/2017 Bryan Platero - Car Washer/Detailer                   $11.00   58.33   $   11.00                $ 100.83   $   100.83
11/19/2017 Bryan Platero - Car Washer/Detailer                   $11.00   60.73   $   11.00                $ 114.03   $   114.03
11/26/2017 Bryan Platero - Car Washer/Detailer                   $11.00   49.38   $   11.00                $ 51.61    $    51.61
 12/3/2017 Bryan Platero - Car Washer/Detailer                   $11.00   59.90   $   11.00                $ 109.45   $   109.45



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                                                          Exhibit 3
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  Week                                                                        State Section 7: Section 7: Total Section 7
                                                              Hourly Hours/
 Ending                            Name                                     Minimum Regular Half-time Overtime Back
                                                               Rate Week
  Date                                                                       Wage   Rate Due     Due       Wages Due

12/10/2017 Bryan Platero - Car Washer/Detailer                   $11.00   58.47   $   11.00                $ 101.57   $   101.57
12/17/2017 Bryan Platero - Car Washer/Detailer                   $11.00   55.87   $   11.00                $ 87.27    $    87.27
12/24/2017 Bryan Platero - Car Washer/Detailer                   $11.00   63.22   $   11.00                $ 127.69   $   127.69
12/31/2017 Bryan Platero - Car Washer/Detailer                   $11.00   50.93   $   13.00   $ 101.87     $ 71.07    $   172.93
  1/7/2018 Bryan Platero - Car Washer/Detailer                   $13.00   60.15   $   13.00                $ 130.98   $   130.98
 1/14/2018 Bryan Platero - Car Washer/Detailer                   $13.00   53.95   $   13.00                $ 90.67    $    90.67
 1/21/2018 Bryan Platero - Car Washer/Detailer                   $13.00   59.17   $   13.00                $ 124.58   $   124.58
 1/28/2018 Bryan Platero - Car Washer/Detailer                   $13.00   59.50   $   13.00                $ 126.75   $   126.75
  2/4/2018 Bryan Platero - Car Washer/Detailer                   $13.00   54.85   $   13.00                $ 96.53    $    96.53
 2/11/2018 Bryan Platero - Car Washer/Detailer                   $13.00   47.77   $   13.00                $ 50.48    $    50.48
 2/18/2018 Bryan Platero - Car Washer/Detailer                   $13.00   53.10   $   13.00                $ 85.15    $    85.15
 2/25/2018 Bryan Platero - Car Washer/Detailer                   $13.00   53.73   $   13.00                $ 89.27    $    89.27
  3/4/2018 Bryan Platero - Car Washer/Detailer                   $13.00   46.67   $   13.00                $ 43.33    $    43.33
 3/25/2018 Bryan Platero - Car Washer/Detailer                   $13.00   44.40   $   13.00                $ 28.60    $    28.60
  4/1/2018 Bryan Platero - Car Washer/Detailer                   $13.00   41.98   $   13.00                $ 12.89    $    12.89
  4/8/2018 Bryan Platero - Car Washer/Detailer                   $13.00   56.13   $   13.00                $ 104.87   $   104.87
  7/8/2018 Bryan Platero - Car Washer/Detailer                   $11.00   50.95   $   13.00   $   101.90   $ 71.18    $   173.08
 7/15/2018 Bryan Platero - Car Washer/Detailer                   $11.00   64.52   $   13.00   $   129.03   $ 159.36   $   288.39
 7/22/2018 Bryan Platero - Car Washer/Detailer                   $11.00   61.73   $   13.00   $   123.47   $ 141.27   $   264.73
 7/29/2018 Bryan Platero - Car Washer/Detailer                   $11.00   62.30   $   13.00   $   124.60   $ 144.95   $   269.55
  8/5/2018 Bryan Platero - Car Washer/Detailer                   $11.00   63.45   $   13.00   $   126.90   $ 152.43   $   279.33
 8/12/2018 Bryan Platero - Car Washer/Detailer                   $11.00   60.37   $   13.00   $   120.73   $ 132.38   $   253.12
 8/19/2018 Bryan Platero - Car Washer/Detailer                   $11.00   61.53   $   13.00   $   123.07   $ 139.97   $   263.03
 8/26/2018 Bryan Platero - Car Washer/Detailer                   $11.00   62.15   $   13.00   $   124.30   $ 143.98   $   268.28
  9/2/2018 Bryan Platero - Car Washer/Detailer                   $11.00   63.22   $   13.00   $   126.43   $ 150.91   $   277.34
  9/9/2018 Bryan Platero - Car Washer/Detailer                   $11.00   60.55   $   13.00   $   121.10   $ 133.58   $   254.68
 9/16/2018 Bryan Platero - Car Washer/Detailer                   $11.00   61.88   $   13.00   $   123.77   $ 142.24   $   266.01
 9/23/2018 Bryan Platero - Car Washer/Detailer                   $11.00   64.28   $   13.00   $   128.57   $ 157.84   $   286.41
 9/30/2018 Bryan Platero - Car Washer/Detailer                   $11.00   67.60   $   13.00   $   135.20   $ 179.40   $   314.60
 10/7/2018 Bryan Platero - Car Washer/Detailer                   $11.00   68.85   $   13.00   $   137.70   $ 187.53   $   325.23
10/14/2018 Bryan Platero - Car Washer/Detailer                   $11.00   63.98   $   13.00   $   127.97   $ 155.89   $   283.86
10/21/2018 Bryan Platero - Car Washer/Detailer                   $11.00   68.27   $   13.00   $   136.53   $ 183.73   $   320.27
10/28/2018 Bryan Platero - Car Washer/Detailer                   $11.00   64.17   $   13.00   $   128.33   $ 157.08   $   285.42
 11/4/2018 Bryan Platero - Car Washer/Detailer                   $11.00   64.27   $   13.00   $   128.53   $ 157.73   $   286.27
11/11/2018 Bryan Platero - Car Washer/Detailer                   $11.00   64.98   $   13.00   $   129.97   $ 162.39   $   292.36
11/18/2018 Bryan Platero - Car Washer/Detailer                   $11.00   68.12   $   13.00   $   136.23   $ 182.76   $   318.99
11/25/2018 Bryan Platero - Car Washer/Detailer                   $11.00   50.22   $   13.00   $   100.43   $ 66.41    $   166.84
 12/2/2018 Bryan Platero - Car Washer/Detailer                   $11.00   67.65   $   13.00   $   135.30   $ 179.73   $   315.03
 12/9/2018 Bryan Platero - Car Washer/Detailer                   $11.00   64.58   $   13.00   $   129.17   $ 159.79   $   288.96
12/16/2018 Bryan Platero - Car Washer/Detailer                   $11.00   67.15   $   13.00   $   134.30   $ 176.48   $   310.78
12/23/2018 Bryan Platero - Car Washer/Detailer                   $11.00   63.28   $   13.00   $   126.57   $ 151.34   $   277.91
12/30/2018 Bryan Platero - Car Washer/Detailer                   $11.00   55.12   $   13.00   $   110.23   $ 98.26    $   208.49
  1/6/2019 Bryan Platero - Car Washer/Detailer                   $11.00   61.30   $   15.00   $   245.20   $ 159.75   $   404.95
 1/13/2019 Bryan Platero - Car Washer/Detailer                   $11.00   63.70   $   15.00   $   254.80   $ 177.75   $   432.55
 1/20/2019 Bryan Platero - Car Washer/Detailer                   $11.00   65.25   $   15.00   $   261.00   $ 189.38   $   450.38
 2/24/2019 Bryan Platero - Car Washer/Detailer                   $11.00   51.75   $   15.00   $   207.00   $ 88.13    $   295.13
 3/24/2019 Bryan Platero - Car Washer/Detailer                   $11.00   57.17   $   15.00   $   228.67   $ 128.75   $   357.42
 3/31/2019 Bryan Platero - Car Washer/Detailer                   $11.00   56.90   $   15.00   $   227.60   $ 126.75   $   354.35
  4/7/2019 Bryan Platero - Car Washer/Detailer                   $11.00   50.28   $   15.00   $   201.13   $ 77.13    $   278.26
 4/14/2019 Bryan Platero - Car Washer/Detailer                   $11.00   51.32   $   15.00   $   205.27   $ 84.88    $   290.14
 4/21/2019 Bryan Platero - Car Washer/Detailer                   $11.00   52.18   $   15.00   $   208.73   $ 91.38    $   300.11
 4/28/2019 Bryan Platero - Car Washer/Detailer                   $11.00   55.52   $   15.00   $   222.07   $ 116.38   $   338.44
 5/12/2019 Bryan Platero - Car Washer/Detailer                   $11.00   52.38   $   15.00   $   209.53   $ 92.87    $   302.41
 5/19/2019 Bryan Platero - Car Washer/Detailer                   $11.00   56.95   $   15.00   $   227.80   $ 127.13   $   354.93
 5/26/2019 Bryan Platero - Car Washer/Detailer                   $11.00   55.58   $   15.00   $   222.33   $ 116.88   $   339.21
  6/2/2019 Bryan Platero - Car Washer/Detailer                   $11.00   46.70   $   15.00   $   186.80   $ 50.25    $   237.05
  6/9/2019 Bryan Platero - Car Washer/Detailer                   $11.00   46.62   $   15.00   $   186.47   $ 49.63    $   236.09
 6/16/2019 Bryan Platero - Car Washer/Detailer                   $11.00   54.92   $   15.00   $   219.67   $ 111.88   $   331.54



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  Week                                                                        State Section 7: Section 7: Total Section 7
                                                              Hourly Hours/
 Ending                            Name                                     Minimum Regular Half-time Overtime Back
                                                               Rate Week
  Date                                                                       Wage   Rate Due     Due       Wages Due

 6/23/2019 Bryan Platero - Car Washer/Detailer                   $11.00   56.70   $   15.00   $ 226.80   $ 125.25   $   352.05
 6/30/2019 Bryan Platero - Car Washer/Detailer                   $11.00   61.15   $   15.00   $ 244.60   $ 158.63   $   403.23
  7/7/2019 Bryan Platero - Car Washer/Detailer                   $13.00   51.42   $   15.00   $ 102.83   $ 85.63    $   188.46
 7/14/2019 Bryan Platero - Car Washer/Detailer                   $13.00   50.67   $   15.00   $ 101.33   $ 80.00    $   181.33
 7/21/2019 Bryan Platero - Car Washer/Detailer                   $13.00   61.27   $   15.00   $ 122.53   $ 159.50   $   282.03
 7/28/2019 Bryan Platero - Car Washer/Detailer                   $13.00   51.88   $   15.00   $ 103.77   $ 89.13    $   192.89
  8/4/2019 Bryan Platero - Car Washer/Detailer                   $13.00   50.27   $   15.00   $ 100.53   $ 77.00    $   177.53
 8/11/2019 Bryan Platero - Car Washer/Detailer                   $13.00   56.18   $   15.00   $ 112.37   $ 121.38   $   233.74
 8/18/2019 Bryan Platero - Car Washer/Detailer                   $13.00   56.03   $   15.00   $ 112.07   $ 120.25   $   232.32
 8/25/2019 Bryan Platero - Car Washer/Detailer                   $13.00   53.43   $   15.00   $ 106.87   $ 100.75   $   207.62
  9/1/2019 Bryan Platero - Car Washer/Detailer                   $13.00   53.42   $   15.00   $ 106.83   $ 100.63   $   207.46
  9/8/2019 Bryan Platero - Car Washer/Detailer                   $13.00   42.73   $   15.00   $ 85.47    $ 20.50    $   105.97
 9/15/2019 Bryan Platero - Car Washer/Detailer                   $13.00   44.88   $   15.00   $ 89.77    $ 36.63    $   126.39
 9/22/2019 Bryan Platero - Car Washer/Detailer                   $13.00   44.68   $   15.00   $ 89.37    $ 35.13    $   124.49
 9/29/2019 Bryan Platero - Car Washer/Detailer                   $13.00   54.70   $   15.00   $ 109.40   $ 110.25   $   219.65
 10/6/2019 Bryan Platero - Car Washer/Detailer                   $13.00   52.72   $   15.00   $ 105.43   $ 95.38    $   200.81
10/13/2019 Bryan Platero - Car Washer/Detailer                   $13.00   48.73   $   15.00   $ 97.47    $ 65.50    $   162.97
10/20/2019 Bryan Platero - Car Washer/Detailer                   $13.00   54.97   $   15.00   $ 109.93   $ 112.25   $   222.18
10/27/2019 Bryan Platero - Car Washer/Detailer                   $13.00   53.52   $   15.00   $ 107.03   $ 101.38   $   208.41
 11/3/2019 Bryan Platero - Car Washer/Detailer                   $13.00   55.87   $   15.00   $ 111.73   $ 119.00   $   230.73
11/10/2019 Bryan Platero - Car Washer/Detailer                   $13.00   44.27   $   15.00   $ 88.53    $ 32.00    $   120.53
11/17/2019 Bryan Platero - Car Washer/Detailer                   $13.00   54.23   $   15.00   $ 108.47   $ 106.75   $   215.22
11/24/2019 Bryan Platero - Car Washer/Detailer                   $13.00   55.82   $   15.00   $ 111.63   $ 118.63   $   230.26
 12/1/2019 Bryan Platero - Car Washer/Detailer                   $13.00   47.70   $   15.00   $ 95.40    $ 57.75    $   153.15
 12/8/2019 Bryan Platero - Car Washer/Detailer                   $13.00   49.18   $   15.00   $ 98.37    $ 68.87    $   167.24
12/15/2019 Bryan Platero - Car Washer/Detailer                   $13.00   53.82   $   15.00   $ 107.63   $ 103.63   $   211.26
12/22/2019 Bryan Platero - Car Washer/Detailer                   $13.00   55.05   $   15.00   $ 110.10   $ 112.88   $   222.98
12/29/2019 Bryan Platero - Car Washer/Detailer                   $13.00   42.50   $   15.00   $ 85.00    $ 18.75    $   103.75
 1/12/2020 Bryan Platero - Car Washer/Detailer                   $13.00   54.80   $   15.00   $ 109.60   $ 111.00   $   220.60
 1/26/2020 Bryan Platero - Car Washer/Detailer                   $13.00   54.50   $   15.00   $ 109.00   $ 108.75   $   217.75
  2/5/2017 Carlos Baten Lopez - Detailer                         $12.50   41.27   $   11.00              $   7.92   $     7.92
 2/19/2017 Carlos Baten Lopez - Detailer                         $12.50   50.53   $   11.00              $ 65.83    $    65.83
 2/26/2017 Carlos Baten Lopez - Detailer                         $12.50   52.48   $   11.00              $ 78.02    $    78.02
  3/5/2017 Carlos Baten Lopez - Detailer                         $12.50   49.58   $   11.00              $ 59.90    $    59.90
 3/12/2017 Carlos Baten Lopez - Detailer                         $12.50   46.55   $   11.00              $ 40.94    $    40.94
 3/19/2017 Carlos Baten Lopez - Detailer                         $12.50   41.18   $   11.00              $   7.40   $     7.40
 3/26/2017 Carlos Baten Lopez - Detailer                         $12.50   52.55   $   11.00              $ 78.44    $    78.44
  4/2/2017 Carlos Baten Lopez - Detailer                         $12.50   54.67   $   11.00              $ 91.67    $    91.67
  4/9/2017 Carlos Baten Lopez - Detailer                         $12.50   50.37   $   11.00              $ 64.79    $    64.79
 4/16/2017 Carlos Baten Lopez - Detailer                         $12.50   49.38   $   11.00              $ 58.65    $    58.65
 4/23/2017 Carlos Baten Lopez - Detailer                         $12.50   50.37   $   11.00              $ 64.79    $    64.79
 4/30/2017 Carlos Baten Lopez - Detailer                         $12.50   50.43   $   11.00              $ 65.21    $    65.21
  5/7/2017 Carlos Baten Lopez - Detailer                         $12.50   50.33   $   11.00              $ 64.58    $    64.58
 5/14/2017 Carlos Baten Lopez - Detailer                         $12.50   50.35   $   11.00              $ 64.69    $    64.69
 5/21/2017 Carlos Baten Lopez - Detailer                         $12.50   50.57   $   11.00              $ 66.04    $    66.04
 5/28/2017 Carlos Baten Lopez - Detailer                         $12.50   50.03   $   11.00              $ 62.71    $    62.71
  6/4/2017 Carlos Baten Lopez - Detailer                         $12.50   42.40   $   11.00              $ 15.00    $    15.00
 6/11/2017 Carlos Baten Lopez - Detailer                         $12.50   50.48   $   11.00              $ 65.52    $    65.52
 6/18/2017 Carlos Baten Lopez - Detailer                         $12.50   50.07   $   11.00              $ 62.92    $    62.92
 6/25/2017 Carlos Baten Lopez - Detailer                         $12.50   50.13   $   11.00              $ 63.33    $    63.33
  7/2/2017 Carlos Baten Lopez - Detailer                         $12.50   50.25   $   11.00              $ 64.06    $    64.06
  7/9/2017 Carlos Baten Lopez - Detailer                         $12.50   46.20   $   11.00              $ 38.75    $    38.75
 7/16/2017 Carlos Baten Lopez - Detailer                         $12.50   50.20   $   11.00              $ 63.75    $    63.75
 7/23/2017 Carlos Baten Lopez - Detailer                         $12.50   52.15   $   11.00              $ 75.94    $    75.94
 7/30/2017 Carlos Baten Lopez - Detailer                         $12.50   54.57   $   11.00              $ 91.04    $    91.04
  8/6/2017 Carlos Baten Lopez - Detailer                         $12.50   58.97   $   11.00              $ 118.54   $   118.54
 8/13/2017 Carlos Baten Lopez - Detailer                         $12.50   54.60   $   11.00              $ 91.25    $    91.25
 8/20/2017 Carlos Baten Lopez - Detailer                         $12.50   54.50   $   11.00              $ 90.63    $    90.63



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  Week                                                                  State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
 Ending                             Name                              Minimum Regular Half-time Overtime Back
                                                         Rate Week
  Date                                                                 Wage   Rate Due     Due       Wages Due

 8/27/2017 Carlos Baten Lopez - Detailer                   $12.50   58.45   $   11.00               $ 115.31   $   115.31
  9/3/2017 Carlos Baten Lopez - Detailer                   $12.50   58.70   $   11.00               $ 116.88   $   116.88
 9/10/2017 Carlos Baten Lopez - Detailer                   $12.50   51.70   $   11.00               $ 73.13    $    73.13
 9/17/2017 Carlos Baten Lopez - Detailer                   $12.50   56.68   $   11.00               $ 104.27   $   104.27
 9/24/2017 Carlos Baten Lopez - Detailer                   $12.50   52.35   $   11.00               $ 77.19    $    77.19
 10/1/2017 Carlos Baten Lopez - Detailer                   $12.50   58.58   $   11.00               $ 116.15   $   116.15
 10/8/2017 Carlos Baten Lopez - Detailer                   $12.50   54.48   $   11.00               $ 90.52    $    90.52
10/15/2017 Carlos Baten Lopez - Detailer                   $12.50   50.23   $   11.00               $ 63.96    $    63.96
10/22/2017 Carlos Baten Lopez - Detailer                   $12.50   50.60   $   11.00               $ 66.25    $    66.25
10/29/2017 Carlos Baten Lopez - Detailer                   $12.50   50.63   $   11.00               $ 66.46    $    66.46
 11/5/2017 Carlos Baten Lopez - Detailer                   $12.50   50.15   $   11.00               $ 63.44    $    63.44
11/12/2017 Carlos Baten Lopez - Detailer                   $12.50   50.32   $   11.00               $ 64.48    $    64.48
11/19/2017 Carlos Baten Lopez - Detailer                   $12.50   50.57   $   11.00               $ 66.04    $    66.04
11/26/2017 Carlos Baten Lopez - Detailer                   $12.50   43.70   $   11.00               $ 23.13    $    23.13
 12/3/2017 Carlos Baten Lopez - Detailer                   $12.50   52.75   $   11.00               $ 79.69    $    79.69
12/10/2017 Carlos Baten Lopez - Detailer                   $12.50   46.55   $   11.00               $ 40.94    $    40.94
12/17/2017 Carlos Baten Lopez - Detailer                   $12.50   42.38   $   11.00               $ 14.90    $    14.90
12/24/2017 Carlos Baten Lopez - Detailer                   $12.50   52.60   $   11.00               $ 78.75    $    78.75
12/31/2017 Carlos Baten Lopez - Detailer                   $12.50   43.90   $   13.00   $   21.95   $ 25.35    $    47.30
 1/21/2018 Carlos Baten Lopez - Detailer                   $12.50   42.77   $   13.00   $   21.38   $ 17.98    $    39.37
 1/28/2018 Carlos Baten Lopez - Detailer                   $12.50   48.42   $   13.00   $   24.21   $ 54.71    $    78.92
  2/4/2018 Carlos Baten Lopez - Detailer                   $12.50   50.47   $   13.00   $   25.23   $ 68.03    $    93.27
 2/11/2018 Carlos Baten Lopez - Detailer                   $12.50   49.05   $   13.00   $   24.53   $ 58.83    $    83.35
 2/18/2018 Carlos Baten Lopez - Detailer                   $12.50   50.37   $   13.00   $   25.18   $ 67.38    $    92.57
 2/25/2018 Carlos Baten Lopez - Detailer                   $12.50   48.70   $   13.00   $   24.35   $ 56.55    $    80.90
  3/4/2018 Carlos Baten Lopez - Detailer                   $12.50   40.83   $   13.00   $   20.42   $   5.42   $    25.83
 3/25/2018 Carlos Baten Lopez - Detailer                   $12.50   49.02   $   13.00   $   24.51   $ 58.61    $    83.12
  4/1/2018 Carlos Baten Lopez - Detailer                   $12.50   56.83   $   13.00   $   28.42   $ 109.42   $   137.83
  4/8/2018 Carlos Baten Lopez - Detailer                   $12.50   52.58   $   13.00   $   26.29   $ 81.79    $   108.08
 4/15/2018 Carlos Baten Lopez - Detailer                   $12.50   56.45   $   13.00   $   28.23   $ 106.93   $   135.15
 4/22/2018 Carlos Baten Lopez - Detailer                   $12.50   56.32   $   13.00   $   28.16   $ 106.06   $   134.22
 4/29/2018 Carlos Baten Lopez - Detailer                   $12.50   59.00   $   13.00   $   29.50   $ 123.50   $   153.00
  5/6/2018 Carlos Baten Lopez - Detailer                   $12.50   58.67   $   13.00   $   29.33   $ 121.33   $   150.67
 5/13/2018 Carlos Baten Lopez - Detailer                   $12.50   58.72   $   13.00   $   29.36   $ 121.66   $   151.02
 5/20/2018 Carlos Baten Lopez - Detailer                   $12.50   58.32   $   13.00   $   29.16   $ 119.06   $   148.22
 5/27/2018 Carlos Baten Lopez - Detailer                   $12.50   59.57   $   13.00   $   29.78   $ 127.18   $   156.97
  6/3/2018 Carlos Baten Lopez - Detailer                   $12.50   48.48   $   13.00   $   24.24   $ 55.14    $    79.38
 6/10/2018 Carlos Baten Lopez - Detailer                   $12.50   59.35   $   13.00   $   29.68   $ 125.78   $   155.45
 6/17/2018 Carlos Baten Lopez - Detailer                   $12.50   59.15   $   13.00   $   29.58   $ 124.48   $   154.05
 6/24/2018 Carlos Baten Lopez - Detailer                   $12.50   58.77   $   13.00   $   29.38   $ 121.98   $   151.37
  7/1/2018 Carlos Baten Lopez - Detailer                   $12.50   59.08   $   13.00   $   29.54   $ 124.04   $   153.58
  7/8/2018 Carlos Baten Lopez - Detailer                   $12.50   51.12   $   13.00   $   25.56   $ 72.26    $    97.82
 7/15/2018 Carlos Baten Lopez - Detailer                   $12.50   58.28   $   13.00   $   29.14   $ 118.84   $   147.98
 7/22/2018 Carlos Baten Lopez - Detailer                   $12.50   50.38   $   13.00   $   25.19   $ 67.49    $    92.68
 7/29/2018 Carlos Baten Lopez - Detailer                   $12.50   58.85   $   13.00   $   29.43   $ 122.53   $   151.95
  8/5/2018 Carlos Baten Lopez - Detailer                   $12.50   51.02   $   13.00   $   25.51   $ 71.61    $    97.12
 8/12/2018 Carlos Baten Lopez - Detailer                   $12.50   58.83   $   13.00   $   29.42   $ 122.42   $   151.83
 8/19/2018 Carlos Baten Lopez - Detailer                   $12.50   58.65   $   13.00   $   29.33   $ 121.23   $   150.55
 8/26/2018 Carlos Baten Lopez - Detailer                   $12.50   58.98   $   13.00   $   29.49   $ 123.39   $   152.88
  9/2/2018 Carlos Baten Lopez - Detailer                   $12.50   59.40   $   13.00   $   29.70   $ 126.10   $   155.80
  9/9/2018 Carlos Baten Lopez - Detailer                   $12.50   57.37   $   13.00   $   28.68   $ 112.88   $   141.57
 9/16/2018 Carlos Baten Lopez - Detailer                   $12.50   58.48   $   13.00   $   29.24   $ 120.14   $   149.38
 9/23/2018 Carlos Baten Lopez - Detailer                   $12.50   58.62   $   13.00   $   29.31   $ 121.01   $   150.32
 9/30/2018 Carlos Baten Lopez - Detailer                   $12.50   58.93   $   13.00   $   29.47   $ 123.07   $   152.53
 10/7/2018 Carlos Baten Lopez - Detailer                   $12.50   58.77   $   13.00   $   29.38   $ 121.98   $   151.37
10/14/2018 Carlos Baten Lopez - Detailer                   $12.50   58.65   $   13.00   $   29.33   $ 121.23   $   150.55
10/21/2018 Carlos Baten Lopez - Detailer                   $12.50   58.13   $   13.00   $   29.07   $ 117.87   $   146.93
10/28/2018 Carlos Baten Lopez - Detailer                   $12.50   58.62   $   13.00   $   29.31   $ 121.01   $   150.32



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                                                    Exhibit 3
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  Week                                                                  State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
 Ending                             Name                              Minimum Regular Half-time Overtime Back
                                                         Rate Week
  Date                                                                 Wage   Rate Due     Due       Wages Due

 11/4/2018 Carlos Baten Lopez - Detailer                   $12.50   58.35   $   13.00   $ 29.18    $ 119.28   $   148.45
11/11/2018 Carlos Baten Lopez - Detailer                   $12.50   57.27   $   13.00   $ 28.63    $ 112.23   $   140.87
11/18/2018 Carlos Baten Lopez - Detailer                   $12.50   59.02   $   13.00   $ 29.51    $ 123.61   $   153.12
 12/2/2018 Carlos Baten Lopez - Detailer                   $12.50   58.75   $   13.00   $ 29.38    $ 121.88   $   151.25
 12/9/2018 Carlos Baten Lopez - Detailer                   $12.50   58.52   $   13.00   $ 29.26    $ 120.36   $   149.62
12/16/2018 Carlos Baten Lopez - Detailer                   $12.50   58.58   $   13.00   $ 29.29    $ 120.79   $   150.08
12/23/2018 Carlos Baten Lopez - Detailer                   $12.50   58.35   $   13.00   $ 29.18    $ 119.28   $   148.45
 1/13/2019 Carlos Baten Lopez - Detailer                   $12.50   58.55   $   15.00   $ 146.38   $ 139.13   $   285.50
 1/20/2019 Carlos Baten Lopez - Detailer                   $12.50   58.30   $   15.00   $ 145.75   $ 137.25   $   283.00
 1/27/2019 Carlos Baten Lopez - Detailer                   $12.50   58.60   $   15.00   $ 146.50   $ 139.50   $   286.00
  2/3/2019 Carlos Baten Lopez - Detailer                   $12.50   58.78   $   15.00   $ 146.96   $ 140.88   $   287.83
 2/10/2019 Carlos Baten Lopez - Detailer                   $12.50   58.87   $   15.00   $ 147.17   $ 141.50   $   288.67
 2/17/2019 Carlos Baten Lopez - Detailer                   $12.50   58.93   $   15.00   $ 147.33   $ 142.00   $   289.33
 2/24/2019 Carlos Baten Lopez - Detailer                   $12.50   58.92   $   15.00   $ 147.29   $ 141.88   $   289.17
  3/3/2019 Carlos Baten Lopez - Detailer                   $12.50   58.15   $   15.00   $ 145.38   $ 136.13   $   281.50
 3/10/2019 Carlos Baten Lopez - Detailer                   $12.50   59.03   $   15.00   $ 147.58   $ 142.75   $   290.33
 3/17/2019 Carlos Baten Lopez - Detailer                   $12.50   58.20   $   15.00   $ 145.50   $ 136.50   $   282.00
 3/24/2019 Carlos Baten Lopez - Detailer                   $12.50   58.52   $   15.00   $ 146.29   $ 138.88   $   285.17
 3/31/2019 Carlos Baten Lopez - Detailer                   $12.50   58.62   $   15.00   $ 146.54   $ 139.63   $   286.17
  4/7/2019 Carlos Baten Lopez - Detailer                   $12.50   58.77   $   15.00   $ 146.92   $ 140.75   $   287.67
 4/14/2019 Carlos Baten Lopez - Detailer                   $12.50   58.10   $   15.00   $ 145.25   $ 135.75   $   281.00
 4/21/2019 Carlos Baten Lopez - Detailer                   $12.50   58.73   $   15.00   $ 146.83   $ 140.50   $   287.33
 4/28/2019 Carlos Baten Lopez - Detailer                   $12.50   58.93   $   15.00   $ 147.33   $ 142.00   $   289.33
  5/5/2019 Carlos Baten Lopez - Detailer                   $12.50   59.57   $   15.00   $ 148.92   $ 146.75   $   295.67
 5/12/2019 Carlos Baten Lopez - Detailer                   $12.50   59.17   $   15.00   $ 147.92   $ 143.75   $   291.67
 5/19/2019 Carlos Baten Lopez - Detailer                   $12.50   59.12   $   15.00   $ 147.79   $ 143.38   $   291.17
 5/26/2019 Carlos Baten Lopez - Detailer                   $12.50   58.48   $   15.00   $ 146.21   $ 138.63   $   284.83
  6/2/2019 Carlos Baten Lopez - Detailer                   $12.50   48.47   $   15.00   $ 121.17   $ 63.50    $   184.67
  6/9/2019 Carlos Baten Lopez - Detailer                   $12.50   58.77   $   15.00   $ 146.92   $ 140.75   $   287.67
 6/16/2019 Carlos Baten Lopez - Detailer                   $12.50   58.33   $   15.00   $ 145.83   $ 137.50   $   283.33
 6/23/2019 Carlos Baten Lopez - Detailer                   $12.50   58.15   $   15.00   $ 145.38   $ 136.13   $   281.50
 6/30/2019 Carlos Baten Lopez - Detailer                   $12.50   58.10   $   15.00   $ 145.25   $ 135.75   $   281.00
  7/7/2019 Carlos Baten Lopez - Detailer                   $12.50   48.33   $   15.00   $ 120.83   $ 62.50    $   183.33
 7/14/2019 Carlos Baten Lopez - Detailer                   $12.50   58.03   $   15.00   $ 145.08   $ 135.25   $   280.33
 7/21/2019 Carlos Baten Lopez - Detailer                   $12.50   57.60   $   15.00   $ 144.00   $ 132.00   $   276.00
 7/28/2019 Carlos Baten Lopez - Detailer                   $12.50   48.05   $   15.00   $ 120.13   $ 60.38    $   180.50
  8/4/2019 Carlos Baten Lopez - Detailer                   $12.50   58.37   $   15.00   $ 145.92   $ 137.75   $   283.67
 8/11/2019 Carlos Baten Lopez - Detailer                   $12.50   57.92   $   15.00   $ 144.79   $ 134.38   $   279.17
 8/18/2019 Carlos Baten Lopez - Detailer                   $12.50   58.08   $   15.00   $ 145.21   $ 135.63   $   280.83
 8/25/2019 Carlos Baten Lopez - Detailer                   $12.50   57.82   $   15.00   $ 144.54   $ 133.63   $   278.17
  9/1/2019 Carlos Baten Lopez - Detailer                   $12.50   56.68   $   15.00   $ 141.71   $ 125.13   $   266.83
  9/8/2019 Carlos Baten Lopez - Detailer                   $12.50   47.78   $   15.00   $ 119.46   $ 58.38    $   177.83
 9/15/2019 Carlos Baten Lopez - Detailer                   $12.50   58.22   $   15.00   $ 145.54   $ 136.63   $   282.17
 9/22/2019 Carlos Baten Lopez - Detailer                   $12.50   58.62   $   15.00   $ 146.54   $ 139.63   $   286.17
 9/29/2019 Carlos Baten Lopez - Detailer                   $12.50   58.30   $   15.00   $ 145.75   $ 137.25   $   283.00
 10/6/2019 Carlos Baten Lopez - Detailer                   $12.50   58.48   $   15.00   $ 146.21   $ 138.63   $   284.83
10/13/2019 Carlos Baten Lopez - Detailer                   $12.50   56.93   $   15.00   $ 142.33   $ 127.00   $   269.33
10/20/2019 Carlos Baten Lopez - Detailer                   $12.50   58.47   $   15.00   $ 146.17   $ 138.50   $   284.67
10/27/2019 Carlos Baten Lopez - Detailer                   $12.50   58.05   $   15.00   $ 145.13   $ 135.38   $   280.50
 11/3/2019 Carlos Baten Lopez - Detailer                   $12.50   57.48   $   15.00   $ 143.71   $ 131.13   $   274.83
11/10/2019 Carlos Baten Lopez - Detailer                   $12.50   58.93   $   15.00   $ 147.33   $ 142.00   $   289.33
11/24/2019 Carlos Baten Lopez - Detailer                   $12.50   58.45   $   15.00   $ 146.13   $ 138.38   $   284.50
 12/8/2019 Carlos Baten Lopez - Detailer                   $12.50   57.37   $   15.00   $ 143.42   $ 130.25   $   273.67
12/15/2019 Carlos Baten Lopez - Detailer                   $12.50   57.40   $   15.00   $ 143.50   $ 130.50   $   274.00
12/22/2019 Carlos Baten Lopez - Detailer                   $12.50   58.45   $   15.00   $ 146.13   $ 138.38   $   284.50
 1/12/2020 Carlos Baten Lopez - Detailer                   $12.50   57.67   $   15.00   $ 144.17   $ 132.50   $   276.67
 1/19/2020 Carlos Baten Lopez - Detailer                   $12.50   58.43   $   15.00   $ 146.08   $ 138.25   $   284.33
 1/26/2020 Carlos Baten Lopez - Detailer                   $12.50   56.43   $   15.00   $ 141.08   $ 123.25   $   264.33



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  Week                                                                      State Section 7: Section 7: Total Section 7
                                                            Hourly Hours/
 Ending                          Name                                     Minimum Regular Half-time Overtime Back
                                                             Rate Week
  Date                                                                     Wage   Rate Due     Due       Wages Due

 1/13/2019 Carlos Manuel Coronado Crisostomo                   $15.00   59.93   $   15.00                $ 149.50   $   149.50
 1/20/2019 Carlos Manuel Coronado Crisostomo                   $10.50   67.53   $   15.00   $   303.90   $ 206.50   $   510.40
 1/27/2019 Carlos Manuel Coronado Crisostomo                   $10.50   68.38   $   15.00   $   307.73   $ 212.88   $   520.60
  2/3/2019 Carlos Manuel Coronado Crisostomo                   $10.50   66.10   $   15.00   $   297.45   $ 195.75   $   493.20
 2/10/2019 Carlos Manuel Coronado Crisostomo                   $10.50   68.78   $   15.00   $   309.53   $ 215.88   $   525.40
 2/17/2019 Carlos Manuel Coronado Crisostomo                   $10.50   69.92   $   15.00   $   314.63   $ 224.38   $   539.00
 2/24/2019 Carlos Manuel Coronado Crisostomo                   $10.50   73.45   $   15.00   $   330.53   $ 250.88   $   581.40
  3/3/2019 Carlos Manuel Coronado Crisostomo                   $10.50   63.88   $   15.00   $   287.48   $ 179.13   $   466.60
 3/10/2019 Carlos Manuel Coronado Crisostomo                   $10.50   65.07   $   15.00   $   292.80   $ 188.00   $   480.80
 3/17/2019 Carlos Manuel Coronado Crisostomo                   $10.50   63.30   $   15.00   $   284.85   $ 174.75   $   459.60
 3/24/2019 Carlos Manuel Coronado Crisostomo                   $10.50   65.97   $   15.00   $   296.85   $ 194.75   $   491.60
 3/31/2019 Carlos Manuel Coronado Crisostomo                   $10.50   65.28   $   15.00   $   293.78   $ 189.63   $   483.40
  4/7/2019 Carlos Manuel Coronado Crisostomo                   $10.50   61.58   $   15.00   $   277.13   $ 161.88   $   439.00
 4/14/2019 Carlos Manuel Coronado Crisostomo                   $10.50   66.42   $   15.00   $   298.88   $ 198.13   $   497.00
 4/21/2019 Carlos Manuel Coronado Crisostomo                   $10.50   64.83   $   15.00   $   291.75   $ 186.25   $   478.00
 5/12/2019 Carlos Manuel Coronado Crisostomo                   $10.50   51.33   $   15.00   $   231.00   $ 85.00    $   316.00
 5/19/2019 Carlos Manuel Coronado Crisostomo                   $10.50   50.05   $   15.00   $   225.23   $ 75.38    $   300.60
 5/26/2019 Carlos Manuel Coronado Crisostomo                   $10.50   52.33   $   15.00   $   235.50   $ 92.50    $   328.00
  6/9/2019 Carlos Manuel Coronado Crisostomo                   $10.50   50.28   $   15.00   $   226.28   $ 77.13    $   303.40
 6/16/2019 Carlos Manuel Coronado Crisostomo                   $10.50   42.68   $   15.00   $   192.08   $ 20.13    $   212.20
 6/23/2019 Carlos Manuel Coronado Crisostomo                   $10.50   50.07   $   15.00   $   225.30   $ 75.50    $   300.80
 6/30/2019 Carlos Manuel Coronado Crisostomo                   $10.50   46.97   $   15.00   $   211.35   $ 52.25    $   263.60
  7/7/2019 Carlos Manuel Coronado Crisostomo                   $10.50   48.50   $   15.00   $   218.25   $ 63.75    $   282.00
 7/14/2019 Carlos Manuel Coronado Crisostomo                   $10.50   57.92   $   15.00   $   260.63   $ 134.38   $   395.00
 7/21/2019 Carlos Manuel Coronado Crisostomo                   $10.50   48.63   $   15.00   $   218.85   $ 64.75    $   283.60
 7/28/2019 Carlos Manuel Coronado Crisostomo                   $10.50   58.65   $   15.00   $   263.93   $ 139.88   $   403.80
  8/4/2019 Carlos Manuel Coronado Crisostomo                   $10.50   49.62   $   15.00   $   223.28   $ 72.12    $   295.40
 8/11/2019 Carlos Manuel Coronado Crisostomo                   $10.50   60.85   $   15.00   $   273.83   $ 156.38   $   430.20
 8/18/2019 Carlos Manuel Coronado Crisostomo                   $10.50   61.90   $   15.00   $   278.55   $ 164.25   $   442.80
 8/25/2019 Carlos Manuel Coronado Crisostomo                   $10.50   62.00   $   15.00   $   279.00   $ 165.00   $   444.00
  9/1/2019 Carlos Manuel Coronado Crisostomo                   $10.50   50.95   $   15.00   $   229.28   $ 82.13    $   311.40
  9/8/2019 Carlos Manuel Coronado Crisostomo                   $10.50   62.55   $   15.00   $   281.48   $ 169.13   $   450.60
 9/15/2019 Carlos Manuel Coronado Crisostomo                   $10.50   62.30   $   15.00   $   280.35   $ 167.25   $   447.60
 9/22/2019 Carlos Manuel Coronado Crisostomo                   $10.50   62.83   $   15.00   $   282.75   $ 171.25   $   454.00
 9/29/2019 Carlos Manuel Coronado Crisostomo                   $10.50   62.40   $   15.00   $   280.80   $ 168.00   $   448.80
 10/6/2019 Carlos Manuel Coronado Crisostomo                   $10.50   57.43   $   15.00   $   258.45   $ 130.75   $   389.20
10/13/2019 Carlos Manuel Coronado Crisostomo                   $10.50   62.77   $   15.00   $   282.45   $ 170.75   $   453.20
10/20/2019 Carlos Manuel Coronado Crisostomo                   $10.50   62.48   $   15.00   $   281.18   $ 168.63   $   449.80
10/27/2019 Carlos Manuel Coronado Crisostomo                   $10.50   62.62   $   15.00   $   281.78   $ 169.63   $   451.40
 11/3/2019 Carlos Manuel Coronado Crisostomo                   $10.50   62.78   $   15.00   $   282.53   $ 170.88   $   453.40
  2/5/2017 Carlos Manuel Lopez                                 $16.00   68.08   $   11.00                $ 224.67   $   224.67
 2/12/2017 Carlos Manuel Lopez                                 $16.00   48.08   $   11.00                $ 64.67    $    64.67
 3/12/2017 Carlos Manuel Lopez                                 $16.00   66.38   $   11.00                $ 211.07   $   211.07
 3/19/2017 Carlos Manuel Lopez                                 $16.00   53.50   $   11.00                $ 108.00   $   108.00
 3/26/2017 Carlos Manuel Lopez                                 $16.00   67.93   $   11.00                $ 223.47   $   223.47
  4/2/2017 Carlos Manuel Lopez                                 $16.00   67.25   $   11.00                $ 218.00   $   218.00
  4/9/2017 Carlos Manuel Lopez                                 $16.00   66.47   $   11.00                $ 211.73   $   211.73
 4/16/2017 Carlos Manuel Lopez                                 $16.00   61.90   $   11.00                $ 175.20   $   175.20
 4/23/2017 Carlos Manuel Lopez                                 $16.00   57.47   $   11.00                $ 139.73   $   139.73
 4/30/2017 Carlos Manuel Lopez                                 $16.00   64.57   $   11.00                $ 196.53   $   196.53
  5/7/2017 Carlos Manuel Lopez                                 $16.00   61.75   $   11.00                $ 174.00   $   174.00
 5/14/2017 Carlos Manuel Lopez                                 $16.00   60.72   $   11.00                $ 165.73   $   165.73
 5/21/2017 Carlos Manuel Lopez                                 $16.00   55.72   $   11.00                $ 125.73   $   125.73
 5/28/2017 Carlos Manuel Lopez                                 $16.00   62.68   $   11.00                $ 181.47   $   181.47
  6/4/2017 Carlos Manuel Lopez                                 $16.00   58.63   $   11.00                $ 149.07   $   149.07
 6/11/2017 Carlos Manuel Lopez                                 $16.00   67.03   $   11.00                $ 216.27   $   216.27
 6/18/2017 Carlos Manuel Lopez                                 $16.00   63.27   $   11.00                $ 186.13   $   186.13
 6/25/2017 Carlos Manuel Lopez                                 $16.00   63.80   $   11.00                $ 190.40   $   190.40



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                                        New York City Computations


  Week                                                               State Section 7: Section 7: Total Section 7
                                                     Hourly Hours/
 Ending                          Name                              Minimum Regular Half-time Overtime Back
                                                      Rate Week
  Date                                                              Wage   Rate Due     Due       Wages Due

  7/2/2017 Carlos Manuel Lopez                          $16.00   66.32   $   11.00     $ 210.53   $      210.53
  7/9/2017 Carlos Manuel Lopez                          $16.00   44.77   $   11.00     $ 38.13    $       38.13
 7/23/2017 Carlos Manuel Lopez                          $16.00   42.70   $   11.00     $ 21.60    $       21.60
 7/30/2017 Carlos Manuel Lopez                          $16.00   63.47   $   11.00     $ 187.73   $      187.73
  8/6/2017 Carlos Manuel Lopez                          $16.00   64.28   $   11.00     $ 194.27   $      194.27
 8/13/2017 Carlos Manuel Lopez                          $16.00   58.68   $   11.00     $ 149.47   $      149.47
 8/20/2017 Carlos Manuel Lopez                          $16.00   59.10   $   11.00     $ 152.80   $      152.80
 8/27/2017 Carlos Manuel Lopez                          $16.00   61.93   $   11.00     $ 175.47   $      175.47
  9/3/2017 Carlos Manuel Lopez                          $16.00   64.40   $   11.00     $ 195.20   $      195.20
 9/10/2017 Carlos Manuel Lopez                          $16.00   60.88   $   11.00     $ 167.07   $      167.07
 9/17/2017 Carlos Manuel Lopez                          $16.00   59.40   $   11.00     $ 155.20   $      155.20
 9/24/2017 Carlos Manuel Lopez                          $16.00   64.85   $   11.00     $ 198.80   $      198.80
 10/1/2017 Carlos Manuel Lopez                          $16.00   63.67   $   11.00     $ 189.33   $      189.33
 10/8/2017 Carlos Manuel Lopez                          $16.00   64.70   $   11.00     $ 197.60   $      197.60
10/15/2017 Carlos Manuel Lopez                          $16.00   61.53   $   11.00     $ 172.27   $      172.27
10/22/2017 Carlos Manuel Lopez                          $16.00   74.55   $   11.00     $ 276.40   $      276.40
10/29/2017 Carlos Manuel Lopez                          $16.00   71.13   $   11.00     $ 249.07   $      249.07
 11/5/2017 Carlos Manuel Lopez                          $16.00   62.82   $   11.00     $ 182.53   $      182.53
11/12/2017 Carlos Manuel Lopez                          $16.00   71.20   $   11.00     $ 249.60   $      249.60
11/19/2017 Carlos Manuel Lopez                          $16.00   61.63   $   11.00     $ 173.07   $      173.07
11/26/2017 Carlos Manuel Lopez                          $16.00   49.90   $   11.00     $ 79.20    $       79.20
 12/3/2017 Carlos Manuel Lopez                          $16.00   61.43   $   11.00     $ 171.47   $      171.47
12/10/2017 Carlos Manuel Lopez                          $16.00   66.58   $   11.00     $ 212.67   $      212.67
12/17/2017 Carlos Manuel Lopez                          $16.00   64.90   $   11.00     $ 199.20   $      199.20
12/24/2017 Carlos Manuel Lopez                          $16.00   64.93   $   11.00     $ 199.47   $      199.47
 1/28/2018 Carlos Manuel Lopez                          $16.00   61.87   $   13.00     $ 174.93   $      174.93
  2/4/2018 Carlos Manuel Lopez                          $16.00   64.95   $   13.00     $ 199.60   $      199.60
 2/11/2018 Carlos Manuel Lopez                          $16.00   61.62   $   13.00     $ 172.93   $      172.93
 2/18/2018 Carlos Manuel Lopez                          $16.00   62.10   $   13.00     $ 176.80   $      176.80
 2/25/2018 Carlos Manuel Lopez                          $16.00   62.98   $   13.00     $ 183.87   $      183.87
  3/4/2018 Carlos Manuel Lopez                          $16.00   68.90   $   13.00     $ 231.20   $      231.20
 3/25/2018 Carlos Manuel Lopez                          $16.00   53.97   $   13.00     $ 111.73   $      111.73
  4/1/2018 Carlos Manuel Lopez                          $16.00   67.15   $   13.00     $ 217.20   $      217.20
  4/8/2018 Carlos Manuel Lopez                          $16.00   63.77   $   13.00     $ 190.13   $      190.13
 4/15/2018 Carlos Manuel Lopez                          $16.00   66.82   $   13.00     $ 214.53   $      214.53
 4/22/2018 Carlos Manuel Lopez                          $16.00   69.80   $   13.00     $ 238.40   $      238.40
 4/29/2018 Carlos Manuel Lopez                          $16.00   68.53   $   13.00     $ 228.27   $      228.27
  5/6/2018 Carlos Manuel Lopez                          $16.00   52.98   $   13.00     $ 103.87   $      103.87
 5/20/2018 Carlos Manuel Lopez                          $16.00   55.83   $   13.00     $ 126.67   $      126.67
 5/27/2018 Carlos Manuel Lopez                          $16.00   66.82   $   13.00     $ 214.53   $      214.53
  6/3/2018 Carlos Manuel Lopez                          $16.00   61.80   $   13.00     $ 174.40   $      174.40
 6/10/2018 Carlos Manuel Lopez                          $16.00   65.18   $   13.00     $ 201.47   $      201.47
 6/17/2018 Carlos Manuel Lopez                          $16.00   66.25   $   13.00     $ 210.00   $      210.00
 6/24/2018 Carlos Manuel Lopez                          $16.00   61.32   $   13.00     $ 170.53   $      170.53
  7/1/2018 Carlos Manuel Lopez                          $16.00   65.05   $   13.00     $ 200.40   $      200.40
  7/8/2018 Carlos Manuel Lopez                          $16.00   41.02   $   13.00     $   8.13   $        8.13
 7/22/2018 Carlos Manuel Lopez                          $16.00   52.78   $   13.00     $ 102.27   $      102.27
 7/29/2018 Carlos Manuel Lopez                          $16.00   64.65   $   13.00     $ 197.20   $      197.20
  8/5/2018 Carlos Manuel Lopez                          $16.00   63.55   $   13.00     $ 188.40   $      188.40
 8/12/2018 Carlos Manuel Lopez                          $16.00   61.12   $   13.00     $ 168.93   $      168.93
 8/19/2018 Carlos Manuel Lopez                          $16.00   58.63   $   13.00     $ 149.07   $      149.07
 8/26/2018 Carlos Manuel Lopez                          $16.00   64.10   $   13.00     $ 192.80   $      192.80
  9/2/2018 Carlos Manuel Lopez                          $16.00   66.28   $   13.00     $ 210.27   $      210.27
  9/9/2018 Carlos Manuel Lopez                          $16.00   51.00   $   13.00     $ 88.00    $       88.00
 9/16/2018 Carlos Manuel Lopez                          $16.00   51.45   $   13.00     $ 91.60    $       91.60
 9/23/2018 Carlos Manuel Lopez                          $16.00   63.90   $   13.00     $ 191.20   $      191.20
 9/30/2018 Carlos Manuel Lopez                          $16.00   52.13   $   13.00     $ 97.07    $       97.07
10/14/2018 Carlos Manuel Lopez                          $16.00   65.23   $   13.00     $ 201.87   $      201.87



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                                                 Exhibit 3
                                        New York City Computations


  Week                                                               State Section 7: Section 7: Total Section 7
                                                     Hourly Hours/
 Ending                          Name                              Minimum Regular Half-time Overtime Back
                                                      Rate Week
  Date                                                              Wage   Rate Due     Due       Wages Due

10/21/2018 Carlos Manuel Lopez                          $16.00   61.40   $   13.00     $ 171.20   $      171.20
10/28/2018 Carlos Manuel Lopez                          $16.00   64.28   $   13.00     $ 194.27   $      194.27
 11/4/2018 Carlos Manuel Lopez                          $16.00   62.22   $   13.00     $ 177.73   $      177.73
11/11/2018 Carlos Manuel Lopez                          $16.00   52.00   $   13.00     $ 96.00    $       96.00
11/18/2018 Carlos Manuel Lopez                          $16.00   63.52   $   13.00     $ 188.13   $      188.13
11/25/2018 Carlos Manuel Lopez                          $16.00   53.25   $   13.00     $ 106.00   $      106.00
 12/2/2018 Carlos Manuel Lopez                          $16.00   64.57   $   13.00     $ 196.53   $      196.53
 12/9/2018 Carlos Manuel Lopez                          $16.00   62.92   $   13.00     $ 183.33   $      183.33
12/16/2018 Carlos Manuel Lopez                          $16.00   64.32   $   13.00     $ 194.53   $      194.53
12/23/2018 Carlos Manuel Lopez                          $16.00   66.47   $   13.00     $ 211.73   $      211.73
12/30/2018 Carlos Manuel Lopez                          $16.00   56.82   $   13.00     $ 134.53   $      134.53
 1/20/2019 Carlos Manuel Lopez                          $16.00   53.37   $   15.00     $ 106.93   $      106.93
 1/27/2019 Carlos Manuel Lopez                          $16.00   67.55   $   15.00     $ 220.40   $      220.40
  2/3/2019 Carlos Manuel Lopez                          $16.00   67.07   $   15.00     $ 216.53   $      216.53
 2/10/2019 Carlos Manuel Lopez                          $16.00   64.02   $   15.00     $ 192.13   $      192.13
 2/17/2019 Carlos Manuel Lopez                          $16.00   56.23   $   15.00     $ 129.87   $      129.87
 2/24/2019 Carlos Manuel Lopez                          $16.00   62.30   $   15.00     $ 178.40   $      178.40
  3/3/2019 Carlos Manuel Lopez                          $16.00   65.37   $   15.00     $ 202.93   $      202.93
 3/10/2019 Carlos Manuel Lopez                          $16.00   63.35   $   15.00     $ 186.80   $      186.80
 3/17/2019 Carlos Manuel Lopez                          $16.00   64.12   $   15.00     $ 192.93   $      192.93
 3/24/2019 Carlos Manuel Lopez                          $16.00   62.63   $   15.00     $ 181.07   $      181.07
 3/31/2019 Carlos Manuel Lopez                          $16.00   65.77   $   15.00     $ 206.13   $      206.13
  4/7/2019 Carlos Manuel Lopez                          $16.00   65.65   $   15.00     $ 205.20   $      205.20
  5/5/2019 Carlos Manuel Lopez                          $16.00   58.75   $   15.00     $ 150.00   $      150.00
 5/12/2019 Carlos Manuel Lopez                          $16.00   61.37   $   15.00     $ 170.93   $      170.93
 5/19/2019 Carlos Manuel Lopez                          $16.00   52.73   $   15.00     $ 101.87   $      101.87
 5/26/2019 Carlos Manuel Lopez                          $16.00   64.28   $   15.00     $ 194.27   $      194.27
  6/2/2019 Carlos Manuel Lopez                          $16.00   51.48   $   15.00     $ 91.87    $       91.87
  6/9/2019 Carlos Manuel Lopez                          $16.00   61.18   $   15.00     $ 169.47   $      169.47
 6/16/2019 Carlos Manuel Lopez                          $16.00   61.30   $   15.00     $ 170.40   $      170.40
 6/23/2019 Carlos Manuel Lopez                          $16.00   45.08   $   15.00     $ 40.67    $       40.67
 6/30/2019 Carlos Manuel Lopez                          $16.00   58.15   $   15.00     $ 145.20   $      145.20
  7/7/2019 Carlos Manuel Lopez                          $16.00   45.50   $   15.00     $ 44.00    $       44.00
 7/14/2019 Carlos Manuel Lopez                          $16.00   63.60   $   15.00     $ 188.80   $      188.80
 7/21/2019 Carlos Manuel Lopez                          $16.00   52.15   $   15.00     $ 97.20    $       97.20
 7/28/2019 Carlos Manuel Lopez                          $16.00   62.87   $   15.00     $ 182.93   $      182.93
  8/4/2019 Carlos Manuel Lopez                          $16.00   52.35   $   15.00     $ 98.80    $       98.80
 8/11/2019 Carlos Manuel Lopez                          $16.00   59.68   $   15.00     $ 157.47   $      157.47
 8/18/2019 Carlos Manuel Lopez                          $16.00   51.83   $   15.00     $ 94.67    $       94.67
 8/25/2019 Carlos Manuel Lopez                          $16.00   57.53   $   15.00     $ 140.27   $      140.27
  9/1/2019 Carlos Manuel Lopez                          $16.00   63.70   $   15.00     $ 189.60   $      189.60
  9/8/2019 Carlos Manuel Lopez                          $16.00   42.40   $   15.00     $ 19.20    $       19.20
 9/15/2019 Carlos Manuel Lopez                          $16.00   60.33   $   15.00     $ 162.67   $      162.67
 9/22/2019 Carlos Manuel Lopez                          $16.00   60.68   $   15.00     $ 165.47   $      165.47
 9/29/2019 Carlos Manuel Lopez                          $16.00   43.80   $   15.00     $ 30.40    $       30.40
 10/6/2019 Carlos Manuel Lopez                          $16.00   59.90   $   15.00     $ 159.20   $      159.20
10/13/2019 Carlos Manuel Lopez                          $16.00   54.53   $   15.00     $ 116.27   $      116.27
10/20/2019 Carlos Manuel Lopez                          $16.00   63.53   $   15.00     $ 188.27   $      188.27
10/27/2019 Carlos Manuel Lopez                          $16.00   55.15   $   15.00     $ 121.20   $      121.20
11/10/2019 Carlos Manuel Lopez                          $16.00   54.65   $   15.00     $ 117.20   $      117.20
11/17/2019 Carlos Manuel Lopez                          $16.00   52.47   $   15.00     $ 99.73    $       99.73
11/24/2019 Carlos Manuel Lopez                          $16.00   55.22   $   15.00     $ 121.73   $      121.73
 12/1/2019 Carlos Manuel Lopez                          $16.00   50.47   $   15.00     $ 83.73    $       83.73
 12/8/2019 Carlos Manuel Lopez                          $16.00   64.37   $   15.00     $ 194.93   $      194.93
12/15/2019 Carlos Manuel Lopez                          $16.00   55.22   $   15.00     $ 121.73   $      121.73
12/22/2019 Carlos Manuel Lopez                          $16.00   63.55   $   15.00     $ 188.40   $      188.40
12/29/2019 Carlos Manuel Lopez                          $16.00   48.62   $   15.00     $ 68.93    $       68.93
  1/5/2020 Carlos Manuel Lopez                          $16.00   50.27   $   15.00     $ 82.13    $       82.13



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                                                  Exhibit 3
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  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

 1/12/2020 Carlos Manuel Lopez                           $16.00   65.58   $   15.00              $ 204.67   $   204.67
 1/19/2020 Carlos Manuel Lopez                           $16.00   43.15   $   15.00              $ 25.20    $    25.20
 1/26/2020 Carlos Manuel Lopez                           $16.00   51.22   $   15.00              $ 89.73    $    89.73
 12/2/2018 Catherine Gomez - Porter                      $11.00   44.80   $   13.00   $ 89.60    $ 31.20    $   120.80
 12/9/2018 Catherine Gomez - Porter                      $11.00   55.70   $   13.00   $ 111.40   $ 102.05   $   213.45
12/16/2018 Catherine Gomez - Porter                      $11.00   55.28   $   13.00   $ 110.57   $ 99.34    $   209.91
12/23/2018 Catherine Gomez - Porter                      $11.00   53.73   $   13.00   $ 107.47   $ 89.27    $   196.73
12/30/2018 Catherine Gomez - Porter                      $11.00   42.20   $   13.00   $ 84.40    $ 14.30    $    98.70
  1/6/2019 Catherine Gomez - Porter                      $11.00   43.67   $   15.00   $ 174.67   $ 27.50    $   202.17
 1/13/2019 Catherine Gomez - Porter                      $11.00   58.25   $   15.00   $ 233.00   $ 136.88   $   369.88
 1/20/2019 Catherine Gomez - Porter                      $11.00   60.48   $   15.00   $ 241.93   $ 153.63   $   395.56
 1/27/2019 Catherine Gomez - Porter                      $11.00   57.77   $   15.00   $ 231.07   $ 133.25   $   364.32
  2/3/2019 Catherine Gomez - Porter                      $11.00   58.48   $   15.00   $ 233.93   $ 138.63   $   372.56
 2/10/2019 Catherine Gomez - Porter                      $11.00   59.58   $   15.00   $ 238.33   $ 146.88   $   385.21
 2/17/2019 Catherine Gomez - Porter                      $11.00   59.57   $   15.00   $ 238.27   $ 146.75   $   385.02
 2/24/2019 Catherine Gomez - Porter                      $11.00   57.02   $   15.00   $ 228.07   $ 127.63   $   355.69
  3/3/2019 Catherine Gomez - Porter                      $11.00   57.38   $   15.00   $ 229.53   $ 130.38   $   359.91
 3/10/2019 Catherine Gomez - Porter                      $11.00   58.38   $   15.00   $ 233.53   $ 137.88   $   371.41
 3/17/2019 Catherine Gomez - Porter                      $11.00   59.10   $   15.00   $ 236.40   $ 143.25   $   379.65
 3/24/2019 Catherine Gomez - Porter                      $11.00   59.20   $   15.00   $ 236.80   $ 144.00   $   380.80
 3/31/2019 Catherine Gomez - Porter                      $11.00   60.83   $   15.00   $ 243.33   $ 156.25   $   399.58
  4/7/2019 Catherine Gomez - Porter                      $11.00   58.25   $   15.00   $ 233.00   $ 136.88   $   369.88
 4/14/2019 Catherine Gomez - Porter                      $11.00   58.17   $   15.00   $ 232.67   $ 136.25   $   368.92
 4/21/2019 Catherine Gomez - Porter                      $11.00   60.17   $   15.00   $ 240.67   $ 151.25   $   391.92
 4/28/2019 Catherine Gomez - Porter                      $11.00   60.15   $   15.00   $ 240.60   $ 151.13   $   391.73
  5/5/2019 Catherine Gomez - Porter                      $11.00   58.82   $   15.00   $ 235.27   $ 141.13   $   376.39
 5/12/2019 Catherine Gomez - Porter                      $11.00   61.03   $   15.00   $ 244.13   $ 157.75   $   401.88
 5/19/2019 Catherine Gomez - Porter                      $11.00   59.37   $   15.00   $ 237.47   $ 145.25   $   382.72
 5/26/2019 Catherine Gomez - Porter                      $11.00   58.52   $   15.00   $ 234.07   $ 138.88   $   372.94
  6/2/2019 Catherine Gomez - Porter                      $11.00   58.72   $   15.00   $ 234.87   $ 140.38   $   375.24
  6/9/2019 Catherine Gomez - Porter                      $11.00   59.42   $   15.00   $ 237.67   $ 145.63   $   383.29
 6/16/2019 Catherine Gomez - Porter                      $11.00   59.27   $   15.00   $ 237.07   $ 144.50   $   381.57
 6/23/2019 Catherine Gomez - Porter                      $11.00   47.07   $   15.00   $ 188.27   $ 53.00    $   241.27
 6/30/2019 Catherine Gomez - Porter                      $11.00   51.10   $   15.00   $ 204.40   $ 83.25    $   287.65
  7/7/2019 Catherine Gomez - Porter                      $11.50   49.08   $   15.00   $ 171.79   $ 68.13    $   239.92
 7/14/2019 Catherine Gomez - Porter                      $11.50   59.88   $   15.00   $ 209.59   $ 149.13   $   358.72
 7/21/2019 Catherine Gomez - Porter                      $11.50   57.15   $   15.00   $ 200.03   $ 128.63   $   328.65
 7/28/2019 Catherine Gomez - Porter                      $11.50   59.42   $   15.00   $ 207.96   $ 145.63   $   353.58
  8/4/2019 Catherine Gomez - Porter                      $11.50   58.97   $   15.00   $ 206.38   $ 142.25   $   348.63
 8/11/2019 Catherine Gomez - Porter                      $11.50   48.52   $   15.00   $ 169.81   $ 63.88    $   233.68
 8/18/2019 Catherine Gomez - Porter                      $11.50   57.78   $   15.00   $ 202.24   $ 133.38   $   335.62
 8/25/2019 Catherine Gomez - Porter                      $11.50   56.85   $   15.00   $ 198.98   $ 126.38   $   325.35
  9/1/2019 Catherine Gomez - Porter                      $11.50   57.52   $   15.00   $ 201.31   $ 131.38   $   332.68
  9/8/2019 Catherine Gomez - Porter                      $11.50   56.90   $   15.00   $ 199.15   $ 126.75   $   325.90
 9/15/2019 Catherine Gomez - Porter                      $11.50   60.92   $   15.00   $ 213.21   $ 156.88   $   370.08
 9/22/2019 Catherine Gomez - Porter                      $11.50   58.17   $   15.00   $ 203.58   $ 136.25   $   339.83
 9/29/2019 Catherine Gomez - Porter                      $11.50   56.88   $   15.00   $ 199.09   $ 126.63   $   325.72
 10/6/2019 Catherine Gomez - Porter                      $11.50   58.38   $   15.00   $ 204.34   $ 137.88   $   342.22
10/13/2019 Catherine Gomez - Porter                      $11.50   57.33   $   15.00   $ 200.67   $ 130.00   $   330.67
10/20/2019 Catherine Gomez - Porter                      $15.00   56.52   $   15.00              $ 123.88   $   123.88
10/27/2019 Catherine Gomez - Porter                      $15.00   55.27   $   15.00              $ 114.50   $   114.50
 11/3/2019 Catherine Gomez - Porter                      $15.00   56.97   $   15.00              $ 127.25   $   127.25
11/10/2019 Catherine Gomez - Porter                      $15.00   59.52   $   15.00              $ 146.38   $   146.38
11/17/2019 Catherine Gomez - Porter                      $15.00   60.50   $   15.00              $ 153.75   $   153.75
11/24/2019 Catherine Gomez - Porter                      $15.00   57.27   $   15.00              $ 129.50   $   129.50
 12/1/2019 Catherine Gomez - Porter                      $15.00   46.23   $   15.00              $ 46.75    $    46.75
 12/8/2019 Catherine Gomez - Porter                      $15.00   58.53   $   15.00              $ 139.00   $   139.00
12/15/2019 Catherine Gomez - Porter                      $11.50   54.25   $   15.00   $ 189.88   $ 106.88   $   296.75



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  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

12/22/2019 Catherine Gomez - Porter                      $11.50   61.15   $   15.00   $   214.03   $ 158.63   $   372.65
12/29/2019 Catherine Gomez - Porter                      $11.50   49.43   $   15.00   $   173.02   $ 70.75    $   243.77
  1/5/2020 Catherine Gomez - Porter                      $11.50   50.72   $   15.00   $   177.51   $ 80.38    $   257.88
 1/12/2020 Catherine Gomez - Porter                      $11.50   65.63   $   15.00   $   229.72   $ 192.25   $   421.97
 1/19/2020 Catherine Gomez - Porter                      $11.50   64.68   $   15.00   $   226.39   $ 185.13   $   411.52
 1/26/2020 Catherine Gomez - Porter                      $11.50   64.82   $   15.00   $   226.86   $ 186.13   $   412.98
10/29/2017 Cecil Dick - Shuttle                          $16.50   49.47   $   11.00                $ 78.10    $    78.10
 11/5/2017 Cecil Dick - Shuttle                          $16.50   52.23   $   11.00                $ 100.93   $   100.93
11/12/2017 Cecil Dick - Shuttle                          $16.50   50.07   $   11.00                $ 83.05    $    83.05
11/19/2017 Cecil Dick - Shuttle                          $16.50   53.15   $   11.00                $ 108.49   $   108.49
 12/3/2017 Cecil Dick - Shuttle                          $16.50   47.83   $   11.00                $ 64.63    $    64.63
12/10/2017 Cecil Dick - Shuttle                          $16.50   54.30   $   11.00                $ 117.98   $   117.98
12/17/2017 Cecil Dick - Shuttle                          $16.50   54.12   $   11.00                $ 116.46   $   116.46
12/24/2017 Cecil Dick - Shuttle                          $16.50   64.98   $   11.00                $ 206.11   $   206.11
12/31/2017 Cecil Dick - Shuttle                          $16.50   44.90   $   13.00                $ 40.42    $    40.42
  1/7/2018 Cecil Dick - Shuttle                          $16.50   41.17   $   13.00                $   9.62   $     9.62
 1/14/2018 Cecil Dick - Shuttle                          $16.50   46.77   $   13.00                $ 55.83    $    55.83
 1/21/2018 Cecil Dick - Shuttle                          $16.50   50.13   $   13.00                $ 83.60    $    83.60
 1/28/2018 Cecil Dick - Shuttle                          $16.50   45.47   $   13.00                $ 45.10    $    45.10
  3/4/2018 Cecil Dick - Shuttle                          $16.50   56.83   $   13.00                $ 138.88   $   138.88
 3/25/2018 Cecil Dick - Shuttle                          $16.50   44.22   $   13.00                $ 34.79    $    34.79
  4/1/2018 Cecil Dick - Shuttle                          $16.50   45.55   $   13.00                $ 45.79    $    45.79
  4/8/2018 Cecil Dick - Shuttle                          $16.50   55.57   $   13.00                $ 128.43   $   128.43
 4/15/2018 Cecil Dick - Shuttle                          $16.50   52.32   $   13.00                $ 101.61   $   101.61
 4/22/2018 Cecil Dick - Shuttle                          $16.50   57.02   $   13.00                $ 140.39   $   140.39
 4/29/2018 Cecil Dick - Shuttle                          $16.50   49.52   $   13.00                $ 78.51    $    78.51
  5/6/2018 Cecil Dick - Shuttle                          $16.50   59.27   $   13.00                $ 158.95   $   158.95
 5/13/2018 Cecil Dick - Shuttle                          $16.50   69.10   $   13.00                $ 240.08   $   240.08
 5/20/2018 Cecil Dick - Shuttle                          $16.50   42.02   $   13.00                $ 16.64    $    16.64
 5/27/2018 Cecil Dick - Shuttle                          $16.50   48.73   $   13.00                $ 72.05    $    72.05
 6/10/2018 Cecil Dick - Shuttle                          $16.50   53.32   $   13.00                $ 109.86   $   109.86
 6/17/2018 Cecil Dick - Shuttle                          $16.50   51.12   $   13.00                $ 91.71    $    91.71
 6/24/2018 Cecil Dick - Shuttle                          $16.50   42.90   $   13.00                $ 23.93    $    23.93
  7/1/2018 Cecil Dick - Shuttle                          $16.50   54.25   $   13.00                $ 117.56   $   117.56
  7/8/2018 Cecil Dick - Shuttle                          $16.50   43.93   $   13.00                $ 32.45    $    32.45
 7/15/2018 Cecil Dick - Shuttle                          $16.50   54.80   $   13.00                $ 122.10   $   122.10
 7/22/2018 Cecil Dick - Shuttle                          $16.50   55.02   $   13.00                $ 123.89   $   123.89
 7/29/2018 Cecil Dick - Shuttle                          $16.50   51.48   $   13.00                $ 94.74    $    94.74
  8/5/2018 Cecil Dick - Shuttle                          $16.50   55.02   $   13.00                $ 123.89   $   123.89
 8/12/2018 Cecil Dick - Shuttle                          $16.50   52.87   $   13.00                $ 106.15   $   106.15
 8/19/2018 Cecil Dick - Shuttle                          $16.50   52.78   $   13.00                $ 105.46   $   105.46
 8/26/2018 Cecil Dick - Shuttle                          $16.50   53.73   $   13.00                $ 113.30   $   113.30
  9/9/2018 Cecil Dick - Shuttle                          $16.50   52.15   $   13.00                $ 100.24   $   100.24
 9/16/2018 Cecil Dick - Shuttle                          $16.50   53.93   $   13.00                $ 114.95   $   114.95
 9/23/2018 Cecil Dick - Shuttle                          $16.50   53.52   $   13.00                $ 111.51   $   111.51
 9/30/2018 Cecil Dick - Shuttle                          $16.50   53.13   $   13.00                $ 108.35   $   108.35
10/21/2018 Cecil Dick - Shuttle                          $16.50   57.18   $   13.00                $ 141.76   $   141.76
 11/4/2018 Cecil Dick - Shuttle                          $16.50   70.05   $   13.00                $ 247.91   $   247.91
11/11/2018 Cecil Dick - Shuttle                          $16.50   51.98   $   13.00                $ 98.86    $    98.86
11/18/2018 Cecil Dick - Shuttle                          $16.50   63.05   $   13.00                $ 190.16   $   190.16
11/25/2018 Cecil Dick - Shuttle                          $16.50   52.78   $   13.00                $ 105.46   $   105.46
 12/2/2018 Cecil Dick - Shuttle                          $16.50   53.40   $   13.00                $ 110.55   $   110.55
 12/9/2018 Cecil Dick - Shuttle                          $16.50   66.05   $   13.00                $ 214.91   $   214.91
12/16/2018 Cecil Dick - Shuttle                          $16.50   67.38   $   13.00                $ 225.91   $   225.91
12/23/2018 Cecil Dick - Shuttle                          $16.50   64.77   $   13.00                $ 204.33   $   204.33
12/30/2018 Cecil Dick - Shuttle                          $16.50   52.40   $   13.00                $ 102.30   $   102.30
  1/6/2019 Cecil Dick - Shuttle                          $16.50   44.10   $   15.00                $ 33.83    $    33.83
 1/13/2019 Cecil Dick - Shuttle                          $16.50   54.95   $   15.00                $ 123.34   $   123.34



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  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

 1/20/2019 Cecil Dick - Shuttle                          $16.50   65.00   $   15.00     $ 206.25   $      206.25
 1/27/2019 Cecil Dick - Shuttle                          $16.50   49.80   $   15.00     $ 80.85    $       80.85
  2/3/2019 Cecil Dick - Shuttle                          $16.50   48.70   $   15.00     $ 71.78    $       71.78
 2/10/2019 Cecil Dick - Shuttle                          $16.50   55.97   $   15.00     $ 131.73   $      131.73
 2/17/2019 Cecil Dick - Shuttle                          $16.50   59.08   $   15.00     $ 157.44   $      157.44
 2/24/2019 Cecil Dick - Shuttle                          $16.50   61.48   $   15.00     $ 177.24   $      177.24
 3/24/2019 Cecil Dick - Shuttle                          $16.50   44.80   $   15.00     $ 39.60    $       39.60
  4/7/2019 Cecil Dick - Shuttle                          $16.50   46.65   $   15.00     $ 54.86    $       54.86
 4/14/2019 Cecil Dick - Shuttle                          $16.50   50.27   $   15.00     $ 84.70    $       84.70
 4/21/2019 Cecil Dick - Shuttle                          $16.50   57.60   $   15.00     $ 145.20   $      145.20
  5/5/2019 Cecil Dick - Shuttle                          $16.50   49.65   $   15.00     $ 79.61    $       79.61
 5/12/2019 Cecil Dick - Shuttle                          $16.50   49.12   $   15.00     $ 75.21    $       75.21
 5/19/2019 Cecil Dick - Shuttle                          $16.50   49.48   $   15.00     $ 78.24    $       78.24
  6/2/2019 Cecil Dick - Shuttle                          $16.50   40.05   $   15.00     $   0.41   $        0.41
  2/5/2017 Cesar Ceballos- Car Washer                    $11.00   44.10   $   11.00     $ 22.55    $       22.55
 2/12/2017 Cesar Ceballos- Car Washer                    $11.00   40.50   $   11.00     $   2.75   $        2.75
 2/26/2017 Cesar Ceballos- Car Washer                    $11.00   46.28   $   11.00     $ 34.56    $       34.56
12/10/2017 Cesar Ceballos- Car Washer                    $13.00   67.70   $   11.00     $ 180.05   $      180.05
12/17/2017 Cesar Ceballos- Car Washer                    $13.00   67.95   $   11.00     $ 181.68   $      181.68
12/24/2017 Cesar Ceballos- Car Washer                    $13.00   67.37   $   11.00     $ 177.88   $      177.88
12/31/2017 Cesar Ceballos- Car Washer                    $13.00   56.05   $   13.00     $ 104.33   $      104.33
  1/7/2018 Cesar Ceballos- Car Washer                    $13.00   50.63   $   13.00     $ 69.12    $       69.12
 1/14/2018 Cesar Ceballos- Car Washer                    $13.00   66.85   $   13.00     $ 174.53   $      174.53
 1/21/2018 Cesar Ceballos- Car Washer                    $13.00   66.83   $   13.00     $ 174.42   $      174.42
 1/28/2018 Cesar Ceballos- Car Washer                    $13.00   67.27   $   13.00     $ 177.23   $      177.23
  2/4/2018 Cesar Ceballos- Car Washer                    $13.00   66.88   $   13.00     $ 174.74   $      174.74
 2/11/2018 Cesar Ceballos- Car Washer                    $13.00   69.02   $   13.00     $ 188.61   $      188.61
 2/18/2018 Cesar Ceballos- Car Washer                    $13.00   68.47   $   13.00     $ 185.03   $      185.03
 2/25/2018 Cesar Ceballos- Car Washer                    $13.00   68.70   $   13.00     $ 186.55   $      186.55
  3/4/2018 Cesar Ceballos- Car Washer                    $13.00   68.82   $   13.00     $ 187.31   $      187.31
 3/25/2018 Cesar Ceballos- Car Washer                    $13.00   50.32   $   13.00     $ 67.06    $       67.06
  4/1/2018 Cesar Ceballos- Car Washer                    $13.00   51.45   $   13.00     $ 74.43    $       74.43
  4/8/2018 Cesar Ceballos- Car Washer                    $13.00   58.98   $   13.00     $ 123.39   $      123.39
 4/15/2018 Cesar Ceballos- Car Washer                    $13.00   58.77   $   13.00     $ 121.98   $      121.98
 4/22/2018 Cesar Ceballos- Car Washer                    $13.00   60.40   $   13.00     $ 132.60   $      132.60
 4/29/2018 Cesar Ceballos- Car Washer                    $13.00   50.80   $   13.00     $ 70.20    $       70.20
  5/6/2018 Cesar Ceballos- Car Washer                    $13.00   59.60   $   13.00     $ 127.40   $      127.40
 5/20/2018 Cesar Ceballos- Car Washer                    $13.00   60.15   $   13.00     $ 130.98   $      130.98
 5/27/2018 Cesar Ceballos- Car Washer                    $13.00   59.85   $   13.00     $ 129.03   $      129.03
  6/3/2018 Cesar Ceballos- Car Washer                    $13.00   60.42   $   13.00     $ 132.71   $      132.71
 6/10/2018 Cesar Ceballos- Car Washer                    $13.00   60.72   $   13.00     $ 134.66   $      134.66
 6/17/2018 Cesar Ceballos- Car Washer                    $13.00   61.30   $   13.00     $ 138.45   $      138.45
 6/24/2018 Cesar Ceballos- Car Washer                    $13.00   60.22   $   13.00     $ 131.41   $      131.41
  7/1/2018 Cesar Ceballos- Car Washer                    $13.00   59.90   $   13.00     $ 129.35   $      129.35
  7/8/2018 Cesar Ceballos- Car Washer                    $13.00   49.63   $   13.00     $ 62.62    $       62.62
 7/15/2018 Cesar Ceballos- Car Washer                    $13.00   59.98   $   13.00     $ 129.89   $      129.89
 7/22/2018 Cesar Ceballos- Car Washer                    $13.00   50.93   $   13.00     $ 71.07    $       71.07
 7/29/2018 Cesar Ceballos- Car Washer                    $13.00   49.95   $   13.00     $ 64.68    $       64.68
  8/5/2018 Cesar Ceballos- Car Washer                    $13.00   59.73   $   13.00     $ 128.27   $      128.27
 8/12/2018 Cesar Ceballos- Car Washer                    $13.00   60.63   $   13.00     $ 134.12   $      134.12
 8/19/2018 Cesar Ceballos- Car Washer                    $13.00   60.80   $   13.00     $ 135.20   $      135.20
 8/26/2018 Cesar Ceballos- Car Washer                    $13.00   60.05   $   13.00     $ 130.33   $      130.33
  9/2/2018 Cesar Ceballos- Car Washer                    $13.00   59.70   $   13.00     $ 128.05   $      128.05
  9/9/2018 Cesar Ceballos- Car Washer                    $13.00   58.95   $   13.00     $ 123.18   $      123.18
 9/16/2018 Cesar Ceballos- Car Washer                    $13.00   59.78   $   13.00     $ 128.59   $      128.59
 9/23/2018 Cesar Ceballos- Car Washer                    $13.00   59.70   $   13.00     $ 128.05   $      128.05
 10/7/2018 Cesar Ceballos- Car Washer                    $13.00   59.43   $   13.00     $ 126.32   $      126.32
10/14/2018 Cesar Ceballos- Car Washer                    $13.00   59.75   $   13.00     $ 128.38   $      128.38



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                                                  Exhibit 3
                                         New York City Computations


  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

10/21/2018 Cesar Ceballos- Car Washer                    $13.00   49.85   $   13.00              $ 64.03    $    64.03
10/28/2018 Cesar Ceballos- Car Washer                    $13.00   59.52   $   13.00              $ 126.86   $   126.86
 11/4/2018 Cesar Ceballos- Car Washer                    $13.00   59.83   $   13.00              $ 128.92   $   128.92
11/11/2018 Cesar Ceballos- Car Washer                    $13.00   59.38   $   13.00              $ 125.99   $   125.99
11/18/2018 Cesar Ceballos- Car Washer                    $13.00   59.43   $   13.00              $ 126.32   $   126.32
 12/2/2018 Cesar Ceballos- Car Washer                    $13.00   60.27   $   13.00              $ 131.73   $   131.73
 12/9/2018 Cesar Ceballos- Car Washer                    $13.00   59.72   $   13.00              $ 128.16   $   128.16
12/16/2018 Cesar Ceballos- Car Washer                    $13.00   59.23   $   13.00              $ 125.02   $   125.02
12/23/2018 Cesar Ceballos- Car Washer                    $13.00   60.48   $   13.00              $ 133.14   $   133.14
12/30/2018 Cesar Ceballos- Car Washer                    $13.00   45.42   $   13.00              $ 35.21    $    35.21
  1/6/2019 Cesar Ceballos- Car Washer                    $13.00   45.62   $   15.00   $ 91.23    $ 42.13    $   133.36
 1/13/2019 Cesar Ceballos- Car Washer                    $13.00   50.32   $   15.00   $ 100.63   $ 77.38    $   178.01
 1/20/2019 Cesar Ceballos- Car Washer                    $13.00   59.37   $   15.00   $ 118.73   $ 145.25   $   263.98
 1/27/2019 Cesar Ceballos- Car Washer                    $13.00   59.32   $   15.00   $ 118.63   $ 144.88   $   263.51
  2/3/2019 Cesar Ceballos- Car Washer                    $13.00   59.65   $   15.00   $ 119.30   $ 147.38   $   266.68
 2/10/2019 Cesar Ceballos- Car Washer                    $13.00   59.50   $   15.00   $ 119.00   $ 146.25   $   265.25
 2/17/2019 Cesar Ceballos- Car Washer                    $13.00   59.32   $   15.00   $ 118.63   $ 144.88   $   263.51
 2/24/2019 Cesar Ceballos- Car Washer                    $13.00   59.38   $   15.00   $ 118.77   $ 145.38   $   264.14
  3/3/2019 Cesar Ceballos- Car Washer                    $13.00   59.80   $   15.00   $ 119.60   $ 148.50   $   268.10
 3/10/2019 Cesar Ceballos- Car Washer                    $13.00   59.60   $   15.00   $ 119.20   $ 147.00   $   266.20
 3/17/2019 Cesar Ceballos- Car Washer                    $13.00   59.38   $   15.00   $ 118.77   $ 145.38   $   264.14
 3/24/2019 Cesar Ceballos- Car Washer                    $13.00   49.48   $   15.00   $ 98.97    $ 71.13    $   170.09
 3/31/2019 Cesar Ceballos- Car Washer                    $13.00   59.62   $   15.00   $ 119.23   $ 147.13   $   266.36
  4/7/2019 Cesar Ceballos- Car Washer                    $13.00   59.25   $   15.00   $ 118.50   $ 144.38   $   262.88
 4/28/2019 Cesar Ceballos- Car Washer                    $13.00   59.57   $   15.00   $ 119.13   $ 146.75   $   265.88
  5/5/2019 Cesar Ceballos- Car Washer                    $13.00   59.67   $   15.00   $ 119.33   $ 147.50   $   266.83
 5/12/2019 Cesar Ceballos- Car Washer                    $13.00   59.88   $   15.00   $ 119.77   $ 149.13   $   268.89
 5/19/2019 Cesar Ceballos- Car Washer                    $13.00   60.00   $   15.00   $ 120.00   $ 150.00   $   270.00
 5/26/2019 Cesar Ceballos- Car Washer                    $13.00   59.50   $   15.00   $ 119.00   $ 146.25   $   265.25
  6/2/2019 Cesar Ceballos- Car Washer                    $13.00   59.17   $   15.00   $ 118.33   $ 143.75   $   262.08
  6/9/2019 Cesar Ceballos- Car Washer                    $13.00   59.65   $   15.00   $ 119.30   $ 147.38   $   266.68
 6/16/2019 Cesar Ceballos- Car Washer                    $13.00   59.75   $   15.00   $ 119.50   $ 148.13   $   267.63
 6/23/2019 Cesar Ceballos- Car Washer                    $13.00   59.45   $   15.00   $ 118.90   $ 145.88   $   264.78
 6/30/2019 Cesar Ceballos- Car Washer                    $13.00   59.83   $   15.00   $ 119.67   $ 148.75   $   268.42
  7/7/2019 Cesar Ceballos- Car Washer                    $13.00   49.63   $   15.00   $ 99.27    $ 72.25    $   171.52
 7/14/2019 Cesar Ceballos- Car Washer                    $13.00   59.23   $   15.00   $ 118.47   $ 144.25   $   262.72
 7/21/2019 Cesar Ceballos- Car Washer                    $13.00   59.40   $   15.00   $ 118.80   $ 145.50   $   264.30
 7/28/2019 Cesar Ceballos- Car Washer                    $13.00   59.63   $   15.00   $ 119.27   $ 147.25   $   266.52
  8/4/2019 Cesar Ceballos- Car Washer                    $13.00   59.73   $   15.00   $ 119.47   $ 148.00   $   267.47
 8/11/2019 Cesar Ceballos- Car Washer                    $13.00   59.87   $   15.00   $ 119.73   $ 149.00   $   268.73
 8/18/2019 Cesar Ceballos- Car Washer                    $13.00   59.87   $   15.00   $ 119.73   $ 149.00   $   268.73
 8/25/2019 Cesar Ceballos- Car Washer                    $13.00   59.63   $   15.00   $ 119.27   $ 147.25   $   266.52
  9/1/2019 Cesar Ceballos- Car Washer                    $13.00   59.67   $   15.00   $ 119.33   $ 147.50   $   266.83
  9/8/2019 Cesar Ceballos- Car Washer                    $13.00   59.07   $   15.00   $ 118.13   $ 143.00   $   261.13
 9/15/2019 Cesar Ceballos- Car Washer                    $13.00   59.55   $   15.00   $ 119.10   $ 146.63   $   265.73
 9/22/2019 Cesar Ceballos- Car Washer                    $13.00   59.42   $   15.00   $ 118.83   $ 145.63   $   264.46
 9/29/2019 Cesar Ceballos- Car Washer                    $13.00   59.87   $   15.00   $ 119.73   $ 149.00   $   268.73
 10/6/2019 Cesar Ceballos- Car Washer                    $13.00   59.47   $   15.00   $ 118.93   $ 146.00   $   264.93
10/13/2019 Cesar Ceballos- Car Washer                    $13.00   59.32   $   15.00   $ 118.63   $ 144.88   $   263.51
10/20/2019 Cesar Ceballos- Car Washer                    $13.00   59.40   $   15.00   $ 118.80   $ 145.50   $   264.30
10/27/2019 Cesar Ceballos- Car Washer                    $13.00   59.28   $   15.00   $ 118.57   $ 144.63   $   263.19
 11/3/2019 Cesar Ceballos- Car Washer                    $13.00   59.57   $   15.00   $ 119.13   $ 146.75   $   265.88
11/10/2019 Cesar Ceballos- Car Washer                    $13.00   59.53   $   15.00   $ 119.07   $ 146.50   $   265.57
11/24/2019 Cesar Ceballos- Car Washer                    $13.00   59.72   $   15.00   $ 119.43   $ 147.88   $   267.31
 12/1/2019 Cesar Ceballos- Car Washer                    $13.00   50.13   $   15.00   $ 100.27   $ 76.00    $   176.27
 12/8/2019 Cesar Ceballos- Car Washer                    $13.00   59.83   $   15.00   $ 119.67   $ 148.75   $   268.42
12/15/2019 Cesar Ceballos- Car Washer                    $13.00   60.77   $   15.00   $ 121.53   $ 155.75   $   277.28
12/22/2019 Cesar Ceballos- Car Washer                    $13.00   59.75   $   15.00   $ 119.50   $ 148.13   $   267.63



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  Week                                                                 State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
 Ending                            Name                              Minimum Regular Half-time Overtime Back
                                                        Rate Week
  Date                                                                Wage   Rate Due     Due       Wages Due

12/29/2019 Cesar Ceballos- Car Washer                     $13.00   45.15   $   15.00   $ 90.30      $ 38.63    $   128.93
  1/5/2020 Cesar Ceballos- Car Washer                     $13.00   45.58   $   15.00   $ 91.17      $ 41.88    $   133.04
 1/12/2020 Cesar Ceballos- Car Washer                     $13.00   59.25   $   15.00   $ 118.50     $ 144.38   $   262.88
 1/19/2020 Cesar Ceballos- Car Washer                     $13.00   59.83   $   15.00   $ 119.67     $ 148.75   $   268.42
 1/26/2020 Cesar Ceballos- Car Washer                     $13.00   59.25   $   15.00   $ 118.50     $ 144.38   $   262.88
 4/30/2017 Cesar Colon                                     $9.50   43.08   $   11.00   $ 64.63      $ 16.96    $    81.58
  5/7/2017 Cesar Colon                                     $9.50   56.40   $   11.00   $ 84.60      $ 90.20    $   174.80
  8/5/2018 Cesar Emilio Leonardo- Valet                   $16.50   46.05   $   13.00                $ 49.91    $    49.91
 8/12/2018 Cesar Emilio Leonardo- Valet                   $16.50   54.50   $   13.00                $ 119.63   $   119.63
 8/19/2018 Cesar Emilio Leonardo- Valet                   $16.50   53.00   $   13.00                $ 107.25   $   107.25
 8/26/2018 Cesar Emilio Leonardo- Valet                   $16.50   58.48   $   13.00                $ 152.49   $   152.49
  9/2/2018 Cesar Emilio Leonardo- Valet                   $16.50   59.00   $   13.00                $ 156.75   $   156.75
  9/9/2018 Cesar Emilio Leonardo- Valet                   $16.50   57.12   $   13.00                $ 141.21   $   141.21
 9/16/2018 Cesar Emilio Leonardo- Valet                   $16.50   43.57   $   13.00                $ 29.43    $    29.43
  3/4/2018 Cesar Perez - Car Washer                       $13.00   50.15   $   13.00                $ 65.97    $    65.97
  2/5/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 2/12/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 2/19/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 2/26/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
  3/5/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 3/12/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 3/19/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 3/26/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
  4/2/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
  4/9/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 4/16/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 4/23/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 4/30/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
  5/7/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 5/14/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 5/21/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 5/28/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
  6/4/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 6/11/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 6/18/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 6/25/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
  7/2/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
  7/9/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 7/16/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 7/23/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 7/30/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
  8/6/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 8/13/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 8/20/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 8/27/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
  9/3/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 9/10/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 9/17/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 9/24/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 10/1/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 10/8/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
10/15/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
10/22/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
10/29/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
 11/5/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
11/12/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
11/19/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
11/26/2017 Christian De Jesus Cespedes                     $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00



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  Week                                                                  State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
 Ending                            Name                               Minimum Regular Half-time Overtime Back
                                                         Rate Week
  Date                                                                 Wage   Rate Due     Due       Wages Due

 12/3/2017 Christian De Jesus Cespedes                      $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
12/10/2017 Christian De Jesus Cespedes                      $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
12/17/2017 Christian De Jesus Cespedes                      $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
12/24/2017 Christian De Jesus Cespedes                      $9.00   60.00   $   11.00   $   120.00   $ 110.00   $   230.00
12/31/2017 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
  1/7/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 1/14/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 1/21/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 1/28/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
  2/4/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 2/11/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 2/18/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 2/25/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
  3/4/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 3/11/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 3/18/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 3/25/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
  4/1/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
  4/8/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 4/15/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 4/22/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 4/29/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
  5/6/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 5/13/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 5/20/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 5/27/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
  6/3/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 6/10/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 6/17/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 6/24/2018 Christian De Jesus Cespedes                      $9.00   60.00   $   13.00   $   240.00   $ 130.00   $   370.00
 6/10/2018 Christian Perez-Service Valet                   $10.00   48.07   $   13.00   $   144.20   $ 52.43    $   196.63
  7/1/2018 Christian Perez-Service Valet                   $10.00   49.97   $   13.00   $   149.90   $ 64.78    $   214.68
  7/8/2018 Christian Perez-Service Valet                   $10.00   43.95   $   13.00   $   131.85   $ 25.68    $   157.53
 7/22/2018 Christian Perez-Service Valet                   $10.00   48.97   $   13.00   $   146.90   $ 58.28    $   205.18
 7/29/2018 Christian Perez-Service Valet                   $10.00   45.50   $   13.00   $   136.50   $ 35.75    $   172.25
  8/5/2018 Christian Perez-Service Valet                   $10.00   52.20   $   13.00   $   156.60   $ 79.30    $   235.90
 8/12/2018 Christian Perez-Service Valet                   $10.00   45.10   $   13.00   $   135.30   $ 33.15    $   168.45
 8/19/2018 Christian Perez-Service Valet                   $10.00   62.87   $   13.00   $   188.60   $ 148.63   $   337.23
 8/26/2018 Christian Perez-Service Valet                   $10.00   63.13   $   13.00   $   189.40   $ 150.37   $   339.77
  9/2/2018 Christian Perez-Service Valet                   $10.00   60.22   $   13.00   $   180.65   $ 131.41   $   312.06
 9/16/2018 Christian Perez-Service Valet                   $10.00   63.23   $   13.00   $   189.70   $ 151.02   $   340.72
 9/30/2018 Christian Perez-Service Valet                   $10.00   64.00   $   13.00   $   192.00   $ 156.00   $   348.00
 10/7/2018 Christian Perez-Service Valet                   $10.00   55.32   $   13.00   $   165.95   $ 99.56    $   265.51
 6/17/2018 Christian Ramos Pomales                          $9.00   41.77   $   13.00   $   167.07   $ 11.48    $   178.55
  7/1/2018 Christian Ramos Pomales                          $9.00   45.83   $   13.00   $   183.33   $ 37.92    $   221.25
 7/22/2018 Christian Ramos Pomales                          $9.00   54.43   $   13.00   $   217.73   $ 93.82    $   311.55
 7/29/2018 Christian Ramos Pomales                          $9.00   43.93   $   13.00   $   175.73   $ 25.57    $   201.30
 3/10/2019 Christopher Baez                                $11.00   43.00   $   15.00   $   172.00   $ 22.50    $   194.50
 3/17/2019 Christopher Baez                                $11.00   57.00   $   15.00   $   228.00   $ 127.50   $   355.50
 3/24/2019 Christopher Baez                                $11.00   55.38   $   15.00   $   221.53   $ 115.38   $   336.91
  7/1/2018 Christopher Belmar                              $10.50   41.38   $   13.00   $   103.46   $   8.99   $   112.45
  7/8/2018 Christopher Belmar                              $10.50   41.53   $   13.00   $   103.83   $   9.97   $   113.80
 7/22/2018 Christopher Belmar                              $10.50   55.30   $   13.00   $   138.25   $ 99.45    $   237.70
  8/5/2018 Christopher Belmar                              $10.50   59.32   $   13.00   $   148.29   $ 125.56   $   273.85
 10/7/2018 Christopher Belmar                              $10.50   41.03   $   13.00   $   102.58   $   6.72   $   109.30
 11/4/2018 Christopher Belmar                              $10.50   49.28   $   13.00   $   123.21   $ 60.34    $   183.55
 1/13/2019 Christopher Belmar                              $10.50   46.07   $   15.00   $   207.30   $ 45.50    $   252.80
  4/7/2019 Christopher Belmar                              $10.50   45.57   $   15.00   $   205.05   $ 41.75    $   246.80



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                                                             Exhibit 3
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  Week                                                                           State Section 7: Section 7: Total Section 7
                                                                 Hourly Hours/
 Ending                            Name                                        Minimum Regular Half-time Overtime Back
                                                                  Rate Week
  Date                                                                          Wage   Rate Due     Due       Wages Due

 4/14/2019 Christopher Belmar                                       $10.50   46.23   $   15.00   $ 208.05   $ 46.75    $   254.80
 12/3/2017 Christopher Luis Jimenez Ventura-Valet                   $16.50   43.27   $   11.00              $ 26.95    $    26.95
12/17/2017 Christopher Luis Jimenez Ventura-Valet                   $16.50   42.88   $   11.00              $ 23.79    $    23.79
12/24/2017 Christopher Luis Jimenez Ventura-Valet                   $16.50   41.67   $   11.00              $ 13.75    $    13.75
  2/5/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 2/12/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 2/19/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 2/26/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
  3/5/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 3/12/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 3/19/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 3/26/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
  4/2/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
  4/9/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 4/16/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 4/23/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 4/30/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
  5/7/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 5/14/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 5/21/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 5/28/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
  6/4/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 6/11/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 6/18/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 6/25/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
  7/2/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
  7/9/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 7/16/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 7/23/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 7/30/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
  8/6/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 8/13/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 8/20/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 8/27/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
  9/3/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 9/10/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 9/17/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 9/24/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 10/1/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 10/8/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
10/15/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
10/22/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
10/29/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 11/5/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
11/12/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
11/19/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
11/26/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
 12/3/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
12/10/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
12/17/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
12/24/2017 Claudio Luna                                             $11.00   60.00   $   11.00              $ 110.00   $   110.00
12/31/2017 Claudio Luna                                             $13.00   60.00   $   13.00              $ 130.00   $   130.00
  1/7/2018 Claudio Luna                                             $13.00   60.00   $   13.00              $ 130.00   $   130.00
 1/14/2018 Claudio Luna                                             $13.00   60.00   $   13.00              $ 130.00   $   130.00
 1/21/2018 Claudio Luna                                             $13.00   60.00   $   13.00              $ 130.00   $   130.00
 1/28/2018 Claudio Luna                                             $13.00   60.00   $   13.00              $ 130.00   $   130.00
  2/4/2018 Claudio Luna                                             $13.00   60.00   $   13.00              $ 130.00   $   130.00
 2/11/2018 Claudio Luna                                             $13.00   60.00   $   13.00              $ 130.00   $   130.00



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  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                   Name                              Minimum Regular Half-time Overtime Back
                                               Rate Week
  Date                                                       Wage   Rate Due     Due       Wages Due

 2/18/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 2/25/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  3/4/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 3/11/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 3/18/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 3/25/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  4/1/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  4/8/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 4/15/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 4/22/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 4/29/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  5/6/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 5/13/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 5/20/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 5/27/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  6/3/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 6/10/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 6/17/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 6/24/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  7/1/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  7/8/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 7/15/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 7/22/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 7/29/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  8/5/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 8/12/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 8/19/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 8/26/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  9/2/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  9/9/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 9/16/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 9/23/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 9/30/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 10/7/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
10/14/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
10/21/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
10/28/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 11/4/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
11/11/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
11/18/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
11/25/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 12/2/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 12/9/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
12/16/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
12/23/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
12/30/2018 Claudio Luna                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  1/6/2019 Claudio Luna                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 1/13/2019 Claudio Luna                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 1/20/2019 Claudio Luna                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 1/27/2019 Claudio Luna                          $15.00   60.00   $   15.00     $   150.00   $    150.00
  2/3/2019 Claudio Luna                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 2/10/2019 Claudio Luna                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 2/17/2019 Claudio Luna                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 2/24/2019 Claudio Luna                          $15.00   60.00   $   15.00     $   150.00   $    150.00
  3/3/2019 Claudio Luna                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 3/10/2019 Claudio Luna                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 3/17/2019 Claudio Luna                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 3/24/2019 Claudio Luna                          $15.00   60.00   $   15.00     $   150.00   $    150.00



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  Week                                                         State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
 Ending                    Name                              Minimum Regular Half-time Overtime Back
                                                Rate Week
  Date                                                        Wage   Rate Due     Due       Wages Due

 3/31/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
  4/7/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 4/14/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 4/21/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 4/28/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
  5/5/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 5/12/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 5/19/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 5/26/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
  6/2/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
  6/9/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 6/16/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 6/23/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 6/30/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
  7/7/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 7/14/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 7/21/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 7/28/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
  8/4/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 8/11/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 8/18/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 8/25/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
  9/1/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
  9/8/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 9/15/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 9/22/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 9/29/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 10/6/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
10/13/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
10/20/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
10/27/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 11/3/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
11/10/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
11/17/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
11/24/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 12/1/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 12/8/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
12/15/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
12/22/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
12/29/2019 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
  1/5/2020 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 1/12/2020 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 1/19/2020 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 1/26/2020 Claudio Luna                           $15.00   60.00   $   15.00               $ 150.00   $   150.00
 3/26/2017 Cristian Mena                          $10.00   55.65   $   11.00   $   55.65   $ 86.08    $   141.73
  4/2/2017 Cristian Mena                          $12.00   74.00   $   11.00               $ 204.00   $   204.00
  4/9/2017 Cristian Mena                          $12.00   68.23   $   11.00               $ 169.40   $   169.40
 4/16/2017 Cristian Mena                          $12.00   68.75   $   11.00               $ 172.50   $   172.50
 4/23/2017 Cristian Mena                          $12.00   69.40   $   11.00               $ 176.40   $   176.40
 4/30/2017 Cristian Mena                          $12.00   70.93   $   11.00               $ 185.60   $   185.60
  5/7/2017 Cristian Mena                          $12.00   72.28   $   11.00               $ 193.70   $   193.70
 5/14/2017 Cristian Mena                          $12.00   67.67   $   11.00               $ 166.00   $   166.00
 5/21/2017 Cristian Mena                          $12.00   77.25   $   11.00               $ 223.50   $   223.50
 5/28/2017 Cristian Mena                          $12.00   74.25   $   11.00               $ 205.50   $   205.50
  6/4/2017 Cristian Mena                          $12.00   65.85   $   11.00               $ 155.10   $   155.10
 6/11/2017 Cristian Mena                          $12.00   77.10   $   11.00               $ 222.60   $   222.60
 6/18/2017 Cristian Mena                          $12.00   73.85   $   11.00               $ 203.10   $   203.10
 6/25/2017 Cristian Mena                          $12.00   74.02   $   11.00               $ 204.10   $   204.10



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                                                     Exhibit 3
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  Week                                                                   State Section 7: Section 7: Total Section 7
                                                         Hourly Hours/
 Ending                              Name                              Minimum Regular Half-time Overtime Back
                                                          Rate Week
  Date                                                                  Wage   Rate Due     Due       Wages Due

  7/2/2017 Cristian Mena                                    $12.00   76.43   $   11.00     $ 218.60   $      218.60
  7/9/2017 Cristian Mena                                    $12.00   63.97   $   11.00     $ 143.80   $      143.80
 7/16/2017 Cristian Mena                                    $12.00   74.28   $   11.00     $ 205.70   $      205.70
 7/23/2017 Cristian Mena                                    $12.00   73.32   $   11.00     $ 199.90   $      199.90
 7/30/2017 Cristian Mena                                    $12.00   77.33   $   11.00     $ 224.00   $      224.00
  8/6/2017 Cristian Mena                                    $12.00   75.57   $   11.00     $ 213.40   $      213.40
 8/13/2017 Cristian Mena                                    $12.00   70.50   $   11.00     $ 183.00   $      183.00
 8/20/2017 Cristian Mena                                    $12.00   73.52   $   11.00     $ 201.10   $      201.10
 8/27/2017 Cristian Mena                                    $12.00   75.93   $   11.00     $ 215.60   $      215.60
  9/3/2017 Cristian Mena                                    $12.00   75.83   $   11.00     $ 215.00   $      215.00
 9/10/2017 Cristian Mena                                    $12.00   62.55   $   11.00     $ 135.30   $      135.30
 9/17/2017 Cristian Mena                                    $12.00   74.47   $   11.00     $ 206.80   $      206.80
 9/24/2017 Cristian Mena                                    $12.00   72.32   $   11.00     $ 193.90   $      193.90
 10/1/2017 Cristian Mena                                    $12.00   75.25   $   11.00     $ 211.50   $      211.50
 10/8/2017 Cristian Mena                                    $12.00   73.48   $   11.00     $ 200.90   $      200.90
10/15/2017 Cristian Mena                                    $12.00   69.35   $   11.00     $ 176.10   $      176.10
10/22/2017 Cristian Mena                                    $12.00   70.05   $   11.00     $ 180.30   $      180.30
10/29/2017 Cristian Mena                                    $12.00   68.15   $   11.00     $ 168.90   $      168.90
 11/5/2017 Cristian Mena                                    $12.00   67.35   $   11.00     $ 164.10   $      164.10
11/12/2017 Cristian Mena                                    $12.00   69.30   $   11.00     $ 175.80   $      175.80
11/19/2017 Cristian Mena                                    $12.00   63.85   $   11.00     $ 143.10   $      143.10
11/26/2017 Cristian Mena                                    $12.00   56.68   $   11.00     $ 100.10   $      100.10
 12/3/2017 Cristian Mena                                    $12.00   54.82   $   11.00     $ 88.90    $       88.90
12/10/2017 Cristian Mena                                    $12.00   67.97   $   11.00     $ 167.80   $      167.80
12/17/2017 Cristian Mena                                    $12.00   62.98   $   11.00     $ 137.90   $      137.90
 10/8/2017 Daijia Benjamin - Valet                          $16.00   51.05   $   11.00     $ 88.40    $       88.40
10/22/2017 Daijia Benjamin - Valet                          $16.00   41.28   $   11.00     $ 10.27    $       10.27
  1/7/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 1/14/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 1/21/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 1/28/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
  2/4/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 2/11/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 2/18/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 2/25/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
  3/4/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 3/11/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 3/18/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 3/25/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
  4/1/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
  4/8/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 4/15/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 4/22/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 4/29/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
  5/6/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 5/13/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 5/20/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 5/27/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
  6/3/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 6/10/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 6/17/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 6/24/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
  7/1/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
  7/8/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 7/15/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 7/22/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
 7/29/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00
  8/5/2018 Daniel Afanador                                  $13.00   60.00   $   13.00     $ 130.00   $      130.00



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  Week                                                           State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
 Ending                      Name                              Minimum Regular Half-time Overtime Back
                                                  Rate Week
  Date                                                          Wage   Rate Due     Due       Wages Due

 8/12/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 8/19/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 8/26/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  9/2/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  9/9/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 9/16/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 9/23/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 9/30/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 10/7/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
10/14/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
10/21/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
10/28/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 11/4/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
11/11/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
11/18/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
11/25/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 12/2/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 12/9/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
12/16/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
12/23/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
12/30/2018 Daniel Afanador                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  1/6/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 1/13/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 1/20/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 1/27/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
  2/3/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 2/10/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 2/17/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 2/24/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
  3/3/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 3/10/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 3/17/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 3/24/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 3/31/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
  4/7/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 4/14/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 4/21/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 4/28/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
  5/5/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 5/12/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 5/19/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 5/26/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
  6/2/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
  6/9/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 6/16/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 6/23/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 6/30/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
  7/7/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 7/14/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 7/21/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 7/28/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
  8/4/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 8/11/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 8/18/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 8/25/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
  9/1/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
  9/8/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 9/15/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $   150.00   $    150.00



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  Week                                                           State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
 Ending                      Name                              Minimum Regular Half-time Overtime Back
                                                  Rate Week
  Date                                                          Wage   Rate Due     Due       Wages Due

 9/22/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
 9/29/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
 10/6/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
10/13/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
10/20/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
10/27/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
 11/3/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
11/10/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
11/17/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
11/24/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
 12/1/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
 12/8/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
12/15/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
12/22/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
12/29/2019 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
  1/5/2020 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
 1/12/2020 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
 1/19/2020 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
 1/26/2020 Daniel Afanador                          $15.00   60.00   $   15.00     $ 150.00   $      150.00
  2/5/2017 Daniel Ojeda                             $15.00   52.07   $   11.00     $ 90.50    $       90.50
 2/19/2017 Daniel Ojeda                             $15.00   50.75   $   11.00     $ 80.63    $       80.63
 2/26/2017 Daniel Ojeda                             $15.00   56.98   $   11.00     $ 127.38   $      127.38
  3/5/2017 Daniel Ojeda                             $15.00   55.33   $   11.00     $ 115.00   $      115.00
 3/12/2017 Daniel Ojeda                             $15.00   53.83   $   11.00     $ 103.75   $      103.75
 3/19/2017 Daniel Ojeda                             $15.00   45.92   $   11.00     $ 44.38    $       44.38
  4/2/2017 Daniel Ojeda                             $15.00   57.75   $   11.00     $ 133.13   $      133.13
  4/9/2017 Daniel Ojeda                             $15.00   57.20   $   11.00     $ 129.00   $      129.00
 4/16/2017 Daniel Ojeda                             $15.00   54.77   $   11.00     $ 110.75   $      110.75
 4/23/2017 Daniel Ojeda                             $15.00   51.57   $   11.00     $ 86.75    $       86.75
 4/30/2017 Daniel Ojeda                             $15.00   57.08   $   11.00     $ 128.13   $      128.13
  5/7/2017 Daniel Ojeda                             $15.00   50.92   $   11.00     $ 81.88    $       81.88
 5/14/2017 Daniel Ojeda                             $15.00   46.83   $   11.00     $ 51.25    $       51.25
 5/21/2017 Daniel Ojeda                             $15.00   59.18   $   11.00     $ 143.88   $      143.88
 5/28/2017 Daniel Ojeda                             $15.00   57.90   $   11.00     $ 134.25   $      134.25
  6/4/2017 Daniel Ojeda                             $15.00   48.53   $   11.00     $ 64.00    $       64.00
 6/11/2017 Daniel Ojeda                             $15.00   59.52   $   11.00     $ 146.38   $      146.38
 6/18/2017 Daniel Ojeda                             $15.00   53.85   $   11.00     $ 103.88   $      103.88
 6/25/2017 Daniel Ojeda                             $15.00   56.83   $   11.00     $ 126.25   $      126.25
  7/2/2017 Daniel Ojeda                             $15.00   59.43   $   11.00     $ 145.75   $      145.75
  7/9/2017 Daniel Ojeda                             $15.00   45.53   $   11.00     $ 41.50    $       41.50
 7/16/2017 Daniel Ojeda                             $15.00   53.63   $   11.00     $ 102.25   $      102.25
 7/23/2017 Daniel Ojeda                             $15.00   46.18   $   11.00     $ 46.38    $       46.38
 7/30/2017 Daniel Ojeda                             $15.00   54.32   $   11.00     $ 107.38   $      107.38
  8/6/2017 Daniel Ojeda                             $15.00   58.17   $   11.00     $ 136.25   $      136.25
 8/20/2017 Daniel Ojeda                             $15.00   55.85   $   11.00     $ 118.88   $      118.88
 8/27/2017 Daniel Ojeda                             $15.00   58.57   $   11.00     $ 139.25   $      139.25
  9/3/2017 Daniel Ojeda                             $15.00   51.08   $   11.00     $ 83.13    $       83.13
 9/10/2017 Daniel Ojeda                             $15.00   45.77   $   11.00     $ 43.25    $       43.25
 9/17/2017 Daniel Ojeda                             $15.00   56.28   $   11.00     $ 122.13   $      122.13
 9/24/2017 Daniel Ojeda                             $15.00   58.73   $   11.00     $ 140.50   $      140.50
 10/1/2017 Daniel Ojeda                             $15.00   48.48   $   11.00     $ 63.62    $       63.62
 10/8/2017 Daniel Ojeda                             $15.00   56.92   $   11.00     $ 126.88   $      126.88
10/15/2017 Daniel Ojeda                             $15.00   57.88   $   11.00     $ 134.13   $      134.13
10/22/2017 Daniel Ojeda                             $15.00   51.40   $   11.00     $ 85.50    $       85.50
10/29/2017 Daniel Ojeda                             $15.00   57.70   $   11.00     $ 132.75   $      132.75
 11/5/2017 Daniel Ojeda                             $15.00   51.75   $   11.00     $ 88.13    $       88.13
11/12/2017 Daniel Ojeda                             $15.00   52.93   $   11.00     $ 97.00    $       97.00
11/19/2017 Daniel Ojeda                             $15.00   56.13   $   11.00     $ 121.00   $      121.00



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  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                   Name                              Minimum Regular Half-time Overtime Back
                                               Rate Week
  Date                                                       Wage   Rate Due     Due       Wages Due

11/26/2017 Daniel Ojeda                          $15.00   47.23   $   11.00     $ 54.25    $       54.25
 12/3/2017 Daniel Ojeda                          $15.00   57.27   $   11.00     $ 129.50   $      129.50
12/10/2017 Daniel Ojeda                          $15.00   56.42   $   11.00     $ 123.13   $      123.13
12/17/2017 Daniel Ojeda                          $15.00   50.52   $   11.00     $ 78.88    $       78.88
12/24/2017 Daniel Ojeda                          $15.00   55.47   $   11.00     $ 116.00   $      116.00
12/31/2017 Daniel Ojeda                          $15.00   48.38   $   13.00     $ 62.87    $       62.87
  1/7/2018 Daniel Ojeda                          $15.00   42.47   $   13.00     $ 18.50    $       18.50
 1/14/2018 Daniel Ojeda                          $15.00   44.95   $   13.00     $ 37.13    $       37.13
 1/21/2018 Daniel Ojeda                          $15.00   52.72   $   13.00     $ 95.38    $       95.38
 1/28/2018 Daniel Ojeda                          $15.00   48.55   $   13.00     $ 64.13    $       64.13
  2/4/2018 Daniel Ojeda                          $15.00   48.28   $   13.00     $ 62.12    $       62.12
 2/11/2018 Daniel Ojeda                          $15.00   49.67   $   13.00     $ 72.50    $       72.50
 2/18/2018 Daniel Ojeda                          $15.00   46.48   $   13.00     $ 48.63    $       48.63
 2/25/2018 Daniel Ojeda                          $15.00   55.78   $   13.00     $ 118.38   $      118.38
  3/4/2018 Daniel Ojeda                          $15.00   44.90   $   13.00     $ 36.75    $       36.75
 3/25/2018 Daniel Ojeda                          $15.00   48.20   $   13.00     $ 61.50    $       61.50
  4/1/2018 Daniel Ojeda                          $15.00   58.43   $   13.00     $ 138.25   $      138.25
  4/8/2018 Daniel Ojeda                          $15.00   55.93   $   13.00     $ 119.50   $      119.50
 4/15/2018 Daniel Ojeda                          $15.00   56.97   $   13.00     $ 127.25   $      127.25
 4/22/2018 Daniel Ojeda                          $15.00   58.47   $   13.00     $ 138.50   $      138.50
 4/29/2018 Daniel Ojeda                          $15.00   59.18   $   13.00     $ 143.88   $      143.88
  5/6/2018 Daniel Ojeda                          $15.00   58.07   $   13.00     $ 135.50   $      135.50
 5/13/2018 Daniel Ojeda                          $15.00   54.68   $   13.00     $ 110.13   $      110.13
 5/20/2018 Daniel Ojeda                          $15.00   59.02   $   13.00     $ 142.63   $      142.63
 5/27/2018 Daniel Ojeda                          $15.00   59.80   $   13.00     $ 148.50   $      148.50
  6/3/2018 Daniel Ojeda                          $15.00   49.33   $   13.00     $ 70.00    $       70.00
 6/10/2018 Daniel Ojeda                          $15.00   52.93   $   13.00     $ 97.00    $       97.00
 6/17/2018 Daniel Ojeda                          $15.00   53.40   $   13.00     $ 100.50   $      100.50
 6/24/2018 Daniel Ojeda                          $15.00   56.85   $   13.00     $ 126.38   $      126.38
  7/1/2018 Daniel Ojeda                          $15.00   51.65   $   13.00     $ 87.38    $       87.38
  7/8/2018 Daniel Ojeda                          $15.00   48.15   $   13.00     $ 61.13    $       61.13
 7/15/2018 Daniel Ojeda                          $15.00   50.38   $   13.00     $ 77.88    $       77.88
 7/22/2018 Daniel Ojeda                          $15.00   56.03   $   13.00     $ 120.25   $      120.25
 7/29/2018 Daniel Ojeda                          $15.00   52.82   $   13.00     $ 96.13    $       96.13
  8/5/2018 Daniel Ojeda                          $15.00   44.42   $   13.00     $ 33.13    $       33.13
 8/12/2018 Daniel Ojeda                          $15.00   50.80   $   13.00     $ 81.00    $       81.00
 8/19/2018 Daniel Ojeda                          $15.00   55.92   $   13.00     $ 119.38   $      119.38
 8/26/2018 Daniel Ojeda                          $15.00   58.63   $   13.00     $ 139.75   $      139.75
  9/2/2018 Daniel Ojeda                          $15.00   56.50   $   13.00     $ 123.75   $      123.75
  9/9/2018 Daniel Ojeda                          $15.00   42.07   $   13.00     $ 15.50    $       15.50
 9/23/2018 Daniel Ojeda                          $15.00   53.43   $   13.00     $ 100.75   $      100.75
 9/30/2018 Daniel Ojeda                          $15.00   58.10   $   13.00     $ 135.75   $      135.75
 10/7/2018 Daniel Ojeda                          $15.00   48.08   $   13.00     $ 60.63    $       60.63
10/14/2018 Daniel Ojeda                          $15.00   53.43   $   13.00     $ 100.75   $      100.75
10/21/2018 Daniel Ojeda                          $15.00   50.27   $   13.00     $ 77.00    $       77.00
10/28/2018 Daniel Ojeda                          $15.00   56.73   $   13.00     $ 125.50   $      125.50
 11/4/2018 Daniel Ojeda                          $15.00   58.17   $   13.00     $ 136.25   $      136.25
11/11/2018 Daniel Ojeda                          $15.00   54.53   $   13.00     $ 109.00   $      109.00
11/18/2018 Daniel Ojeda                          $15.00   56.60   $   13.00     $ 124.50   $      124.50
11/25/2018 Daniel Ojeda                          $15.00   44.12   $   13.00     $ 30.88    $       30.88
 12/2/2018 Daniel Ojeda                          $15.00   56.50   $   13.00     $ 123.75   $      123.75
 12/9/2018 Daniel Ojeda                          $15.00   48.40   $   13.00     $ 63.00    $       63.00
12/16/2018 Daniel Ojeda                          $15.00   56.18   $   13.00     $ 121.38   $      121.38
12/23/2018 Daniel Ojeda                          $15.00   58.45   $   13.00     $ 138.38   $      138.38
12/30/2018 Daniel Ojeda                          $15.00   44.45   $   13.00     $ 33.38    $       33.38
  1/6/2019 Daniel Ojeda                          $15.00   42.93   $   15.00     $ 22.00    $       22.00
 1/13/2019 Daniel Ojeda                          $15.00   46.32   $   15.00     $ 47.38    $       47.38
 1/27/2019 Daniel Ojeda                          $15.00   53.30   $   15.00     $ 99.75    $       99.75



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  Week                                                                   State Section 7: Section 7: Total Section 7
                                                         Hourly Hours/
 Ending                              Name                              Minimum Regular Half-time Overtime Back
                                                          Rate Week
  Date                                                                  Wage   Rate Due     Due       Wages Due

  2/3/2019 Daniel Ojeda                                     $15.00   44.40   $   15.00                $ 33.00    $    33.00
 2/10/2019 Daniel Ojeda                                     $15.00   50.35   $   15.00                $ 77.63    $    77.63
 2/24/2019 Daniel Ojeda                                     $15.00   53.03   $   15.00                $ 97.75    $    97.75
  3/3/2019 Daniel Ojeda                                     $15.00   48.03   $   15.00                $ 60.25    $    60.25
 3/10/2019 Daniel Ojeda                                     $15.00   41.90   $   15.00                $ 14.25    $    14.25
 3/17/2019 Daniel Ojeda                                     $15.00   52.17   $   15.00                $ 91.25    $    91.25
 3/24/2019 Daniel Ojeda                                     $15.00   47.98   $   15.00                $ 59.88    $    59.88
 3/31/2019 Daniel Ojeda                                     $15.00   47.75   $   15.00                $ 58.13    $    58.13
  4/7/2019 Daniel Ojeda                                     $15.00   53.63   $   15.00                $ 102.25   $   102.25
 4/14/2019 Daniel Ojeda                                     $15.00   44.42   $   15.00                $ 33.13    $    33.13
 4/21/2019 Daniel Ojeda                                     $15.00   57.80   $   15.00                $ 133.50   $   133.50
 4/28/2019 Daniel Ojeda                                     $15.00   58.82   $   15.00                $ 141.13   $   141.13
  5/5/2019 Daniel Ojeda                                     $15.00   58.00   $   15.00                $ 135.00   $   135.00
 5/12/2019 Daniel Ojeda                                     $15.00   58.35   $   15.00                $ 137.63   $   137.63
 5/19/2019 Daniel Ojeda                                     $15.00   58.55   $   15.00                $ 139.13   $   139.13
 5/26/2019 Daniel Ojeda                                     $15.00   57.65   $   15.00                $ 132.38   $   132.38
  6/9/2019 Daniel Ojeda                                     $15.00   59.22   $   15.00                $ 144.13   $   144.13
 6/16/2019 Daniel Ojeda                                     $15.00   59.28   $   15.00                $ 144.63   $   144.63
 6/23/2019 Daniel Ojeda                                     $15.00   58.55   $   15.00                $ 139.13   $   139.13
 6/30/2019 Daniel Ojeda                                     $15.00   59.07   $   15.00                $ 143.00   $   143.00
  7/7/2019 Daniel Ojeda                                     $16.00   48.28   $   15.00                $ 66.27    $    66.27
 7/14/2019 Daniel Ojeda                                     $16.00   48.85   $   15.00                $ 70.80    $    70.80
 7/21/2019 Daniel Ojeda                                     $16.00   57.77   $   15.00                $ 142.13   $   142.13
 7/28/2019 Daniel Ojeda                                     $16.00   57.57   $   15.00                $ 140.53   $   140.53
  8/4/2019 Daniel Ojeda                                     $16.00   49.50   $   15.00                $ 76.00    $    76.00
 8/11/2019 Daniel Ojeda                                     $16.00   57.53   $   15.00                $ 140.27   $   140.27
 8/18/2019 Daniel Ojeda                                     $16.00   55.78   $   15.00                $ 126.27   $   126.27
 8/25/2019 Daniel Ojeda                                     $16.00   57.00   $   15.00                $ 136.00   $   136.00
  9/1/2019 Daniel Ojeda                                     $16.00   58.60   $   15.00                $ 148.80   $   148.80
 9/15/2019 Daniel Ojeda                                     $16.00   54.70   $   15.00                $ 117.60   $   117.60
 9/22/2019 Daniel Ojeda                                     $16.00   47.25   $   15.00                $ 58.00    $    58.00
 9/29/2019 Daniel Ojeda                                     $16.00   56.37   $   15.00                $ 130.93   $   130.93
 10/6/2019 Daniel Ojeda                                     $16.00   46.97   $   15.00                $ 55.73    $    55.73
10/13/2019 Daniel Ojeda                                     $16.00   59.22   $   15.00                $ 153.73   $   153.73
10/20/2019 Daniel Ojeda                                     $16.00   58.78   $   15.00                $ 150.27   $   150.27
10/27/2019 Daniel Ojeda                                     $16.00   58.27   $   15.00                $ 146.13   $   146.13
 11/3/2019 Daniel Ojeda                                     $16.00   58.32   $   15.00                $ 146.53   $   146.53
11/10/2019 Daniel Ojeda                                     $16.00   51.53   $   15.00                $ 92.27    $    92.27
11/17/2019 Daniel Ojeda                                     $16.00   59.68   $   15.00                $ 157.47   $   157.47
11/24/2019 Daniel Ojeda                                     $16.00   51.50   $   15.00                $ 92.00    $    92.00
 12/1/2019 Daniel Ojeda                                     $16.00   49.90   $   15.00                $ 79.20    $    79.20
 12/8/2019 Daniel Ojeda                                     $16.00   60.62   $   15.00                $ 164.93   $   164.93
12/15/2019 Daniel Ojeda                                     $16.00   61.62   $   15.00                $ 172.93   $   172.93
12/22/2019 Daniel Ojeda                                     $16.00   60.58   $   15.00                $ 164.67   $   164.67
12/29/2019 Daniel Ojeda                                     $16.00   45.15   $   15.00                $ 41.20    $    41.20
  1/5/2020 Daniel Ojeda                                     $16.00   49.03   $   15.00                $ 72.27    $    72.27
 1/12/2020 Daniel Ojeda                                     $16.00   49.90   $   15.00                $ 79.20    $    79.20
 1/26/2020 Daniel Ojeda                                     $16.00   51.70   $   15.00                $ 93.60    $    93.60
 11/3/2019 Daniel Viruet - Sales Valet                      $11.00   43.68   $   15.00   $   174.73   $ 27.63    $   202.36
11/10/2019 Daniel Viruet - Sales Valet                      $11.00   44.45   $   15.00   $   177.80   $ 33.38    $   211.18
11/17/2019 Daniel Viruet - Sales Valet                      $11.00   43.93   $   15.00   $   175.73   $ 29.50    $   205.23
 12/8/2019 Daniel Viruet - Sales Valet                      $11.00   44.53   $   15.00   $   178.13   $ 34.00    $   212.13
12/15/2019 Daniel Viruet - Sales Valet                      $11.00   44.67   $   15.00   $   178.67   $ 35.00    $   213.67
12/22/2019 Daniel Viruet - Sales Valet                      $11.00   45.60   $   15.00   $   182.40   $ 42.00    $   224.40
 1/12/2020 Daniel Viruet - Sales Valet                      $11.00   46.13   $   15.00   $   184.53   $ 46.00    $   230.53
 1/19/2020 Daniel Viruet - Sales Valet                      $11.00   47.92   $   15.00   $   191.67   $ 59.38    $   251.04
 1/26/2020 Daniel Viruet - Sales Valet                      $11.00   52.07   $   15.00   $   208.27   $ 90.50    $   298.77
 3/25/2018 Danny Miguel Rodriguez                           $13.00   53.88   $   13.00                $ 90.24    $    90.24



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  Week                                                                 State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
 Ending                           Name                               Minimum Regular Half-time Overtime Back
                                                        Rate Week
  Date                                                                Wage   Rate Due     Due       Wages Due

12/23/2018 Danquan Broomes                                $12.00   42.42   $   13.00   $ 42.42      $ 15.71    $    58.13
 1/13/2019 Danquan Broomes                                $12.00   41.62   $   15.00   $ 124.85     $ 12.13    $   136.98
 1/20/2019 Danquan Broomes                                $12.00   40.70   $   15.00   $ 122.10     $   5.25   $   127.35
 1/27/2019 Danquan Broomes                                $12.00   58.70   $   15.00   $ 176.10     $ 140.25   $   316.35
  2/3/2019 Danquan Broomes                                $12.00   47.47   $   15.00   $ 142.40     $ 56.00    $   198.40
 2/17/2019 Danquan Broomes                                $12.00   54.73   $   15.00   $ 164.20     $ 110.50   $   274.70
  3/3/2019 Danquan Broomes                                $12.00   44.10   $   15.00   $ 132.30     $ 30.75    $   163.05
 3/17/2019 Danquan Broomes                                $12.00   40.82   $   15.00   $ 122.45     $   6.13   $   128.58
  4/7/2019 Danquan Broomes                                $12.00   42.75   $   15.00   $ 128.25     $ 20.63    $   148.88
 4/14/2019 Danquan Broomes                                $12.00   48.13   $   15.00   $ 144.40     $ 61.00    $   205.40
 4/21/2019 Danquan Broomes                                $12.00   41.82   $   15.00   $ 125.45     $ 13.63    $   139.08
  5/5/2019 Danquan Broomes                                $12.00   47.38   $   15.00   $ 142.15     $ 55.38    $   197.53
 5/12/2019 Danquan Broomes                                $12.00   43.38   $   15.00   $ 130.15     $ 25.38    $   155.53
 5/19/2019 Danquan Broomes                                $12.00   40.28   $   15.00   $ 120.85     $   2.12   $   122.98
 6/16/2019 Danquan Broomes                                $12.00   49.77   $   15.00   $ 149.30     $ 73.25    $   222.55
10/13/2019 Danquan Broomes                                $12.00   47.73   $   15.00   $ 143.20     $ 58.00    $   201.20
 2/25/2018 Dariel Abreu                                   $13.00   46.93   $   13.00                $ 45.07    $    45.07
  3/4/2018 Dariel Abreu                                   $13.00   40.80   $   13.00                $   5.20   $     5.20
  9/9/2018 Davani Warner                                  $13.00   44.73   $   13.00                $ 30.77    $    30.77
 9/16/2018 Davani Warner                                  $13.00   44.85   $   13.00                $ 31.53    $    31.53
 10/7/2018 Davani Warner                                  $13.00   49.52   $   13.00                $ 61.86    $    61.86
 1/20/2019 Delio Rodriguez                                $10.00   43.00   $   15.00   $   215.00   $ 22.50    $   237.50
 1/27/2019 Delio Rodriguez                                $10.00   52.02   $   15.00   $   260.08   $ 90.13    $   350.21
  2/3/2019 Delio Rodriguez                                $10.00   52.48   $   15.00   $   262.42   $ 93.63    $   356.04
 2/10/2019 Delio Rodriguez                                $10.00   52.63   $   15.00   $   263.17   $ 94.75    $   357.92
 2/17/2019 Delio Rodriguez                                $10.00   53.13   $   15.00   $   265.67   $ 98.50    $   364.17
 2/24/2019 Delio Rodriguez                                $10.00   44.30   $   15.00   $   221.50   $ 32.25    $   253.75
  3/3/2019 Delio Rodriguez                                $10.00   53.05   $   15.00   $   265.25   $ 97.88    $   363.13
 3/10/2019 Delio Rodriguez                                $10.00   52.55   $   15.00   $   262.75   $ 94.13    $   356.88
 3/31/2019 Delio Rodriguez                                $10.00   50.77   $   15.00   $   253.83   $ 80.75    $   334.58
  4/7/2019 Delio Rodriguez                                $10.00   52.97   $   15.00   $   264.83   $ 97.25    $   362.08
 4/14/2019 Delio Rodriguez                                $10.00   53.50   $   15.00   $   267.50   $ 101.25   $   368.75
 4/21/2019 Delio Rodriguez                                $10.00   53.57   $   15.00   $   267.83   $ 101.75   $   369.58
 4/28/2019 Delio Rodriguez                                $10.00   44.55   $   15.00   $   222.75   $ 34.13    $   256.88
  5/5/2019 Delio Rodriguez                                $10.00   50.83   $   15.00   $   254.17   $ 81.25    $   335.42
 5/12/2019 Delio Rodriguez                                $10.00   53.40   $   15.00   $   267.00   $ 100.50   $   367.50
 5/19/2019 Delio Rodriguez                                $10.00   53.05   $   15.00   $   265.25   $ 97.88    $   363.13
 5/26/2019 Delio Rodriguez                                $10.00   52.08   $   15.00   $   260.42   $ 90.63    $   351.04
  6/9/2019 Delio Rodriguez                                $10.00   54.03   $   15.00   $   270.17   $ 105.25   $   375.42
 6/16/2019 Delio Rodriguez                                $10.00   53.68   $   15.00   $   268.42   $ 102.63   $   371.04
 6/23/2019 Delio Rodriguez                                $10.00   53.43   $   15.00   $   267.17   $ 100.75   $   367.92
 6/30/2019 Delio Rodriguez                                $10.00   54.55   $   15.00   $   272.75   $ 109.13   $   381.88
 7/14/2019 Delio Rodriguez - Car Washer                   $15.00   57.52   $   15.00                $ 131.38   $   131.38
 7/21/2019 Delio Rodriguez - Car Washer                   $15.00   58.40   $   15.00                $ 138.00   $   138.00
 7/28/2019 Delio Rodriguez - Car Washer                   $15.00   52.95   $   15.00                $ 97.13    $    97.13
  8/4/2019 Delio Rodriguez - Car Washer                   $15.00   54.57   $   15.00                $ 109.25   $   109.25
 8/11/2019 Delio Rodriguez - Car Washer                   $15.00   45.93   $   15.00                $ 44.50    $    44.50
 8/18/2019 Delio Rodriguez - Car Washer                   $15.00   44.58   $   15.00                $ 34.38    $    34.38
 8/25/2019 Delio Rodriguez - Car Washer                   $15.00   53.82   $   15.00                $ 103.63   $   103.63
  9/1/2019 Delio Rodriguez - Car Washer                   $15.00   53.83   $   15.00                $ 103.75   $   103.75
  9/8/2019 Delio Rodriguez - Car Washer                   $15.00   44.87   $   15.00                $ 36.50    $    36.50
 9/15/2019 Delio Rodriguez - Car Washer                   $15.00   53.27   $   15.00                $ 99.50    $    99.50
 9/22/2019 Delio Rodriguez - Car Washer                   $15.00   53.03   $   15.00                $ 97.75    $    97.75
 9/29/2019 Delio Rodriguez - Car Washer                   $15.00   59.78   $   15.00                $ 148.38   $   148.38
 10/6/2019 Delio Rodriguez - Car Washer                   $15.00   61.48   $   15.00                $ 161.13   $   161.13
10/13/2019 Delio Rodriguez - Car Washer                   $15.00   61.40   $   15.00                $ 160.50   $   160.50
10/20/2019 Delio Rodriguez - Car Washer                   $15.00   61.43   $   15.00                $ 160.75   $   160.75
10/27/2019 Delio Rodriguez - Car Washer                   $15.00   52.35   $   15.00                $ 92.63    $    92.63



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  Week                                                                 State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
 Ending                           Name                               Minimum Regular Half-time Overtime Back
                                                        Rate Week
  Date                                                                Wage   Rate Due     Due       Wages Due

 11/3/2019 Delio Rodriguez - Car Washer                   $15.00   60.32   $   15.00              $ 152.38   $   152.38
11/17/2019 Delio Rodriguez - Car Washer                   $15.00   58.27   $   15.00              $ 137.00   $   137.00
11/24/2019 Delio Rodriguez - Car Washer                   $15.00   55.00   $   15.00              $ 112.50   $   112.50
 12/8/2019 Delio Rodriguez - Car Washer                   $15.00   52.87   $   15.00              $ 96.50    $    96.50
12/15/2019 Delio Rodriguez - Car Washer                   $15.00   40.38   $   15.00              $   2.87   $     2.87
 4/23/2017 Deyvi Susana Baez                              $11.00   40.55   $   11.00              $   3.03   $     3.03
 4/30/2017 Deyvi Susana Baez                              $11.00   51.70   $   11.00              $ 64.35    $    64.35
  5/7/2017 Deyvi Susana Baez                              $11.00   47.45   $   11.00              $ 40.98    $    40.98
 5/14/2017 Deyvi Susana Baez                              $11.00   44.35   $   11.00              $ 23.93    $    23.93
 5/21/2017 Deyvi Susana Baez                              $11.00   55.08   $   11.00              $ 82.96    $    82.96
 5/28/2017 Deyvi Susana Baez                              $11.00   44.17   $   11.00              $ 22.92    $    22.92
 6/11/2017 Deyvi Susana Baez                              $11.00   55.52   $   11.00              $ 85.34    $    85.34
 6/18/2017 Deyvi Susana Baez                              $11.00   50.67   $   11.00              $ 58.67    $    58.67
 6/25/2017 Deyvi Susana Baez                              $11.00   42.28   $   11.00              $ 12.56    $    12.56
  7/2/2017 Deyvi Susana Baez                              $11.00   52.68   $   11.00              $ 69.76    $    69.76
  7/9/2017 Deyvi Susana Baez                              $11.00   40.35   $   11.00              $   1.92   $     1.92
 7/16/2017 Deyvi Susana Baez                              $11.00   57.33   $   11.00              $ 95.33    $    95.33
 7/23/2017 Deyvi Susana Baez                              $11.00   53.07   $   11.00              $ 71.87    $    71.87
 7/30/2017 Deyvi Susana Baez                              $11.00   48.70   $   11.00              $ 47.85    $    47.85
  8/6/2017 Deyvi Susana Baez                              $11.00   40.85   $   11.00              $   4.67   $     4.67
 8/13/2017 Deyvi Susana Baez                              $11.00   40.82   $   11.00              $   4.49   $     4.49
 8/20/2017 Deyvi Susana Baez                              $11.00   40.52   $   11.00              $   2.84   $     2.84
 8/27/2017 Deyvi Susana Baez                              $11.00   50.12   $   11.00              $ 55.64    $    55.64
  9/3/2017 Deyvi Susana Baez                              $11.00   52.78   $   11.00              $ 70.31    $    70.31
 9/10/2017 Deyvi Susana Baez                              $11.00   42.67   $   11.00              $ 14.67    $    14.67
 9/17/2017 Deyvi Susana Baez                              $11.00   59.27   $   11.00              $ 105.97   $   105.97
 10/1/2017 Deyvi Susana Baez                              $11.00   46.32   $   11.00              $ 34.74    $    34.74
 10/8/2017 Deyvi Susana Baez                              $11.00   51.80   $   11.00              $ 64.90    $    64.90
10/22/2017 Deyvi Susana Baez                              $11.00   46.48   $   11.00              $ 35.66    $    35.66
10/29/2017 Deyvi Susana Baez                              $11.00   45.38   $   11.00              $ 29.61    $    29.61
 11/5/2017 Deyvi Susana Baez                              $11.00   53.98   $   11.00              $ 76.91    $    76.91
11/12/2017 Deyvi Susana Baez                              $11.00   48.82   $   11.00              $ 48.49    $    48.49
11/19/2017 Deyvi Susana Baez                              $11.00   53.72   $   11.00              $ 75.44    $    75.44
 12/3/2017 Deyvi Susana Baez                              $11.00   53.90   $   11.00              $ 76.45    $    76.45
12/10/2017 Deyvi Susana Baez                              $11.00   52.90   $   11.00              $ 70.95    $    70.95
12/17/2017 Deyvi Susana Baez                              $11.00   44.37   $   11.00              $ 24.02    $    24.02
12/24/2017 Deyvi Susana Baez                              $11.00   55.18   $   11.00              $ 83.51    $    83.51
12/31/2017 Deyvi Susana Baez                              $11.00   46.00   $   13.00   $ 92.00    $ 39.00    $   131.00
 1/14/2018 Deyvi Susana Baez                              $11.00   45.98   $   13.00   $ 91.97    $ 38.89    $   130.86
 1/21/2018 Deyvi Susana Baez                              $11.00   45.30   $   13.00   $ 90.60    $ 34.45    $   125.05
 1/28/2018 Deyvi Susana Baez                              $11.00   44.47   $   13.00   $ 88.93    $ 29.03    $   117.97
 2/11/2018 Deyvi Susana Baez                              $11.00   40.77   $   13.00   $ 81.53    $   4.98   $    86.52
 2/18/2018 Deyvi Susana Baez                              $11.00   43.85   $   13.00   $ 87.70    $ 25.03    $   112.73
 2/25/2018 Deyvi Susana Baez                              $11.00   44.85   $   13.00   $ 89.70    $ 31.53    $   121.23
  3/4/2018 Deyvi Susana Baez                              $11.00   43.22   $   13.00   $ 86.43    $ 20.91    $   107.34
 3/25/2018 Deyvi Susana Baez                              $11.00   44.83   $   13.00   $ 89.67    $ 31.42    $   121.08
  4/1/2018 Deyvi Susana Baez                              $11.00   47.32   $   13.00   $ 94.63    $ 47.56    $   142.19
  4/8/2018 Deyvi Susana Baez                              $11.00   50.88   $   13.00   $ 101.77   $ 70.74    $   172.51
 4/15/2018 Deyvi Susana Baez                              $11.00   52.27   $   13.00   $ 104.53   $ 79.73    $   184.27
 4/22/2018 Deyvi Susana Baez                              $11.00   52.82   $   13.00   $ 105.63   $ 83.31    $   188.94
 4/29/2018 Deyvi Susana Baez                              $11.00   56.45   $   13.00   $ 112.90   $ 106.93   $   219.83
  5/6/2018 Deyvi Susana Baez                              $11.00   43.68   $   13.00   $ 87.37    $ 23.94    $   111.31
 5/13/2018 Deyvi Susana Baez                              $11.00   54.42   $   13.00   $ 108.83   $ 93.71    $   202.54
 5/20/2018 Deyvi Susana Baez                              $11.00   55.88   $   13.00   $ 111.77   $ 103.24   $   215.01
 5/27/2018 Deyvi Susana Baez                              $11.00   56.12   $   13.00   $ 112.23   $ 104.76   $   216.99
 6/24/2018 Deyvi Susana Baez                              $11.00   47.42   $   13.00   $ 94.83    $ 48.21    $   143.04
  7/1/2018 Deyvi Susana Baez                              $11.00   58.80   $   13.00   $ 117.60   $ 122.20   $   239.80
  7/8/2018 Deyvi Susana Baez                              $11.00   47.07   $   13.00   $ 94.13    $ 45.93    $   140.07



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  Week                                                             State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
 Ending                        Name                              Minimum Regular Half-time Overtime Back
                                                    Rate Week
  Date                                                            Wage   Rate Due     Due       Wages Due

 7/15/2018 Deyvi Susana Baez                          $11.00   45.03   $   13.00   $ 90.07    $ 32.72    $   122.78
 7/22/2018 Deyvi Susana Baez                          $11.00   52.73   $   13.00   $ 105.47   $ 82.77    $   188.23
 7/29/2018 Deyvi Susana Baez                          $11.00   55.93   $   13.00   $ 111.87   $ 103.57   $   215.43
  8/5/2018 Deyvi Susana Baez                          $11.00   51.33   $   13.00   $ 102.67   $ 73.67    $   176.33
 8/12/2018 Deyvi Susana Baez                          $11.00   53.35   $   13.00   $ 106.70   $ 86.78    $   193.48
 8/19/2018 Deyvi Susana Baez                          $11.00   55.55   $   13.00   $ 111.10   $ 101.08   $   212.18
 8/26/2018 Deyvi Susana Baez                          $11.00   53.72   $   13.00   $ 107.43   $ 89.16    $   196.59
  9/2/2018 Deyvi Susana Baez                          $11.00   47.98   $   13.00   $ 95.97    $ 51.89    $   147.86
 9/16/2018 Deyvi Susana Baez                          $11.00   53.35   $   13.00   $ 106.70   $ 86.78    $   193.48
 9/23/2018 Deyvi Susana Baez                          $11.00   50.60   $   13.00   $ 101.20   $ 68.90    $   170.10
 9/30/2018 Deyvi Susana Baez                          $11.00   46.72   $   13.00   $ 93.43    $ 43.66    $   137.09
 10/7/2018 Deyvi Susana Baez                          $11.00   46.52   $   13.00   $ 93.03    $ 42.36    $   135.39
10/14/2018 Deyvi Susana Baez                          $11.00   50.08   $   13.00   $ 100.17   $ 65.54    $   165.71
10/21/2018 Deyvi Susana Baez                          $11.00   50.75   $   13.00   $ 101.50   $ 69.88    $   171.38
10/28/2018 Deyvi Susana Baez                          $11.00   52.55   $   13.00   $ 105.10   $ 81.58    $   186.68
 11/4/2018 Deyvi Susana Baez                          $11.00   54.82   $   13.00   $ 109.63   $ 96.31    $   205.94
11/11/2018 Deyvi Susana Baez                          $11.00   51.32   $   13.00   $ 102.63   $ 73.56    $   176.19
11/18/2018 Deyvi Susana Baez                          $11.00   48.82   $   13.00   $ 97.63    $ 57.31    $   154.94
11/25/2018 Deyvi Susana Baez                          $11.00   40.40   $   13.00   $ 80.80    $   2.60   $    83.40
12/16/2018 Deyvi Susana Baez                          $11.00   51.27   $   13.00   $ 102.53   $ 73.23    $   175.77
12/23/2018 Deyvi Susana Baez                          $11.00   45.93   $   13.00   $ 91.87    $ 38.57    $   130.43
12/30/2018 Deyvi Susana Baez                          $11.00   48.65   $   13.00   $ 97.30    $ 56.23    $   153.53
  1/6/2019 Deyvi Susana Baez                          $11.00   41.63   $   15.00   $ 166.53   $ 12.25    $   178.78
 1/13/2019 Deyvi Susana Baez                          $11.00   50.37   $   15.00   $ 201.47   $ 77.75    $   279.22
 1/20/2019 Deyvi Susana Baez                          $11.00   49.13   $   15.00   $ 196.53   $ 68.50    $   265.03
 1/27/2019 Deyvi Susana Baez                          $11.00   44.22   $   15.00   $ 176.87   $ 31.63    $   208.49
 2/24/2019 Deyvi Susana Baez                          $11.00   52.33   $   15.00   $ 209.33   $ 92.50    $   301.83
  3/3/2019 Deyvi Susana Baez                          $11.00   52.32   $   15.00   $ 209.27   $ 92.38    $   301.64
 3/10/2019 Deyvi Susana Baez                          $11.00   50.33   $   15.00   $ 201.33   $ 77.50    $   278.83
 3/17/2019 Deyvi Susana Baez                          $11.00   43.60   $   15.00   $ 174.40   $ 27.00    $   201.40
 3/24/2019 Deyvi Susana Baez                          $11.00   56.07   $   15.00   $ 224.27   $ 120.50   $   344.77
 3/31/2019 Deyvi Susana Baez                          $11.00   55.53   $   15.00   $ 222.13   $ 116.50   $   338.63
  4/7/2019 Deyvi Susana Baez                          $11.00   51.52   $   15.00   $ 206.07   $ 86.38    $   292.44
 4/14/2019 Deyvi Susana Baez                          $11.00   53.28   $   15.00   $ 213.13   $ 99.63    $   312.76
 4/21/2019 Deyvi Susana Baez                          $11.00   56.15   $   15.00   $ 224.60   $ 121.13   $   345.73
 4/28/2019 Deyvi Susana Baez                          $11.00   54.82   $   15.00   $ 219.27   $ 111.13   $   330.39
  5/5/2019 Deyvi Susana Baez                          $11.00   54.12   $   15.00   $ 216.47   $ 105.88   $   322.34
 5/12/2019 Deyvi Susana Baez                          $11.00   57.00   $   15.00   $ 228.00   $ 127.50   $   355.50
 5/19/2019 Deyvi Susana Baez                          $11.00   57.13   $   15.00   $ 228.53   $ 128.50   $   357.03
 5/26/2019 Deyvi Susana Baez                          $11.00   55.83   $   15.00   $ 223.33   $ 118.75   $   342.08
  6/2/2019 Deyvi Susana Baez                          $11.00   40.13   $   15.00   $ 160.53   $   1.00   $   161.53
  6/9/2019 Deyvi Susana Baez                          $11.00   62.27   $   15.00   $ 249.07   $ 167.00   $   416.07
 6/16/2019 Deyvi Susana Baez                          $11.00   65.60   $   15.00   $ 262.40   $ 192.00   $   454.40
 6/23/2019 Deyvi Susana Baez                          $11.00   62.17   $   15.00   $ 248.67   $ 166.25   $   414.92
 6/30/2019 Deyvi Susana Baez                          $11.00   65.28   $   15.00   $ 261.13   $ 189.63   $   450.76
  7/7/2019 Deyvi Susana Baez                          $11.00   51.43   $   15.00   $ 205.73   $ 85.75    $   291.48
 7/14/2019 Deyvi Susana Baez                          $11.00   64.95   $   15.00   $ 259.80   $ 187.13   $   446.93
 7/21/2019 Deyvi Susana Baez                          $11.00   65.52   $   15.00   $ 262.07   $ 191.38   $   453.44
 7/28/2019 Deyvi Susana Baez                          $11.00   58.75   $   15.00   $ 235.00   $ 140.63   $   375.63
  8/4/2019 Deyvi Susana Baez                          $11.00   60.60   $   15.00   $ 242.40   $ 154.50   $   396.90
 8/11/2019 Deyvi Susana Baez                          $11.00   56.40   $   15.00   $ 225.60   $ 123.00   $   348.60
 8/18/2019 Deyvi Susana Baez                          $11.00   61.63   $   15.00   $ 246.53   $ 162.25   $   408.78
  9/1/2019 Deyvi Susana Baez                          $11.00   47.77   $   15.00   $ 191.07   $ 58.25    $   249.32
  9/8/2019 Deyvi Susana Baez                          $11.00   47.98   $   15.00   $ 191.93   $ 59.88    $   251.81
 9/15/2019 Deyvi Susana Baez                          $11.00   58.02   $   15.00   $ 232.07   $ 135.13   $   367.19
 9/22/2019 Deyvi Susana Baez                          $11.00   59.72   $   15.00   $ 238.87   $ 147.88   $   386.74
 9/29/2019 Deyvi Susana Baez                          $11.00   55.90   $   15.00   $ 223.60   $ 119.25   $   342.85
 10/6/2019 Deyvi Susana Baez                          $11.00   56.32   $   15.00   $ 225.27   $ 122.38   $   347.64



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  Week                                                             State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
 Ending                        Name                              Minimum Regular Half-time Overtime Back
                                                    Rate Week
  Date                                                            Wage   Rate Due     Due       Wages Due

10/13/2019 Deyvi Susana Baez                          $11.00   55.40   $   15.00   $ 221.60   $ 115.50   $   337.10
10/20/2019 Deyvi Susana Baez                          $11.00   48.60   $   15.00   $ 194.40   $ 64.50    $   258.90
10/27/2019 Deyvi Susana Baez                          $11.00   47.92   $   15.00   $ 191.67   $ 59.38    $   251.04
 11/3/2019 Deyvi Susana Baez                          $11.00   51.92   $   15.00   $ 207.67   $ 89.37    $   297.04
11/10/2019 Deyvi Susana Baez                          $11.00   53.00   $   15.00   $ 212.00   $ 97.50    $   309.50
11/17/2019 Deyvi Susana Baez                          $11.00   57.12   $   15.00   $ 228.47   $ 128.38   $   356.84
11/24/2019 Deyvi Susana Baez                          $11.00   58.45   $   15.00   $ 233.80   $ 138.38   $   372.18
 12/8/2019 Deyvi Susana Baez                          $11.00   52.47   $   15.00   $ 209.87   $ 93.50    $   303.37
12/15/2019 Deyvi Susana Baez                          $11.00   44.87   $   15.00   $ 179.47   $ 36.50    $   215.97
12/22/2019 Deyvi Susana Baez                          $11.00   48.23   $   15.00   $ 192.93   $ 61.75    $   254.68
  1/5/2020 Deyvi Susana Baez                          $11.00   43.15   $   15.00   $ 172.60   $ 23.63    $   196.23
 1/12/2020 Deyvi Susana Baez                          $11.00   55.47   $   15.00   $ 221.87   $ 116.00   $   337.87
 1/19/2020 Deyvi Susana Baez                          $11.00   50.72   $   15.00   $ 202.87   $ 80.38    $   283.24
 1/26/2020 Deyvi Susana Baez                          $11.00   49.82   $   15.00   $ 199.27   $ 73.63    $   272.89
  4/8/2018 Eddher Agramonte                           $10.00   42.18   $   13.00   $ 126.55   $ 14.19    $   140.74
 4/15/2018 Eddher Agramonte                           $10.00   53.87   $   13.00   $ 161.60   $ 90.13    $   251.73
 4/22/2018 Eddher Agramonte                           $10.00   53.22   $   13.00   $ 159.65   $ 85.91    $   245.56
 4/29/2018 Eddher Agramonte                           $10.00   57.08   $   13.00   $ 171.25   $ 111.04   $   282.29
  5/6/2018 Eddher Agramonte                           $10.00   48.98   $   13.00   $ 146.95   $ 58.39    $   205.34
 5/13/2018 Eddher Agramonte                           $10.00   54.73   $   13.00   $ 164.20   $ 95.77    $   259.97
 5/27/2018 Eddher Agramonte                           $10.00   52.92   $   13.00   $ 158.75   $ 83.96    $   242.71
  6/3/2018 Eddher Agramonte                           $10.00   52.10   $   13.00   $ 156.30   $ 78.65    $   234.95
 6/10/2018 Eddher Agramonte                           $10.00   52.03   $   13.00   $ 156.10   $ 78.22    $   234.32
 6/17/2018 Eddher Agramonte                           $10.00   53.03   $   13.00   $ 159.10   $ 84.72    $   243.82
 6/24/2018 Eddher Agramonte                           $10.00   53.65   $   13.00   $ 160.95   $ 88.73    $   249.68
  7/1/2018 Eddher Agramonte                           $10.00   56.10   $   13.00   $ 168.30   $ 104.65   $   272.95
  7/8/2018 Eddher Agramonte                           $10.00   45.23   $   13.00   $ 135.70   $ 34.02    $   169.72
 7/15/2018 Eddher Agramonte                           $10.00   48.48   $   13.00   $ 145.45   $ 55.14    $   200.59
 7/22/2018 Eddher Agramonte                           $10.00   51.32   $   13.00   $ 153.95   $ 73.56    $   227.51
 7/29/2018 Eddher Agramonte                           $10.00   59.15   $   13.00   $ 177.45   $ 124.48   $   301.93
  8/5/2018 Eddher Agramonte                           $10.00   61.28   $   13.00   $ 183.85   $ 138.34   $   322.19
 8/12/2018 Eddher Agramonte                           $10.00   63.17   $   13.00   $ 189.50   $ 150.58   $   340.08
 8/19/2018 Eddher Agramonte                           $10.00   63.83   $   13.00   $ 191.50   $ 154.92   $   346.42
 8/26/2018 Eddher Agramonte                           $10.00   40.48   $   13.00   $ 121.45   $   3.14   $   124.59
  4/2/2017 Ederis Garcia                               $9.00   58.55   $   11.00   $ 117.10   $ 102.03   $   219.13
  4/9/2017 Ederis Garcia                               $9.00   40.55   $   11.00   $ 81.10    $   3.03   $    84.13
  8/4/2019 Edimir Familia                             $10.00   63.42   $   15.00   $ 317.08   $ 175.63   $   492.71
 8/11/2019 Edimir Familia                             $10.00   61.25   $   15.00   $ 306.25   $ 159.38   $   465.63
 8/18/2019 Edimir Familia                             $10.00   67.82   $   15.00   $ 339.08   $ 208.63   $   547.71
 8/25/2019 Edimir Familia                             $10.00   68.88   $   15.00   $ 344.42   $ 216.63   $   561.04
  9/1/2019 Edimir Familia                             $10.00   62.88   $   15.00   $ 314.42   $ 171.63   $   486.04
  9/8/2019 Edimir Familia                             $10.00   55.33   $   15.00   $ 276.67   $ 115.00   $   391.67
 9/15/2019 Edimir Familia                             $10.00   56.62   $   15.00   $ 283.08   $ 124.63   $   407.71
 9/22/2019 Edimir Familia                             $10.00   58.82   $   15.00   $ 294.08   $ 141.13   $   435.21
 9/29/2019 Edimir Familia                             $10.00   68.10   $   15.00   $ 340.50   $ 210.75   $   551.25
 10/6/2019 Edimir Familia                             $10.00   61.20   $   15.00   $ 306.00   $ 159.00   $   465.00
10/20/2019 Edimir Familia                             $10.00   51.05   $   15.00   $ 255.25   $ 82.88    $   338.13
10/27/2019 Edimir Familia                             $10.00   66.08   $   15.00   $ 330.42   $ 195.63   $   526.04
 11/3/2019 Edimir Familia                             $10.00   62.33   $   15.00   $ 311.67   $ 167.50   $   479.17
11/10/2019 Edimir Familia                             $10.00   61.18   $   15.00   $ 305.92   $ 158.88   $   464.79
11/17/2019 Edimir Familia                             $10.00   61.43   $   15.00   $ 307.17   $ 160.75   $   467.92
11/24/2019 Edimir Familia                             $10.00   65.35   $   15.00   $ 326.75   $ 190.13   $   516.88
 12/1/2019 Edimir Familia                             $10.00   55.97   $   15.00   $ 279.83   $ 119.75   $   399.58
 12/8/2019 Edimir Familia                             $10.00   54.05   $   15.00   $ 270.25   $ 105.38   $   375.63
12/15/2019 Edimir Familia                             $10.00   53.17   $   15.00   $ 265.83   $ 98.75    $   364.58
12/22/2019 Edimir Familia                             $10.00   61.92   $   15.00   $ 309.58   $ 164.38   $   473.96
12/29/2019 Edimir Familia                             $10.00   54.00   $   15.00   $ 270.00   $ 105.00   $   375.00
  1/5/2020 Edimir Familia                             $10.00   52.63   $   15.00   $ 263.17   $ 94.75    $   357.92



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  Week                                                          State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
 Ending                     Name                              Minimum Regular Half-time Overtime Back
                                                 Rate Week
  Date                                                         Wage   Rate Due     Due       Wages Due

 1/12/2020 Edimir Familia                          $10.00   58.60   $   15.00   $ 293.00   $   139.50   $   432.50
 1/19/2020 Edimir Familia                          $10.00   65.85   $   15.00   $ 329.25   $   193.88   $   523.13
 1/26/2020 Edimir Familia                          $10.00   63.40   $   15.00   $ 317.00   $   175.50   $   492.50
  2/5/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 2/12/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 2/19/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 2/26/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
  3/5/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 3/12/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 3/19/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 3/26/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
  4/2/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
  4/9/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 4/16/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 4/23/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 4/30/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
  5/7/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 5/14/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 5/21/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 5/28/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
  6/4/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 6/11/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 6/18/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 6/25/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
  7/2/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
  7/9/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 7/16/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 7/23/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 7/30/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
  8/6/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 8/13/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 8/20/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 8/27/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
  9/3/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 9/10/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 9/17/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 9/24/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 10/1/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 10/8/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
10/15/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
10/22/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
10/29/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 11/5/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
11/12/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
11/19/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
11/26/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
 12/3/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
12/10/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
12/17/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
12/24/2017 Edward Medina                           $11.00   60.00   $   11.00              $   110.00   $   110.00
12/31/2017 Edward Medina                           $13.00   60.00   $   13.00              $   130.00   $   130.00
  1/7/2018 Edward Medina                           $13.00   60.00   $   13.00              $   130.00   $   130.00
 1/14/2018 Edward Medina                           $13.00   60.00   $   13.00              $   130.00   $   130.00
 1/21/2018 Edward Medina                           $13.00   60.00   $   13.00              $   130.00   $   130.00
 1/28/2018 Edward Medina                           $13.00   60.00   $   13.00              $   130.00   $   130.00
  2/4/2018 Edward Medina                           $13.00   60.00   $   13.00              $   130.00   $   130.00
 2/11/2018 Edward Medina                           $13.00   60.00   $   13.00              $   130.00   $   130.00
 2/18/2018 Edward Medina                           $13.00   60.00   $   13.00              $   130.00   $   130.00



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                                           Exhibit 3
                                  New York City Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
 Ending                    Name                              Minimum Regular Half-time Overtime Back
                                                Rate Week
  Date                                                        Wage   Rate Due     Due       Wages Due

 2/25/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  3/4/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 3/11/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 3/18/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 3/25/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  4/1/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  4/8/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 4/15/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 4/22/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 4/29/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  5/6/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 5/13/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 5/20/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 5/27/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  6/3/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 6/10/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 6/17/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 6/24/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  7/1/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  7/8/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 7/15/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 7/22/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 7/29/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  8/5/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 8/12/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 8/19/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 8/26/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  9/2/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  9/9/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 9/16/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 9/23/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 9/30/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 10/7/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
10/14/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
10/21/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
10/28/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 11/4/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
11/11/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
11/18/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
11/25/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 12/2/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
 12/9/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
12/16/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
12/23/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
12/30/2018 Edward Medina                          $13.00   60.00   $   13.00     $   130.00   $    130.00
  1/6/2019 Edward Medina                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 1/13/2019 Edward Medina                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 1/20/2019 Edward Medina                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 1/27/2019 Edward Medina                          $15.00   60.00   $   15.00     $   150.00   $    150.00
  2/3/2019 Edward Medina                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 2/10/2019 Edward Medina                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 2/17/2019 Edward Medina                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 2/24/2019 Edward Medina                          $15.00   60.00   $   15.00     $   150.00   $    150.00
  3/3/2019 Edward Medina                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 3/10/2019 Edward Medina                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 3/17/2019 Edward Medina                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 3/24/2019 Edward Medina                          $15.00   60.00   $   15.00     $   150.00   $    150.00
 3/31/2019 Edward Medina                          $15.00   60.00   $   15.00     $   150.00   $    150.00



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  Week                                                            State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
 Ending                       Name                              Minimum Regular Half-time Overtime Back
                                                   Rate Week
  Date                                                           Wage   Rate Due     Due       Wages Due

  4/7/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 4/14/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 4/21/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 4/28/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
  5/5/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 5/12/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 5/19/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 5/26/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
  6/2/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
  6/9/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 6/16/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 6/23/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 6/30/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
  7/7/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 7/14/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 7/21/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 7/28/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
  8/4/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 8/11/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 8/18/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 8/25/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
  9/1/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
  9/8/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 9/15/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 9/22/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 9/29/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 10/6/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
10/13/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
10/20/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
10/27/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 11/3/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
11/10/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
11/17/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
11/24/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 12/1/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 12/8/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
12/15/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
12/22/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
12/29/2019 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
  1/5/2020 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 1/12/2020 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 1/19/2020 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 1/26/2020 Edward Medina                             $15.00   60.00   $   15.00              $ 150.00   $   150.00
 5/13/2018 Edward Pena                                $9.00   62.78   $   13.00   $ 251.13   $ 148.09   $   399.23
 5/20/2018 Edward Pena                                $9.00   53.12   $   13.00   $ 212.47   $ 85.26    $   297.73
 5/21/2017 Edwin De La Rosa                          $10.00   44.03   $   11.00   $ 44.03    $ 22.18    $    66.22
 5/28/2017 Edwin De La Rosa                          $10.00   40.13   $   11.00   $ 40.13    $   0.73   $    40.87
  6/4/2017 Edwin De La Rosa                          $10.00   42.32   $   11.00   $ 42.32    $ 12.74    $    55.06
 6/11/2017 Edwin De La Rosa                          $10.00   43.07   $   11.00   $ 43.07    $ 16.87    $    59.93
 6/18/2017 Edwin De La Rosa                          $10.00   45.12   $   11.00   $ 45.12    $ 28.14    $    73.26
 6/25/2017 Edwin De La Rosa                          $10.00   46.57   $   11.00   $ 46.57    $ 36.12    $    82.68
  7/2/2017 Edwin De La Rosa                          $10.00   50.25   $   11.00   $ 50.25    $ 56.38    $   106.63
 7/16/2017 Edwin De La Rosa                          $10.00   52.50   $   11.00   $ 52.50    $ 68.75    $   121.25
 7/23/2017 Edwin De La Rosa                          $10.00   48.00   $   11.00   $ 48.00    $ 44.00    $    92.00
  8/6/2017 Edwin De La Rosa                          $10.00   46.72   $   11.00   $ 46.72    $ 36.94    $    83.66
 8/13/2017 Edwin De La Rosa                          $10.00   43.62   $   11.00   $ 43.62    $ 19.89    $    63.51
 8/20/2017 Edwin De La Rosa                          $10.00   44.55   $   11.00   $ 44.55    $ 25.03    $    69.58
 8/27/2017 Edwin De La Rosa                          $10.00   44.92   $   11.00   $ 44.92    $ 27.04    $    71.96



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  Week                                                            State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
 Ending                       Name                              Minimum Regular Half-time Overtime Back
                                                   Rate Week
  Date                                                           Wage   Rate Due     Due       Wages Due

12/24/2017 Edwin De La Rosa                          $10.00   47.97   $   11.00   $ 47.97     $ 43.82    $    91.78
12/31/2017 Edwin De La Rosa                          $10.00   46.67   $   13.00   $ 140.00    $ 43.33    $   183.33
 6/10/2018 Edwin De La Rosa                          $10.00   52.58   $   13.00   $ 157.75    $ 81.79    $   239.54
 5/26/2019 Edwin De La Rosa                          $10.00   40.88   $   15.00   $ 204.42    $   6.63   $   211.04
 6/25/2017 Edwin Mejia                               $12.00   58.55   $   11.00               $ 111.30   $   111.30
  7/2/2017 Edwin Mejia                               $12.00   60.43   $   11.00               $ 122.60   $   122.60
  7/9/2017 Edwin Mejia                               $12.00   43.52   $   11.00               $ 21.10    $    21.10
 7/16/2017 Edwin Mejia                               $12.00   58.17   $   11.00               $ 109.00   $   109.00
 7/23/2017 Edwin Mejia                               $12.00   50.00   $   11.00               $ 60.00    $    60.00
 7/30/2017 Edwin Mejia                               $12.00   58.08   $   11.00               $ 108.50   $   108.50
  8/6/2017 Edwin Mejia                               $12.00   56.97   $   11.00               $ 101.80   $   101.80
 8/13/2017 Edwin Mejia                               $12.00   52.12   $   11.00               $ 72.70    $    72.70
 8/20/2017 Edwin Mejia                               $12.00   56.08   $   11.00               $ 96.50    $    96.50
 8/27/2017 Edwin Mejia                               $12.00   55.85   $   11.00               $ 95.10    $    95.10
  9/3/2017 Edwin Mejia                               $12.00   51.45   $   11.00               $ 68.70    $    68.70
 9/10/2017 Edwin Mejia                               $12.00   45.27   $   11.00               $ 31.60    $    31.60
 9/17/2017 Edwin Mejia                               $12.00   56.12   $   11.00               $ 96.70    $    96.70
 9/24/2017 Edwin Mejia                               $12.00   60.18   $   11.00               $ 121.10   $   121.10
 10/1/2017 Edwin Mejia                               $12.00   59.87   $   11.00               $ 119.20   $   119.20
 10/8/2017 Edwin Mejia                               $12.00   46.03   $   11.00               $ 36.20    $    36.20
10/15/2017 Edwin Mejia                               $12.00   49.15   $   11.00               $ 54.90    $    54.90
10/22/2017 Edwin Mejia                               $12.00   57.02   $   11.00               $ 102.10   $   102.10
10/29/2017 Edwin Mejia                               $12.00   57.97   $   11.00               $ 107.80   $   107.80
 11/5/2017 Edwin Mejia                               $12.00   55.32   $   11.00               $ 91.90    $    91.90
11/12/2017 Edwin Mejia                               $12.00   58.17   $   11.00               $ 109.00   $   109.00
11/19/2017 Edwin Mejia                               $12.00   57.28   $   11.00               $ 103.70   $   103.70
11/26/2017 Edwin Mejia                               $12.00   47.47   $   11.00               $ 44.80    $    44.80
 12/3/2017 Edwin Mejia                               $12.00   59.63   $   11.00               $ 117.80   $   117.80
12/10/2017 Edwin Mejia                               $12.00   57.03   $   11.00               $ 102.20   $   102.20
12/17/2017 Edwin Mejia                               $12.00   53.47   $   11.00               $ 80.80    $    80.80
12/24/2017 Edwin Mejia                               $12.00   59.45   $   11.00               $ 116.70   $   116.70
12/31/2017 Edwin Mejia                               $12.00   47.47   $   13.00   $   47.47   $ 48.53    $    96.00
  1/7/2018 Edwin Mejia                               $12.00   40.53   $   13.00   $   40.53   $   3.47   $    44.00
 1/14/2018 Edwin Mejia                               $12.00   44.93   $   13.00   $   44.93   $ 32.07    $    77.00
 1/21/2018 Edwin Mejia                               $12.00   51.98   $   13.00   $   51.98   $ 77.89    $   129.88
 1/28/2018 Edwin Mejia                               $12.00   48.17   $   13.00   $   48.17   $ 53.08    $   101.25
  2/4/2018 Edwin Mejia                               $12.00   48.20   $   13.00   $   48.20   $ 53.30    $   101.50
 2/11/2018 Edwin Mejia                               $12.00   50.63   $   13.00   $   50.63   $ 69.12    $   119.75
 2/18/2018 Edwin Mejia                               $12.00   48.53   $   13.00   $   48.53   $ 55.47    $   104.00
 2/25/2018 Edwin Mejia                               $12.00   48.35   $   13.00   $   48.35   $ 54.28    $   102.63
  3/4/2018 Edwin Mejia                               $12.00   42.03   $   13.00   $   42.03   $ 13.22    $    55.25
 3/25/2018 Edwin Mejia                               $12.00   43.53   $   13.00   $   43.53   $ 22.97    $    66.50
  4/1/2018 Edwin Mejia                               $12.00   61.42   $   13.00   $   61.42   $ 139.21   $   200.63
  4/8/2018 Edwin Mejia                               $12.00   55.30   $   13.00   $   55.30   $ 99.45    $   154.75
 4/15/2018 Edwin Mejia                               $12.00   55.85   $   13.00   $   55.85   $ 103.03   $   158.88
 4/22/2018 Edwin Mejia                               $12.00   59.73   $   13.00   $   59.73   $ 128.27   $   188.00
 4/29/2018 Edwin Mejia                               $12.00   46.70   $   13.00   $   46.70   $ 43.55    $    90.25
  5/6/2018 Edwin Mejia                               $12.00   59.83   $   13.00   $   59.83   $ 128.92   $   188.75
 5/13/2018 Edwin Mejia                               $12.00   55.37   $   13.00   $   55.37   $ 99.88    $   155.25
 5/20/2018 Edwin Mejia                               $12.00   59.40   $   13.00   $   59.40   $ 126.10   $   185.50
 5/27/2018 Edwin Mejia                               $12.00   62.13   $   13.00   $   62.13   $ 143.87   $   206.00
  6/3/2018 Edwin Mejia                               $12.00   44.17   $   13.00   $   44.17   $ 27.08    $    71.25
 6/10/2018 Edwin Mejia                               $12.00   57.07   $   13.00   $   57.07   $ 110.93   $   168.00
 6/17/2018 Edwin Mejia                               $12.00   57.05   $   13.00   $   57.05   $ 110.83   $   167.88
 6/24/2018 Edwin Mejia                               $12.00   48.20   $   13.00   $   48.20   $ 53.30    $   101.50
  7/1/2018 Edwin Mejia                               $12.00   57.60   $   13.00   $   57.60   $ 114.40   $   172.00
  7/8/2018 Edwin Mejia                               $12.00   49.02   $   13.00   $   49.02   $ 58.61    $   107.63
 7/22/2018 Edwin Mejia                               $12.00   48.07   $   13.00   $   48.07   $ 52.43    $   100.50



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  Week                                                                 State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
 Ending                          Name                                Minimum Regular Half-time Overtime Back
                                                        Rate Week
  Date                                                                Wage   Rate Due     Due       Wages Due

 7/29/2018 Edwin Mejia                                    $12.00   50.40   $   13.00   $ 50.40    $ 67.60    $   118.00
 8/12/2018 Edwin Mejia                                    $12.00   43.67   $   13.00   $ 43.67    $ 23.83    $    67.50
 8/19/2018 Edwin Mejia                                    $12.00   54.13   $   13.00   $ 54.13    $ 91.87    $   146.00
 8/26/2018 Edwin Mejia                                    $12.00   53.97   $   13.00   $ 53.97    $ 90.78    $   144.75
  9/2/2018 Edwin Mejia                                    $12.00   46.28   $   13.00   $ 46.28    $ 40.84    $    87.13
 9/16/2018 Edwin Mejia                                    $12.00   50.03   $   13.00   $ 50.03    $ 65.22    $   115.25
 9/23/2018 Edwin Mejia                                    $12.00   50.87   $   13.00   $ 50.87    $ 70.63    $   121.50
 9/30/2018 Edwin Mejia                                    $12.00   45.13   $   13.00   $ 45.13    $ 33.37    $    78.50
 10/7/2018 Edwin Mejia                                    $12.00   56.72   $   13.00   $ 56.72    $ 108.66   $   165.38
10/14/2018 Edwin Mejia                                    $12.00   43.88   $   13.00   $ 43.88    $ 25.24    $    69.13
10/21/2018 Edwin Mejia                                    $12.00   41.77   $   13.00   $ 41.77    $ 11.48    $    53.25
10/28/2018 Edwin Mejia                                    $12.00   42.87   $   13.00   $ 42.87    $ 18.63    $    61.50
 2/24/2019 Edwin Mendes Tejada                             $9.50   68.43   $   15.00   $ 376.38   $ 213.25   $   589.63
  3/3/2019 Edwin Mendes Tejada                             $9.50   67.95   $   15.00   $ 373.73   $ 209.63   $   583.35
 3/10/2019 Edwin Mendes Tejada                             $9.50   68.53   $   15.00   $ 376.93   $ 214.00   $   590.93
 3/17/2019 Edwin Mendes Tejada                             $9.50   69.55   $   15.00   $ 382.53   $ 221.63   $   604.15
 3/24/2019 Edwin Mendes Tejada                             $9.50   69.63   $   15.00   $ 382.98   $ 222.25   $   605.23
 3/31/2019 Edwin Mendes Tejada                             $9.50   67.78   $   15.00   $ 372.81   $ 208.38   $   581.18
  4/7/2019 Edwin Mendes Tejada                             $9.50   71.45   $   15.00   $ 392.98   $ 235.88   $   628.85
 4/14/2019 Edwin Mendes Tejada                             $9.50   67.85   $   15.00   $ 373.18   $ 208.88   $   582.05
 4/21/2019 Edwin Mendes Tejada                             $9.50   79.53   $   15.00   $ 437.43   $ 296.50   $   733.93
 4/28/2019 Edwin Mendes Tejada                             $9.50   62.25   $   15.00   $ 342.38   $ 166.88   $   509.25
  5/5/2019 Edwin Mendes Tejada                             $9.50   74.68   $   15.00   $ 410.76   $ 260.13   $   670.88
 5/12/2019 Edwin Mendes Tejada                             $9.50   73.60   $   15.00   $ 404.80   $ 252.00   $   656.80
 5/19/2019 Edwin Mendes Tejada                             $9.50   67.62   $   15.00   $ 371.89   $ 207.13   $   579.02
 2/25/2018 Edwin Miguel Ramirez Taveras                   $13.00   56.68   $   13.00              $ 108.44   $   108.44
 4/23/2017 Eladio Mateo                                    $9.00   48.68   $   11.00   $ 97.37    $ 47.76    $   145.13
 4/30/2017 Eladio Mateo                                    $9.00   49.58   $   11.00   $ 99.17    $ 52.71    $   151.88
  5/7/2017 Eladio Mateo                                    $9.00   49.37   $   11.00   $ 98.73    $ 51.52    $   150.25
 5/14/2017 Eladio Mateo                                    $9.00   49.32   $   11.00   $ 98.63    $ 51.24    $   149.88
 5/21/2017 Eladio Mateo                                    $9.00   50.07   $   11.00   $ 100.13   $ 55.37    $   155.50
 5/28/2017 Eladio Mateo                                    $9.00   49.62   $   11.00   $ 99.23    $ 52.89    $   152.13
  6/4/2017 Eladio Mateo                                    $9.00   41.07   $   11.00   $ 82.13    $   5.87   $    88.00
 6/11/2017 Eladio Mateo                                    $9.00   49.75   $   11.00   $ 99.50    $ 53.63    $   153.13
 6/18/2017 Eladio Mateo                                    $9.00   48.78   $   11.00   $ 97.57    $ 48.31    $   145.88
 6/25/2017 Eladio Mateo                                    $9.00   49.03   $   11.00   $ 98.07    $ 49.68    $   147.75
  7/2/2017 Eladio Mateo                                    $9.00   49.58   $   11.00   $ 99.17    $ 52.71    $   151.88
  7/9/2017 Eladio Mateo                                    $9.00   49.68   $   11.00   $ 99.37    $ 53.26    $   152.63
 7/16/2017 Eladio Mateo                                    $9.00   52.72   $   11.00   $ 105.43   $ 69.94    $   175.38
 7/23/2017 Eladio Mateo                                    $9.00   58.02   $   11.00   $ 116.03   $ 99.09    $   215.13
 7/30/2017 Eladio Mateo                                    $9.00   49.52   $   11.00   $ 99.03    $ 52.34    $   151.38
  8/6/2017 Eladio Mateo                                    $9.00   49.82   $   11.00   $ 99.63    $ 53.99    $   153.63
 8/13/2017 Eladio Mateo                                    $9.00   49.88   $   11.00   $ 99.77    $ 54.36    $   154.13
 8/20/2017 Eladio Mateo                                    $9.00   49.42   $   11.00   $ 98.83    $ 51.79    $   150.63
 8/27/2017 Eladio Mateo                                    $9.00   46.77   $   11.00   $ 93.53    $ 37.22    $   130.75
  9/3/2017 Eladio Mateo                                    $9.00   56.18   $   11.00   $ 112.37   $ 89.01    $   201.38
 9/10/2017 Eladio Mateo                                    $9.00   56.22   $   11.00   $ 112.43   $ 89.19    $   201.63
 9/17/2017 Eladio Mateo                                    $9.00   49.97   $   11.00   $ 99.93    $ 54.82    $   154.75
 9/24/2017 Eladio Mateo                                    $9.00   50.28   $   11.00   $ 100.57   $ 56.56    $   157.13
 10/1/2017 Eladio Mateo                                    $9.00   50.08   $   11.00   $ 100.17   $ 55.46    $   155.63
 10/8/2017 Eladio Mateo                                    $9.00   43.27   $   11.00   $ 86.53    $ 17.97    $   104.50
10/22/2017 Eladio Mateo                                    $9.50   54.35   $   11.00   $ 81.53    $ 78.93    $   160.45
10/29/2017 Eladio Mateo                                    $9.50   64.03   $   11.00   $ 96.05    $ 132.18   $   228.23
 11/5/2017 Eladio Mateo                                    $9.50   62.08   $   11.00   $ 93.13    $ 121.46   $   214.58
11/12/2017 Eladio Mateo                                    $9.50   63.98   $   11.00   $ 95.98    $ 131.91   $   227.88
11/19/2017 Eladio Mateo                                    $9.50   63.00   $   11.00   $ 94.50    $ 126.50   $   221.00
11/26/2017 Eladio Mateo                                    $9.50   47.03   $   11.00   $ 70.55    $ 38.68    $   109.23
 12/3/2017 Eladio Mateo                                    $9.50   56.52   $   11.00   $ 84.78    $ 90.84    $   175.62



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  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                   Name                              Minimum Regular Half-time Overtime Back
                                               Rate Week
  Date                                                       Wage   Rate Due     Due       Wages Due

12/10/2017 Eladio Mateo                          $9.50   60.82   $   11.00   $ 91.23    $ 114.49   $   205.72
12/17/2017 Eladio Mateo                          $9.50   61.43   $   11.00   $ 92.15    $ 117.88   $   210.03
12/24/2017 Eladio Mateo                          $9.50   62.70   $   11.00   $ 94.05    $ 124.85   $   218.90
12/31/2017 Eladio Mateo                          $9.50   47.22   $   13.00   $ 165.26   $ 46.91    $   212.17
  1/7/2018 Eladio Mateo                          $9.50   46.92   $   13.00   $ 164.21   $ 44.96    $   209.17
 1/14/2018 Eladio Mateo                          $9.50   62.60   $   13.00   $ 219.10   $ 146.90   $   366.00
 1/21/2018 Eladio Mateo                          $9.50   64.45   $   13.00   $ 225.58   $ 158.93   $   384.50
 1/28/2018 Eladio Mateo                          $9.50   59.12   $   13.00   $ 206.91   $ 124.26   $   331.17
  2/4/2018 Eladio Mateo                          $9.50   64.67   $   13.00   $ 226.33   $ 160.33   $   386.67
 2/11/2018 Eladio Mateo                          $9.50   56.15   $   13.00   $ 196.53   $ 104.98   $   301.50
 2/18/2018 Eladio Mateo                          $9.50   59.52   $   13.00   $ 208.31   $ 126.86   $   335.17
  3/4/2018 Eladio Mateo                          $9.50   58.27   $   13.00   $ 203.93   $ 118.73   $   322.67
 3/25/2018 Eladio Mateo                          $9.50   56.85   $   13.00   $ 198.98   $ 109.53   $   308.50
  4/1/2018 Eladio Mateo                          $9.50   65.20   $   13.00   $ 228.20   $ 163.80   $   392.00
  4/8/2018 Eladio Mateo                          $9.50   64.33   $   13.00   $ 225.17   $ 158.17   $   383.33
 4/15/2018 Eladio Mateo                          $9.50   61.40   $   13.00   $ 214.90   $ 139.10   $   354.00
 4/22/2018 Eladio Mateo                          $9.50   61.42   $   13.00   $ 214.96   $ 139.21   $   354.17
 4/29/2018 Eladio Mateo                          $9.50   59.57   $   13.00   $ 208.48   $ 127.18   $   335.67
  5/6/2018 Eladio Mateo                          $9.50   61.18   $   13.00   $ 214.14   $ 137.69   $   351.83
 5/13/2018 Eladio Mateo                          $9.50   63.03   $   13.00   $ 220.62   $ 149.72   $   370.33
 5/20/2018 Eladio Mateo                          $9.50   50.57   $   13.00   $ 176.98   $ 68.68    $   245.67
 5/27/2018 Eladio Mateo                          $9.50   69.32   $   13.00   $ 242.61   $ 190.56   $   433.17
  6/3/2018 Eladio Mateo                          $9.50   59.55   $   13.00   $ 208.43   $ 127.08   $   335.50
 6/10/2018 Eladio Mateo                          $9.50   51.85   $   13.00   $ 181.48   $ 77.03    $   258.50
 6/17/2018 Eladio Mateo                          $9.50   64.03   $   13.00   $ 224.12   $ 156.22   $   380.33
 6/24/2018 Eladio Mateo                          $9.50   69.15   $   13.00   $ 242.03   $ 189.48   $   431.50
  7/1/2018 Eladio Mateo                          $9.50   63.17   $   13.00   $ 221.08   $ 150.58   $   371.67
  7/8/2018 Eladio Mateo                          $9.50   50.13   $   13.00   $ 175.47   $ 65.87    $   241.33
 7/15/2018 Eladio Mateo                          $9.50   66.32   $   13.00   $ 232.11   $ 171.06   $   403.17
 7/22/2018 Eladio Mateo                          $9.50   68.58   $   13.00   $ 240.04   $ 185.79   $   425.83
 7/29/2018 Eladio Mateo                          $9.50   66.77   $   13.00   $ 233.68   $ 173.98   $   407.67
  8/5/2018 Eladio Mateo                          $9.50   67.97   $   13.00   $ 237.88   $ 181.78   $   419.67
 8/12/2018 Eladio Mateo                          $9.50   70.65   $   13.00   $ 247.28   $ 199.23   $   446.50
 8/19/2018 Eladio Mateo                          $9.50   70.22   $   13.00   $ 245.76   $ 196.41   $   442.17
 8/26/2018 Eladio Mateo                          $9.50   64.07   $   13.00   $ 224.23   $ 156.43   $   380.67
  9/2/2018 Eladio Mateo                          $9.50   73.93   $   13.00   $ 258.77   $ 220.57   $   479.33
  9/9/2018 Eladio Mateo                          $9.50   74.22   $   13.00   $ 259.76   $ 222.41   $   482.17
 9/16/2018 Eladio Mateo                          $9.50   69.50   $   13.00   $ 243.25   $ 191.75   $   435.00
 9/23/2018 Eladio Mateo                          $9.50   72.75   $   13.00   $ 254.63   $ 212.88   $   467.50
 9/30/2018 Eladio Mateo                          $9.50   79.07   $   13.00   $ 276.73   $ 253.93   $   530.67
 10/7/2018 Eladio Mateo                          $9.50   76.68   $   13.00   $ 268.39   $ 238.44   $   506.83
10/14/2018 Eladio Mateo                          $9.50   64.37   $   13.00   $ 225.28   $ 158.38   $   383.67
10/21/2018 Eladio Mateo                          $9.50   77.10   $   13.00   $ 269.85   $ 241.15   $   511.00
10/28/2018 Eladio Mateo                          $9.50   77.78   $   13.00   $ 272.24   $ 245.59   $   517.83
 11/4/2018 Eladio Mateo                          $9.50   75.67   $   13.00   $ 264.83   $ 231.83   $   496.67
11/11/2018 Eladio Mateo                          $9.50   76.90   $   13.00   $ 269.15   $ 239.85   $   509.00
11/18/2018 Eladio Mateo                          $9.50   76.18   $   13.00   $ 266.64   $ 235.19   $   501.83
11/25/2018 Eladio Mateo                          $9.50   64.70   $   13.00   $ 226.45   $ 160.55   $   387.00
 12/2/2018 Eladio Mateo                          $9.50   74.43   $   13.00   $ 260.52   $ 223.82   $   484.33
 12/9/2018 Eladio Mateo                          $9.50   77.02   $   13.00   $ 269.56   $ 240.61   $   510.17
12/16/2018 Eladio Mateo                          $9.50   77.17   $   13.00   $ 270.08   $ 241.58   $   511.67
12/23/2018 Eladio Mateo                          $9.50   80.32   $   13.00   $ 281.11   $ 262.06   $   543.17
12/30/2018 Eladio Mateo                          $9.50   63.52   $   13.00   $ 222.31   $ 152.86   $   375.17
  1/6/2019 Eladio Mateo                          $9.50   65.35   $   15.00   $ 359.43   $ 190.13   $   549.55
 1/13/2019 Eladio Mateo                          $9.50   78.83   $   15.00   $ 433.58   $ 291.25   $   724.83
 1/20/2019 Eladio Mateo                          $9.50   81.10   $   15.00   $ 446.05   $ 308.25   $   754.30
 1/27/2019 Eladio Mateo                          $9.50   64.75   $   15.00   $ 356.13   $ 185.63   $   541.75
  2/3/2019 Eladio Mateo                          $9.50   45.60   $   15.00   $ 250.80   $ 42.00    $   292.80



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  Week                                                               State Section 7: Section 7: Total Section 7
                                                     Hourly Hours/
 Ending                          Name                              Minimum Regular Half-time Overtime Back
                                                      Rate Week
  Date                                                              Wage   Rate Due     Due       Wages Due

 2/10/2019 Eladio Mateo                                  $9.50   65.30   $   15.00   $ 359.15   $ 189.75   $   548.90
 2/17/2019 Eladio Mateo                                  $9.50   66.53   $   15.00   $ 365.93   $ 199.00   $   564.93
 2/24/2019 Eladio Mateo                                  $9.50   64.27   $   15.00   $ 353.47   $ 182.00   $   535.47
  3/3/2019 Eladio Mateo                                  $9.50   70.75   $   15.00   $ 389.13   $ 230.63   $   619.75
 3/10/2019 Eladio Mateo                                  $9.50   64.30   $   15.00   $ 353.65   $ 182.25   $   535.90
 3/17/2019 Eladio Mateo                                  $9.50   70.77   $   15.00   $ 389.22   $ 230.75   $   619.97
 3/24/2019 Eladio Mateo                                  $9.50   69.58   $   15.00   $ 382.71   $ 221.88   $   604.58
 3/31/2019 Eladio Mateo                                  $9.50   73.00   $   15.00   $ 401.50   $ 247.50   $   649.00
  4/7/2019 Eladio Mateo                                  $9.50   79.43   $   15.00   $ 436.88   $ 295.75   $   732.63
 4/14/2019 Eladio Mateo                                  $9.50   74.63   $   15.00   $ 410.48   $ 259.75   $   670.23
 4/21/2019 Eladio Mateo                                  $9.50   51.10   $   15.00   $ 281.05   $ 83.25    $   364.30
 4/28/2019 Eladio Mateo                                  $9.50   70.33   $   15.00   $ 386.83   $ 227.50   $   614.33
  5/5/2019 Eladio Mateo                                  $9.50   61.45   $   15.00   $ 337.98   $ 160.88   $   498.85
 5/12/2019 Eladio Mateo                                  $9.50   71.25   $   15.00   $ 391.88   $ 234.38   $   626.25
 5/19/2019 Eladio Mateo                                  $9.50   58.83   $   15.00   $ 323.58   $ 141.25   $   464.83
 5/26/2019 Eladio Mateo                                  $9.50   68.70   $   15.00   $ 377.85   $ 215.25   $   593.10
 6/16/2019 Eladio Mateo                                  $9.50   49.55   $   15.00   $ 272.53   $ 71.63    $   344.15
 6/23/2019 Eladio Mateo                                  $9.50   73.32   $   15.00   $ 403.24   $ 249.88   $   653.12
 6/30/2019 Eladio Mateo                                  $9.50   51.17   $   15.00   $ 281.42   $ 83.75    $   365.17
  7/7/2019 Eladio Mateo                                  $9.50   58.02   $   15.00   $ 319.09   $ 135.13   $   454.22
 7/14/2019 Eladio Mateo                                  $9.50   60.07   $   15.00   $ 330.37   $ 150.50   $   480.87
 7/21/2019 Eladio Mateo                                  $9.50   71.58   $   15.00   $ 393.71   $ 236.88   $   630.58
 7/28/2019 Eladio Mateo                                  $9.50   74.35   $   15.00   $ 408.93   $ 257.63   $   666.55
  8/4/2019 Eladio Mateo                                  $9.50   73.07   $   15.00   $ 401.87   $ 248.00   $   649.87
 8/11/2019 Eladio Mateo                                  $9.50   48.78   $   15.00   $ 268.31   $ 65.88    $   334.18
 8/18/2019 Eladio Mateo                                  $9.50   70.22   $   15.00   $ 386.19   $ 226.63   $   612.82
 8/25/2019 Eladio Mateo                                  $9.50   79.32   $   15.00   $ 436.24   $ 294.88   $   731.12
  9/1/2019 Eladio Mateo                                  $9.50   56.53   $   15.00   $ 310.93   $ 124.00   $   434.93
  9/8/2019 Eladio Mateo                                  $9.50   48.50   $   15.00   $ 266.75   $ 63.75    $   330.50
 12/2/2018 Elbio Manuel Sanchez Lopez                   $10.00   55.28   $   13.00   $ 165.85   $ 99.34    $   265.19
 12/9/2018 Elbio Manuel Sanchez Lopez                   $10.00   48.53   $   13.00   $ 145.60   $ 55.47    $   201.07
12/16/2018 Elbio Manuel Sanchez Lopez                   $10.00   43.70   $   13.00   $ 131.10   $ 24.05    $   155.15
12/23/2018 Elbio Manuel Sanchez Lopez                   $10.00   44.87   $   13.00   $ 134.60   $ 31.63    $   166.23
 11/5/2017 Eleuris Martinez                              $9.00   46.30   $   11.00   $ 92.60    $ 34.65    $   127.25
11/12/2017 Eleuris Martinez                              $9.00   46.22   $   11.00   $ 92.43    $ 34.19    $   126.63
11/19/2017 Eleuris Martinez                              $9.00   45.52   $   11.00   $ 91.03    $ 30.34    $   121.38
 12/3/2017 Eleuris Martinez                              $9.00   47.05   $   11.00   $ 94.10    $ 38.78    $   132.88
12/10/2017 Eleuris Martinez                              $9.00   46.87   $   11.00   $ 93.73    $ 37.77    $   131.50
12/17/2017 Eleuris Martinez                              $9.00   46.08   $   11.00   $ 92.17    $ 33.46    $   125.63
12/24/2017 Eleuris Martinez                              $9.00   47.35   $   11.00   $ 94.70    $ 40.43    $   135.13
 1/14/2018 Eleuris Martinez                              $9.00   45.20   $   13.00   $ 180.80   $ 33.80    $   214.60
 1/28/2018 Eleuris Martinez                              $9.00   47.97   $   13.00   $ 191.87   $ 51.78    $   243.65
  2/4/2018 Eleuris Martinez                              $9.00   46.00   $   13.00   $ 184.00   $ 39.00    $   223.00
 2/18/2018 Eleuris Martinez                              $9.00   47.93   $   13.00   $ 191.73   $ 51.57    $   243.30
 2/25/2018 Eleuris Martinez                              $9.00   46.00   $   13.00   $ 184.00   $ 39.00    $   223.00
 3/25/2018 Eleuris Martinez                              $9.00   41.52   $   13.00   $ 166.07   $   9.86   $   175.93
  4/8/2018 Eleuris Martinez                              $9.00   45.60   $   13.00   $ 182.40   $ 36.40    $   218.80
 4/15/2018 Eleuris Martinez                              $9.00   45.17   $   13.00   $ 180.67   $ 33.58    $   214.25
 4/29/2018 Eleuris Martinez                              $9.00   46.38   $   13.00   $ 185.53   $ 41.49    $   227.03
  5/6/2018 Eleuris Martinez                              $9.00   46.42   $   13.00   $ 185.67   $ 41.71    $   227.38
 5/13/2018 Eleuris Martinez                              $9.00   45.87   $   13.00   $ 183.47   $ 38.13    $   221.60
 5/20/2018 Eleuris Martinez                              $9.00   46.65   $   13.00   $ 186.60   $ 43.23    $   229.83
 5/27/2018 Eleuris Martinez                              $9.00   46.48   $   13.00   $ 185.93   $ 42.14    $   228.08
 6/17/2018 Eleuris Martinez                             $11.00   52.00   $   13.00   $ 104.00   $ 78.00    $   182.00
  7/1/2018 Eleuris Martinez                             $11.00   57.25   $   13.00   $ 114.50   $ 112.13   $   226.63
 7/15/2018 Eleuris Martinez                             $11.00   56.85   $   13.00   $ 113.70   $ 109.53   $   223.23
 7/22/2018 Eleuris Martinez                             $11.00   55.17   $   13.00   $ 110.33   $ 98.58    $   208.92
 7/29/2018 Eleuris Martinez                             $11.00   55.32   $   13.00   $ 110.63   $ 99.56    $   210.19



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  Week                                                            State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
 Ending                       Name                              Minimum Regular Half-time Overtime Back
                                                   Rate Week
  Date                                                           Wage   Rate Due     Due       Wages Due

 8/19/2018 Eleuris Martinez                          $11.00   52.53   $   13.00   $ 105.07   $ 81.47    $   186.53
 8/26/2018 Eleuris Martinez                          $11.00   40.32   $   13.00   $ 80.63    $   2.06   $    82.69
  9/2/2018 Eleuris Martinez                          $11.00   49.92   $   13.00   $ 99.83    $ 64.46    $   164.29
  9/9/2018 Eleuris Martinez                          $11.00   43.18   $   13.00   $ 86.37    $ 20.69    $   107.06
 9/16/2018 Eleuris Martinez                          $11.00   49.48   $   13.00   $ 98.97    $ 61.64    $   160.61
 9/30/2018 Eleuris Martinez                          $11.00   51.33   $   13.00   $ 102.67   $ 73.67    $   176.33
10/14/2018 Eleuris Martinez                          $11.00   53.37   $   13.00   $ 106.73   $ 86.88    $   193.62
10/21/2018 Eleuris Martinez                          $11.00   51.07   $   13.00   $ 102.13   $ 71.93    $   174.07
 11/4/2018 Eleuris Martinez                          $11.00   53.12   $   13.00   $ 106.23   $ 85.26    $   191.49
11/11/2018 Eleuris Martinez                          $11.00   57.43   $   13.00   $ 114.87   $ 113.32   $   228.18
11/25/2018 Eleuris Martinez                          $11.00   42.65   $   13.00   $ 85.30    $ 17.23    $   102.53
 12/2/2018 Eleuris Martinez                          $11.00   50.43   $   13.00   $ 100.87   $ 67.82    $   168.68
 12/9/2018 Eleuris Martinez                          $11.00   52.18   $   13.00   $ 104.37   $ 79.19    $   183.56
12/16/2018 Eleuris Martinez                          $11.00   49.98   $   13.00   $ 99.97    $ 64.89    $   164.86
12/23/2018 Eleuris Martinez                          $11.00   43.52   $   13.00   $ 87.03    $ 22.86    $   109.89
  1/6/2019 Eleuris Martinez                          $11.00   40.77   $   15.00   $ 163.07   $   5.75   $   168.82
 1/13/2019 Eleuris Martinez                          $11.00   42.90   $   15.00   $ 171.60   $ 21.75    $   193.35
 1/20/2019 Eleuris Martinez                          $11.00   57.45   $   15.00   $ 229.80   $ 130.88   $   360.68
 1/27/2019 Eleuris Martinez                          $11.00   46.47   $   15.00   $ 185.87   $ 48.50    $   234.37
  2/3/2019 Eleuris Martinez                          $11.00   45.52   $   15.00   $ 182.07   $ 41.38    $   223.44
 2/10/2019 Eleuris Martinez                          $11.00   51.02   $   15.00   $ 204.07   $ 82.63    $   286.69
 2/17/2019 Eleuris Martinez                          $11.00   49.72   $   15.00   $ 198.87   $ 72.88    $   271.74
 2/24/2019 Eleuris Martinez                          $11.00   41.72   $   15.00   $ 166.87   $ 12.88    $   179.74
  3/3/2019 Eleuris Martinez                          $11.00   47.57   $   15.00   $ 190.27   $ 56.75    $   247.02
 3/10/2019 Eleuris Martinez                          $11.00   43.67   $   15.00   $ 174.67   $ 27.50    $   202.17
 3/17/2019 Eleuris Martinez                          $11.00   54.52   $   15.00   $ 218.07   $ 108.88   $   326.94
 3/24/2019 Eleuris Martinez                          $11.00   43.78   $   15.00   $ 175.13   $ 28.38    $   203.51
 3/31/2019 Eleuris Martinez                          $11.00   54.32   $   15.00   $ 217.27   $ 107.38   $   324.64
  4/7/2019 Eleuris Martinez                          $11.00   51.00   $   15.00   $ 204.00   $ 82.50    $   286.50
 4/14/2019 Eleuris Martinez                          $11.00   50.37   $   15.00   $ 201.47   $ 77.75    $   279.22
 4/21/2019 Eleuris Martinez                          $11.00   51.90   $   15.00   $ 207.60   $ 89.25    $   296.85
 4/28/2019 Eleuris Martinez                          $11.00   44.22   $   15.00   $ 176.87   $ 31.63    $   208.49
  5/5/2019 Eleuris Martinez                          $11.00   43.40   $   15.00   $ 173.60   $ 25.50    $   199.10
 5/12/2019 Eleuris Martinez                          $11.00   44.50   $   15.00   $ 178.00   $ 33.75    $   211.75
 5/19/2019 Eleuris Martinez                          $11.00   41.73   $   15.00   $ 166.93   $ 13.00    $   179.93
 5/26/2019 Eleuris Martinez                          $11.00   51.80   $   15.00   $ 207.20   $ 88.50    $   295.70
  6/2/2019 Eleuris Martinez                          $11.00   49.45   $   15.00   $ 197.80   $ 70.88    $   268.68
  6/9/2019 Eleuris Martinez                          $11.00   52.97   $   15.00   $ 211.87   $ 97.25    $   309.12
 6/16/2019 Eleuris Martinez                          $11.00   52.93   $   15.00   $ 211.73   $ 97.00    $   308.73
 6/23/2019 Eleuris Martinez                          $11.00   54.02   $   15.00   $ 216.07   $ 105.13   $   321.19
 6/30/2019 Eleuris Martinez                          $11.00   59.25   $   15.00   $ 237.00   $ 144.38   $   381.38
 7/14/2019 Eleuris Martinez                          $11.00   47.70   $   15.00   $ 190.80   $ 57.75    $   248.55
 7/21/2019 Eleuris Martinez                          $11.00   59.25   $   15.00   $ 237.00   $ 144.38   $   381.38
  8/4/2019 Eleuris Martinez                          $11.00   59.90   $   15.00   $ 239.60   $ 149.25   $   388.85
 8/11/2019 Eleuris Martinez                          $11.00   60.82   $   15.00   $ 243.27   $ 156.13   $   399.39
 8/18/2019 Eleuris Martinez                          $11.00   57.25   $   15.00   $ 229.00   $ 129.38   $   358.38
 8/25/2019 Eleuris Martinez                          $11.00   57.88   $   15.00   $ 231.53   $ 134.13   $   365.66
  9/1/2019 Eleuris Martinez                          $11.00   56.55   $   15.00   $ 226.20   $ 124.13   $   350.33
  9/8/2019 Eleuris Martinez                          $11.00   56.17   $   15.00   $ 224.67   $ 121.25   $   345.92
 9/15/2019 Eleuris Martinez                          $11.00   55.85   $   15.00   $ 223.40   $ 118.88   $   342.28
 9/22/2019 Eleuris Martinez                          $11.00   51.80   $   15.00   $ 207.20   $ 88.50    $   295.70
 9/29/2019 Eleuris Martinez                          $11.00   48.52   $   15.00   $ 194.07   $ 63.88    $   257.94
 10/6/2019 Eleuris Martinez                          $11.00   59.03   $   15.00   $ 236.13   $ 142.75   $   378.88
10/13/2019 Eleuris Martinez                          $11.00   57.10   $   15.00   $ 228.40   $ 128.25   $   356.65
10/20/2019 Eleuris Martinez                          $11.00   56.37   $   15.00   $ 225.47   $ 122.75   $   348.22
10/27/2019 Eleuris Martinez                          $11.00   58.38   $   15.00   $ 233.53   $ 137.88   $   371.41
 11/3/2019 Eleuris Martinez                          $11.00   59.87   $   15.00   $ 239.47   $ 149.00   $   388.47
11/10/2019 Eleuris Martinez                          $11.00   59.12   $   15.00   $ 236.47   $ 143.38   $   379.84



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  Week                                                                   State Section 7: Section 7: Total Section 7
                                                         Hourly Hours/
 Ending                            Name                                Minimum Regular Half-time Overtime Back
                                                          Rate Week
  Date                                                                  Wage   Rate Due     Due       Wages Due

11/17/2019 Eleuris Martinez                                 $11.00   58.53   $   15.00   $   234.13   $ 139.00   $   373.13
11/24/2019 Eleuris Martinez                                 $11.00   58.28   $   15.00   $   233.13   $ 137.13   $   370.26
 12/8/2019 Eleuris Martinez                                 $11.00   61.67   $   15.00   $   246.67   $ 162.50   $   409.17
12/15/2019 Eleuris Martinez                                 $11.00   62.38   $   15.00   $   249.53   $ 167.88   $   417.41
12/22/2019 Eleuris Martinez                                 $11.00   60.87   $   15.00   $   243.47   $ 156.50   $   399.97
12/29/2019 Eleuris Martinez                                 $11.00   48.10   $   15.00   $   192.40   $ 60.75    $   253.15
  1/5/2020 Eleuris Martinez                                 $11.00   49.42   $   15.00   $   197.67   $ 70.63    $   268.29
 1/12/2020 Eleuris Martinez                                 $11.00   57.08   $   15.00   $   228.33   $ 128.13   $   356.46
 1/19/2020 Eleuris Martinez                                 $11.00   55.48   $   15.00   $   221.93   $ 116.13   $   338.06
 1/26/2020 Eleuris Martinez                                 $11.00   54.25   $   15.00   $   217.00   $ 106.88   $   323.88
 6/23/2019 Eliand De La Rosa                                $15.00   62.53   $   15.00                $ 169.00   $   169.00
 6/30/2019 Eliand De La Rosa                                $15.00   62.65   $   15.00                $ 169.88   $   169.88
  7/7/2019 Eliand De La Rosa                                $11.00   51.70   $   15.00   $   206.80   $ 87.75    $   294.55
 7/14/2019 Eliand De La Rosa                                $11.00   62.53   $   15.00   $   250.13   $ 169.00   $   419.13
 7/21/2019 Eliand De La Rosa                                $11.00   59.55   $   15.00   $   238.20   $ 146.63   $   384.83
 7/28/2019 Eliand De La Rosa                                $11.00   59.00   $   15.00   $   236.00   $ 142.50   $   378.50
  8/4/2019 Eliand De La Rosa                                $11.00   61.57   $   15.00   $   246.27   $ 161.75   $   408.02
 8/11/2019 Eliand De La Rosa                                $11.00   50.92   $   15.00   $   203.67   $ 81.88    $   285.54
 8/18/2019 Eliand De La Rosa                                $11.00   61.28   $   15.00   $   245.13   $ 159.63   $   404.76
 8/25/2019 Eliand De La Rosa                                $11.00   63.07   $   15.00   $   252.27   $ 173.00   $   425.27
  9/1/2019 Eliand De La Rosa                                $11.00   61.63   $   15.00   $   246.53   $ 162.25   $   408.78
  9/8/2019 Eliand De La Rosa                                $11.00   51.33   $   15.00   $   205.33   $ 85.00    $   290.33
 9/15/2019 Eliand De La Rosa                                $11.00   61.78   $   15.00   $   247.13   $ 163.38   $   410.51
 9/22/2019 Eliand De La Rosa                                $11.00   62.05   $   15.00   $   248.20   $ 165.38   $   413.58
 9/29/2019 Eliand De La Rosa                                $11.00   58.78   $   15.00   $   235.13   $ 140.88   $   376.01
 10/6/2019 Eliand De La Rosa                                $11.00   58.63   $   15.00   $   234.53   $ 139.75   $   374.28
10/13/2019 Eliand De La Rosa                                $11.00   58.62   $   15.00   $   234.47   $ 139.63   $   374.09
10/20/2019 Eliand De La Rosa                                $11.00   45.65   $   15.00   $   182.60   $ 42.38    $   224.98
10/27/2019 Eliand De La Rosa                                $11.00   59.12   $   15.00   $   236.47   $ 143.38   $   379.84
 11/3/2019 Eliand De La Rosa                                $11.00   58.30   $   15.00   $   233.20   $ 137.25   $   370.45
11/10/2019 Eliand De La Rosa                                $11.00   57.43   $   15.00   $   229.73   $ 130.75   $   360.48
11/17/2019 Eliand De La Rosa                                $11.00   58.17   $   15.00   $   232.67   $ 136.25   $   368.92
11/24/2019 Eliand De La Rosa                                $11.00   57.87   $   15.00   $   231.47   $ 134.00   $   365.47
 12/8/2019 Eliand De La Rosa                                $11.00   57.92   $   15.00   $   231.67   $ 134.38   $   366.04
12/15/2019 Eliand De La Rosa                                $11.00   57.33   $   15.00   $   229.33   $ 130.00   $   359.33
12/22/2019 Eliand De La Rosa                                $11.00   57.07   $   15.00   $   228.27   $ 128.00   $   356.27
 1/12/2020 Eliand De La Rosa                                $11.00   51.30   $   15.00   $   205.20   $ 84.75    $   289.95
 1/26/2020 Eliand De La Rosa                                $11.00   40.18   $   15.00   $   160.73   $   1.37   $   162.11
 2/25/2018 Elias Bienvedino Arias Jimenez                    $9.50   53.28   $   13.00   $   186.49   $ 86.34    $   272.83
  8/4/2019 Elington Hernandez                               $11.00   55.83   $   15.00   $   223.33   $ 118.75   $   342.08
 8/11/2019 Elington Hernandez                               $11.00   46.97   $   15.00   $   187.87   $ 52.25    $   240.12
 8/18/2019 Elington Hernandez                               $11.00   55.95   $   15.00   $   223.80   $ 119.63   $   343.43
 8/25/2019 Elington Hernandez                               $11.00   50.63   $   15.00   $   202.53   $ 79.75    $   282.28
  9/1/2019 Elington Hernandez                               $11.00   43.83   $   15.00   $   175.33   $ 28.75    $   204.08
  9/8/2019 Elington Hernandez                               $11.00   43.13   $   15.00   $   172.53   $ 23.50    $   196.03
 9/15/2019 Elington Hernandez                               $11.00   49.30   $   15.00   $   197.20   $ 69.75    $   266.95
 9/22/2019 Elington Hernandez                               $11.00   52.83   $   15.00   $   211.33   $ 96.25    $   307.58
 9/29/2019 Elington Hernandez                               $11.00   44.87   $   15.00   $   179.47   $ 36.50    $   215.97
 10/6/2019 Elington Hernandez                               $11.00   51.88   $   15.00   $   207.53   $ 89.13    $   296.66
10/13/2019 Elington Hernandez                               $11.00   45.20   $   15.00   $   180.80   $ 39.00    $   219.80
10/20/2019 Elington Hernandez                               $11.00   43.40   $   15.00   $   173.60   $ 25.50    $   199.10
10/27/2019 Elington Hernandez                               $11.00   52.05   $   15.00   $   208.20   $ 90.38    $   298.58
 11/3/2019 Elington Hernandez                               $11.00   51.90   $   15.00   $   207.60   $ 89.25    $   296.85
11/10/2019 Elington Hernandez                               $11.00   51.50   $   15.00   $   206.00   $ 86.25    $   292.25
11/17/2019 Elington Hernandez                               $11.00   42.12   $   15.00   $   168.47   $ 15.88    $   184.34
11/24/2019 Elington Hernandez                               $11.00   50.57   $   15.00   $   202.27   $ 79.25    $   281.52
 12/1/2019 Elington Hernandez                               $11.00   46.33   $   15.00   $   185.33   $ 47.50    $   232.83
 12/8/2019 Elington Hernandez                               $11.00   50.47   $   15.00   $   201.87   $ 78.50    $   280.37



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  Week                                                                 State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
 Ending                            Name                              Minimum Regular Half-time Overtime Back
                                                        Rate Week
  Date                                                                Wage   Rate Due     Due       Wages Due

12/15/2019 Elington Hernandez                             $11.00   51.93   $   15.00   $   207.73   $ 89.50    $   297.23
12/22/2019 Elington Hernandez                             $11.00   51.57   $   15.00   $   206.27   $ 86.75    $   293.02
  1/5/2020 Elington Hernandez                             $11.00   41.37   $   15.00   $   165.47   $ 10.25    $   175.72
 1/12/2020 Elington Hernandez                             $11.00   49.85   $   15.00   $   199.40   $ 73.88    $   273.28
 5/27/2018 Elisha Lugo - Valet                            $16.50   43.50   $   13.00                $ 28.88    $    28.88
 6/17/2018 Elisha Lugo - Valet                            $16.50   40.43   $   13.00                $   3.57   $     3.57
 6/24/2018 Elisha Lugo - Valet                            $16.50   42.20   $   13.00                $ 18.15    $    18.15
  7/1/2018 Elisha Lugo - Valet                            $16.50   41.42   $   13.00                $ 11.69    $    11.69
 7/29/2018 Elisha Lugo - Valet                            $16.50   40.20   $   13.00                $   1.65   $     1.65
 8/19/2018 Elisha Lugo - Valet                            $16.50   42.78   $   13.00                $ 22.96    $    22.96
 9/16/2018 Elisha Lugo - Valet                            $16.50   43.92   $   13.00                $ 32.31    $    32.31
 1/20/2019 Elisha Lugo - Valet                            $11.50   45.30   $   15.00   $ 158.55     $ 39.75    $   198.30
 2/17/2019 Elisha Lugo - Valet                            $11.50   41.17   $   15.00   $ 144.08     $   8.75   $   152.83
 3/10/2019 Elisha Lugo - Valet                            $11.50   45.95   $   15.00   $ 160.83     $ 44.63    $   205.45
 3/24/2019 Elisha Lugo - Valet                            $11.50   42.30   $   15.00   $ 148.05     $ 17.25    $   165.30
 3/31/2019 Elisha Lugo - Valet                            $11.50   40.07   $   15.00   $ 140.23     $   0.50   $   140.73
  5/5/2019 Elisha Lugo - Valet                            $11.50   43.73   $   15.00   $ 153.07     $ 28.00    $   181.07
 5/19/2019 Elisha Lugo - Valet                            $11.50   40.58   $   15.00   $ 142.04     $   4.37   $   146.42
  6/2/2019 Elisha Lugo - Valet                            $11.50   44.30   $   15.00   $ 155.05     $ 32.25    $   187.30
  6/9/2019 Elisha Lugo - Valet                            $11.50   40.32   $   15.00   $ 141.11     $   2.38   $   143.48
 6/23/2019 Elisha Lugo - Valet                            $11.50   46.87   $   15.00   $ 164.03     $ 51.50    $   215.53
 7/14/2019 Elisha Lugo - Valet                            $13.00   46.75   $   15.00   $ 93.50      $ 50.63    $   144.13
 7/28/2019 Elisha Lugo - Valet                            $13.00   42.68   $   15.00   $ 85.37      $ 20.13    $   105.49
  8/4/2019 Elisha Lugo - Valet                            $13.00   44.68   $   15.00   $ 89.37      $ 35.13    $   124.49
 8/18/2019 Elisha Lugo - Valet                            $13.00   40.88   $   15.00   $ 81.77      $   6.62   $    88.39
 8/25/2019 Elisha Lugo - Valet                            $13.00   45.73   $   15.00   $ 91.47      $ 43.00    $   134.47
 10/6/2019 Elisha Lugo - Valet                            $13.00   45.45   $   15.00   $ 90.90      $ 40.88    $   131.78
10/27/2019 Elisha Lugo - Valet                            $13.00   45.37   $   15.00   $ 90.73      $ 40.25    $   130.98
 11/3/2019 Elisha Lugo - Valet                            $13.00   41.33   $   15.00   $ 82.67      $ 10.00    $    92.67
11/10/2019 Elisha Lugo - Valet                            $13.00   44.22   $   15.00   $ 88.43      $ 31.63    $   120.06
  3/4/2018 Elizabeth Vera                                 $16.50   47.93   $   13.00                $ 65.45    $    65.45
 3/25/2018 Elizabeth Vera                                 $16.50   43.22   $   13.00                $ 26.54    $    26.54
  4/8/2018 Elizabeth Vera                                 $16.50   47.30   $   13.00                $ 60.23    $    60.23
 4/15/2018 Elizabeth Vera                                 $16.50   64.25   $   13.00                $ 200.06   $   200.06
 4/22/2018 Elizabeth Vera                                 $16.50   63.05   $   13.00                $ 190.16   $   190.16
 4/29/2018 Elizabeth Vera                                 $16.50   69.35   $   13.00                $ 242.14   $   242.14
  5/6/2018 Elizabeth Vera                                 $16.50   61.18   $   13.00                $ 174.76   $   174.76
 5/13/2018 Elizabeth Vera                                 $16.50   66.23   $   13.00                $ 216.43   $   216.43
 5/20/2018 Elizabeth Vera                                 $16.50   62.48   $   13.00                $ 185.49   $   185.49
 5/27/2018 Elizabeth Vera                                 $16.50   75.12   $   13.00                $ 289.71   $   289.71
  6/3/2018 Elizabeth Vera                                 $16.50   51.95   $   13.00                $ 98.59    $    98.59
 6/10/2018 Elizabeth Vera                                 $16.50   72.28   $   13.00                $ 266.34   $   266.34
 6/17/2018 Elizabeth Vera                                 $16.50   56.40   $   13.00                $ 135.30   $   135.30
 6/24/2018 Elizabeth Vera                                 $16.50   54.63   $   13.00                $ 120.73   $   120.73
  7/1/2018 Elizabeth Vera                                 $16.50   55.52   $   13.00                $ 128.01   $   128.01
  7/8/2018 Elizabeth Vera                                 $16.50   52.63   $   13.00                $ 104.23   $   104.23
 7/15/2018 Elizabeth Vera                                 $16.50   46.83   $   13.00                $ 56.38    $    56.38
 7/22/2018 Elizabeth Vera                                 $16.50   48.07   $   13.00                $ 66.55    $    66.55
 8/25/2019 Elizabeth Vera                                 $12.50   43.72   $   15.00   $   109.29   $ 27.88    $   137.17
  9/1/2019 Elizabeth Vera                                 $12.50   49.02   $   15.00   $   122.54   $ 67.63    $   190.17
  9/8/2019 Elizabeth Vera                                 $12.50   54.80   $   15.00   $   137.00   $ 111.00   $   248.00
 9/15/2019 Elizabeth Vera                                 $12.50   68.25   $   15.00   $   170.63   $ 211.88   $   382.50
 9/22/2019 Elizabeth Vera                                 $12.50   52.87   $   15.00   $   132.17   $ 96.50    $   228.67
 9/29/2019 Elizabeth Vera                                 $12.50   43.97   $   15.00   $   109.92   $ 29.75    $   139.67
 2/25/2018 Elvis de Jesus Abud Garcia                     $10.50   84.68   $   13.00   $   211.71   $ 290.44   $   502.15
  3/4/2018 Elvis de Jesus Abud Garcia                     $10.50   80.72   $   13.00   $   201.79   $ 264.66   $   466.45
 3/25/2018 Elvis de Jesus Abud Garcia                     $10.50   79.65   $   13.00   $   199.13   $ 257.73   $   456.85
  4/1/2018 Elvis de Jesus Abud Garcia                     $10.50   75.73   $   13.00   $   189.33   $ 232.27   $   421.60



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  Week                                                                     State Section 7: Section 7: Total Section 7
                                                           Hourly Hours/
 Ending                           Name                                   Minimum Regular Half-time Overtime Back
                                                            Rate Week
  Date                                                                    Wage   Rate Due     Due       Wages Due

  4/8/2018 Elvis de Jesus Abud Garcia                         $10.50   82.25   $   13.00   $ 205.63   $ 274.63   $   480.25
 4/15/2018 Elvis de Jesus Abud Garcia                         $10.50   79.82   $   13.00   $ 199.54   $ 258.81   $   458.35
 4/22/2018 Elvis de Jesus Abud Garcia                         $10.50   83.25   $   13.00   $ 208.13   $ 281.13   $   489.25
 4/29/2018 Elvis de Jesus Abud Garcia                         $10.50   80.85   $   13.00   $ 202.13   $ 265.53   $   467.65
  5/6/2018 Elvis de Jesus Abud Garcia                         $10.50   78.72   $   13.00   $ 196.79   $ 251.66   $   448.45
 5/13/2018 Elvis de Jesus Abud Garcia                         $10.50   80.13   $   13.00   $ 200.33   $ 260.87   $   461.20
 5/20/2018 Elvis de Jesus Abud Garcia                         $10.50   79.32   $   13.00   $ 198.29   $ 255.56   $   453.85
 5/27/2018 Elvis de Jesus Abud Garcia                         $10.50   81.45   $   13.00   $ 203.63   $ 269.43   $   473.05
  6/3/2018 Elvis de Jesus Abud Garcia                         $10.50   80.03   $   13.00   $ 200.08   $ 260.22   $   460.30
 6/10/2018 Elvis de Jesus Abud Garcia                         $10.50   80.13   $   13.00   $ 200.33   $ 260.87   $   461.20
 6/17/2018 Elvis de Jesus Abud Garcia                         $10.50   75.32   $   13.00   $ 188.29   $ 229.56   $   417.85
 6/24/2018 Elvis de Jesus Abud Garcia                         $10.50   80.52   $   13.00   $ 201.29   $ 263.36   $   464.65
  7/1/2018 Elvis de Jesus Abud Garcia                         $10.50   82.63   $   13.00   $ 206.58   $ 277.12   $   483.70
  7/8/2018 Elvis de Jesus Abud Garcia                         $10.50   67.97   $   13.00   $ 169.92   $ 181.78   $   351.70
 7/15/2018 Elvis de Jesus Abud Garcia                         $10.50   81.75   $   13.00   $ 204.38   $ 271.38   $   475.75
 5/27/2018 Elvis De Los Santos - Car Washer                    $9.00   48.28   $   13.00   $ 193.13   $ 53.84    $   246.98
 6/10/2018 Elvis De Los Santos - Car Washer                    $9.00   48.00   $   13.00   $ 192.00   $ 52.00    $   244.00
 6/17/2018 Elvis De Los Santos - Car Washer                    $9.00   49.63   $   13.00   $ 198.53   $ 62.62    $   261.15
 6/24/2018 Elvis De Los Santos - Car Washer                    $9.00   51.30   $   13.00   $ 205.20   $ 73.45    $   278.65
  7/1/2018 Elvis De Los Santos - Car Washer                    $9.00   40.45   $   13.00   $ 161.80   $   2.92   $   164.73
  7/8/2018 Elvis De Los Santos - Car Washer                    $9.00   41.95   $   13.00   $ 167.80   $ 12.68    $   180.48
 7/15/2018 Elvis De Los Santos - Car Washer                    $9.00   48.40   $   13.00   $ 193.60   $ 54.60    $   248.20
 7/22/2018 Elvis De Los Santos - Car Washer                    $9.00   49.28   $   13.00   $ 197.13   $ 60.34    $   257.48
 7/29/2018 Elvis De Los Santos - Car Washer                    $9.00   48.17   $   13.00   $ 192.67   $ 53.08    $   245.75
  8/5/2018 Elvis De Los Santos - Car Washer                    $9.00   51.33   $   13.00   $ 205.33   $ 73.67    $   279.00
 8/12/2018 Elvis De Los Santos - Car Washer                    $9.00   50.92   $   13.00   $ 203.67   $ 70.96    $   274.63
 8/26/2018 Elvis De Los Santos - Car Washer                    $9.00   48.90   $   13.00   $ 195.60   $ 57.85    $   253.45
  9/2/2018 Elvis De Los Santos - Car Washer                    $9.00   42.42   $   13.00   $ 169.67   $ 15.71    $   185.38
  9/9/2018 Elvis De Los Santos - Car Washer                    $9.00   40.73   $   13.00   $ 162.93   $   4.77   $   167.70
 9/16/2018 Elvis De Los Santos - Car Washer                    $9.00   49.22   $   13.00   $ 196.87   $ 59.91    $   256.78
 9/23/2018 Elvis De Los Santos - Car Washer                    $9.00   48.53   $   13.00   $ 194.13   $ 55.47    $   249.60
 10/7/2018 Elvis De Los Santos - Car Washer                    $9.00   40.72   $   13.00   $ 162.87   $   4.66   $   167.53
10/14/2018 Elvis De Los Santos - Car Washer                    $9.00   44.12   $   13.00   $ 176.47   $ 26.76    $   203.23
 8/18/2019 Emilio Chavez                                      $10.00   66.32   $   15.00   $ 331.58   $ 197.38   $   528.96
 8/25/2019 Emilio Chavez                                      $10.00   65.13   $   15.00   $ 325.67   $ 188.50   $   514.17
  9/1/2019 Emilio Chavez                                      $10.00   54.25   $   15.00   $ 271.25   $ 106.88   $   378.13
  9/8/2019 Emilio Chavez                                      $10.00   59.35   $   15.00   $ 296.75   $ 145.13   $   441.88
 9/15/2019 Emilio Chavez                                      $10.00   63.38   $   15.00   $ 316.92   $ 175.38   $   492.29
 9/22/2019 Emilio Chavez                                      $10.00   65.45   $   15.00   $ 327.25   $ 190.88   $   518.13
 9/29/2019 Emilio Chavez                                      $10.00   58.63   $   15.00   $ 293.17   $ 139.75   $   432.92
 10/6/2019 Emilio Chavez                                      $10.00   66.50   $   15.00   $ 332.50   $ 198.75   $   531.25
10/13/2019 Emilio Chavez                                      $10.00   65.22   $   15.00   $ 326.08   $ 189.13   $   515.21
10/20/2019 Emilio Chavez                                      $10.00   65.67   $   15.00   $ 328.33   $ 192.50   $   520.83
10/27/2019 Emilio Chavez                                      $10.00   65.87   $   15.00   $ 329.33   $ 194.00   $   523.33
 11/3/2019 Emilio Chavez                                      $10.00   65.98   $   15.00   $ 329.92   $ 194.88   $   524.79
11/10/2019 Emilio Chavez                                      $10.00   63.08   $   15.00   $ 315.42   $ 173.13   $   488.54
11/17/2019 Emilio Chavez                                      $10.00   67.05   $   15.00   $ 335.25   $ 202.88   $   538.13
11/24/2019 Emilio Chavez                                      $10.00   66.32   $   15.00   $ 331.58   $ 197.38   $   528.96
 12/1/2019 Emilio Chavez                                      $10.00   60.47   $   15.00   $ 302.33   $ 153.50   $   455.83
 12/8/2019 Emilio Chavez                                      $10.00   54.15   $   15.00   $ 270.75   $ 106.13   $   376.88
12/15/2019 Emilio Chavez                                      $10.00   75.60   $   15.00   $ 378.00   $ 267.00   $   645.00
12/22/2019 Emilio Chavez                                      $10.00   66.02   $   15.00   $ 330.08   $ 195.13   $   525.21
12/29/2019 Emilio Chavez                                      $10.00   53.23   $   15.00   $ 266.17   $ 99.25    $   365.42
  1/5/2020 Emilio Chavez                                      $10.00   58.07   $   15.00   $ 290.33   $ 135.50   $   425.83
 1/12/2020 Emilio Chavez                                      $10.00   67.80   $   15.00   $ 339.00   $ 208.50   $   547.50
 1/19/2020 Emilio Chavez                                      $10.00   66.32   $   15.00   $ 331.58   $ 197.38   $   528.96
 1/26/2020 Emilio Chavez                                      $10.00   65.58   $   15.00   $ 327.92   $ 191.88   $   519.79
 9/17/2017 Emilio Rodriguez - Service Valet                   $10.50   55.02   $   11.00   $ 27.51    $ 82.59    $   110.10



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  Week                                                                     State Section 7: Section 7: Total Section 7
                                                           Hourly Hours/
 Ending                             Name                                 Minimum Regular Half-time Overtime Back
                                                            Rate Week
  Date                                                                    Wage   Rate Due     Due       Wages Due

 9/24/2017 Emilio Rodriguez - Service Valet                   $10.50   45.82   $   11.00   $ 22.91      $ 31.99    $    54.90
 10/1/2017 Emilio Rodriguez - Service Valet                   $10.50   54.18   $   11.00   $ 27.09      $ 78.01    $   105.10
 10/8/2017 Emilio Rodriguez - Service Valet                   $10.50   54.08   $   11.00   $ 27.04      $ 77.46    $   104.50
10/15/2017 Emilio Rodriguez - Service Valet                   $10.50   56.63   $   11.00   $ 28.32      $ 91.48    $   119.80
10/22/2017 Emilio Rodriguez - Service Valet                   $10.50   54.97   $   11.00   $ 27.48      $ 82.32    $   109.80
10/29/2017 Emilio Rodriguez - Service Valet                   $10.50   53.35   $   11.00   $ 26.68      $ 73.43    $   100.10
 11/5/2017 Emilio Rodriguez - Service Valet                   $10.50   57.22   $   11.00   $ 28.61      $ 94.69    $   123.30
11/12/2017 Emilio Rodriguez - Service Valet                   $10.50   54.87   $   11.00   $ 27.43      $ 81.77    $   109.20
11/19/2017 Emilio Rodriguez - Service Valet                   $10.50   57.28   $   11.00   $ 28.64      $ 95.06    $   123.70
 12/3/2017 Emilio Rodriguez - Service Valet                   $10.50   56.27   $   11.00   $ 28.13      $ 89.47    $   117.60
12/10/2017 Emilio Rodriguez - Service Valet                   $10.50   57.73   $   11.00   $ 28.87      $ 97.53    $   126.40
12/17/2017 Emilio Rodriguez - Service Valet                   $10.50   55.75   $   11.00   $ 27.88      $ 86.63    $   114.50
 1/21/2018 Emilio Rodriguez - Service Valet                   $10.50   58.13   $   13.00   $ 145.33     $ 117.87   $   263.20
 1/28/2018 Emilio Rodriguez - Service Valet                   $10.50   59.47   $   13.00   $ 148.67     $ 126.53   $   275.20
  2/4/2018 Emilio Rodriguez - Service Valet                   $10.50   60.50   $   13.00   $ 151.25     $ 133.25   $   284.50
 2/11/2018 Emilio Rodriguez - Service Valet                   $10.50   58.05   $   13.00   $ 145.13     $ 117.33   $   262.45
 2/18/2018 Emilio Rodriguez - Service Valet                   $10.50   56.47   $   13.00   $ 141.17     $ 107.03   $   248.20
 2/25/2018 Emilio Rodriguez - Service Valet                   $10.50   59.25   $   13.00   $ 148.13     $ 125.13   $   273.25
  3/4/2018 Emilio Rodriguez - Service Valet                   $10.50   59.43   $   13.00   $ 148.58     $ 126.32   $   274.90
 3/25/2018 Emilio Rodriguez - Service Valet                   $10.50   55.00   $   13.00   $ 137.50     $ 97.50    $   235.00
  4/1/2018 Emilio Rodriguez - Service Valet                   $10.50   60.80   $   13.00   $ 152.00     $ 135.20   $   287.20
  4/8/2018 Emilio Rodriguez - Service Valet                   $10.50   59.17   $   13.00   $ 147.92     $ 124.58   $   272.50
 4/15/2018 Emilio Rodriguez - Service Valet                   $10.50   59.30   $   13.00   $ 148.25     $ 125.45   $   273.70
 4/22/2018 Emilio Rodriguez - Service Valet                   $10.50   59.28   $   13.00   $ 148.21     $ 125.34   $   273.55
 4/29/2018 Emilio Rodriguez - Service Valet                   $10.50   59.17   $   13.00   $ 147.92     $ 124.58   $   272.50
  5/6/2018 Emilio Rodriguez - Service Valet                   $10.50   59.90   $   13.00   $ 149.75     $ 129.35   $   279.10
 5/13/2018 Emilio Rodriguez - Service Valet                   $10.50   59.50   $   13.00   $ 148.75     $ 126.75   $   275.50
 5/20/2018 Emilio Rodriguez - Service Valet                   $10.50   59.73   $   13.00   $ 149.33     $ 128.27   $   277.60
 5/27/2018 Emilio Rodriguez - Service Valet                   $10.50   59.62   $   13.00   $ 149.04     $ 127.51   $   276.55
  6/3/2018 Emilio Rodriguez - Service Valet                   $10.50   48.82   $   13.00   $ 122.04     $ 57.31    $   179.35
 6/10/2018 Emilio Rodriguez - Service Valet                   $10.50   59.35   $   13.00   $ 148.38     $ 125.78   $   274.15
 6/17/2018 Emilio Rodriguez - Service Valet                   $10.50   55.62   $   13.00   $ 139.04     $ 101.51   $   240.55
 6/24/2018 Emilio Rodriguez - Service Valet                   $10.50   51.88   $   13.00   $ 129.71     $ 77.24    $   206.95
 3/31/2019 Endy Tavarez                                       $19.00   40.35   $   15.00                $   3.32   $     3.32
 5/12/2019 Endy Tavarez                                       $19.00   43.48   $   15.00                $ 33.09    $    33.09
 11/4/2018 Endy Tavarez - Detailer                             $9.00   54.05   $   13.00   $   216.20   $ 91.33    $   307.53
11/11/2018 Endy Tavarez - Detailer                             $9.00   50.95   $   13.00   $   203.80   $ 71.18    $   274.98
11/18/2018 Endy Tavarez - Detailer                             $9.00   58.13   $   13.00   $   232.53   $ 117.87   $   350.40
11/25/2018 Endy Tavarez - Detailer                             $9.00   46.73   $   13.00   $   186.93   $ 43.77    $   230.70
 12/2/2018 Endy Tavarez - Detailer                             $9.00   45.95   $   13.00   $   183.80   $ 38.68    $   222.48
 12/9/2018 Endy Tavarez - Detailer                             $9.00   43.42   $   13.00   $   173.67   $ 22.21    $   195.88
12/16/2018 Endy Tavarez - Detailer                             $9.00   70.08   $   13.00   $   280.33   $ 195.54   $   475.88
12/23/2018 Endy Tavarez - Detailer                             $9.00   65.80   $   13.00   $   263.20   $ 167.70   $   430.90
12/30/2018 Endy Tavarez - Detailer                             $9.00   47.03   $   13.00   $   188.13   $ 45.72    $   233.85
  1/6/2019 Endy Tavarez - Detailer                             $9.00   52.42   $   15.00   $   314.50   $ 93.13    $   407.63
 1/13/2019 Endy Tavarez - Detailer                             $9.00   63.52   $   15.00   $   381.10   $ 176.38   $   557.48
 1/20/2019 Endy Tavarez - Detailer                             $9.00   54.18   $   15.00   $   325.10   $ 106.38   $   431.48
 1/27/2019 Endy Tavarez - Detailer                             $9.00   59.88   $   15.00   $   359.30   $ 149.13   $   508.43
  2/3/2019 Endy Tavarez - Detailer                             $9.00   77.83   $   15.00   $   467.00   $ 283.75   $   750.75
 2/10/2019 Endy Tavarez - Detailer                             $9.00   46.50   $   15.00   $   279.00   $ 48.75    $   327.75
 3/24/2019 Endy Tavarez - Detailer                             $9.00   51.33   $   15.00   $   308.00   $ 85.00    $   393.00
  4/7/2019 Endy Tavarez - Detailer                             $9.00   42.28   $   15.00   $   253.70   $ 17.13    $   270.83
 4/14/2019 Endy Tavarez - Detailer                             $9.00   53.42   $   15.00   $   320.50   $ 100.63   $   421.13
 4/21/2019 Endy Tavarez - Detailer                             $9.00   58.75   $   15.00   $   352.50   $ 140.63   $   493.13
 4/28/2019 Endy Tavarez - Detailer                             $9.00   42.53   $   15.00   $   255.20   $ 19.00    $   274.20
 5/19/2019 Endy Tavarez - Detailer                             $9.00   52.55   $   15.00   $   315.30   $ 94.13    $   409.43
 5/26/2019 Endy Tavarez - Detailer                             $9.00   67.30   $   15.00   $   403.80   $ 204.75   $   608.55
  6/2/2019 Endy Tavarez - Detailer                             $9.00   56.90   $   15.00   $   341.40   $ 126.75   $   468.15



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  Week                                                                   State Section 7: Section 7: Total Section 7
                                                         Hourly Hours/
 Ending                              Name                              Minimum Regular Half-time Overtime Back
                                                          Rate Week
  Date                                                                  Wage   Rate Due     Due       Wages Due

  6/9/2019 Endy Tavarez - Detailer                           $9.00   46.17   $   15.00   $   277.00   $ 46.25    $   323.25
 6/16/2019 Endy Tavarez - Detailer                           $9.00   47.97   $   15.00   $   287.80   $ 59.75    $   347.55
 6/23/2019 Endy Tavarez - Detailer                           $9.00   48.05   $   15.00   $   288.30   $ 60.38    $   348.68
 6/30/2019 Endy Tavarez - Detailer                           $9.00   61.82   $   15.00   $   370.90   $ 163.63   $   534.53
  7/7/2019 Endy Tavarez - Detailer                           $9.00   46.55   $   15.00   $   279.30   $ 49.13    $   328.43
 7/14/2019 Endy Tavarez - Detailer                           $9.00   47.42   $   15.00   $   284.50   $ 55.63    $   340.13
 7/21/2019 Endy Tavarez - Detailer                           $9.00   70.20   $   15.00   $   421.20   $ 226.50   $   647.70
 7/28/2019 Endy Tavarez - Detailer                           $9.00   55.78   $   15.00   $   334.70   $ 118.38   $   453.08
  8/4/2019 Endy Tavarez - Detailer                           $9.00   52.43   $   15.00   $   314.60   $ 93.25    $   407.85
 8/11/2019 Endy Tavarez - Detailer                           $9.00   59.57   $   15.00   $   357.40   $ 146.75   $   504.15
 8/18/2019 Endy Tavarez - Detailer                           $9.00   69.83   $   15.00   $   419.00   $ 223.75   $   642.75
 8/25/2019 Endy Tavarez - Detailer                           $9.00   57.23   $   15.00   $   343.40   $ 129.25   $   472.65
  9/1/2019 Endy Tavarez - Detailer                           $9.00   41.42   $   15.00   $   248.50   $ 10.63    $   259.13
  9/8/2019 Endy Tavarez - Detailer                           $9.00   45.82   $   15.00   $   274.90   $ 43.63    $   318.53
 9/15/2019 Endy Tavarez - Detailer                           $9.00   42.97   $   15.00   $   257.80   $ 22.25    $   280.05
 6/16/2019 Enrique Coreas - Valet                           $11.00   48.98   $   15.00   $   195.93   $ 67.38    $   263.31
 6/30/2019 Enrique Coreas - Valet                           $11.00   42.18   $   15.00   $   168.73   $ 16.38    $   185.11
 7/14/2019 Enrique Coreas - Valet                           $11.00   45.35   $   15.00   $   181.40   $ 40.13    $   221.53
 8/18/2019 Eveling Larios                                   $11.00   40.03   $   15.00   $   160.13   $   0.25   $   160.38
 9/15/2019 Eveling Larios                                   $11.00   60.72   $   15.00   $   242.87   $ 155.38   $   398.24
 7/21/2019 Ezekiel Medina                                   $12.50   45.13   $   15.00   $   112.83   $ 38.50    $   151.33
 8/18/2019 Ezekiel Medina                                   $12.50   42.42   $   15.00   $   106.04   $ 18.13    $   124.17
 9/15/2019 Ezekiel Medina                                   $12.50   40.45   $   15.00   $   101.13   $   3.37   $   104.50
 9/22/2019 Ezekiel Medina                                   $12.50   41.65   $   15.00   $   104.13   $ 12.38    $   116.50
 9/29/2019 Ezekiel Medina                                   $12.50   45.67   $   15.00   $   114.17   $ 42.50    $   156.67
 10/6/2019 Ezekiel Medina                                   $12.50   46.15   $   15.00   $   115.38   $ 46.13    $   161.50
10/13/2019 Ezekiel Medina                                   $12.50   60.63   $   15.00   $   151.58   $ 154.75   $   306.33
10/27/2019 Ezekiel Medina                                   $12.50   40.32   $   15.00   $   100.79   $   2.38   $   103.17
11/10/2019 Ezekiel Medina                                   $12.50   40.48   $   15.00   $   101.21   $   3.63   $   104.83
11/17/2019 Ezekiel Medina                                   $12.50   48.88   $   15.00   $   122.21   $ 66.63    $   188.83
11/24/2019 Ezekiel Medina                                   $12.50   40.42   $   15.00   $   101.04   $   3.12   $   104.17
 12/8/2019 Ezekiel Medina                                   $12.50   52.43   $   15.00   $   131.08   $ 93.25    $   224.33
12/15/2019 Ezekiel Medina                                   $12.50   56.03   $   15.00   $   140.08   $ 120.25   $   260.33
12/22/2019 Ezekiel Medina                                   $12.50   55.73   $   15.00   $   139.33   $ 118.00   $   257.33
12/29/2019 Ezekiel Medina                                   $12.50   52.93   $   15.00   $   132.33   $ 97.00    $   229.33
  1/5/2020 Ezekiel Medina                                   $12.50   46.90   $   15.00   $   117.25   $ 51.75    $   169.00
 1/12/2020 Ezekiel Medina                                   $12.50   52.83   $   15.00   $   132.08   $ 96.25    $   228.33
 1/19/2020 Ezekiel Medina                                   $12.50   56.93   $   15.00   $   142.33   $ 127.00   $   269.33
 1/26/2020 Ezekiel Medina                                   $12.50   41.98   $   15.00   $   104.96   $ 14.88    $   119.83
 9/10/2017 Ezequiel Chavez                                  $11.00   52.48   $   11.00                $ 68.66    $    68.66
 9/17/2017 Ezequiel Chavez                                  $11.00   61.00   $   11.00                $ 115.50   $   115.50
 9/24/2017 Ezequiel Chavez                                  $11.00   61.32   $   11.00                $ 117.24   $   117.24
 10/1/2017 Ezequiel Chavez                                  $11.00   63.17   $   11.00                $ 127.42   $   127.42
 10/8/2017 Ezequiel Chavez                                  $11.00   63.15   $   11.00                $ 127.33   $   127.33
10/15/2017 Ezequiel Chavez                                  $11.00   59.93   $   11.00                $ 109.63   $   109.63
10/22/2017 Ezequiel Chavez                                  $11.00   61.88   $   11.00                $ 120.36   $   120.36
10/29/2017 Ezequiel Chavez                                  $11.00   62.78   $   11.00                $ 125.31   $   125.31
 11/5/2017 Ezequiel Chavez                                  $11.00   63.90   $   11.00                $ 131.45   $   131.45
11/12/2017 Ezequiel Chavez                                  $11.00   65.15   $   11.00                $ 138.33   $   138.33
11/19/2017 Ezequiel Chavez                                  $11.00   64.97   $   11.00                $ 137.32   $   137.32
11/26/2017 Ezequiel Chavez                                  $11.00   51.32   $   11.00                $ 62.24    $    62.24
 12/3/2017 Ezequiel Chavez                                  $11.00   64.88   $   11.00                $ 136.86   $   136.86
12/10/2017 Ezequiel Chavez                                  $11.00   64.60   $   11.00                $ 135.30   $   135.30
12/17/2017 Ezequiel Chavez                                  $11.00   63.88   $   11.00                $ 131.36   $   131.36
12/24/2017 Ezequiel Chavez                                  $11.00   63.47   $   11.00                $ 129.07   $   129.07
12/31/2017 Ezequiel Chavez                                  $11.00   53.25   $   13.00   $ 106.50     $ 86.13    $   192.63
  1/7/2018 Ezequiel Chavez                                  $13.00   52.80   $   13.00                $ 83.20    $    83.20
 1/14/2018 Ezequiel Chavez                                  $10.00   66.00   $   13.00   $ 198.00     $ 169.00   $   367.00



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                                             Exhibit 3
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  Week                                                           State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
 Ending                      Name                              Minimum Regular Half-time Overtime Back
                                                  Rate Week
  Date                                                          Wage   Rate Due     Due       Wages Due

 1/21/2018 Ezequiel Chavez                          $10.00   67.75   $   13.00   $   203.25   $ 180.38   $   383.63
 1/28/2018 Ezequiel Chavez                          $10.00   62.47   $   13.00   $   187.40   $ 146.03   $   333.43
  2/4/2018 Ezequiel Chavez                          $10.00   68.42   $   13.00   $   205.25   $ 184.71   $   389.96
 2/11/2018 Ezequiel Chavez                          $10.00   66.97   $   13.00   $   200.90   $ 175.28   $   376.18
 2/18/2018 Ezequiel Chavez                          $10.00   62.50   $   13.00   $   187.50   $ 146.25   $   333.75
 2/25/2018 Ezequiel Chavez                          $10.00   61.88   $   13.00   $   185.65   $ 142.24   $   327.89
  3/4/2018 Ezequiel Chavez                          $10.00   62.63   $   13.00   $   187.90   $ 147.12   $   335.02
 3/25/2018 Ezequiel Chavez                          $10.00   64.35   $   13.00   $   193.05   $ 158.28   $   351.33
  4/1/2018 Ezequiel Chavez                          $10.00   62.87   $   13.00   $   188.60   $ 148.63   $   337.23
  4/8/2018 Ezequiel Chavez                          $10.00   63.10   $   13.00   $   189.30   $ 150.15   $   339.45
 4/15/2018 Ezequiel Chavez                          $10.00   62.98   $   13.00   $   188.95   $ 149.39   $   338.34
 4/22/2018 Ezequiel Chavez                          $10.00   63.08   $   13.00   $   189.25   $ 150.04   $   339.29
 4/29/2018 Ezequiel Chavez                          $10.00   62.88   $   13.00   $   188.65   $ 148.74   $   337.39
  5/6/2018 Ezequiel Chavez                          $10.00   62.73   $   13.00   $   188.20   $ 147.77   $   335.97
 5/13/2018 Ezequiel Chavez                          $10.00   61.93   $   13.00   $   185.80   $ 142.57   $   328.37
 5/20/2018 Ezequiel Chavez                          $10.00   61.80   $   13.00   $   185.40   $ 141.70   $   327.10
  6/3/2018 Ezequiel Chavez                          $10.00   57.13   $   13.00   $   171.40   $ 111.37   $   282.77
 6/10/2018 Ezequiel Chavez                          $10.00   62.38   $   13.00   $   187.15   $ 145.49   $   332.64
 6/17/2018 Ezequiel Chavez                          $10.00   62.35   $   13.00   $   187.05   $ 145.28   $   332.33
 6/24/2018 Ezequiel Chavez                          $10.00   61.58   $   13.00   $   184.75   $ 140.29   $   325.04
  7/1/2018 Ezequiel Chavez                          $10.00   64.30   $   13.00   $   192.90   $ 157.95   $   350.85
  7/8/2018 Ezequiel Chavez                          $10.00   52.43   $   13.00   $   157.30   $ 80.82    $   238.12
 7/15/2018 Ezequiel Chavez                          $10.00   62.12   $   13.00   $   186.35   $ 143.76   $   330.11
 7/22/2018 Ezequiel Chavez                          $10.00   64.15   $   13.00   $   192.45   $ 156.98   $   349.43
 7/29/2018 Ezequiel Chavez                          $10.00   63.75   $   13.00   $   191.25   $ 154.38   $   345.63
  8/5/2018 Ezequiel Chavez                          $10.00   64.28   $   13.00   $   192.85   $ 157.84   $   350.69
 8/12/2018 Ezequiel Chavez                          $10.00   63.87   $   13.00   $   191.60   $ 155.13   $   346.73
 8/19/2018 Ezequiel Chavez                          $10.00   64.05   $   13.00   $   192.15   $ 156.33   $   348.48
 8/26/2018 Ezequiel Chavez                          $10.00   64.20   $   13.00   $   192.60   $ 157.30   $   349.90
  9/2/2018 Ezequiel Chavez                          $10.00   64.23   $   13.00   $   192.70   $ 157.52   $   350.22
  9/9/2018 Ezequiel Chavez                          $10.00   60.90   $   13.00   $   182.70   $ 135.85   $   318.55
 9/16/2018 Ezequiel Chavez                          $10.00   63.35   $   13.00   $   190.05   $ 151.78   $   341.83
 9/23/2018 Ezequiel Chavez                          $10.00   64.40   $   13.00   $   193.20   $ 158.60   $   351.80
 9/30/2018 Ezequiel Chavez                          $10.00   64.42   $   13.00   $   193.25   $ 158.71   $   351.96
 10/7/2018 Ezequiel Chavez                          $10.00   64.45   $   13.00   $   193.35   $ 158.93   $   352.28
10/14/2018 Ezequiel Chavez                          $10.00   64.13   $   13.00   $   192.40   $ 156.87   $   349.27
10/21/2018 Ezequiel Chavez                          $10.00   64.63   $   13.00   $   193.90   $ 160.12   $   354.02
10/28/2018 Ezequiel Chavez                          $10.00   65.73   $   13.00   $   197.20   $ 167.27   $   364.47
 11/4/2018 Ezequiel Chavez                          $10.00   63.30   $   13.00   $   189.90   $ 151.45   $   341.35
11/11/2018 Ezequiel Chavez                          $10.00   63.07   $   13.00   $   189.20   $ 149.93   $   339.13
11/18/2018 Ezequiel Chavez                          $10.00   64.07   $   13.00   $   192.20   $ 156.43   $   348.63
11/25/2018 Ezequiel Chavez                          $10.00   51.12   $   13.00   $   153.35   $ 72.26    $   225.61
 12/2/2018 Ezequiel Chavez                          $10.00   65.57   $   13.00   $   196.70   $ 166.18   $   362.88
 12/9/2018 Ezequiel Chavez                          $10.00   63.52   $   13.00   $   190.55   $ 152.86   $   343.41
12/16/2018 Ezequiel Chavez                          $10.00   66.05   $   13.00   $   198.15   $ 169.33   $   367.48
12/23/2018 Ezequiel Chavez                          $10.00   64.43   $   13.00   $   193.30   $ 158.82   $   352.12
12/30/2018 Ezequiel Chavez                          $10.00   49.17   $   13.00   $   147.50   $ 59.58    $   207.08
  1/6/2019 Ezequiel Chavez                          $10.00   47.42   $   15.00   $   237.08   $ 55.63    $   292.71
 1/13/2019 Ezequiel Chavez                          $10.00   63.47   $   15.00   $   317.33   $ 176.00   $   493.33
 1/20/2019 Ezequiel Chavez                          $10.00   63.90   $   15.00   $   319.50   $ 179.25   $   498.75
 1/27/2019 Ezequiel Chavez                          $10.00   64.43   $   15.00   $   322.17   $ 183.25   $   505.42
  2/3/2019 Ezequiel Chavez                          $10.00   64.42   $   15.00   $   322.08   $ 183.13   $   505.21
 2/10/2019 Ezequiel Chavez                          $10.00   64.52   $   15.00   $   322.58   $ 183.88   $   506.46
 2/17/2019 Ezequiel Chavez                          $10.00   54.10   $   15.00   $   270.50   $ 105.75   $   376.25
 2/24/2019 Ezequiel Chavez                          $10.00   63.83   $   15.00   $   319.17   $ 178.75   $   497.92
  3/3/2019 Ezequiel Chavez                          $10.00   65.10   $   15.00   $   325.50   $ 188.25   $   513.75
 3/10/2019 Ezequiel Chavez                          $10.00   65.77   $   15.00   $   328.83   $ 193.25   $   522.08
 3/17/2019 Ezequiel Chavez                          $10.00   65.07   $   15.00   $   325.33   $ 188.00   $   513.33



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  Week                                                                   State Section 7: Section 7: Total Section 7
                                                         Hourly Hours/
 Ending                           Name                                 Minimum Regular Half-time Overtime Back
                                                          Rate Week
  Date                                                                  Wage   Rate Due     Due       Wages Due

 3/24/2019 Ezequiel Chavez                                  $10.00   66.22   $   15.00   $   331.08   $ 196.63   $   527.71
 3/31/2019 Ezequiel Chavez                                  $10.00   65.03   $   15.00   $   325.17   $ 187.75   $   512.92
  4/7/2019 Ezequiel Chavez                                  $10.00   64.33   $   15.00   $   321.67   $ 182.50   $   504.17
 4/14/2019 Ezequiel Chavez                                  $10.00   65.83   $   15.00   $   329.17   $ 193.75   $   522.92
 4/21/2019 Ezequiel Chavez                                  $10.00   65.25   $   15.00   $   326.25   $ 189.38   $   515.63
 4/28/2019 Ezequiel Chavez                                  $10.00   64.68   $   15.00   $   323.42   $ 185.13   $   508.54
  5/5/2019 Ezequiel Chavez                                  $10.00   65.15   $   15.00   $   325.75   $ 188.63   $   514.38
 5/12/2019 Ezequiel Chavez                                  $10.00   65.53   $   15.00   $   327.67   $ 191.50   $   519.17
 5/19/2019 Ezequiel Chavez                                  $10.00   65.10   $   15.00   $   325.50   $ 188.25   $   513.75
 5/26/2019 Ezequiel Chavez                                  $10.00   65.12   $   15.00   $   325.58   $ 188.38   $   513.96
  6/2/2019 Ezequiel Chavez                                  $10.00   63.62   $   15.00   $   318.08   $ 177.13   $   495.21
  6/9/2019 Ezequiel Chavez                                  $10.00   66.58   $   15.00   $   332.92   $ 199.38   $   532.29
 6/16/2019 Ezequiel Chavez                                  $10.00   66.08   $   15.00   $   330.42   $ 195.63   $   526.04
 6/23/2019 Ezequiel Chavez                                  $10.00   65.62   $   15.00   $   328.08   $ 192.13   $   520.21
 6/30/2019 Ezequiel Chavez                                  $10.00   66.93   $   15.00   $   334.67   $ 202.00   $   536.67
  7/7/2019 Ezequiel Chavez - Car Washer/D                   $10.00   54.30   $   15.00   $   271.50   $ 107.25   $   378.75
 7/14/2019 Ezequiel Chavez - Car Washer/D                   $10.00   66.77   $   15.00   $   333.83   $ 200.75   $   534.58
 7/21/2019 Ezequiel Chavez - Car Washer/D                   $10.00   65.72   $   15.00   $   328.58   $ 192.88   $   521.46
 7/28/2019 Ezequiel Chavez - Car Washer/D                   $10.00   65.00   $   15.00   $   325.00   $ 187.50   $   512.50
  8/4/2019 Ezequiel Chavez - Car Washer/D                   $10.00   66.40   $   15.00   $   332.00   $ 198.00   $   530.00
 8/11/2019 Ezequiel Chavez - Car Washer/D                   $10.00   65.33   $   15.00   $   326.67   $ 190.00   $   516.67
 8/18/2019 Ezequiel Chavez - Car Washer/D                   $10.00   66.33   $   15.00   $   331.67   $ 197.50   $   529.17
 8/25/2019 Ezequiel Chavez - Car Washer/D                   $10.00   66.55   $   15.00   $   332.75   $ 199.13   $   531.88
  9/1/2019 Ezequiel Chavez - Car Washer/D                   $10.00   66.63   $   15.00   $   333.17   $ 199.75   $   532.92
  9/8/2019 Ezequiel Chavez - Car Washer/D                   $10.00   60.70   $   15.00   $   303.50   $ 155.25   $   458.75
 9/15/2019 Ezequiel Chavez - Car Washer/D                   $10.00   66.90   $   15.00   $   334.50   $ 201.75   $   536.25
 9/22/2019 Ezequiel Chavez - Car Washer/D                   $10.00   66.13   $   15.00   $   330.67   $ 196.00   $   526.67
 9/29/2019 Ezequiel Chavez - Car Washer/D                   $10.00   66.53   $   15.00   $   332.67   $ 199.00   $   531.67
 10/6/2019 Ezequiel Chavez - Car Washer/D                   $10.00   65.98   $   15.00   $   329.92   $ 194.88   $   524.79
10/13/2019 Ezequiel Chavez - Car Washer/D                   $10.00   66.57   $   15.00   $   332.83   $ 199.25   $   532.08
10/20/2019 Ezequiel Chavez - Car Washer/D                   $10.00   66.83   $   15.00   $   334.17   $ 201.25   $   535.42
10/27/2019 Ezequiel Chavez - Car Washer/D                   $10.00   66.17   $   15.00   $   330.83   $ 196.25   $   527.08
 11/3/2019 Ezequiel Chavez - Car Washer/D                   $10.00   66.45   $   15.00   $   332.25   $ 198.38   $   530.63
11/10/2019 Ezequiel Chavez - Car Washer/D                   $10.00   66.78   $   15.00   $   333.92   $ 200.88   $   534.79
11/17/2019 Ezequiel Chavez - Car Washer/D                   $10.00   66.38   $   15.00   $   331.92   $ 197.88   $   529.79
11/24/2019 Ezequiel Chavez - Car Washer/D                   $10.00   66.18   $   15.00   $   330.92   $ 196.38   $   527.29
 12/1/2019 Ezequiel Chavez - Car Washer/D                   $10.00   53.87   $   15.00   $   269.33   $ 104.00   $   373.33
 12/8/2019 Ezequiel Chavez - Car Washer/D                   $15.00   64.10   $   15.00                $ 180.75   $   180.75
12/15/2019 Ezequiel Chavez - Car Washer/D                   $10.00   65.38   $   15.00   $   326.92   $ 190.38   $   517.29
12/22/2019 Ezequiel Chavez - Car Washer/D                   $10.00   64.67   $   15.00   $   323.33   $ 185.00   $   508.33
12/29/2019 Ezequiel Chavez - Car Washer/D                   $10.00   49.58   $   15.00   $   247.92   $ 71.88    $   319.79
  1/5/2020 Ezequiel Chavez - Car Washer/D                   $10.00   49.97   $   15.00   $   249.83   $ 74.75    $   324.58
 1/12/2020 Ezequiel Chavez - Car Washer/D                   $10.00   64.75   $   15.00   $   323.75   $ 185.63   $   509.38
 1/19/2020 Ezequiel Chavez - Car Washer/D                   $10.00   64.32   $   15.00   $   321.58   $ 182.38   $   503.96
 1/26/2020 Ezequiel Chavez - Car Washer/D                   $10.00   64.60   $   15.00   $   323.00   $ 184.50   $   507.50
  2/5/2017 Fabio Rodriguez                                   $9.00   56.38   $   11.00   $   112.77   $ 90.11    $   202.88
 2/12/2017 Fabio Rodriguez                                   $9.00   53.53   $   11.00   $   107.07   $ 74.43    $   181.50
 2/19/2017 Fabio Rodriguez                                   $9.00   57.23   $   11.00   $   114.47   $ 94.78    $   209.25
 2/26/2017 Fabio Rodriguez                                   $9.00   56.40   $   11.00   $   112.80   $ 90.20    $   203.00
  3/5/2017 Fabio Rodriguez                                   $9.00   56.35   $   11.00   $   112.70   $ 89.93    $   202.63
 3/12/2017 Fabio Rodriguez                                   $9.00   56.62   $   11.00   $   113.23   $ 91.39    $   204.63
 3/19/2017 Fabio Rodriguez                                   $9.00   52.03   $   11.00   $   104.07   $ 66.18    $   170.25
 3/26/2017 Fabio Rodriguez                                   $9.00   56.42   $   11.00   $   112.83   $ 90.29    $   203.13
  4/2/2017 Fabio Rodriguez                                   $9.00   56.55   $   11.00   $   113.10   $ 91.03    $   204.13
  4/9/2017 Fabio Rodriguez                                   $9.00   56.78   $   11.00   $   113.57   $ 92.31    $   205.88
 4/16/2017 Fabio Rodriguez                                   $9.00   57.10   $   11.00   $   114.20   $ 94.05    $   208.25
 4/23/2017 Fabio Rodriguez                                   $9.00   56.62   $   11.00   $   113.23   $ 91.39    $   204.63
 4/30/2017 Fabio Rodriguez                                   $9.00   56.58   $   11.00   $   113.17   $ 91.21    $   204.38



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  Week                                                           State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
 Ending                      Name                              Minimum Regular Half-time Overtime Back
                                                  Rate Week
  Date                                                          Wage   Rate Due     Due       Wages Due

  5/7/2017 Fabio Rodriguez                          $9.00   56.60   $   11.00   $ 113.20   $ 91.30    $   204.50
 5/14/2017 Fabio Rodriguez                          $9.00   56.53   $   11.00   $ 113.07   $ 90.93    $   204.00
 5/21/2017 Fabio Rodriguez                          $9.00   56.93   $   11.00   $ 113.87   $ 93.13    $   207.00
 5/28/2017 Fabio Rodriguez                          $9.00   56.47   $   11.00   $ 112.93   $ 90.57    $   203.50
  6/4/2017 Fabio Rodriguez                          $9.00   48.50   $   11.00   $ 97.00    $ 46.75    $   143.75
 6/11/2017 Fabio Rodriguez                          $9.00   48.50   $   11.00   $ 97.00    $ 46.75    $   143.75
 6/18/2017 Fabio Rodriguez                          $9.00   58.92   $   11.00   $ 117.83   $ 104.04   $   221.88
 6/25/2017 Fabio Rodriguez                          $9.00   48.75   $   11.00   $ 97.50    $ 48.13    $   145.63
  7/2/2017 Fabio Rodriguez                          $9.00   58.90   $   11.00   $ 117.80   $ 103.95   $   221.75
  7/9/2017 Fabio Rodriguez                          $9.00   49.17   $   11.00   $ 98.33    $ 50.42    $   148.75
 7/16/2017 Fabio Rodriguez                          $9.00   58.72   $   11.00   $ 117.43   $ 102.94   $   220.38
 7/23/2017 Fabio Rodriguez                          $9.00   58.88   $   11.00   $ 117.77   $ 103.86   $   221.63
 7/30/2017 Fabio Rodriguez                          $9.00   59.45   $   11.00   $ 118.90   $ 106.98   $   225.88
  8/6/2017 Fabio Rodriguez                          $9.00   58.27   $   11.00   $ 116.53   $ 100.47   $   217.00
 8/13/2017 Fabio Rodriguez                          $9.00   59.55   $   11.00   $ 119.10   $ 107.53   $   226.63
 8/20/2017 Fabio Rodriguez                          $9.00   61.00   $   11.00   $ 122.00   $ 115.50   $   237.50
 8/27/2017 Fabio Rodriguez                          $9.00   40.90   $   11.00   $ 81.80    $   4.95   $    86.75
 9/10/2017 Fabio Rodriguez                          $9.00   58.68   $   11.00   $ 117.37   $ 102.76   $   220.13
 9/17/2017 Fabio Rodriguez                          $9.00   58.57   $   11.00   $ 117.13   $ 102.12   $   219.25
 9/24/2017 Fabio Rodriguez                          $9.00   58.67   $   11.00   $ 117.33   $ 102.67   $   220.00
 10/1/2017 Fabio Rodriguez                          $9.00   60.37   $   11.00   $ 120.73   $ 112.02   $   232.75
 10/8/2017 Fabio Rodriguez                          $9.00   60.13   $   11.00   $ 120.27   $ 110.73   $   231.00
10/15/2017 Fabio Rodriguez                          $9.00   58.87   $   11.00   $ 117.73   $ 103.77   $   221.50
10/22/2017 Fabio Rodriguez                          $9.00   59.10   $   11.00   $ 118.20   $ 105.05   $   223.25
10/29/2017 Fabio Rodriguez                          $9.00   57.90   $   11.00   $ 115.80   $ 98.45    $   214.25
 11/5/2017 Fabio Rodriguez                          $9.00   59.20   $   11.00   $ 118.40   $ 105.60   $   224.00
11/12/2017 Fabio Rodriguez                          $9.00   58.80   $   11.00   $ 117.60   $ 103.40   $   221.00
11/19/2017 Fabio Rodriguez                          $9.00   59.68   $   11.00   $ 119.37   $ 108.26   $   227.63
11/26/2017 Fabio Rodriguez                          $9.00   49.02   $   11.00   $ 98.03    $ 49.59    $   147.63
 12/3/2017 Fabio Rodriguez                          $9.00   59.87   $   11.00   $ 119.73   $ 109.27   $   229.00
12/10/2017 Fabio Rodriguez                          $9.00   59.27   $   11.00   $ 118.53   $ 105.97   $   224.50
12/17/2017 Fabio Rodriguez                          $9.00   58.70   $   11.00   $ 117.40   $ 102.85   $   220.25
12/24/2017 Fabio Rodriguez                          $9.00   58.98   $   11.00   $ 117.97   $ 104.41   $   222.38
12/31/2017 Fabio Rodriguez                          $9.00   49.53   $   13.00   $ 198.13   $ 61.97    $   260.10
  1/7/2018 Fabio Rodriguez                          $9.00   46.38   $   13.00   $ 185.53   $ 41.49    $   227.03
 1/14/2018 Fabio Rodriguez                          $9.00   59.08   $   13.00   $ 236.33   $ 124.04   $   360.38
  4/1/2018 Fabio Rodriguez                          $9.00   49.45   $   13.00   $ 197.80   $ 61.43    $   259.23
  4/8/2018 Fabio Rodriguez                          $9.00   58.90   $   13.00   $ 235.60   $ 122.85   $   358.45
 4/15/2018 Fabio Rodriguez                          $9.00   61.25   $   13.00   $ 245.00   $ 138.13   $   383.13
 4/22/2018 Fabio Rodriguez                          $9.00   60.78   $   13.00   $ 243.13   $ 135.09   $   378.23
 4/29/2018 Fabio Rodriguez                          $9.00   58.87   $   13.00   $ 235.47   $ 122.63   $   358.10
  5/6/2018 Fabio Rodriguez                          $9.00   58.87   $   13.00   $ 235.47   $ 122.63   $   358.10
 5/13/2018 Fabio Rodriguez                          $9.00   59.02   $   13.00   $ 236.07   $ 123.61   $   359.68
 5/20/2018 Fabio Rodriguez                          $9.00   48.92   $   13.00   $ 195.67   $ 57.96    $   253.63
 5/27/2018 Fabio Rodriguez                          $9.00   58.97   $   13.00   $ 235.87   $ 123.28   $   359.15
  6/3/2018 Fabio Rodriguez                          $9.00   59.02   $   13.00   $ 236.07   $ 123.61   $   359.68
 6/10/2018 Fabio Rodriguez                          $9.00   58.93   $   13.00   $ 235.73   $ 123.07   $   358.80
 6/17/2018 Fabio Rodriguez                          $9.00   50.18   $   13.00   $ 200.73   $ 66.19    $   266.93
 6/24/2018 Fabio Rodriguez                          $9.00   58.80   $   13.00   $ 235.20   $ 122.20   $   357.40
  7/1/2018 Fabio Rodriguez                          $9.00   58.82   $   13.00   $ 235.27   $ 122.31   $   357.58
  7/8/2018 Fabio Rodriguez                          $9.00   50.82   $   13.00   $ 203.27   $ 70.31    $   273.58
 7/15/2018 Fabio Rodriguez                          $9.00   58.73   $   13.00   $ 234.93   $ 121.77   $   356.70
 7/22/2018 Fabio Rodriguez                          $9.00   59.03   $   13.00   $ 236.13   $ 123.72   $   359.85
 7/29/2018 Fabio Rodriguez                          $9.00   60.45   $   13.00   $ 241.80   $ 132.93   $   374.73
  8/5/2018 Fabio Rodriguez                          $9.00   59.03   $   13.00   $ 236.13   $ 123.72   $   359.85
 8/12/2018 Fabio Rodriguez                          $9.00   58.78   $   13.00   $ 235.13   $ 122.09   $   357.23
 8/19/2018 Fabio Rodriguez                          $9.00   59.42   $   13.00   $ 237.67   $ 126.21   $   363.88
 8/26/2018 Fabio Rodriguez                          $9.00   60.12   $   13.00   $ 240.47   $ 130.76   $   371.23



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  Week                                                               State Section 7: Section 7: Total Section 7
                                                     Hourly Hours/
 Ending                          Name                              Minimum Regular Half-time Overtime Back
                                                      Rate Week
  Date                                                              Wage   Rate Due     Due       Wages Due

  9/2/2018 Fabio Rodriguez                               $9.00   59.50   $   13.00   $   238.00   $ 126.75   $   364.75
  9/9/2018 Fabio Rodriguez                               $9.00   58.63   $   13.00   $   234.53   $ 121.12   $   355.65
 9/16/2018 Fabio Rodriguez                               $9.00   59.47   $   13.00   $   237.87   $ 126.53   $   364.40
 9/23/2018 Fabio Rodriguez                               $9.00   48.85   $   13.00   $   195.40   $ 57.53    $   252.93
 9/30/2018 Fabio Rodriguez                               $9.00   59.05   $   13.00   $   236.20   $ 123.83   $   360.03
 10/7/2018 Fabio Rodriguez                               $9.00   58.92   $   13.00   $   235.67   $ 122.96   $   358.63
10/14/2018 Fabio Rodriguez                               $9.00   58.53   $   13.00   $   234.13   $ 120.47   $   354.60
10/21/2018 Fabio Rodriguez                               $9.00   60.47   $   13.00   $   241.87   $ 133.03   $   374.90
10/28/2018 Fabio Rodriguez                               $9.00   55.33   $   13.00   $   221.33   $ 99.67    $   321.00
 11/4/2018 Fabio Rodriguez                               $9.00   60.02   $   13.00   $   240.07   $ 130.11   $   370.18
11/11/2018 Fabio Rodriguez                               $9.00   59.60   $   13.00   $   238.40   $ 127.40   $   365.80
11/18/2018 Fabio Rodriguez                               $9.00   59.22   $   13.00   $   236.87   $ 124.91   $   361.78
11/25/2018 Fabio Rodriguez                               $9.00   49.32   $   13.00   $   197.27   $ 60.56    $   257.83
 12/2/2018 Fabio Rodriguez                               $9.00   59.93   $   13.00   $   239.73   $ 129.57   $   369.30
 12/9/2018 Fabio Rodriguez                               $9.00   60.70   $   13.00   $   242.80   $ 134.55   $   377.35
12/16/2018 Fabio Rodriguez                               $9.00   50.70   $   13.00   $   202.80   $ 69.55    $   272.35
12/23/2018 Fabio Rodriguez                               $9.00   61.20   $   13.00   $   244.80   $ 137.80   $   382.60
12/30/2018 Fabio Rodriguez                               $9.00   50.48   $   13.00   $   201.93   $ 68.14    $   270.08
 1/13/2019 Fabio Rodriguez                               $9.00   59.40   $   15.00   $   356.40   $ 145.50   $   501.90
 1/20/2019 Fabio Rodriguez                               $9.00   60.92   $   15.00   $   365.50   $ 156.88   $   522.38
 1/27/2019 Fabio Rodriguez                               $9.00   56.38   $   15.00   $   338.30   $ 122.88   $   461.18
  2/3/2019 Fabio Rodriguez                               $9.00   59.87   $   15.00   $   359.20   $ 149.00   $   508.20
 2/10/2019 Fabio Rodriguez                               $9.00   60.08   $   15.00   $   360.50   $ 150.63   $   511.13
 2/17/2019 Fabio Rodriguez                               $9.00   59.15   $   15.00   $   354.90   $ 143.63   $   498.53
 2/24/2019 Fabio Rodriguez                               $9.00   59.80   $   15.00   $   358.80   $ 148.50   $   507.30
  3/3/2019 Fabio Rodriguez                               $9.00   59.52   $   15.00   $   357.10   $ 146.38   $   503.48
 3/10/2019 Fabio Rodriguez                               $9.00   60.08   $   15.00   $   360.50   $ 150.63   $   511.13
 3/17/2019 Fabio Rodriguez                               $9.00   57.57   $   15.00   $   345.40   $ 131.75   $   477.15
 3/24/2019 Fabio Rodriguez                               $9.00   60.32   $   15.00   $   361.90   $ 152.38   $   514.28
 3/31/2019 Fabio Rodriguez                               $9.00   60.63   $   15.00   $   363.80   $ 154.75   $   518.55
  4/7/2019 Fabio Rodriguez                               $9.00   59.98   $   15.00   $   359.90   $ 149.88   $   509.78
 4/14/2019 Fabio Rodriguez                               $9.00   60.63   $   15.00   $   363.80   $ 154.75   $   518.55
 4/21/2019 Fabio Rodriguez                               $9.00   60.60   $   15.00   $   363.60   $ 154.50   $   518.10
 4/28/2019 Fabio Rodriguez                               $9.00   60.45   $   15.00   $   362.70   $ 153.38   $   516.08
  5/5/2019 Fabio Rodriguez                               $9.00   50.52   $   15.00   $   303.10   $ 78.88    $   381.98
 5/12/2019 Fabio Rodriguez                               $9.00   63.87   $   15.00   $   383.20   $ 179.00   $   562.20
 5/19/2019 Fabio Rodriguez                               $9.00   51.78   $   15.00   $   310.70   $ 88.38    $   399.08
 5/26/2019 Fabio Rodriguez                               $9.00   65.40   $   15.00   $   392.40   $ 190.50   $   582.90
  6/2/2019 Fabio Rodriguez                               $9.00   59.97   $   15.00   $   359.80   $ 149.75   $   509.55
  6/9/2019 Fabio Rodriguez                               $9.00   60.45   $   15.00   $   362.70   $ 153.38   $   516.08
 6/16/2019 Fabio Rodriguez                               $9.00   60.40   $   15.00   $   362.40   $ 153.00   $   515.40
 6/23/2019 Fabio Rodriguez                               $9.00   61.12   $   15.00   $   366.70   $ 158.38   $   525.08
 6/30/2019 Fabio Rodriguez                               $9.00   59.48   $   15.00   $   356.90   $ 146.13   $   503.03
  7/7/2019 Fabio Rodriguez                               $9.00   49.47   $   15.00   $   296.80   $ 71.00    $   367.80
 7/14/2019 Fabio Rodriguez                               $9.00   60.50   $   15.00   $   363.00   $ 153.75   $   516.75
 7/21/2019 Fabio Rodriguez                               $9.00   52.30   $   15.00   $   313.80   $ 92.25    $   406.05
 7/28/2019 Fabio Rodriguez                               $9.00   61.60   $   15.00   $   369.60   $ 162.00   $   531.60
  8/4/2019 Fabio Rodriguez                               $9.00   59.97   $   15.00   $   359.80   $ 149.75   $   509.55
 8/11/2019 Fabio Rodriguez                               $9.00   50.02   $   15.00   $   300.10   $ 75.13    $   375.23
 8/18/2019 Fabio Rodriguez                               $9.00   52.47   $   15.00   $   314.80   $ 93.50    $   408.30
 8/25/2019 Fabio Rodriguez                               $9.00   64.25   $   15.00   $   385.50   $ 181.88   $   567.38
 9/29/2019 Fabio Rodriguez                               $9.00   60.75   $   15.00   $   364.50   $ 155.63   $   520.13
 10/6/2019 Fabio Rodriguez                               $9.00   61.22   $   15.00   $   367.30   $ 159.13   $   526.43
10/13/2019 Fabio Rodriguez                               $9.00   59.92   $   15.00   $   359.50   $ 149.38   $   508.88
10/20/2019 Fabio Rodriguez                               $9.00   59.27   $   15.00   $   355.60   $ 144.50   $   500.10
10/27/2019 Fabio Rodriguez                               $9.00   51.62   $   15.00   $   309.70   $ 87.13    $   396.83
 11/3/2019 Fabio Rodriguez                               $9.00   50.13   $   15.00   $   300.80   $ 76.00    $   376.80
12/17/2017 Faileider Cartagena                          $11.00   50.60   $   11.00                $ 58.30    $    58.30



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  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

12/24/2017 Faileider Cartagena                           $13.00   40.12   $   11.00              $   0.76   $     0.76
 1/14/2018 Faileider Cartagena                           $13.00   51.13   $   13.00              $ 72.37    $    72.37
 1/21/2018 Faileider Cartagena                           $13.00   57.52   $   13.00              $ 113.86   $   113.86
 1/28/2018 Faileider Cartagena                           $13.00   54.85   $   13.00              $ 96.53    $    96.53
  2/4/2018 Faileider Cartagena                           $13.00   57.12   $   13.00              $ 111.26   $   111.26
 2/11/2018 Faileider Cartagena                           $13.00   47.65   $   13.00              $ 49.73    $    49.73
 2/18/2018 Faileider Cartagena                           $13.00   61.35   $   13.00              $ 138.78   $   138.78
  3/4/2018 Faileider Cartagena                           $13.00   40.75   $   13.00              $   4.88   $     4.88
 3/25/2018 Faileider Cartagena                           $13.00   43.70   $   13.00              $ 24.05    $    24.05
  3/3/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 3/10/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 3/17/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 3/24/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 3/31/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
  4/7/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 4/14/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 4/21/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 4/28/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
  5/5/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 5/12/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 5/19/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 5/26/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
  6/2/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
  6/9/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 6/16/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 6/23/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 6/30/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
  7/7/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 7/14/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 7/21/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 7/28/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
  8/4/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 8/11/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 8/18/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 8/25/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
  9/1/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
  9/8/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 9/15/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 9/22/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 9/29/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 10/6/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
10/13/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
10/20/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
10/27/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 11/3/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
11/10/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
11/17/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
11/24/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 12/1/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 12/8/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
12/15/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
12/22/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
12/29/2019 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
  1/5/2020 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 1/12/2020 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 1/19/2020 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 1/26/2020 Farrah Babohadjaer                            $15.00   60.00   $   15.00              $ 150.00   $   150.00
 1/21/2018 Fausto Jose Martinez                          $10.00   49.25   $   13.00   $ 147.75   $ 60.13    $   207.88



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  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

 1/28/2018 Fausto Jose Martinez                          $10.00   49.07   $   13.00   $ 147.20   $ 58.93    $   206.13
  2/4/2018 Fausto Jose Martinez                          $11.50   59.42   $   13.00   $ 89.13    $ 126.21   $   215.33
 2/11/2018 Fausto Jose Martinez                          $11.50   59.53   $   13.00   $ 89.30    $ 126.97   $   216.27
 2/18/2018 Fausto Jose Martinez                          $11.50   59.68   $   13.00   $ 89.53    $ 127.94   $   217.47
 2/25/2018 Fausto Jose Martinez                          $11.50   60.10   $   13.00   $ 90.15    $ 130.65   $   220.80
  3/4/2018 Fausto Jose Martinez                          $11.50   60.10   $   13.00   $ 90.15    $ 130.65   $   220.80
 3/25/2018 Fausto Jose Martinez                          $11.50   60.37   $   13.00   $ 90.55    $ 132.38   $   222.93
  4/1/2018 Fausto Jose Martinez                          $11.50   60.55   $   13.00   $ 90.83    $ 133.58   $   224.40
  4/8/2018 Fausto Jose Martinez                          $11.50   60.43   $   13.00   $ 90.65    $ 132.82   $   223.47
 4/15/2018 Fausto Jose Martinez                          $11.50   62.03   $   13.00   $ 93.05    $ 143.22   $   236.27
 4/22/2018 Fausto Jose Martinez                          $11.50   62.00   $   13.00   $ 93.00    $ 143.00   $   236.00
 4/29/2018 Fausto Jose Martinez                          $11.50   63.50   $   13.00   $ 95.25    $ 152.75   $   248.00
  5/6/2018 Fausto Jose Martinez                          $11.50   63.93   $   13.00   $ 95.90    $ 155.57   $   251.47
 5/13/2018 Fausto Jose Martinez                          $11.50   62.62   $   13.00   $ 93.93    $ 147.01   $   240.93
 5/20/2018 Fausto Jose Martinez                          $11.50   63.62   $   13.00   $ 95.43    $ 153.51   $   248.93
 5/27/2018 Fausto Jose Martinez                          $11.50   63.55   $   13.00   $ 95.33    $ 153.08   $   248.40
  6/3/2018 Fausto Jose Martinez                          $11.50   60.57   $   13.00   $ 90.85    $ 133.68   $   224.53
 6/10/2018 Fausto Jose Martinez                          $11.50   61.17   $   13.00   $ 91.75    $ 137.58   $   229.33
 6/17/2018 Fausto Jose Martinez                          $11.50   61.10   $   13.00   $ 91.65    $ 137.15   $   228.80
 6/24/2018 Fausto Jose Martinez                          $11.50   61.07   $   13.00   $ 91.60    $ 136.93   $   228.53
  7/1/2018 Fausto Jose Martinez                          $11.50   58.22   $   13.00   $ 87.33    $ 118.41   $   205.73
  7/8/2018 Fausto Jose Martinez                          $11.50   51.07   $   13.00   $ 76.60    $ 71.93    $   148.53
 7/15/2018 Fausto Jose Martinez                          $11.50   65.17   $   13.00   $ 97.75    $ 163.58   $   261.33
 7/22/2018 Fausto Jose Martinez                          $11.50   63.95   $   13.00   $ 95.93    $ 155.68   $   251.60
 7/29/2018 Fausto Jose Martinez                          $11.50   63.33   $   13.00   $ 95.00    $ 151.67   $   246.67
  8/5/2018 Fausto Jose Martinez                          $11.50   63.52   $   13.00   $ 95.28    $ 152.86   $   248.13
 8/12/2018 Fausto Jose Martinez                          $11.50   65.85   $   13.00   $ 98.78    $ 168.03   $   266.80
 8/19/2018 Fausto Jose Martinez                          $11.50   62.92   $   13.00   $ 94.38    $ 148.96   $   243.33
 8/26/2018 Fausto Jose Martinez                          $11.50   64.15   $   13.00   $ 96.23    $ 156.98   $   253.20
  9/2/2018 Fausto Jose Martinez                          $11.50   64.53   $   13.00   $ 96.80    $ 159.47   $   256.27
  9/9/2018 Fausto Jose Martinez                          $11.50   63.43   $   13.00   $ 95.15    $ 152.32   $   247.47
 9/16/2018 Fausto Jose Martinez                          $11.50   61.87   $   13.00   $ 92.80    $ 142.13   $   234.93
 9/23/2018 Fausto Jose Martinez                          $11.50   61.20   $   13.00   $ 91.80    $ 137.80   $   229.60
 9/30/2018 Fausto Jose Martinez                          $11.50   62.47   $   13.00   $ 93.70    $ 146.03   $   239.73
 10/7/2018 Fausto Jose Martinez                          $11.50   63.78   $   13.00   $ 95.68    $ 154.59   $   250.27
10/14/2018 Fausto Jose Martinez                          $11.50   65.87   $   13.00   $ 98.80    $ 168.13   $   266.93
10/21/2018 Fausto Jose Martinez                          $11.50   64.18   $   13.00   $ 96.28    $ 157.19   $   253.47
10/28/2018 Fausto Jose Martinez                          $11.50   63.30   $   13.00   $ 94.95    $ 151.45   $   246.40
 11/4/2018 Fausto Jose Martinez                          $11.50   65.52   $   13.00   $ 98.28    $ 165.86   $   264.13
11/11/2018 Fausto Jose Martinez                          $11.50   64.18   $   13.00   $ 96.28    $ 157.19   $   253.47
11/18/2018 Fausto Jose Martinez                          $11.50   65.60   $   13.00   $ 98.40    $ 166.40   $   264.80
11/25/2018 Fausto Jose Martinez                          $11.50   54.58   $   13.00   $ 81.88    $ 94.79    $   176.67
 12/2/2018 Fausto Jose Martinez                          $11.50   66.17   $   13.00   $ 99.25    $ 170.08   $   269.33
 12/9/2018 Fausto Jose Martinez                          $11.50   68.93   $   13.00   $ 103.40   $ 188.07   $   291.47
12/16/2018 Fausto Jose Martinez                          $11.50   71.82   $   13.00   $ 107.73   $ 206.81   $   314.53
12/23/2018 Fausto Jose Martinez                          $11.50   72.25   $   13.00   $ 108.38   $ 209.63   $   318.00
12/30/2018 Fausto Jose Martinez                          $11.50   58.23   $   13.00   $ 87.35    $ 118.52   $   205.87
  1/6/2019 Fausto Jose Martinez                          $11.50   57.67   $   15.00   $ 201.83   $ 132.50   $   334.33
 1/13/2019 Fausto Jose Martinez                          $11.50   73.05   $   15.00   $ 255.68   $ 247.88   $   503.55
 1/20/2019 Fausto Jose Martinez                          $11.50   73.12   $   15.00   $ 255.91   $ 248.38   $   504.28
 1/27/2019 Fausto Jose Martinez                          $11.50   74.97   $   15.00   $ 262.38   $ 262.25   $   524.63
  2/3/2019 Fausto Jose Martinez                          $11.50   74.45   $   15.00   $ 260.58   $ 258.38   $   518.95
 2/10/2019 Fausto Jose Martinez                          $11.50   76.30   $   15.00   $ 267.05   $ 272.25   $   539.30
 2/17/2019 Fausto Jose Martinez                          $11.50   77.20   $   15.00   $ 270.20   $ 279.00   $   549.20
 2/24/2019 Fausto Jose Martinez                          $11.50   78.00   $   15.00   $ 273.00   $ 285.00   $   558.00
  3/3/2019 Fausto Jose Martinez                          $11.50   60.20   $   15.00   $ 210.70   $ 151.50   $   362.20
 3/10/2019 Fausto Jose Martinez                          $11.50   63.88   $   15.00   $ 223.59   $ 179.13   $   402.72
 3/17/2019 Fausto Jose Martinez                          $11.50   60.82   $   15.00   $ 212.86   $ 156.13   $   368.98



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                                                   Exhibit 3
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  Week                                                                 State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
 Ending                            Name                              Minimum Regular Half-time Overtime Back
                                                        Rate Week
  Date                                                                Wage   Rate Due     Due       Wages Due

 3/24/2019 Fausto Jose Martinez                           $11.50   65.08   $   15.00   $   227.79   $ 188.13   $   415.92
 3/31/2019 Fausto Jose Martinez                           $11.50   64.75   $   15.00   $   226.63   $ 185.63   $   412.25
  4/7/2019 Fausto Jose Martinez                           $11.50   62.10   $   15.00   $   217.35   $ 165.75   $   383.10
 4/14/2019 Fausto Jose Martinez                           $11.50   65.13   $   15.00   $   227.97   $ 188.50   $   416.47
 4/21/2019 Fausto Jose Martinez                           $11.50   64.00   $   15.00   $   224.00   $ 180.00   $   404.00
 4/28/2019 Fausto Jose Martinez                           $11.50   61.22   $   15.00   $   214.26   $ 159.13   $   373.38
  5/5/2019 Fausto Jose Martinez                           $11.50   61.07   $   15.00   $   213.73   $ 158.00   $   371.73
 5/12/2019 Fausto Jose Martinez                           $11.50   64.50   $   15.00   $   225.75   $ 183.75   $   409.50
 5/19/2019 Fausto Jose Martinez                           $11.50   63.55   $   15.00   $   222.43   $ 176.63   $   399.05
 5/26/2019 Fausto Jose Martinez                           $11.50   66.22   $   15.00   $   231.76   $ 196.63   $   428.38
  6/2/2019 Fausto Jose Martinez                           $11.50   63.92   $   15.00   $   223.71   $ 179.38   $   403.08
  6/9/2019 Fausto Jose Martinez                           $11.50   63.10   $   15.00   $   220.85   $ 173.25   $   394.10
 6/16/2019 Fausto Jose Martinez                           $11.50   64.90   $   15.00   $   227.15   $ 186.75   $   413.90
 6/23/2019 Fausto Jose Martinez                           $11.50   63.08   $   15.00   $   220.79   $ 173.13   $   393.92
 6/30/2019 Fausto Jose Martinez                           $11.50   57.17   $   15.00   $   200.08   $ 128.75   $   328.83
  7/7/2019 Fausto Jose Martinez                           $11.50   49.57   $   15.00   $   173.48   $ 71.75    $   245.23
 7/14/2019 Fausto Jose Martinez                           $11.50   61.65   $   15.00   $   215.78   $ 162.38   $   378.15
 7/21/2019 Fausto Jose Martinez                           $11.50   59.22   $   15.00   $   207.26   $ 144.13   $   351.38
 7/28/2019 Fausto Jose Martinez                           $11.50   59.22   $   15.00   $   207.26   $ 144.13   $   351.38
  8/4/2019 Fausto Jose Martinez                           $11.50   59.67   $   15.00   $   208.83   $ 147.50   $   356.33
 8/11/2019 Fausto Jose Martinez                           $11.50   61.02   $   15.00   $   213.56   $ 157.63   $   371.18
 8/18/2019 Fausto Jose Martinez                           $11.50   61.90   $   15.00   $   216.65   $ 164.25   $   380.90
 8/25/2019 Fausto Jose Martinez                           $11.50   62.00   $   15.00   $   217.00   $ 165.00   $   382.00
  9/1/2019 Fausto Jose Martinez                           $11.50   61.98   $   15.00   $   216.94   $ 164.88   $   381.82
  9/8/2019 Fausto Jose Martinez                           $11.50   62.55   $   15.00   $   218.93   $ 169.13   $   388.05
 9/15/2019 Fausto Jose Martinez                           $11.50   62.47   $   15.00   $   218.63   $ 168.50   $   387.13
 9/22/2019 Fausto Jose Martinez                           $11.50   62.83   $   15.00   $   219.92   $ 171.25   $   391.17
 9/29/2019 Fausto Jose Martinez                           $11.50   62.40   $   15.00   $   218.40   $ 168.00   $   386.40
 10/6/2019 Fausto Jose Martinez                           $11.50   63.35   $   15.00   $   221.73   $ 175.13   $   396.85
10/13/2019 Fausto Jose Martinez                           $11.50   62.10   $   15.00   $   217.35   $ 165.75   $   383.10
10/20/2019 Fausto Jose Martinez                           $11.50   62.48   $   15.00   $   218.69   $ 168.63   $   387.32
10/27/2019 Fausto Jose Martinez                           $11.50   62.83   $   15.00   $   219.92   $ 171.25   $   391.17
 11/3/2019 Fausto Jose Martinez                           $11.50   63.05   $   15.00   $   220.68   $ 172.88   $   393.55
11/10/2019 Fausto Jose Martinez                           $11.50   62.45   $   15.00   $   218.58   $ 168.38   $   386.95
11/17/2019 Fausto Jose Martinez                           $11.50   63.03   $   15.00   $   220.62   $ 172.75   $   393.37
11/24/2019 Fausto Jose Martinez                           $11.50   63.08   $   15.00   $   220.79   $ 173.13   $   393.92
 12/1/2019 Fausto Jose Martinez                           $11.50   52.85   $   15.00   $   184.98   $ 96.38    $   281.35
 12/8/2019 Fausto Jose Martinez                           $11.50   63.98   $   15.00   $   223.94   $ 179.88   $   403.82
12/15/2019 Fausto Jose Martinez                           $11.50   63.67   $   15.00   $   222.83   $ 177.50   $   400.33
12/22/2019 Fausto Jose Martinez                           $11.50   63.57   $   15.00   $   222.48   $ 176.75   $   399.23
12/29/2019 Fausto Jose Martinez                           $11.50   50.75   $   15.00   $   177.63   $ 80.63    $   258.25
  1/5/2020 Fausto Jose Martinez                           $11.50   49.53   $   15.00   $   173.37   $ 71.50    $   244.87
 1/12/2020 Fausto Jose Martinez                           $11.50   64.12   $   15.00   $   224.41   $ 180.88   $   405.28
 1/19/2020 Fausto Jose Martinez                           $11.50   63.87   $   15.00   $   223.53   $ 179.00   $   402.53
 1/26/2020 Fausto Jose Martinez                           $11.50   63.25   $   15.00   $   221.38   $ 174.38   $   395.75
  4/8/2018 Felipe Contreras-0302                           $9.00   63.57   $   13.00   $   254.27   $ 153.18   $   407.45
 4/15/2018 Felipe Contreras-0302                           $9.00   63.48   $   13.00   $   253.93   $ 152.64   $   406.58
 4/22/2018 Felipe Contreras-0302                           $9.00   60.55   $   13.00   $   242.20   $ 133.58   $   375.78
 4/29/2018 Felipe Contreras-0302                           $9.00   62.40   $   13.00   $   249.60   $ 145.60   $   395.20
  5/6/2018 Felipe Contreras-0302                           $9.00   61.48   $   13.00   $   245.93   $ 139.64   $   385.58
 5/13/2018 Felipe Contreras-0302                           $9.00   52.85   $   13.00   $   211.40   $ 83.53    $   294.93
 5/20/2018 Felipe Contreras-0302                           $9.00   52.45   $   13.00   $   209.80   $ 80.93    $   290.73
10/21/2018 Felipe Contreras-0302                           $9.00   61.72   $   13.00   $   246.87   $ 141.16   $   388.03
10/28/2018 Felipe Contreras-0302                           $9.00   63.13   $   13.00   $   252.53   $ 150.37   $   402.90
 11/4/2018 Felipe Contreras-0302                           $9.00   60.08   $   13.00   $   240.33   $ 130.54   $   370.88
11/11/2018 Felipe Contreras-0302                           $9.00   62.52   $   13.00   $   250.07   $ 146.36   $   396.43
11/18/2018 Felipe Contreras-0302                           $9.00   60.92   $   13.00   $   243.67   $ 135.96   $   379.63
11/25/2018 Felipe Contreras-0302                           $9.00   52.30   $   13.00   $   209.20   $ 79.95    $   289.15



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  Week                                                                       State Section 7: Section 7: Total Section 7
                                                             Hourly Hours/
 Ending                            Name                                    Minimum Regular Half-time Overtime Back
                                                              Rate Week
  Date                                                                      Wage   Rate Due     Due       Wages Due

 12/2/2018 Felipe Contreras-0302                                 $9.00   62.02   $   13.00   $   248.07   $ 143.11   $   391.18
 12/9/2018 Felipe Contreras-0302                                 $9.00   60.13   $   13.00   $   240.53   $ 130.87   $   371.40
12/16/2018 Felipe Contreras-0302                                 $9.00   59.62   $   13.00   $   238.47   $ 127.51   $   365.98
12/23/2018 Felipe Contreras-0302                                 $9.00   53.28   $   13.00   $   213.13   $ 86.34    $   299.48
12/30/2018 Felipe Contreras-0302                                 $9.00   50.57   $   13.00   $   202.27   $ 68.68    $   270.95
 1/27/2019 Felipe Contreras-0302                                 $9.00   41.55   $   15.00   $   249.30   $ 11.63    $   260.93
 2/10/2019 Felipe Contreras-0302                                 $9.00   49.42   $   15.00   $   296.50   $ 70.63    $   367.13
  5/5/2019 Felipe Mejia Medina                                  $19.00   40.03   $   15.00                $   0.32   $     0.32
 5/26/2019 Felipe Mejia Medina                                  $19.00   49.63   $   15.00                $ 91.52    $    91.52
 6/16/2019 Felipe Mejia Medina                                  $19.00   42.48   $   15.00                $ 23.59    $    23.59
 6/23/2019 Felipe Mejia Medina                                  $19.00   44.05   $   15.00                $ 38.48    $    38.48
 7/14/2019 Felipe Mejia Medina                                  $19.00   43.32   $   15.00                $ 31.51    $    31.51
 7/21/2019 Felipe Mejia Medina                                  $19.00   45.45   $   15.00                $ 51.78    $    51.78
 7/28/2019 Felipe Mejia Medina                                  $19.00   42.85   $   15.00                $ 27.08    $    27.08
  8/4/2019 Felipe Mejia Medina                                  $19.00   40.02   $   15.00                $   0.16   $     0.16
 8/11/2019 Felipe Mejia Medina                                  $19.00   47.53   $   15.00                $ 71.57    $    71.57
  9/1/2019 Felipe Mejia Medina                                  $19.00   41.00   $   15.00                $   9.50   $     9.50
 9/29/2019 Felipe Mejia Medina                                  $19.00   43.82   $   15.00                $ 36.26    $    36.26
 12/2/2018 Felipe Ramos                                         $10.00   59.12   $   13.00   $   177.35   $ 124.26   $   301.61
 12/9/2018 Felipe Ramos                                         $10.00   52.45   $   13.00   $   157.35   $ 80.93    $   238.28
12/16/2018 Felipe Ramos                                         $10.00   58.72   $   13.00   $   176.15   $ 121.66   $   297.81
12/23/2018 Felipe Ramos                                         $10.00   48.68   $   13.00   $   146.05   $ 56.44    $   202.49
12/30/2018 Felipe Ramos                                         $10.00   44.27   $   13.00   $   132.80   $ 27.73    $   160.53
  1/6/2019 Felipe Ramos                                         $10.00   44.93   $   15.00   $   224.67   $ 37.00    $   261.67
 1/13/2019 Felipe Ramos                                         $10.00   58.78   $   15.00   $   293.92   $ 140.88   $   434.79
 1/20/2019 Felipe Ramos                                         $10.00   59.70   $   15.00   $   298.50   $ 147.75   $   446.25
 1/27/2019 Felipe Ramos                                         $10.00   59.15   $   15.00   $   295.75   $ 143.63   $   439.38
  2/3/2019 Felipe Ramos                                         $10.00   58.82   $   15.00   $   294.08   $ 141.13   $   435.21
 2/10/2019 Felipe Ramos                                         $10.00   58.97   $   15.00   $   294.83   $ 142.25   $   437.08
 2/17/2019 Felipe Ramos                                         $10.00   59.33   $   15.00   $   296.67   $ 145.00   $   441.67
11/11/2018 Fernando Caraballo - Service Valet                   $10.00   53.87   $   13.00   $   161.60   $ 90.13    $   251.73
11/18/2018 Fernando Caraballo - Service Valet                   $10.00   53.72   $   13.00   $   161.15   $ 89.16    $   250.31
  2/5/2017 Fidel Hernandez                                      $11.00   51.02   $   11.00                $ 60.59    $    60.59
 2/19/2017 Fidel Hernandez                                      $11.00   48.20   $   11.00                $ 45.10    $    45.10
 2/26/2017 Fidel Hernandez                                      $11.00   53.50   $   11.00                $ 74.25    $    74.25
 3/12/2017 Fidel Hernandez                                      $11.00   52.42   $   11.00                $ 68.29    $    68.29
 3/19/2017 Fidel Hernandez                                      $11.00   44.17   $   11.00                $ 22.92    $    22.92
  4/2/2017 Fidel Hernandez                                      $11.00   56.92   $   11.00                $ 93.04    $    93.04
 4/28/2019 Francis Paez Bastida                                  $9.50   61.22   $   15.00   $   336.69   $ 159.13   $   495.82
  5/5/2019 Francis Paez Bastida                                  $9.50   65.47   $   15.00   $   360.07   $ 191.00   $   551.07
 5/12/2019 Francis Paez Bastida                                  $9.50   64.03   $   15.00   $   352.18   $ 180.25   $   532.43
 5/19/2019 Francis Paez Bastida                                  $9.50   64.32   $   15.00   $   353.74   $ 182.38   $   536.12
 5/26/2019 Francis Paez Bastida                                  $9.50   64.73   $   15.00   $   356.03   $ 185.50   $   541.53
  6/2/2019 Francis Paez Bastida                                  $9.50   49.80   $   15.00   $   273.90   $ 73.50    $   347.40
  6/9/2019 Francis Paez Bastida                                  $9.50   57.72   $   15.00   $   317.44   $ 132.88   $   450.32
 6/16/2019 Francis Paez Bastida                                  $9.50   59.17   $   15.00   $   325.42   $ 143.75   $   469.17
 6/23/2019 Francis Paez Bastida                                  $9.50   56.52   $   15.00   $   310.84   $ 123.88   $   434.72
 7/21/2019 Francis Paez Bastida                                 $10.00   64.50   $   15.00   $   322.50   $ 183.75   $   506.25
 7/28/2019 Francis Paez Bastida                                 $10.00   62.98   $   15.00   $   314.92   $ 172.38   $   487.29
  8/4/2019 Francis Paez Bastida                                 $10.00   65.02   $   15.00   $   325.08   $ 187.63   $   512.71
 8/11/2019 Francis Paez Bastida                                 $10.00   52.97   $   15.00   $   264.83   $ 97.25    $   362.08
 8/18/2019 Francis Paez Bastida                                 $10.00   64.77   $   15.00   $   323.83   $ 185.75   $   509.58
 8/25/2019 Francis Paez Bastida                                 $10.00   63.47   $   15.00   $   317.33   $ 176.00   $   493.33
  9/1/2019 Francis Paez Bastida                                 $10.00   63.25   $   15.00   $   316.25   $ 174.38   $   490.63
  9/8/2019 Francis Paez Bastida                                 $10.00   52.82   $   15.00   $   264.08   $ 96.13    $   360.21
 9/15/2019 Francis Paez Bastida                                 $10.00   61.73   $   15.00   $   308.67   $ 163.00   $   471.67
 9/22/2019 Francis Paez Bastida                                 $10.00   42.10   $   15.00   $   210.50   $ 15.75    $   226.25
 9/29/2019 Francis Paez Bastida                                 $10.00   60.80   $   15.00   $   304.00   $ 156.00   $   460.00



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  Week                                                             State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
 Ending                        Name                              Minimum Regular Half-time Overtime Back
                                                    Rate Week
  Date                                                            Wage   Rate Due     Due       Wages Due

 2/10/2019 Francis Quezada                             $9.50   62.05   $   15.00   $   341.28   $ 165.38   $   506.65
 2/17/2019 Francis Quezada                             $9.50   48.38   $   15.00   $   266.11   $ 62.88    $   328.98
 2/24/2019 Francis Quezada                             $9.50   63.40   $   15.00   $   348.70   $ 175.50   $   524.20
  3/3/2019 Francis Quezada                             $9.50   65.08   $   15.00   $   357.96   $ 188.13   $   546.08
 3/10/2019 Francis Quezada                             $9.50   46.42   $   15.00   $   255.29   $ 48.13    $   303.42
 3/17/2019 Francis Quezada                             $9.50   66.12   $   15.00   $   363.64   $ 195.88   $   559.52
 3/24/2019 Francis Quezada                             $9.50   70.57   $   15.00   $   388.12   $ 229.25   $   617.37
 3/31/2019 Francis Quezada                             $9.50   70.43   $   15.00   $   387.38   $ 228.25   $   615.63
  4/7/2019 Francis Quezada                             $9.50   73.80   $   15.00   $   405.90   $ 253.50   $   659.40
 4/14/2019 Francis Quezada                             $9.50   75.68   $   15.00   $   416.26   $ 267.63   $   683.88
 4/21/2019 Francis Quezada                             $9.50   63.60   $   15.00   $   349.80   $ 177.00   $   526.80
 4/28/2019 Francis Quezada                             $9.50   61.05   $   15.00   $   335.78   $ 157.88   $   493.65
  5/5/2019 Francis Quezada                             $9.50   71.13   $   15.00   $   391.23   $ 233.50   $   624.73
 5/12/2019 Francis Quezada                             $9.50   71.97   $   15.00   $   395.82   $ 239.75   $   635.57
 5/19/2019 Francis Quezada                             $9.50   71.57   $   15.00   $   393.62   $ 236.75   $   630.37
 5/26/2019 Francis Quezada                             $9.50   70.02   $   15.00   $   385.09   $ 225.13   $   610.22
  6/2/2019 Francis Quezada                             $9.50   61.25   $   15.00   $   336.88   $ 159.38   $   496.25
  6/9/2019 Francis Quezada                             $9.50   58.45   $   15.00   $   321.48   $ 138.38   $   459.85
 6/16/2019 Francis Quezada                             $9.50   65.63   $   15.00   $   360.98   $ 192.25   $   553.23
 6/23/2019 Francis Quezada                             $9.50   41.72   $   15.00   $   229.44   $ 12.88    $   242.32
 6/30/2019 Francis Quezada                             $9.50   63.78   $   15.00   $   350.81   $ 178.38   $   529.18
  7/7/2019 Francis Quezada                             $9.50   45.95   $   15.00   $   252.73   $ 44.63    $   297.35
 2/12/2017 Francisco Espinal                          $12.00   41.48   $   11.00                $   8.90   $     8.90
 2/26/2017 Francisco Espinal                          $12.00   50.02   $   11.00                $ 60.10    $    60.10
  3/5/2017 Francisco Espinal                          $12.00   48.77   $   11.00                $ 52.60    $    52.60
 3/12/2017 Francisco Espinal                          $12.00   41.53   $   11.00                $   9.20   $     9.20
 3/26/2017 Francisco Espinal                          $12.00   56.17   $   11.00                $ 97.00    $    97.00
  4/9/2017 Francisco Espinal                          $12.00   45.98   $   11.00                $ 35.90    $    35.90
 4/16/2017 Francisco Espinal                          $12.00   48.95   $   11.00                $ 53.70    $    53.70
 4/23/2017 Francisco Espinal                          $12.00   40.35   $   11.00                $   2.10   $     2.10
 4/30/2017 Francisco Espinal                          $12.00   58.95   $   11.00                $ 113.70   $   113.70
  5/7/2017 Francisco Espinal                          $12.00   57.05   $   11.00                $ 102.30   $   102.30
 5/14/2017 Francisco Espinal                          $12.00   51.57   $   11.00                $ 69.40    $    69.40
 5/21/2017 Francisco Espinal                          $12.00   65.03   $   11.00                $ 150.20   $   150.20
 5/28/2017 Francisco Espinal                          $12.00   63.62   $   11.00                $ 141.70   $   141.70
  6/4/2017 Francisco Espinal                          $12.00   50.53   $   11.00                $ 63.20    $    63.20
 6/11/2017 Francisco Espinal                          $12.00   54.33   $   11.00                $ 86.00    $    86.00
 6/18/2017 Francisco Espinal                          $12.00   60.07   $   11.00                $ 120.40   $   120.40
 6/25/2017 Francisco Espinal                          $12.00   49.92   $   11.00                $ 59.50    $    59.50
 7/30/2017 Francisco Espinal                          $12.00   60.42   $   11.00                $ 122.50   $   122.50
  8/6/2017 Francisco Espinal                          $12.00   57.02   $   11.00                $ 102.10   $   102.10
 8/13/2017 Francisco Espinal                          $12.00   40.53   $   11.00                $   3.20   $     3.20
 8/20/2017 Francisco Espinal                          $12.00   56.92   $   11.00                $ 101.50   $   101.50
 8/27/2017 Francisco Espinal                          $12.00   47.40   $   11.00                $ 44.40    $    44.40
 9/17/2017 Francisco Espinal                          $12.00   54.58   $   11.00                $ 87.50    $    87.50
 9/24/2017 Francisco Espinal                          $12.00   51.62   $   11.00                $ 69.70    $    69.70
 10/1/2017 Francisco Espinal                          $12.00   53.48   $   11.00                $ 80.90    $    80.90
 10/8/2017 Francisco Espinal                          $12.00   43.03   $   11.00                $ 18.20    $    18.20
10/15/2017 Francisco Espinal                          $12.00   52.33   $   11.00                $ 74.00    $    74.00
10/22/2017 Francisco Espinal                          $12.00   43.53   $   11.00                $ 21.20    $    21.20
10/29/2017 Francisco Espinal                          $12.00   54.42   $   11.00                $ 86.50    $    86.50
 11/5/2017 Francisco Espinal                          $12.00   56.32   $   11.00                $ 97.90    $    97.90
11/12/2017 Francisco Espinal                          $12.00   47.37   $   11.00                $ 44.20    $    44.20
11/19/2017 Francisco Espinal                          $12.00   53.53   $   11.00                $ 81.20    $    81.20
 12/3/2017 Francisco Espinal                          $12.00   54.60   $   11.00                $ 87.60    $    87.60
12/17/2017 Francisco Espinal                          $12.00   40.48   $   11.00                $   2.90   $     2.90
12/24/2017 Francisco Espinal                          $12.00   52.25   $   11.00                $ 73.50    $    73.50
12/31/2017 Francisco Espinal                          $12.00   46.38   $   13.00   $    46.38   $ 41.49    $    87.88



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  Week                                                             State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
 Ending                        Name                              Minimum Regular Half-time Overtime Back
                                                    Rate Week
  Date                                                            Wage   Rate Due     Due       Wages Due

 1/28/2018 Francisco Espinal                          $12.00   52.25   $   13.00   $ 52.25    $ 79.63    $   131.88
  2/4/2018 Francisco Espinal                          $12.00   45.60   $   13.00   $ 45.60    $ 36.40    $    82.00
 2/25/2018 Francisco Espinal                          $12.00   51.20   $   13.00   $ 51.20    $ 72.80    $   124.00
  3/4/2018 Francisco Espinal                          $12.00   52.33   $   13.00   $ 52.33    $ 80.17    $   132.50
 3/25/2018 Francisco Espinal                          $12.00   44.18   $   13.00   $ 44.18    $ 27.19    $    71.38
  4/1/2018 Francisco Espinal                          $12.00   50.52   $   13.00   $ 50.52    $ 68.36    $   118.88
  4/8/2018 Francisco Espinal                          $12.00   55.80   $   13.00   $ 55.80    $ 102.70   $   158.50
 4/15/2018 Francisco Espinal                          $12.00   50.82   $   13.00   $ 50.82    $ 70.31    $   121.13
 4/22/2018 Francisco Espinal                          $12.00   54.30   $   13.00   $ 54.30    $ 92.95    $   147.25
 4/29/2018 Francisco Espinal                          $12.00   58.38   $   13.00   $ 58.38    $ 119.49   $   177.88
  5/6/2018 Francisco Espinal                          $12.00   53.58   $   13.00   $ 53.58    $ 88.29    $   141.88
 5/13/2018 Francisco Espinal                          $12.00   53.77   $   13.00   $ 53.77    $ 89.48    $   143.25
 5/20/2018 Francisco Espinal                          $12.00   43.88   $   13.00   $ 43.88    $ 25.24    $    69.12
 7/15/2018 Francisco Mena                              $9.00   65.02   $   13.00   $ 260.07   $ 162.61   $   422.68
 7/22/2018 Francisco Mena                              $9.00   66.32   $   13.00   $ 265.27   $ 171.06   $   436.33
 7/29/2018 Francisco Mena                              $9.00   64.92   $   13.00   $ 259.67   $ 161.96   $   421.63
  8/5/2018 Francisco Mena                              $9.00   65.35   $   13.00   $ 261.40   $ 164.78   $   426.18
 8/12/2018 Francisco Mena                              $9.00   65.53   $   13.00   $ 262.13   $ 165.97   $   428.10
 8/19/2018 Francisco Mena                              $9.00   65.73   $   13.00   $ 262.93   $ 167.27   $   430.20
 8/26/2018 Francisco Mena                              $9.00   65.30   $   13.00   $ 261.20   $ 164.45   $   425.65
  9/2/2018 Francisco Mena                              $9.00   65.50   $   13.00   $ 262.00   $ 165.75   $   427.75
  9/9/2018 Francisco Mena                              $9.00   63.00   $   13.00   $ 252.00   $ 149.50   $   401.50
 9/16/2018 Francisco Mena                              $9.00   65.40   $   13.00   $ 261.60   $ 165.10   $   426.70
 9/23/2018 Francisco Mena                              $9.00   65.45   $   13.00   $ 261.80   $ 165.43   $   427.23
 9/30/2018 Francisco Mena                              $9.00   53.58   $   13.00   $ 214.33   $ 88.29    $   302.63
 10/7/2018 Francisco Mena                              $9.00   66.68   $   13.00   $ 266.73   $ 173.44   $   440.18
10/14/2018 Francisco Mena                              $9.00   58.35   $   13.00   $ 233.40   $ 119.28   $   352.68
10/21/2018 Francisco Mena                              $9.00   52.80   $   13.00   $ 211.20   $ 83.20    $   294.40
10/28/2018 Francisco Mena                              $9.00   58.17   $   13.00   $ 232.67   $ 118.08   $   350.75
11/11/2018 Francisco Mena                              $9.00   55.00   $   13.00   $ 220.00   $ 97.50    $   317.50
11/25/2018 Francisco Mena                              $9.00   54.88   $   13.00   $ 219.53   $ 96.74    $   316.28
 12/2/2018 Francisco Mena                              $9.00   49.62   $   13.00   $ 198.47   $ 62.51    $   260.98
12/16/2018 Francisco Mena                              $9.00   47.07   $   13.00   $ 188.27   $ 45.93    $   234.20
 1/13/2019 Francisco Mena                              $9.00   40.48   $   15.00   $ 242.90   $   3.63   $   246.53
 1/20/2019 Francisco Mena                              $9.00   45.13   $   15.00   $ 270.80   $ 38.50    $   309.30
 1/27/2019 Francisco Mena                              $9.00   44.85   $   15.00   $ 269.10   $ 36.38    $   305.48
 2/10/2019 Francisco Mena                              $9.00   54.18   $   15.00   $ 325.10   $ 106.38   $   431.48
 2/17/2019 Francisco Mena                              $9.00   52.58   $   15.00   $ 315.50   $ 94.38    $   409.88
 2/24/2019 Francisco Mena                              $9.00   59.42   $   15.00   $ 356.50   $ 145.63   $   502.13
  3/3/2019 Francisco Mena                              $9.00   40.97   $   15.00   $ 245.80   $   7.25   $   253.05
 3/10/2019 Francisco Mena                              $9.00   65.58   $   15.00   $ 393.50   $ 191.88   $   585.38
 3/17/2019 Francisco Mena                              $9.00   55.47   $   15.00   $ 332.80   $ 116.00   $   448.80
 3/24/2019 Francisco Mena                              $9.00   59.22   $   15.00   $ 355.30   $ 144.13   $   499.43
 3/31/2019 Francisco Mena                              $9.00   71.12   $   15.00   $ 426.70   $ 233.38   $   660.08
  4/7/2019 Francisco Mena                              $9.00   67.95   $   15.00   $ 407.70   $ 209.63   $   617.33
 4/14/2019 Francisco Mena                              $9.00   68.57   $   15.00   $ 411.40   $ 214.25   $   625.65
 4/21/2019 Francisco Mena                              $9.00   70.22   $   15.00   $ 421.30   $ 226.63   $   647.93
 4/28/2019 Francisco Mena                              $9.00   70.53   $   15.00   $ 423.20   $ 229.00   $   652.20
  5/5/2019 Francisco Mena                              $9.00   81.00   $   15.00   $ 486.00   $ 307.50   $   793.50
 5/12/2019 Francisco Mena                              $9.00   84.03   $   15.00   $ 504.20   $ 330.25   $   834.45
 5/19/2019 Francisco Mena                              $9.00   86.55   $   15.00   $ 519.30   $ 349.13   $   868.43
 5/26/2019 Francisco Mena                              $9.00   83.55   $   15.00   $ 501.30   $ 326.63   $   827.93
  6/2/2019 Francisco Mena                              $9.00   69.83   $   15.00   $ 419.00   $ 223.75   $   642.75
  6/9/2019 Francisco Mena                              $9.00   81.67   $   15.00   $ 490.00   $ 312.50   $   802.50
 6/16/2019 Francisco Mena                              $9.00   74.05   $   15.00   $ 444.30   $ 255.38   $   699.68
 6/23/2019 Francisco Mena                              $9.00   71.52   $   15.00   $ 429.10   $ 236.38   $   665.48
 6/30/2019 Francisco Mena                              $9.00   84.22   $   15.00   $ 505.30   $ 331.63   $   836.93
  7/7/2019 Francisco Mena                             $10.00   70.05   $   15.00   $ 350.25   $ 225.38   $   575.63



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  Week                                                               State Section 7: Section 7: Total Section 7
                                                     Hourly Hours/
 Ending                          Name                              Minimum Regular Half-time Overtime Back
                                                      Rate Week
  Date                                                              Wage   Rate Due     Due       Wages Due

 7/14/2019 Francisco Mena                               $10.00   85.92   $   15.00   $   429.58   $ 344.38   $   773.96
 7/21/2019 Francisco Mena                               $10.00   86.55   $   15.00   $   432.75   $ 349.13   $   781.88
 7/28/2019 Francisco Mena                               $10.00   87.27   $   15.00   $   436.33   $ 354.50   $   790.83
  8/4/2019 Francisco Mena                               $10.00   87.65   $   15.00   $   438.25   $ 357.38   $   795.63
 8/11/2019 Francisco Mena                               $10.00   85.98   $   15.00   $   429.92   $ 344.88   $   774.79
 8/18/2019 Francisco Mena                               $10.00   85.03   $   15.00   $   425.17   $ 337.75   $   762.92
 8/25/2019 Francisco Mena                               $10.00   85.52   $   15.00   $   427.58   $ 341.38   $   768.96
  9/1/2019 Francisco Mena                               $10.00   84.87   $   15.00   $   424.33   $ 336.50   $   760.83
  9/8/2019 Francisco Mena                               $10.00   83.38   $   15.00   $   416.92   $ 325.38   $   742.29
 9/15/2019 Francisco Mena                               $10.00   89.97   $   15.00   $   449.83   $ 374.75   $   824.58
 9/22/2019 Francisco Mena                               $10.00   85.98   $   15.00   $   429.92   $ 344.88   $   774.79
 9/29/2019 Francisco Mena                               $10.00   86.17   $   15.00   $   430.83   $ 346.25   $   777.08
 10/6/2019 Francisco Mena                               $10.00   88.28   $   15.00   $   441.42   $ 362.13   $   803.54
10/13/2019 Francisco Mena                               $10.00   85.47   $   15.00   $   427.33   $ 341.00   $   768.33
10/20/2019 Francisco Mena                               $11.00   85.73   $   15.00   $   342.93   $ 343.00   $   685.93
10/27/2019 Francisco Mena                               $11.00   86.45   $   15.00   $   345.80   $ 348.38   $   694.18
 11/3/2019 Francisco Mena                               $11.00   86.17   $   15.00   $   344.67   $ 346.25   $   690.92
11/10/2019 Francisco Mena                               $11.00   85.73   $   15.00   $   342.93   $ 343.00   $   685.93
11/17/2019 Francisco Mena                               $11.00   86.93   $   15.00   $   347.73   $ 352.00   $   699.73
11/24/2019 Francisco Mena                               $11.00   86.33   $   15.00   $   345.33   $ 347.50   $   692.83
 12/1/2019 Francisco Mena                               $11.00   73.98   $   15.00   $   295.93   $ 254.88   $   550.81
 12/8/2019 Francisco Mena                               $11.00   88.90   $   15.00   $   355.60   $ 366.75   $   722.35
12/15/2019 Francisco Mena                               $10.00   86.92   $   15.00   $   434.58   $ 351.88   $   786.46
12/22/2019 Francisco Mena                               $10.00   85.62   $   15.00   $   428.08   $ 342.13   $   770.21
12/29/2019 Francisco Mena                               $10.00   69.45   $   15.00   $   347.25   $ 220.88   $   568.13
  1/5/2020 Francisco Mena                               $10.00   72.15   $   15.00   $   360.75   $ 241.13   $   601.88
 1/12/2020 Francisco Mena                               $10.00   82.65   $   15.00   $   413.25   $ 319.88   $   733.13
 1/19/2020 Francisco Mena                               $10.00   76.05   $   15.00   $   380.25   $ 270.38   $   650.63
 1/26/2020 Francisco Mena                               $10.00   85.83   $   15.00   $   429.17   $ 343.75   $   772.92
  2/5/2017 Francisco Pantaleon                          $13.50   57.10   $   11.00                $ 115.43   $   115.43
 2/12/2017 Francisco Pantaleon                          $13.50   54.18   $   11.00                $ 95.74    $    95.74
 2/19/2017 Francisco Pantaleon                          $13.50   57.22   $   11.00                $ 116.21   $   116.21
 2/26/2017 Francisco Pantaleon                          $13.50   57.18   $   11.00                $ 115.99   $   115.99
  3/5/2017 Francisco Pantaleon                          $13.50   57.08   $   11.00                $ 115.31   $   115.31
 3/12/2017 Francisco Pantaleon                          $13.50   57.20   $   11.00                $ 116.10   $   116.10
 3/19/2017 Francisco Pantaleon                          $13.50   58.03   $   11.00                $ 121.73   $   121.73
 3/26/2017 Francisco Pantaleon                          $13.50   57.15   $   11.00                $ 115.76   $   115.76
  4/2/2017 Francisco Pantaleon                          $13.50   78.77   $   11.00                $ 261.68   $   261.68
  4/9/2017 Francisco Pantaleon                          $13.50   78.45   $   11.00                $ 259.54   $   259.54
 4/16/2017 Francisco Pantaleon                          $13.50   71.12   $   11.00                $ 210.04   $   210.04
 4/23/2017 Francisco Pantaleon                          $13.50   81.82   $   11.00                $ 282.26   $   282.26
 4/30/2017 Francisco Pantaleon                          $13.50   82.78   $   11.00                $ 288.79   $   288.79
  5/7/2017 Francisco Pantaleon                          $13.50   86.87   $   11.00                $ 316.35   $   316.35
 5/14/2017 Francisco Pantaleon                          $13.50   81.98   $   11.00                $ 283.39   $   283.39
 5/21/2017 Francisco Pantaleon                          $13.50   74.90   $   11.00                $ 235.58   $   235.58
 5/28/2017 Francisco Pantaleon                          $13.50   80.58   $   11.00                $ 273.94   $   273.94
  6/4/2017 Francisco Pantaleon                          $13.50   78.53   $   11.00                $ 260.10   $   260.10
 6/11/2017 Francisco Pantaleon                          $13.50   81.68   $   11.00                $ 281.36   $   281.36
 6/18/2017 Francisco Pantaleon                          $13.50   81.48   $   11.00                $ 280.01   $   280.01
 6/25/2017 Francisco Pantaleon                          $13.50   80.60   $   11.00                $ 274.05   $   274.05
  7/2/2017 Francisco Pantaleon                          $13.50   79.85   $   11.00                $ 268.99   $   268.99
  7/9/2017 Francisco Pantaleon                          $13.50   70.60   $   11.00                $ 206.55   $   206.55
 7/16/2017 Francisco Pantaleon                          $13.50   83.10   $   11.00                $ 290.93   $   290.93
 7/23/2017 Francisco Pantaleon                          $13.50   84.62   $   11.00                $ 301.16   $   301.16
 7/30/2017 Francisco Pantaleon                          $13.50   80.17   $   11.00                $ 271.13   $   271.13
  8/6/2017 Francisco Pantaleon                          $13.50   83.75   $   11.00                $ 295.31   $   295.31
 8/13/2017 Francisco Pantaleon                          $13.50   79.98   $   11.00                $ 269.89   $   269.89
 8/20/2017 Francisco Pantaleon                          $13.50   79.22   $   11.00                $ 264.71   $   264.71



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                                        New York City Computations


  Week                                                               State Section 7: Section 7: Total Section 7
                                                     Hourly Hours/
 Ending                          Name                              Minimum Regular Half-time Overtime Back
                                                      Rate Week
  Date                                                              Wage   Rate Due     Due       Wages Due

 8/27/2017 Francisco Pantaleon                          $13.50   81.03   $   11.00     $   276.98   $    276.98
  9/3/2017 Francisco Pantaleon                          $13.50   80.53   $   11.00     $   273.60   $    273.60
 9/10/2017 Francisco Pantaleon                          $13.50   77.50   $   11.00     $   253.13   $    253.13
 9/17/2017 Francisco Pantaleon                          $13.50   79.62   $   11.00     $   267.41   $    267.41
 9/24/2017 Francisco Pantaleon                          $13.50   83.80   $   11.00     $   295.65   $    295.65
 10/1/2017 Francisco Pantaleon                          $13.50   83.77   $   11.00     $   295.43   $    295.43
 10/8/2017 Francisco Pantaleon                          $13.50   83.08   $   11.00     $   290.81   $    290.81
10/15/2017 Francisco Pantaleon                          $13.50   83.93   $   11.00     $   296.55   $    296.55
10/22/2017 Francisco Pantaleon                          $13.50   84.22   $   11.00     $   298.46   $    298.46
10/29/2017 Francisco Pantaleon                          $13.50   79.58   $   11.00     $   267.19   $    267.19
 11/5/2017 Francisco Pantaleon                          $13.50   79.20   $   11.00     $   264.60   $    264.60
11/12/2017 Francisco Pantaleon                          $13.50   79.65   $   11.00     $   267.64   $    267.64
11/19/2017 Francisco Pantaleon                          $13.50   79.47   $   11.00     $   266.40   $    266.40
11/26/2017 Francisco Pantaleon                          $13.50   67.90   $   11.00     $   188.33   $    188.33
 12/3/2017 Francisco Pantaleon                          $13.50   79.98   $   11.00     $   269.89   $    269.89
12/10/2017 Francisco Pantaleon                          $13.50   86.35   $   11.00     $   312.86   $    312.86
12/17/2017 Francisco Pantaleon                          $13.50   81.33   $   11.00     $   279.00   $    279.00
12/24/2017 Francisco Pantaleon                          $13.50   81.77   $   11.00     $   281.93   $    281.93
12/31/2017 Francisco Pantaleon                          $13.50   68.57   $   13.00     $   192.83   $    192.83
  1/7/2018 Francisco Pantaleon                          $13.50   64.78   $   13.00     $   167.29   $    167.29
 1/14/2018 Francisco Pantaleon                          $13.50   85.50   $   13.00     $   307.13   $    307.13
 1/21/2018 Francisco Pantaleon                          $13.50   59.05   $   13.00     $   128.59   $    128.59
 3/25/2018 Francisco Pantaleon                          $13.50   57.45   $   13.00     $   117.79   $    117.79
  4/1/2018 Francisco Pantaleon                          $13.50   74.73   $   13.00     $   234.45   $    234.45
  4/8/2018 Francisco Pantaleon                          $13.50   82.30   $   13.00     $   285.53   $    285.53
 4/15/2018 Francisco Pantaleon                          $13.50   81.40   $   13.00     $   279.45   $    279.45
 4/22/2018 Francisco Pantaleon                          $13.50   82.75   $   13.00     $   288.56   $    288.56
 4/29/2018 Francisco Pantaleon                          $13.50   80.67   $   13.00     $   274.50   $    274.50
  5/6/2018 Francisco Pantaleon                          $13.50   80.45   $   13.00     $   273.04   $    273.04
 5/13/2018 Francisco Pantaleon                          $13.50   81.20   $   13.00     $   278.10   $    278.10
 5/20/2018 Francisco Pantaleon                          $13.50   81.28   $   13.00     $   278.66   $    278.66
 5/27/2018 Francisco Pantaleon                          $13.50   80.62   $   13.00     $   274.16   $    274.16
  6/3/2018 Francisco Pantaleon                          $13.50   85.68   $   13.00     $   308.36   $    308.36
 6/10/2018 Francisco Pantaleon                          $13.50   84.70   $   13.00     $   301.73   $    301.73
 6/17/2018 Francisco Pantaleon                          $13.50   81.22   $   13.00     $   278.21   $    278.21
 6/24/2018 Francisco Pantaleon                          $13.50   79.93   $   13.00     $   269.55   $    269.55
  7/1/2018 Francisco Pantaleon                          $13.50   81.63   $   13.00     $   281.03   $    281.03
  7/8/2018 Francisco Pantaleon                          $13.50   71.83   $   13.00     $   214.88   $    214.88
 7/15/2018 Francisco Pantaleon                          $13.50   81.03   $   13.00     $   276.98   $    276.98
 7/22/2018 Francisco Pantaleon                          $13.50   82.15   $   13.00     $   284.51   $    284.51
 7/29/2018 Francisco Pantaleon                          $13.50   93.08   $   13.00     $   358.31   $    358.31
  8/5/2018 Francisco Pantaleon                          $13.50   83.07   $   13.00     $   290.70   $    290.70
 8/12/2018 Francisco Pantaleon                          $13.50   82.40   $   13.00     $   286.20   $    286.20
 8/19/2018 Francisco Pantaleon                          $13.50   81.33   $   13.00     $   279.00   $    279.00
 8/26/2018 Francisco Pantaleon                          $13.50   94.48   $   13.00     $   367.76   $    367.76
  9/2/2018 Francisco Pantaleon                          $13.50   83.22   $   13.00     $   291.71   $    291.71
  9/9/2018 Francisco Pantaleon                          $13.50   82.22   $   13.00     $   284.96   $    284.96
 9/16/2018 Francisco Pantaleon                          $13.50   84.70   $   13.00     $   301.73   $    301.73
 9/23/2018 Francisco Pantaleon                          $13.50   82.08   $   13.00     $   284.06   $    284.06
 9/30/2018 Francisco Pantaleon                          $13.50   83.42   $   13.00     $   293.06   $    293.06
 10/7/2018 Francisco Pantaleon                          $13.50   85.55   $   13.00     $   307.46   $    307.46
10/14/2018 Francisco Pantaleon                          $13.50   84.50   $   13.00     $   300.38   $    300.38
10/21/2018 Francisco Pantaleon                          $13.50   74.95   $   13.00     $   235.91   $    235.91
10/28/2018 Francisco Pantaleon                          $13.50   83.15   $   13.00     $   291.26   $    291.26
 11/4/2018 Francisco Pantaleon                          $13.50   74.83   $   13.00     $   235.13   $    235.13
11/11/2018 Francisco Pantaleon                          $13.50   76.18   $   13.00     $   244.24   $    244.24
11/18/2018 Francisco Pantaleon                          $13.50   70.95   $   13.00     $   208.91   $    208.91
11/25/2018 Francisco Pantaleon                          $13.50   62.48   $   13.00     $   151.76   $    151.76



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                                                 Exhibit 3
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  Week                                                               State Section 7: Section 7: Total Section 7
                                                     Hourly Hours/
 Ending                          Name                              Minimum Regular Half-time Overtime Back
                                                      Rate Week
  Date                                                              Wage   Rate Due     Due       Wages Due

 12/2/2018 Francisco Pantaleon                          $13.50   74.22   $   13.00              $   230.96   $   230.96
 12/9/2018 Francisco Pantaleon                          $13.50   74.25   $   13.00              $   231.19   $   231.19
12/16/2018 Francisco Pantaleon                          $13.50   74.10   $   13.00              $   230.18   $   230.18
12/23/2018 Francisco Pantaleon                          $13.50   74.20   $   13.00              $   230.85   $   230.85
12/30/2018 Francisco Pantaleon                          $13.50   64.97   $   13.00              $   168.53   $   168.53
  1/6/2019 Francisco Pantaleon                          $13.50   57.72   $   15.00   $ 86.58    $   132.88   $   219.45
 1/13/2019 Francisco Pantaleon                          $13.50   74.13   $   15.00   $ 111.20   $   256.00   $   367.20
 1/20/2019 Francisco Pantaleon                          $13.50   74.02   $   15.00   $ 111.03   $   255.13   $   366.15
 1/27/2019 Francisco Pantaleon                          $13.50   74.00   $   15.00   $ 111.00   $   255.00   $   366.00
  2/3/2019 Francisco Pantaleon                          $13.50   74.05   $   15.00   $ 111.08   $   255.38   $   366.45
 2/10/2019 Francisco Pantaleon                          $13.50   73.97   $   15.00   $ 110.95   $   254.75   $   365.70
 2/17/2019 Francisco Pantaleon                          $13.50   73.18   $   15.00   $ 109.78   $   248.88   $   358.65
 2/24/2019 Francisco Pantaleon                          $13.50   74.20   $   15.00   $ 111.30   $   256.50   $   367.80
  3/3/2019 Francisco Pantaleon                          $13.50   74.48   $   15.00   $ 111.73   $   258.63   $   370.35
 3/10/2019 Francisco Pantaleon                          $13.50   74.07   $   15.00   $ 111.10   $   255.50   $   366.60
 3/17/2019 Francisco Pantaleon                          $13.50   74.05   $   15.00   $ 111.08   $   255.38   $   366.45
 3/24/2019 Francisco Pantaleon                          $13.50   74.92   $   15.00   $ 112.38   $   261.88   $   374.25
 3/31/2019 Francisco Pantaleon                          $13.50   73.58   $   15.00   $ 110.38   $   251.88   $   362.25
  4/7/2019 Francisco Pantaleon                          $13.50   74.27   $   15.00   $ 111.40   $   257.00   $   368.40
 4/14/2019 Francisco Pantaleon                          $13.50   73.93   $   15.00   $ 110.90   $   254.50   $   365.40
 4/21/2019 Francisco Pantaleon                          $13.50   72.95   $   15.00   $ 109.43   $   247.13   $   356.55
 4/28/2019 Francisco Pantaleon                          $13.50   74.12   $   15.00   $ 111.18   $   255.88   $   367.05
  5/5/2019 Francisco Pantaleon                          $13.50   83.43   $   15.00   $ 125.15   $   325.75   $   450.90
 5/12/2019 Francisco Pantaleon                          $13.50   85.97   $   15.00   $ 128.95   $   344.75   $   473.70
 5/19/2019 Francisco Pantaleon                          $13.50   88.30   $   15.00   $ 132.45   $   362.25   $   494.70
 5/26/2019 Francisco Pantaleon                          $13.50   85.95   $   15.00   $ 128.93   $   344.63   $   473.55
  6/2/2019 Francisco Pantaleon                          $13.50   70.82   $   15.00   $ 106.23   $   231.13   $   337.35
  6/9/2019 Francisco Pantaleon                          $13.50   83.75   $   15.00   $ 125.63   $   328.13   $   453.75
 6/16/2019 Francisco Pantaleon                          $13.50   85.43   $   15.00   $ 128.15   $   340.75   $   468.90
 6/23/2019 Francisco Pantaleon                          $13.50   81.75   $   15.00   $ 122.63   $   313.13   $   435.75
 6/30/2019 Francisco Pantaleon                          $13.50   86.08   $   15.00   $ 129.13   $   345.63   $   474.75
  7/7/2019 Francisco Pantaleon                          $13.50   70.48   $   15.00   $ 105.73   $   228.63   $   334.35
 7/14/2019 Francisco Pantaleon                          $13.50   86.40   $   15.00   $ 129.60   $   348.00   $   477.60
 7/21/2019 Francisco Pantaleon                          $13.50   86.60   $   15.00   $ 129.90   $   349.50   $   479.40
 7/28/2019 Francisco Pantaleon                          $13.50   86.73   $   15.00   $ 130.10   $   350.50   $   480.60
  8/4/2019 Francisco Pantaleon                          $13.50   87.67   $   15.00   $ 131.50   $   357.50   $   489.00
 8/11/2019 Francisco Pantaleon                          $13.50   86.03   $   15.00   $ 129.05   $   345.25   $   474.30
 8/18/2019 Francisco Pantaleon                          $13.50   85.10   $   15.00   $ 127.65   $   338.25   $   465.90
 8/25/2019 Francisco Pantaleon                          $13.50   85.75   $   15.00   $ 128.63   $   343.13   $   471.75
  9/1/2019 Francisco Pantaleon                          $13.50   84.67   $   15.00   $ 127.00   $   335.00   $   462.00
  9/8/2019 Francisco Pantaleon                          $13.50   83.35   $   15.00   $ 125.03   $   325.13   $   450.15
 9/15/2019 Francisco Pantaleon                          $13.50   85.12   $   15.00   $ 127.68   $   338.38   $   466.05
 9/22/2019 Francisco Pantaleon                          $13.50   86.02   $   15.00   $ 129.03   $   345.13   $   474.15
 9/29/2019 Francisco Pantaleon                          $13.50   86.18   $   15.00   $ 129.28   $   346.38   $   475.65
 10/6/2019 Francisco Pantaleon                          $13.50   86.35   $   15.00   $ 129.53   $   347.63   $   477.15
10/13/2019 Francisco Pantaleon                          $13.50   85.48   $   15.00   $ 128.23   $   341.13   $   469.35
10/20/2019 Francisco Pantaleon                          $13.50   85.83   $   15.00   $ 128.75   $   343.75   $   472.50
10/27/2019 Francisco Pantaleon                          $13.50   86.50   $   15.00   $ 129.75   $   348.75   $   478.50
 11/3/2019 Francisco Pantaleon                          $13.50   86.18   $   15.00   $ 129.28   $   346.38   $   475.65
11/10/2019 Francisco Pantaleon                          $13.50   85.75   $   15.00   $ 128.63   $   343.13   $   471.75
11/17/2019 Francisco Pantaleon                          $13.50   86.95   $   15.00   $ 130.43   $   352.13   $   482.55
11/24/2019 Francisco Pantaleon                          $13.50   85.13   $   15.00   $ 127.70   $   338.50   $   466.20
 12/1/2019 Francisco Pantaleon                          $13.50   74.00   $   15.00   $ 111.00   $   255.00   $   366.00
 12/8/2019 Francisco Pantaleon                          $13.50   86.77   $   15.00   $ 130.15   $   350.75   $   480.90
12/15/2019 Francisco Pantaleon                          $13.50   85.42   $   15.00   $ 128.13   $   340.63   $   468.75
12/22/2019 Francisco Pantaleon                          $13.50   86.33   $   15.00   $ 129.50   $   347.50   $   477.00
12/29/2019 Francisco Pantaleon                          $13.50   69.45   $   15.00   $ 104.18   $   220.88   $   325.05
  1/5/2020 Francisco Pantaleon                          $13.50   72.15   $   15.00   $ 108.23   $   241.13   $   349.35



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                                                  Exhibit 3
                                         New York City Computations


  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

 1/12/2020 Francisco Pantaleon                           $13.50   74.68   $   15.00   $   112.03   $ 260.13   $   372.15
 1/19/2020 Francisco Pantaleon                           $13.50   76.08   $   15.00   $   114.13   $ 270.63   $   384.75
 1/26/2020 Francisco Pantaleon                           $13.50   88.10   $   15.00   $   132.15   $ 360.75   $   492.90
 1/20/2019 Frank Camacho                                 $10.00   53.00   $   15.00   $   265.00   $ 97.50    $   362.50
 1/27/2019 Frank Camacho                                 $10.00   54.73   $   15.00   $   273.67   $ 110.50   $   384.17
  2/3/2019 Frank Camacho                                 $10.00   54.22   $   15.00   $   271.08   $ 106.63   $   377.71
 2/10/2019 Frank Camacho                                 $10.00   54.45   $   15.00   $   272.25   $ 108.38   $   380.63
 2/17/2019 Frank Camacho                                 $10.00   54.38   $   15.00   $   271.92   $ 107.88   $   379.79
 2/24/2019 Frank Camacho                                 $10.00   54.77   $   15.00   $   273.83   $ 110.75   $   384.58
  3/3/2019 Frank Camacho                                 $10.00   54.40   $   15.00   $   272.00   $ 108.00   $   380.00
 3/10/2019 Frank Camacho                                 $10.00   54.55   $   15.00   $   272.75   $ 109.13   $   381.88
 3/17/2019 Frank Camacho                                 $10.00   54.85   $   15.00   $   274.25   $ 111.38   $   385.63
 3/24/2019 Frank Camacho                                 $10.00   54.65   $   15.00   $   273.25   $ 109.88   $   383.13
 3/31/2019 Frank Camacho                                 $10.00   54.42   $   15.00   $   272.08   $ 108.13   $   380.21
  4/7/2019 Frank Camacho                                 $10.00   54.62   $   15.00   $   273.08   $ 109.63   $   382.71
 4/14/2019 Frank Camacho                                 $10.00   46.12   $   15.00   $   230.58   $ 45.88    $   276.46
 1/13/2019 Franklin Mundle                               $12.00   44.20   $   15.00   $   132.60   $ 31.50    $   164.10
 1/20/2019 Franklin Mundle                               $12.00   50.83   $   15.00   $   152.50   $ 81.25    $   233.75
 1/27/2019 Franklin Mundle                               $12.00   56.42   $   15.00   $   169.25   $ 123.13   $   292.38
  2/3/2019 Franklin Mundle                               $12.00   49.50   $   15.00   $   148.50   $ 71.25    $   219.75
 2/10/2019 Franklin Mundle                               $12.00   49.08   $   15.00   $   147.25   $ 68.13    $   215.38
  3/3/2019 Franklin Mundle                               $12.00   44.87   $   15.00   $   134.60   $ 36.50    $   171.10
 3/17/2019 Franklin Mundle                               $12.00   44.50   $   15.00   $   133.50   $ 33.75    $   167.25
 3/24/2019 Franklin Mundle                               $12.00   43.40   $   15.00   $   130.20   $ 25.50    $   155.70
 3/31/2019 Franklin Mundle                               $12.00   42.70   $   15.00   $   128.10   $ 20.25    $   148.35
  4/7/2019 Franklin Mundle                               $12.00   40.07   $   15.00   $   120.20   $   0.50   $   120.70
 4/21/2019 Franklin Mundle                               $12.00   43.12   $   15.00   $   129.35   $ 23.38    $   152.73
  5/5/2019 Franklin Mundle                               $12.00   40.80   $   15.00   $   122.40   $   6.00   $   128.40
 5/19/2019 Franklin Mundle                               $12.00   49.62   $   15.00   $   148.85   $ 72.12    $   220.98
  2/3/2019 Fulvio Rosario Fernandez                      $19.00   51.53   $   15.00                $ 109.57   $   109.57
 2/10/2019 Fulvio Rosario Fernandez                      $19.00   57.90   $   15.00                $ 170.05   $   170.05
 2/17/2019 Fulvio Rosario Fernandez                      $19.00   54.92   $   15.00                $ 141.71   $   141.71
 2/24/2019 Fulvio Rosario Fernandez                      $19.00   48.52   $   15.00                $ 80.91    $    80.91
  3/3/2019 Fulvio Rosario Fernandez                      $19.00   57.77   $   15.00                $ 168.78   $   168.78
 3/10/2019 Fulvio Rosario Fernandez                      $19.00   57.30   $   15.00                $ 164.35   $   164.35
 3/17/2019 Fulvio Rosario Fernandez                      $19.00   57.42   $   15.00                $ 165.46   $   165.46
 3/24/2019 Fulvio Rosario Fernandez                      $19.00   57.42   $   15.00                $ 165.46   $   165.46
 3/31/2019 Fulvio Rosario Fernandez                      $19.00   58.58   $   15.00                $ 176.54   $   176.54
  4/7/2019 Fulvio Rosario Fernandez                      $19.00   57.33   $   15.00                $ 164.67   $   164.67
 4/14/2019 Fulvio Rosario Fernandez                      $19.00   58.00   $   15.00                $ 171.00   $   171.00
 4/21/2019 Fulvio Rosario Fernandez                      $19.00   57.52   $   15.00                $ 166.41   $   166.41
 4/28/2019 Fulvio Rosario Fernandez                      $19.00   57.02   $   15.00                $ 161.66   $   161.66
  5/5/2019 Fulvio Rosario Fernandez                      $19.00   48.62   $   15.00                $ 81.86    $    81.86
 5/12/2019 Fulvio Rosario Fernandez                      $19.00   48.02   $   15.00                $ 76.16    $    76.16
 5/19/2019 Fulvio Rosario Fernandez                      $19.00   67.23   $   15.00                $ 258.72   $   258.72
 5/26/2019 Fulvio Rosario Fernandez                      $19.00   64.95   $   15.00                $ 237.03   $   237.03
  6/2/2019 Fulvio Rosario Fernandez                      $19.00   53.95   $   15.00                $ 132.53   $   132.53
  6/9/2019 Fulvio Rosario Fernandez                      $19.00   63.17   $   15.00                $ 220.08   $   220.08
 6/16/2019 Fulvio Rosario Fernandez                      $19.00   52.77   $   15.00                $ 121.28   $   121.28
 6/30/2019 Fulvio Rosario Fernandez                      $19.00   65.67   $   15.00                $ 243.83   $   243.83
  7/7/2019 Fulvio Rosario Fernandez                      $19.00   48.37   $   15.00                $ 79.48    $    79.48
 7/14/2019 Fulvio Rosario Fernandez                      $19.00   58.23   $   15.00                $ 173.22   $   173.22
 7/21/2019 Fulvio Rosario Fernandez                      $19.00   62.25   $   15.00                $ 211.38   $   211.38
 7/28/2019 Fulvio Rosario Fernandez                      $19.00   61.58   $   15.00                $ 205.04   $   205.04
 8/11/2019 Fulvio Rosario Fernandez                      $19.00   66.47   $   15.00                $ 251.43   $   251.43
 8/18/2019 Fulvio Rosario Fernandez                      $19.00   61.22   $   15.00                $ 201.56   $   201.56
 8/25/2019 Fulvio Rosario Fernandez                      $19.00   70.60   $   15.00                $ 290.70   $   290.70
  9/1/2019 Fulvio Rosario Fernandez                      $19.00   57.25   $   15.00                $ 163.88   $   163.88



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  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

  9/8/2019 Fulvio Rosario Fernandez                      $19.00   56.40   $   15.00                $ 155.80   $   155.80
 9/15/2019 Fulvio Rosario Fernandez                      $19.00   65.45   $   15.00                $ 241.78   $   241.78
 9/22/2019 Fulvio Rosario Fernandez                      $19.00   51.72   $   15.00                $ 111.31   $   111.31
 9/29/2019 Fulvio Rosario Fernandez                      $19.00   51.63   $   15.00                $ 110.52   $   110.52
 10/6/2019 Fulvio Rosario Fernandez                      $19.00   64.80   $   15.00                $ 235.60   $   235.60
10/13/2019 Fulvio Rosario Fernandez                      $19.00   68.92   $   15.00                $ 274.71   $   274.71
10/20/2019 Fulvio Rosario Fernandez                      $19.00   64.05   $   15.00                $ 228.48   $   228.48
10/27/2019 Fulvio Rosario Fernandez                      $19.00   57.40   $   15.00                $ 165.30   $   165.30
 11/3/2019 Fulvio Rosario Fernandez                      $19.00   62.60   $   15.00                $ 214.70   $   214.70
11/10/2019 Fulvio Rosario Fernandez                      $19.00   66.55   $   15.00                $ 252.23   $   252.23
11/17/2019 Fulvio Rosario Fernandez                      $19.00   54.23   $   15.00                $ 135.22   $   135.22
11/24/2019 Fulvio Rosario Fernandez                      $19.00   62.57   $   15.00                $ 214.38   $   214.38
 12/1/2019 Fulvio Rosario Fernandez                      $19.00   55.55   $   15.00                $ 147.73   $   147.73
 12/8/2019 Fulvio Rosario Fernandez                      $19.00   59.58   $   15.00                $ 186.04   $   186.04
12/15/2019 Fulvio Rosario Fernandez                      $19.00   64.57   $   15.00                $ 233.38   $   233.38
12/22/2019 Fulvio Rosario Fernandez                      $19.00   63.55   $   15.00                $ 223.73   $   223.73
12/29/2019 Fulvio Rosario Fernandez                      $19.00   42.97   $   15.00                $ 28.18    $    28.18
  1/5/2020 Fulvio Rosario Fernandez                      $19.00   53.43   $   15.00                $ 127.62   $   127.62
 1/12/2020 Fulvio Rosario Fernandez                      $19.00   44.58   $   15.00                $ 43.54    $    43.54
 1/19/2020 Fulvio Rosario Fernandez                      $19.00   67.68   $   15.00                $ 262.99   $   262.99
 1/26/2020 Fulvio Rosario Fernandez                      $19.00   63.75   $   15.00                $ 225.63   $   225.63
 1/20/2019 Garibaldi Cuello                              $11.00   63.85   $   15.00   $   255.40   $ 178.88   $   434.28
 1/27/2019 Garibaldi Cuello                              $11.00   63.18   $   15.00   $   252.73   $ 173.88   $   426.61
  2/3/2019 Garibaldi Cuello                              $11.00   62.98   $   15.00   $   251.93   $ 172.38   $   424.31
 2/10/2019 Garibaldi Cuello                              $11.00   64.32   $   15.00   $   257.27   $ 182.38   $   439.64
 2/17/2019 Garibaldi Cuello                              $11.00   63.80   $   15.00   $   255.20   $ 178.50   $   433.70
 2/24/2019 Garibaldi Cuello                              $11.00   64.38   $   15.00   $   257.53   $ 182.88   $   440.41
  3/3/2019 Garibaldi Cuello                              $11.00   61.43   $   15.00   $   245.73   $ 160.75   $   406.48
 3/10/2019 Garibaldi Cuello                              $11.00   62.85   $   15.00   $   251.40   $ 171.38   $   422.78
 3/17/2019 Garibaldi Cuello                              $11.00   63.32   $   15.00   $   253.27   $ 174.88   $   428.14
 3/24/2019 Garibaldi Cuello                              $11.00   64.13   $   15.00   $   256.53   $ 181.00   $   437.53
 3/31/2019 Garibaldi Cuello                              $11.00   64.77   $   15.00   $   259.07   $ 185.75   $   444.82
  4/7/2019 Garibaldi Cuello                              $11.00   65.22   $   15.00   $   260.87   $ 189.13   $   449.99
 4/14/2019 Garibaldi Cuello                              $11.00   65.33   $   15.00   $   261.33   $ 190.00   $   451.33
 4/21/2019 Garibaldi Cuello                              $11.00   65.62   $   15.00   $   262.47   $ 192.13   $   454.59
 4/28/2019 Garibaldi Cuello                              $11.00   65.63   $   15.00   $   262.53   $ 192.25   $   454.78
  5/5/2019 Garibaldi Cuello                              $11.00   69.52   $   15.00   $   278.07   $ 221.38   $   499.44
 5/12/2019 Garibaldi Cuello                              $11.00   71.88   $   15.00   $   287.53   $ 239.13   $   526.66
 5/19/2019 Garibaldi Cuello                              $11.00   70.60   $   15.00   $   282.40   $ 229.50   $   511.90
 5/26/2019 Garibaldi Cuello                              $11.00   71.77   $   15.00   $   287.07   $ 238.25   $   525.32
  6/2/2019 Garibaldi Cuello                              $11.00   70.13   $   15.00   $   280.53   $ 226.00   $   506.53
  6/9/2019 Garibaldi Cuello                              $11.00   71.87   $   15.00   $   287.47   $ 239.00   $   526.47
 6/16/2019 Garibaldi Cuello                              $11.00   71.57   $   15.00   $   286.27   $ 236.75   $   523.02
 6/23/2019 Garibaldi Cuello                              $11.00   71.35   $   15.00   $   285.40   $ 235.13   $   520.53
 6/30/2019 Garibaldi Cuello                              $11.00   65.55   $   15.00   $   262.20   $ 191.63   $   453.83
  7/7/2019 Garibaldi Cuello                              $11.50   55.18   $   15.00   $   193.14   $ 113.88   $   307.02
 7/14/2019 Garibaldi Cuello                              $11.50   66.43   $   15.00   $   232.52   $ 198.25   $   430.77
 7/21/2019 Garibaldi Cuello                              $11.50   61.65   $   15.00   $   215.78   $ 162.38   $   378.15
 7/28/2019 Garibaldi Cuello                              $11.50   62.83   $   15.00   $   219.92   $ 171.25   $   391.17
  8/4/2019 Garibaldi Cuello                              $11.50   62.80   $   15.00   $   219.80   $ 171.00   $   390.80
 8/11/2019 Garibaldi Cuello                              $11.50   62.33   $   15.00   $   218.17   $ 167.50   $   385.67
 8/18/2019 Garibaldi Cuello                              $11.50   63.22   $   15.00   $   221.26   $ 174.13   $   395.38
 8/25/2019 Garibaldi Cuello                              $11.50   63.77   $   15.00   $   223.18   $ 178.25   $   401.43
  9/1/2019 Garibaldi Cuello                              $11.50   64.22   $   15.00   $   224.76   $ 181.63   $   406.38
  9/8/2019 Garibaldi Cuello                              $11.50   63.42   $   15.00   $   221.96   $ 175.63   $   397.58
 9/15/2019 Garibaldi Cuello                              $11.50   64.12   $   15.00   $   224.41   $ 180.88   $   405.28
 9/22/2019 Garibaldi Cuello                              $11.50   63.42   $   15.00   $   221.96   $ 175.63   $   397.58
 9/29/2019 Garibaldi Cuello                              $11.50   62.80   $   15.00   $   219.80   $ 171.00   $   390.80



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  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

 10/6/2019 Garibaldi Cuello                              $11.50   63.80   $   15.00   $ 223.30   $ 178.50   $   401.80
10/13/2019 Garibaldi Cuello                              $11.50   64.00   $   15.00   $ 224.00   $ 180.00   $   404.00
10/20/2019 Garibaldi Cuello                              $11.50   61.68   $   15.00   $ 215.89   $ 162.63   $   378.52
10/27/2019 Garibaldi Cuello                              $11.50   61.58   $   15.00   $ 215.54   $ 161.88   $   377.42
11/10/2019 Garibaldi Cuello                              $11.50   62.95   $   15.00   $ 220.33   $ 172.13   $   392.45
11/17/2019 Garibaldi Cuello                              $11.50   63.73   $   15.00   $ 223.07   $ 178.00   $   401.07
11/24/2019 Garibaldi Cuello                              $11.50   64.70   $   15.00   $ 226.45   $ 185.25   $   411.70
 12/1/2019 Garibaldi Cuello                              $11.50   55.25   $   15.00   $ 193.38   $ 114.38   $   307.75
 12/8/2019 Garibaldi Cuello                              $11.50   67.65   $   15.00   $ 236.78   $ 207.38   $   444.15
12/15/2019 Garibaldi Cuello                              $11.50   67.78   $   15.00   $ 237.24   $ 208.38   $   445.62
12/22/2019 Garibaldi Cuello                              $11.50   68.98   $   15.00   $ 241.44   $ 217.38   $   458.82
12/29/2019 Garibaldi Cuello                              $11.50   54.08   $   15.00   $ 189.29   $ 105.63   $   294.92
  1/5/2020 Garibaldi Cuello                              $11.50   54.70   $   15.00   $ 191.45   $ 110.25   $   301.70
 1/12/2020 Garibaldi Cuello                              $11.50   69.40   $   15.00   $ 242.90   $ 220.50   $   463.40
 1/19/2020 Garibaldi Cuello                              $11.50   68.33   $   15.00   $ 239.17   $ 212.50   $   451.67
 1/26/2020 Garibaldi Cuello                              $11.50   68.88   $   15.00   $ 241.09   $ 216.63   $   457.72
11/26/2017 Genaro Arier Fabian Moran                      $9.50   48.45   $   11.00   $ 72.68    $ 46.48    $   119.15
 12/3/2017 Genaro Arier Fabian Moran                      $9.50   65.92   $   11.00   $ 98.88    $ 142.54   $   241.42
12/10/2017 Genaro Arier Fabian Moran                      $9.50   66.13   $   11.00   $ 99.20    $ 143.73   $   242.93
12/17/2017 Genaro Arier Fabian Moran                      $9.50   64.42   $   11.00   $ 96.63    $ 134.29   $   230.92
12/24/2017 Genaro Arier Fabian Moran                      $9.50   68.52   $   11.00   $ 102.78   $ 156.84   $   259.62
12/31/2017 Genaro Arier Fabian Moran                      $9.50   55.33   $   13.00   $ 193.67   $ 99.67    $   293.33
 1/14/2018 Genaro Arier Fabian Moran                      $9.50   61.45   $   13.00   $ 215.08   $ 139.43   $   354.50
 1/21/2018 Genaro Arier Fabian Moran                      $9.50   63.27   $   13.00   $ 221.43   $ 151.23   $   372.67
 1/28/2018 Genaro Arier Fabian Moran                      $9.50   58.73   $   13.00   $ 205.57   $ 121.77   $   327.33
  2/4/2018 Genaro Arier Fabian Moran                      $9.50   65.55   $   13.00   $ 229.43   $ 166.08   $   395.50
 2/11/2018 Genaro Arier Fabian Moran                      $9.50   57.78   $   13.00   $ 202.24   $ 115.59   $   317.83
 2/18/2018 Genaro Arier Fabian Moran                      $9.50   64.20   $   13.00   $ 224.70   $ 157.30   $   382.00
 2/25/2018 Genaro Arier Fabian Moran                      $9.50   56.00   $   13.00   $ 196.00   $ 104.00   $   300.00
  3/4/2018 Genaro Arier Fabian Moran                      $9.50   61.73   $   13.00   $ 216.07   $ 141.27   $   357.33
 3/25/2018 Genaro Arier Fabian Moran                      $9.50   43.67   $   13.00   $ 152.83   $ 23.83    $   176.67
  4/1/2018 Genaro Arier Fabian Moran                      $9.50   62.63   $   13.00   $ 219.22   $ 147.12   $   366.33
  4/8/2018 Genaro Arier Fabian Moran                      $9.50   64.32   $   13.00   $ 225.11   $ 158.06   $   383.17
 4/15/2018 Genaro Arier Fabian Moran                      $9.50   70.70   $   13.00   $ 247.45   $ 199.55   $   447.00
 4/22/2018 Genaro Arier Fabian Moran                      $9.50   65.32   $   13.00   $ 228.61   $ 164.56   $   393.17
 4/29/2018 Genaro Arier Fabian Moran                      $9.50   56.77   $   13.00   $ 198.68   $ 108.98   $   307.67
 5/20/2018 Genaro Arier Fabian Moran                      $9.50   41.33   $   13.00   $ 144.67   $   8.67   $   153.33
 5/27/2018 Genaro Arier Fabian Moran                      $9.50   41.80   $   13.00   $ 146.30   $ 11.70    $   158.00
  6/3/2018 Genaro Arier Fabian Moran                      $9.50   67.40   $   13.00   $ 235.90   $ 178.10   $   414.00
 6/10/2018 Genaro Arier Fabian Moran                      $9.50   69.32   $   13.00   $ 242.61   $ 190.56   $   433.17
 6/17/2018 Genaro Arier Fabian Moran                      $9.50   59.63   $   13.00   $ 208.72   $ 127.62   $   336.33
 6/24/2018 Genaro Arier Fabian Moran                      $9.50   64.28   $   13.00   $ 224.99   $ 157.84   $   382.83
  7/1/2018 Genaro Arier Fabian Moran                      $9.50   68.03   $   13.00   $ 238.12   $ 182.22   $   420.33
  7/8/2018 Genaro Arier Fabian Moran                      $9.50   56.55   $   13.00   $ 197.93   $ 107.58   $   305.50
 7/15/2018 Genaro Arier Fabian Moran                      $9.50   65.10   $   13.00   $ 227.85   $ 163.15   $   391.00
 7/29/2018 Genaro Arier Fabian Moran                      $9.50   61.17   $   13.00   $ 214.08   $ 137.58   $   351.67
  8/5/2018 Genaro Arier Fabian Moran                      $9.50   65.65   $   13.00   $ 229.78   $ 166.73   $   396.50
  5/7/2017 Geraldo Aguasanta                              $9.00   47.33   $   11.00   $ 94.67    $ 40.33    $   135.00
 5/14/2017 Geraldo Aguasanta                              $9.00   46.68   $   11.00   $ 93.37    $ 36.76    $   130.13
 5/21/2017 Geraldo Aguasanta                              $9.00   47.02   $   11.00   $ 94.03    $ 38.59    $   132.63
 5/28/2017 Geraldo Aguasanta                              $9.00   44.97   $   11.00   $ 89.93    $ 27.32    $   117.25
 6/11/2017 Geraldo Aguasanta                              $9.00   46.67   $   11.00   $ 93.33    $ 36.67    $   130.00
 6/18/2017 Geraldo Aguasanta                              $9.00   45.37   $   11.00   $ 90.73    $ 29.52    $   120.25
 6/25/2017 Geraldo Aguasanta                              $9.00   47.00   $   11.00   $ 94.00    $ 38.50    $   132.50
  7/2/2017 Geraldo Aguasanta                              $9.00   47.05   $   11.00   $ 94.10    $ 38.78    $   132.88
  7/9/2017 Geraldo Aguasanta                              $9.00   40.08   $   11.00   $ 80.17    $   0.46   $    80.63
 7/16/2017 Geraldo Aguasanta                              $9.00   40.55   $   11.00   $ 81.10    $   3.02   $    84.13
 7/23/2017 Geraldo Aguasanta                              $9.00   48.03   $   11.00   $ 96.07    $ 44.18    $   140.25



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                                               Exhibit 3
                                      New York City Computations


  Week                                                             State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
 Ending                        Name                              Minimum Regular Half-time Overtime Back
                                                    Rate Week
  Date                                                            Wage   Rate Due     Due       Wages Due

 7/30/2017 Geraldo Aguasanta                           $9.00   47.22   $   11.00   $ 94.43    $   39.69   $   134.13
  8/6/2017 Geraldo Aguasanta                           $9.00   47.82   $   11.00   $ 95.63    $   42.99   $   138.63
 8/13/2017 Geraldo Aguasanta                           $9.00   40.27   $   11.00   $ 80.53    $    1.47   $    82.00
 8/20/2017 Geraldo Aguasanta                           $9.00   47.50   $   11.00   $ 95.00    $   41.25   $   136.25
 8/27/2017 Geraldo Aguasanta                           $9.00   47.52   $   11.00   $ 95.03    $   41.34   $   136.38
  9/3/2017 Geraldo Aguasanta                           $9.00   47.12   $   11.00   $ 94.23    $   39.14   $   133.38
 9/17/2017 Geraldo Aguasanta                           $9.00   46.63   $   11.00   $ 93.27    $   36.48   $   129.75
 9/24/2017 Geraldo Aguasanta                           $9.00   47.62   $   11.00   $ 95.23    $   41.89   $   137.13
 10/1/2017 Geraldo Aguasanta                           $9.00   47.83   $   11.00   $ 95.67    $   43.08   $   138.75
10/15/2017 Geraldo Aguasanta                           $9.00   47.85   $   11.00   $ 95.70    $   43.18   $   138.88
10/22/2017 Geraldo Aguasanta                           $9.00   46.75   $   11.00   $ 93.50    $   37.13   $   130.63
10/29/2017 Geraldo Aguasanta                           $9.00   46.90   $   11.00   $ 93.80    $   37.95   $   131.75
 11/5/2017 Geraldo Aguasanta                           $9.00   47.02   $   11.00   $ 94.03    $   38.59   $   132.63
11/12/2017 Geraldo Aguasanta                           $9.00   46.90   $   11.00   $ 93.80    $   37.95   $   131.75
11/19/2017 Geraldo Aguasanta                           $9.00   46.85   $   11.00   $ 93.70    $   37.68   $   131.38
 12/3/2017 Geraldo Aguasanta                           $9.00   41.27   $   11.00   $ 82.53    $    6.97   $    89.50
12/10/2017 Geraldo Aguasanta                           $9.00   46.10   $   11.00   $ 92.20    $   33.55   $   125.75
12/17/2017 Geraldo Aguasanta                           $9.00   46.72   $   11.00   $ 93.43    $   36.94   $   130.38
12/24/2017 Geraldo Aguasanta                           $9.00   47.42   $   11.00   $ 94.83    $   40.79   $   135.63
 1/14/2018 Geraldo Aguasanta                           $9.00   46.63   $   13.00   $ 186.53   $   43.12   $   229.65
 1/21/2018 Geraldo Aguasanta                           $9.00   48.37   $   13.00   $ 193.47   $   54.38   $   247.85
  2/4/2018 Geraldo Aguasanta                           $9.00   42.00   $   13.00   $ 168.00   $   13.00   $   181.00
 10/7/2018 Geraldo Aguasanta                          $11.00   41.67   $   13.00   $ 83.33    $   10.83   $    94.17
10/14/2018 Geraldo Aguasanta                          $11.00   40.52   $   13.00   $ 81.03    $    3.36   $    84.39
10/28/2018 Geraldo Aguasanta                          $11.00   40.80   $   13.00   $ 81.60    $    5.20   $    86.80
 11/4/2018 Geraldo Aguasanta                          $11.00   41.28   $   13.00   $ 82.57    $    8.34   $    90.91
11/11/2018 Geraldo Aguasanta                          $11.00   41.17   $   13.00   $ 82.33    $    7.58   $    89.92
11/18/2018 Geraldo Aguasanta                          $11.00   42.03   $   13.00   $ 84.07    $   13.22   $    97.28
 12/9/2018 Geraldo Aguasanta                          $11.00   41.32   $   13.00   $ 82.63    $    8.56   $    91.19
12/23/2018 Geraldo Aguasanta                          $11.00   41.90   $   13.00   $ 83.80    $   12.35   $    96.15
 1/13/2019 Geraldo Aguasanta                          $11.00   40.37   $   15.00   $ 161.47   $    2.75   $   164.22
 1/20/2019 Geraldo Aguasanta                          $11.00   41.82   $   15.00   $ 167.27   $   13.63   $   180.89
  2/3/2019 Geraldo Aguasanta                          $11.00   40.55   $   15.00   $ 162.20   $    4.13   $   166.33
 2/10/2019 Geraldo Aguasanta                          $11.00   41.72   $   15.00   $ 166.87   $   12.88   $   179.74
 2/17/2019 Geraldo Aguasanta                          $11.00   41.77   $   15.00   $ 167.07   $   13.25   $   180.32
 2/24/2019 Geraldo Aguasanta                          $11.00   41.02   $   15.00   $ 164.07   $    7.62   $   171.69
 3/10/2019 Geraldo Aguasanta                          $11.00   40.23   $   15.00   $ 160.93   $    1.75   $   162.68
 3/17/2019 Geraldo Aguasanta                          $11.00   41.73   $   15.00   $ 166.93   $   13.00   $   179.93
 3/24/2019 Geraldo Aguasanta                          $11.00   41.43   $   15.00   $ 165.73   $   10.75   $   176.48
 3/31/2019 Geraldo Aguasanta                          $11.00   40.83   $   15.00   $ 163.33   $    6.25   $   169.58
  4/7/2019 Geraldo Aguasanta                          $11.00   41.68   $   15.00   $ 166.73   $   12.63   $   179.36
 4/14/2019 Geraldo Aguasanta                          $11.00   40.70   $   15.00   $ 162.80   $    5.25   $   168.05
 4/21/2019 Geraldo Aguasanta                          $11.00   40.93   $   15.00   $ 163.73   $    7.00   $   170.73
  5/5/2019 Geraldo Aguasanta                          $11.00   41.57   $   15.00   $ 166.27   $   11.75   $   178.02
 5/19/2019 Geraldo Aguasanta                          $11.00   41.58   $   15.00   $ 166.33   $   11.88   $   178.21
  6/2/2019 Geraldo Aguasanta                          $11.00   42.25   $   15.00   $ 169.00   $   16.88   $   185.88
 6/16/2019 Geraldo Aguasanta                          $11.00   40.78   $   15.00   $ 163.13   $    5.87   $   169.01
 6/30/2019 Geraldo Aguasanta                          $11.00   41.40   $   15.00   $ 165.60   $   10.50   $   176.10
  7/7/2019 Geraldo Aguasanta                          $11.00   40.83   $   15.00   $ 163.33   $    6.25   $   169.58
 7/14/2019 Geraldo Aguasanta                          $11.00   41.67   $   15.00   $ 166.67   $   12.50   $   179.17
 7/21/2019 Geraldo Aguasanta                          $11.00   44.58   $   15.00   $ 178.33   $   34.38   $   212.71
  8/4/2019 Geraldo Aguasanta                          $11.00   43.08   $   15.00   $ 172.33   $   23.13   $   195.46
 8/11/2019 Geraldo Aguasanta                          $11.00   42.43   $   15.00   $ 169.73   $   18.25   $   187.98
 8/25/2019 Geraldo Aguasanta                          $11.00   44.52   $   15.00   $ 178.07   $   33.88   $   211.94
  9/8/2019 Geraldo Aguasanta                          $11.00   41.18   $   15.00   $ 164.73   $    8.88   $   173.61
 9/15/2019 Geraldo Aguasanta                          $11.00   40.83   $   15.00   $ 163.33   $    6.25   $   169.58
 9/22/2019 Geraldo Aguasanta                          $11.00   40.47   $   15.00   $ 161.87   $    3.50   $   165.37
 9/29/2019 Geraldo Aguasanta                          $11.00   40.30   $   15.00   $ 161.20   $    2.25   $   163.45



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                                                           Exhibit 3
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  Week                                                                         State Section 7: Section 7: Total Section 7
                                                               Hourly Hours/
 Ending                           Name                                       Minimum Regular Half-time Overtime Back
                                                                Rate Week
  Date                                                                        Wage   Rate Due     Due       Wages Due

 10/6/2019 Geraldo Aguasanta                                      $11.00   40.57   $   15.00   $   162.27   $   4.25   $   166.52
10/13/2019 Geraldo Aguasanta                                      $11.00   41.02   $   15.00   $   164.07   $   7.62   $   171.69
 11/3/2019 Geraldo Aguasanta                                      $11.00   40.15   $   15.00   $   160.60   $   1.12   $   161.73
11/24/2019 Geraldo Aguasanta                                      $11.00   40.37   $   15.00   $   161.47   $   2.75   $   164.22
12/15/2019 Geraldo Aguasanta                                      $11.00   40.23   $   15.00   $   160.93   $   1.75   $   162.68
 1/19/2020 Geraldo Aguasanta                                      $11.00   40.35   $   15.00   $   161.40   $   2.62   $   164.03
 9/10/2017 Gerson Vasquez - Car Washer/Detailer                   $11.00   43.23   $   11.00                $ 17.78    $    17.78
 9/17/2017 Gerson Vasquez - Car Washer/Detailer                   $11.00   52.57   $   11.00                $ 69.12    $    69.12
 9/24/2017 Gerson Vasquez - Car Washer/Detailer                   $11.00   52.13   $   11.00                $ 66.73    $    66.73
 10/1/2017 Gerson Vasquez - Car Washer/Detailer                   $11.00   53.22   $   11.00                $ 72.69    $    72.69
 10/8/2017 Gerson Vasquez - Car Washer/Detailer                   $11.00   51.00   $   11.00                $ 60.50    $    60.50
10/15/2017 Gerson Vasquez - Car Washer/Detailer                   $11.00   51.73   $   11.00                $ 64.53    $    64.53
10/22/2017 Gerson Vasquez - Car Washer/Detailer                   $11.00   44.23   $   11.00                $ 23.28    $    23.28
10/29/2017 Gerson Vasquez - Car Washer/Detailer                   $11.00   50.07   $   11.00                $ 55.37    $    55.37
 11/5/2017 Gerson Vasquez - Car Washer/Detailer                   $11.00   42.67   $   11.00                $ 14.67    $    14.67
11/12/2017 Gerson Vasquez - Car Washer/Detailer                   $11.00   52.93   $   11.00                $ 71.13    $    71.13
11/19/2017 Gerson Vasquez - Car Washer/Detailer                   $11.00   52.62   $   11.00                $ 69.39    $    69.39
 12/3/2017 Gerson Vasquez - Car Washer/Detailer                   $11.00   52.62   $   11.00                $ 69.39    $    69.39
12/10/2017 Gerson Vasquez - Car Washer/Detailer                   $11.00   52.33   $   11.00                $ 67.83    $    67.83
12/24/2017 Gerson Vasquez - Car Washer/Detailer                   $16.50   64.17   $   11.00                $ 199.38   $   199.38
12/31/2017 Gerson Vasquez - Car Washer/Detailer                   $16.50   50.90   $   13.00                $ 89.92    $    89.92
  1/7/2018 Gerson Vasquez - Car Washer/Detailer                   $16.50   50.75   $   13.00                $ 88.69    $    88.69
 1/14/2018 Gerson Vasquez - Car Washer/Detailer                   $16.50   61.20   $   13.00                $ 174.90   $   174.90
 1/21/2018 Gerson Vasquez - Car Washer/Detailer                   $16.50   63.40   $   13.00                $ 193.05   $   193.05
 1/28/2018 Gerson Vasquez - Car Washer/Detailer                   $16.50   60.60   $   13.00                $ 169.95   $   169.95
  2/4/2018 Gerson Vasquez - Car Washer/Detailer                   $16.50   62.02   $   13.00                $ 181.64   $   181.64
 2/11/2018 Gerson Vasquez - Car Washer/Detailer                   $16.50   61.32   $   13.00                $ 175.86   $   175.86
 2/18/2018 Gerson Vasquez - Car Washer/Detailer                   $16.50   59.55   $   13.00                $ 161.29   $   161.29
 2/25/2018 Gerson Vasquez - Car Washer/Detailer                   $16.50   61.58   $   13.00                $ 178.06   $   178.06
  3/4/2018 Gerson Vasquez - Car Washer/Detailer                   $16.50   60.45   $   13.00                $ 168.71   $   168.71
 3/25/2018 Gerson Vasquez - Car Washer/Detailer                   $16.50   52.82   $   13.00                $ 105.74   $   105.74
  4/1/2018 Gerson Vasquez - Car Washer/Detailer                   $16.50   59.17   $   13.00                $ 158.13   $   158.13
  4/8/2018 Gerson Vasquez - Car Washer/Detailer                   $16.50   57.97   $   13.00                $ 148.23   $   148.23
  7/8/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   53.52   $   13.00   $   160.55   $ 87.86    $   248.41
 7/15/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   43.98   $   13.00   $   131.95   $ 25.89    $   157.84
 7/22/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   61.78   $   13.00   $   185.35   $ 141.59   $   326.94
 7/29/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   62.33   $   13.00   $   187.00   $ 145.17   $   332.17
  8/5/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   63.47   $   13.00   $   190.40   $ 152.53   $   342.93
 8/12/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   60.35   $   13.00   $   181.05   $ 132.28   $   313.33
 8/19/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   61.53   $   13.00   $   184.60   $ 139.97   $   324.57
 8/26/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   62.17   $   13.00   $   186.50   $ 144.08   $   330.58
  9/2/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   63.27   $   13.00   $   189.80   $ 151.23   $   341.03
  9/9/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   60.53   $   13.00   $   181.60   $ 133.47   $   315.07
 9/16/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   61.87   $   13.00   $   185.60   $ 142.13   $   327.73
 9/23/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   64.32   $   13.00   $   192.95   $ 158.06   $   351.01
 9/30/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   67.63   $   13.00   $   202.90   $ 179.62   $   382.52
 10/7/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   63.58   $   13.00   $   190.75   $ 153.29   $   344.04
10/14/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   69.10   $   13.00   $   207.30   $ 189.15   $   396.45
10/21/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   62.80   $   13.00   $   188.40   $ 148.20   $   336.60
10/28/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   69.87   $   13.00   $   209.60   $ 194.13   $   403.73
 11/4/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   69.57   $   13.00   $   208.70   $ 192.18   $   400.88
11/11/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   69.83   $   13.00   $   209.50   $ 193.92   $   403.42
11/18/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   62.97   $   13.00   $   188.90   $ 149.28   $   338.18
11/25/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   55.75   $   13.00   $   167.25   $ 102.38   $   269.63
 12/2/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   62.77   $   13.00   $   188.30   $ 147.98   $   336.28
 12/9/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   68.72   $   13.00   $   206.15   $ 186.66   $   392.81
12/16/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   62.07   $   13.00   $   186.20   $ 143.43   $   329.63
12/23/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   68.58   $   13.00   $   205.75   $ 185.79   $   391.54



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                                                           Exhibit 3
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  Week                                                                         State Section 7: Section 7: Total Section 7
                                                               Hourly Hours/
 Ending                           Name                                       Minimum Regular Half-time Overtime Back
                                                                Rate Week
  Date                                                                        Wage   Rate Due     Due       Wages Due

12/30/2018 Gerson Vasquez - Car Washer/Detailer                   $10.00   46.78   $   13.00   $ 140.35     $ 44.09    $   184.44
  1/6/2019 Gerson Vasquez - Car Washer/Detailer                   $10.00   49.25   $   15.00   $ 246.25     $ 69.38    $   315.63
 1/13/2019 Gerson Vasquez - Car Washer/Detailer                   $10.00   59.45   $   15.00   $ 297.25     $ 145.88   $   443.13
 1/20/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   58.82   $   15.00                $ 155.24   $   155.24
 1/27/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   59.37   $   15.00                $ 159.78   $   159.78
  2/3/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   59.47   $   15.00                $ 160.60   $   160.60
 2/10/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   59.42   $   15.00                $ 160.19   $   160.19
 2/17/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   59.92   $   15.00                $ 164.31   $   164.31
 2/24/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   60.20   $   15.00                $ 166.65   $   166.65
  3/3/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   59.88   $   15.00                $ 164.04   $   164.04
 3/10/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   60.83   $   15.00                $ 171.88   $   171.88
 3/17/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   62.18   $   15.00                $ 183.01   $   183.01
 3/24/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   60.28   $   15.00                $ 167.34   $   167.34
 3/31/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   60.30   $   15.00                $ 167.48   $   167.48
  4/7/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   58.90   $   15.00                $ 155.93   $   155.93
 4/14/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   53.77   $   15.00                $ 113.58   $   113.58
 4/21/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   60.43   $   15.00                $ 168.58   $   168.58
 4/28/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   59.65   $   15.00                $ 162.11   $   162.11
  5/5/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   61.42   $   15.00                $ 176.69   $   176.69
 5/12/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   60.23   $   15.00                $ 166.93   $   166.93
 5/19/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   50.03   $   15.00                $ 82.78    $    82.78
 5/26/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   51.15   $   15.00                $ 91.99    $    91.99
  6/2/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   40.30   $   15.00                $   2.47   $     2.47
  6/9/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   49.75   $   15.00                $ 80.44    $    80.44
 6/16/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   50.00   $   15.00                $ 82.50    $    82.50
 6/23/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   49.98   $   15.00                $ 82.36    $    82.36
 6/30/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   49.67   $   15.00                $ 79.75    $    79.75
 7/14/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   50.20   $   15.00                $ 84.15    $    84.15
 7/21/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   49.13   $   15.00                $ 75.35    $    75.35
 7/28/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   49.77   $   15.00                $ 80.58    $    80.58
  8/4/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   49.45   $   15.00                $ 77.96    $    77.96
 8/11/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   49.20   $   15.00                $ 75.90    $    75.90
 8/18/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   48.92   $   15.00                $ 73.56    $    73.56
 8/25/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   49.58   $   15.00                $ 79.06    $    79.06
  9/1/2019 Gerson Vasquez - Car Washer/Detailer                   $16.50   50.33   $   15.00                $ 85.25    $    85.25
 9/22/2019 Gerson Vasquez - Car Washer/Detailer                   $12.50   49.37   $   15.00   $   123.42   $ 70.25    $   193.67
 9/29/2019 Gerson Vasquez - Car Washer/Detailer                   $12.50   47.98   $   15.00   $   119.96   $ 59.88    $   179.83
 10/6/2019 Gerson Vasquez - Car Washer/Detailer                   $12.50   48.02   $   15.00   $   120.04   $ 60.13    $   180.17
10/13/2019 Gerson Vasquez - Car Washer/Detailer                   $12.50   48.00   $   15.00   $   120.00   $ 60.00    $   180.00
10/20/2019 Gerson Vasquez - Car Washer/Detailer                   $12.50   48.57   $   15.00   $   121.42   $ 64.25    $   185.67
10/27/2019 Gerson Vasquez - Car Washer/Detailer                   $12.50   48.48   $   15.00   $   121.21   $ 63.63    $   184.83
 11/3/2019 Gerson Vasquez - Car Washer/Detailer                   $12.50   47.67   $   15.00   $   119.17   $ 57.50    $   176.67
11/10/2019 Gerson Vasquez - Car Washer/Detailer                   $12.50   48.28   $   15.00   $   120.71   $ 62.13    $   182.83
11/17/2019 Gerson Vasquez - Car Washer/Detailer                   $12.50   47.93   $   15.00   $   119.83   $ 59.50    $   179.33
11/24/2019 Gerson Vasquez - Car Washer/Detailer                   $12.50   48.18   $   15.00   $   120.46   $ 61.38    $   181.83
12/15/2019 Gerson Vasquez - Car Washer/Detailer                   $12.50   46.67   $   15.00   $   116.67   $ 50.00    $   166.67
12/22/2019 Gerson Vasquez - Car Washer/Detailer                   $12.50   47.58   $   15.00   $   118.96   $ 56.88    $   175.83
 1/12/2020 Gerson Vasquez - Car Washer/Detailer                   $12.50   47.37   $   15.00   $   118.42   $ 55.25    $   173.67
 1/26/2020 Gerson Vasquez - Car Washer/Detailer                   $12.50   47.20   $   15.00   $   118.00   $ 54.00    $   172.00
  2/5/2017 Gileno Moura                                           $13.00   45.57   $   11.00                $ 36.18    $    36.18
 2/12/2017 Gileno Moura                                           $13.00   46.45   $   11.00                $ 41.93    $    41.93
 2/19/2017 Gileno Moura                                           $13.00   42.88   $   11.00                $ 18.74    $    18.74
 2/26/2017 Gileno Moura                                           $13.00   53.97   $   11.00                $ 90.78    $    90.78
  3/5/2017 Gileno Moura                                           $13.00   55.65   $   11.00                $ 101.73   $   101.73
 3/12/2017 Gileno Moura                                           $13.00   55.33   $   11.00                $ 99.67    $    99.67
 3/19/2017 Gileno Moura                                           $13.00   40.23   $   11.00                $   1.52   $     1.52
 3/26/2017 Gileno Moura                                           $13.00   56.10   $   11.00                $ 104.65   $   104.65
  4/2/2017 Gileno Moura                                           $13.00   49.53   $   11.00                $ 61.97    $    61.97



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                                 New York City Computations


  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                   Name                              Minimum Regular Half-time Overtime Back
                                               Rate Week
  Date                                                       Wage   Rate Due     Due       Wages Due

  4/9/2017 Gileno Moura                          $13.00   54.23   $   11.00     $ 92.52    $       92.52
 4/16/2017 Gileno Moura                          $13.00   59.88   $   11.00     $ 129.24   $      129.24
 4/23/2017 Gileno Moura                          $13.00   58.35   $   11.00     $ 119.28   $      119.28
 4/30/2017 Gileno Moura                          $13.00   60.05   $   11.00     $ 130.33   $      130.33
  5/7/2017 Gileno Moura                          $13.00   55.28   $   11.00     $ 99.34    $       99.34
 5/14/2017 Gileno Moura                          $13.00   59.78   $   11.00     $ 128.59   $      128.59
 5/21/2017 Gileno Moura                          $13.00   53.70   $   11.00     $ 89.05    $       89.05
 5/28/2017 Gileno Moura                          $13.00   59.05   $   11.00     $ 123.83   $      123.83
  6/4/2017 Gileno Moura                          $13.00   51.50   $   11.00     $ 74.75    $       74.75
 6/11/2017 Gileno Moura                          $13.00   57.75   $   11.00     $ 115.38   $      115.38
 6/18/2017 Gileno Moura                          $13.00   58.03   $   11.00     $ 117.22   $      117.22
 6/25/2017 Gileno Moura                          $13.00   59.60   $   11.00     $ 127.40   $      127.40
  7/2/2017 Gileno Moura                          $13.00   62.68   $   11.00     $ 147.44   $      147.44
 7/16/2017 Gileno Moura                          $13.00   58.02   $   11.00     $ 117.11   $      117.11
 7/23/2017 Gileno Moura                          $13.00   53.48   $   11.00     $ 87.64    $       87.64
 7/30/2017 Gileno Moura                          $13.00   52.50   $   11.00     $ 81.25    $       81.25
  8/6/2017 Gileno Moura                          $13.00   45.02   $   11.00     $ 32.61    $       32.61
 8/13/2017 Gileno Moura                          $13.00   55.67   $   11.00     $ 101.83   $      101.83
 8/20/2017 Gileno Moura                          $13.00   55.37   $   11.00     $ 99.88    $       99.88
 8/27/2017 Gileno Moura                          $13.00   57.88   $   11.00     $ 116.24   $      116.24
  9/3/2017 Gileno Moura                          $13.00   50.67   $   11.00     $ 69.33    $       69.33
 9/10/2017 Gileno Moura                          $13.00   47.48   $   11.00     $ 48.64    $       48.64
 9/17/2017 Gileno Moura                          $13.00   61.35   $   11.00     $ 138.78   $      138.78
 9/24/2017 Gileno Moura                          $13.00   59.73   $   11.00     $ 128.27   $      128.27
 10/1/2017 Gileno Moura                          $13.00   62.67   $   11.00     $ 147.33   $      147.33
 10/8/2017 Gileno Moura                          $13.00   60.72   $   11.00     $ 134.66   $      134.66
10/15/2017 Gileno Moura                          $13.00   52.37   $   11.00     $ 80.38    $       80.38
10/22/2017 Gileno Moura                          $13.00   53.00   $   11.00     $ 84.50    $       84.50
10/29/2017 Gileno Moura                          $13.00   61.23   $   11.00     $ 138.02   $      138.02
 11/5/2017 Gileno Moura                          $13.00   62.77   $   11.00     $ 147.98   $      147.98
11/12/2017 Gileno Moura                          $13.00   58.48   $   11.00     $ 120.14   $      120.14
11/19/2017 Gileno Moura                          $13.00   60.90   $   11.00     $ 135.85   $      135.85
11/26/2017 Gileno Moura                          $13.00   49.58   $   11.00     $ 62.29    $       62.29
 12/3/2017 Gileno Moura                          $13.00   58.12   $   11.00     $ 117.76   $      117.76
12/10/2017 Gileno Moura                          $13.00   60.02   $   11.00     $ 130.11   $      130.11
12/17/2017 Gileno Moura                          $13.00   55.63   $   11.00     $ 101.62   $      101.62
12/24/2017 Gileno Moura                          $13.00   58.42   $   11.00     $ 119.71   $      119.71
12/31/2017 Gileno Moura                          $13.00   54.23   $   13.00     $ 92.52    $       92.52
 1/14/2018 Gileno Moura                          $13.00   48.57   $   13.00     $ 55.68    $       55.68
 1/21/2018 Gileno Moura                          $13.00   40.37   $   13.00     $   2.38   $        2.38
 1/28/2018 Gileno Moura                          $13.00   61.25   $   13.00     $ 138.13   $      138.13
  2/4/2018 Gileno Moura                          $13.00   57.38   $   13.00     $ 112.99   $      112.99
 2/11/2018 Gileno Moura                          $13.00   46.05   $   13.00     $ 39.33    $       39.33
 2/18/2018 Gileno Moura                          $13.00   61.77   $   13.00     $ 141.48   $      141.48
 2/25/2018 Gileno Moura                          $13.00   60.75   $   13.00     $ 134.88   $      134.88
  3/4/2018 Gileno Moura                          $13.00   52.48   $   13.00     $ 81.14    $       81.14
 3/25/2018 Gileno Moura                          $13.00   54.50   $   13.00     $ 94.25    $       94.25
  4/1/2018 Gileno Moura                          $13.00   64.85   $   13.00     $ 161.53   $      161.53
  4/8/2018 Gileno Moura                          $13.00   55.12   $   13.00     $ 98.26    $       98.26
 4/15/2018 Gileno Moura                          $13.00   54.72   $   13.00     $ 95.66    $       95.66
 4/22/2018 Gileno Moura                          $13.00   48.85   $   13.00     $ 57.53    $       57.53
 4/29/2018 Gileno Moura                          $13.00   63.70   $   13.00     $ 154.05   $      154.05
  5/6/2018 Gileno Moura                          $13.00   64.35   $   13.00     $ 158.28   $      158.28
 5/13/2018 Gileno Moura                          $13.00   64.03   $   13.00     $ 156.22   $      156.22
 5/20/2018 Gileno Moura                          $13.00   65.52   $   13.00     $ 165.86   $      165.86
 5/27/2018 Gileno Moura                          $13.00   68.97   $   13.00     $ 188.28   $      188.28
  6/3/2018 Gileno Moura                          $13.00   46.27   $   13.00     $ 40.73    $       40.73
 6/10/2018 Gileno Moura                          $13.00   59.97   $   13.00     $ 129.78   $      129.78



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                                 New York City Computations


  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                   Name                              Minimum Regular Half-time Overtime Back
                                               Rate Week
  Date                                                       Wage   Rate Due     Due       Wages Due

 6/17/2018 Gileno Moura                          $13.00   64.53   $   13.00              $ 159.47   $   159.47
 6/24/2018 Gileno Moura                          $13.00   63.63   $   13.00              $ 153.62   $   153.62
  7/1/2018 Gileno Moura                          $13.00   65.23   $   13.00              $ 164.02   $   164.02
  7/8/2018 Gileno Moura                          $13.00   43.05   $   13.00              $ 19.83    $    19.83
 7/15/2018 Gileno Moura                          $13.00   61.65   $   13.00              $ 140.73   $   140.73
 7/22/2018 Gileno Moura                          $13.00   53.00   $   13.00              $ 84.50    $    84.50
 7/29/2018 Gileno Moura                          $13.00   62.05   $   13.00              $ 143.33   $   143.33
  8/5/2018 Gileno Moura                          $13.00   60.47   $   13.00              $ 133.03   $   133.03
 8/12/2018 Gileno Moura                          $13.00   50.78   $   13.00              $ 70.09    $    70.09
 8/19/2018 Gileno Moura                          $13.00   63.00   $   13.00              $ 149.50   $   149.50
 8/26/2018 Gileno Moura                          $13.00   49.32   $   13.00              $ 60.56    $    60.56
  9/2/2018 Gileno Moura                          $13.00   61.93   $   13.00              $ 142.57   $   142.57
  9/9/2018 Gileno Moura                          $13.00   50.42   $   13.00              $ 67.71    $    67.71
 9/16/2018 Gileno Moura                          $13.00   62.22   $   13.00              $ 144.41   $   144.41
 9/23/2018 Gileno Moura                          $13.00   54.95   $   13.00              $ 97.18    $    97.18
 9/30/2018 Gileno Moura                          $13.00   64.40   $   13.00              $ 158.60   $   158.60
10/14/2018 Gileno Moura                          $13.00   63.48   $   13.00              $ 152.64   $   152.64
10/21/2018 Gileno Moura                          $13.00   58.93   $   13.00              $ 123.07   $   123.07
10/28/2018 Gileno Moura                          $13.00   62.52   $   13.00              $ 146.36   $   146.36
 11/4/2018 Gileno Moura                          $13.00   52.75   $   13.00              $ 82.88    $    82.88
11/11/2018 Gileno Moura                          $13.00   61.73   $   13.00              $ 141.27   $   141.27
11/18/2018 Gileno Moura                          $13.00   63.52   $   13.00              $ 152.86   $   152.86
11/25/2018 Gileno Moura                          $13.00   49.78   $   13.00              $ 63.59    $    63.59
 12/2/2018 Gileno Moura                          $13.00   66.20   $   13.00              $ 170.30   $   170.30
 12/9/2018 Gileno Moura                          $13.00   51.03   $   13.00              $ 71.72    $    71.72
12/16/2018 Gileno Moura                          $13.00   66.08   $   13.00              $ 169.54   $   169.54
12/23/2018 Gileno Moura                          $13.00   62.82   $   13.00              $ 148.31   $   148.31
12/30/2018 Gileno Moura                          $13.00   52.00   $   13.00              $ 78.00    $    78.00
  1/6/2019 Gileno Moura                          $13.00   42.95   $   15.00   $ 85.90    $ 22.13    $   108.03
 1/13/2019 Gileno Moura                          $13.00   61.80   $   15.00   $ 123.60   $ 163.50   $   287.10
 1/20/2019 Gileno Moura                          $13.00   44.35   $   15.00   $ 88.70    $ 32.63    $   121.33
 1/27/2019 Gileno Moura                          $13.00   52.75   $   15.00   $ 105.50   $ 95.63    $   201.13
  2/3/2019 Gileno Moura                          $13.00   53.53   $   15.00   $ 107.07   $ 101.50   $   208.57
 2/10/2019 Gileno Moura                          $13.00   62.25   $   15.00   $ 124.50   $ 166.88   $   291.38
 2/17/2019 Gileno Moura                          $13.00   51.97   $   15.00   $ 103.93   $ 89.75    $   193.68
 2/24/2019 Gileno Moura                          $13.00   58.25   $   15.00   $ 116.50   $ 136.88   $   253.38
  3/3/2019 Gileno Moura                          $13.00   54.93   $   15.00   $ 109.87   $ 112.00   $   221.87
 3/10/2019 Gileno Moura                          $13.00   59.57   $   15.00   $ 119.13   $ 146.75   $   265.88
 3/17/2019 Gileno Moura                          $13.00   62.90   $   15.00   $ 125.80   $ 171.75   $   297.55
 3/24/2019 Gileno Moura                          $13.00   66.88   $   15.00   $ 133.77   $ 201.63   $   335.39
 3/31/2019 Gileno Moura                          $13.00   61.35   $   15.00   $ 122.70   $ 160.13   $   282.83
  4/7/2019 Gileno Moura                          $13.00   51.25   $   15.00   $ 102.50   $ 84.38    $   186.88
 4/14/2019 Gileno Moura                          $13.00   61.17   $   15.00   $ 122.33   $ 158.75   $   281.08
 4/21/2019 Gileno Moura                          $13.00   54.43   $   15.00   $ 108.87   $ 108.25   $   217.12
 4/28/2019 Gileno Moura                          $13.00   54.98   $   15.00   $ 109.97   $ 112.38   $   222.34
  5/5/2019 Gileno Moura                          $13.00   61.47   $   15.00   $ 122.93   $ 161.00   $   283.93
 5/12/2019 Gileno Moura                          $13.00   51.58   $   15.00   $ 103.17   $ 86.88    $   190.04
 5/19/2019 Gileno Moura                          $13.00   63.85   $   15.00   $ 127.70   $ 178.88   $   306.58
 5/26/2019 Gileno Moura                          $13.00   61.90   $   15.00   $ 123.80   $ 164.25   $   288.05
  6/2/2019 Gileno Moura                          $13.00   54.72   $   15.00   $ 109.43   $ 110.38   $   219.81
  6/9/2019 Gileno Moura                          $13.00   59.33   $   15.00   $ 118.67   $ 145.00   $   263.67
 6/16/2019 Gileno Moura                          $13.00   60.80   $   15.00   $ 121.60   $ 156.00   $   277.60
 6/23/2019 Gileno Moura                          $13.00   62.57   $   15.00   $ 125.13   $ 169.25   $   294.38
 6/30/2019 Gileno Moura                          $13.00   66.10   $   15.00   $ 132.20   $ 195.75   $   327.95
  7/7/2019 Gileno Moura                          $14.00   43.60   $   15.00   $ 43.60    $ 27.00    $    70.60
 7/14/2019 Gileno Moura                          $14.00   59.72   $   15.00   $ 59.72    $ 147.88   $   207.59
 7/21/2019 Gileno Moura                          $14.00   50.28   $   15.00   $ 50.28    $ 77.13    $   127.41
 7/28/2019 Gileno Moura                          $14.00   60.68   $   15.00   $ 60.68    $ 155.13   $   215.81



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  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

  8/4/2019 Gileno Moura                                  $14.00   62.32   $   15.00   $   62.32   $ 167.38   $   229.69
 8/11/2019 Gileno Moura                                  $14.00   49.43   $   15.00   $   49.43   $ 70.75    $   120.18
 8/18/2019 Gileno Moura                                  $14.00   62.00   $   15.00   $   62.00   $ 165.00   $   227.00
 8/25/2019 Gileno Moura                                  $14.00   52.30   $   15.00   $   52.30   $ 92.25    $   144.55
  9/1/2019 Gileno Moura                                  $14.00   62.20   $   15.00   $   62.20   $ 166.50   $   228.70
  9/8/2019 Gileno Moura                                  $14.00   49.63   $   15.00   $   49.63   $ 72.25    $   121.88
 9/15/2019 Gileno Moura                                  $14.00   48.55   $   15.00   $   48.55   $ 64.12    $   112.68
 9/22/2019 Gileno Moura                                  $14.00   63.33   $   15.00   $   63.33   $ 175.00   $   238.33
 9/29/2019 Gileno Moura                                  $14.00   64.97   $   15.00   $   64.97   $ 187.25   $   252.22
 10/6/2019 Gileno Moura                                  $14.00   53.95   $   15.00   $   53.95   $ 104.63   $   158.58
10/13/2019 Gileno Moura                                  $14.00   61.07   $   15.00   $   61.07   $ 158.00   $   219.07
10/20/2019 Gileno Moura                                  $14.00   53.70   $   15.00   $   53.70   $ 102.75   $   156.45
 11/3/2019 Gileno Moura                                  $14.00   63.58   $   15.00   $   63.58   $ 176.88   $   240.46
11/10/2019 Gileno Moura                                  $14.00   63.00   $   15.00   $   63.00   $ 172.50   $   235.50
11/17/2019 Gileno Moura                                  $14.00   64.98   $   15.00   $   64.98   $ 187.38   $   252.36
11/24/2019 Gileno Moura                                  $14.00   55.55   $   15.00   $   55.55   $ 116.63   $   172.18
 12/1/2019 Gileno Moura                                  $14.00   57.70   $   15.00   $   57.70   $ 132.75   $   190.45
 12/8/2019 Gileno Moura                                  $14.00   63.12   $   15.00   $   63.12   $ 173.38   $   236.49
12/15/2019 Gileno Moura                                  $14.00   62.33   $   15.00   $   62.33   $ 167.50   $   229.83
12/22/2019 Gileno Moura                                  $14.00   63.00   $   15.00   $   63.00   $ 172.50   $   235.50
12/29/2019 Gileno Moura                                  $14.00   50.07   $   15.00   $   50.07   $ 75.50    $   125.57
 1/12/2020 Gileno Moura                                  $14.00   51.20   $   15.00   $   51.20   $ 84.00    $   135.20
 1/19/2020 Gileno Moura                                  $14.00   52.40   $   15.00   $   52.40   $ 93.00    $   145.40
 1/26/2020 Gileno Moura                                  $14.00   63.07   $   15.00   $   63.07   $ 173.00   $   236.07
 9/24/2017 Giovanni Morales - Car Wash                   $13.00   61.85   $   11.00               $ 142.03   $   142.03
 10/1/2017 Giovanni Morales - Car Wash                   $13.00   72.13   $   11.00               $ 208.87   $   208.87
 10/8/2017 Giovanni Morales - Car Wash                   $12.50   71.85   $   11.00               $ 199.06   $   199.06
10/15/2017 Giovanni Morales - Car Wash                   $13.00   57.10   $   11.00               $ 111.15   $   111.15
10/22/2017 Giovanni Morales - Car Wash                   $13.00   74.13   $   11.00               $ 221.87   $   221.87
10/29/2017 Giovanni Morales - Car Wash                   $13.00   71.87   $   11.00               $ 207.13   $   207.13
 11/5/2017 Giovanni Morales - Car Wash                   $13.00   62.80   $   11.00               $ 148.20   $   148.20
11/12/2017 Giovanni Morales - Car Wash                   $13.00   73.30   $   11.00               $ 216.45   $   216.45
11/19/2017 Giovanni Morales - Car Wash                   $13.00   71.30   $   11.00               $ 203.45   $   203.45
11/26/2017 Giovanni Morales - Car Wash                   $13.00   48.90   $   11.00               $ 57.85    $    57.85
 12/3/2017 Giovanni Morales - Car Wash                   $13.00   71.33   $   11.00               $ 203.67   $   203.67
12/10/2017 Giovanni Morales - Car Wash                   $13.00   70.62   $   11.00               $ 199.01   $   199.01
12/17/2017 Giovanni Morales - Car Wash                   $13.00   71.50   $   11.00               $ 204.75   $   204.75
12/24/2017 Giovanni Morales - Car Wash                   $13.00   70.78   $   11.00               $ 200.09   $   200.09
12/31/2017 Giovanni Morales - Car Wash                   $13.00   58.48   $   13.00               $ 120.14   $   120.14
  1/7/2018 Giovanni Morales - Car Wash                   $13.00   41.53   $   13.00               $   9.97   $     9.97
 1/14/2018 Giovanni Morales - Car Wash                   $13.00   70.08   $   13.00               $ 195.54   $   195.54
 1/21/2018 Giovanni Morales - Car Wash                   $13.00   69.88   $   13.00               $ 194.24   $   194.24
 1/28/2018 Giovanni Morales - Car Wash                   $13.00   63.08   $   13.00               $ 150.04   $   150.04
  2/4/2018 Giovanni Morales - Car Wash                   $13.00   69.33   $   13.00               $ 190.67   $   190.67
 2/11/2018 Giovanni Morales - Car Wash                   $13.00   57.15   $   13.00               $ 111.48   $   111.48
 2/18/2018 Giovanni Morales - Car Wash                   $13.00   66.87   $   13.00               $ 174.63   $   174.63
 2/25/2018 Giovanni Morales - Car Wash                   $13.00   66.97   $   13.00               $ 175.28   $   175.28
  3/4/2018 Giovanni Morales - Car Wash                   $13.00   56.62   $   13.00               $ 108.01   $   108.01
 3/25/2018 Giovanni Morales - Car Wash                   $13.00   64.30   $   13.00               $ 157.95   $   157.95
  4/1/2018 Giovanni Morales - Car Wash                   $13.00   68.78   $   13.00               $ 187.09   $   187.09
  4/8/2018 Giovanni Morales - Car Wash                   $13.00   45.07   $   13.00               $ 32.93    $    32.93
 4/15/2018 Giovanni Morales - Car Wash                   $13.00   70.30   $   13.00               $ 196.95   $   196.95
 4/22/2018 Giovanni Morales - Car Wash                   $13.00   58.22   $   13.00               $ 118.41   $   118.41
 4/29/2018 Giovanni Morales - Car Wash                   $13.00   69.75   $   13.00               $ 193.38   $   193.38
  5/6/2018 Giovanni Morales - Car Wash                   $13.00   70.32   $   13.00               $ 197.06   $   197.06
 5/13/2018 Giovanni Morales - Car Wash                   $13.00   69.95   $   13.00               $ 194.68   $   194.68
 5/20/2018 Giovanni Morales - Car Wash                   $13.00   69.53   $   13.00               $ 191.97   $   191.97
 5/27/2018 Giovanni Morales - Car Wash                   $13.00   71.28   $   13.00               $ 203.34   $   203.34



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  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

  6/3/2018 Giovanni Morales - Car Wash                   $13.00   58.62   $   13.00                $ 121.01   $   121.01
 6/10/2018 Giovanni Morales - Car Wash                   $13.00   71.18   $   13.00                $ 202.69   $   202.69
 6/17/2018 Giovanni Morales - Car Wash                   $13.00   70.65   $   13.00                $ 199.23   $   199.23
 6/24/2018 Giovanni Morales - Car Wash                   $13.00   69.78   $   13.00                $ 193.59   $   193.59
  7/1/2018 Giovanni Morales - Car Wash                   $13.00   70.38   $   13.00                $ 197.49   $   197.49
  7/8/2018 Giovanni Morales - Car Wash                   $13.00   55.60   $   13.00                $ 101.40   $   101.40
 7/15/2018 Giovanni Morales - Car Wash                   $13.00   70.30   $   13.00                $ 196.95   $   196.95
 7/22/2018 Giovanni Morales - Car Wash                   $13.00   70.48   $   13.00                $ 198.14   $   198.14
 7/29/2018 Giovanni Morales - Car Wash                   $13.00   70.37   $   13.00                $ 197.38   $   197.38
  8/5/2018 Giovanni Morales - Car Wash                   $13.00   67.83   $   13.00                $ 180.92   $   180.92
 8/12/2018 Giovanni Morales - Car Wash                   $13.00   70.28   $   13.00                $ 196.84   $   196.84
 8/19/2018 Giovanni Morales - Car Wash                   $13.00   70.42   $   13.00                $ 197.71   $   197.71
 8/26/2018 Giovanni Morales - Car Wash                   $13.00   69.20   $   13.00                $ 189.80   $   189.80
  9/2/2018 Giovanni Morales - Car Wash                   $13.00   69.25   $   13.00                $ 190.13   $   190.13
  9/9/2018 Giovanni Morales - Car Wash                   $13.00   58.55   $   13.00                $ 120.58   $   120.58
 9/16/2018 Giovanni Morales - Car Wash                   $13.00   47.18   $   13.00                $ 46.69    $    46.69
 9/23/2018 Giovanni Morales - Car Wash                   $13.00   70.52   $   13.00                $ 198.36   $   198.36
 9/30/2018 Giovanni Morales - Car Wash                   $13.00   69.02   $   13.00                $ 188.61   $   188.61
 10/7/2018 Giovanni Morales - Car Wash                   $13.00   70.05   $   13.00                $ 195.33   $   195.33
10/14/2018 Giovanni Morales - Car Wash                   $13.00   71.33   $   13.00                $ 203.67   $   203.67
10/21/2018 Giovanni Morales - Car Wash                   $13.00   59.47   $   13.00                $ 126.53   $   126.53
10/28/2018 Giovanni Morales - Car Wash                   $13.00   71.23   $   13.00                $ 203.02   $   203.02
 11/4/2018 Giovanni Morales - Car Wash                   $13.00   60.57   $   13.00                $ 133.68   $   133.68
11/11/2018 Giovanni Morales - Car Wash                   $13.00   69.88   $   13.00                $ 194.24   $   194.24
11/18/2018 Giovanni Morales - Car Wash                   $13.00   69.43   $   13.00                $ 191.32   $   191.32
11/25/2018 Giovanni Morales - Car Wash                   $13.00   56.68   $   13.00                $ 108.44   $   108.44
 12/2/2018 Giovanni Morales - Car Wash                   $13.00   70.07   $   13.00                $ 195.43   $   195.43
 12/9/2018 Giovanni Morales - Car Wash                   $13.00   60.57   $   13.00                $ 133.68   $   133.68
12/16/2018 Giovanni Morales - Car Wash                   $13.00   69.93   $   13.00                $ 194.57   $   194.57
12/23/2018 Giovanni Morales - Car Wash                   $13.00   70.80   $   13.00                $ 200.20   $   200.20
12/30/2018 Giovanni Morales - Car Wash                   $13.00   53.98   $   13.00                $ 90.89    $    90.89
  1/6/2019 Giovanni Morales - Car Wash                   $13.00   56.20   $   15.00   $   112.40   $ 121.50   $   233.90
 1/13/2019 Giovanni Morales - Car Wash                   $13.00   59.08   $   15.00   $   118.17   $ 143.13   $   261.29
 1/20/2019 Giovanni Morales - Car Wash                   $13.00   71.63   $   15.00   $   143.27   $ 237.25   $   380.52
 1/27/2019 Giovanni Morales - Car Wash                   $13.00   59.37   $   15.00   $   118.73   $ 145.25   $   263.98
  2/3/2019 Giovanni Morales - Car Wash                   $13.00   70.17   $   15.00   $   140.33   $ 226.25   $   366.58
 2/10/2019 Giovanni Morales - Car Wash                   $13.00   57.20   $   15.00   $   114.40   $ 129.00   $   243.40
 2/17/2019 Giovanni Morales - Car Wash                   $13.00   59.55   $   15.00   $   119.10   $ 146.63   $   265.73
 2/24/2019 Giovanni Morales - Car Wash                   $13.00   69.18   $   15.00   $   138.37   $ 218.88   $   357.24
  3/3/2019 Giovanni Morales - Car Wash                   $13.00   70.37   $   15.00   $   140.73   $ 227.75   $   368.48
 3/10/2019 Giovanni Morales - Car Wash                   $13.00   69.92   $   15.00   $   139.83   $ 224.38   $   364.21
 3/17/2019 Giovanni Morales - Car Wash                   $13.00   72.27   $   15.00   $   144.53   $ 242.00   $   386.53
 3/24/2019 Giovanni Morales - Car Wash                   $13.00   69.80   $   15.00   $   139.60   $ 223.50   $   363.10
 3/31/2019 Giovanni Morales - Car Wash                   $13.00   71.43   $   15.00   $   142.87   $ 235.75   $   378.62
  4/7/2019 Giovanni Morales - Car Wash                   $13.00   60.18   $   15.00   $   120.37   $ 151.38   $   271.74
 4/14/2019 Giovanni Morales - Car Wash                   $13.00   70.72   $   15.00   $   141.43   $ 230.38   $   371.81
 4/21/2019 Giovanni Morales - Car Wash                   $13.00   71.53   $   15.00   $   143.07   $ 236.50   $   379.57
 4/28/2019 Giovanni Morales - Car Wash                   $13.00   70.30   $   15.00   $   140.60   $ 227.25   $   367.85
  5/5/2019 Giovanni Morales - Car Wash                   $13.00   70.83   $   15.00   $   141.67   $ 231.25   $   372.92
 5/12/2019 Giovanni Morales - Car Wash                   $13.00   65.30   $   15.00   $   130.60   $ 189.75   $   320.35
 5/19/2019 Giovanni Morales - Car Wash                   $13.00   65.55   $   15.00   $   131.10   $ 191.63   $   322.73
 5/26/2019 Giovanni Morales - Car Wash                   $13.00   65.55   $   15.00   $   131.10   $ 191.63   $   322.73
  6/2/2019 Giovanni Morales - Car Wash                   $13.00   54.57   $   15.00   $   109.13   $ 109.25   $   218.38
  6/9/2019 Giovanni Morales - Car Wash                   $13.00   65.35   $   15.00   $   130.70   $ 190.13   $   320.83
 6/16/2019 Giovanni Morales - Car Wash                   $13.00   65.20   $   15.00   $   130.40   $ 189.00   $   319.40
 6/23/2019 Giovanni Morales - Car Wash                   $13.00   53.95   $   15.00   $   107.90   $ 104.63   $   212.53
 6/30/2019 Giovanni Morales - Car Wash                   $13.00   65.05   $   15.00   $   130.10   $ 187.88   $   317.98
  7/7/2019 Giovanni Morales - Car Wash                   $15.00   54.20   $   15.00                $ 106.50   $   106.50



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  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

 7/14/2019 Giovanni Morales - Car Wash                   $15.00   52.40   $   15.00                $ 93.00    $    93.00
 7/21/2019 Giovanni Morales - Car Wash                   $15.00   64.80   $   15.00                $ 186.00   $   186.00
 7/28/2019 Giovanni Morales - Car Wash                   $15.00   65.68   $   15.00                $ 192.63   $   192.63
  8/4/2019 Giovanni Morales - Car Wash                   $15.00   65.72   $   15.00                $ 192.88   $   192.88
 8/11/2019 Giovanni Morales - Car Wash                   $15.00   65.67   $   15.00                $ 192.50   $   192.50
 8/18/2019 Giovanni Morales - Car Wash                   $15.00   65.52   $   15.00                $ 191.38   $   191.38
 8/25/2019 Giovanni Morales - Car Wash                   $15.00   65.35   $   15.00                $ 190.13   $   190.13
  9/1/2019 Giovanni Morales - Car Wash                   $15.00   66.48   $   15.00                $ 198.63   $   198.63
  9/8/2019 Giovanni Morales - Car Wash                   $15.00   55.15   $   15.00                $ 113.63   $   113.63
 9/15/2019 Giovanni Morales - Car Wash                   $15.00   66.22   $   15.00                $ 196.63   $   196.63
 9/22/2019 Giovanni Morales - Car Wash                   $15.00   63.42   $   15.00                $ 175.63   $   175.63
 9/29/2019 Giovanni Morales - Car Wash                   $15.00   66.32   $   15.00                $ 197.38   $   197.38
 10/6/2019 Giovanni Morales - Car Wash                   $15.00   67.07   $   15.00                $ 203.00   $   203.00
10/13/2019 Giovanni Morales - Car Wash                   $15.00   66.93   $   15.00                $ 202.00   $   202.00
10/20/2019 Giovanni Morales - Car Wash                   $15.00   66.22   $   15.00                $ 196.63   $   196.63
10/27/2019 Giovanni Morales - Car Wash                   $15.00   66.47   $   15.00                $ 198.50   $   198.50
 11/3/2019 Giovanni Morales - Car Wash                   $15.00   64.23   $   15.00                $ 181.75   $   181.75
11/10/2019 Giovanni Morales - Car Wash                   $15.00   65.45   $   15.00                $ 190.88   $   190.88
11/17/2019 Giovanni Morales - Car Wash                   $15.00   61.98   $   15.00                $ 164.88   $   164.88
11/24/2019 Giovanni Morales - Car Wash                   $15.00   65.82   $   15.00                $ 193.63   $   193.63
 12/1/2019 Giovanni Morales - Car Wash                   $15.00   53.85   $   15.00                $ 103.88   $   103.88
 12/8/2019 Giovanni Morales - Car Wash                   $15.00   65.70   $   15.00                $ 192.75   $   192.75
12/15/2019 Giovanni Morales - Car Wash                   $15.00   65.98   $   15.00                $ 194.88   $   194.88
12/22/2019 Giovanni Morales - Car Wash                   $15.00   65.35   $   15.00                $ 190.13   $   190.13
12/29/2019 Giovanni Morales - Car Wash                   $15.00   43.95   $   15.00                $ 29.63    $    29.63
  1/5/2020 Giovanni Morales - Car Wash                   $15.00   54.72   $   15.00                $ 110.38   $   110.38
 1/12/2020 Giovanni Morales - Car Wash                   $15.00   65.43   $   15.00                $ 190.75   $   190.75
 1/19/2020 Giovanni Morales - Car Wash                   $15.00   65.27   $   15.00                $ 189.50   $   189.50
 1/26/2020 Giovanni Morales - Car Wash                   $15.00   53.08   $   15.00                $ 98.13    $    98.13
 2/24/2019 Glen Vargas                                   $19.00   48.02   $   15.00                $ 76.16    $    76.16
 10/1/2017 Glenn Nolasco                                 $11.00   44.17   $   11.00                $ 22.92    $    22.92
 6/10/2018 Gregorio Castro                                $9.50   55.17   $   13.00   $   193.08   $ 98.58    $   291.67
 6/17/2018 Gregorio Castro                                $9.50   57.93   $   13.00   $   202.77   $ 116.57   $   319.33
 6/24/2018 Gregorio Castro                                $9.50   54.10   $   13.00   $   189.35   $ 91.65    $   281.00
  7/1/2018 Gregorio Castro                               $10.00   53.83   $   13.00   $   161.50   $ 89.92    $   251.42
 7/15/2018 Gregorio Castro                               $10.00   52.53   $   13.00   $   157.60   $ 81.47    $   239.07
 7/22/2018 Gregorio Castro                               $10.00   47.23   $   13.00   $   141.70   $ 47.02    $   188.72
 7/29/2018 Gregorio Castro                               $10.00   41.57   $   13.00   $   124.70   $ 10.18    $   134.88
  8/5/2018 Gregorio Castro                               $10.00   54.45   $   13.00   $   163.35   $ 93.93    $   257.28
 8/12/2018 Gregorio Castro                               $10.00   52.00   $   13.00   $   156.00   $ 78.00    $   234.00
 8/19/2018 Gregorio Castro                               $10.00   45.43   $   13.00   $   136.30   $ 35.32    $   171.62
 8/26/2018 Gregorio Castro                               $10.00   41.08   $   13.00   $   123.25   $   7.04   $   130.29
  9/2/2018 Gregorio Castro                               $10.00   48.35   $   13.00   $   145.05   $ 54.28    $   199.33
  9/9/2018 Gregorio Castro                               $10.00   41.88   $   13.00   $   125.65   $ 12.24    $   137.89
 9/16/2018 Gregorio Castro                               $10.00   52.27   $   13.00   $   156.80   $ 79.73    $   236.53
  3/4/2018 Gregorio Santana                              $16.00   49.62   $   13.00                $ 76.93    $    76.93
  4/1/2018 Gregorio Santana                              $16.00   47.70   $   13.00                $ 61.60    $    61.60
  4/8/2018 Gregorio Santana                              $16.00   51.00   $   13.00                $ 88.00    $    88.00
 4/15/2018 Gregorio Santana                              $16.00   45.22   $   13.00                $ 41.73    $    41.73
 4/29/2018 Gregorio Santana                              $16.00   41.77   $   13.00                $ 14.13    $    14.13
  5/6/2018 Gregorio Santana                              $16.00   42.88   $   13.00                $ 23.07    $    23.07
  2/3/2019 Hector Viveros                                $19.00   70.83   $   15.00                $ 292.92   $   292.92
 2/10/2019 Hector Viveros                                $19.00   68.70   $   15.00                $ 272.65   $   272.65
 2/17/2019 Hector Viveros                                $19.00   73.73   $   15.00                $ 320.47   $   320.47
 2/24/2019 Hector Viveros                                $19.00   75.77   $   15.00                $ 339.78   $   339.78
  3/3/2019 Hector Viveros                                $19.00   76.25   $   15.00                $ 344.38   $   344.38
 3/10/2019 Hector Viveros                                $19.00   76.63   $   15.00                $ 348.02   $   348.02
 3/17/2019 Hector Viveros                                $19.00   74.57   $   15.00                $ 328.38   $   328.38



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  Week                                                              State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
 Ending                        Name                               Minimum Regular Half-time Overtime Back
                                                     Rate Week
  Date                                                             Wage   Rate Due     Due       Wages Due

 3/24/2019 Hector Viveros                              $19.00   75.25   $   15.00     $ 334.88   $      334.88
 3/31/2019 Hector Viveros                              $19.00   61.83   $   15.00     $ 207.42   $      207.42
  4/7/2019 Hector Viveros                              $19.00   76.55   $   15.00     $ 347.23   $      347.23
 4/14/2019 Hector Viveros                              $19.00   69.52   $   15.00     $ 280.41   $      280.41
 4/21/2019 Hector Viveros                              $19.00   75.05   $   15.00     $ 332.98   $      332.98
 4/28/2019 Hector Viveros                              $19.00   75.47   $   15.00     $ 336.93   $      336.93
  5/5/2019 Hector Viveros                              $19.00   76.38   $   15.00     $ 345.64   $      345.64
 5/12/2019 Hector Viveros                              $19.00   49.47   $   15.00     $ 89.93    $       89.93
 5/19/2019 Hector Viveros                              $19.00   73.35   $   15.00     $ 316.83   $      316.83
 5/26/2019 Hector Viveros                              $19.00   70.92   $   15.00     $ 293.71   $      293.71
  6/2/2019 Hector Viveros                              $19.00   53.18   $   15.00     $ 125.24   $      125.24
  6/9/2019 Hector Viveros                              $19.00   76.08   $   15.00     $ 342.79   $      342.79
 6/16/2019 Hector Viveros                              $19.00   75.93   $   15.00     $ 341.37   $      341.37
 6/23/2019 Hector Viveros                              $19.00   76.47   $   15.00     $ 346.43   $      346.43
 6/30/2019 Hector Viveros                              $19.00   74.87   $   15.00     $ 331.23   $      331.23
  7/7/2019 Hector Viveros                              $19.00   49.25   $   15.00     $ 87.87    $       87.87
 7/14/2019 Hector Viveros                              $19.00   75.97   $   15.00     $ 341.68   $      341.68
 7/21/2019 Hector Viveros                              $19.00   76.98   $   15.00     $ 351.34   $      351.34
 7/28/2019 Hector Viveros                              $19.00   77.88   $   15.00     $ 359.89   $      359.89
  8/4/2019 Hector Viveros                              $19.00   66.22   $   15.00     $ 249.06   $      249.06
 8/11/2019 Hector Viveros                              $19.00   71.42   $   15.00     $ 298.46   $      298.46
 8/18/2019 Hector Viveros                              $19.00   75.95   $   15.00     $ 341.53   $      341.53
 8/25/2019 Hector Viveros                              $19.00   75.48   $   15.00     $ 337.09   $      337.09
  9/1/2019 Hector Viveros                              $19.00   72.43   $   15.00     $ 308.12   $      308.12
  9/8/2019 Hector Viveros                              $19.00   57.78   $   15.00     $ 168.94   $      168.94
 9/15/2019 Hector Viveros                              $19.00   75.40   $   15.00     $ 336.30   $      336.30
 9/22/2019 Hector Viveros                              $19.00   76.25   $   15.00     $ 344.38   $      344.38
 9/29/2019 Hector Viveros                              $19.00   61.00   $   15.00     $ 199.50   $      199.50
 10/6/2019 Hector Viveros                              $19.00   74.30   $   15.00     $ 325.85   $      325.85
10/13/2019 Hector Viveros                              $19.00   75.88   $   15.00     $ 340.89   $      340.89
10/20/2019 Hector Viveros                              $19.00   75.97   $   15.00     $ 341.68   $      341.68
10/27/2019 Hector Viveros                              $19.00   75.28   $   15.00     $ 335.19   $      335.19
 11/3/2019 Hector Viveros                              $19.00   75.58   $   15.00     $ 338.04   $      338.04
11/10/2019 Hector Viveros                              $19.00   76.05   $   15.00     $ 342.48   $      342.48
11/17/2019 Hector Viveros                              $19.00   76.18   $   15.00     $ 343.74   $      343.74
11/24/2019 Hector Viveros                              $19.00   65.80   $   15.00     $ 245.10   $      245.10
 12/1/2019 Hector Viveros                              $19.00   62.07   $   15.00     $ 209.63   $      209.63
 12/8/2019 Hector Viveros                              $19.00   75.47   $   15.00     $ 336.93   $      336.93
12/15/2019 Hector Viveros                              $19.00   75.77   $   15.00     $ 339.78   $      339.78
12/22/2019 Hector Viveros                              $19.00   75.57   $   15.00     $ 337.88   $      337.88
12/29/2019 Hector Viveros                              $19.00   60.22   $   15.00     $ 192.06   $      192.06
  1/5/2020 Hector Viveros                              $19.00   60.52   $   15.00     $ 194.91   $      194.91
 1/12/2020 Hector Viveros                              $19.00   75.47   $   15.00     $ 336.93   $      336.93
 1/19/2020 Hector Viveros                              $19.00   74.92   $   15.00     $ 331.71   $      331.71
 1/26/2020 Hector Viveros                              $19.00   75.55   $   15.00     $ 337.73   $      337.73
10/20/2019 Henry Tomas Menas Quezada                   $15.00   68.43   $   15.00     $ 213.25   $      213.25
10/27/2019 Henry Tomas Menas Quezada                   $15.00   60.78   $   15.00     $ 155.88   $      155.88
 11/3/2019 Henry Tomas Menas Quezada                   $15.00   66.88   $   15.00     $ 201.63   $      201.63
11/10/2019 Henry Tomas Menas Quezada                   $15.00   69.42   $   15.00     $ 220.63   $      220.63
11/17/2019 Henry Tomas Menas Quezada                   $15.00   68.95   $   15.00     $ 217.13   $      217.13
11/24/2019 Henry Tomas Menas Quezada                   $15.00   67.35   $   15.00     $ 205.13   $      205.13
 12/1/2019 Henry Tomas Menas Quezada                   $15.00   56.83   $   15.00     $ 126.25   $      126.25
 12/8/2019 Henry Tomas Menas Quezada                   $15.00   69.42   $   15.00     $ 220.63   $      220.63
12/15/2019 Henry Tomas Menas Quezada                   $15.00   69.57   $   15.00     $ 221.75   $      221.75
12/22/2019 Henry Tomas Menas Quezada                   $15.00   72.73   $   15.00     $ 245.50   $      245.50
12/29/2019 Henry Tomas Menas Quezada                   $15.00   56.53   $   15.00     $ 124.00   $      124.00
  1/5/2020 Henry Tomas Menas Quezada                   $15.00   67.12   $   15.00     $ 203.38   $      203.38
 1/12/2020 Henry Tomas Menas Quezada                   $15.00   69.98   $   15.00     $ 224.88   $      224.88



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  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                          Name                               Minimum Regular Half-time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

 1/19/2020 Henry Tomas Menas Quezada                     $15.00   70.10   $   15.00                $ 225.75   $   225.75
 1/26/2020 Henry Tomas Menas Quezada                     $15.00   43.12   $   15.00                $ 23.38    $    23.38
 6/17/2018 Henry Vasquez                                 $13.00   45.92   $   13.00                $ 38.46    $    38.46
 4/23/2017 Herbert Alvarado                              $10.00   53.23   $   11.00   $    53.23   $ 72.78    $   126.02
 4/30/2017 Herbert Alvarado                              $10.00   41.37   $   11.00   $    41.37   $   7.52   $    48.88
  5/7/2017 Herbert Alvarado                              $10.00   52.32   $   11.00   $    52.32   $ 67.74    $   120.06
 5/14/2017 Herbert Alvarado                              $10.00   52.72   $   11.00   $    52.72   $ 69.94    $   122.66
 5/21/2017 Herbert Alvarado                              $10.00   52.22   $   11.00   $    52.22   $ 67.19    $   119.41
 10/6/2019 Ignacio Alejandro Bravo Cid                   $15.00   57.03   $   15.00                $ 127.75   $   127.75
10/13/2019 Ignacio Alejandro Bravo Cid                   $15.00   57.12   $   15.00                $ 128.38   $   128.38
10/20/2019 Ignacio Alejandro Bravo Cid                   $15.00   57.37   $   15.00                $ 130.25   $   130.25
10/27/2019 Ignacio Alejandro Bravo Cid                   $15.00   49.40   $   15.00                $ 70.50    $    70.50
 11/3/2019 Ignacio Alejandro Bravo Cid                   $15.00   57.20   $   15.00                $ 129.00   $   129.00
11/10/2019 Ignacio Alejandro Bravo Cid                   $15.00   41.88   $   15.00                $ 14.12    $    14.12
11/17/2019 Ignacio Alejandro Bravo Cid                   $15.00   58.30   $   15.00                $ 137.25   $   137.25
11/24/2019 Ignacio Alejandro Bravo Cid                   $15.00   57.48   $   15.00                $ 131.13   $   131.13
 8/19/2018 Ignacio Camacho                               $10.00   53.63   $   13.00   $   160.90   $ 88.62    $   249.52
 8/26/2018 Ignacio Camacho                               $10.00   47.12   $   13.00   $   141.35   $ 46.26    $   187.61
  9/2/2018 Ignacio Camacho                               $10.00   54.82   $   13.00   $   164.45   $ 96.31    $   260.76
  9/9/2018 Ignacio Camacho                               $10.00   42.62   $   13.00   $   127.85   $ 17.01    $   144.86
 9/16/2018 Ignacio Camacho                               $10.00   48.17   $   13.00   $   144.50   $ 53.08    $   197.58
 9/23/2018 Ignacio Camacho                               $10.00   53.28   $   13.00   $   159.85   $ 86.34    $   246.19
 9/30/2018 Ignacio Camacho                               $10.00   56.43   $   13.00   $   169.30   $ 106.82   $   276.12
 10/7/2018 Ignacio Camacho                               $10.00   53.88   $   13.00   $   161.65   $ 90.24    $   251.89
10/14/2018 Ignacio Camacho                               $10.00   54.10   $   13.00   $   162.30   $ 91.65    $   253.95
10/21/2018 Ignacio Camacho                               $10.00   55.02   $   13.00   $   165.05   $ 97.61    $   262.66
10/28/2018 Ignacio Camacho                               $10.00   56.77   $   13.00   $   170.30   $ 108.98   $   279.28
 11/4/2018 Ignacio Camacho                               $10.00   54.80   $   13.00   $   164.40   $ 96.20    $   260.60
11/11/2018 Ignacio Camacho                               $10.00   54.92   $   13.00   $   164.75   $ 96.96    $   261.71
11/18/2018 Ignacio Camacho                               $10.00   44.53   $   13.00   $   133.60   $ 29.47    $   163.07
 12/2/2018 Ignacio Camacho                               $10.00   60.68   $   13.00   $   182.05   $ 134.44   $   316.49
 12/9/2018 Ignacio Camacho                               $10.00   55.43   $   13.00   $   166.30   $ 100.32   $   266.62
12/16/2018 Ignacio Camacho                               $10.00   58.87   $   13.00   $   176.60   $ 122.63   $   299.23
12/23/2018 Ignacio Camacho                               $10.00   58.38   $   13.00   $   175.15   $ 119.49   $   294.64
 1/13/2019 Ignacio Camacho                               $10.00   58.73   $   15.00   $   293.67   $ 140.50   $   434.17
 1/20/2019 Ignacio Camacho                               $10.00   57.35   $   15.00   $   286.75   $ 130.13   $   416.88
 1/27/2019 Ignacio Camacho                               $10.00   60.47   $   15.00   $   302.33   $ 153.50   $   455.83
  2/3/2019 Ignacio Camacho                               $10.00   58.72   $   15.00   $   293.58   $ 140.38   $   433.96
 2/10/2019 Ignacio Camacho                               $10.00   59.40   $   15.00   $   297.00   $ 145.50   $   442.50
 2/17/2019 Ignacio Camacho                               $10.00   58.17   $   15.00   $   290.83   $ 136.25   $   427.08
 2/24/2019 Ignacio Camacho                               $10.00   57.62   $   15.00   $   288.08   $ 132.13   $   420.21
  3/3/2019 Ignacio Camacho                               $10.00   60.08   $   15.00   $   300.42   $ 150.63   $   451.04
 3/10/2019 Ignacio Camacho                               $10.00   61.08   $   15.00   $   305.42   $ 158.13   $   463.54
 3/17/2019 Ignacio Camacho                               $10.00   59.87   $   15.00   $   299.33   $ 149.00   $   448.33
 3/24/2019 Ignacio Camacho                               $10.00   61.00   $   15.00   $   305.00   $ 157.50   $   462.50
 3/31/2019 Ignacio Camacho                               $10.00   60.13   $   15.00   $   300.67   $ 151.00   $   451.67
  4/7/2019 Ignacio Camacho                               $10.00   58.17   $   15.00   $   290.83   $ 136.25   $   427.08
 4/14/2019 Ignacio Camacho                               $10.00   58.25   $   15.00   $   291.25   $ 136.88   $   428.13
 4/21/2019 Ignacio Camacho                               $10.00   59.47   $   15.00   $   297.33   $ 146.00   $   443.33
 4/28/2019 Ignacio Camacho                               $10.00   58.37   $   15.00   $   291.83   $ 137.75   $   429.58
  5/5/2019 Ignacio Camacho                               $10.00   58.87   $   15.00   $   294.33   $ 141.50   $   435.83
 5/12/2019 Ignacio Camacho                               $10.00   61.07   $   15.00   $   305.33   $ 158.00   $   463.33
 5/19/2019 Ignacio Camacho                               $10.00   59.32   $   15.00   $   296.58   $ 144.88   $   441.46
 5/26/2019 Ignacio Camacho                               $10.00   58.03   $   15.00   $   290.17   $ 135.25   $   425.42
  6/2/2019 Ignacio Camacho                               $10.00   51.55   $   15.00   $   257.75   $ 86.63    $   344.38
  6/9/2019 Ignacio Camacho                               $10.00   59.17   $   15.00   $   295.83   $ 143.75   $   439.58
 6/16/2019 Ignacio Camacho                               $10.00   59.27   $   15.00   $   296.33   $ 144.50   $   440.83
 6/23/2019 Ignacio Camacho                               $10.00   47.07   $   15.00   $   235.33   $ 53.00    $   288.33



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  Week                                                                 State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
 Ending                          Name                                Minimum Regular Half-time Overtime Back
                                                        Rate Week
  Date                                                                Wage   Rate Due     Due       Wages Due

 6/30/2019 Ignacio Camacho                                $10.00   51.10   $   15.00   $   255.50   $ 83.25    $   338.75
  7/7/2019 Ignacio Camacho - Car Washer                   $11.50   49.08   $   15.00   $   171.79   $ 68.13    $   239.92
 7/14/2019 Ignacio Camacho - Car Washer                   $11.50   60.13   $   15.00   $   210.47   $ 151.00   $   361.47
 7/21/2019 Ignacio Camacho - Car Washer                   $11.50   57.18   $   15.00   $   200.14   $ 128.88   $   329.02
 7/28/2019 Ignacio Camacho - Car Washer                   $11.50   59.40   $   15.00   $   207.90   $ 145.50   $   353.40
  8/4/2019 Ignacio Camacho - Car Washer                   $11.50   59.00   $   15.00   $   206.50   $ 142.50   $   349.00
 8/11/2019 Ignacio Camacho - Car Washer                   $11.50   48.48   $   15.00   $   169.69   $ 63.63    $   233.32
 8/18/2019 Ignacio Camacho - Car Washer                   $11.50   57.78   $   15.00   $   202.24   $ 133.38   $   335.62
 8/25/2019 Ignacio Camacho - Car Washer                   $11.50   56.90   $   15.00   $   199.15   $ 126.75   $   325.90
  9/1/2019 Ignacio Camacho - Car Washer                   $11.50   57.50   $   15.00   $   201.25   $ 131.25   $   332.50
  9/8/2019 Ignacio Camacho - Car Washer                   $11.50   50.10   $   15.00   $   175.35   $ 75.75    $   251.10
 9/15/2019 Ignacio Camacho - Car Washer                   $11.50   60.93   $   15.00   $   213.27   $ 157.00   $   370.27
 9/22/2019 Ignacio Camacho - Car Washer                   $11.50   58.22   $   15.00   $   203.76   $ 136.63   $   340.38
 9/29/2019 Ignacio Camacho - Car Washer                   $11.50   56.90   $   15.00   $   199.15   $ 126.75   $   325.90
 10/6/2019 Ignacio Camacho - Car Washer                   $11.50   58.42   $   15.00   $   204.46   $ 138.13   $   342.58
10/13/2019 Ignacio Camacho - Car Washer                   $11.50   57.35   $   15.00   $   200.73   $ 130.13   $   330.85
10/20/2019 Ignacio Camacho - Car Washer                   $15.00   56.52   $   15.00                $ 123.88   $   123.88
10/27/2019 Ignacio Camacho - Car Washer                   $15.00   50.47   $   15.00                $ 78.50    $    78.50
 11/3/2019 Ignacio Camacho - Car Washer                   $15.00   56.97   $   15.00                $ 127.25   $   127.25
11/10/2019 Ignacio Camacho - Car Washer                   $15.00   55.60   $   15.00                $ 117.00   $   117.00
11/17/2019 Ignacio Camacho - Car Washer                   $15.00   61.73   $   15.00                $ 163.00   $   163.00
11/24/2019 Ignacio Camacho - Car Washer                   $15.00   56.60   $   15.00                $ 124.50   $   124.50
 12/8/2019 Ignacio Camacho - Car Washer                   $15.00   48.93   $   15.00                $ 67.00    $    67.00
12/15/2019 Ignacio Camacho - Car Washer                   $11.50   43.28   $   15.00   $   151.49   $ 24.63    $   176.12
12/22/2019 Ignacio Camacho - Car Washer                   $11.50   56.47   $   15.00   $   197.63   $ 123.50   $   321.13
 1/12/2020 Ignacio Camacho - Car Washer                   $11.50   50.58   $   15.00   $   177.04   $ 79.38    $   256.42
 1/19/2020 Ignacio Camacho - Car Washer                   $11.50   63.97   $   15.00   $   223.88   $ 179.75   $   403.63
 1/26/2020 Ignacio Camacho - Car Washer                   $11.50   64.50   $   15.00   $   225.75   $ 183.75   $   409.50
 7/28/2019 Inocencio David Vargas                          $9.00   64.27   $   15.00   $   385.60   $ 182.00   $   567.60
  8/4/2019 Inocencio David Vargas                          $9.00   67.10   $   15.00   $   402.60   $ 203.25   $   605.85
 8/11/2019 Inocencio David Vargas                          $9.00   67.03   $   15.00   $   402.20   $ 202.75   $   604.95
 8/18/2019 Inocencio David Vargas                          $9.00   71.70   $   15.00   $   430.20   $ 237.75   $   667.95
 8/25/2019 Inocencio David Vargas                          $9.00   73.10   $   15.00   $   438.60   $ 248.25   $   686.85
 3/12/2017 Isaul Osorio                                    $9.00   52.87   $   11.00   $   105.73   $ 70.77    $   176.50
 3/19/2017 Isaul Osorio                                    $9.00   53.37   $   11.00   $   106.73   $ 73.52    $   180.25
 3/26/2017 Isaul Osorio                                    $9.00   65.70   $   11.00   $   131.40   $ 141.35   $   272.75
  4/2/2017 Isaul Osorio                                    $9.00   53.25   $   11.00   $   106.50   $ 72.88    $   179.38
  4/9/2017 Isaul Osorio                                    $9.00   64.45   $   11.00   $   128.90   $ 134.48   $   263.38
 4/16/2017 Isaul Osorio                                    $9.00   69.92   $   11.00   $   139.83   $ 164.54   $   304.38
 4/23/2017 Isaul Osorio                                    $9.00   68.47   $   11.00   $   136.93   $ 156.57   $   293.50
 4/30/2017 Isaul Osorio                                    $9.00   70.48   $   11.00   $   140.97   $ 167.66   $   308.63
  5/7/2017 Isaul Osorio                                    $9.00   71.48   $   11.00   $   142.97   $ 173.16   $   316.13
 5/14/2017 Isaul Osorio                                    $9.00   68.08   $   11.00   $   136.17   $ 154.46   $   290.63
 5/21/2017 Isaul Osorio                                    $9.00   57.47   $   11.00   $   114.93   $ 96.07    $   211.00
 5/28/2017 Isaul Osorio                                    $9.00   59.15   $   11.00   $   118.30   $ 105.33   $   223.63
  6/4/2017 Isaul Osorio                                    $9.00   57.02   $   11.00   $   114.03   $ 93.59    $   207.63
 6/11/2017 Isaul Osorio                                    $9.00   71.05   $   11.00   $   142.10   $ 170.78   $   312.88
 6/18/2017 Isaul Osorio                                    $9.00   70.88   $   11.00   $   141.77   $ 169.86   $   311.63
 6/25/2017 Isaul Osorio                                    $9.00   71.32   $   11.00   $   142.63   $ 172.24   $   314.88
  7/2/2017 Isaul Osorio                                    $9.00   76.25   $   11.00   $   152.50   $ 199.38   $   351.88
  7/9/2017 Isaul Osorio                                    $9.00   63.25   $   11.00   $   126.50   $ 127.88   $   254.38
 7/16/2017 Isaul Osorio                                    $9.00   76.15   $   11.00   $   152.30   $ 198.83   $   351.13
 7/23/2017 Isaul Osorio                                    $9.00   63.25   $   11.00   $   126.50   $ 127.88   $   254.38
 7/30/2017 Isaul Osorio                                    $9.00   71.83   $   11.00   $   143.67   $ 175.08   $   318.75
  8/6/2017 Isaul Osorio                                    $9.00   74.32   $   11.00   $   148.63   $ 188.74   $   337.38
 8/13/2017 Isaul Osorio                                    $9.00   74.07   $   11.00   $   148.13   $ 187.37   $   335.50
 8/20/2017 Isaul Osorio                                    $9.00   70.10   $   11.00   $   140.20   $ 165.55   $   305.75
 8/27/2017 Isaul Osorio                                    $9.00   71.65   $   11.00   $   143.30   $ 174.08   $   317.38



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  Week                                                                   State Section 7: Section 7: Total Section 7
                                                         Hourly Hours/
 Ending                            Name                                Minimum Regular Half-time Overtime Back
                                                          Rate Week
  Date                                                                  Wage   Rate Due     Due       Wages Due

  9/3/2017 Isaul Osorio                                      $9.00   74.97   $   11.00   $ 149.93   $ 192.32   $   342.25
 9/10/2017 Isaul Osorio                                      $9.00   60.15   $   11.00   $ 120.30   $ 110.83   $   231.13
 9/17/2017 Isaul Osorio                                      $9.00   74.52   $   11.00   $ 149.03   $ 189.84   $   338.88
 9/24/2017 Isaul Osorio                                      $9.00   74.43   $   11.00   $ 148.87   $ 189.38   $   338.25
 10/1/2017 Isaul Osorio                                      $9.00   75.05   $   11.00   $ 150.10   $ 192.78   $   342.88
 10/8/2017 Isaul Osorio                                      $9.00   75.18   $   11.00   $ 150.37   $ 193.51   $   343.88
10/15/2017 Isaul Osorio                                      $9.00   67.08   $   11.00   $ 134.17   $ 148.96   $   283.13
10/22/2017 Isaul Osorio                                      $9.00   69.95   $   11.00   $ 139.90   $ 164.73   $   304.63
10/29/2017 Isaul Osorio                                      $9.00   70.23   $   11.00   $ 140.47   $ 166.28   $   306.75
 11/5/2017 Isaul Osorio                                      $9.00   68.60   $   11.00   $ 137.20   $ 157.30   $   294.50
11/12/2017 Isaul Osorio                                      $9.00   67.78   $   11.00   $ 135.57   $ 152.81   $   288.38
  4/2/2017 Isidro Grullon                                   $10.00   58.88   $   11.00   $ 58.88    $ 103.86   $   162.74
 10/8/2017 Israel Morales - Valet Manager                   $20.00   52.42   $   11.00              $ 124.17   $   124.17
10/22/2017 Israel Morales - Valet Manager                   $20.00   40.07   $   11.00              $   0.67   $     0.67
10/29/2017 Israel Morales - Valet Manager                   $20.00   43.48   $   11.00              $ 34.83    $    34.83
 11/5/2017 Israel Morales - Valet Manager                   $20.00   52.35   $   11.00              $ 123.50   $   123.50
11/12/2017 Israel Morales - Valet Manager                   $20.00   50.62   $   11.00              $ 106.17   $   106.17
11/19/2017 Israel Morales - Valet Manager                   $20.00   50.73   $   11.00              $ 107.33   $   107.33
11/26/2017 Israel Morales - Valet Manager                   $20.00   45.37   $   11.00              $ 53.67    $    53.67
 12/3/2017 Israel Morales - Valet Manager                   $20.00   45.40   $   11.00              $ 54.00    $    54.00
12/10/2017 Israel Morales - Valet Manager                   $20.00   56.58   $   11.00              $ 165.83   $   165.83
12/17/2017 Israel Morales - Valet Manager                   $20.00   49.90   $   11.00              $ 99.00    $    99.00
12/24/2017 Israel Morales - Valet Manager                   $20.00   51.35   $   11.00              $ 113.50   $   113.50
12/31/2017 Israel Morales - Valet Manager                   $20.00   49.73   $   13.00              $ 97.33    $    97.33
 1/14/2018 Israel Morales - Valet Manager                   $20.00   44.82   $   13.00              $ 48.17    $    48.17
 1/28/2018 Israel Morales - Valet Manager                   $20.00   42.68   $   13.00              $ 26.83    $    26.83
  2/4/2018 Israel Morales - Valet Manager                   $20.00   55.27   $   13.00              $ 152.67   $   152.67
 2/11/2018 Israel Morales - Valet Manager                   $20.00   46.00   $   13.00              $ 60.00    $    60.00
 2/18/2018 Israel Morales - Valet Manager                   $20.00   40.35   $   13.00              $   3.50   $     3.50
 2/25/2018 Israel Morales - Valet Manager                   $20.00   56.25   $   13.00              $ 162.50   $   162.50
  3/4/2018 Israel Morales - Valet Manager                   $20.00   47.38   $   13.00              $ 73.83    $    73.83
  4/1/2018 Israel Morales - Valet Manager                   $20.00   45.38   $   13.00              $ 53.83    $    53.83
 4/15/2018 Israel Morales - Valet Manager                   $20.00   47.58   $   13.00              $ 75.83    $    75.83
 4/22/2018 Israel Morales - Valet Manager                   $20.00   44.85   $   13.00              $ 48.50    $    48.50
 4/29/2018 Israel Morales - Valet Manager                   $20.00   46.15   $   13.00              $ 61.50    $    61.50
  5/6/2018 Israel Morales - Valet Manager                   $20.00   48.08   $   13.00              $ 80.83    $    80.83
 5/27/2018 Israel Morales - Valet Manager                   $20.00   46.80   $   13.00              $ 68.00    $    68.00
 6/17/2018 Israel Morales - Valet Manager                   $20.00   50.53   $   13.00              $ 105.33   $   105.33
 6/24/2018 Israel Morales - Valet Manager                   $20.00   44.10   $   13.00              $ 41.00    $    41.00
  7/1/2018 Israel Morales - Valet Manager                   $20.00   41.60   $   13.00              $ 16.00    $    16.00
 7/15/2018 Israel Morales - Valet Manager                   $20.00   40.48   $   13.00              $   4.83   $     4.83
 7/22/2018 Israel Morales - Valet Manager                   $20.00   42.95   $   13.00              $ 29.50    $    29.50
 7/29/2018 Israel Morales - Valet Manager                   $20.00   47.25   $   13.00              $ 72.50    $    72.50
  8/5/2018 Israel Morales - Valet Manager                   $20.00   56.25   $   13.00              $ 162.50   $   162.50
 8/12/2018 Israel Morales - Valet Manager                   $20.00   44.08   $   13.00              $ 40.83    $    40.83
 8/26/2018 Israel Morales - Valet Manager                   $20.00   40.60   $   13.00              $   6.00   $     6.00
  9/2/2018 Israel Morales - Valet Manager                   $20.00   42.97   $   13.00              $ 29.67    $    29.67
  9/9/2018 Israel Morales - Valet Manager                   $20.00   41.98   $   13.00              $ 19.83    $    19.83
 9/23/2018 Israel Morales - Valet Manager                   $20.00   47.67   $   13.00              $ 76.67    $    76.67
 10/7/2018 Israel Morales - Valet Manager                   $20.00   48.82   $   13.00              $ 88.17    $    88.17
10/14/2018 Israel Morales - Valet Manager                   $20.00   42.60   $   13.00              $ 26.00    $    26.00
10/28/2018 Israel Morales - Valet Manager                   $20.00   42.57   $   13.00              $ 25.67    $    25.67
11/18/2018 Israel Morales - Valet Manager                   $20.00   40.68   $   13.00              $   6.83   $     6.83
11/25/2018 Israel Morales - Valet Manager                   $20.00   40.78   $   13.00              $   7.83   $     7.83
 12/9/2018 Israel Morales - Valet Manager                   $20.00   49.30   $   13.00              $ 93.00    $    93.00
12/16/2018 Israel Morales - Valet Manager                   $20.00   47.82   $   13.00              $ 78.17    $    78.17
 1/13/2019 Israel Morales - Valet Manager                   $20.00   43.05   $   15.00              $ 30.50    $    30.50
 1/20/2019 Israel Morales - Valet Manager                   $20.00   52.55   $   15.00              $ 125.50   $   125.50



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                                                     Exhibit 3
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  Week                                                                   State Section 7: Section 7: Total Section 7
                                                         Hourly Hours/
 Ending                            Name                                Minimum Regular Half-time Overtime Back
                                                          Rate Week
  Date                                                                  Wage   Rate Due     Due       Wages Due

 2/10/2019 Israel Morales - Valet Manager                   $20.00   46.50   $   15.00              $ 65.00    $    65.00
 2/17/2019 Israel Morales - Valet Manager                   $20.00   57.95   $   15.00              $ 179.50   $   179.50
 2/24/2019 Israel Morales - Valet Manager                   $20.00   51.08   $   15.00              $ 110.83   $   110.83
 3/10/2019 Israel Morales - Valet Manager                   $20.00   51.98   $   15.00              $ 119.83   $   119.83
 3/17/2019 Israel Morales - Valet Manager                   $20.00   45.32   $   15.00              $ 53.17    $    53.17
 3/24/2019 Israel Morales - Valet Manager                   $20.00   42.08   $   15.00              $ 20.83    $    20.83
 3/31/2019 Israel Morales - Valet Manager                   $20.00   48.78   $   15.00              $ 87.83    $    87.83
  4/7/2019 Israel Morales - Valet Manager                   $20.00   48.55   $   15.00              $ 85.50    $    85.50
 4/21/2019 Israel Morales - Valet Manager                   $20.00   53.00   $   15.00              $ 130.00   $   130.00
 4/28/2019 Israel Morales - Valet Manager                   $20.00   41.83   $   15.00              $ 18.33    $    18.33
  5/5/2019 Israel Morales - Valet Manager                   $20.00   42.62   $   15.00              $ 26.17    $    26.17
 5/19/2019 Israel Morales - Valet Manager                   $20.00   42.62   $   15.00              $ 26.17    $    26.17
 5/26/2019 Israel Morales - Valet Manager                   $20.00   42.18   $   15.00              $ 21.83    $    21.83
  6/2/2019 Israel Morales - Valet Manager                   $20.00   43.33   $   15.00              $ 33.33    $    33.33
 6/16/2019 Israel Morales - Valet Manager                   $20.00   49.52   $   15.00              $ 95.17    $    95.17
 6/23/2019 Israel Morales - Valet Manager                   $20.00   40.57   $   15.00              $   5.67   $     5.67
 6/30/2019 Israel Morales - Valet Manager                   $20.00   40.57   $   15.00              $   5.67   $     5.67
 7/14/2019 Israel Morales - Valet Manager                   $20.00   40.47   $   15.00              $   4.67   $     4.67
 7/21/2019 Israel Morales - Valet Manager                   $20.00   45.33   $   15.00              $ 53.33    $    53.33
 8/18/2019 Israel Morales - Valet Manager                   $20.00   55.28   $   15.00              $ 152.83   $   152.83
 8/25/2019 Israel Morales - Valet Manager                   $20.00   46.10   $   15.00              $ 61.00    $    61.00
  9/1/2019 Israel Morales - Valet Manager                   $20.00   40.23   $   15.00              $   2.33   $     2.33
 9/15/2019 Israel Morales - Valet Manager                   $20.00   40.52   $   15.00              $   5.17   $     5.17
 9/22/2019 Israel Morales - Valet Manager                   $20.00   40.43   $   15.00              $   4.33   $     4.33
 9/29/2019 Israel Morales - Valet Manager                   $20.00   41.07   $   15.00              $ 10.67    $    10.67
 10/6/2019 Israel Morales - Valet Manager                   $20.00   40.02   $   15.00              $   0.17   $     0.17
10/13/2019 Israel Morales - Valet Manager                   $20.00   43.68   $   15.00              $ 36.83    $    36.83
10/27/2019 Israel Morales - Valet Manager                   $20.00   46.02   $   15.00              $ 60.17    $    60.17
 11/3/2019 Israel Morales - Valet Manager                   $20.00   42.22   $   15.00              $ 22.17    $    22.17
11/10/2019 Israel Morales - Valet Manager                   $20.00   40.12   $   15.00              $   1.17   $     1.17
11/17/2019 Israel Morales - Valet Manager                   $20.00   42.35   $   15.00              $ 23.50    $    23.50
11/24/2019 Israel Morales - Valet Manager                   $20.00   40.88   $   15.00              $   8.83   $     8.83
 12/8/2019 Israel Morales - Valet Manager                   $20.00   43.23   $   15.00              $ 32.33    $    32.33
12/22/2019 Israel Morales - Valet Manager                   $20.00   40.10   $   15.00              $   1.00   $     1.00
 1/12/2020 Israel Morales - Valet Manager                   $20.00   43.35   $   15.00              $ 33.50    $    33.50
 1/19/2020 Israel Morales - Valet Manager                   $20.00   40.77   $   15.00              $   7.67   $     7.67
 1/26/2020 Israel Morales - Valet Manager                   $20.00   42.23   $   15.00              $ 22.33    $    22.33
10/28/2018 Jairo Rodriguez                                  $12.00   41.87   $   13.00   $ 41.87    $ 12.13    $    54.00
 11/4/2018 Jairo Rodriguez                                  $12.00   57.48   $   13.00   $ 57.48    $ 113.64   $   171.13
11/11/2018 Jairo Rodriguez                                  $12.00   50.60   $   13.00   $ 50.60    $ 68.90    $   119.50
11/18/2018 Jairo Rodriguez                                  $12.00   53.55   $   13.00   $ 53.55    $ 88.08    $   141.63
11/25/2018 Jairo Rodriguez                                  $12.00   42.42   $   13.00   $ 42.42    $ 15.71    $    58.13
 12/2/2018 Jairo Rodriguez                                  $12.00   56.92   $   13.00   $ 56.92    $ 109.96   $   166.88
 12/9/2018 Jairo Rodriguez                                  $12.00   50.75   $   13.00   $ 50.75    $ 69.88    $   120.63
12/16/2018 Jairo Rodriguez                                  $12.00   55.72   $   13.00   $ 55.72    $ 102.16   $   157.88
12/23/2018 Jairo Rodriguez                                  $12.00   57.97   $   13.00   $ 57.97    $ 116.78   $   174.75
  1/6/2019 Jairo Rodriguez                                  $12.00   44.62   $   15.00   $ 133.85   $ 34.63    $   168.48
 1/13/2019 Jairo Rodriguez                                  $12.00   53.50   $   15.00   $ 160.50   $ 101.25   $   261.75
 1/20/2019 Jairo Rodriguez                                  $12.00   50.68   $   15.00   $ 152.05   $ 80.13    $   232.18
 1/27/2019 Jairo Rodriguez                                  $12.00   54.87   $   15.00   $ 164.60   $ 111.50   $   276.10
  2/3/2019 Jairo Rodriguez                                  $12.00   45.80   $   15.00   $ 137.40   $ 43.50    $   180.90
 2/10/2019 Jairo Rodriguez                                  $12.00   50.97   $   15.00   $ 152.90   $ 82.25    $   235.15
 2/17/2019 Jairo Rodriguez                                  $12.00   53.33   $   15.00   $ 160.00   $ 100.00   $   260.00
 2/24/2019 Jairo Rodriguez                                  $12.00   50.97   $   15.00   $ 152.90   $ 82.25    $   235.15
  3/3/2019 Jairo Rodriguez                                  $12.00   55.23   $   15.00   $ 165.70   $ 114.25   $   279.95
 3/10/2019 Jairo Rodriguez                                  $12.00   55.27   $   15.00   $ 165.80   $ 114.50   $   280.30
 3/17/2019 Jairo Rodriguez                                  $12.00   60.30   $   15.00   $ 180.90   $ 152.25   $   333.15
 3/24/2019 Jairo Rodriguez                                  $12.00   63.53   $   15.00   $ 190.60   $ 176.50   $   367.10



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  Week                                                                 State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
 Ending                           Name                               Minimum Regular Half-time Overtime Back
                                                        Rate Week
  Date                                                                Wage   Rate Due     Due       Wages Due

 3/31/2019 Jairo Rodriguez                                $12.00   62.67   $   15.00   $ 188.00   $ 170.00   $   358.00
  4/7/2019 Jairo Rodriguez                                $12.00   57.25   $   15.00   $ 171.75   $ 129.38   $   301.13
 4/14/2019 Jairo Rodriguez                                $12.00   56.55   $   15.00   $ 169.65   $ 124.13   $   293.78
 4/21/2019 Jairo Rodriguez                                $12.00   61.65   $   15.00   $ 184.95   $ 162.38   $   347.33
 4/28/2019 Jairo Rodriguez                                $12.00   60.88   $   15.00   $ 182.65   $ 156.63   $   339.28
  5/5/2019 Jairo Rodriguez                                $12.00   63.08   $   15.00   $ 189.25   $ 173.13   $   362.38
 5/12/2019 Jairo Rodriguez                                $12.00   63.33   $   15.00   $ 190.00   $ 175.00   $   365.00
 5/19/2019 Jairo Rodriguez                                $12.00   65.93   $   15.00   $ 197.80   $ 194.50   $   392.30
 5/26/2019 Jairo Rodriguez                                $12.00   66.63   $   15.00   $ 199.90   $ 199.75   $   399.65
  6/2/2019 Jairo Rodriguez                                $12.00   54.72   $   15.00   $ 164.15   $ 110.38   $   274.53
  6/9/2019 Jairo Rodriguez                                $12.00   65.62   $   15.00   $ 196.85   $ 192.13   $   388.98
 6/16/2019 Jairo Rodriguez                                $12.00   64.48   $   15.00   $ 193.45   $ 183.63   $   377.08
 6/23/2019 Jairo Rodriguez                                $12.00   63.03   $   15.00   $ 189.10   $ 172.75   $   361.85
 6/30/2019 Jairo Rodriguez                                $12.00   69.63   $   15.00   $ 208.90   $ 222.25   $   431.15
  7/7/2019 Jairo Rodriguez Gonzalez                       $13.00   55.40   $   15.00   $ 110.80   $ 115.50   $   226.30
 7/14/2019 Jairo Rodriguez Gonzalez                       $13.00   65.87   $   15.00   $ 131.73   $ 194.00   $   325.73
 7/21/2019 Jairo Rodriguez Gonzalez                       $13.00   64.17   $   15.00   $ 128.33   $ 181.25   $   309.58
 7/28/2019 Jairo Rodriguez Gonzalez                       $13.00   68.72   $   15.00   $ 137.43   $ 215.38   $   352.81
  8/4/2019 Jairo Rodriguez Gonzalez                       $13.00   65.22   $   15.00   $ 130.43   $ 189.13   $   319.56
 8/11/2019 Jairo Rodriguez Gonzalez                       $13.00   67.88   $   15.00   $ 135.77   $ 209.13   $   344.89
 8/18/2019 Jairo Rodriguez Gonzalez                       $13.00   64.63   $   15.00   $ 129.27   $ 184.75   $   314.02
 8/25/2019 Jairo Rodriguez Gonzalez                       $13.00   53.77   $   15.00   $ 107.53   $ 103.25   $   210.78
  9/1/2019 Jairo Rodriguez Gonzalez                       $13.00   57.03   $   15.00   $ 114.07   $ 127.75   $   241.82
  9/8/2019 Jairo Rodriguez Gonzalez                       $13.00   42.53   $   15.00   $ 85.07    $ 19.00    $   104.07
 9/15/2019 Jairo Rodriguez Gonzalez                       $13.00   42.03   $   15.00   $ 84.07    $ 15.25    $    99.32
 9/29/2019 Jairo Rodriguez Gonzalez                       $13.00   58.45   $   15.00   $ 116.90   $ 138.38   $   255.28
 10/6/2019 Jairo Rodriguez Gonzalez                       $13.00   48.63   $   15.00   $ 97.27    $ 64.75    $   162.02
10/13/2019 Jairo Rodriguez Gonzalez                       $13.00   42.80   $   15.00   $ 85.60    $ 21.00    $   106.60
10/20/2019 Jairo Rodriguez Gonzalez                       $13.00   55.32   $   15.00   $ 110.63   $ 114.88   $   225.51
10/27/2019 Jairo Rodriguez Gonzalez                       $13.00   60.95   $   15.00   $ 121.90   $ 157.13   $   279.03
 11/3/2019 Jairo Rodriguez Gonzalez                       $13.00   52.17   $   15.00   $ 104.33   $ 91.25    $   195.58
11/10/2019 Jairo Rodriguez Gonzalez                       $13.00   59.17   $   15.00   $ 118.33   $ 143.75   $   262.08
11/17/2019 Jairo Rodriguez Gonzalez                       $13.00   50.67   $   15.00   $ 101.33   $ 80.00    $   181.33
11/24/2019 Jairo Rodriguez Gonzalez                       $13.00   57.38   $   15.00   $ 114.77   $ 130.38   $   245.14
 12/1/2019 Jairo Rodriguez Gonzalez                       $13.00   50.58   $   15.00   $ 101.17   $ 79.38    $   180.54
 12/8/2019 Jairo Rodriguez Gonzalez                       $13.00   58.43   $   15.00   $ 116.87   $ 138.25   $   255.12
12/15/2019 Jairo Rodriguez Gonzalez                       $13.00   65.72   $   15.00   $ 131.43   $ 192.88   $   324.31
12/22/2019 Jairo Rodriguez Gonzalez                       $13.00   66.25   $   15.00   $ 132.50   $ 196.88   $   329.38
12/29/2019 Jairo Rodriguez Gonzalez                       $13.00   53.00   $   15.00   $ 106.00   $ 97.50    $   203.50
  1/5/2020 Jairo Rodriguez Gonzalez                       $13.00   54.12   $   15.00   $ 108.23   $ 105.88   $   214.11
 1/12/2020 Jairo Rodriguez Gonzalez                       $13.00   63.95   $   15.00   $ 127.90   $ 179.63   $   307.53
 1/19/2020 Jairo Rodriguez Gonzalez                       $13.00   53.60   $   15.00   $ 107.20   $ 102.00   $   209.20
 1/26/2020 Jairo Rodriguez Gonzalez                       $13.00   65.02   $   15.00   $ 130.03   $ 187.63   $   317.66
 5/27/2018 Jamie Danilo Barrera Morales                   $11.00   71.22   $   13.00   $ 142.43   $ 202.91   $   345.34
  6/3/2018 Jamie Danilo Barrera Morales                   $11.00   58.62   $   13.00   $ 117.23   $ 121.01   $   238.24
 6/10/2018 Jamie Danilo Barrera Morales                   $11.00   71.17   $   13.00   $ 142.33   $ 202.58   $   344.92
 6/17/2018 Jamie Danilo Barrera Morales                   $11.00   70.67   $   13.00   $ 141.33   $ 199.33   $   340.67
 6/24/2018 Jamie Danilo Barrera Morales                   $11.00   69.77   $   13.00   $ 139.53   $ 193.48   $   333.02
  7/1/2018 Jamie Danilo Barrera Morales                   $11.00   70.42   $   13.00   $ 140.83   $ 197.71   $   338.54
  7/8/2018 Jamie Danilo Barrera Morales                   $11.00   55.55   $   13.00   $ 111.10   $ 101.08   $   212.18
 7/15/2018 Jamie Danilo Barrera Morales                   $11.00   70.32   $   13.00   $ 140.63   $ 197.06   $   337.69
 7/22/2018 Jamie Danilo Barrera Morales                   $11.00   70.48   $   13.00   $ 140.97   $ 198.14   $   339.11
 7/29/2018 Jamie Danilo Barrera Morales                   $11.00   70.40   $   13.00   $ 140.80   $ 197.60   $   338.40
  8/5/2018 Jamie Danilo Barrera Morales                   $11.00   70.80   $   13.00   $ 141.60   $ 200.20   $   341.80
 8/12/2018 Jamie Danilo Barrera Morales                   $11.00   70.27   $   13.00   $ 140.53   $ 196.73   $   337.27
 8/19/2018 Jamie Danilo Barrera Morales                   $11.00   70.35   $   13.00   $ 140.70   $ 197.28   $   337.98
 8/26/2018 Jamie Danilo Barrera Morales                   $11.00   68.75   $   13.00   $ 137.50   $ 186.88   $   324.38
  9/2/2018 Jamie Danilo Barrera Morales                   $11.00   69.28   $   13.00   $ 138.57   $ 190.34   $   328.91



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  Week                                                                 State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
 Ending                           Name                               Minimum Regular Half-time Overtime Back
                                                        Rate Week
  Date                                                                Wage   Rate Due     Due       Wages Due

  9/9/2018 Jamie Danilo Barrera Morales                   $11.00   58.52   $   13.00   $ 117.03   $ 120.36   $   237.39
 9/16/2018 Jamie Danilo Barrera Morales                   $11.00   69.17   $   13.00   $ 138.33   $ 189.58   $   327.92
 9/23/2018 Jamie Danilo Barrera Morales                   $11.00   70.43   $   13.00   $ 140.87   $ 197.82   $   338.68
 9/30/2018 Jamie Danilo Barrera Morales                   $11.00   69.03   $   13.00   $ 138.07   $ 188.72   $   326.78
 10/7/2018 Jamie Danilo Barrera Morales                   $11.00   70.08   $   13.00   $ 140.17   $ 195.54   $   335.71
10/14/2018 Jamie Danilo Barrera Morales                   $11.00   71.33   $   13.00   $ 142.67   $ 203.67   $   346.33
10/21/2018 Jamie Danilo Barrera Morales                   $11.00   69.48   $   13.00   $ 138.97   $ 191.64   $   330.61
10/28/2018 Jamie Danilo Barrera Morales                   $11.00   61.28   $   13.00   $ 122.57   $ 138.34   $   260.91
 11/4/2018 Jamie Danilo Barrera Morales                   $11.00   70.67   $   13.00   $ 141.33   $ 199.33   $   340.67
11/11/2018 Jamie Danilo Barrera Morales                   $11.00   69.87   $   13.00   $ 139.73   $ 194.13   $   333.87
11/18/2018 Jamie Danilo Barrera Morales                   $11.00   69.40   $   13.00   $ 138.80   $ 191.10   $   329.90
11/25/2018 Jamie Danilo Barrera Morales                   $11.00   56.68   $   13.00   $ 113.37   $ 108.44   $   221.81
 12/2/2018 Jamie Danilo Barrera Morales                   $11.00   59.53   $   13.00   $ 119.07   $ 126.97   $   246.03
 6/24/2018 JarJay Liu                                     $11.50   54.20   $   13.00   $ 81.30    $ 92.30    $   173.60
  7/1/2018 JarJay Liu                                     $11.50   44.67   $   13.00   $ 67.00    $ 30.33    $    97.33
  7/8/2018 JarJay Liu                                     $11.50   46.00   $   13.00   $ 69.00    $ 39.00    $   108.00
 7/15/2018 JarJay Liu                                     $11.50   55.72   $   13.00   $ 83.58    $ 102.16   $   185.73
 7/22/2018 JarJay Liu                                     $11.50   44.45   $   13.00   $ 66.68    $ 28.93    $    95.60
  8/5/2018 JarJay Liu                                     $11.50   48.30   $   13.00   $ 72.45    $ 53.95    $   126.40
 8/12/2018 JarJay Liu                                     $11.50   41.70   $   13.00   $ 62.55    $ 11.05    $    73.60
 8/19/2018 JarJay Liu                                     $11.50   49.97   $   13.00   $ 74.95    $ 64.78    $   139.73
 8/26/2018 JarJay Liu                                     $11.50   49.27   $   13.00   $ 73.90    $ 60.23    $   134.13
  9/2/2018 JarJay Liu                                     $11.50   48.82   $   13.00   $ 73.23    $ 57.31    $   130.53
 9/16/2018 JarJay Liu                                     $11.50   48.73   $   13.00   $ 73.10    $ 56.77    $   129.87
 9/23/2018 JarJay Liu                                     $11.50   41.68   $   13.00   $ 62.53    $ 10.94    $    73.47
 9/30/2018 JarJay Liu                                     $11.50   42.48   $   13.00   $ 63.73    $ 16.14    $    79.87
 10/7/2018 JarJay Liu                                     $11.50   53.23   $   13.00   $ 79.85    $ 86.02    $   165.87
10/14/2018 JarJay Liu                                     $11.50   42.35   $   13.00   $ 63.53    $ 15.28    $    78.80
10/21/2018 JarJay Liu                                     $11.50   52.68   $   13.00   $ 79.03    $ 82.44    $   161.47
10/28/2018 JarJay Liu                                     $11.50   51.68   $   13.00   $ 77.53    $ 75.94    $   153.47
 11/4/2018 JarJay Liu                                     $11.50   52.62   $   13.00   $ 78.93    $ 82.01    $   160.93
11/11/2018 JarJay Liu                                     $11.50   44.03   $   13.00   $ 66.05    $ 26.22    $    92.27
11/18/2018 JarJay Liu                                     $11.50   50.83   $   13.00   $ 76.25    $ 70.42    $   146.67
 12/2/2018 JarJay Liu                                     $11.50   40.82   $   13.00   $ 61.23    $   5.31   $    66.53
 12/9/2018 JarJay Liu                                     $11.50   50.30   $   13.00   $ 75.45    $ 66.95    $   142.40
12/16/2018 JarJay Liu                                     $11.50   48.47   $   13.00   $ 72.70    $ 55.03    $   127.73
12/23/2018 JarJay Liu                                     $11.50   47.35   $   13.00   $ 71.03    $ 47.78    $   118.80
 1/13/2019 JarJay Liu                                     $11.50   49.32   $   15.00   $ 172.61   $ 69.88    $   242.48
 1/20/2019 JarJay Liu                                     $11.50   48.57   $   15.00   $ 169.98   $ 64.25    $   234.23
 1/27/2019 JarJay Liu                                     $11.50   49.53   $   15.00   $ 173.37   $ 71.50    $   244.87
  2/3/2019 JarJay Liu                                     $11.50   48.22   $   15.00   $ 168.76   $ 61.63    $   230.38
 2/10/2019 JarJay Liu                                     $11.50   50.88   $   15.00   $ 178.09   $ 81.63    $   259.72
 2/17/2019 JarJay Liu                                     $11.50   48.15   $   15.00   $ 168.53   $ 61.13    $   229.65
 2/24/2019 JarJay Liu                                     $11.50   49.07   $   15.00   $ 171.73   $ 68.00    $   239.73
  3/3/2019 JarJay Liu                                     $11.50   48.55   $   15.00   $ 169.93   $ 64.13    $   234.05
 3/10/2019 JarJay Liu                                     $11.50   48.25   $   15.00   $ 168.88   $ 61.88    $   230.75
 3/17/2019 JarJay Liu                                     $11.50   47.52   $   15.00   $ 166.31   $ 56.38    $   222.68
 3/24/2019 JarJay Liu                                     $11.50   45.37   $   15.00   $ 158.78   $ 40.25    $   199.03
 3/31/2019 JarJay Liu                                     $11.50   45.90   $   15.00   $ 160.65   $ 44.25    $   204.90
  4/7/2019 JarJay Liu                                     $11.50   46.72   $   15.00   $ 163.51   $ 50.37    $   213.88
 4/14/2019 JarJay Liu                                     $11.50   46.12   $   15.00   $ 161.41   $ 45.88    $   207.28
 4/21/2019 JarJay Liu                                     $11.50   44.68   $   15.00   $ 156.39   $ 35.13    $   191.52
 4/28/2019 JarJay Liu                                     $11.50   40.92   $   15.00   $ 143.21   $   6.87   $   150.08
  5/5/2019 JarJay Liu                                     $11.50   46.00   $   15.00   $ 161.00   $ 45.00    $   206.00
 5/12/2019 JarJay Liu                                     $11.50   48.35   $   15.00   $ 169.23   $ 62.63    $   231.85
 5/19/2019 JarJay Liu                                     $11.50   47.88   $   15.00   $ 167.59   $ 59.13    $   226.72
 5/26/2019 JarJay Liu                                     $11.50   47.35   $   15.00   $ 165.73   $ 55.13    $   220.85
  6/9/2019 JarJay Liu                                     $11.50   48.62   $   15.00   $ 170.16   $ 64.63    $   234.78



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                                                     Exhibit 3
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  Week                                                                   State Section 7: Section 7: Total Section 7
                                                         Hourly Hours/
 Ending                           Name                                 Minimum Regular Half-time Overtime Back
                                                          Rate Week
  Date                                                                  Wage   Rate Due     Due       Wages Due

 6/16/2019 JarJay Liu                                       $11.50   47.28   $   15.00   $ 165.49     $ 54.63    $   220.12
 6/23/2019 JarJay Liu                                       $11.50   47.72   $   15.00   $ 167.01     $ 57.88    $   224.88
 6/30/2019 JarJay Liu                                       $11.50   48.45   $   15.00   $ 169.58     $ 63.38    $   232.95
 7/21/2019 JarJay Liu                                       $11.50   48.90   $   15.00   $ 171.15     $ 66.75    $   237.90
  8/4/2019 JarJay Liu                                       $11.50   45.90   $   15.00   $ 160.65     $ 44.25    $   204.90
 8/11/2019 JarJay Liu                                       $11.50   43.62   $   15.00   $ 152.66     $ 27.13    $   179.78
 8/18/2019 JarJay Liu                                       $11.50   45.77   $   15.00   $ 160.18     $ 43.25    $   203.43
 8/25/2019 JarJay Liu                                       $11.50   41.47   $   15.00   $ 145.13     $ 11.00    $   156.13
 9/15/2019 JarJay Liu                                       $11.50   45.72   $   15.00   $ 160.01     $ 42.88    $   202.88
 9/22/2019 JarJay Liu                                       $11.50   54.72   $   15.00   $ 191.51     $ 110.38   $   301.88
 9/29/2019 JarJay Liu                                       $11.50   42.88   $   15.00   $ 150.09     $ 21.63    $   171.72
 10/6/2019 JarJay Liu                                       $11.50   40.52   $   15.00   $ 141.81     $   3.87   $   145.68
10/13/2019 JarJay Liu                                       $11.50   41.73   $   15.00   $ 146.07     $ 13.00    $   159.07
10/20/2019 JarJay Liu                                       $11.50   41.78   $   15.00   $ 146.24     $ 13.38    $   159.62
10/27/2019 JarJay Liu                                       $11.50   43.88   $   15.00   $ 153.59     $ 29.13    $   182.72
11/10/2019 JarJay Liu                                       $11.50   40.65   $   15.00   $ 142.28     $   4.88   $   147.15
11/17/2019 JarJay Liu                                       $11.50   43.47   $   15.00   $ 152.13     $ 26.00    $   178.13
 1/19/2020 JarJay Liu                                       $11.50   42.13   $   15.00   $ 147.47     $ 16.00    $   163.47
 1/26/2020 JarJay Liu                                       $11.50   42.80   $   15.00   $ 149.80     $ 21.00    $   170.80
 1/28/2018 Jassiem Morris-Bobb                              $11.00   42.95   $   13.00   $ 85.90      $ 19.18    $   105.08
  2/4/2018 Jassiem Morris-Bobb                              $11.00   52.43   $   13.00   $ 104.87     $ 80.82    $   185.68
 2/11/2018 Jassiem Morris-Bobb                              $11.00   47.05   $   13.00   $ 94.10      $ 45.83    $   139.93
 2/18/2018 Jassiem Morris-Bobb                              $11.00   52.97   $   13.00   $ 105.93     $ 84.28    $   190.22
 2/25/2018 Jassiem Morris-Bobb                              $11.00   54.62   $   13.00   $ 109.23     $ 95.01    $   204.24
 3/25/2018 Jassiem Morris-Bobb                              $11.00   42.80   $   13.00   $ 85.60      $ 18.20    $   103.80
  4/1/2018 Jassiem Morris-Bobb                              $11.00   53.57   $   13.00   $ 107.13     $ 88.18    $   195.32
  4/8/2018 Jassiem Morris-Bobb                              $11.00   44.45   $   13.00   $ 88.90      $ 28.93    $   117.83
 4/15/2018 Jassiem Morris-Bobb                              $11.00   49.22   $   13.00   $ 98.43      $ 59.91    $   158.34
 6/17/2018 Jassiem Morris-Bobb                              $11.00   59.20   $   13.00   $ 118.40     $ 124.80   $   243.20
 6/24/2018 Jassiem Morris-Bobb                              $11.00   54.25   $   13.00   $ 108.50     $ 92.63    $   201.13
  7/1/2018 Jassiem Morris-Bobb                              $11.00   50.13   $   13.00   $ 100.27     $ 65.87    $   166.13
 7/22/2018 Jassiem Morris-Bobb                              $11.00   58.28   $   13.00   $ 116.57     $ 118.84   $   235.41
 7/29/2018 Jassiem Morris-Bobb                              $11.00   53.90   $   13.00   $ 107.80     $ 90.35    $   198.15
 8/12/2018 Jassiem Morris-Bobb                              $11.00   40.03   $   13.00   $ 80.07      $   0.22   $    80.28
 8/19/2018 Jassiem Morris-Bobb                              $11.00   48.08   $   13.00   $ 96.17      $ 52.54    $   148.71
 8/26/2018 Jassiem Morris-Bobb                              $11.00   50.10   $   13.00   $ 100.20     $ 65.65    $   165.85
  9/2/2018 Jassiem Morris-Bobb                              $11.00   58.27   $   13.00   $ 116.53     $ 118.73   $   235.27
  9/9/2018 Jassiem Morris-Bobb                              $11.00   54.48   $   13.00   $ 108.97     $ 94.14    $   203.11
 9/16/2018 Jassiem Morris-Bobb                              $11.00   54.22   $   13.00   $ 108.43     $ 92.41    $   200.84
 9/23/2018 Jassiem Morris-Bobb                              $11.00   40.53   $   13.00   $ 81.07      $   3.47   $    84.53
 9/30/2018 Jassiem Morris-Bobb                              $11.00   47.45   $   13.00   $ 94.90      $ 48.43    $   143.33
 10/7/2018 Jassiem Morris-Bobb                              $11.00   56.28   $   13.00   $ 112.57     $ 105.84   $   218.41
10/14/2018 Jassiem Morris-Bobb                              $11.00   52.67   $   13.00   $ 105.33     $ 82.33    $   187.67
10/28/2018 Jassiem Morris-Bobb                              $11.00   54.27   $   13.00   $ 108.53     $ 92.73    $   201.27
11/11/2018 Jassiem Morris-Bobb                              $11.00   43.68   $   13.00   $ 87.37      $ 23.94    $   111.31
 12/2/2018 Jassiem Morris-Bobb                              $11.00   43.28   $   13.00   $ 86.57      $ 21.34    $   107.91
 12/9/2018 Jassiem Morris-Bobb                              $11.00   52.72   $   13.00   $ 105.43     $ 82.66    $   188.09
12/23/2018 Jassiem Morris-Bobb                              $11.00   49.55   $   13.00   $ 99.10      $ 62.08    $   161.18
 10/7/2018 Javier Zorrilla                                  $10.50   45.60   $   13.00   $ 114.00     $ 36.40    $   150.40
11/12/2017 Jazmine Robinson-Service Valet                   $16.50   40.80   $   11.00                $   6.60   $     6.60
 12/3/2017 Jazmine Robinson-Service Valet                   $16.50   41.43   $   11.00                $ 11.83    $    11.83
12/10/2017 Jazmine Robinson-Service Valet                   $16.50   43.17   $   11.00                $ 26.13    $    26.13
12/17/2017 Jazmine Robinson-Service Valet                   $16.50   45.90   $   11.00                $ 48.68    $    48.68
10/20/2019 Jazviny Corniel                                  $11.00   41.75   $   15.00   $   167.00   $ 13.13    $   180.13
 11/3/2019 Jazviny Corniel                                  $11.00   44.38   $   15.00   $   177.53   $ 32.88    $   210.41
11/10/2019 Jazviny Corniel                                  $11.00   53.28   $   15.00   $   213.13   $ 99.63    $   312.76
11/17/2019 Jazviny Corniel                                  $11.00   52.02   $   15.00   $   208.07   $ 90.13    $   298.19
11/24/2019 Jazviny Corniel                                  $11.00   48.52   $   15.00   $   194.07   $ 63.88    $   257.94



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                                                New York City Computations


  Week                                                                       State Section 7: Section 7: Total Section 7
                                                             Hourly Hours/
 Ending                              Name                                  Minimum Regular Half-time Overtime Back
                                                              Rate Week
  Date                                                                      Wage   Rate Due     Due       Wages Due

 12/1/2019 Jazviny Corniel                                      $11.00   42.42   $   15.00   $   169.67   $ 18.13    $   187.79
 12/8/2019 Jazviny Corniel                                      $11.00   56.95   $   15.00   $   227.80   $ 127.13   $   354.93
12/15/2019 Jazviny Corniel                                      $11.00   55.30   $   15.00   $   221.20   $ 114.75   $   335.95
12/22/2019 Jazviny Corniel                                      $11.00   54.60   $   15.00   $   218.40   $ 109.50   $   327.90
12/29/2019 Jazviny Corniel                                      $11.00   44.17   $   15.00   $   176.67   $ 31.25    $   207.92
  1/5/2020 Jazviny Corniel                                      $11.00   42.55   $   15.00   $   170.20   $ 19.13    $   189.33
 1/12/2020 Jazviny Corniel                                      $11.00   53.63   $   15.00   $   214.53   $ 102.25   $   316.78
 1/19/2020 Jazviny Corniel                                      $11.00   56.48   $   15.00   $   225.93   $ 123.63   $   349.56
 1/26/2020 Jazviny Corniel                                      $11.00   46.15   $   15.00   $   184.60   $ 46.13    $   230.73
 3/17/2019 Jean Carlos Perez                                    $15.00   51.55   $   15.00                $ 86.63    $    86.63
 3/24/2019 Jean Carlos Perez                                    $15.00   43.03   $   15.00                $ 22.75    $    22.75
 3/31/2019 Jean Carlos Perez                                    $15.00   51.80   $   15.00                $ 88.50    $    88.50
  5/5/2019 Jean Carlos Perez                                    $15.00   51.03   $   15.00                $ 82.75    $    82.75
 5/12/2019 Jean Carlos Perez                                    $15.00   51.45   $   15.00                $ 85.88    $    85.88
 5/19/2019 Jean Carlos Perez                                    $15.00   54.47   $   15.00                $ 108.50   $   108.50
 5/26/2019 Jean Carlos Perez                                    $15.00   43.82   $   15.00                $ 28.63    $    28.63
  6/9/2019 Jean Carlos Perez                                    $15.00   51.92   $   15.00                $ 89.38    $    89.38
 6/16/2019 Jean Carlos Perez                                    $15.00   51.62   $   15.00                $ 87.13    $    87.13
 6/30/2019 Jean Carlos Perez                                    $15.00   42.08   $   15.00                $ 15.63    $    15.63
 8/19/2018 Jeankarlo Familia - Elevator Staff                   $10.00   44.00   $   13.00   $   132.00   $ 26.00    $   158.00
  9/2/2018 Jeankarlo Familia - Elevator Staff                   $10.00   43.83   $   13.00   $   131.50   $ 24.92    $   156.42
 9/16/2018 Jeankarlo Familia - Elevator Staff                   $10.00   41.03   $   13.00   $   123.10   $   6.72   $   129.82
 9/23/2018 Jeankarlo Familia - Elevator Staff                   $10.00   40.02   $   13.00   $   120.05   $   0.11   $   120.16
11/18/2018 Jeankarlo Familia - Elevator Staff                   $10.00   42.48   $   13.00   $   127.45   $ 16.14    $   143.59
  4/9/2017 Jency Solis                                          $12.00   43.95   $   11.00                $ 23.70    $    23.70
 4/16/2017 Jency Solis                                          $12.00   63.25   $   11.00                $ 139.50   $   139.50
 4/23/2017 Jency Solis                                          $12.00   64.75   $   11.00                $ 148.50   $   148.50
 4/30/2017 Jency Solis                                          $12.00   63.83   $   11.00                $ 143.00   $   143.00
  5/7/2017 Jency Solis                                          $12.00   75.18   $   11.00                $ 211.10   $   211.10
 5/14/2017 Jency Solis                                          $12.00   69.18   $   11.00                $ 175.10   $   175.10
 5/21/2017 Jency Solis                                          $12.00   67.42   $   11.00                $ 164.50   $   164.50
 5/28/2017 Jency Solis                                          $12.00   67.87   $   11.00                $ 167.20   $   167.20
  6/4/2017 Jency Solis                                          $12.00   67.85   $   11.00                $ 167.10   $   167.10
 6/11/2017 Jency Solis                                          $12.00   74.27   $   11.00                $ 205.60   $   205.60
 6/18/2017 Jency Solis                                          $12.00   70.87   $   11.00                $ 185.20   $   185.20
 6/25/2017 Jency Solis                                          $12.00   70.07   $   11.00                $ 180.40   $   180.40
  7/2/2017 Jency Solis                                          $12.00   69.75   $   11.00                $ 178.50   $   178.50
  7/9/2017 Jency Solis                                          $12.00   59.65   $   11.00                $ 117.90   $   117.90
 7/16/2017 Jency Solis                                          $12.00   67.25   $   11.00                $ 163.50   $   163.50
 7/23/2017 Jency Solis                                          $12.00   66.57   $   11.00                $ 159.40   $   159.40
 7/30/2017 Jency Solis                                          $12.00   68.53   $   11.00                $ 171.20   $   171.20
  8/6/2017 Jency Solis                                          $12.00   78.27   $   11.00                $ 229.60   $   229.60
 8/13/2017 Jency Solis                                          $12.00   68.37   $   11.00                $ 170.20   $   170.20
 8/20/2017 Jency Solis                                          $12.00   74.22   $   11.00                $ 205.30   $   205.30
 8/27/2017 Jency Solis                                          $12.00   66.08   $   11.00                $ 156.50   $   156.50
  9/3/2017 Jency Solis                                          $12.00   66.58   $   11.00                $ 159.50   $   159.50
 9/10/2017 Jency Solis                                          $12.00   66.07   $   11.00                $ 156.40   $   156.40
 9/17/2017 Jency Solis                                          $12.00   80.48   $   11.00                $ 242.90   $   242.90
 9/24/2017 Jency Solis                                          $12.00   63.60   $   11.00                $ 141.60   $   141.60
 10/1/2017 Jency Solis                                          $12.00   66.73   $   11.00                $ 160.40   $   160.40
 10/8/2017 Jency Solis                                          $12.00   70.50   $   11.00                $ 183.00   $   183.00
10/15/2017 Jency Solis                                          $12.00   85.80   $   11.00                $ 274.80   $   274.80
10/22/2017 Jency Solis                                          $12.00   68.02   $   11.00                $ 168.10   $   168.10
10/29/2017 Jency Solis                                          $12.00   80.87   $   11.00                $ 245.20   $   245.20
 11/5/2017 Jency Solis                                          $12.00   71.02   $   11.00                $ 186.10   $   186.10
11/12/2017 Jency Solis                                          $12.00   68.98   $   11.00                $ 173.90   $   173.90
11/19/2017 Jency Solis                                          $12.00   74.38   $   11.00                $ 206.30   $   206.30
11/26/2017 Jency Solis                                          $12.00   70.30   $   11.00                $ 181.80   $   181.80



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  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                  Name                              Minimum Regular Half-time Overtime Back
                                              Rate Week
  Date                                                      Wage   Rate Due     Due       Wages Due

 12/3/2017 Jency Solis                          $12.00   78.95   $   11.00              $ 233.70   $   233.70
12/10/2017 Jency Solis                          $12.00   64.47   $   11.00              $ 146.80   $   146.80
12/17/2017 Jency Solis                          $12.00   79.43   $   11.00              $ 236.60   $   236.60
12/24/2017 Jency Solis                          $12.00   68.07   $   11.00              $ 168.40   $   168.40
12/31/2017 Jency Solis                          $12.00   70.17   $   13.00   $ 70.17    $ 196.08   $   266.25
  1/7/2018 Jency Solis                          $12.00   49.75   $   13.00   $ 49.75    $ 63.38    $   113.13
 1/14/2018 Jency Solis                          $12.00   75.53   $   13.00   $ 75.53    $ 230.97   $   306.50
 1/21/2018 Jency Solis                          $12.00   70.68   $   13.00   $ 70.68    $ 199.44   $   270.13
 1/28/2018 Jency Solis                          $12.00   71.90   $   13.00   $ 71.90    $ 207.35   $   279.25
  2/4/2018 Jency Solis                          $12.00   75.83   $   13.00   $ 75.83    $ 232.92   $   308.75
 2/11/2018 Jency Solis                          $12.00   74.15   $   13.00   $ 74.15    $ 221.98   $   296.13
 2/18/2018 Jency Solis                          $12.00   82.35   $   13.00   $ 82.35    $ 275.28   $   357.63
 2/25/2018 Jency Solis                          $12.00   63.75   $   13.00   $ 63.75    $ 154.38   $   218.13
  3/4/2018 Jency Solis                          $12.00   74.68   $   13.00   $ 74.68    $ 225.44   $   300.13
 3/25/2018 Jency Solis                          $12.00   76.70   $   13.00   $ 76.70    $ 238.55   $   315.25
  4/1/2018 Jency Solis                          $12.00   74.18   $   13.00   $ 74.18    $ 222.19   $   296.38
  4/8/2018 Jency Solis                          $12.00   74.02   $   13.00   $ 74.02    $ 221.11   $   295.13
 4/15/2018 Jency Solis                          $12.00   71.80   $   13.00   $ 71.80    $ 206.70   $   278.50
 4/22/2018 Jency Solis                          $12.00   75.43   $   13.00   $ 75.43    $ 230.32   $   305.75
 4/29/2018 Jency Solis                          $12.00   77.68   $   13.00   $ 77.68    $ 244.94   $   322.63
  5/6/2018 Jency Solis                          $12.00   80.57   $   13.00   $ 80.57    $ 263.68   $   344.25
 5/13/2018 Jency Solis                          $12.00   72.50   $   13.00   $ 72.50    $ 211.25   $   283.75
 5/20/2018 Jency Solis                          $12.00   73.17   $   13.00   $ 73.17    $ 215.58   $   288.75
 5/27/2018 Jency Solis                          $12.00   79.53   $   13.00   $ 79.53    $ 256.97   $   336.50
  6/3/2018 Jency Solis                          $12.00   72.77   $   13.00   $ 72.77    $ 212.98   $   285.75
 6/10/2018 Jency Solis                          $12.00   81.57   $   13.00   $ 81.57    $ 270.18   $   351.75
 6/17/2018 Jency Solis                          $12.00   83.63   $   13.00   $ 83.63    $ 283.62   $   367.25
 6/24/2018 Jency Solis                          $12.00   80.55   $   13.00   $ 80.55    $ 263.58   $   344.13
  7/1/2018 Jency Solis                          $12.00   83.20   $   13.00   $ 83.20    $ 280.80   $   364.00
  7/8/2018 Jency Solis                          $12.00   66.98   $   13.00   $ 66.98    $ 175.39   $   242.38
 7/15/2018 Jency Solis                          $12.00   75.70   $   13.00   $ 75.70    $ 232.05   $   307.75
 7/29/2018 Jency Solis                          $12.00   79.22   $   13.00   $ 79.22    $ 254.91   $   334.13
  8/5/2018 Jency Solis                          $12.00   82.50   $   13.00   $ 82.50    $ 276.25   $   358.75
 8/12/2018 Jency Solis                          $12.00   79.55   $   13.00   $ 79.55    $ 257.08   $   336.63
 8/19/2018 Jency Solis                          $12.00   80.40   $   13.00   $ 80.40    $ 262.60   $   343.00
 8/26/2018 Jency Solis                          $12.00   82.18   $   13.00   $ 82.18    $ 274.19   $   356.38
  9/2/2018 Jency Solis                          $12.00   83.22   $   13.00   $ 83.22    $ 280.91   $   364.13
  9/9/2018 Jency Solis                          $12.00   76.80   $   13.00   $ 76.80    $ 239.20   $   316.00
 9/16/2018 Jency Solis                          $12.00   83.98   $   13.00   $ 83.98    $ 285.89   $   369.88
 9/23/2018 Jency Solis                          $12.00   49.15   $   13.00   $ 49.15    $ 59.48    $   108.63
 9/30/2018 Jency Solis                          $12.00   74.02   $   13.00   $ 74.02    $ 221.11   $   295.13
 10/7/2018 Jency Solis                          $12.00   79.37   $   13.00   $ 79.37    $ 255.88   $   335.25
10/14/2018 Jency Solis                          $12.00   79.08   $   13.00   $ 79.08    $ 254.04   $   333.13
10/21/2018 Jency Solis                          $12.00   78.27   $   13.00   $ 78.27    $ 248.73   $   327.00
10/28/2018 Jency Solis                          $12.00   78.12   $   13.00   $ 78.12    $ 247.76   $   325.88
 11/4/2018 Jency Solis                          $12.00   76.60   $   13.00   $ 76.60    $ 237.90   $   314.50
11/11/2018 Jency Solis                          $12.00   81.47   $   13.00   $ 81.47    $ 269.53   $   351.00
11/18/2018 Jency Solis                          $12.00   72.13   $   13.00   $ 72.13    $ 208.87   $   281.00
11/25/2018 Jency Solis                          $12.00   69.23   $   13.00   $ 69.23    $ 190.02   $   259.25
 12/2/2018 Jency Solis                          $12.00   80.23   $   13.00   $ 80.23    $ 261.52   $   341.75
 12/9/2018 Jency Solis                          $12.00   80.60   $   13.00   $ 80.60    $ 263.90   $   344.50
12/16/2018 Jency Solis                          $12.00   81.28   $   13.00   $ 81.28    $ 268.34   $   349.63
12/23/2018 Jency Solis                          $12.00   78.92   $   13.00   $ 78.92    $ 252.96   $   331.88
12/30/2018 Jency Solis                          $12.00   72.05   $   13.00   $ 72.05    $ 208.33   $   280.38
  1/6/2019 Jency Solis                          $12.00   67.13   $   15.00   $ 201.40   $ 203.50   $   404.90
 1/13/2019 Jency Solis                          $12.00   85.27   $   15.00   $ 255.80   $ 339.50   $   595.30
 1/20/2019 Jency Solis                          $12.00   89.17   $   15.00   $ 267.50   $ 368.75   $   636.25
 1/27/2019 Jency Solis                          $12.00   78.48   $   15.00   $ 235.45   $ 288.63   $   524.08



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                                                              Exhibit 3
                                                     New York City Computations


  Week                                                                            State Section 7: Section 7: Total Section 7
                                                                  Hourly Hours/
 Ending                            Name                                         Minimum Regular Half-time Overtime Back
                                                                   Rate Week
  Date                                                                           Wage   Rate Due     Due       Wages Due

  2/3/2019 Jency Solis                                               $12.00   79.07   $   15.00   $ 237.20     $ 293.00   $   530.20
 2/10/2019 Jency Solis                                               $12.00   80.42   $   15.00   $ 241.25     $ 303.13   $   544.38
 2/17/2019 Jency Solis                                               $12.00   77.75   $   15.00   $ 233.25     $ 283.13   $   516.38
 2/24/2019 Jency Solis                                               $12.00   82.37   $   15.00   $ 247.10     $ 317.75   $   564.85
  3/3/2019 Jency Solis                                               $12.00   85.75   $   15.00   $ 257.25     $ 343.13   $   600.38
 3/10/2019 Jency Solis                                               $12.00   83.00   $   15.00   $ 249.00     $ 322.50   $   571.50
 3/17/2019 Jency Solis                                               $12.00   83.32   $   15.00   $ 249.95     $ 324.88   $   574.83
 3/24/2019 Jency Solis                                               $12.00   85.47   $   15.00   $ 256.40     $ 341.00   $   597.40
 3/31/2019 Jency Solis                                               $12.00   65.43   $   15.00   $ 196.30     $ 190.75   $   387.05
  2/5/2017 Jerry Lopez                                               $10.00   58.92   $   11.00   $ 58.92      $ 104.04   $   162.96
 2/12/2017 Jerry Lopez                                               $10.00   67.58   $   11.00   $ 67.58      $ 151.71   $   219.29
 2/19/2017 Jerry Lopez                                               $10.00   72.63   $   11.00   $ 72.63      $ 179.48   $   252.12
 2/26/2017 Jerry Lopez                                               $10.00   59.97   $   11.00   $ 59.97      $ 109.82   $   169.78
  3/5/2017 Jerry Lopez                                               $10.00   51.13   $   11.00   $ 51.13      $ 61.23    $   112.37
 3/12/2017 Jerry Lopez                                               $10.00   56.82   $   11.00   $ 56.82      $ 92.49    $   149.31
 3/19/2017 Jerry Lopez                                               $10.00   40.62   $   11.00   $ 40.62      $   3.39   $    44.01
 3/26/2017 Jerry Lopez                                               $10.00   67.67   $   11.00   $ 67.67      $ 152.17   $   219.83
  4/2/2017 Jerry Lopez                                               $10.00   59.13   $   11.00   $ 59.13      $ 105.23   $   164.37
 3/25/2018 Jerry Lopez                                               $12.00   41.98   $   13.00   $ 41.98      $ 12.89    $    54.88
  4/1/2018 Jerry Lopez                                               $12.00   61.58   $   13.00   $ 61.58      $ 140.29   $   201.88
  4/8/2018 Jerry Lopez                                               $12.00   59.50   $   13.00   $ 59.50      $ 126.75   $   186.25
 4/15/2018 Jerry Lopez                                               $12.00   56.73   $   13.00   $ 56.73      $ 108.77   $   165.50
 4/22/2018 Jerry Lopez                                               $12.00   45.37   $   13.00   $ 45.37      $ 34.88    $    80.25
 4/29/2018 Jerry Lopez                                               $12.00   45.13   $   13.00   $ 45.13      $ 33.37    $    78.50
  5/6/2018 Jerry Lopez                                               $12.00   55.62   $   13.00   $ 55.62      $ 101.51   $   157.13
 5/13/2018 Jerry Lopez                                               $12.00   47.15   $   13.00   $ 47.15      $ 46.47    $    93.62
  2/3/2019 Jerry Lopez                                               $12.00   65.73   $   15.00   $ 197.20     $ 193.00   $   390.20
 2/10/2019 Jerry Lopez                                               $12.00   61.80   $   15.00   $ 185.40     $ 163.50   $   348.90
 2/17/2019 Jerry Lopez                                               $12.00   70.13   $   15.00   $ 210.40     $ 226.00   $   436.40
 2/24/2019 Jerry Lopez                                               $12.00   56.92   $   15.00   $ 170.75     $ 126.88   $   297.63
 4/30/2017 Jeser Rodriguez                                            $9.00   41.73   $   11.00   $ 83.47      $   9.53   $    93.00
 5/28/2017 Jeser Rodriguez                                            $9.00   41.40   $   11.00   $ 82.80      $   7.70   $    90.50
  6/4/2017 Jeser Rodriguez                                            $9.00   40.80   $   11.00   $ 81.60      $   4.40   $    86.00
  7/2/2017 Jeser Rodriguez                                            $9.00   44.55   $   11.00   $ 89.10      $ 25.03    $   114.13
  1/5/2020 Jeser Rodriguez                                           $10.00   46.65   $   15.00   $ 233.25     $ 49.88    $   283.13
 1/12/2020 Jeser Rodriguez                                           $10.00   46.93   $   15.00   $ 234.67     $ 52.00    $   286.67
 1/19/2020 Jeser Rodriguez                                           $10.00   45.22   $   15.00   $ 226.08     $ 39.13    $   265.21
 1/26/2020 Jeser Rodriguez                                           $10.00   50.72   $   15.00   $ 253.58     $ 80.38    $   333.96
 11/4/2018 Jeyfri Castillo - Valet @ Jeep Showroom                   $16.50   58.23   $   13.00                $ 150.43   $   150.43
11/11/2018 Jeyfri Castillo - Valet @ Jeep Showroom                   $16.50   57.18   $   13.00                $ 141.76   $   141.76
11/18/2018 Jeyfri Castillo - Valet @ Jeep Showroom                   $16.50   55.57   $   13.00                $ 128.43   $   128.43
11/25/2018 Jeyfri Castillo - Valet @ Jeep Showroom                   $16.50   49.10   $   13.00                $ 75.08    $    75.08
 12/2/2018 Jeyfri Castillo - Valet @ Jeep Showroom                   $16.50   50.80   $   13.00                $ 89.10    $    89.10
 12/9/2018 Jeyfri Castillo - Valet @ Jeep Showroom                   $16.50   61.03   $   13.00                $ 173.53   $   173.53
12/16/2018 Jeyfri Castillo - Valet @ Jeep Showroom                   $16.50   56.05   $   13.00                $ 132.41   $   132.41
12/23/2018 Jeyfri Castillo - Valet @ Jeep Showroom                   $16.50   54.02   $   13.00                $ 115.64   $   115.64
  1/6/2019 Jeyfri Castillo - Valet @ Jeep Showroom                   $16.50   45.78   $   15.00                $ 47.71    $    47.71
 1/13/2019 Jeyfri Castillo - Valet @ Jeep Showroom                   $16.50   53.50   $   15.00                $ 111.38   $   111.38
 1/20/2019 Jeyfri Castillo - Valet @ Jeep Showroom                   $16.50   45.48   $   15.00                $ 45.24    $    45.24
  2/3/2019 Jeyfri Castillo - Valet @ Jeep Showroom                   $16.50   40.25   $   15.00                $   2.06   $     2.06
10/28/2018 Joan Marte                                                $10.00   52.80   $   13.00   $   158.40   $ 83.20    $   241.60
 11/4/2018 Joan Marte                                                $10.00   57.05   $   13.00   $   171.15   $ 110.83   $   281.98
11/11/2018 Joan Marte                                                $10.00   52.02   $   13.00   $   156.05   $ 78.11    $   234.16
11/18/2018 Joan Marte                                                $10.00   53.78   $   13.00   $   161.35   $ 89.59    $   250.94
11/25/2018 Joan Marte                                                $10.00   44.77   $   13.00   $   134.30   $ 30.98    $   165.28
 12/2/2018 Joan Marte                                                $10.00   55.17   $   13.00   $   165.50   $ 98.58    $   264.08
 12/9/2018 Joan Marte                                                $10.00   45.92   $   13.00   $   137.75   $ 38.46    $   176.21
12/16/2018 Joan Marte                                                $10.00   55.20   $   13.00   $   165.60   $ 98.80    $   264.40



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  Week                                                                     State Section 7: Section 7: Total Section 7
                                                           Hourly Hours/
 Ending                            Name                                  Minimum Regular Half-time Overtime Back
                                                            Rate Week
  Date                                                                    Wage   Rate Due     Due       Wages Due

12/23/2018 Joan Marte                                         $10.00   56.07   $   13.00   $ 168.20   $ 104.43   $   272.63
12/30/2018 Joan Marte                                         $10.00   45.17   $   13.00   $ 135.50   $ 33.58    $   169.08
  1/6/2019 Joan Marte                                         $10.00   44.40   $   15.00   $ 222.00   $ 33.00    $   255.00
 1/13/2019 Joan Marte                                         $10.00   51.80   $   15.00   $ 259.00   $ 88.50    $   347.50
 1/20/2019 Joan Marte                                         $10.00   49.07   $   15.00   $ 245.33   $ 68.00    $   313.33
 1/27/2019 Joan Marte                                         $10.00   53.45   $   15.00   $ 267.25   $ 100.88   $   368.13
  2/3/2019 Joan Marte                                         $10.00   53.43   $   15.00   $ 267.17   $ 100.75   $   367.92
 2/10/2019 Joan Marte                                         $10.00   49.68   $   15.00   $ 248.42   $ 72.63    $   321.04
 2/17/2019 Joan Marte                                         $10.00   51.58   $   15.00   $ 257.92   $ 86.88    $   344.79
 2/24/2019 Joan Marte                                         $10.00   51.43   $   15.00   $ 257.17   $ 85.75    $   342.92
  3/3/2019 Joan Marte                                         $10.00   56.75   $   15.00   $ 283.75   $ 125.63   $   409.38
 3/10/2019 Joan Marte                                         $10.00   53.83   $   15.00   $ 269.17   $ 103.75   $   372.92
 3/17/2019 Joan Marte                                         $10.00   58.73   $   15.00   $ 293.67   $ 140.50   $   434.17
 3/24/2019 Joan Marte                                         $10.00   62.80   $   15.00   $ 314.00   $ 171.00   $   485.00
 3/31/2019 Joan Marte                                         $10.00   62.90   $   15.00   $ 314.50   $ 171.75   $   486.25
  4/7/2019 Joan Marte                                         $10.00   59.42   $   15.00   $ 297.08   $ 145.63   $   442.71
 4/14/2019 Joan Marte                                         $10.00   57.98   $   15.00   $ 289.92   $ 134.88   $   424.79
 4/21/2019 Joan Marte                                         $10.00   58.47   $   15.00   $ 292.33   $ 138.50   $   430.83
 4/28/2019 Joan Marte                                         $10.00   58.92   $   15.00   $ 294.58   $ 141.88   $   436.46
  5/5/2019 Joan Marte                                         $10.00   54.75   $   15.00   $ 273.75   $ 110.63   $   384.38
 5/12/2019 Joan Marte                                         $10.00   51.53   $   15.00   $ 257.67   $ 86.50    $   344.17
 5/19/2019 Joan Marte                                         $10.00   58.62   $   15.00   $ 293.08   $ 139.63   $   432.71
 5/26/2019 Joan Marte                                         $10.00   58.15   $   15.00   $ 290.75   $ 136.13   $   426.88
  6/2/2019 Joan Marte                                         $10.00   53.67   $   15.00   $ 268.33   $ 102.50   $   370.83
  6/9/2019 Joan Marte                                         $10.00   64.53   $   15.00   $ 322.67   $ 184.00   $   506.67
 6/16/2019 Joan Marte                                         $10.00   66.10   $   15.00   $ 330.50   $ 195.75   $   526.25
 6/23/2019 Joan Marte                                         $10.00   56.55   $   15.00   $ 282.75   $ 124.13   $   406.88
 6/30/2019 Joan Marte                                         $10.00   59.85   $   15.00   $ 299.25   $ 148.88   $   448.13
 9/10/2017 Joan Martinez - PM Service Valet                   $10.50   52.00   $   11.00   $ 26.00    $ 66.00    $    92.00
 9/17/2017 Joan Martinez - PM Service Valet                   $10.50   51.07   $   11.00   $ 25.53    $ 60.87    $    86.40
 9/24/2017 Joan Martinez - PM Service Valet                   $10.50   51.23   $   11.00   $ 25.62    $ 61.78    $    87.40
 10/1/2017 Joan Martinez - PM Service Valet                   $10.50   51.08   $   11.00   $ 25.54    $ 60.96    $    86.50
 10/8/2017 Joan Martinez - PM Service Valet                   $10.50   50.98   $   11.00   $ 25.49    $ 60.41    $    85.90
10/15/2017 Joan Martinez - PM Service Valet                   $10.50   50.73   $   11.00   $ 25.37    $ 59.03    $    84.40
10/22/2017 Joan Martinez - PM Service Valet                   $10.50   51.53   $   11.00   $ 25.77    $ 63.43    $    89.20
10/29/2017 Joan Martinez - PM Service Valet                   $10.50   50.98   $   11.00   $ 25.49    $ 60.41    $    85.90
 11/5/2017 Joan Martinez - PM Service Valet                   $10.50   51.05   $   11.00   $ 25.53    $ 60.78    $    86.30
11/12/2017 Joan Martinez - PM Service Valet                   $10.50   50.43   $   11.00   $ 25.22    $ 57.38    $    82.60
11/19/2017 Joan Martinez - PM Service Valet                   $10.50   51.17   $   11.00   $ 25.58    $ 61.42    $    87.00
 12/3/2017 Joan Martinez - PM Service Valet                   $10.50   51.25   $   11.00   $ 25.63    $ 61.88    $    87.50
12/10/2017 Joan Martinez - PM Service Valet                   $10.50   61.53   $   11.00   $ 30.77    $ 118.43   $   149.20
12/17/2017 Joan Martinez - PM Service Valet                   $10.50   51.25   $   11.00   $ 25.63    $ 61.88    $    87.50
12/24/2017 Joan Martinez - PM Service Valet                   $10.50   47.80   $   11.00   $ 23.90    $ 42.90    $    66.80
12/31/2017 Joan Martinez - PM Service Valet                   $10.50   51.35   $   13.00   $ 128.38   $ 73.78    $   202.15
  1/7/2018 Joan Martinez - PM Service Valet                   $10.50   40.75   $   13.00   $ 101.88   $   4.88   $   106.75
 1/14/2018 Joan Martinez - PM Service Valet                   $10.50   51.17   $   13.00   $ 127.92   $ 72.58    $   200.50
 1/21/2018 Joan Martinez - PM Service Valet                   $10.50   51.20   $   13.00   $ 128.00   $ 72.80    $   200.80
 1/28/2018 Joan Martinez - PM Service Valet                   $10.50   50.82   $   13.00   $ 127.04   $ 70.31    $   197.35
  2/4/2018 Joan Martinez - PM Service Valet                   $10.50   51.20   $   13.00   $ 128.00   $ 72.80    $   200.80
 2/11/2018 Joan Martinez - PM Service Valet                   $10.50   51.25   $   13.00   $ 128.13   $ 73.13    $   201.25
 2/18/2018 Joan Martinez - PM Service Valet                   $10.50   50.68   $   13.00   $ 126.71   $ 69.44    $   196.15
 2/25/2018 Joan Martinez - PM Service Valet                   $10.50   51.12   $   13.00   $ 127.79   $ 72.26    $   200.05
  3/4/2018 Joan Martinez - PM Service Valet                   $10.50   51.35   $   13.00   $ 128.38   $ 73.78    $   202.15
 3/25/2018 Joan Martinez - PM Service Valet                   $10.50   51.42   $   13.00   $ 128.54   $ 74.21    $   202.75
  4/1/2018 Joan Martinez - PM Service Valet                   $10.50   51.02   $   13.00   $ 127.54   $ 71.61    $   199.15
  4/8/2018 Joan Martinez - PM Service Valet                   $10.50   51.10   $   13.00   $ 127.75   $ 72.15    $   199.90
 4/15/2018 Joan Martinez - PM Service Valet                   $10.50   51.53   $   13.00   $ 128.83   $ 74.97    $   203.80
 4/22/2018 Joan Martinez - PM Service Valet                   $10.50   51.03   $   13.00   $ 127.58   $ 71.72    $   199.30



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                                                       Exhibit 3
                                              New York City Computations


  Week                                                                     State Section 7: Section 7: Total Section 7
                                                           Hourly Hours/
 Ending                            Name                                  Minimum Regular Half-time Overtime Back
                                                            Rate Week
  Date                                                                    Wage   Rate Due     Due       Wages Due

 4/29/2018 Joan Martinez - PM Service Valet                   $10.50   50.77   $   13.00   $ 126.92   $ 69.98    $   196.90
  5/6/2018 Joan Martinez - PM Service Valet                   $10.50   51.12   $   13.00   $ 127.79   $ 72.26    $   200.05
 5/13/2018 Joan Martinez - PM Service Valet                   $10.50   51.05   $   13.00   $ 127.63   $ 71.83    $   199.45
 5/20/2018 Joan Martinez - PM Service Valet                   $10.50   51.03   $   13.00   $ 127.58   $ 71.72    $   199.30
 5/27/2018 Joan Martinez - PM Service Valet                   $10.50   51.45   $   13.00   $ 128.63   $ 74.43    $   203.05
  6/3/2018 Joan Martinez - PM Service Valet                   $10.50   42.93   $   13.00   $ 107.33   $ 19.07    $   126.40
 6/10/2018 Joan Martinez - PM Service Valet                   $10.50   52.90   $   13.00   $ 132.25   $ 83.85    $   216.10
 6/17/2018 Joan Martinez - PM Service Valet                   $10.50   52.97   $   13.00   $ 132.42   $ 84.28    $   216.70
 6/24/2018 Joan Martinez - PM Service Valet                   $10.50   53.95   $   13.00   $ 134.88   $ 90.68    $   225.55
  7/1/2018 Joan Martinez - PM Service Valet                   $10.50   53.07   $   13.00   $ 132.67   $ 84.93    $   217.60
  7/8/2018 Joan Martinez - PM Service Valet                   $10.50   44.05   $   13.00   $ 110.13   $ 26.33    $   136.45
 7/15/2018 Joan Martinez - PM Service Valet                   $10.50   51.12   $   13.00   $ 127.79   $ 72.26    $   200.05
 7/22/2018 Joan Martinez - PM Service Valet                   $10.50   52.35   $   13.00   $ 130.88   $ 80.28    $   211.15
 7/29/2018 Joan Martinez - PM Service Valet                   $10.50   52.28   $   13.00   $ 130.71   $ 79.84    $   210.55
  8/5/2018 Joan Martinez - PM Service Valet                   $10.50   52.42   $   13.00   $ 131.04   $ 80.71    $   211.75
 8/18/2019 Joel Martine                                       $10.00   70.62   $   15.00   $ 353.08   $ 229.63   $   582.71
 8/25/2019 Joel Martine                                       $10.00   53.95   $   15.00   $ 269.75   $ 104.63   $   374.38
  9/1/2019 Joel Martine                                       $10.00   62.85   $   15.00   $ 314.25   $ 171.38   $   485.63
  9/8/2019 Joel Martine                                       $10.00   53.98   $   15.00   $ 269.92   $ 104.88   $   374.79
 9/15/2019 Joel Martine                                       $10.00   54.42   $   15.00   $ 272.08   $ 108.13   $   380.21
 9/22/2019 Joel Martine                                       $10.00   59.77   $   15.00   $ 298.83   $ 148.25   $   447.08
 9/29/2019 Joel Martine                                       $10.00   69.52   $   15.00   $ 347.58   $ 221.38   $   568.96
 10/6/2019 Joel Martine                                       $10.00   69.68   $   15.00   $ 348.42   $ 222.63   $   571.04
10/13/2019 Joel Martine                                       $10.00   68.38   $   15.00   $ 341.92   $ 212.88   $   554.79
10/20/2019 Joel Martine                                       $10.00   58.70   $   15.00   $ 293.50   $ 140.25   $   433.75
10/27/2019 Joel Martine                                       $10.00   64.58   $   15.00   $ 322.92   $ 184.38   $   507.29
 11/3/2019 Joel Martine                                       $10.00   70.55   $   15.00   $ 352.75   $ 229.13   $   581.88
11/10/2019 Joel Martine                                       $10.00   65.77   $   15.00   $ 328.83   $ 193.25   $   522.08
11/17/2019 Joel Martine                                       $10.00   62.98   $   15.00   $ 314.92   $ 172.38   $   487.29
11/24/2019 Joel Martine                                       $10.00   60.22   $   15.00   $ 301.08   $ 151.63   $   452.71
 12/1/2019 Joel Martine                                       $10.00   55.95   $   15.00   $ 279.75   $ 119.63   $   399.38
12/15/2019 Joel Martine                                       $10.00   64.15   $   15.00   $ 320.75   $ 181.13   $   501.88
12/22/2019 Joel Martine                                       $10.00   51.70   $   15.00   $ 258.50   $ 87.75    $   346.25
12/29/2019 Joel Martine                                       $10.00   47.30   $   15.00   $ 236.50   $ 54.75    $   291.25
  1/5/2020 Joel Martine                                       $10.00   45.43   $   15.00   $ 227.17   $ 40.75    $   267.92
 1/12/2020 Joel Martine                                       $10.00   68.25   $   15.00   $ 341.25   $ 211.88   $   553.13
 1/19/2020 Joel Martine                                       $10.00   66.43   $   15.00   $ 332.17   $ 198.25   $   530.42
 1/26/2020 Joel Martine                                       $10.00   60.30   $   15.00   $ 301.50   $ 152.25   $   453.75
 7/21/2019 Joelmi Santelises                                  $10.00   44.00   $   15.00   $ 220.00   $ 30.00    $   250.00
 7/28/2019 Joelmi Santelises                                  $10.00   42.00   $   15.00   $ 210.00   $ 15.00    $   225.00
 8/11/2019 Joelmi Santelises                                  $10.00   44.35   $   15.00   $ 221.75   $ 32.63    $   254.38
 8/18/2019 Joelmi Santelises                                  $10.00   41.95   $   15.00   $ 209.75   $ 14.63    $   224.38
  9/1/2019 Joelmi Santelises                                  $10.00   44.38   $   15.00   $ 221.92   $ 32.87    $   254.79
 9/29/2019 Joelmi Santelises                                  $10.00   50.13   $   15.00   $ 250.67   $ 76.00    $   326.67
10/13/2019 Joelmi Santelises                                  $10.00   59.68   $   15.00   $ 298.42   $ 147.63   $   446.04
 4/23/2017 Johan Decena                                       $10.00   42.62   $   11.00   $ 42.62    $ 14.39    $    57.01
 4/30/2017 Johan Decena                                       $10.00   46.48   $   11.00   $ 46.48    $ 35.66    $    82.14
  5/7/2017 Johan Decena                                       $10.00   47.07   $   11.00   $ 47.07    $ 38.87    $    85.93
 5/14/2017 Johan Decena                                       $10.00   44.30   $   11.00   $ 44.30    $ 23.65    $    67.95
 5/21/2017 Johan Decena                                       $10.00   46.62   $   11.00   $ 46.62    $ 36.39    $    83.01
 5/28/2017 Johan Decena                                       $10.00   46.90   $   11.00   $ 46.90    $ 37.95    $    84.85
 6/11/2017 Johan Decena                                       $10.00   46.03   $   11.00   $ 46.03    $ 33.18    $    79.22
 6/18/2017 Johan Decena                                       $10.00   46.23   $   11.00   $ 46.23    $ 34.28    $    80.52
 6/25/2017 Johan Decena                                       $10.00   46.57   $   11.00   $ 46.57    $ 36.12    $    82.68
  7/2/2017 Johan Decena                                       $10.00   44.28   $   11.00   $ 44.28    $ 23.56    $    67.84
 7/16/2017 Johan Decena                                       $10.00   45.95   $   11.00   $ 45.95    $ 32.73    $    78.68
 7/23/2017 Johan Decena                                       $10.00   45.78   $   11.00   $ 45.78    $ 31.81    $    77.59
 7/30/2017 Johan Decena                                       $10.00   44.28   $   11.00   $ 44.28    $ 23.56    $    67.84



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                                          Exhibit 3
                                 New York City Computations


  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                   Name                              Minimum Regular Half-time Overtime Back
                                               Rate Week
  Date                                                       Wage   Rate Due     Due       Wages Due

 8/27/2017 Johan Decena                          $10.00   45.88   $   11.00   $ 45.88    $ 32.36    $    78.24
  9/3/2017 Johan Decena                          $10.00   46.13   $   11.00   $ 46.13    $ 33.73    $    79.87
 9/10/2017 Johan Decena                          $10.00   45.25   $   11.00   $ 45.25    $ 28.88    $    74.13
 9/17/2017 Johan Decena                          $10.00   42.65   $   11.00   $ 42.65    $ 14.58    $    57.23
 9/24/2017 Johan Decena                          $10.00   44.07   $   11.00   $ 44.07    $ 22.37    $    66.43
 10/1/2017 Johan Decena                          $10.00   46.17   $   11.00   $ 46.17    $ 33.92    $    80.08
 10/8/2017 Johan Decena                          $10.00   45.80   $   11.00   $ 45.80    $ 31.90    $    77.70
10/15/2017 Johan Decena                          $10.00   46.03   $   11.00   $ 46.03    $ 33.18    $    79.22
10/22/2017 Johan Decena                          $10.00   42.67   $   11.00   $ 42.67    $ 14.67    $    57.33
10/29/2017 Johan Decena                          $10.00   44.75   $   11.00   $ 44.75    $ 26.13    $    70.88
 11/5/2017 Johan Decena                          $10.00   44.43   $   11.00   $ 44.43    $ 24.38    $    68.82
11/12/2017 Johan Decena                          $10.00   44.70   $   11.00   $ 44.70    $ 25.85    $    70.55
11/19/2017 Johan Decena                          $10.00   44.10   $   11.00   $ 44.10    $ 22.55    $    66.65
 12/3/2017 Johan Decena                          $10.00   41.68   $   11.00   $ 41.68    $   9.26   $    50.94
12/10/2017 Johan Decena                          $10.00   45.75   $   11.00   $ 45.75    $ 31.63    $    77.38
12/17/2017 Johan Decena                          $10.00   44.47   $   11.00   $ 44.47    $ 24.57    $    69.03
12/24/2017 Johan Decena                          $10.00   44.18   $   11.00   $ 44.18    $ 23.01    $    67.19
 1/28/2018 Johan Decena                          $10.00   45.00   $   13.00   $ 135.00   $ 32.50    $   167.50
  2/4/2018 Johan Decena                          $10.00   44.73   $   13.00   $ 134.20   $ 30.77    $   164.97
 2/11/2018 Johan Decena                          $10.00   46.23   $   13.00   $ 138.70   $ 40.52    $   179.22
 2/18/2018 Johan Decena                          $10.00   46.13   $   13.00   $ 138.40   $ 39.87    $   178.27
 2/25/2018 Johan Decena                          $10.00   46.22   $   13.00   $ 138.65   $ 40.41    $   179.06
  3/4/2018 Johan Decena                          $10.00   44.95   $   13.00   $ 134.85   $ 32.18    $   167.03
  4/1/2018 Johan Decena                          $10.00   45.72   $   13.00   $ 137.15   $ 37.16    $   174.31
  4/8/2018 Johan Decena                          $10.00   45.50   $   13.00   $ 136.50   $ 35.75    $   172.25
 4/15/2018 Johan Decena                          $10.00   45.37   $   13.00   $ 136.10   $ 34.88    $   170.98
 4/22/2018 Johan Decena                          $10.00   45.43   $   13.00   $ 136.30   $ 35.32    $   171.62
 4/29/2018 Johan Decena                          $10.00   45.58   $   13.00   $ 136.75   $ 36.29    $   173.04
  5/6/2018 Johan Decena                          $10.00   45.92   $   13.00   $ 137.75   $ 38.46    $   176.21
 5/13/2018 Johan Decena                          $10.00   44.53   $   13.00   $ 133.60   $ 29.47    $   163.07
 5/20/2018 Johan Decena                          $10.00   46.20   $   13.00   $ 138.60   $ 40.30    $   178.90
 5/27/2018 Johan Decena                          $10.00   47.03   $   13.00   $ 141.10   $ 45.72    $   186.82
 6/10/2018 Johan Decena                          $10.00   45.95   $   13.00   $ 137.85   $ 38.68    $   176.53
 6/17/2018 Johan Decena                          $10.00   45.13   $   13.00   $ 135.40   $ 33.37    $   168.77
  7/1/2018 Johan Decena                          $10.00   43.67   $   13.00   $ 131.00   $ 23.83    $   154.83
 7/15/2018 Johan Decena                          $10.00   45.37   $   13.00   $ 136.10   $ 34.88    $   170.98
 7/22/2018 Johan Decena                          $10.00   46.23   $   13.00   $ 138.70   $ 40.52    $   179.22
 7/29/2018 Johan Decena                          $10.00   44.78   $   13.00   $ 134.35   $ 31.09    $   165.44
  8/5/2018 Johan Decena                          $10.00   45.78   $   13.00   $ 137.35   $ 37.59    $   174.94
 8/12/2018 Johan Decena                          $10.00   43.78   $   13.00   $ 131.35   $ 24.59    $   155.94
 8/19/2018 Johan Decena                          $10.00   43.15   $   13.00   $ 129.45   $ 20.48    $   149.93
 8/26/2018 Johan Decena                          $10.00   45.67   $   13.00   $ 137.00   $ 36.83    $   173.83
  9/2/2018 Johan Decena                          $10.00   44.32   $   13.00   $ 132.95   $ 28.06    $   161.01
  9/9/2018 Johan Decena                          $10.00   45.80   $   13.00   $ 137.40   $ 37.70    $   175.10
 9/16/2018 Johan Decena                          $10.00   43.27   $   13.00   $ 129.80   $ 21.23    $   151.03
 9/30/2018 Johan Decena                          $10.00   44.82   $   13.00   $ 134.45   $ 31.31    $   165.76
 10/7/2018 Johan Decena                          $10.00   45.07   $   13.00   $ 135.20   $ 32.93    $   168.13
10/14/2018 Johan Decena                          $10.00   44.38   $   13.00   $ 133.15   $ 28.49    $   161.64
10/21/2018 Johan Decena                          $10.00   45.08   $   13.00   $ 135.25   $ 33.04    $   168.29
 11/4/2018 Johan Decena                          $10.00   43.92   $   13.00   $ 131.75   $ 25.46    $   157.21
11/11/2018 Johan Decena                          $10.00   45.93   $   13.00   $ 137.80   $ 38.57    $   176.37
 12/2/2018 Johan Decena                          $10.00   44.40   $   13.00   $ 133.20   $ 28.60    $   161.80
 12/9/2018 Johan Decena                          $10.00   43.90   $   13.00   $ 131.70   $ 25.35    $   157.05
12/16/2018 Johan Decena                          $10.00   44.03   $   13.00   $ 132.10   $ 26.22    $   158.32
12/23/2018 Johan Decena                          $10.00   45.73   $   13.00   $ 137.20   $ 37.27    $   174.47
  2/3/2019 Johan Decena                          $10.00   46.45   $   15.00   $ 232.25   $ 48.38    $   280.63
 2/10/2019 Johan Decena                          $10.00   53.98   $   15.00   $ 269.92   $ 104.88   $   374.79
 2/17/2019 Johan Decena                          $10.00   56.70   $   15.00   $ 283.50   $ 125.25   $   408.75



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  Week                                                              State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
 Ending                         Name                              Minimum Regular Half-time Overtime Back
                                                     Rate Week
  Date                                                             Wage   Rate Due     Due       Wages Due

 2/24/2019 Johan Decena                                $10.00   58.68   $   15.00   $ 293.42   $ 140.13   $   433.54
  3/3/2019 Johan Decena                                $10.00   66.13   $   15.00   $ 330.67   $ 196.00   $   526.67
 3/10/2019 Johan Decena                                $10.00   56.40   $   15.00   $ 282.00   $ 123.00   $   405.00
 3/17/2019 Johan Decena                                $10.00   62.37   $   15.00   $ 311.83   $ 167.75   $   479.58
 3/24/2019 Johan Decena                                $10.00   62.25   $   15.00   $ 311.25   $ 166.88   $   478.13
 3/31/2019 Johan Decena                                $10.00   62.22   $   15.00   $ 311.08   $ 166.63   $   477.71
  4/7/2019 Johan Decena                                $10.00   62.00   $   15.00   $ 310.00   $ 165.00   $   475.00
 4/14/2019 Johan Decena                                $10.00   61.43   $   15.00   $ 307.17   $ 160.75   $   467.92
 4/21/2019 Johan Decena                                $10.00   59.37   $   15.00   $ 296.83   $ 145.25   $   442.08
 4/28/2019 Johan Decena                                $10.00   60.95   $   15.00   $ 304.75   $ 157.13   $   461.88
  5/5/2019 Johan Decena                                $10.00   62.43   $   15.00   $ 312.17   $ 168.25   $   480.42
 5/12/2019 Johan Decena                                $10.00   59.58   $   15.00   $ 297.92   $ 146.88   $   444.79
 5/19/2019 Johan Decena                                $10.00   59.45   $   15.00   $ 297.25   $ 145.88   $   443.13
 5/26/2019 Johan Decena                                $10.00   59.57   $   15.00   $ 297.83   $ 146.75   $   444.58
  6/2/2019 Johan Decena                                $10.00   53.68   $   15.00   $ 268.42   $ 102.63   $   371.04
  6/9/2019 Johan Decena                                $10.00   59.83   $   15.00   $ 299.17   $ 148.75   $   447.92
 6/16/2019 Johan Decena                                $10.00   59.12   $   15.00   $ 295.58   $ 143.38   $   438.96
 6/23/2019 Johan Decena                                $10.00   60.93   $   15.00   $ 304.67   $ 157.00   $   461.67
 6/30/2019 Johan Decena                                $10.00   57.40   $   15.00   $ 287.00   $ 130.50   $   417.50
  7/7/2019 Johan Decena                                $10.00   49.17   $   15.00   $ 245.83   $ 68.75    $   314.58
 7/14/2019 Johan Decena                                $10.00   59.13   $   15.00   $ 295.67   $ 143.50   $   439.17
 7/21/2019 Johan Decena                                $10.00   55.90   $   15.00   $ 279.50   $ 119.25   $   398.75
 7/28/2019 Johan Decena                                $10.00   55.88   $   15.00   $ 279.42   $ 119.13   $   398.54
  8/4/2019 Johan Decena                                $10.00   45.20   $   15.00   $ 226.00   $ 39.00    $   265.00
 8/11/2019 Johan Decena                                $10.00   59.35   $   15.00   $ 296.75   $ 145.13   $   441.88
 8/18/2019 Johan Decena                                $10.00   49.23   $   15.00   $ 246.17   $ 69.25    $   315.42
 8/25/2019 Johan Decena                                $10.00   61.20   $   15.00   $ 306.00   $ 159.00   $   465.00
  9/1/2019 Johan Decena                                $10.00   44.42   $   15.00   $ 222.08   $ 33.12    $   255.21
 9/15/2019 Johan Decena                                $10.00   60.72   $   15.00   $ 303.58   $ 155.38   $   458.96
 9/22/2019 Johan Decena                                $10.00   59.08   $   15.00   $ 295.42   $ 143.13   $   438.54
 9/29/2019 Johan Decena                                $10.00   59.33   $   15.00   $ 296.67   $ 145.00   $   441.67
 10/6/2019 Johan Decena                                $10.00   40.15   $   15.00   $ 200.75   $   1.12   $   201.88
10/13/2019 Johan Decena                                $10.00   64.88   $   15.00   $ 324.42   $ 186.63   $   511.04
10/20/2019 Johan Decena                                $10.00   67.33   $   15.00   $ 336.67   $ 205.00   $   541.67
10/27/2019 Johan Decena                                $10.00   67.42   $   15.00   $ 337.08   $ 205.63   $   542.71
11/17/2019 Johan Decena                                $10.00   53.38   $   15.00   $ 266.92   $ 100.38   $   367.29
11/24/2019 Johan Decena                                $10.00   62.57   $   15.00   $ 312.83   $ 169.25   $   482.08
 12/1/2019 Johan Decena                                $10.00   55.13   $   15.00   $ 275.67   $ 113.50   $   389.17
 12/8/2019 Johan Decena                                $10.00   67.28   $   15.00   $ 336.42   $ 204.63   $   541.04
12/15/2019 Johan Decena                                $10.00   68.57   $   15.00   $ 342.83   $ 214.25   $   557.08
12/22/2019 Johan Decena                                $10.00   65.37   $   15.00   $ 326.83   $ 190.25   $   517.08
12/29/2019 Johan Decena                                $10.00   55.57   $   15.00   $ 277.83   $ 116.75   $   394.58
  1/5/2020 Johan Decena                                $10.00   58.78   $   15.00   $ 293.92   $ 140.88   $   434.79
 1/12/2020 Johan Decena                                $10.00   57.15   $   15.00   $ 285.75   $ 128.63   $   414.38
 1/19/2020 Johan Decena                                $10.00   59.02   $   15.00   $ 295.08   $ 142.63   $   437.71
 1/26/2020 Johan Decena                                $10.00   45.87   $   15.00   $ 229.33   $ 44.00    $   273.33
 1/28/2018 Johnathan Anderson                          $11.00   52.22   $   13.00   $ 104.43   $ 79.41    $   183.84
  2/4/2018 Johnathan Anderson                          $11.00   49.27   $   13.00   $ 98.53    $ 60.23    $   158.77
 2/11/2018 Johnathan Anderson                          $11.00   40.78   $   13.00   $ 81.57    $   5.09   $    86.66
 2/18/2018 Johnathan Anderson                          $11.00   50.08   $   13.00   $ 100.17   $ 65.54    $   165.71
 2/25/2018 Johnathan Anderson                          $11.00   52.70   $   13.00   $ 105.40   $ 82.55    $   187.95
  3/4/2018 Johnathan Anderson                          $11.00   54.45   $   13.00   $ 108.90   $ 93.93    $   202.83
  4/1/2018 Johnathan Anderson                          $11.00   45.85   $   13.00   $ 91.70    $ 38.03    $   129.73
  4/8/2018 Johnathan Anderson                          $11.00   59.75   $   13.00   $ 119.50   $ 128.38   $   247.88
 4/15/2018 Johnathan Anderson                          $11.00   57.95   $   13.00   $ 115.90   $ 116.68   $   232.58
 4/22/2018 Johnathan Anderson                          $11.00   59.17   $   13.00   $ 118.33   $ 124.58   $   242.92
 4/29/2018 Johnathan Anderson                          $11.00   61.87   $   13.00   $ 123.73   $ 142.13   $   265.87
  5/6/2018 Johnathan Anderson                          $11.00   57.48   $   13.00   $ 114.97   $ 113.64   $   228.61



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   Week                                                                State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
  Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                        Rate Week
   Date                                                               Wage   Rate Due     Due       Wages Due

  5/13/2018 Johnathan Anderson                            $11.00   57.63   $   13.00   $ 115.27     $ 114.62   $   229.88
  5/20/2018 Johnathan Anderson                            $11.00   58.52   $   13.00   $ 117.03     $ 120.36   $   237.39
  5/27/2018 Johnathan Anderson                            $11.00   48.33   $   13.00   $ 96.67      $ 54.17    $   150.83
  6/10/2018 Johnathan Anderson                            $11.00   59.38   $   13.00   $ 118.77     $ 125.99   $   244.76
 12/10/2017 Jonathan Garcia - Valet                       $16.00   43.68   $   11.00                $ 29.47    $    29.47
 12/17/2017 Jonathan Garcia - Valet                       $16.00   56.20   $   11.00                $ 129.60   $   129.60
 12/24/2017 Jonathan Garcia - Valet                       $16.00   47.45   $   11.00                $ 59.60    $    59.60
 12/23/2018 Jonathan Solano                               $10.50   53.65   $   13.00   $   134.13   $ 88.73    $   222.85
 12/30/2018 Jonathan Solano                               $10.50   45.30   $   13.00   $   113.25   $ 34.45    $   147.70
   1/6/2019 Jonathan Solano                               $10.50   45.10   $   15.00   $   202.95   $ 38.25    $   241.20
  1/13/2019 Jonathan Solano                               $10.50   52.87   $   15.00   $   237.90   $ 96.50    $   334.40
  1/27/2019 Jonathan Solano                               $10.50   52.37   $   15.00   $   235.65   $ 92.75    $   328.40
   2/3/2019 Jonathan Solano                               $10.50   52.60   $   15.00   $   236.70   $ 94.50    $   331.20
  2/10/2019 Jonathan Solano                               $10.50   50.45   $   15.00   $   227.03   $ 78.38    $   305.40
  2/17/2019 Jonathan Solano                               $10.50   45.88   $   15.00   $   206.48   $ 44.13    $   250.60
  2/24/2019 Jonathan Solano                               $10.50   48.03   $   15.00   $   216.15   $ 60.25    $   276.40
   3/3/2019 Jonathan Solano                               $10.50   55.25   $   15.00   $   248.63   $ 114.38   $   363.00
  3/10/2019 Jonathan Solano                               $10.50   46.32   $   15.00   $   208.43   $ 47.38    $   255.80
  3/17/2019 Jonathan Solano                               $10.50   52.02   $   15.00   $   234.08   $ 90.13    $   324.20
  3/24/2019 Jonathan Solano                               $10.50   57.85   $   15.00   $   260.33   $ 133.88   $   394.20
  3/31/2019 Jonathan Solano                               $10.50   55.62   $   15.00   $   250.28   $ 117.13   $   367.40
   2/5/2017 Jorge Albeno - Car Washer                     $12.00   59.32   $   11.00                $ 115.90   $   115.90
  2/12/2017 Jorge Albeno - Car Washer                     $12.00   54.35   $   11.00                $ 86.10    $    86.10
  2/19/2017 Jorge Albeno - Car Washer                     $12.00   60.83   $   11.00                $ 125.00   $   125.00
  2/26/2017 Jorge Albeno - Car Washer                     $12.00   59.43   $   11.00                $ 116.60   $   116.60
   3/5/2017 Jorge Albeno - Car Washer                     $12.00   59.17   $   11.00                $ 115.00   $   115.00
  3/12/2017 Jorge Albeno - Car Washer                     $12.00   59.17   $   11.00                $ 115.00   $   115.00
  3/26/2017 Jorge Albeno - Car Washer                     $12.00   61.45   $   11.00                $ 128.70   $   128.70
   4/2/2017 Jorge Albeno - Car Washer                     $12.00   61.20   $   11.00                $ 127.20   $   127.20
   4/9/2017 Jorge Albeno - Car Washer                     $12.00   60.18   $   11.00                $ 121.10   $   121.10
  4/16/2017 Jorge Albeno - Car Washer                     $12.00   59.00   $   11.00                $ 114.00   $   114.00
  4/23/2017 Jorge Albeno - Car Washer                     $12.00   48.93   $   11.00                $ 53.60    $    53.60
  4/30/2017 Jorge Albeno - Car Washer                     $12.00   49.28   $   11.00                $ 55.70    $    55.70
   5/7/2017 Jorge Albeno - Car Washer                     $12.00   48.83   $   11.00                $ 53.00    $    53.00
  5/14/2017 Jorge Albeno - Car Washer                     $12.00   50.75   $   11.00                $ 64.50    $    64.50
  5/21/2017 Jorge Albeno - Car Washer                     $12.00   58.85   $   11.00                $ 113.10   $   113.10
  5/28/2017 Jorge Albeno - Car Washer                     $12.00   58.72   $   11.00                $ 112.30   $   112.30
   6/4/2017 Jorge Albeno - Car Washer                     $12.00   48.97   $   11.00                $ 53.80    $    53.80
  6/11/2017 Jorge Albeno - Car Washer                     $12.00   48.63   $   11.00                $ 51.80    $    51.80
  6/18/2017 Jorge Albeno - Car Washer                     $12.00   49.07   $   11.00                $ 54.40    $    54.40
  6/25/2017 Jorge Albeno - Car Washer                     $12.00   48.90   $   11.00                $ 53.40    $    53.40
   7/2/2017 Jorge Albeno - Car Washer                     $12.00   55.87   $   11.00                $ 95.20    $    95.20
  7/16/2017 Jorge Albeno - Car Washer                     $12.00   66.20   $   11.00                $ 157.20   $   157.20
  7/23/2017 Jorge Albeno - Car Washer                     $12.00   60.98   $   11.00                $ 125.90   $   125.90
  7/30/2017 Jorge Albeno - Car Washer                     $12.00   58.80   $   11.00                $ 112.80   $   112.80
   8/6/2017 Jorge Albeno - Car Washer                     $12.00   60.85   $   11.00                $ 125.10   $   125.10
  8/13/2017 Jorge Albeno - Car Washer                     $12.00   58.87   $   11.00                $ 113.20   $   113.20
  8/20/2017 Jorge Albeno - Car Washer                     $12.00   60.82   $   11.00                $ 124.90   $   124.90
  8/27/2017 Jorge Albeno - Car Washer                     $12.00   59.03   $   11.00                $ 114.20   $   114.20
   9/3/2017 Jorge Albeno - Car Washer                     $12.00   61.07   $   11.00                $ 126.40   $   126.40
  9/10/2017 Jorge Albeno - Car Washer                     $12.00   56.15   $   11.00                $ 96.90    $    96.90
  9/17/2017 Jorge Albeno - Car Washer                     $12.00   60.78   $   11.00                $ 124.70   $   124.70
  9/24/2017 Jorge Albeno - Car Washer                     $12.00   60.38   $   11.00                $ 122.30   $   122.30
  10/1/2017 Jorge Albeno - Car Washer                     $12.00   60.72   $   11.00                $ 124.30   $   124.30
  10/8/2017 Jorge Albeno - Car Washer                     $12.00   61.52   $   11.00                $ 129.10   $   129.10
 10/15/2017 Jorge Albeno - Car Washer                     $12.00   60.87   $   11.00                $ 125.20   $   125.20
 10/22/2017 Jorge Albeno - Car Washer                     $12.00   60.90   $   11.00                $ 125.40   $   125.40
 10/29/2017 Jorge Albeno - Car Washer                     $12.00   60.72   $   11.00                $ 124.30   $   124.30



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                                                   Exhibit 3
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   Week                                                                State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
  Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                        Rate Week
   Date                                                               Wage   Rate Due     Due       Wages Due

  11/5/2017 Jorge Albeno - Car Washer                   $12.00   60.85   $   11.00              $ 125.10   $   125.10
 11/12/2017 Jorge Albeno - Car Washer                   $12.00   48.88   $   11.00              $ 53.30    $    53.30
 11/19/2017 Jorge Albeno - Car Washer                   $12.00   60.50   $   11.00              $ 123.00   $   123.00
 11/26/2017 Jorge Albeno - Car Washer                   $12.00   49.18   $   11.00              $ 55.10    $    55.10
  12/3/2017 Jorge Albeno - Car Washer                   $12.00   57.63   $   11.00              $ 105.80   $   105.80
 12/10/2017 Jorge Albeno - Car Washer                   $12.00   60.90   $   11.00              $ 125.40   $   125.40
 12/17/2017 Jorge Albeno - Car Washer                   $12.00   58.90   $   11.00              $ 113.40   $   113.40
 12/24/2017 Jorge Albeno - Car Washer                   $12.00   61.28   $   11.00              $ 127.70   $   127.70
 12/31/2017 Jorge Albeno - Car Washer                   $12.00   49.25   $   13.00   $ 49.25    $ 60.13    $   109.38
   1/7/2018 Jorge Albeno - Car Washer                   $12.00   44.00   $   13.00   $ 44.00    $ 26.00    $    70.00
  1/14/2018 Jorge Albeno - Car Washer                   $12.00   58.90   $   13.00   $ 58.90    $ 122.85   $   181.75
  1/21/2018 Jorge Albeno - Car Washer                   $12.00   61.02   $   13.00   $ 61.02    $ 136.61   $   197.63
  1/28/2018 Jorge Albeno - Car Washer                   $12.00   61.82   $   13.00   $ 61.82    $ 141.81   $   203.63
   2/4/2018 Jorge Albeno - Car Washer                   $12.00   61.85   $   13.00   $ 61.85    $ 142.03   $   203.88
  2/11/2018 Jorge Albeno - Car Washer                   $12.00   61.90   $   13.00   $ 61.90    $ 142.35   $   204.25
  2/18/2018 Jorge Albeno - Car Washer                   $12.00   60.53   $   13.00   $ 60.53    $ 133.47   $   194.00
  2/25/2018 Jorge Albeno - Car Washer                   $12.00   61.82   $   13.00   $ 61.82    $ 141.81   $   203.63
   3/4/2018 Jorge Albeno - Car Washer                   $12.00   61.97   $   13.00   $ 61.97    $ 142.78   $   204.75
  3/25/2018 Jorge Albeno - Car Washer                   $12.00   44.92   $   13.00   $ 44.92    $ 31.96    $    76.88
   4/1/2018 Jorge Albeno - Car Washer                   $12.00   51.13   $   13.00   $ 51.13    $ 72.37    $   123.50
   4/8/2018 Jorge Albeno - Car Washer                   $12.00   49.02   $   13.00   $ 49.02    $ 58.61    $   107.63
  4/15/2018 Jorge Albeno - Car Washer                   $12.00   50.57   $   13.00   $ 50.57    $ 68.68    $   119.25
  4/22/2018 Jorge Albeno - Car Washer                   $12.00   49.52   $   13.00   $ 49.52    $ 61.86    $   111.38
  4/29/2018 Jorge Albeno - Car Washer                   $12.00   50.17   $   13.00   $ 50.17    $ 66.08    $   116.25
   5/6/2018 Jorge Albeno - Car Washer                   $12.00   58.98   $   13.00   $ 58.98    $ 123.39   $   182.38
  5/13/2018 Jorge Albeno - Car Washer                   $12.00   57.60   $   13.00   $ 57.60    $ 114.40   $   172.00
  5/20/2018 Jorge Albeno - Car Washer                   $12.00   58.22   $   13.00   $ 58.22    $ 118.41   $   176.63
  5/27/2018 Jorge Albeno - Car Washer                   $12.00   60.85   $   13.00   $ 60.85    $ 135.53   $   196.38
   6/3/2018 Jorge Albeno - Car Washer                   $12.00   59.78   $   13.00   $ 59.78    $ 128.59   $   188.38
  6/10/2018 Jorge Albeno - Car Washer                   $12.00   60.13   $   13.00   $ 60.13    $ 130.87   $   191.00
  6/17/2018 Jorge Albeno - Car Washer                   $12.00   59.88   $   13.00   $ 59.88    $ 129.24   $   189.13
  6/24/2018 Jorge Albeno - Car Washer                   $12.00   49.85   $   13.00   $ 49.85    $ 64.03    $   113.88
   7/1/2018 Jorge Albeno - Car Washer                   $12.00   60.37   $   13.00   $ 60.37    $ 132.38   $   192.75
   7/8/2018 Jorge Albeno - Car Washer                   $12.00   49.83   $   13.00   $ 49.83    $ 63.92    $   113.75
  7/15/2018 Jorge Albeno - Car Washer                   $12.00   59.58   $   13.00   $ 59.58    $ 127.29   $   186.88
  7/22/2018 Jorge Albeno - Car Washer                   $12.00   50.45   $   13.00   $ 50.45    $ 67.93    $   118.38
  7/29/2018 Jorge Albeno - Car Washer                   $12.00   59.70   $   13.00   $ 59.70    $ 128.05   $   187.75
   8/5/2018 Jorge Albeno - Car Washer                   $12.00   59.60   $   13.00   $ 59.60    $ 127.40   $   187.00
  8/12/2018 Jorge Albeno - Car Washer                   $12.00   59.55   $   13.00   $ 59.55    $ 127.08   $   186.63
  8/19/2018 Jorge Albeno - Car Washer                   $12.00   60.12   $   13.00   $ 60.12    $ 130.76   $   190.88
  8/26/2018 Jorge Albeno - Car Washer                   $12.00   60.77   $   13.00   $ 60.77    $ 134.98   $   195.75
   9/2/2018 Jorge Albeno - Car Washer                   $12.00   59.77   $   13.00   $ 59.77    $ 128.48   $   188.25
   9/9/2018 Jorge Albeno - Car Washer                   $12.00   49.63   $   13.00   $ 49.63    $ 62.62    $   112.25
  9/16/2018 Jorge Albeno - Car Washer                   $12.00   60.05   $   13.00   $ 60.05    $ 130.33   $   190.38
  9/23/2018 Jorge Albeno - Car Washer                   $12.00   60.07   $   13.00   $ 60.07    $ 130.43   $   190.50
  9/30/2018 Jorge Albeno - Car Washer                   $12.00   60.42   $   13.00   $ 60.42    $ 132.71   $   193.13
  10/7/2018 Jorge Albeno - Car Washer                   $12.00   59.17   $   13.00   $ 59.17    $ 124.58   $   183.75
 10/14/2018 Jorge Albeno - Car Washer                   $12.00   59.93   $   13.00   $ 59.93    $ 129.57   $   189.50
 10/21/2018 Jorge Albeno - Car Washer                   $12.00   48.27   $   13.00   $ 48.27    $ 53.73    $   102.00
 10/28/2018 Jorge Albeno - Car Washer                   $12.00   59.95   $   13.00   $ 59.95    $ 129.68   $   189.63
  11/4/2018 Jorge Albeno - Car Washer                   $12.00   59.77   $   13.00   $ 59.77    $ 128.48   $   188.25
 11/11/2018 Jorge Albeno - Car Washer                   $12.00   60.07   $   13.00   $ 60.07    $ 130.43   $   190.50
 11/18/2018 Jorge Albeno - Car Washer                   $12.00   59.38   $   13.00   $ 59.38    $ 125.99   $   185.38
  12/2/2018 Jorge Albeno - Car Washer                   $12.00   59.70   $   13.00   $ 59.70    $ 128.05   $   187.75
  12/9/2018 Jorge Albeno - Car Washer                   $12.00   59.48   $   13.00   $ 59.48    $ 126.64   $   186.13
 12/16/2018 Jorge Albeno - Car Washer                   $12.00   59.23   $   13.00   $ 59.23    $ 125.02   $   184.25
 12/23/2018 Jorge Albeno - Car Washer                   $12.00   59.50   $   13.00   $ 59.50    $ 126.75   $   186.25
  1/13/2019 Jorge Albeno - Car Washer                   $12.00   59.80   $   15.00   $ 179.40   $ 148.50   $   327.90



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                                             New York City Computations


   Week                                                                   State Section 7: Section 7: Total Section 7
                                                          Hourly Hours/
  Ending                           Name                                 Minimum Regular Half-time Overtime Back
                                                           Rate Week
   Date                                                                  Wage   Rate Due     Due       Wages Due

  1/20/2019 Jorge Albeno - Car Washer                      $12.00   59.40   $   15.00   $   178.20   $ 145.50   $   323.70
  1/27/2019 Jorge Albeno - Car Washer                      $12.00   59.50   $   15.00   $   178.50   $ 146.25   $   324.75
   2/3/2019 Jorge Albeno - Car Washer                      $12.00   59.30   $   15.00   $   177.90   $ 144.75   $   322.65
  2/10/2019 Jorge Albeno - Car Washer                      $12.00   59.48   $   15.00   $   178.45   $ 146.13   $   324.58
  2/17/2019 Jorge Albeno - Car Washer                      $12.00   59.60   $   15.00   $   178.80   $ 147.00   $   325.80
  2/24/2019 Jorge Albeno - Car Washer                      $12.00   59.60   $   15.00   $   178.80   $ 147.00   $   325.80
   3/3/2019 Jorge Albeno - Car Washer                      $12.00   59.45   $   15.00   $   178.35   $ 145.88   $   324.23
  3/10/2019 Jorge Albeno - Car Washer                      $12.00   59.37   $   15.00   $   178.10   $ 145.25   $   323.35
  3/17/2019 Jorge Albeno - Car Washer                      $12.00   59.22   $   15.00   $   177.65   $ 144.13   $   321.78
  3/24/2019 Jorge Albeno - Car Washer                      $12.00   59.73   $   15.00   $   179.20   $ 148.00   $   327.20
  3/31/2019 Jorge Albeno - Car Washer                      $12.00   59.83   $   15.00   $   179.50   $ 148.75   $   328.25
   4/7/2019 Jorge Albeno - Car Washer                      $12.00   59.92   $   15.00   $   179.75   $ 149.38   $   329.13
  4/14/2019 Jorge Albeno - Car Washer                      $12.00   59.78   $   15.00   $   179.35   $ 148.38   $   327.73
  4/21/2019 Jorge Albeno - Car Washer                      $12.00   60.27   $   15.00   $   180.80   $ 152.00   $   332.80
  4/28/2019 Jorge Albeno - Car Washer                      $12.00   60.12   $   15.00   $   180.35   $ 150.88   $   331.23
   5/5/2019 Jorge Albeno - Car Washer                      $12.00   60.67   $   15.00   $   182.00   $ 155.00   $   337.00
  5/12/2019 Jorge Albeno - Car Washer                      $12.00   59.48   $   15.00   $   178.45   $ 146.13   $   324.58
  5/19/2019 Jorge Albeno - Car Washer                      $12.00   60.07   $   15.00   $   180.20   $ 150.50   $   330.70
  5/26/2019 Jorge Albeno - Car Washer                      $12.00   60.00   $   15.00   $   180.00   $ 150.00   $   330.00
   6/2/2019 Jorge Albeno - Car Washer                      $12.00   49.48   $   15.00   $   148.45   $ 71.13    $   219.58
   6/9/2019 Jorge Albeno - Car Washer                      $12.00   60.00   $   15.00   $   180.00   $ 150.00   $   330.00
  6/16/2019 Jorge Albeno - Car Washer                      $12.00   60.13   $   15.00   $   180.40   $ 151.00   $   331.40
  6/23/2019 Jorge Albeno - Car Washer                      $12.00   59.55   $   15.00   $   178.65   $ 146.63   $   325.28
  6/30/2019 Jorge Albeno - Car Washer                      $12.00   58.97   $   15.00   $   176.90   $ 142.25   $   319.15
   7/7/2019 Jorge Albeno - Car Washer                      $12.00   50.07   $   15.00   $   150.20   $ 75.50    $   225.70
  7/14/2019 Jorge Albeno - Car Washer                      $12.00   60.05   $   15.00   $   180.15   $ 150.38   $   330.53
  7/21/2019 Jorge Albeno - Car Washer                      $12.00   60.22   $   15.00   $   180.65   $ 151.63   $   332.28
  7/28/2019 Jorge Albeno - Car Washer                      $12.00   60.02   $   15.00   $   180.05   $ 150.13   $   330.18
   8/4/2019 Jorge Albeno - Car Washer                      $12.00   60.08   $   15.00   $   180.25   $ 150.63   $   330.88
  8/11/2019 Jorge Albeno - Car Washer                      $12.00   59.80   $   15.00   $   179.40   $ 148.50   $   327.90
  8/18/2019 Jorge Albeno - Car Washer                      $12.00   59.82   $   15.00   $   179.45   $ 148.63   $   328.08
  8/25/2019 Jorge Albeno - Car Washer                      $12.00   59.28   $   15.00   $   177.85   $ 144.63   $   322.48
   9/1/2019 Jorge Albeno - Car Washer                      $12.00   59.32   $   15.00   $   177.95   $ 144.88   $   322.83
   9/8/2019 Jorge Albeno - Car Washer                      $12.00   49.63   $   15.00   $   148.90   $ 72.25    $   221.15
  9/15/2019 Jorge Albeno - Car Washer                      $12.00   59.93   $   15.00   $   179.80   $ 149.50   $   329.30
  9/22/2019 Jorge Albeno - Car Washer                      $12.00   59.70   $   15.00   $   179.10   $ 147.75   $   326.85
  9/29/2019 Jorge Albeno - Car Washer                      $12.00   59.70   $   15.00   $   179.10   $ 147.75   $   326.85
  10/6/2019 Jorge Albeno - Car Washer                      $12.00   59.95   $   15.00   $   179.85   $ 149.63   $   329.48
 10/13/2019 Jorge Albeno - Car Washer                      $12.00   59.85   $   15.00   $   179.55   $ 148.88   $   328.43
 10/20/2019 Jorge Albeno - Car Washer                      $12.00   59.75   $   15.00   $   179.25   $ 148.13   $   327.38
 10/27/2019 Jorge Albeno - Car Washer                      $12.00   59.95   $   15.00   $   179.85   $ 149.63   $   329.48
  11/3/2019 Jorge Albeno - Car Washer                      $12.00   59.13   $   15.00   $   177.40   $ 143.50   $   320.90
 11/10/2019 Jorge Albeno - Car Washer                      $12.00   59.80   $   15.00   $   179.40   $ 148.50   $   327.90
 11/24/2019 Jorge Albeno - Car Washer                      $12.00   59.28   $   15.00   $   177.85   $ 144.63   $   322.48
  12/8/2019 Jorge Albeno - Car Washer                      $12.00   56.42   $   15.00   $   169.25   $ 123.13   $   292.38
 12/15/2019 Jorge Albeno - Car Washer                      $12.00   59.53   $   15.00   $   178.60   $ 146.50   $   325.10
 12/22/2019 Jorge Albeno - Car Washer                      $12.00   59.48   $   15.00   $   178.45   $ 146.13   $   324.58
  1/12/2020 Jorge Albeno - Car Washer                      $12.00   59.40   $   15.00   $   178.20   $ 145.50   $   323.70
  1/19/2020 Jorge Albeno - Car Washer                      $12.00   49.70   $   15.00   $   149.10   $ 72.75    $   221.85
  1/26/2020 Jorge Albeno - Car Washer                      $12.00   59.65   $   15.00   $   178.95   $ 147.38   $   326.33
   4/1/2018 Jorge Antonio De La Rosa Veloz                 $10.50   60.07   $   13.00   $   150.17   $ 130.43   $   280.60
   4/8/2018 Jorge Antonio De La Rosa Veloz                 $10.50   59.68   $   13.00   $   149.21   $ 127.94   $   277.15
  4/15/2018 Jorge Antonio De La Rosa Veloz                 $10.50   60.15   $   13.00   $   150.38   $ 130.98   $   281.35
  4/22/2018 Jorge Antonio De La Rosa Veloz                 $10.50   62.22   $   13.00   $   155.54   $ 144.41   $   299.95
  4/29/2018 Jorge Antonio De La Rosa Veloz                 $10.50   60.33   $   13.00   $   150.83   $ 132.17   $   283.00
   5/6/2018 Jorge Antonio De La Rosa Veloz                 $10.50   59.73   $   13.00   $   149.33   $ 128.27   $   277.60
  5/13/2018 Jorge Antonio De La Rosa Veloz                 $10.50   59.43   $   13.00   $   148.58   $ 126.32   $   274.90
  5/20/2018 Jorge Antonio De La Rosa Veloz                 $10.50   59.27   $   13.00   $   148.17   $ 125.23   $   273.40



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                                                        Exhibit 3
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   Week                                                                     State Section 7: Section 7: Total Section 7
                                                            Hourly Hours/
  Ending                             Name                                 Minimum Regular Half-time Overtime Back
                                                             Rate Week
   Date                                                                    Wage   Rate Due     Due       Wages Due

  5/27/2018 Jorge Antonio De La Rosa Veloz                   $10.50   60.82   $   13.00   $   152.04   $ 135.31   $   287.35
   6/3/2018 Jorge Antonio De La Rosa Veloz                   $10.50   59.98   $   13.00   $   149.96   $ 129.89   $   279.85
  6/10/2018 Jorge Antonio De La Rosa Veloz                   $10.50   57.27   $   13.00   $   143.17   $ 112.23   $   255.40
  6/17/2018 Jorge Antonio De La Rosa Veloz                   $10.50   60.00   $   13.00   $   150.00   $ 130.00   $   280.00
  6/24/2018 Jorge Antonio De La Rosa Veloz                   $10.50   62.73   $   13.00   $   156.83   $ 147.77   $   304.60
   7/1/2018 Jorge Antonio De La Rosa Veloz                   $10.50   60.60   $   13.00   $   151.50   $ 133.90   $   285.40
   7/8/2018 Jorge Antonio De La Rosa Veloz                   $10.50   52.20   $   13.00   $   130.50   $ 79.30    $   209.80
  7/15/2018 Jorge Antonio De La Rosa Veloz                   $10.50   61.80   $   13.00   $   154.50   $ 141.70   $   296.20
  7/22/2018 Jorge Antonio De La Rosa Veloz                   $10.50   61.20   $   13.00   $   153.00   $ 137.80   $   290.80
  7/29/2018 Jorge Antonio De La Rosa Veloz                   $10.50   60.78   $   13.00   $   151.96   $ 135.09   $   287.05
   8/5/2018 Jorge Antonio De La Rosa Veloz                   $10.50   61.07   $   13.00   $   152.67   $ 136.93   $   289.60
  8/12/2018 Jorge Antonio De La Rosa Veloz                   $10.50   62.85   $   13.00   $   157.13   $ 148.53   $   305.65
  8/19/2018 Jorge Antonio De La Rosa Veloz                   $10.50   62.98   $   13.00   $   157.46   $ 149.39   $   306.85
  8/26/2018 Jorge Antonio De La Rosa Veloz                   $10.50   62.93   $   13.00   $   157.33   $ 149.07   $   306.40
   9/2/2018 Jorge Antonio De La Rosa Veloz                   $10.50   64.05   $   13.00   $   160.13   $ 156.33   $   316.45
   9/9/2018 Jorge Antonio De La Rosa Veloz                   $10.50   62.45   $   13.00   $   156.13   $ 145.93   $   302.05
  9/16/2018 Jorge Antonio De La Rosa Veloz                   $10.50   59.35   $   13.00   $   148.38   $ 125.78   $   274.15
  9/23/2018 Jorge Antonio De La Rosa Veloz                   $10.50   60.38   $   13.00   $   150.96   $ 132.49   $   283.45
  9/30/2018 Jorge Antonio De La Rosa Veloz                   $10.50   62.40   $   13.00   $   156.00   $ 145.60   $   301.60
  10/7/2018 Jorge Antonio De La Rosa Veloz                   $10.50   63.62   $   13.00   $   159.04   $ 153.51   $   312.55
 10/14/2018 Jorge Antonio De La Rosa Veloz                   $10.50   62.78   $   13.00   $   156.96   $ 148.09   $   305.05
 10/21/2018 Jorge Antonio De La Rosa Veloz                   $10.50   63.38   $   13.00   $   158.46   $ 151.99   $   310.45
 10/28/2018 Jorge Antonio De La Rosa Veloz                   $10.50   60.82   $   13.00   $   152.04   $ 135.31   $   287.35
  11/4/2018 Jorge Antonio De La Rosa Veloz                   $10.50   64.38   $   13.00   $   160.96   $ 158.49   $   319.45
 11/11/2018 Jorge Antonio De La Rosa Veloz                   $10.50   63.67   $   13.00   $   159.17   $ 153.83   $   313.00
 11/18/2018 Jorge Antonio De La Rosa Veloz                   $10.50   66.08   $   13.00   $   165.21   $ 169.54   $   334.75
 11/25/2018 Jorge Antonio De La Rosa Veloz                   $10.50   54.02   $   13.00   $   135.04   $ 91.11    $   226.15
  12/2/2018 Jorge Antonio De La Rosa Veloz                   $10.50   65.80   $   13.00   $   164.50   $ 167.70   $   332.20
  12/9/2018 Jorge Luis Rivera - Luna - Valet                 $16.50   57.00   $   13.00                $ 140.25   $   140.25
 12/16/2018 Jorge Luis Rivera - Luna - Valet                 $16.50   61.80   $   13.00                $ 179.85   $   179.85
 12/23/2018 Jorge Luis Rivera - Luna - Valet                 $16.50   57.00   $   13.00                $ 140.25   $   140.25
 12/30/2018 Jorge Luis Rivera - Luna - Valet                 $16.50   46.92   $   13.00                $ 57.06    $    57.06
   1/6/2019 Jorge Luis Rivera - Luna - Valet                 $16.50   56.00   $   15.00                $ 132.00   $   132.00
  1/13/2019 Jorge Luis Rivera - Luna - Valet                 $16.50   64.50   $   15.00                $ 202.13   $   202.13
  1/20/2019 Jorge Luis Rivera - Luna - Valet                 $16.50   54.00   $   15.00                $ 115.50   $   115.50
  1/27/2019 Jorge Luis Rivera - Luna - Valet                 $16.50   62.50   $   15.00                $ 185.63   $   185.63
   2/3/2019 Jorge Luis Rivera - Luna - Valet                 $16.50   52.00   $   15.00                $ 99.00    $    99.00
  2/10/2019 Jorge Luis Rivera - Luna - Valet                 $16.50   57.00   $   15.00                $ 140.25   $   140.25
  2/17/2019 Jorge Luis Rivera - Luna - Valet                 $16.50   64.58   $   15.00                $ 202.81   $   202.81
  2/24/2019 Jorge Luis Rivera - Luna - Valet                 $16.50   48.50   $   15.00                $ 70.13    $    70.13
   3/3/2019 Jorge Luis Rivera - Luna - Valet                 $16.50   62.50   $   15.00                $ 185.63   $   185.63
  3/10/2019 Jorge Luis Rivera - Luna - Valet                 $16.50   58.47   $   15.00                $ 152.35   $   152.35
  3/17/2019 Jorge Luis Rivera - Luna - Valet                 $16.50   62.42   $   15.00                $ 184.94   $   184.94
  3/24/2019 Jorge Luis Rivera - Luna - Valet                 $16.50   44.43   $   15.00                $ 36.58    $    36.58
  3/31/2019 Jorge Luis Rivera - Luna - Valet                 $16.50   55.27   $   15.00                $ 125.95   $   125.95
   4/7/2019 Jorge Luis Rivera - Luna - Valet                 $16.50   45.08   $   15.00                $ 41.94    $    41.94
  4/14/2019 Jorge Luis Rivera - Luna - Valet                 $16.50   46.70   $   15.00                $ 55.28    $    55.28
  4/21/2019 Jorge Luis Rivera - Luna - Valet                 $16.50   46.67   $   15.00                $ 55.00    $    55.00
   3/4/2018 Jork Placencio                                   $13.00   48.98   $   13.00                $ 58.39    $    58.39
   8/5/2018 Jose A. Munoz Almonte                            $10.00   53.60   $   13.00   $   160.80   $ 88.40    $   249.20
  8/12/2018 Jose A. Munoz Almonte                            $10.00   53.58   $   13.00   $   160.75   $ 88.29    $   249.04
  8/19/2018 Jose A. Munoz Almonte                            $10.00   44.70   $   13.00   $   134.10   $ 30.55    $   164.65
  8/26/2018 Jose A. Munoz Almonte                            $10.00   45.02   $   13.00   $   135.05   $ 32.61    $   167.66
   9/2/2018 Jose A. Munoz Almonte                            $10.00   44.62   $   13.00   $   133.85   $ 30.01    $   163.86
  9/17/2017 Jose A. Rivera                                   $11.00   49.47   $   11.00                $ 52.07    $    52.07
  9/24/2017 Jose A. Rivera                                   $11.00   40.18   $   11.00                $   1.01   $     1.01
  4/22/2018 Jose A. Rivera                                    $9.50   53.08   $   13.00   $ 185.79     $ 85.04    $   270.83
  4/29/2018 Jose A. Rivera                                    $9.50   53.47   $   13.00   $ 187.13     $ 87.53    $   274.67



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                                             Exhibit 3
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   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                     Name                              Minimum Regular Half-time Overtime Back
                                                  Rate Week
   Date                                                         Wage   Rate Due     Due       Wages Due

   5/6/2018 Jose A. Rivera                         $9.50   50.55   $   13.00   $   176.93   $ 68.58    $   245.50
  5/13/2018 Jose A. Rivera                         $9.50   53.72   $   13.00   $   188.01   $ 89.16    $   277.17
  5/27/2018 Jose A. Rivera                         $9.50   54.12   $   13.00   $   189.41   $ 91.76    $   281.17
   6/3/2018 Jose A. Rivera                         $9.50   43.45   $   13.00   $   152.08   $ 22.43    $   174.50
  6/10/2018 Jose A. Rivera                         $9.50   53.57   $   13.00   $   187.48   $ 88.18    $   275.67
  6/17/2018 Jose A. Rivera                         $9.50   53.45   $   13.00   $   187.08   $ 87.43    $   274.50
  6/24/2018 Jose A. Rivera                         $9.50   51.25   $   13.00   $   179.38   $ 73.13    $   252.50
   7/1/2018 Jose A. Rivera                         $9.50   53.42   $   13.00   $   186.96   $ 87.21    $   274.17
   7/8/2018 Jose A. Rivera                         $9.50   45.17   $   13.00   $   158.08   $ 33.58    $   191.67
  7/15/2018 Jose A. Rivera                         $9.50   55.07   $   13.00   $   192.73   $ 97.93    $   290.67
  7/22/2018 Jose A. Rivera                         $9.50   55.62   $   13.00   $   194.66   $ 101.51   $   296.17
  7/29/2018 Jose A. Rivera                         $9.50   55.60   $   13.00   $   194.60   $ 101.40   $   296.00
   8/5/2018 Jose A. Rivera                         $9.50   53.47   $   13.00   $   187.13   $ 87.53    $   274.67
  8/12/2018 Jose A. Rivera                         $9.50   55.78   $   13.00   $   195.24   $ 102.59   $   297.83
  8/19/2018 Jose A. Rivera                         $9.50   54.52   $   13.00   $   190.81   $ 94.36    $   285.17
  8/26/2018 Jose A. Rivera                         $9.50   52.85   $   13.00   $   184.98   $ 83.53    $   268.50
   9/2/2018 Jose A. Rivera                         $9.50   53.17   $   13.00   $   186.08   $ 85.58    $   271.67
   9/9/2018 Jose A. Rivera                         $9.50   44.40   $   13.00   $   155.40   $ 28.60    $   184.00
  9/16/2018 Jose A. Rivera                         $9.50   52.48   $   13.00   $   183.69   $ 81.14    $   264.83
  9/23/2018 Jose A. Rivera                         $9.50   53.63   $   13.00   $   187.72   $ 88.62    $   276.33
  9/30/2018 Jose A. Rivera                         $9.50   55.07   $   13.00   $   192.73   $ 97.93    $   290.67
  10/7/2018 Jose A. Rivera                         $9.50   53.93   $   13.00   $   188.77   $ 90.57    $   279.33
 10/14/2018 Jose A. Rivera                         $9.50   53.82   $   13.00   $   188.36   $ 89.81    $   278.17
 10/21/2018 Jose A. Rivera                         $9.50   52.73   $   13.00   $   184.57   $ 82.77    $   267.33
 10/28/2018 Jose A. Rivera                         $9.50   55.82   $   13.00   $   195.36   $ 102.81   $   298.17
  11/4/2018 Jose A. Rivera                         $9.50   55.30   $   13.00   $   193.55   $ 99.45    $   293.00
 11/11/2018 Jose A. Rivera                         $9.50   55.13   $   13.00   $   192.97   $ 98.37    $   291.33
 11/18/2018 Jose A. Rivera                         $9.50   53.58   $   13.00   $   187.54   $ 88.29    $   275.83
  12/2/2018 Jose A. Rivera                        $10.00   57.57   $   13.00   $   172.70   $ 114.18   $   286.88
  12/9/2018 Jose A. Rivera                        $10.00   54.83   $   13.00   $   164.50   $ 96.42    $   260.92
 12/16/2018 Jose A. Rivera                        $10.00   53.35   $   13.00   $   160.05   $ 86.78    $   246.83
 12/23/2018 Jose A. Rivera                        $10.00   46.58   $   13.00   $   139.75   $ 42.79    $   182.54
  1/13/2019 Jose A. Rivera                        $10.00   54.27   $   15.00   $   271.33   $ 107.00   $   378.33
  1/27/2019 Jose A. Rivera                        $10.00   55.87   $   15.00   $   279.33   $ 119.00   $   398.33
   2/3/2019 Jose A. Rivera                        $10.00   58.30   $   15.00   $   291.50   $ 137.25   $   428.75
  2/10/2019 Jose A. Rivera                        $10.00   58.53   $   15.00   $   292.67   $ 139.00   $   431.67
  2/17/2019 Jose A. Rivera                        $10.00   58.62   $   15.00   $   293.08   $ 139.63   $   432.71
  2/24/2019 Jose A. Rivera                        $10.00   57.98   $   15.00   $   289.92   $ 134.88   $   424.79
   3/3/2019 Jose A. Rivera                        $10.00   54.57   $   15.00   $   272.83   $ 109.25   $   382.08
  3/10/2019 Jose A. Rivera                        $10.00   47.57   $   15.00   $   237.83   $ 56.75    $   294.58
  3/17/2019 Jose A. Rivera                        $10.00   56.23   $   15.00   $   281.17   $ 121.75   $   402.92
  3/24/2019 Jose A. Rivera                        $10.00   58.08   $   15.00   $   290.42   $ 135.63   $   426.04
  3/31/2019 Jose A. Rivera                        $10.00   51.45   $   15.00   $   257.25   $ 85.88    $   343.13
   4/7/2019 Jose A. Rivera                        $10.00   60.30   $   15.00   $   301.50   $ 152.25   $   453.75
  4/14/2019 Jose A. Rivera                        $10.00   59.78   $   15.00   $   298.92   $ 148.38   $   447.29
  4/21/2019 Jose A. Rivera                        $10.00   60.25   $   15.00   $   301.25   $ 151.88   $   453.13
  4/28/2019 Jose A. Rivera                        $10.00   62.62   $   15.00   $   313.08   $ 169.63   $   482.71
   5/5/2019 Jose A. Rivera                        $10.00   52.02   $   15.00   $   260.08   $ 90.13    $   350.21
  5/12/2019 Jose A. Rivera                        $10.00   61.90   $   15.00   $   309.50   $ 164.25   $   473.75
  5/19/2019 Jose A. Rivera                        $10.00   51.60   $   15.00   $   258.00   $ 87.00    $   345.00
  5/26/2019 Jose A. Rivera                        $10.00   50.75   $   15.00   $   253.75   $ 80.63    $   334.38
   6/2/2019 Jose A. Rivera                        $10.00   42.77   $   15.00   $   213.83   $ 20.75    $   234.58
   6/9/2019 Jose A. Rivera                        $10.00   63.22   $   15.00   $   316.08   $ 174.13   $   490.21
  6/16/2019 Jose A. Rivera                        $10.00   57.83   $   15.00   $   289.17   $ 133.75   $   422.92
  6/30/2019 Jose A. Rivera                        $10.00   59.65   $   15.00   $   298.25   $ 147.38   $   445.63
   7/7/2019 Jose A. Rivera                        $10.00   51.18   $   15.00   $   255.92   $ 83.88    $   339.79
  7/14/2019 Jose A. Rivera                        $10.00   54.67   $   15.00   $   273.33   $ 110.00   $   383.33
  7/21/2019 Jose A. Rivera                        $10.00   62.90   $   15.00   $   314.50   $ 171.75   $   486.25



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   Week                                                                  State Section 7: Section 7: Total Section 7
                                                         Hourly Hours/
  Ending                             Name                              Minimum Regular Half-time Overtime Back
                                                          Rate Week
   Date                                                                 Wage   Rate Due     Due       Wages Due

  7/28/2019 Jose A. Rivera                                $10.00   57.78   $   15.00   $   288.92   $ 133.38   $   422.29
   8/4/2019 Jose A. Rivera                                $10.00   50.88   $   15.00   $   254.42   $ 81.63    $   336.04
  8/11/2019 Jose A. Rivera                                $10.00   51.22   $   15.00   $   256.08   $ 84.13    $   340.21
  8/18/2019 Jose A. Rivera                                $10.00   56.10   $   15.00   $   280.50   $ 120.75   $   401.25
  8/25/2019 Jose A. Rivera                                $10.00   56.60   $   15.00   $   283.00   $ 124.50   $   407.50
   9/1/2019 Jose A. Rivera                                $10.00   44.70   $   15.00   $   223.50   $ 35.25    $   258.75
   9/8/2019 Jose A. Rivera                                $10.00   43.63   $   15.00   $   218.17   $ 27.25    $   245.42
  9/15/2019 Jose A. Rivera                                $10.00   52.98   $   15.00   $   264.92   $ 97.38    $   362.29
  9/22/2019 Jose A. Rivera                                $10.00   42.48   $   15.00   $   212.42   $ 18.62    $   231.04
  9/29/2019 Jose A. Rivera                                $10.00   57.63   $   15.00   $   288.17   $ 132.25   $   420.42
  10/6/2019 Jose A. Rivera                                $10.00   57.92   $   15.00   $   289.58   $ 134.38   $   423.96
 10/13/2019 Jose A. Rivera                                $10.00   56.97   $   15.00   $   284.83   $ 127.25   $   412.08
 10/20/2019 Jose A. Rivera                                $10.00   56.63   $   15.00   $   283.17   $ 124.75   $   407.92
 10/27/2019 Jose A. Rivera                                $10.00   50.35   $   15.00   $   251.75   $ 77.63    $   329.38
  11/3/2019 Jose A. Rivera                                $10.00   48.02   $   15.00   $   240.08   $ 60.13    $   300.21
 11/10/2019 Jose A. Rivera                                $10.00   58.78   $   15.00   $   293.92   $ 140.88   $   434.79
 11/17/2019 Jose A. Rivera                                $10.00   47.23   $   15.00   $   236.17   $ 54.25    $   290.42
 11/24/2019 Jose A. Rivera                                $10.00   59.98   $   15.00   $   299.92   $ 149.88   $   449.79
  12/8/2019 Jose A. Rivera                                $10.00   58.57   $   15.00   $   292.83   $ 139.25   $   432.08
 12/22/2019 Jose A. Rivera                                $10.00   42.97   $   15.00   $   214.83   $ 22.25    $   237.08
 12/29/2019 Jose A. Rivera                                $10.00   44.07   $   15.00   $   220.33   $ 30.50    $   250.83
  1/12/2020 Jose A. Rivera                                $10.00   46.22   $   15.00   $   231.08   $ 46.63    $   277.71
  1/19/2020 Jose A. Rivera                                $10.00   48.38   $   15.00   $   241.92   $ 62.87    $   304.79
  1/26/2020 Jose A. Rivera                                $10.00   41.87   $   15.00   $   209.33   $ 14.00    $   223.33
  10/7/2018 Jose Alberto Alcantara                        $10.50   48.87   $   13.00   $   122.17   $ 57.63    $   179.80
 10/14/2018 Jose Alberto Alcantara                        $10.50   47.27   $   13.00   $   118.17   $ 47.23    $   165.40
 10/21/2018 Jose Alberto Alcantara                        $10.50   47.68   $   13.00   $   119.21   $ 49.94    $   169.15
 10/28/2018 Jose Alberto Alcantara                        $10.50   47.33   $   13.00   $   118.33   $ 47.67    $   166.00
  11/4/2018 Jose Alberto Alcantara                        $10.50   47.82   $   13.00   $   119.54   $ 50.81    $   170.35
  12/2/2018 Jose Alberto Alcantara                        $10.50   49.03   $   13.00   $   122.58   $ 58.72    $   181.30
  12/9/2018 Jose Alberto Alcantara                        $10.50   48.22   $   13.00   $   120.54   $ 53.41    $   173.95
 12/16/2018 Jose Alberto Alcantara                        $10.50   48.08   $   13.00   $   120.21   $ 52.54    $   172.75
 12/23/2018 Jose Alberto Alcantara                        $10.50   40.78   $   13.00   $   101.96   $   5.09   $   107.05
  1/13/2019 Jose Alberto Alcantara                        $10.50   48.83   $   15.00   $   219.75   $ 66.25    $   286.00
  1/20/2019 Jose Alberto Alcantara                        $10.50   50.53   $   15.00   $   227.40   $ 79.00    $   306.40
  1/27/2019 Jose Alberto Alcantara                        $10.50   49.52   $   15.00   $   222.83   $ 71.38    $   294.20
   2/3/2019 Jose Alberto Alcantara                        $10.50   46.63   $   15.00   $   209.85   $ 49.75    $   259.60
  2/17/2019 Jose Alberto Alcantara                        $10.50   46.58   $   15.00   $   209.63   $ 49.38    $   259.00
  2/24/2019 Jose Alberto Alcantara                        $10.50   46.57   $   15.00   $   209.55   $ 49.25    $   258.80
  3/10/2019 Jose Alberto Alcantara                        $10.50   45.97   $   15.00   $   206.85   $ 44.75    $   251.60
  3/17/2019 Jose Alberto Alcantara                        $10.50   47.83   $   15.00   $   215.25   $ 58.75    $   274.00
  3/24/2019 Jose Alberto Alcantara                        $10.50   44.22   $   15.00   $   198.98   $ 31.63    $   230.60
  3/31/2019 Jose Alberto Alcantara                        $10.50   44.97   $   15.00   $   202.35   $ 37.25    $   239.60
   4/7/2019 Jose Alberto Alcantara                        $10.50   45.85   $   15.00   $   206.33   $ 43.88    $   250.20
  4/14/2019 Jose Alberto Alcantara                        $10.50   45.65   $   15.00   $   205.43   $ 42.38    $   247.80
  4/21/2019 Jose Alberto Alcantara                        $10.50   44.62   $   15.00   $   200.78   $ 34.63    $   235.40
  5/12/2019 Jose Alberto Alcantara                        $10.50   44.63   $   15.00   $   200.85   $ 34.75    $   235.60
  5/26/2019 Jose Alberto Alcantara                        $10.50   46.03   $   15.00   $   207.15   $ 45.25    $   252.40
   6/9/2019 Jose Alberto Alcantara                        $10.50   47.07   $   15.00   $   211.80   $ 53.00    $   264.80
  6/30/2019 Jose Alberto Alcantara                        $10.50   45.85   $   15.00   $   206.33   $ 43.88    $   250.20
   7/7/2019 Jose Alberto Alcantara                        $10.50   40.15   $   15.00   $   180.68   $   1.12   $   181.80
  7/21/2019 Jose Alberto Alcantara                        $10.50   42.22   $   15.00   $   189.98   $ 16.63    $   206.60
   7/7/2019 Jose Antonetti                                $16.50   44.63   $   15.00                $ 38.23    $    38.23
  7/14/2019 Jose Antonetti                                $16.50   72.65   $   15.00                $ 269.36   $   269.36
  7/21/2019 Jose Antonetti                                $16.50   55.32   $   15.00                $ 126.36   $   126.36
  7/28/2019 Jose Antonetti                                $16.50   63.73   $   15.00                $ 195.80   $   195.80
   9/1/2019 Jose Antonetti                                $12.00   43.52   $   15.00   $ 130.55     $ 26.37    $   156.93
   9/8/2019 Jose Antonetti                                $12.00   49.77   $   15.00   $ 149.30     $ 73.25    $   222.55



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                                                              Exhibit 3
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   Week                                                                           State Section 7: Section 7: Total Section 7
                                                                  Hourly Hours/
  Ending                           Name                                         Minimum Regular Half-time Overtime Back
                                                                   Rate Week
   Date                                                                          Wage   Rate Due     Due       Wages Due

  9/15/2019 Jose Antonetti                                         $12.00   40.62   $   15.00   $ 121.85     $   4.63   $   126.48
  9/22/2019 Jose Antonetti                                         $12.00   54.95   $   15.00   $ 164.85     $ 112.13   $   276.98
  9/29/2019 Jose Antonetti                                         $12.00   56.48   $   15.00   $ 169.45     $ 123.63   $   293.08
  10/6/2019 Jose Antonetti                                         $12.00   53.45   $   15.00   $ 160.35     $ 100.88   $   261.23
 10/13/2019 Jose Antonetti                                         $12.00   45.30   $   15.00   $ 135.90     $ 39.75    $   175.65
 10/20/2019 Jose Antonetti                                         $13.00   47.92   $   15.00   $ 95.83      $ 59.38    $   155.21
 10/27/2019 Jose Antonetti                                         $13.00   47.37   $   15.00   $ 94.73      $ 55.25    $   149.98
 11/10/2019 Jose Antonetti                                         $13.00   58.43   $   15.00   $ 116.87     $ 138.25   $   255.12
 11/17/2019 Jose Antonetti                                         $13.00   52.10   $   15.00   $ 104.20     $ 90.75    $   194.95
 11/24/2019 Jose Antonetti                                         $13.00   50.70   $   15.00   $ 101.40     $ 80.25    $   181.65
  12/1/2019 Jose Antonetti                                         $13.00   45.37   $   15.00   $ 90.73      $ 40.25    $   130.98
  12/8/2019 Jose Antonetti                                         $13.00   57.03   $   15.00   $ 114.07     $ 127.75   $   241.82
 12/15/2019 Jose Antonetti                                         $12.00   56.52   $   15.00   $ 169.55     $ 123.88   $   293.43
 12/22/2019 Jose Antonetti                                         $12.00   54.65   $   15.00   $ 163.95     $ 109.88   $   273.83
 12/29/2019 Jose Antonetti                                         $12.00   44.17   $   15.00   $ 132.50     $ 31.25    $   163.75
   1/5/2020 Jose Antonetti                                         $12.00   42.05   $   15.00   $ 126.15     $ 15.38    $   141.53
  1/12/2020 Jose Antonetti                                         $12.00   52.07   $   15.00   $ 156.20     $ 90.50    $   246.70
  1/19/2020 Jose Antonetti                                         $12.00   56.48   $   15.00   $ 169.45     $ 123.63   $   293.08
  1/26/2020 Jose Antonetti                                         $12.00   46.17   $   15.00   $ 138.50     $ 46.25    $   184.75
  12/3/2017 Jose Antonetti - Valet @ Jeep Showroom                 $16.50   51.00   $   11.00                $ 90.75    $    90.75
 12/10/2017 Jose Antonetti - Valet @ Jeep Showroom                 $16.50   54.90   $   11.00                $ 122.93   $   122.93
 12/17/2017 Jose Antonetti - Valet @ Jeep Showroom                 $16.50   58.40   $   11.00                $ 151.80   $   151.80
 12/24/2017 Jose Antonetti - Valet @ Jeep Showroom                 $16.50   44.28   $   11.00                $ 35.34    $    35.34
  1/28/2018 Jose Antonetti - Valet @ Jeep Showroom                 $16.50   46.90   $   13.00                $ 56.93    $    56.93
   2/4/2018 Jose Antonetti - Valet @ Jeep Showroom                 $16.50   43.35   $   13.00                $ 27.64    $    27.64
  2/18/2018 Jose Antonetti - Valet @ Jeep Showroom                 $16.50   41.97   $   13.00                $ 16.23    $    16.23
   6/2/2019 Jose Antonetti - Valet @ Jeep Showroom                 $16.50   52.50   $   15.00                $ 103.13   $   103.13
   6/9/2019 Jose Antonetti - Valet @ Jeep Showroom                 $16.50   60.50   $   15.00                $ 169.13   $   169.13
  6/16/2019 Jose Antonetti - Valet @ Jeep Showroom                 $16.50   62.97   $   15.00                $ 189.48   $   189.48
  6/23/2019 Jose Antonetti - Valet @ Jeep Showroom                 $16.50   63.70   $   15.00                $ 195.53   $   195.53
  6/30/2019 Jose Antonetti - Valet @ Jeep Showroom                 $16.50   63.82   $   15.00                $ 196.49   $   196.49
  6/10/2018 Jose Colon - Sales Valet                               $10.00   45.77   $   13.00   $   137.30   $ 37.48    $   174.78
  6/17/2018 Jose Colon - Sales Valet                               $10.00   47.48   $   13.00   $   142.45   $ 48.64    $   191.09
  6/24/2018 Jose Colon - Sales Valet                               $10.00   44.42   $   13.00   $   133.25   $ 28.71    $   161.96
   7/1/2018 Jose Colon - Sales Valet                               $10.00   43.28   $   13.00   $   129.85   $ 21.34    $   151.19
  7/15/2018 Jose Colon - Sales Valet                               $10.00   43.92   $   13.00   $   131.75   $ 25.46    $   157.21
  7/22/2018 Jose Colon - Sales Valet                               $10.00   43.73   $   13.00   $   131.20   $ 24.27    $   155.47
   4/1/2018 Jose David Melara Gonzalez                              $9.00   58.47   $   13.00   $   233.87   $ 120.03   $   353.90
   4/8/2018 Jose David Melara Gonzalez                              $9.00   58.68   $   13.00   $   234.73   $ 121.44   $   356.18
  4/15/2018 Jose David Melara Gonzalez                              $9.00   58.40   $   13.00   $   233.60   $ 119.60   $   353.20
  4/22/2018 Jose David Melara Gonzalez                              $9.00   60.15   $   13.00   $   240.60   $ 130.98   $   371.58
  4/29/2018 Jose David Melara Gonzalez                              $9.00   58.10   $   13.00   $   232.40   $ 117.65   $   350.05
   5/6/2018 Jose David Melara Gonzalez                              $9.00   57.38   $   13.00   $   229.53   $ 112.99   $   342.53
  5/13/2018 Jose David Melara Gonzalez                              $9.00   56.88   $   13.00   $   227.53   $ 109.74   $   337.28
  5/20/2018 Jose David Melara Gonzalez                              $9.00   55.23   $   13.00   $   220.93   $ 99.02    $   319.95
  5/27/2018 Jose David Melara Gonzalez                              $9.00   58.30   $   13.00   $   233.20   $ 118.95   $   352.15
   6/3/2018 Jose David Melara Gonzalez                              $9.00   57.05   $   13.00   $   228.20   $ 110.83   $   339.03
  6/10/2018 Jose David Melara Gonzalez                              $9.00   47.82   $   13.00   $   191.27   $ 50.81    $   242.08
  6/17/2018 Jose David Melara Gonzalez                              $9.00   57.23   $   13.00   $   228.93   $ 112.02   $   340.95
  6/24/2018 Jose David Melara Gonzalez                              $9.00   51.20   $   13.00   $   204.80   $ 72.80    $   277.60
   7/1/2018 Jose David Melara Gonzalez                              $9.00   48.17   $   13.00   $   192.67   $ 53.08    $   245.75
   7/8/2018 Jose David Melara Gonzalez                              $9.00   50.20   $   13.00   $   200.80   $ 66.30    $   267.10
  7/15/2018 Jose David Melara Gonzalez                              $9.00   58.18   $   13.00   $   232.73   $ 118.19   $   350.93
  7/22/2018 Jose David Melara Gonzalez                              $9.00   58.87   $   13.00   $   235.47   $ 122.63   $   358.10
  7/29/2018 Jose David Melara Gonzalez                              $9.00   57.27   $   13.00   $   229.07   $ 112.23   $   341.30
   8/5/2018 Jose David Melara Gonzalez                              $9.00   55.22   $   13.00   $   220.87   $ 98.91    $   319.78
  8/12/2018 Jose David Melara Gonzalez                              $9.00   59.85   $   13.00   $   239.40   $ 129.03   $   368.43
  8/19/2018 Jose David Melara Gonzalez                              $9.00   59.03   $   13.00   $   236.13   $ 123.72   $   359.85



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                                                   Exhibit 3
                                          New York City Computations


   Week                                                                State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
  Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                        Rate Week
   Date                                                               Wage   Rate Due     Due       Wages Due

  8/26/2018 Jose David Melara Gonzalez                   $9.00   60.45   $   13.00   $ 241.80   $ 132.93   $   374.73
   9/2/2018 Jose David Melara Gonzalez                   $9.00   61.25   $   13.00   $ 245.00   $ 138.13   $   383.13
 10/28/2018 Jose Dominguez                              $16.50   52.00   $   13.00              $ 99.00    $    99.00
  11/4/2018 Jose Dominguez                              $16.50   71.57   $   13.00              $ 260.43   $   260.43
 11/11/2018 Jose Dominguez                              $16.50   66.15   $   13.00              $ 215.74   $   215.74
 11/18/2018 Jose Dominguez                              $16.50   69.98   $   13.00              $ 247.36   $   247.36
 11/25/2018 Jose Dominguez                              $16.50   60.45   $   13.00              $ 168.71   $   168.71
  12/2/2018 Jose Dominguez                              $16.50   75.53   $   13.00              $ 293.15   $   293.15
  12/9/2018 Jose Dominguez                              $16.50   76.78   $   13.00              $ 303.46   $   303.46
 12/16/2018 Jose Dominguez                              $16.50   74.83   $   13.00              $ 287.38   $   287.38
 12/23/2018 Jose Dominguez                              $16.50   75.70   $   13.00              $ 294.53   $   294.53
 12/30/2018 Jose Dominguez                              $16.50   60.95   $   13.00              $ 172.84   $   172.84
   1/6/2019 Jose Dominguez                              $16.50   62.63   $   15.00              $ 186.73   $   186.73
  1/13/2019 Jose Dominguez                              $16.50   73.90   $   15.00              $ 279.68   $   279.68
  1/20/2019 Jose Dominguez                              $16.50   74.15   $   15.00              $ 281.74   $   281.74
  1/27/2019 Jose Dominguez                              $16.50   59.82   $   15.00              $ 163.49   $   163.49
   2/3/2019 Jose Dominguez                              $16.50   58.47   $   15.00              $ 152.35   $   152.35
  2/10/2019 Jose Dominguez                              $16.50   61.32   $   15.00              $ 175.86   $   175.86
  2/17/2019 Jose Dominguez                              $16.50   63.37   $   15.00              $ 192.78   $   192.78
  2/24/2019 Jose Dominguez                              $16.50   61.35   $   15.00              $ 176.14   $   176.14
   3/3/2019 Jose Dominguez                              $16.50   71.02   $   15.00              $ 255.89   $   255.89
  3/10/2019 Jose Dominguez                              $16.50   70.48   $   15.00              $ 251.49   $   251.49
  3/17/2019 Jose Dominguez                              $16.50   65.47   $   15.00              $ 210.10   $   210.10
  3/24/2019 Jose Dominguez                              $16.50   41.98   $   15.00              $ 16.36    $    16.36
  3/31/2019 Jose Dominguez                              $16.50   49.03   $   15.00              $ 74.53    $    74.53
   4/7/2019 Jose Dominguez                              $16.50   40.82   $   15.00              $   6.74   $     6.74
  4/14/2019 Jose Dominguez                              $16.50   55.93   $   15.00              $ 131.45   $   131.45
  4/21/2019 Jose Dominguez                              $16.50   49.18   $   15.00              $ 75.76    $    75.76
  4/28/2019 Jose Dominguez                              $16.50   51.22   $   15.00              $ 92.54    $    92.54
   5/5/2019 Jose Dominguez                              $16.50   55.88   $   15.00              $ 131.04   $   131.04
  5/12/2019 Jose Dominguez                              $16.50   50.08   $   15.00              $ 83.19    $    83.19
  5/19/2019 Jose Dominguez                              $16.50   52.28   $   15.00              $ 101.34   $   101.34
  5/26/2019 Jose Dominguez                              $16.50   57.82   $   15.00              $ 146.99   $   146.99
   6/2/2019 Jose Dominguez                              $16.50   50.42   $   15.00              $ 85.94    $    85.94
  6/16/2019 Jose Dominguez                              $16.50   52.70   $   15.00              $ 104.78   $   104.78
  6/23/2019 Jose Dominguez                              $16.50   52.28   $   15.00              $ 101.34   $   101.34
  6/30/2019 Jose Dominguez                              $16.50   49.12   $   15.00              $ 75.21    $    75.21
   7/7/2019 Jose Dominguez                              $16.50   44.90   $   15.00              $ 40.43    $    40.43
  7/14/2019 Jose Dominguez                              $16.50   41.25   $   15.00              $ 10.31    $    10.31
  7/21/2019 Jose Dominguez                              $16.50   40.47   $   15.00              $   3.85   $     3.85
  7/28/2019 Jose Dominguez                              $16.50   53.97   $   15.00              $ 115.23   $   115.23
  8/11/2019 Jose Dominguez                              $16.50   42.58   $   15.00              $ 21.31    $    21.31
  8/18/2019 Jose Dominguez                              $16.50   42.03   $   15.00              $ 16.78    $    16.78
  8/25/2019 Jose Dominguez                              $16.50   42.03   $   15.00              $ 16.78    $    16.78
   9/1/2019 Jose Dominguez                              $16.50   41.97   $   15.00              $ 16.23    $    16.23
   9/8/2019 Jose Dominguez                              $16.50   42.03   $   15.00              $ 16.78    $    16.78
  9/15/2019 Jose Dominguez                              $16.50   44.37   $   15.00              $ 36.02    $    36.02
  10/6/2019 Jose Dominguez                              $16.50   41.83   $   15.00              $ 15.13    $    15.13
  5/12/2019 Jose Luis Jimenez Garcia                    $15.00   52.20   $   15.00              $ 91.50    $    91.50
  5/19/2019 Jose Luis Jimenez Garcia                    $15.00   60.93   $   15.00              $ 157.00   $   157.00
  5/26/2019 Jose Luis Jimenez Garcia                    $15.00   56.60   $   15.00              $ 124.50   $   124.50
   6/2/2019 Jose Luis Jimenez Garcia                    $15.00   48.95   $   15.00              $ 67.13    $    67.13
  6/16/2019 Jose Luis Jimenez Garcia                    $15.00   47.62   $   15.00              $ 57.13    $    57.13
  7/14/2019 Jose Luis Jimenez Garcia                    $15.00   44.62   $   15.00              $ 34.63    $    34.63
  7/21/2019 Jose Luis Jimenez Garcia                    $15.00   80.68   $   15.00              $ 305.13   $   305.13
  8/18/2019 Jose Luis Jimenez Garcia                    $15.00   41.48   $   15.00              $ 11.13    $    11.13
  8/25/2019 Jose Luis Jimenez Garcia                    $15.00   43.70   $   15.00              $ 27.75    $    27.75
   9/8/2019 Jose Luis Jimenez Garcia                    $15.00   41.78   $   15.00              $ 13.38    $    13.38



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   Week                                                                   State Section 7: Section 7: Total Section 7
                                                          Hourly Hours/
  Ending                             Name                               Minimum Regular Half-time Overtime Back
                                                           Rate Week
   Date                                                                  Wage   Rate Due     Due       Wages Due

  9/29/2019 Jose Luis Jimenez Garcia                       $15.00   46.72   $   15.00                $ 50.38    $    50.38
 11/24/2019 Jose Luis Jimenez Garcia                       $15.00   41.32   $   15.00                $   9.87   $     9.87
 12/22/2019 Jose Luis Jimenez Garcia                       $15.00   41.67   $   15.00                $ 12.50    $    12.50
  1/19/2020 Jose Luis Jimenez Garcia                       $15.00   41.33   $   15.00                $ 10.00    $    10.00
  6/10/2018 Jose Luis Perez - Sales Porter                  $9.50   54.33   $   13.00   $   190.17   $ 93.17    $   283.33
  6/17/2018 Jose Luis Perez - Sales Porter                  $9.50   53.68   $   13.00   $   187.89   $ 88.94    $   276.83
  6/24/2018 Jose Luis Perez - Sales Porter                  $9.50   52.68   $   13.00   $   184.39   $ 82.44    $   266.83
   7/1/2018 Jose Luis Perez - Sales Porter                  $9.50   53.10   $   13.00   $   185.85   $ 85.15    $   271.00
   7/8/2018 Jose Luis Perez - Sales Porter                  $9.50   44.92   $   13.00   $   157.21   $ 31.96    $   189.17
  9/10/2017 Jose Mario Salvador                            $12.00   55.68   $   11.00                $ 94.10    $    94.10
  9/17/2017 Jose Mario Salvador                            $12.00   60.70   $   11.00                $ 124.20   $   124.20
  9/24/2017 Jose Mario Salvador                            $12.00   60.82   $   11.00                $ 124.90   $   124.90
  10/1/2017 Jose Mario Salvador                            $12.00   60.70   $   11.00                $ 124.20   $   124.20
  10/8/2017 Jose Mario Salvador                            $12.00   60.98   $   11.00                $ 125.90   $   125.90
 10/15/2017 Jose Mario Salvador                            $12.00   61.80   $   11.00                $ 130.80   $   130.80
 10/22/2017 Jose Mario Salvador                            $12.00   60.88   $   11.00                $ 125.30   $   125.30
 10/29/2017 Jose Mario Salvador                            $12.00   61.92   $   11.00                $ 131.50   $   131.50
  11/5/2017 Jose Mario Salvador                            $12.00   62.33   $   11.00                $ 134.00   $   134.00
 11/12/2017 Jose Mario Salvador                            $12.00   61.03   $   11.00                $ 126.20   $   126.20
 11/19/2017 Jose Mario Salvador                            $12.00   62.87   $   11.00                $ 137.20   $   137.20
 11/26/2017 Jose Mario Salvador                            $12.00   48.08   $   11.00                $ 48.50    $    48.50
  12/3/2017 Jose Mario Salvador                            $12.00   62.97   $   11.00                $ 137.80   $   137.80
 12/10/2017 Jose Mario Salvador                            $12.00   62.87   $   11.00                $ 137.20   $   137.20
 12/17/2017 Jose Mario Salvador                            $12.00   62.62   $   11.00                $ 135.70   $   135.70
 12/24/2017 Jose Mario Salvador                            $12.00   62.68   $   11.00                $ 136.10   $   136.10
 12/31/2017 Jose Mario Salvador                            $12.00   51.83   $   13.00   $    51.83   $ 76.92    $   128.75
   1/7/2018 Jose Mario Salvador                            $12.00   46.98   $   13.00   $    46.98   $ 45.39    $    92.38
  1/14/2018 Jose Mario Salvador                            $12.00   61.52   $   13.00   $    61.52   $ 139.86   $   201.38
  1/21/2018 Jose Mario Salvador                            $12.00   62.93   $   13.00   $    62.93   $ 149.07   $   212.00
  1/28/2018 Jose Mario Salvador                            $12.00   63.33   $   13.00   $    63.33   $ 151.67   $   215.00
   2/4/2018 Jose Mario Salvador                            $12.00   63.32   $   13.00   $    63.32   $ 151.56   $   214.88
  2/11/2018 Jose Mario Salvador                            $12.00   63.27   $   13.00   $    63.27   $ 151.23   $   214.50
  2/18/2018 Jose Mario Salvador                            $12.00   63.15   $   13.00   $    63.15   $ 150.48   $   213.63
  2/25/2018 Jose Mario Salvador                            $12.00   63.65   $   13.00   $    63.65   $ 153.73   $   217.38
   3/4/2018 Jose Mario Salvador                            $12.00   63.15   $   13.00   $    63.15   $ 150.48   $   213.63
  3/25/2018 Jose Mario Salvador                            $12.00   64.88   $   13.00   $    64.88   $ 161.74   $   226.63
   4/1/2018 Jose Mario Salvador                            $12.00   62.92   $   13.00   $    62.92   $ 148.96   $   211.88
   4/8/2018 Jose Mario Salvador                            $12.00   63.00   $   13.00   $    63.00   $ 149.50   $   212.50
  4/15/2018 Jose Mario Salvador                            $12.00   63.25   $   13.00   $    63.25   $ 151.13   $   214.38
  4/22/2018 Jose Mario Salvador                            $12.00   63.12   $   13.00   $    63.12   $ 150.26   $   213.38
  4/29/2018 Jose Mario Salvador                            $12.00   62.90   $   13.00   $    62.90   $ 148.85   $   211.75
   5/6/2018 Jose Mario Salvador                            $12.00   62.72   $   13.00   $    62.72   $ 147.66   $   210.38
  5/13/2018 Jose Mario Salvador                            $12.00   63.03   $   13.00   $    63.03   $ 149.72   $   212.75
  5/20/2018 Jose Mario Salvador                            $12.00   62.93   $   13.00   $    62.93   $ 149.07   $   212.00
  5/27/2018 Jose Mario Salvador                            $12.00   63.10   $   13.00   $    63.10   $ 150.15   $   213.25
   6/3/2018 Jose Mario Salvador                            $12.00   58.77   $   13.00   $    58.77   $ 121.98   $   180.75
  6/10/2018 Jose Mario Salvador                            $12.00   63.23   $   13.00   $    63.23   $ 151.02   $   214.25
  6/17/2018 Jose Mario Salvador                            $12.00   63.25   $   13.00   $    63.25   $ 151.13   $   214.38
  6/24/2018 Jose Mario Salvador                            $12.00   64.17   $   13.00   $    64.17   $ 157.08   $   221.25
   7/1/2018 Jose Mario Salvador                            $12.00   65.15   $   13.00   $    65.15   $ 163.48   $   228.63
   7/8/2018 Jose Mario Salvador                            $12.00   53.45   $   13.00   $    53.45   $ 87.43    $   140.88
  7/15/2018 Jose Mario Salvador                            $12.00   64.57   $   13.00   $    64.57   $ 159.68   $   224.25
  7/22/2018 Jose Mario Salvador                            $12.00   64.55   $   13.00   $    64.55   $ 159.58   $   224.13
  7/29/2018 Jose Mario Salvador                            $12.00   64.58   $   13.00   $    64.58   $ 159.79   $   224.38
   8/5/2018 Jose Mario Salvador                            $12.00   64.40   $   13.00   $    64.40   $ 158.60   $   223.00
  8/12/2018 Jose Mario Salvador                            $12.00   64.70   $   13.00   $    64.70   $ 160.55   $   225.25
  8/19/2018 Jose Mario Salvador                            $12.00   64.63   $   13.00   $    64.63   $ 160.12   $   224.75
  8/26/2018 Jose Mario Salvador                            $12.00   64.85   $   13.00   $    64.85   $ 161.53   $   226.38



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   Week                                                               State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
  Ending                          Name                              Minimum Regular Half-time Overtime Back
                                                       Rate Week
   Date                                                              Wage   Rate Due     Due       Wages Due

   9/2/2018 Jose Mario Salvador                        $12.00   64.73   $   13.00   $ 64.73    $ 160.77   $   225.50
   9/9/2018 Jose Mario Salvador                        $12.00   61.08   $   13.00   $ 61.08    $ 137.04   $   198.13
  9/16/2018 Jose Mario Salvador                        $12.00   64.78   $   13.00   $ 64.78    $ 161.09   $   225.88
  9/23/2018 Jose Mario Salvador                        $12.00   64.87   $   13.00   $ 64.87    $ 161.63   $   226.50
  9/30/2018 Jose Mario Salvador                        $12.00   64.68   $   13.00   $ 64.68    $ 160.44   $   225.13
  10/7/2018 Jose Mario Salvador                        $12.00   64.67   $   13.00   $ 64.67    $ 160.33   $   225.00
 10/14/2018 Jose Mario Salvador                        $12.00   64.65   $   13.00   $ 64.65    $ 160.23   $   224.88
 10/21/2018 Jose Mario Salvador                        $12.00   65.12   $   13.00   $ 65.12    $ 163.26   $   228.38
 10/28/2018 Jose Mario Salvador                        $12.00   67.07   $   13.00   $ 67.07    $ 175.93   $   243.00
  11/4/2018 Jose Mario Salvador                        $12.00   64.88   $   13.00   $ 64.88    $ 161.74   $   226.63
 11/11/2018 Jose Mario Salvador                        $12.00   64.83   $   13.00   $ 64.83    $ 161.42   $   226.25
 11/18/2018 Jose Mario Salvador                        $12.00   64.73   $   13.00   $ 64.73    $ 160.77   $   225.50
 11/25/2018 Jose Mario Salvador                        $12.00   51.95   $   13.00   $ 51.95    $ 77.68    $   129.63
  12/2/2018 Jose Mario Salvador                        $12.00   65.88   $   13.00   $ 65.88    $ 168.24   $   234.13
  12/9/2018 Jose Mario Salvador                        $12.00   65.07   $   13.00   $ 65.07    $ 162.93   $   228.00
 12/16/2018 Jose Mario Salvador                        $12.00   66.28   $   13.00   $ 66.28    $ 170.84   $   237.13
 12/23/2018 Jose Mario Salvador                        $12.00   65.42   $   13.00   $ 65.42    $ 165.21   $   230.63
 12/30/2018 Jose Mario Salvador                        $12.00   49.50   $   13.00   $ 49.50    $ 61.75    $   111.25
   1/6/2019 Jose Mario Salvador                        $12.00   47.57   $   15.00   $ 142.70   $ 56.75    $   199.45
  1/13/2019 Jose Mario Salvador                        $12.00   64.18   $   15.00   $ 192.55   $ 181.38   $   373.93
  1/20/2019 Jose Mario Salvador                        $12.00   64.28   $   15.00   $ 192.85   $ 182.13   $   374.98
  1/27/2019 Jose Mario Salvador                        $12.00   64.98   $   15.00   $ 194.95   $ 187.38   $   382.33
   2/3/2019 Jose Mario Salvador                        $12.00   64.78   $   15.00   $ 194.35   $ 185.88   $   380.23
  2/10/2019 Jose Mario Salvador                        $12.00   64.72   $   15.00   $ 194.15   $ 185.38   $   379.53
  2/17/2019 Jose Mario Salvador                        $12.00   65.02   $   15.00   $ 195.05   $ 187.63   $   382.68
  2/24/2019 Jose Mario Salvador                        $12.00   63.97   $   15.00   $ 191.90   $ 179.75   $   371.65
   3/3/2019 Jose Mario Salvador                        $12.00   65.62   $   15.00   $ 196.85   $ 192.13   $   388.98
  3/10/2019 Jose Mario Salvador                        $12.00   65.78   $   15.00   $ 197.35   $ 193.38   $   390.73
  3/17/2019 Jose Mario Salvador                        $12.00   65.28   $   15.00   $ 195.85   $ 189.63   $   385.48
  3/24/2019 Jose Mario Salvador                        $12.00   66.33   $   15.00   $ 199.00   $ 197.50   $   396.50
  3/31/2019 Jose Mario Salvador                        $12.00   65.50   $   15.00   $ 196.50   $ 191.25   $   387.75
   4/7/2019 Jose Mario Salvador                        $12.00   64.50   $   15.00   $ 193.50   $ 183.75   $   377.25
  4/14/2019 Jose Mario Salvador                        $12.00   66.08   $   15.00   $ 198.25   $ 195.63   $   393.88
  4/21/2019 Jose Mario Salvador                        $12.00   65.95   $   15.00   $ 197.85   $ 194.63   $   392.48
  4/28/2019 Jose Mario Salvador                        $12.00   64.88   $   15.00   $ 194.65   $ 186.63   $   381.28
   5/5/2019 Jose Mario Salvador                        $12.00   65.50   $   15.00   $ 196.50   $ 191.25   $   387.75
  5/12/2019 Jose Mario Salvador                        $12.00   65.55   $   15.00   $ 196.65   $ 191.63   $   388.28
  5/19/2019 Jose Mario Salvador                        $12.00   65.42   $   15.00   $ 196.25   $ 190.63   $   386.88
  5/26/2019 Jose Mario Salvador                        $12.00   65.52   $   15.00   $ 196.55   $ 191.38   $   387.93
   6/2/2019 Jose Mario Salvador                        $12.00   63.62   $   15.00   $ 190.85   $ 177.13   $   367.98
   6/9/2019 Jose Mario Salvador                        $12.00   66.77   $   15.00   $ 200.30   $ 200.75   $   401.05
  6/16/2019 Jose Mario Salvador                        $12.00   66.07   $   15.00   $ 198.20   $ 195.50   $   393.70
  6/23/2019 Jose Mario Salvador                        $12.00   65.60   $   15.00   $ 196.80   $ 192.00   $   388.80
  6/30/2019 Jose Mario Salvador                        $12.00   66.93   $   15.00   $ 200.80   $ 202.00   $   402.80
   7/7/2019 Jose Mario Salvador                        $12.00   54.28   $   15.00   $ 162.85   $ 107.13   $   269.98
  7/14/2019 Jose Mario Salvador                        $12.00   68.18   $   15.00   $ 204.55   $ 211.38   $   415.93
  7/21/2019 Jose Mario Salvador                        $12.00   66.52   $   15.00   $ 199.55   $ 198.88   $   398.43
  7/28/2019 Jose Mario Salvador                        $12.00   65.00   $   15.00   $ 195.00   $ 187.50   $   382.50
   8/4/2019 Jose Mario Salvador                        $12.00   54.37   $   15.00   $ 163.10   $ 107.75   $   270.85
  8/11/2019 Jose Mario Salvador                        $12.00   65.35   $   15.00   $ 196.05   $ 190.13   $   386.18
  8/18/2019 Jose Mario Salvador                        $12.00   66.35   $   15.00   $ 199.05   $ 197.63   $   396.68
  8/25/2019 Jose Mario Salvador                        $12.00   66.53   $   15.00   $ 199.60   $ 199.00   $   398.60
   9/1/2019 Jose Mario Salvador                        $12.00   66.63   $   15.00   $ 199.90   $ 199.75   $   399.65
   9/8/2019 Jose Mario Salvador                        $12.00   61.18   $   15.00   $ 183.55   $ 158.88   $   342.43
  9/15/2019 Jose Mario Salvador                        $12.00   66.87   $   15.00   $ 200.60   $ 201.50   $   402.10
  9/22/2019 Jose Mario Salvador                        $12.00   66.12   $   15.00   $ 198.35   $ 195.88   $   394.23
  9/29/2019 Jose Mario Salvador                        $12.00   66.53   $   15.00   $ 199.60   $ 199.00   $   398.60
  10/6/2019 Jose Mario Salvador                        $12.00   65.98   $   15.00   $ 197.95   $ 194.88   $   392.83



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   Week                                                               State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
  Ending                          Name                              Minimum Regular Half-time Overtime Back
                                                       Rate Week
   Date                                                              Wage   Rate Due     Due       Wages Due

 10/13/2019 Jose Mario Salvador                        $12.00   66.57   $   15.00   $   199.70   $ 199.25   $   398.95
 10/20/2019 Jose Mario Salvador                        $12.00   66.85   $   15.00   $   200.55   $ 201.38   $   401.93
 10/27/2019 Jose Mario Salvador                        $12.00   66.15   $   15.00   $   198.45   $ 196.13   $   394.58
  11/3/2019 Jose Mario Salvador                        $12.00   66.47   $   15.00   $   199.40   $ 198.50   $   397.90
 11/10/2019 Jose Mario Salvador                        $12.00   66.80   $   15.00   $   200.40   $ 201.00   $   401.40
 11/17/2019 Jose Mario Salvador                        $12.00   66.38   $   15.00   $   199.15   $ 197.88   $   397.03
 11/24/2019 Jose Mario Salvador                        $12.00   66.18   $   15.00   $   198.55   $ 196.38   $   394.93
  12/1/2019 Jose Mario Salvador                        $12.00   53.92   $   15.00   $   161.75   $ 104.38   $   266.13
  12/8/2019 Jose Mario Salvador                        $12.00   67.08   $   15.00   $   201.25   $ 203.13   $   404.38
 12/15/2019 Jose Mario Salvador                        $12.00   68.18   $   15.00   $   204.55   $ 211.38   $   415.93
 12/22/2019 Jose Mario Salvador                        $12.00   67.57   $   15.00   $   202.70   $ 206.75   $   409.45
 12/29/2019 Jose Mario Salvador                        $12.00   51.95   $   15.00   $   155.85   $ 89.63    $   245.48
   1/5/2020 Jose Mario Salvador                        $12.00   51.43   $   15.00   $   154.30   $ 85.75    $   240.05
  1/12/2020 Jose Mario Salvador                        $12.00   67.67   $   15.00   $   203.00   $ 207.50   $   410.50
  1/19/2020 Jose Mario Salvador                        $12.00   67.20   $   15.00   $   201.60   $ 204.00   $   405.60
  1/26/2020 Jose Mario Salvador                        $12.00   67.52   $   15.00   $   202.55   $ 206.38   $   408.93
  2/25/2018 Jose Marte                                 $13.00   41.60   $   13.00                $ 10.40    $    10.40
   2/5/2017 Jose Mejia                                 $10.50   56.67   $   11.00   $    28.33   $ 91.67    $   120.00
  2/12/2017 Jose Mejia                                 $10.50   41.68   $   11.00   $    20.84   $   9.26   $    30.10
  2/19/2017 Jose Mejia                                 $10.50   55.53   $   11.00   $    27.77   $ 85.43    $   113.20
  2/26/2017 Jose Mejia                                 $10.50   60.55   $   11.00   $    30.28   $ 113.03   $   143.30
   3/5/2017 Jose Mejia                                 $10.50   54.05   $   11.00   $    27.03   $ 77.28    $   104.30
  3/12/2017 Jose Mejia                                 $10.50   57.48   $   11.00   $    28.74   $ 96.16    $   124.90
  3/26/2017 Jose Mejia                                 $10.50   54.63   $   11.00   $    27.32   $ 80.48    $   107.80
   4/2/2017 Jose Mejia                                 $10.50   59.13   $   11.00   $    29.57   $ 105.23   $   134.80
   4/9/2017 Jose Mejia                                 $10.50   50.22   $   11.00   $    25.11   $ 56.19    $    81.30
  3/26/2017 Jose Milla                                 $10.00   52.08   $   11.00   $    52.08   $ 66.46    $   118.54
   4/2/2017 Jose Milla                                 $10.00   63.45   $   11.00   $    63.45   $ 128.98   $   192.43
   4/9/2017 Jose Milla                                 $10.00   59.25   $   11.00   $    59.25   $ 105.88   $   165.13
  4/16/2017 Jose Milla                                 $10.00   52.25   $   11.00   $    52.25   $ 67.38    $   119.63
  4/23/2017 Jose Milla                                 $10.00   56.13   $   11.00   $    56.13   $ 88.73    $   144.87
  4/30/2017 Jose Milla                                 $10.00   65.07   $   11.00   $    65.07   $ 137.87   $   202.93
   5/7/2017 Jose Milla                                 $10.00   58.87   $   11.00   $    58.87   $ 103.77   $   162.63
  5/14/2017 Jose Milla                                 $10.00   53.67   $   11.00   $    53.67   $ 75.17    $   128.83
  5/21/2017 Jose Milla                                 $10.00   57.62   $   11.00   $    57.62   $ 96.89    $   154.51
  5/28/2017 Jose Milla                                 $10.00   60.00   $   11.00   $    60.00   $ 110.00   $   170.00
   6/4/2017 Jose Milla                                 $10.00   59.12   $   11.00   $    59.12   $ 105.14   $   164.26
  6/11/2017 Jose Milla                                 $10.00   55.77   $   11.00   $    55.77   $ 86.72    $   142.48
  6/18/2017 Jose Milla                                 $10.00   59.37   $   11.00   $    59.37   $ 106.52   $   165.88
  6/25/2017 Jose Milla                                 $10.00   57.12   $   11.00   $    57.12   $ 94.14    $   151.26
   7/2/2017 Jose Milla                                 $10.00   61.03   $   11.00   $    61.03   $ 115.68   $   176.72
   7/9/2017 Jose Milla                                 $10.00   45.27   $   11.00   $    45.27   $ 28.97    $    74.23
  7/16/2017 Jose Milla                                 $10.00   60.97   $   11.00   $    60.97   $ 115.32   $   176.28
  7/23/2017 Jose Milla                                 $10.00   57.58   $   11.00   $    57.58   $ 96.71    $   154.29
  7/30/2017 Jose Milla                                 $10.00   53.60   $   11.00   $    53.60   $ 74.80    $   128.40
   8/6/2017 Jose Milla                                 $10.00   56.82   $   11.00   $    56.82   $ 92.49    $   149.31
  8/20/2017 Jose Milla                                 $10.00   57.17   $   11.00   $    57.17   $ 94.42    $   151.58
  8/27/2017 Jose Milla                                 $10.00   44.92   $   11.00   $    44.92   $ 27.04    $    71.96
   9/3/2017 Jose Milla                                 $10.00   60.82   $   11.00   $    60.82   $ 114.49   $   175.31
  9/10/2017 Jose Milla                                 $10.00   55.18   $   11.00   $    55.18   $ 83.51    $   138.69
  9/17/2017 Jose Milla                                 $10.00   65.03   $   11.00   $    65.03   $ 137.68   $   202.72
  9/24/2017 Jose Milla                                 $10.00   65.15   $   11.00   $    65.15   $ 138.33   $   203.48
  10/1/2017 Jose Milla                                 $10.00   68.38   $   11.00   $    68.38   $ 156.11   $   224.49
  10/8/2017 Jose Milla                                 $10.50   63.92   $   11.00   $    31.96   $ 131.54   $   163.50
 10/15/2017 Jose Milla                                 $10.50   52.57   $   11.00   $    26.28   $ 69.12    $    95.40
 10/22/2017 Jose Milla                                 $10.50   57.45   $   11.00   $    28.73   $ 95.98    $   124.70
 10/29/2017 Jose Milla                                 $10.50   63.17   $   11.00   $    31.58   $ 127.42   $   159.00
  11/5/2017 Jose Milla                                 $10.50   65.42   $   11.00   $    32.71   $ 139.79   $   172.50



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   Week                                                                   State Section 7: Section 7: Total Section 7
                                                          Hourly Hours/
  Ending                            Name                                Minimum Regular Half-time Overtime Back
                                                           Rate Week
   Date                                                                  Wage   Rate Due     Due       Wages Due

 11/12/2017 Jose Milla                                     $10.50   57.05   $   11.00   $ 28.53      $ 93.78    $   122.30
 11/19/2017 Jose Milla                                     $10.50   67.87   $   11.00   $ 33.93      $ 153.27   $   187.20
 11/26/2017 Jose Milla                                     $10.50   57.97   $   11.00   $ 28.98      $ 98.82    $   127.80
  12/3/2017 Jose Milla                                     $10.50   64.62   $   11.00   $ 32.31      $ 135.39   $   167.70
 12/10/2017 Jose Milla                                     $10.50   52.47   $   11.00   $ 26.23      $ 68.57    $    94.80
 12/17/2017 Jose Milla                                     $10.50   67.27   $   11.00   $ 33.63      $ 149.97   $   183.60
 12/24/2017 Jose Milla                                     $10.50   68.67   $   11.00   $ 34.33      $ 157.67   $   192.00
 12/31/2017 Jose Milla                                     $10.50   58.55   $   13.00   $ 146.38     $ 120.58   $   266.95
  1/14/2018 Jose Milla                                     $10.50   58.67   $   13.00   $ 146.67     $ 121.33   $   268.00
  1/21/2018 Jose Milla                                     $10.50   69.33   $   13.00   $ 173.33     $ 190.67   $   364.00
  1/28/2018 Jose Milla                                     $10.50   60.63   $   13.00   $ 151.58     $ 134.12   $   285.70
   2/4/2018 Jose Milla                                     $10.50   68.42   $   13.00   $ 171.04     $ 184.71   $   355.75
  2/25/2018 Jose Santelises - Valet                        $16.50   41.60   $   13.00                $ 13.20    $    13.20
   3/4/2018 Jose Santelises - Valet                        $16.50   45.95   $   13.00                $ 49.09    $    49.09
   4/8/2018 Jose Santelises - Valet                        $16.50   41.80   $   13.00                $ 14.85    $    14.85
  4/15/2018 Jose Santelises - Valet                        $16.50   43.45   $   13.00                $ 28.46    $    28.46
  4/29/2018 Jose Santelises - Valet                        $16.50   44.40   $   13.00                $ 36.30    $    36.30
   5/6/2018 Jose Santelises - Valet                        $16.50   56.03   $   13.00                $ 132.28   $   132.28
  5/13/2018 Jose Santelises - Valet                        $16.50   41.07   $   13.00                $   8.80   $     8.80
  9/16/2018 Jose Santelises - Valet                        $16.50   45.00   $   13.00                $ 41.25    $    41.25
 12/10/2017 Jose Tavarez                                   $16.00   44.58   $   11.00                $ 36.67    $    36.67
 12/17/2017 Jose Tavarez                                   $16.00   43.08   $   11.00                $ 24.67    $    24.67
 12/24/2017 Jose Tavarez                                   $16.00   43.02   $   11.00                $ 24.13    $    24.13
 12/31/2017 Jose Tavarez                                   $16.00   42.45   $   13.00                $ 19.60    $    19.60
  1/14/2018 Jose Tavarez                                   $16.00   44.58   $   13.00                $ 36.67    $    36.67
  2/18/2018 Jose Tavarez                                   $16.00   45.73   $   13.00                $ 45.87    $    45.87
  9/17/2017 Joseph Reyes                                   $11.00   55.37   $   11.00                $ 84.52    $    84.52
  9/24/2017 Joseph Reyes                                   $11.00   47.58   $   11.00                $ 41.71    $    41.71
  10/1/2017 Joseph Reyes                                   $11.00   55.05   $   11.00                $ 82.78    $    82.78
  10/8/2017 Joseph Reyes                                   $11.00   51.75   $   11.00                $ 64.63    $    64.63
 10/22/2017 Joseph Reyes                                   $11.00   53.90   $   11.00                $ 76.45    $    76.45
 10/29/2017 Joseph Reyes                                   $11.00   48.32   $   11.00                $ 45.74    $    45.74
  11/5/2017 Joseph Reyes                                   $11.00   54.27   $   11.00                $ 78.47    $    78.47
 11/12/2017 Joseph Reyes                                   $11.00   40.82   $   11.00                $   4.49   $     4.49
 11/19/2017 Joseph Reyes                                   $11.00   48.60   $   11.00                $ 47.30    $    47.30
  3/26/2017 Juan A. Caputo - Service Valet                 $10.50   42.43   $   11.00   $    21.22   $ 13.38    $    34.60
   4/2/2017 Juan A. Caputo - Service Valet                 $10.50   64.87   $   11.00   $    32.43   $ 136.77   $   169.20
   4/9/2017 Juan A. Caputo - Service Valet                 $10.50   51.75   $   11.00   $    25.88   $ 64.63    $    90.50
  4/16/2017 Juan A. Caputo - Service Valet                 $10.50   67.73   $   11.00   $    33.87   $ 152.53   $   186.40
  4/23/2017 Juan A. Caputo - Service Valet                 $10.50   52.40   $   11.00   $    26.20   $ 68.20    $    94.40
  5/28/2017 Juan A. Caputo - Service Valet                 $10.50   45.42   $   11.00   $    22.71   $ 29.79    $    52.50
  6/11/2017 Juan A. Caputo - Service Valet                 $10.50   44.78   $   11.00   $    22.39   $ 26.31    $    48.70
  6/18/2017 Juan A. Caputo - Service Valet                 $10.50   53.83   $   11.00   $    26.92   $ 76.08    $   103.00
  6/25/2017 Juan A. Caputo - Service Valet                 $10.50   44.58   $   11.00   $    22.29   $ 25.21    $    47.50
   7/2/2017 Juan A. Caputo - Service Valet                 $10.50   49.37   $   11.00   $    24.68   $ 51.52    $    76.20
  9/17/2017 Juan A. Caputo - Service Valet                 $11.00   58.27   $   11.00                $ 100.47   $   100.47
  10/1/2017 Juan A. Caputo - Service Valet                 $11.00   56.07   $   11.00                $ 88.37    $    88.37
  10/8/2017 Juan A. Caputo - Service Valet                 $11.00   54.50   $   11.00                $ 79.75    $    79.75
 10/22/2017 Juan A. Caputo - Service Valet                 $11.00   45.93   $   11.00                $ 32.63    $    32.63
 10/29/2017 Juan A. Caputo - Service Valet                 $11.00   57.13   $   11.00                $ 94.23    $    94.23
 11/12/2017 Juan A. Caputo - Service Valet                 $11.00   46.00   $   11.00                $ 33.00    $    33.00
 11/19/2017 Juan A. Caputo - Service Valet                 $11.00   60.17   $   11.00                $ 110.92   $   110.92
 12/10/2017 Juan A. Caputo - Service Valet                 $11.00   47.83   $   11.00                $ 43.08    $    43.08
 12/24/2017 Juan A. Caputo - Service Valet                 $11.00   62.95   $   11.00                $ 126.23   $   126.23
 12/31/2017 Juan A. Caputo - Service Valet                 $11.00   52.35   $   13.00   $   104.70   $ 80.28    $   184.98
  1/14/2018 Juan A. Caputo - Service Valet                 $10.50   61.20   $   13.00   $   153.00   $ 137.80   $   290.80
  1/21/2018 Juan A. Caputo - Service Valet                 $10.50   60.55   $   13.00   $   151.38   $ 133.58   $   284.95
  1/28/2018 Juan A. Caputo - Service Valet                 $10.50   59.47   $   13.00   $   148.67   $ 126.53   $   275.20



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   Week                                                                   State Section 7: Section 7: Total Section 7
                                                          Hourly Hours/
  Ending                            Name                                Minimum Regular Half-time Overtime Back
                                                           Rate Week
   Date                                                                  Wage   Rate Due     Due       Wages Due

   2/4/2018 Juan A. Caputo - Service Valet                 $10.50   59.58   $   13.00   $ 148.96   $ 127.29   $   276.25
  2/11/2018 Juan A. Caputo - Service Valet                 $10.50   60.88   $   13.00   $ 152.21   $ 135.74   $   287.95
  2/18/2018 Juan A. Caputo - Service Valet                 $10.50   58.37   $   13.00   $ 145.92   $ 119.38   $   265.30
  2/25/2018 Juan A. Caputo - Service Valet                 $10.50   61.10   $   13.00   $ 152.75   $ 137.15   $   289.90
   3/4/2018 Juan A. Caputo - Service Valet                 $10.50   60.47   $   13.00   $ 151.17   $ 133.03   $   284.20
   4/1/2018 Juan A. Caputo - Service Valet                 $10.50   45.90   $   13.00   $ 114.75   $ 38.35    $   153.10
   5/6/2018 Juan A. Caputo - Service Valet                 $10.50   48.72   $   13.00   $ 121.79   $ 56.66    $   178.45
  9/23/2018 Juan A. Caputo - Service Valet                 $10.50   46.80   $   13.00   $ 117.00   $ 44.20    $   161.20
  9/30/2018 Juan A. Caputo - Service Valet                 $10.50   57.48   $   13.00   $ 143.71   $ 113.64   $   257.35
  10/7/2018 Juan A. Caputo - Service Valet                 $10.50   56.30   $   13.00   $ 140.75   $ 105.95   $   246.70
 10/14/2018 Juan A. Caputo - Service Valet                 $10.50   56.10   $   13.00   $ 140.25   $ 104.65   $   244.90
 10/21/2018 Juan A. Caputo - Service Valet                 $10.50   58.68   $   13.00   $ 146.71   $ 121.44   $   268.15
 10/28/2018 Juan A. Caputo - Service Valet                 $10.50   61.75   $   13.00   $ 154.38   $ 141.38   $   295.75
  11/4/2018 Juan A. Caputo - Service Valet                 $10.50   55.73   $   13.00   $ 139.33   $ 102.27   $   241.60
 11/11/2018 Juan A. Caputo - Service Valet                 $10.50   54.88   $   13.00   $ 137.21   $ 96.74    $   233.95
 11/18/2018 Juan A. Caputo - Service Valet                 $10.50   55.28   $   13.00   $ 138.21   $ 99.34    $   237.55
 11/25/2018 Juan A. Caputo - Service Valet                 $11.00   45.93   $   13.00   $ 91.87    $ 38.57    $   130.43
  12/2/2018 Juan A. Caputo - Service Valet                 $11.00   64.38   $   13.00   $ 128.77   $ 158.49   $   287.26
  12/9/2018 Juan A. Caputo - Service Valet                 $11.00   57.55   $   13.00   $ 115.10   $ 114.08   $   229.18
 12/16/2018 Juan A. Caputo - Service Valet                 $11.00   60.88   $   13.00   $ 121.77   $ 135.74   $   257.51
 12/23/2018 Juan A. Caputo - Service Valet                 $11.00   60.38   $   13.00   $ 120.77   $ 132.49   $   253.26
   1/6/2019 Juan A. Caputo - Service Valet                 $11.00   45.48   $   15.00   $ 181.93   $ 41.13    $   223.06
  1/13/2019 Juan A. Caputo - Service Valet                 $11.00   60.70   $   15.00   $ 242.80   $ 155.25   $   398.05
  1/20/2019 Juan A. Caputo - Service Valet                 $11.00   59.87   $   15.00   $ 239.47   $ 149.00   $   388.47
  1/27/2019 Juan A. Caputo - Service Valet                 $11.00   63.45   $   15.00   $ 253.80   $ 175.88   $   429.68
   2/3/2019 Juan A. Caputo - Service Valet                 $11.00   60.72   $   15.00   $ 242.87   $ 155.38   $   398.24
  2/10/2019 Juan A. Caputo - Service Valet                 $11.00   61.35   $   15.00   $ 245.40   $ 160.13   $   405.53
  2/17/2019 Juan A. Caputo - Service Valet                 $11.00   61.17   $   15.00   $ 244.67   $ 158.75   $   403.42
  2/24/2019 Juan A. Caputo - Service Valet                 $11.00   60.60   $   15.00   $ 242.40   $ 154.50   $   396.90
   3/3/2019 Juan A. Caputo - Service Valet                 $11.00   62.10   $   15.00   $ 248.40   $ 165.75   $   414.15
  3/10/2019 Juan A. Caputo - Service Valet                 $11.00   64.07   $   15.00   $ 256.27   $ 180.50   $   436.77
  3/17/2019 Juan A. Caputo - Service Valet                 $11.00   61.87   $   15.00   $ 247.47   $ 164.00   $   411.47
  3/24/2019 Juan A. Caputo - Service Valet                 $11.00   63.98   $   15.00   $ 255.93   $ 179.88   $   435.81
  3/31/2019 Juan A. Caputo - Service Valet                 $11.00   63.13   $   15.00   $ 252.53   $ 173.50   $   426.03
   5/5/2019 Juan A. Caputo - Service Valet                 $11.00   61.33   $   15.00   $ 245.33   $ 160.00   $   405.33
  5/12/2019 Juan A. Caputo - Service Valet                 $11.00   63.55   $   15.00   $ 254.20   $ 176.63   $   430.83
  5/19/2019 Juan A. Caputo - Service Valet                 $11.00   61.32   $   15.00   $ 245.27   $ 159.88   $   405.14
  5/26/2019 Juan A. Caputo - Service Valet                 $11.00   60.27   $   15.00   $ 241.07   $ 152.00   $   393.07
   6/2/2019 Juan A. Caputo - Service Valet                 $11.00   61.80   $   15.00   $ 247.20   $ 163.50   $   410.70
   6/9/2019 Juan A. Caputo - Service Valet                 $11.00   61.67   $   15.00   $ 246.67   $ 162.50   $   409.17
  6/16/2019 Juan A. Caputo - Service Valet                 $11.00   61.27   $   15.00   $ 245.07   $ 159.50   $   404.57
  6/23/2019 Juan A. Caputo - Service Valet                 $11.00   48.58   $   15.00   $ 194.33   $ 64.38    $   258.71
  6/30/2019 Juan A. Caputo - Service Valet                 $11.00   53.60   $   15.00   $ 214.40   $ 102.00   $   316.40
   7/7/2019 Juan A. Caputo - Service Valet                 $11.00   50.57   $   15.00   $ 202.27   $ 79.25    $   281.52
  7/14/2019 Juan A. Caputo - Service Valet                 $11.00   61.65   $   15.00   $ 246.60   $ 162.38   $   408.98
  7/21/2019 Juan A. Caputo - Service Valet                 $11.00   59.15   $   15.00   $ 236.60   $ 143.63   $   380.23
  7/28/2019 Juan A. Caputo - Service Valet                 $11.00   62.37   $   15.00   $ 249.47   $ 167.75   $   417.22
   8/4/2019 Juan A. Caputo - Service Valet                 $11.00   60.00   $   15.00   $ 240.00   $ 150.00   $   390.00
  8/11/2019 Juan A. Caputo - Service Valet                 $11.00   49.98   $   15.00   $ 199.93   $ 74.88    $   274.81
  8/18/2019 Juan A. Caputo - Service Valet                 $11.00   60.27   $   15.00   $ 241.07   $ 152.00   $   393.07
  8/25/2019 Juan A. Caputo - Service Valet                 $11.00   59.38   $   15.00   $ 237.53   $ 145.38   $   382.91
   9/1/2019 Juan A. Caputo - Service Valet                 $11.00   59.98   $   15.00   $ 239.93   $ 149.88   $   389.81
   9/8/2019 Juan A. Caputo - Service Valet                 $11.00   58.92   $   15.00   $ 235.67   $ 141.88   $   377.54
  9/15/2019 Juan A. Caputo - Service Valet                 $11.00   63.92   $   15.00   $ 255.67   $ 179.38   $   435.04
  9/22/2019 Juan A. Caputo - Service Valet                 $11.00   60.70   $   15.00   $ 242.80   $ 155.25   $   398.05
  9/29/2019 Juan A. Caputo - Service Valet                 $11.00   59.42   $   15.00   $ 237.67   $ 145.63   $   383.29
  10/6/2019 Juan A. Caputo - Service Valet                 $11.00   61.42   $   15.00   $ 245.67   $ 160.63   $   406.29
 10/13/2019 Juan A. Caputo - Service Valet                 $11.00   59.82   $   15.00   $ 239.27   $ 148.63   $   387.89



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                                                         Exhibit 3
                                                New York City Computations


   Week                                                                      State Section 7: Section 7: Total Section 7
                                                             Hourly Hours/
  Ending                            Name                                   Minimum Regular Half-time Overtime Back
                                                              Rate Week
   Date                                                                     Wage   Rate Due     Due       Wages Due

 10/20/2019 Juan A. Caputo - Service Valet                    $11.00   59.02   $   15.00   $   236.07   $ 142.63   $   378.69
 10/27/2019 Juan A. Caputo - Service Valet                    $11.00   56.77   $   15.00   $   227.07   $ 125.75   $   352.82
  11/3/2019 Juan A. Caputo - Service Valet                    $11.00   58.45   $   15.00   $   233.80   $ 138.38   $   372.18
 11/10/2019 Juan A. Caputo - Service Valet                    $11.00   58.95   $   15.00   $   235.80   $ 142.13   $   377.93
 11/17/2019 Juan A. Caputo - Service Valet                    $11.00   59.80   $   15.00   $   239.20   $ 148.50   $   387.70
 11/24/2019 Juan A. Caputo - Service Valet                    $11.00   59.80   $   15.00   $   239.20   $ 148.50   $   387.70
  6/10/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   65.50   $   13.00                $ 210.38   $   210.38
  6/24/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   67.00   $   13.00                $ 222.75   $   222.75
   7/1/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   67.42   $   13.00                $ 226.19   $   226.19
   7/8/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   59.73   $   13.00                $ 162.80   $   162.80
  7/15/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   67.82   $   13.00                $ 229.49   $   229.49
  7/22/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   63.17   $   13.00                $ 191.13   $   191.13
  7/29/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   72.63   $   13.00                $ 269.23   $   269.23
   8/5/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   56.15   $   13.00                $ 133.24   $   133.24
  8/12/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   68.88   $   13.00                $ 238.29   $   238.29
  8/19/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   66.63   $   13.00                $ 219.73   $   219.73
  8/26/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   68.38   $   13.00                $ 234.16   $   234.16
   9/2/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   68.95   $   13.00                $ 238.84   $   238.84
   9/9/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   58.07   $   13.00                $ 149.05   $   149.05
  9/16/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   72.80   $   13.00                $ 270.60   $   270.60
  9/23/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   70.85   $   13.00                $ 254.51   $   254.51
  9/30/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   70.27   $   13.00                $ 249.70   $   249.70
  10/7/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   77.73   $   13.00                $ 311.30   $   311.30
 10/14/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   71.78   $   13.00                $ 262.21   $   262.21
 10/21/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   73.78   $   13.00                $ 278.71   $   278.71
 10/28/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   70.23   $   13.00                $ 249.43   $   249.43
  11/4/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   69.67   $   13.00                $ 244.75   $   244.75
 11/11/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   50.93   $   13.00                $ 90.20    $    90.20
 11/18/2018 Juan A. Estevez Rodriguez - Valet                 $16.50   48.92   $   13.00                $ 73.56    $    73.56
  1/20/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   54.67   $   15.00                $ 121.00   $   121.00
  1/27/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   48.48   $   15.00                $ 69.99    $    69.99
   2/3/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   61.63   $   15.00                $ 178.48   $   178.48
  2/10/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   62.18   $   15.00                $ 183.01   $   183.01
  2/17/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   60.10   $   15.00                $ 165.83   $   165.83
  2/24/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   62.03   $   15.00                $ 181.78   $   181.78
   3/3/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   72.77   $   15.00                $ 270.33   $   270.33
  3/10/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   72.10   $   15.00                $ 264.83   $   264.83
  3/17/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   66.57   $   15.00                $ 219.18   $   219.18
  3/31/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   40.78   $   15.00                $   6.46   $     6.46
   4/7/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   41.82   $   15.00                $ 14.99    $    14.99
  4/14/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   55.02   $   15.00                $ 123.89   $   123.89
  4/21/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   48.98   $   15.00                $ 74.11    $    74.11
  4/28/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   41.08   $   15.00                $   8.94   $     8.94
   5/5/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   50.82   $   15.00                $ 89.24    $    89.24
  5/12/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   49.35   $   15.00                $ 77.14    $    77.14
  5/19/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   47.68   $   15.00                $ 63.39    $    63.39
  5/26/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   48.63   $   15.00                $ 71.23    $    71.23
   6/2/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   48.67   $   15.00                $ 71.50    $    71.50
  6/16/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   53.08   $   15.00                $ 107.94   $   107.94
  6/23/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   49.83   $   15.00                $ 81.13    $    81.13
  6/30/2019 Juan A. Estevez Rodriguez - Valet                 $16.50   50.65   $   15.00                $ 87.86    $    87.86
  2/10/2019 Juan C. Aroni                                     $11.00   40.50   $   15.00   $   162.00   $   3.75   $   165.75
  2/17/2019 Juan C. Aroni                                     $11.00   49.00   $   15.00   $   196.00   $ 67.50    $   263.50
  2/24/2019 Juan C. Aroni                                     $11.00   43.08   $   15.00   $   172.33   $ 23.13    $   195.46
   3/3/2019 Juan C. Aroni                                     $11.00   48.23   $   15.00   $   192.93   $ 61.75    $   254.68
  3/10/2019 Juan C. Aroni                                     $11.00   43.73   $   15.00   $   174.93   $ 28.00    $   202.93
  3/17/2019 Juan C. Aroni                                     $11.00   46.85   $   15.00   $   187.40   $ 51.38    $   238.78
  3/24/2019 Juan C. Aroni                                     $11.00   42.43   $   15.00   $   169.73   $ 18.25    $   187.98



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   Week                                                                 State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
  Ending                            Name                              Minimum Regular Half-time Overtime Back
                                                         Rate Week
   Date                                                                Wage   Rate Due     Due       Wages Due

  3/31/2019 Juan C. Aroni                                $11.00   46.52   $   15.00   $ 186.07   $ 48.88    $   234.94
   4/7/2019 Juan C. Aroni                                $11.00   42.22   $   15.00   $ 168.87   $ 16.63    $   185.49
  4/14/2019 Juan C. Aroni                                $11.00   45.58   $   15.00   $ 182.33   $ 41.88    $   224.21
  4/21/2019 Juan C. Aroni                                $11.00   47.27   $   15.00   $ 189.07   $ 54.50    $   243.57
  4/28/2019 Juan C. Aroni                                $11.00   43.95   $   15.00   $ 175.80   $ 29.63    $   205.43
   5/5/2019 Juan C. Aroni                                $11.00   47.42   $   15.00   $ 189.67   $ 55.62    $   245.29
  5/12/2019 Juan C. Aroni                                $11.00   43.87   $   15.00   $ 175.47   $ 29.00    $   204.47
  5/19/2019 Juan C. Aroni                                $11.00   47.72   $   15.00   $ 190.87   $ 57.88    $   248.74
  5/26/2019 Juan C. Aroni                                $11.00   48.28   $   15.00   $ 193.13   $ 62.13    $   255.26
   6/2/2019 Juan C. Aroni                                $11.00   45.43   $   15.00   $ 181.73   $ 40.75    $   222.48
   6/9/2019 Juan C. Aroni                                $11.00   49.23   $   15.00   $ 196.93   $ 69.25    $   266.18
  6/16/2019 Juan C. Aroni                                $11.00   41.93   $   15.00   $ 167.73   $ 14.50    $   182.23
  6/23/2019 Juan C. Aroni                                $11.00   43.05   $   15.00   $ 172.20   $ 22.88    $   195.08
  7/14/2019 Juan C. Aroni                                $11.00   40.33   $   15.00   $ 161.33   $   2.50   $   163.83
  7/28/2019 Juan C. Aroni                                $11.00   45.38   $   15.00   $ 181.53   $ 40.38    $   221.91
   8/4/2019 Juan C. Aroni                                $11.00   42.50   $   15.00   $ 170.00   $ 18.75    $   188.75
  8/11/2019 Juan C. Aroni                                $11.00   48.97   $   15.00   $ 195.87   $ 67.25    $   263.12
  8/18/2019 Juan C. Aroni                                $11.00   47.20   $   15.00   $ 188.80   $ 54.00    $   242.80
  8/25/2019 Juan C. Aroni                                $11.00   41.47   $   15.00   $ 165.87   $ 11.00    $   176.87
   9/1/2019 Juan C. Aroni                                $11.00   40.42   $   15.00   $ 161.67   $   3.13   $   164.79
   9/8/2019 Juan C. Aroni                                $11.00   46.78   $   15.00   $ 187.13   $ 50.88    $   238.01
 11/17/2019 Juan C. Aroni                                $11.00   49.68   $   15.00   $ 198.73   $ 72.63    $   271.36
  12/8/2019 Juan C. Aroni                                $11.00   42.32   $   15.00   $ 169.27   $ 17.38    $   186.64
 12/15/2019 Juan C. Aroni                                $11.00   44.52   $   15.00   $ 178.07   $ 33.88    $   211.94
 12/22/2019 Juan C. Aroni                                $11.00   41.68   $   15.00   $ 166.73   $ 12.63    $   179.36
   1/5/2020 Juan C. Aroni                                $11.00   40.22   $   15.00   $ 160.87   $   1.63   $   162.49
  1/12/2020 Juan C. Aroni                                $11.00   40.55   $   15.00   $ 162.20   $   4.12   $   166.33
   8/5/2018 Juan Francisco                                $9.50   59.27   $   13.00   $ 207.43   $ 125.23   $   332.67
  8/12/2018 Juan Francisco                                $9.50   48.87   $   13.00   $ 171.03   $ 57.63    $   228.67
  8/19/2018 Juan Francisco                                $9.50   57.88   $   13.00   $ 202.59   $ 116.24   $   318.83
  8/26/2018 Juan Francisco                                $9.50   61.37   $   13.00   $ 214.78   $ 138.88   $   353.67
   9/2/2018 Juan Francisco                                $9.50   61.18   $   13.00   $ 214.14   $ 137.69   $   351.83
  9/16/2018 Juan Francisco                                $9.50   59.57   $   13.00   $ 208.48   $ 127.18   $   335.67
  2/17/2019 Juan L. Martinez                             $13.00   48.53   $   15.00   $ 97.07    $ 64.00    $   161.07
  2/24/2019 Juan L. Martinez                             $13.00   47.33   $   15.00   $ 94.67    $ 55.00    $   149.67
  4/16/2017 Juan Luis Alcantara Ovidio                   $10.00   70.93   $   11.00   $ 70.93    $ 170.13   $   241.07
  4/23/2017 Juan Luis Alcantara Ovidio                   $10.00   70.02   $   11.00   $ 70.02    $ 165.09   $   235.11
  4/30/2017 Juan Luis Alcantara Ovidio                   $10.00   70.88   $   11.00   $ 70.88    $ 169.86   $   240.74
   5/7/2017 Juan Luis Alcantara Ovidio                   $10.00   71.05   $   11.00   $ 71.05    $ 170.78   $   241.83
  5/14/2017 Juan Luis Alcantara Ovidio                   $10.00   67.57   $   11.00   $ 67.57    $ 151.62   $   219.18
  5/21/2017 Juan Luis Alcantara Ovidio                   $10.00   67.43   $   11.00   $ 67.43    $ 150.88   $   218.32
  5/28/2017 Juan Luis Alcantara Ovidio                   $10.00   70.63   $   11.00   $ 70.63    $ 168.48   $   239.12
   6/4/2017 Juan Luis Alcantara Ovidio                   $10.00   68.62   $   11.00   $ 68.62    $ 157.39   $   226.01
  6/11/2017 Juan Luis Alcantara Ovidio                   $10.00   70.23   $   11.00   $ 70.23    $ 166.28   $   236.52
  6/18/2017 Juan Luis Alcantara Ovidio                   $10.00   71.35   $   11.00   $ 71.35    $ 172.43   $   243.78
  6/25/2017 Juan Luis Alcantara Ovidio                   $10.00   71.83   $   11.00   $ 71.83    $ 175.08   $   246.92
   7/2/2017 Juan Luis Alcantara Ovidio                   $10.00   79.63   $   11.00   $ 79.63    $ 217.98   $   297.62
   7/9/2017 Juan Luis Alcantara Ovidio                   $10.00   62.82   $   11.00   $ 62.82    $ 125.49   $   188.31
  7/16/2017 Juan Luis Alcantara Ovidio                   $10.00   78.23   $   11.00   $ 78.23    $ 210.28   $   288.52
  7/23/2017 Juan Luis Alcantara Ovidio                   $10.00   74.62   $   11.00   $ 74.62    $ 190.39   $   265.01
  7/30/2017 Juan Luis Alcantara Ovidio                   $10.00   72.88   $   11.00   $ 72.88    $ 180.86   $   253.74
   8/6/2017 Juan Luis Alcantara Ovidio                   $10.00   60.58   $   11.00   $ 60.58    $ 113.21   $   173.79
  8/13/2017 Juan Luis Alcantara Ovidio                   $10.00   71.83   $   11.00   $ 71.83    $ 175.08   $   246.92
  8/20/2017 Juan Luis Alcantara Ovidio                   $10.00   62.53   $   11.00   $ 62.53    $ 123.93   $   186.47
  8/27/2017 Juan Luis Alcantara Ovidio                   $10.00   74.78   $   11.00   $ 74.78    $ 191.31   $   266.09
   9/3/2017 Juan Luis Alcantara Ovidio                   $10.00   71.08   $   11.00   $ 71.08    $ 170.96   $   242.04
  9/10/2017 Juan Luis Alcantara Ovidio                   $10.00   66.33   $   11.00   $ 66.33    $ 144.83   $   211.17
  9/17/2017 Juan Luis Alcantara Ovidio                   $10.00   74.92   $   11.00   $ 74.92    $ 192.04   $   266.96



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   Week                                                                 State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
  Ending                            Name                              Minimum Regular Half-time Overtime Back
                                                         Rate Week
   Date                                                                Wage   Rate Due     Due       Wages Due

  9/24/2017 Juan Luis Alcantara Ovidio                   $10.00   75.38   $   11.00   $ 75.38    $ 194.61   $   269.99
  10/1/2017 Juan Luis Alcantara Ovidio                   $10.00   74.75   $   11.00   $ 74.75    $ 191.13   $   265.88
  10/8/2017 Juan Luis Alcantara Ovidio                   $10.00   69.97   $   11.00   $ 69.97    $ 164.82   $   234.78
 10/15/2017 Juan Luis Alcantara Ovidio                   $10.00   65.95   $   11.00   $ 65.95    $ 142.73   $   208.68
 10/22/2017 Juan Luis Alcantara Ovidio                   $10.00   70.30   $   11.00   $ 70.30    $ 166.65   $   236.95
 10/29/2017 Juan Luis Alcantara Ovidio                   $10.00   68.35   $   11.00   $ 68.35    $ 155.93   $   224.28
  11/5/2017 Juan Luis Alcantara Ovidio                   $10.00   72.50   $   11.00   $ 72.50    $ 178.75   $   251.25
 11/12/2017 Juan Luis Alcantara Ovidio                   $10.00   67.52   $   11.00   $ 67.52    $ 151.34   $   218.86
 11/19/2017 Juan Luis Alcantara Ovidio                   $10.00   66.97   $   11.00   $ 66.97    $ 148.32   $   215.28
 11/26/2017 Juan Luis Alcantara Ovidio                   $10.00   57.88   $   11.00   $ 57.88    $ 98.36    $   156.24
  12/3/2017 Juan Luis Alcantara Ovidio                   $10.00   72.95   $   11.00   $ 72.95    $ 181.23   $   254.18
 12/10/2017 Juan Luis Alcantara Ovidio                   $10.00   72.82   $   11.00   $ 72.82    $ 180.49   $   253.31
 12/17/2017 Juan Luis Alcantara Ovidio                   $10.00   75.85   $   11.00   $ 75.85    $ 197.18   $   273.03
 12/24/2017 Juan Luis Alcantara Ovidio                   $10.00   77.48   $   11.00   $ 77.48    $ 206.16   $   283.64
 12/31/2017 Juan Luis Alcantara Ovidio                   $10.00   66.33   $   13.00   $ 199.00   $ 171.17   $   370.17
   1/7/2018 Juan Luis Alcantara Ovidio                   $10.00   55.83   $   13.00   $ 167.50   $ 102.92   $   270.42
  1/14/2018 Juan Luis Alcantara Ovidio                   $10.00   69.77   $   13.00   $ 209.30   $ 193.48   $   402.78
  1/21/2018 Juan Luis Alcantara Ovidio                   $10.00   78.77   $   13.00   $ 236.30   $ 251.98   $   488.28
  1/28/2018 Juan Luis Alcantara Ovidio                   $10.00   80.08   $   13.00   $ 240.25   $ 260.54   $   500.79
   2/4/2018 Juan Luis Alcantara Ovidio                   $10.00   78.93   $   13.00   $ 236.80   $ 253.07   $   489.87
  2/11/2018 Juan Luis Alcantara Ovidio                   $10.00   77.37   $   13.00   $ 232.10   $ 242.88   $   474.98
  2/18/2018 Juan Luis Alcantara Ovidio                   $10.00   77.18   $   13.00   $ 231.55   $ 241.69   $   473.24
  2/25/2018 Juan Luis Alcantara Ovidio                   $10.00   60.32   $   13.00   $ 180.95   $ 132.06   $   313.01
  3/25/2018 Juan Luis Alcantara Ovidio                   $10.00   61.08   $   13.00   $ 183.25   $ 137.04   $   320.29
   4/1/2018 Juan Luis Alcantara Ovidio                   $10.00   73.60   $   13.00   $ 220.80   $ 218.40   $   439.20
   4/8/2018 Juan Luis Alcantara Ovidio                   $10.00   73.38   $   13.00   $ 220.15   $ 216.99   $   437.14
  4/15/2018 Juan Luis Alcantara Ovidio                   $10.00   74.18   $   13.00   $ 222.55   $ 222.19   $   444.74
  4/22/2018 Juan Luis Alcantara Ovidio                   $10.00   78.67   $   13.00   $ 236.00   $ 251.33   $   487.33
  4/29/2018 Juan Luis Alcantara Ovidio                   $10.00   77.82   $   13.00   $ 233.45   $ 245.81   $   479.26
   5/6/2018 Juan Luis Alcantara Ovidio                   $10.00   79.10   $   13.00   $ 237.30   $ 254.15   $   491.45
  5/13/2018 Juan Luis Alcantara Ovidio                   $10.00   76.58   $   13.00   $ 229.75   $ 237.79   $   467.54
  5/20/2018 Juan Luis Alcantara Ovidio                   $10.00   75.98   $   13.00   $ 227.95   $ 233.89   $   461.84
  5/27/2018 Juan Luis Alcantara Ovidio                   $10.00   75.50   $   13.00   $ 226.50   $ 230.75   $   457.25
   6/3/2018 Juan Luis Alcantara Ovidio                   $10.00   66.70   $   13.00   $ 200.10   $ 173.55   $   373.65
  6/10/2018 Juan Luis Alcantara Ovidio                   $10.00   78.13   $   13.00   $ 234.40   $ 247.87   $   482.27
  6/17/2018 Juan Luis Alcantara Ovidio                   $10.00   81.25   $   13.00   $ 243.75   $ 268.13   $   511.88
  6/24/2018 Juan Luis Alcantara Ovidio                   $10.00   81.82   $   13.00   $ 245.45   $ 271.81   $   517.26
   7/1/2018 Juan Luis Alcantara Ovidio                   $10.00   69.60   $   13.00   $ 208.80   $ 192.40   $   401.20
   7/8/2018 Juan Luis Alcantara Ovidio                   $10.00   67.45   $   13.00   $ 202.35   $ 178.43   $   380.78
  7/15/2018 Juan Luis Alcantara Ovidio                   $10.00   82.80   $   13.00   $ 248.40   $ 278.20   $   526.60
  7/22/2018 Juan Luis Alcantara Ovidio                   $10.00   79.65   $   13.00   $ 238.95   $ 257.73   $   496.68
  7/29/2018 Juan Luis Alcantara Ovidio                   $10.00   60.62   $   13.00   $ 181.85   $ 134.01   $   315.86
   8/5/2018 Juan Luis Alcantara Ovidio                   $10.00   65.27   $   13.00   $ 195.80   $ 164.23   $   360.03
  8/12/2018 Juan Luis Alcantara Ovidio                   $10.00   69.02   $   13.00   $ 207.05   $ 188.61   $   395.66
  8/26/2018 Juan Luis Alcantara Ovidio                   $10.00   65.95   $   13.00   $ 197.85   $ 168.68   $   366.53
   9/2/2018 Juan Luis Alcantara Ovidio                   $10.00   63.13   $   13.00   $ 189.40   $ 150.37   $   339.77
   9/9/2018 Juan Luis Alcantara Ovidio                   $10.00   65.45   $   13.00   $ 196.35   $ 165.43   $   361.78
  9/16/2018 Juan Luis Alcantara Ovidio                   $10.00   80.13   $   13.00   $ 240.40   $ 260.87   $   501.27
  9/23/2018 Juan Luis Alcantara Ovidio                   $10.00   85.48   $   13.00   $ 256.45   $ 295.64   $   552.09
  9/30/2018 Juan Luis Alcantara Ovidio                   $10.00   87.45   $   13.00   $ 262.35   $ 308.43   $   570.78
  10/7/2018 Juan Luis Alcantara Ovidio                   $10.00   87.40   $   13.00   $ 262.20   $ 308.10   $   570.30
 10/14/2018 Juan Luis Alcantara Ovidio                   $10.00   84.28   $   13.00   $ 252.85   $ 287.84   $   540.69
 10/21/2018 Juan Luis Alcantara Ovidio                   $10.00   87.92   $   13.00   $ 263.75   $ 311.46   $   575.21
 10/28/2018 Juan Luis Alcantara Ovidio                   $10.00   86.73   $   13.00   $ 260.20   $ 303.77   $   563.97
  11/4/2018 Juan Luis Alcantara Ovidio                   $10.00   88.67   $   13.00   $ 266.00   $ 316.33   $   582.33
 11/11/2018 Juan Luis Alcantara Ovidio                   $10.00   86.72   $   13.00   $ 260.15   $ 303.66   $   563.81
 11/18/2018 Juan Luis Alcantara Ovidio                   $10.00   88.68   $   13.00   $ 266.05   $ 316.44   $   582.49
 11/25/2018 Juan Luis Alcantara Ovidio                   $10.00   73.85   $   13.00   $ 221.55   $ 220.03   $   441.58



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                                                    Exhibit 3
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   Week                                                                 State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
  Ending                            Name                              Minimum Regular Half-time Overtime Back
                                                         Rate Week
   Date                                                                Wage   Rate Due     Due       Wages Due

  12/2/2018 Juan Luis Alcantara Ovidio                   $10.00   87.67   $   13.00   $   263.00   $ 309.83   $   572.83
  12/9/2018 Juan Luis Alcantara Ovidio                   $10.00   88.38   $   13.00   $   265.15   $ 314.49   $   579.64
 12/16/2018 Juan Luis Alcantara Ovidio                   $10.00   84.78   $   13.00   $   254.35   $ 291.09   $   545.44
 12/23/2018 Juan Luis Alcantara Ovidio                   $10.00   88.05   $   13.00   $   264.15   $ 312.33   $   576.48
 12/30/2018 Juan Luis Alcantara Ovidio                   $10.00   68.18   $   13.00   $   204.55   $ 183.19   $   387.74
   1/6/2019 Juan Luis Alcantara Ovidio                   $10.00   72.72   $   15.00   $   363.58   $ 245.38   $   608.96
  1/13/2019 Juan Luis Alcantara Ovidio                   $10.00   87.48   $   15.00   $   437.42   $ 356.13   $   793.54
  1/20/2019 Juan Luis Alcantara Ovidio                   $10.00   85.32   $   15.00   $   426.58   $ 339.88   $   766.46
  1/27/2019 Juan Luis Alcantara Ovidio                   $10.00   79.83   $   15.00   $   399.17   $ 298.75   $   697.92
   2/3/2019 Juan Luis Alcantara Ovidio                   $10.00   87.52   $   15.00   $   437.58   $ 356.38   $   793.96
  2/10/2019 Juan Luis Alcantara Ovidio                   $10.00   85.40   $   15.00   $   427.00   $ 340.50   $   767.50
  2/17/2019 Juan Luis Alcantara Ovidio                   $10.00   85.28   $   15.00   $   426.42   $ 339.63   $   766.04
  2/24/2019 Juan Luis Alcantara Ovidio                   $10.00   88.07   $   15.00   $   440.33   $ 360.50   $   800.83
   3/3/2019 Juan Luis Alcantara Ovidio                   $10.00   88.72   $   15.00   $   443.58   $ 365.38   $   808.96
  3/10/2019 Juan Luis Alcantara Ovidio                   $10.00   87.85   $   15.00   $   439.25   $ 358.88   $   798.13
  3/17/2019 Juan Luis Alcantara Ovidio                   $10.00   85.82   $   15.00   $   429.08   $ 343.63   $   772.71
  3/24/2019 Juan Luis Alcantara Ovidio                   $10.00   84.50   $   15.00   $   422.50   $ 333.75   $   756.25
  3/31/2019 Juan Luis Alcantara Ovidio                   $10.00   84.20   $   15.00   $   421.00   $ 331.50   $   752.50
   4/7/2019 Juan Luis Alcantara Ovidio                   $10.00   82.27   $   15.00   $   411.33   $ 317.00   $   728.33
  4/14/2019 Juan Luis Alcantara Ovidio                   $10.00   85.08   $   15.00   $   425.42   $ 338.13   $   763.54
  4/21/2019 Juan Luis Alcantara Ovidio                   $10.00   86.88   $   15.00   $   434.42   $ 351.63   $   786.04
  4/28/2019 Juan Luis Alcantara Ovidio                   $10.00   83.10   $   15.00   $   415.50   $ 323.25   $   738.75
   5/5/2019 Juan Luis Alcantara Ovidio                   $10.00   82.48   $   15.00   $   412.42   $ 318.63   $   731.04
  5/12/2019 Juan Luis Alcantara Ovidio                   $10.00   75.25   $   15.00   $   376.25   $ 264.38   $   640.63
  5/19/2019 Juan Luis Alcantara Ovidio                   $10.00   78.17   $   15.00   $   390.83   $ 286.25   $   677.08
  5/26/2019 Juan Luis Alcantara Ovidio                   $10.00   79.92   $   15.00   $   399.58   $ 299.38   $   698.96
   6/2/2019 Juan Luis Alcantara Ovidio                   $10.00   65.22   $   15.00   $   326.08   $ 189.13   $   515.21
   6/9/2019 Juan Luis Alcantara Ovidio                   $10.00   74.43   $   15.00   $   372.17   $ 258.25   $   630.42
  6/16/2019 Juan Luis Alcantara Ovidio                   $10.00   80.27   $   15.00   $   401.33   $ 302.00   $   703.33
  6/23/2019 Juan Luis Alcantara Ovidio                   $10.00   58.23   $   15.00   $   291.17   $ 136.75   $   427.92
  6/30/2019 Juan Luis Alcantara Ovidio                   $10.00   76.03   $   15.00   $   380.17   $ 270.25   $   650.42
   7/7/2019 Juan Luis Alcantara Ovidio                   $15.00   64.00   $   15.00                $ 180.00   $   180.00
  7/14/2019 Juan Luis Alcantara Ovidio                   $15.00   79.50   $   15.00                $ 296.25   $   296.25
  7/21/2019 Juan Luis Alcantara Ovidio                   $15.00   76.63   $   15.00                $ 274.75   $   274.75
  7/28/2019 Juan Luis Alcantara Ovidio                   $15.00   77.25   $   15.00                $ 279.38   $   279.38
   8/4/2019 Juan Luis Alcantara Ovidio                   $15.00   76.25   $   15.00                $ 271.88   $   271.88
  8/11/2019 Juan Luis Alcantara Ovidio                   $15.00   77.77   $   15.00                $ 283.25   $   283.25
  8/18/2019 Juan Luis Alcantara Ovidio                   $15.00   78.17   $   15.00                $ 286.25   $   286.25
  8/25/2019 Juan Luis Alcantara Ovidio                   $15.00   78.42   $   15.00                $ 288.13   $   288.13
   9/1/2019 Juan Luis Alcantara Ovidio                   $15.00   55.25   $   15.00                $ 114.38   $   114.38
  9/15/2019 Juan Luis Alcantara Ovidio                   $15.00   71.33   $   15.00                $ 235.00   $   235.00
  9/22/2019 Juan Luis Alcantara Ovidio                   $15.00   61.90   $   15.00                $ 164.25   $   164.25
  9/29/2019 Juan Luis Alcantara Ovidio                   $15.00   63.90   $   15.00                $ 179.25   $   179.25
  10/6/2019 Juan Luis Alcantara Ovidio                   $15.00   74.87   $   15.00                $ 261.50   $   261.50
 10/13/2019 Juan Luis Alcantara Ovidio                   $15.00   75.22   $   15.00                $ 264.13   $   264.13
 10/20/2019 Juan Luis Alcantara Ovidio                   $15.00   60.82   $   15.00                $ 156.13   $   156.13
 10/27/2019 Juan Luis Alcantara Ovidio                   $15.00   62.65   $   15.00                $ 169.88   $   169.88
  11/3/2019 Juan Luis Alcantara Ovidio                   $15.00   75.40   $   15.00                $ 265.50   $   265.50
 11/10/2019 Juan Luis Alcantara Ovidio                   $15.00   58.25   $   15.00                $ 136.88   $   136.88
 11/17/2019 Juan Luis Alcantara Ovidio                   $15.00   61.57   $   15.00                $ 161.75   $   161.75
 11/24/2019 Juan Luis Alcantara Ovidio                   $15.00   60.07   $   15.00                $ 150.50   $   150.50
  12/1/2019 Juan Luis Alcantara Ovidio                   $15.00   47.77   $   15.00                $ 58.25    $    58.25
  12/8/2019 Juan Luis Alcantara Ovidio                   $15.00   61.70   $   15.00                $ 162.75   $   162.75
 12/15/2019 Juan Luis Alcantara Ovidio                   $15.00   73.07   $   15.00                $ 248.00   $   248.00
 12/22/2019 Juan Luis Alcantara Ovidio                   $15.00   74.87   $   15.00                $ 261.50   $   261.50
   1/5/2020 Juan Luis Alcantara Ovidio                   $15.00   60.18   $   15.00                $ 151.38   $   151.38
  1/12/2020 Juan Luis Alcantara Ovidio                   $15.00   68.65   $   15.00                $ 214.88   $   214.88
  1/19/2020 Juan Luis Alcantara Ovidio                   $15.00   76.38   $   15.00                $ 272.88   $   272.88



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   Week                                                                 State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
  Ending                            Name                              Minimum Regular Half-time Overtime Back
                                                         Rate Week
   Date                                                                Wage   Rate Due     Due       Wages Due

  1/26/2020 Juan Luis Alcantara Ovidio                   $15.00   43.42   $   15.00               $ 25.63    $    25.63
   2/5/2017 Juan Marte                                   $11.50   61.60   $   11.00               $ 124.20   $   124.20
  2/12/2017 Juan Marte                                   $11.50   57.00   $   11.00               $ 97.75    $    97.75
  2/19/2017 Juan Marte                                   $11.50   60.73   $   11.00               $ 119.22   $   119.22
  2/26/2017 Juan Marte                                   $11.50   51.33   $   11.00               $ 65.17    $    65.17
   3/5/2017 Juan Marte                                   $11.50   61.92   $   11.00               $ 126.02   $   126.02
  3/12/2017 Juan Marte                                   $11.50   60.88   $   11.00               $ 120.08   $   120.08
  3/19/2017 Juan Marte                                   $11.50   50.98   $   11.00               $ 63.15    $    63.15
  3/26/2017 Juan Marte                                   $11.50   60.33   $   11.00               $ 116.92   $   116.92
   4/2/2017 Juan Marte                                   $11.50   55.75   $   11.00               $ 90.56    $    90.56
   4/9/2017 Juan Marte                                   $11.50   61.60   $   11.00               $ 124.20   $   124.20
  4/16/2017 Juan Marte                                   $11.50   61.53   $   11.00               $ 123.82   $   123.82
  4/23/2017 Juan Marte                                   $11.50   62.17   $   11.00               $ 127.46   $   127.46
  4/30/2017 Juan Marte                                   $11.50   62.48   $   11.00               $ 129.28   $   129.28
   5/7/2017 Juan Marte                                   $11.50   60.90   $   11.00               $ 120.18   $   120.18
  5/14/2017 Juan Marte                                   $11.50   61.43   $   11.00               $ 123.24   $   123.24
  5/21/2017 Juan Marte                                   $11.50   62.52   $   11.00               $ 129.47   $   129.47
  5/28/2017 Juan Marte                                   $11.50   61.08   $   11.00               $ 121.23   $   121.23
   6/4/2017 Juan Marte                                   $11.50   63.22   $   11.00               $ 133.50   $   133.50
  6/11/2017 Juan Marte                                   $11.50   62.37   $   11.00               $ 128.61   $   128.61
  6/18/2017 Juan Marte                                   $11.50   61.45   $   11.00               $ 123.34   $   123.34
  6/25/2017 Juan Marte                                   $11.50   60.88   $   11.00               $ 120.08   $   120.08
   7/2/2017 Juan Marte                                   $11.50   62.37   $   11.00               $ 128.61   $   128.61
   7/9/2017 Juan Marte                                   $11.50   51.50   $   11.00               $ 66.13    $    66.13
  7/16/2017 Juan Marte                                   $11.50   62.47   $   11.00               $ 129.18   $   129.18
  7/23/2017 Juan Marte                                   $11.50   61.77   $   11.00               $ 125.16   $   125.16
  7/30/2017 Juan Marte                                   $11.50   61.38   $   11.00               $ 122.95   $   122.95
   8/6/2017 Juan Marte                                   $11.50   63.67   $   11.00               $ 136.08   $   136.08
  8/13/2017 Juan Marte                                   $11.50   62.57   $   11.00               $ 129.76   $   129.76
  8/20/2017 Juan Marte                                   $11.50   62.02   $   11.00               $ 126.60   $   126.60
  8/27/2017 Juan Marte                                   $11.50   63.67   $   11.00               $ 136.08   $   136.08
   9/3/2017 Juan Marte                                   $11.50   63.30   $   11.00               $ 133.98   $   133.98
  9/10/2017 Juan Marte                                   $11.50   62.63   $   11.00               $ 130.14   $   130.14
  9/17/2017 Juan Marte                                   $11.50   54.07   $   11.00               $ 80.88    $    80.88
  9/24/2017 Juan Marte                                   $11.50   63.52   $   11.00               $ 135.22   $   135.22
  10/1/2017 Juan Marte                                   $11.50   63.60   $   11.00               $ 135.70   $   135.70
  10/8/2017 Juan Marte                                   $11.50   61.10   $   11.00               $ 121.33   $   121.33
 10/15/2017 Juan Marte                                   $11.50   61.47   $   11.00               $ 123.43   $   123.43
 10/22/2017 Juan Marte                                   $11.50   61.32   $   11.00               $ 122.57   $   122.57
 10/29/2017 Juan Marte                                   $11.50   63.35   $   11.00               $ 134.26   $   134.26
  11/5/2017 Juan Marte                                   $11.50   63.60   $   11.00               $ 135.70   $   135.70
 11/12/2017 Juan Marte                                   $11.50   62.33   $   11.00               $ 128.42   $   128.42
 11/19/2017 Juan Marte                                   $11.50   64.17   $   11.00               $ 138.96   $   138.96
 11/26/2017 Juan Marte                                   $11.50   54.85   $   11.00               $ 85.39    $    85.39
  12/3/2017 Juan Marte                                   $11.50   56.67   $   11.00               $ 95.83    $    95.83
 12/10/2017 Juan Marte                                   $11.50   63.68   $   11.00               $ 136.18   $   136.18
 12/17/2017 Juan Marte                                   $11.50   63.75   $   11.00               $ 136.56   $   136.56
 12/24/2017 Juan Marte                                   $11.50   63.32   $   11.00               $ 134.07   $   134.07
 12/31/2017 Juan Marte                                   $11.50   51.83   $   13.00   $   77.75   $ 76.92    $   154.67
   1/7/2018 Juan Marte                                   $11.50   50.00   $   13.00   $   75.00   $ 65.00    $   140.00
  1/14/2018 Juan Marte                                   $11.50   62.80   $   13.00   $   94.20   $ 148.20   $   242.40
  1/21/2018 Juan Marte                                   $11.50   62.73   $   13.00   $   94.10   $ 147.77   $   241.87
  1/28/2018 Juan Marte                                   $11.50   62.27   $   13.00   $   93.40   $ 144.73   $   238.13
   2/4/2018 Juan Marte                                   $11.50   63.05   $   13.00   $   94.58   $ 149.83   $   244.40
  2/11/2018 Juan Marte                                   $11.50   62.08   $   13.00   $   93.13   $ 143.54   $   236.67
  2/18/2018 Juan Marte                                   $11.50   62.95   $   13.00   $   94.43   $ 149.18   $   243.60
  2/25/2018 Juan Marte                                   $11.50   52.55   $   13.00   $   78.83   $ 81.58    $   160.40
   3/4/2018 Juan Marte                                   $11.50   63.37   $   13.00   $   95.05   $ 151.88   $   246.93



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   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                 Name                               Minimum Regular Half-time Overtime Back
                                               Rate Week
   Date                                                      Wage   Rate Due     Due       Wages Due

  3/25/2018 Juan Marte                         $11.50   64.85   $   13.00   $ 97.28    $ 161.53   $   258.80
   4/1/2018 Juan Marte                         $11.50   64.70   $   13.00   $ 97.05    $ 160.55   $   257.60
   4/8/2018 Juan Marte                         $11.50   64.18   $   13.00   $ 96.28    $ 157.19   $   253.47
  4/15/2018 Juan Marte                         $11.50   65.23   $   13.00   $ 97.85    $ 164.02   $   261.87
  4/22/2018 Juan Marte                         $11.50   66.88   $   13.00   $ 100.33   $ 174.74   $   275.07
  4/29/2018 Juan Marte                         $11.50   67.62   $   13.00   $ 101.43   $ 179.51   $   280.93
   5/6/2018 Juan Marte                         $11.50   67.03   $   13.00   $ 100.55   $ 175.72   $   276.27
  5/13/2018 Juan Marte                         $11.50   65.95   $   13.00   $ 98.93    $ 168.68   $   267.60
  5/20/2018 Juan Marte                         $11.50   66.57   $   13.00   $ 99.85    $ 172.68   $   272.53
  5/27/2018 Juan Marte                         $11.50   66.70   $   13.00   $ 100.05   $ 173.55   $   273.60
   6/3/2018 Juan Marte                         $11.50   64.28   $   13.00   $ 96.43    $ 157.84   $   254.27
  6/10/2018 Juan Marte                         $11.50   65.57   $   13.00   $ 98.35    $ 166.18   $   264.53
  6/17/2018 Juan Marte                         $11.50   64.87   $   13.00   $ 97.30    $ 161.63   $   258.93
  6/24/2018 Juan Marte                         $11.50   65.03   $   13.00   $ 97.55    $ 162.72   $   260.27
   7/1/2018 Juan Marte                         $11.50   54.13   $   13.00   $ 81.20    $ 91.87    $   173.07
   7/8/2018 Juan Marte                         $11.50   54.82   $   13.00   $ 82.23    $ 96.31    $   178.53
  7/15/2018 Juan Marte                         $11.50   67.63   $   13.00   $ 101.45   $ 179.62   $   281.07
  7/22/2018 Juan Marte                         $11.50   66.10   $   13.00   $ 99.15    $ 169.65   $   268.80
  7/29/2018 Juan Marte                         $11.50   65.12   $   13.00   $ 97.68    $ 163.26   $   260.93
   8/5/2018 Juan Marte                         $11.50   53.93   $   13.00   $ 80.90    $ 90.57    $   171.47
  8/12/2018 Juan Marte                         $11.50   66.95   $   13.00   $ 100.43   $ 175.18   $   275.60
  8/19/2018 Juan Marte                         $11.50   64.75   $   13.00   $ 97.13    $ 160.88   $   258.00
  8/26/2018 Juan Marte                         $11.50   66.53   $   13.00   $ 99.80    $ 172.47   $   272.27
   9/2/2018 Juan Marte                         $11.50   66.82   $   13.00   $ 100.23   $ 174.31   $   274.53
   9/9/2018 Juan Marte                         $11.50   65.02   $   13.00   $ 97.53    $ 162.61   $   260.13
  9/16/2018 Juan Marte                         $11.50   63.83   $   13.00   $ 95.75    $ 154.92   $   250.67
  9/23/2018 Juan Marte                         $11.50   65.47   $   13.00   $ 98.20    $ 165.53   $   263.73
  9/30/2018 Juan Marte                         $11.50   65.47   $   13.00   $ 98.20    $ 165.53   $   263.73
  10/7/2018 Juan Marte                         $11.50   65.37   $   13.00   $ 98.05    $ 164.88   $   262.93
 10/14/2018 Juan Marte                         $11.50   67.23   $   13.00   $ 100.85   $ 177.02   $   277.87
 10/21/2018 Juan Marte                         $11.50   65.83   $   13.00   $ 98.75    $ 167.92   $   266.67
 10/28/2018 Juan Marte                         $11.50   67.07   $   13.00   $ 100.60   $ 175.93   $   276.53
  11/4/2018 Juan Marte                         $11.50   57.22   $   13.00   $ 85.83    $ 111.91   $   197.73
 11/11/2018 Juan Marte                         $11.50   68.55   $   13.00   $ 102.83   $ 185.58   $   288.40
 11/18/2018 Juan Marte                         $11.50   69.02   $   13.00   $ 103.53   $ 188.61   $   292.13
 11/25/2018 Juan Marte                         $11.50   57.17   $   13.00   $ 85.75    $ 111.58   $   197.33
  12/2/2018 Juan Marte                         $11.50   69.02   $   13.00   $ 103.53   $ 188.61   $   292.13
  12/9/2018 Juan Marte                         $11.50   68.72   $   13.00   $ 103.08   $ 186.66   $   289.73
 12/16/2018 Juan Marte                         $11.50   71.62   $   13.00   $ 107.43   $ 205.51   $   312.93
 12/23/2018 Juan Marte                         $11.50   71.12   $   13.00   $ 106.68   $ 202.26   $   308.93
 12/30/2018 Juan Marte                         $11.50   57.13   $   13.00   $ 85.70    $ 111.37   $   197.07
   1/6/2019 Juan Marte                         $11.50   55.90   $   15.00   $ 195.65   $ 119.25   $   314.90
  1/13/2019 Juan Marte                         $11.50   72.82   $   15.00   $ 254.86   $ 246.13   $   500.98
  1/20/2019 Juan Marte                         $11.50   71.98   $   15.00   $ 251.94   $ 239.88   $   491.82
  1/27/2019 Juan Marte                         $11.50   73.88   $   15.00   $ 258.59   $ 254.13   $   512.72
   2/3/2019 Juan Marte                         $11.50   73.73   $   15.00   $ 258.07   $ 253.00   $   511.07
  2/10/2019 Juan Marte                         $11.50   74.60   $   15.00   $ 261.10   $ 259.50   $   520.60
  2/17/2019 Juan Marte                         $11.50   75.32   $   15.00   $ 263.61   $ 264.88   $   528.48
  2/24/2019 Juan Marte                         $11.50   76.73   $   15.00   $ 268.57   $ 275.50   $   544.07
   3/3/2019 Juan Marte                         $11.50   70.70   $   15.00   $ 247.45   $ 230.25   $   477.70
  3/10/2019 Juan Marte                         $11.50   71.65   $   15.00   $ 250.78   $ 237.38   $   488.15
  3/17/2019 Juan Marte                         $11.50   72.12   $   15.00   $ 252.41   $ 240.88   $   493.28
  3/24/2019 Juan Marte                         $11.50   72.05   $   15.00   $ 252.18   $ 240.38   $   492.55
  3/31/2019 Juan Marte                         $11.50   73.33   $   15.00   $ 256.67   $ 250.00   $   506.67
   4/7/2019 Juan Marte                         $11.50   73.33   $   15.00   $ 256.67   $ 250.00   $   506.67
  4/14/2019 Juan Marte                         $11.50   72.40   $   15.00   $ 253.40   $ 243.00   $   496.40
  4/21/2019 Juan Marte                         $11.50   73.33   $   15.00   $ 256.67   $ 250.00   $   506.67
  4/28/2019 Juan Marte                         $11.50   72.68   $   15.00   $ 254.39   $ 245.13   $   499.52



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                                                            Exhibit 3
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   Week                                                                         State Section 7: Section 7: Total Section 7
                                                                Hourly Hours/
  Ending                          Name                                        Minimum Regular Half-time Overtime Back
                                                                 Rate Week
   Date                                                                        Wage   Rate Due     Due       Wages Due

   5/5/2019 Juan Marte                                           $11.50   73.68   $   15.00   $   257.89   $   252.63   $   510.52
  5/12/2019 Juan Marte                                           $11.50   73.63   $   15.00   $   257.72   $   252.25   $   509.97
  5/19/2019 Juan Marte                                           $11.50   73.47   $   15.00   $   257.13   $   251.00   $   508.13
  5/26/2019 Juan Marte                                           $11.50   74.32   $   15.00   $   260.11   $   257.38   $   517.48
   6/2/2019 Juan Marte                                           $11.50   70.30   $   15.00   $   246.05   $   227.25   $   473.30
   6/9/2019 Juan Marte                                           $11.50   73.68   $   15.00   $   257.89   $   252.63   $   510.52
  6/16/2019 Juan Marte                                           $11.50   71.57   $   15.00   $   250.48   $   236.75   $   487.23
  6/23/2019 Juan Marte                                           $11.50   69.78   $   15.00   $   244.24   $   223.38   $   467.62
  6/30/2019 Juan Marte                                           $11.50   67.43   $   15.00   $   236.02   $   205.75   $   441.77
   7/7/2019 Juan Marte                                           $13.00   55.18   $   15.00   $   110.37   $   113.88   $   224.24
  7/14/2019 Juan Marte                                           $13.00   67.68   $   15.00   $   135.37   $   207.63   $   342.99
  7/21/2019 Juan Marte                                           $13.00   61.65   $   15.00   $   123.30   $   162.38   $   285.68
  7/28/2019 Juan Marte                                           $13.00   62.87   $   15.00   $   125.73   $   171.50   $   297.23
   8/4/2019 Juan Marte                                           $13.00   62.80   $   15.00   $   125.60   $   171.00   $   296.60
  8/11/2019 Juan Marte                                           $13.00   62.33   $   15.00   $   124.67   $   167.50   $   292.17
  8/18/2019 Juan Marte                                           $13.00   63.22   $   15.00   $   126.43   $   174.13   $   300.56
  8/25/2019 Juan Marte                                           $13.00   63.77   $   15.00   $   127.53   $   178.25   $   305.78
   9/1/2019 Juan Marte                                           $13.00   64.22   $   15.00   $   128.43   $   181.63   $   310.06
   9/8/2019 Juan Marte                                           $13.00   63.42   $   15.00   $   126.83   $   175.63   $   302.46
  9/15/2019 Juan Marte                                           $13.00   64.12   $   15.00   $   128.23   $   180.88   $   309.11
  9/22/2019 Juan Marte                                           $13.00   63.42   $   15.00   $   126.83   $   175.63   $   302.46
  9/29/2019 Juan Marte                                           $13.00   62.80   $   15.00   $   125.60   $   171.00   $   296.60
  10/6/2019 Juan Marte                                           $13.00   63.80   $   15.00   $   127.60   $   178.50   $   306.10
 10/13/2019 Juan Marte                                           $13.00   64.00   $   15.00   $   128.00   $   180.00   $   308.00
 10/20/2019 Juan Marte                                           $13.00   61.68   $   15.00   $   123.37   $   162.63   $   285.99
 10/27/2019 Juan Marte                                           $13.00   61.60   $   15.00   $   123.20   $   162.00   $   285.20
  11/3/2019 Juan Marte                                           $13.00   63.02   $   15.00   $   126.03   $   172.63   $   298.66
 11/10/2019 Juan Marte                                           $13.00   62.90   $   15.00   $   125.80   $   171.75   $   297.55
 11/17/2019 Juan Marte                                           $13.00   63.45   $   15.00   $   126.90   $   175.88   $   302.78
 11/24/2019 Juan Marte                                           $13.00   64.35   $   15.00   $   128.70   $   182.63   $   311.33
  12/1/2019 Juan Marte                                           $13.00   54.95   $   15.00   $   109.90   $   112.13   $   222.03
  12/8/2019 Juan Marte                                           $13.00   67.68   $   15.00   $   135.37   $   207.63   $   342.99
 12/15/2019 Juan Marte                                           $13.00   67.35   $   15.00   $   134.70   $   205.13   $   339.83
 12/22/2019 Juan Marte                                           $13.00   68.88   $   15.00   $   137.77   $   216.63   $   354.39
 12/29/2019 Juan Marte                                           $13.00   54.07   $   15.00   $   108.13   $   105.50   $   213.63
   1/5/2020 Juan Marte                                           $13.00   54.58   $   15.00   $   109.17   $   109.38   $   218.54
  1/12/2020 Juan Marte                                           $13.00   69.32   $   15.00   $   138.63   $   219.88   $   358.51
  1/19/2020 Juan Marte                                           $13.00   68.33   $   15.00   $   136.67   $   212.50   $   349.17
  1/26/2020 Juan Marte                                           $13.00   68.77   $   15.00   $   137.53   $   215.75   $   353.28
  3/26/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   59.60   $   11.00                $   196.00   $   196.00
   4/2/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   60.05   $   11.00                $   200.50   $   200.50
   4/9/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   60.58   $   11.00                $   205.83   $   205.83
  4/16/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   59.45   $   11.00                $   194.50   $   194.50
  4/23/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   51.23   $   11.00                $   112.33   $   112.33
  4/30/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   64.97   $   11.00                $   249.67   $   249.67
   5/7/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   55.53   $   11.00                $   155.33   $   155.33
  5/14/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   57.77   $   11.00                $   177.67   $   177.67
  5/21/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   62.38   $   11.00                $   223.83   $   223.83
  5/28/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   62.95   $   11.00                $   229.50   $   229.50
   6/4/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   58.97   $   11.00                $   189.67   $   189.67
  6/11/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   52.97   $   11.00                $   129.67   $   129.67
  6/18/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   62.88   $   11.00                $   228.83   $   228.83
  6/25/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   62.27   $   11.00                $   222.67   $   222.67
   7/2/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   61.72   $   11.00                $   217.17   $   217.17
   7/9/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   59.87   $   11.00                $   198.67   $   198.67
  7/16/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   61.55   $   11.00                $   215.50   $   215.50
  7/23/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   53.68   $   11.00                $   136.83   $   136.83
  7/30/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   61.15   $   11.00                $   211.50   $   211.50



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                                                            Exhibit 3
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   Week                                                                         State Section 7: Section 7: Total Section 7
                                                                Hourly Hours/
  Ending                          Name                                        Minimum Regular Half-time Overtime Back
                                                                 Rate Week
   Date                                                                        Wage   Rate Due     Due       Wages Due

   8/6/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   58.53   $   11.00       $ 185.33   $      185.33
  8/13/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   50.38   $   11.00       $ 103.83   $      103.83
  8/27/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   61.90   $   11.00       $ 219.00   $      219.00
   9/3/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   51.98   $   11.00       $ 119.83   $      119.83
  9/10/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   48.70   $   11.00       $ 87.00    $       87.00
  9/17/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   60.02   $   11.00       $ 200.17   $      200.17
  9/24/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   57.32   $   11.00       $ 173.17   $      173.17
  10/1/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   65.32   $   11.00       $ 253.17   $      253.17
  10/8/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   51.65   $   11.00       $ 116.50   $      116.50
 10/15/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   62.47   $   11.00       $ 224.67   $      224.67
 10/22/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   60.37   $   11.00       $ 203.67   $      203.67
 10/29/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   62.52   $   11.00       $ 225.17   $      225.17
  11/5/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   54.13   $   11.00       $ 141.33   $      141.33
 11/12/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   59.98   $   11.00       $ 199.83   $      199.83
 11/19/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   66.45   $   11.00       $ 264.50   $      264.50
 11/26/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   56.63   $   11.00       $ 166.33   $      166.33
 12/10/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   49.88   $   11.00       $ 98.83    $       98.83
 12/17/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   59.57   $   11.00       $ 195.67   $      195.67
 12/24/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   61.03   $   11.00       $ 210.33   $      210.33
 12/31/2017 Juan Pablo Tejeda - Car Wash Manager                 $20.00   52.22   $   13.00       $ 122.17   $      122.17
   1/7/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   44.98   $   13.00       $ 49.83    $       49.83
  1/14/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   63.17   $   13.00       $ 231.67   $      231.67
  1/21/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   61.93   $   13.00       $ 219.33   $      219.33
  1/28/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   65.18   $   13.00       $ 251.83   $      251.83
   2/4/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   58.17   $   13.00       $ 181.67   $      181.67
  2/11/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   65.78   $   13.00       $ 257.83   $      257.83
  2/18/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   52.22   $   13.00       $ 122.17   $      122.17
  2/25/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   61.17   $   13.00       $ 211.67   $      211.67
   3/4/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   62.35   $   13.00       $ 223.50   $      223.50
  3/25/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   55.38   $   13.00       $ 153.83   $      153.83
   4/1/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   58.78   $   13.00       $ 187.83   $      187.83
   4/8/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   55.25   $   13.00       $ 152.50   $      152.50
  4/15/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   60.52   $   13.00       $ 205.17   $      205.17
  4/22/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   50.68   $   13.00       $ 106.83   $      106.83
   5/6/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   49.50   $   13.00       $ 95.00    $       95.00
  5/13/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   54.15   $   13.00       $ 141.50   $      141.50
  5/20/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   57.33   $   13.00       $ 173.33   $      173.33
  5/27/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   59.37   $   13.00       $ 193.67   $      193.67
   6/3/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   48.67   $   13.00       $ 86.67    $       86.67
  6/10/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   62.27   $   13.00       $ 222.67   $      222.67
  6/17/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   59.12   $   13.00       $ 191.17   $      191.17
  6/24/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   56.50   $   13.00       $ 165.00   $      165.00
   7/1/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   55.83   $   13.00       $ 158.33   $      158.33
   7/8/2018 Juan Pablo Tejeda - Car Wash Manager                 $20.00   47.48   $   13.00       $ 74.83    $       74.83
   2/5/2017 Juan Santos                                          $11.00   52.67   $   11.00       $ 69.67    $       69.67
  2/12/2017 Juan Santos                                          $11.00   46.82   $   11.00       $ 37.49    $       37.49
  2/19/2017 Juan Santos                                          $11.00   47.98   $   11.00       $ 43.91    $       43.91
  2/26/2017 Juan Santos                                          $11.00   53.92   $   11.00       $ 76.54    $       76.54
   3/5/2017 Juan Santos                                          $11.00   53.20   $   11.00       $ 72.60    $       72.60
  3/12/2017 Juan Santos                                          $11.00   45.90   $   11.00       $ 32.45    $       32.45
  3/19/2017 Juan Santos                                          $11.00   44.33   $   11.00       $ 23.83    $       23.83
  3/26/2017 Juan Santos                                          $11.00   54.95   $   11.00       $ 82.23    $       82.23
   4/2/2017 Juan Santos                                          $11.00   44.63   $   11.00       $ 25.48    $       25.48
   4/9/2017 Juan Santos                                          $11.00   55.12   $   11.00       $ 83.14    $       83.14
  4/16/2017 Juan Santos                                          $11.00   54.42   $   11.00       $ 79.29    $       79.29
  4/23/2017 Juan Santos                                          $11.00   55.23   $   11.00       $ 83.78    $       83.78
  4/30/2017 Juan Santos                                          $11.00   53.62   $   11.00       $ 74.89    $       74.89
   5/7/2017 Juan Santos                                          $11.00   51.45   $   11.00       $ 62.98    $       62.98



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                                                          Exhibit 3
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   Week                                                                       State Section 7: Section 7: Total Section 7
                                                              Hourly Hours/
  Ending                            Name                                    Minimum Regular Half-time Overtime Back
                                                               Rate Week
   Date                                                                      Wage   Rate Due     Due       Wages Due

  5/14/2017 Juan Santos                                        $11.00   45.80   $   11.00               $ 31.90    $    31.90
  5/21/2017 Juan Santos                                        $11.00   57.07   $   11.00               $ 93.87    $    93.87
  5/28/2017 Juan Santos                                        $11.00   52.28   $   11.00               $ 67.56    $    67.56
   6/4/2017 Juan Santos                                        $11.00   45.80   $   11.00               $ 31.90    $    31.90
  6/11/2017 Juan Santos                                        $11.00   50.22   $   11.00               $ 56.19    $    56.19
  6/18/2017 Juan Santos                                        $11.00   52.07   $   11.00               $ 66.37    $    66.37
  6/25/2017 Juan Santos                                        $11.00   49.97   $   11.00               $ 54.82    $    54.82
   7/2/2017 Juan Santos                                        $11.00   42.98   $   11.00               $ 16.41    $    16.41
  7/16/2017 Juan Santos                                        $11.00   52.20   $   11.00               $ 67.10    $    67.10
  7/23/2017 Juan Santos                                        $11.00   51.08   $   11.00               $ 60.96    $    60.96
  7/30/2017 Juan Santos                                        $11.00   58.35   $   11.00               $ 100.93   $   100.93
   8/6/2017 Juan Santos                                        $11.00   45.48   $   11.00               $ 30.16    $    30.16
  8/13/2017 Juan Santos                                        $11.00   55.53   $   11.00               $ 85.43    $    85.43
  8/20/2017 Juan Santos                                        $11.00   42.75   $   11.00               $ 15.13    $    15.13
  8/27/2017 Juan Santos                                        $11.00   42.13   $   11.00               $ 11.73    $    11.73
   9/3/2017 Juan Santos                                        $11.00   58.32   $   11.00               $ 100.74   $   100.74
  9/17/2017 Juan Santos                                        $11.00   55.05   $   11.00               $ 82.78    $    82.78
  9/24/2017 Juan Santos                                        $11.00   51.08   $   11.00               $ 60.96    $    60.96
  10/1/2017 Juan Santos                                        $11.00   56.32   $   11.00               $ 89.74    $    89.74
  10/8/2017 Juan Santos                                        $11.00   57.50   $   11.00               $ 96.25    $    96.25
 10/15/2017 Juan Santos                                        $11.00   46.48   $   11.00               $ 35.66    $    35.66
 10/22/2017 Juan Santos                                        $11.00   55.23   $   11.00               $ 83.78    $    83.78
 10/29/2017 Juan Santos                                        $11.00   53.65   $   11.00               $ 75.08    $    75.08
  11/5/2017 Juan Santos                                        $11.00   43.83   $   11.00               $ 21.08    $    21.08
 11/12/2017 Juan Santos                                        $11.00   50.15   $   11.00               $ 55.83    $    55.83
 11/19/2017 Juan Santos                                        $11.00   49.32   $   11.00               $ 51.24    $    51.24
  12/3/2017 Juan Santos                                        $11.00   55.67   $   11.00               $ 86.17    $    86.17
 12/10/2017 Juan Santos                                        $11.00   50.10   $   11.00               $ 55.55    $    55.55
 12/24/2017 Juan Santos                                        $11.00   52.52   $   11.00               $ 68.84    $    68.84
 12/31/2017 Juan Santos                                        $11.00   40.20   $   13.00   $   80.40   $   1.30   $    81.70
  2/18/2018 Juan Santos                                        $13.00   45.97   $   13.00               $ 38.78    $    38.78
  2/25/2018 Juan Santos                                        $13.00   51.05   $   13.00               $ 71.83    $    71.83
   3/4/2018 Juan Santos                                        $13.00   52.27   $   13.00               $ 79.73    $    79.73
   4/1/2018 Juan Santos                                        $13.00   56.15   $   13.00               $ 104.98   $   104.98
  4/15/2018 Juan Santos                                        $13.00   57.33   $   13.00               $ 112.67   $   112.67
   2/5/2017 Juan Torres - Car Washer/ Detailer                  $9.00   59.57   $   11.00   $ 119.13    $ 107.62   $   226.75
  2/12/2017 Juan Torres - Car Washer/ Detailer                  $9.00   53.63   $   11.00   $ 107.27    $ 74.98    $   182.25
  2/19/2017 Juan Torres - Car Washer/ Detailer                  $9.00   49.37   $   11.00   $ 98.73     $ 51.52    $   150.25
  2/26/2017 Juan Torres - Car Washer/ Detailer                  $9.00   59.70   $   11.00   $ 119.40    $ 108.35   $   227.75
   3/5/2017 Juan Torres - Car Washer/ Detailer                  $9.00   59.82   $   11.00   $ 119.63    $ 108.99   $   228.63
  3/12/2017 Juan Torres - Car Washer/ Detailer                  $9.00   59.35   $   11.00   $ 118.70    $ 106.43   $   225.13
  3/26/2017 Juan Torres - Car Washer/ Detailer                  $9.00   58.88   $   11.00   $ 117.77    $ 103.86   $   221.63
   4/2/2017 Juan Torres - Car Washer/ Detailer                  $9.00   59.27   $   11.00   $ 118.53    $ 105.97   $   224.50
   4/9/2017 Juan Torres - Car Washer/ Detailer                  $9.00   50.18   $   11.00   $ 100.37    $ 56.01    $   156.38
  4/16/2017 Juan Torres - Car Washer/ Detailer                  $9.00   59.30   $   11.00   $ 118.60    $ 106.15   $   224.75
  4/23/2017 Juan Torres - Car Washer/ Detailer                  $9.00   60.20   $   11.00   $ 120.40    $ 111.10   $   231.50
  4/30/2017 Juan Torres - Car Washer/ Detailer                  $9.00   60.42   $   11.00   $ 120.83    $ 112.29   $   233.13
   5/7/2017 Juan Torres - Car Washer/ Detailer                  $9.00   59.48   $   11.00   $ 118.97    $ 107.16   $   226.13
  5/14/2017 Juan Torres - Car Washer/ Detailer                  $9.00   60.37   $   11.00   $ 120.73    $ 112.02   $   232.75
  5/21/2017 Juan Torres - Car Washer/ Detailer                  $9.00   60.05   $   11.00   $ 120.10    $ 110.28   $   230.38
  5/28/2017 Juan Torres - Car Washer/ Detailer                  $9.00   57.77   $   11.00   $ 115.53    $ 97.72    $   213.25
   6/4/2017 Juan Torres - Car Washer/ Detailer                  $9.00   49.05   $   11.00   $ 98.10     $ 49.78    $   147.88
  6/11/2017 Juan Torres - Car Washer/ Detailer                  $9.00   49.58   $   11.00   $ 99.17     $ 52.71    $   151.88
  6/18/2017 Juan Torres - Car Washer/ Detailer                  $9.00   58.70   $   11.00   $ 117.40    $ 102.85   $   220.25
  6/25/2017 Juan Torres - Car Washer/ Detailer                  $9.00   59.53   $   11.00   $ 119.07    $ 107.43   $   226.50
   7/2/2017 Juan Torres - Car Washer/ Detailer                  $9.00   48.82   $   11.00   $ 97.63     $ 48.49    $   146.13
   7/9/2017 Juan Torres - Car Washer/ Detailer                  $9.00   49.67   $   11.00   $ 99.33     $ 53.17    $   152.50
  7/16/2017 Juan Torres - Car Washer/ Detailer                  $9.00   60.03   $   11.00   $ 120.07    $ 110.18   $   230.25



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                                                          Exhibit 3
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   Week                                                                       State Section 7: Section 7: Total Section 7
                                                              Hourly Hours/
  Ending                            Name                                    Minimum Regular Half-time Overtime Back
                                                               Rate Week
   Date                                                                      Wage   Rate Due     Due       Wages Due

  7/23/2017 Juan Torres - Car Washer/ Detailer                    $9.00   60.12   $   11.00   $ 120.23   $ 110.64   $   230.88
  7/30/2017 Juan Torres - Car Washer/ Detailer                    $9.00   59.60   $   11.00   $ 119.20   $ 107.80   $   227.00
   8/6/2017 Juan Torres - Car Washer/ Detailer                    $9.00   60.42   $   11.00   $ 120.83   $ 112.29   $   233.13
  8/13/2017 Juan Torres - Car Washer/ Detailer                    $9.00   61.28   $   11.00   $ 122.57   $ 117.06   $   239.63
  8/20/2017 Juan Torres - Car Washer/ Detailer                    $9.00   60.32   $   11.00   $ 120.63   $ 111.74   $   232.38
  8/27/2017 Juan Torres - Car Washer/ Detailer                    $9.00   50.12   $   11.00   $ 100.23   $ 55.64    $   155.88
   9/3/2017 Juan Torres - Car Washer/ Detailer                    $9.00   60.73   $   11.00   $ 121.47   $ 114.03   $   235.50
  9/10/2017 Juan Torres - Car Washer/ Detailer                    $9.00   60.17   $   11.00   $ 120.33   $ 110.92   $   231.25
  9/17/2017 Juan Torres - Car Washer/ Detailer                    $9.00   61.45   $   11.00   $ 122.90   $ 117.98   $   240.88
  9/24/2017 Juan Torres - Car Washer/ Detailer                    $9.00   61.68   $   11.00   $ 123.37   $ 119.26   $   242.63
  10/1/2017 Juan Torres - Car Washer/ Detailer                    $9.00   51.63   $   11.00   $ 103.27   $ 63.98    $   167.25
  10/8/2017 Juan Torres - Car Washer/ Detailer                    $9.00   60.60   $   11.00   $ 121.20   $ 113.30   $   234.50
 10/15/2017 Juan Torres - Car Washer/ Detailer                    $9.00   60.03   $   11.00   $ 120.07   $ 110.18   $   230.25
 10/22/2017 Juan Torres - Car Washer/ Detailer                    $9.00   49.28   $   11.00   $ 98.57    $ 51.06    $   149.63
 10/29/2017 Juan Torres - Car Washer/ Detailer                    $9.00   61.62   $   11.00   $ 123.23   $ 118.89   $   242.13
  11/5/2017 Juan Torres - Car Washer/ Detailer                    $9.00   61.33   $   11.00   $ 122.67   $ 117.33   $   240.00
 11/12/2017 Juan Torres - Car Washer/ Detailer                    $9.00   61.50   $   11.00   $ 123.00   $ 118.25   $   241.25
 11/19/2017 Juan Torres - Car Washer/ Detailer                    $9.00   62.87   $   11.00   $ 125.73   $ 125.77   $   251.50
 11/26/2017 Juan Torres - Car Washer/ Detailer                    $9.00   53.97   $   11.00   $ 107.93   $ 76.82    $   184.75
  12/3/2017 Juan Torres - Car Washer/ Detailer                    $9.00   64.30   $   11.00   $ 128.60   $ 133.65   $   262.25
 12/10/2017 Juan Torres - Car Washer/ Detailer                    $9.00   62.27   $   11.00   $ 124.53   $ 122.47   $   247.00
 12/17/2017 Juan Torres - Car Washer/ Detailer                    $9.00   62.08   $   11.00   $ 124.17   $ 121.46   $   245.63
 12/24/2017 Juan Torres - Car Washer/ Detailer                    $9.00   61.55   $   11.00   $ 123.10   $ 118.53   $   241.63
 12/31/2017 Juan Torres - Car Washer/ Detailer                    $9.00   50.08   $   13.00   $ 200.33   $ 65.54    $   265.88
   1/7/2018 Juan Torres - Car Washer/ Detailer                    $9.00   47.80   $   13.00   $ 191.20   $ 50.70    $   241.90
  1/14/2018 Juan Torres - Car Washer/ Detailer                    $9.00   62.00   $   13.00   $ 248.00   $ 143.00   $   391.00
  1/21/2018 Juan Torres - Car Washer/ Detailer                    $9.00   51.13   $   13.00   $ 204.53   $ 72.37    $   276.90
  1/28/2018 Juan Torres - Car Washer/ Detailer                    $9.50   55.53   $   13.00   $ 194.37   $ 100.97   $   295.33
   2/4/2018 Juan Torres - Car Washer/ Detailer                    $9.50   57.07   $   13.00   $ 199.73   $ 110.93   $   310.67
  2/11/2018 Juan Torres - Car Washer/ Detailer                    $9.50   57.88   $   13.00   $ 202.59   $ 116.24   $   318.83
  2/18/2018 Juan Torres - Car Washer/ Detailer                    $9.50   54.57   $   13.00   $ 190.98   $ 94.68    $   285.67
  2/25/2018 Juan Torres - Car Washer/ Detailer                    $9.50   46.35   $   13.00   $ 162.23   $ 41.28    $   203.50
   3/4/2018 Juan Torres - Car Washer/ Detailer                    $9.50   62.60   $   13.00   $ 219.10   $ 146.90   $   366.00
  3/25/2018 Juan Torres - Car Washer/ Detailer                    $9.50   58.42   $   13.00   $ 204.46   $ 119.71   $   324.17
   4/1/2018 Juan Torres - Car Washer/ Detailer                    $9.50   57.40   $   13.00   $ 200.90   $ 113.10   $   314.00
   4/8/2018 Juan Torres - Car Washer/ Detailer                    $9.50   56.53   $   13.00   $ 197.87   $ 107.47   $   305.33
  4/15/2018 Juan Torres - Car Washer/ Detailer                    $9.50   56.90   $   13.00   $ 199.15   $ 109.85   $   309.00
  4/22/2018 Juan Torres - Car Washer/ Detailer                    $9.50   55.83   $   13.00   $ 195.42   $ 102.92   $   298.33
  4/29/2018 Juan Torres - Car Washer/ Detailer                    $9.50   53.22   $   13.00   $ 186.26   $ 85.91    $   272.17
   5/6/2018 Juan Torres - Car Washer/ Detailer                    $9.50   54.95   $   13.00   $ 192.33   $ 97.18    $   289.50
  5/13/2018 Juan Torres - Car Washer/ Detailer                    $9.50   54.63   $   13.00   $ 191.22   $ 95.12    $   286.33
  5/20/2018 Juan Torres - Car Washer/ Detailer                    $9.50   57.83   $   13.00   $ 202.42   $ 115.92   $   318.33
  5/27/2018 Juan Torres - Car Washer/ Detailer                    $9.50   53.92   $   13.00   $ 188.71   $ 90.46    $   279.17
   6/3/2018 Juan Torres - Car Washer/ Detailer                    $9.50   41.77   $   13.00   $ 146.18   $ 11.48    $   157.67
  6/10/2018 Juan Torres - Car Washer/ Detailer                    $9.50   50.87   $   13.00   $ 178.03   $ 70.63    $   248.67
  6/17/2018 Juan Torres - Car Washer/ Detailer                    $9.50   50.55   $   13.00   $ 176.93   $ 68.58    $   245.50
  6/24/2018 Juan Torres - Car Washer/ Detailer                    $9.50   54.33   $   13.00   $ 190.17   $ 93.17    $   283.33
   7/1/2018 Juan Torres - Car Washer/ Detailer                    $9.50   59.87   $   13.00   $ 209.53   $ 129.13   $   338.67
   7/8/2018 Juan Torres - Car Washer/ Detailer                    $9.50   52.42   $   13.00   $ 183.46   $ 80.71    $   264.17
  7/15/2018 Juan Torres - Car Washer/ Detailer                    $9.50   58.82   $   13.00   $ 205.86   $ 122.31   $   328.17
  7/22/2018 Juan Torres - Car Washer/ Detailer                    $9.50   59.17   $   13.00   $ 207.08   $ 124.58   $   331.67
  7/29/2018 Juan Torres - Car Washer/ Detailer                    $9.50   56.13   $   13.00   $ 196.47   $ 104.87   $   301.33
   8/5/2018 Juan Torres - Car Washer/ Detailer                    $9.50   60.02   $   13.00   $ 210.06   $ 130.11   $   340.17
  8/12/2018 Juan Torres - Car Washer/ Detailer                    $9.50   58.10   $   13.00   $ 203.35   $ 117.65   $   321.00
  8/19/2018 Juan Torres - Car Washer/ Detailer                    $9.50   58.15   $   13.00   $ 203.53   $ 117.98   $   321.50
  8/26/2018 Juan Torres - Car Washer/ Detailer                    $9.50   61.92   $   13.00   $ 216.71   $ 142.46   $   359.17
   9/2/2018 Juan Torres - Car Washer/ Detailer                    $9.50   60.97   $   13.00   $ 213.38   $ 136.28   $   349.67
   9/9/2018 Juan Torres - Car Washer/ Detailer                    $9.50   60.63   $   13.00   $ 212.22   $ 134.12   $   346.33



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   Week                                                                       State Section 7: Section 7: Total Section 7
                                                              Hourly Hours/
  Ending                            Name                                    Minimum Regular Half-time Overtime Back
                                                               Rate Week
   Date                                                                      Wage   Rate Due     Due       Wages Due

  9/16/2018 Juan Torres - Car Washer/ Detailer                  $9.50   61.73   $   13.00   $   216.07   $ 141.27   $   357.33
  9/23/2018 Juan Torres - Car Washer/ Detailer                  $9.50   62.55   $   13.00   $   218.93   $ 146.58   $   365.50
  9/30/2018 Juan Torres - Car Washer/ Detailer                  $9.50   56.02   $   13.00   $   196.06   $ 104.11   $   300.17
  10/7/2018 Juan Torres - Car Washer/ Detailer                  $9.50   59.73   $   13.00   $   209.07   $ 128.27   $   337.33
 10/14/2018 Juan Torres - Car Washer/ Detailer                  $9.50   67.03   $   13.00   $   234.62   $ 175.72   $   410.33
 10/21/2018 Juan Torres - Car Washer/ Detailer                  $9.50   66.65   $   13.00   $   233.28   $ 173.23   $   406.50
 10/28/2018 Juan Torres - Car Washer/ Detailer                 $16.50   65.92   $   13.00                $ 213.81   $   213.81
  11/4/2018 Juan Torres - Car Washer/ Detailer                 $16.50   67.33   $   13.00                $ 225.50   $   225.50
 11/11/2018 Juan Torres - Car Washer/ Detailer                 $16.50   60.67   $   13.00                $ 170.50   $   170.50
 11/18/2018 Juan Torres - Car Washer/ Detailer                 $16.50   64.23   $   13.00                $ 199.93   $   199.93
 11/25/2018 Juan Torres - Car Washer/ Detailer                 $16.50   55.10   $   13.00                $ 124.58   $   124.58
  12/2/2018 Juan Torres - Car Washer/ Detailer                 $16.50   61.07   $   13.00                $ 173.80   $   173.80
  12/9/2018 Juan Torres - Car Washer/ Detailer                 $16.50   59.95   $   13.00                $ 164.59   $   164.59
 12/16/2018 Juan Torres - Car Washer/ Detailer                 $16.50   59.45   $   13.00                $ 160.46   $   160.46
 12/23/2018 Juan Torres - Car Washer/ Detailer                 $16.50   59.20   $   13.00                $ 158.40   $   158.40
 12/30/2018 Juan Torres - Car Washer/ Detailer                 $16.50   45.27   $   13.00                $ 43.45    $    43.45
   1/6/2019 Juan Torres - Car Washer/ Detailer                 $16.50   48.72   $   15.00                $ 71.91    $    71.91
  1/13/2019 Juan Torres - Car Washer/ Detailer                 $16.50   57.18   $   15.00                $ 141.76   $   141.76
  1/20/2019 Juan Torres - Car Washer/ Detailer                 $16.50   59.57   $   15.00                $ 161.43   $   161.43
  1/27/2019 Juan Torres - Car Washer/ Detailer                 $16.50   59.25   $   15.00                $ 158.81   $   158.81
   2/3/2019 Juan Torres - Car Washer/ Detailer                 $16.50   59.70   $   15.00                $ 162.53   $   162.53
  2/10/2019 Juan Torres - Car Washer/ Detailer                 $16.50   59.68   $   15.00                $ 162.39   $   162.39
  2/17/2019 Juan Torres - Car Washer/ Detailer                 $16.50   59.37   $   15.00                $ 159.78   $   159.78
  2/24/2019 Juan Torres - Car Washer/ Detailer                 $16.50   60.17   $   15.00                $ 166.38   $   166.38
   3/3/2019 Juan Torres - Car Washer/ Detailer                 $16.50   59.48   $   15.00                $ 160.74   $   160.74
  3/10/2019 Juan Torres - Car Washer/ Detailer                 $16.50   59.92   $   15.00                $ 164.31   $   164.31
  3/17/2019 Juan Torres - Car Washer/ Detailer                 $16.50   60.12   $   15.00                $ 165.96   $   165.96
  3/24/2019 Juan Torres - Car Washer/ Detailer                 $16.50   59.57   $   15.00                $ 161.43   $   161.43
  3/31/2019 Juan Torres - Car Washer/ Detailer                 $16.50   59.65   $   15.00                $ 162.11   $   162.11
   4/7/2019 Juan Torres - Car Washer/ Detailer                 $16.50   58.12   $   15.00                $ 149.46   $   149.46
  4/14/2019 Juan Torres - Car Washer/ Detailer                 $16.50   59.72   $   15.00                $ 162.66   $   162.66
  4/21/2019 Juan Torres - Car Washer/ Detailer                 $16.50   59.45   $   15.00                $ 160.46   $   160.46
  4/28/2019 Juan Torres - Car Washer/ Detailer                 $16.50   59.92   $   15.00                $ 164.31   $   164.31
   5/5/2019 Juan Torres - Car Washer/ Detailer                 $16.50   60.80   $   15.00                $ 171.60   $   171.60
  5/12/2019 Juan Torres - Car Washer/ Detailer                 $16.50   61.30   $   15.00                $ 175.73   $   175.73
  5/19/2019 Juan Torres - Car Washer/ Detailer                 $16.50   63.35   $   15.00                $ 192.64   $   192.64
  5/26/2019 Juan Torres - Car Washer/ Detailer                 $16.50   63.05   $   15.00                $ 190.16   $   190.16
   6/2/2019 Juan Torres - Car Washer/ Detailer                 $16.50   53.97   $   15.00                $ 115.23   $   115.23
   6/9/2019 Juan Torres - Car Washer/ Detailer                 $16.50   64.68   $   15.00                $ 203.64   $   203.64
  6/16/2019 Juan Torres - Car Washer/ Detailer                 $16.50   63.18   $   15.00                $ 191.26   $   191.26
  6/23/2019 Juan Torres - Car Washer/ Detailer                 $16.50   61.63   $   15.00                $ 178.48   $   178.48
  6/30/2019 Juan Torres - Car Washer/ Detailer                 $16.50   62.25   $   15.00                $ 183.56   $   183.56
   7/7/2019 Juan Torres - Car Washer/ Detailer                 $16.50   51.72   $   15.00                $ 96.66    $    96.66
  7/14/2019 Juan Torres - Car Washer/ Detailer                 $16.50   61.57   $   15.00                $ 177.93   $   177.93
  7/21/2019 Juan Torres - Car Washer/ Detailer                 $16.50   62.40   $   15.00                $ 184.80   $   184.80
  7/28/2019 Juan Torres - Car Washer/ Detailer                 $16.50   61.38   $   15.00                $ 176.41   $   176.41
   8/4/2019 Juan Torres - Car Washer/ Detailer                 $16.50   62.58   $   15.00                $ 186.31   $   186.31
  8/11/2019 Juan Torres - Car Washer/ Detailer                 $16.50   62.38   $   15.00                $ 184.66   $   184.66
  8/18/2019 Juan Torres - Car Washer/ Detailer                 $16.50   62.20   $   15.00                $ 183.15   $   183.15
  8/25/2019 Juan Torres - Car Washer/ Detailer                 $16.50   61.93   $   15.00                $ 180.95   $   180.95
   9/1/2019 Juan Torres - Car Washer/ Detailer                 $16.50   62.83   $   15.00                $ 188.38   $   188.38
   9/8/2019 Juan Torres - Car Washer/ Detailer                 $16.50   52.88   $   15.00                $ 106.29   $   106.29
  9/15/2019 Juan Torres - Car Washer/ Detailer                 $16.50   50.72   $   15.00                $ 88.41    $    88.41
  9/29/2019 Juan Torres - Car Washer/ Detailer                 $16.50   65.55   $   15.00                $ 210.79   $   210.79
  10/6/2019 Juan Torres - Car Washer/ Detailer                 $16.50   68.12   $   15.00                $ 231.96   $   231.96
 10/13/2019 Juan Torres - Car Washer/ Detailer                 $16.50   68.58   $   15.00                $ 235.81   $   235.81
 10/20/2019 Juan Torres - Car Washer/ Detailer                 $16.50   69.03   $   15.00                $ 239.53   $   239.53
 10/27/2019 Juan Torres - Car Washer/ Detailer                 $16.50   63.37   $   15.00                $ 192.78   $   192.78



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   Week                                                                         State Section 7: Section 7: Total Section 7
                                                                Hourly Hours/
  Ending                           Name                                       Minimum Regular Half-time Overtime Back
                                                                 Rate Week
   Date                                                                        Wage   Rate Due     Due       Wages Due

  11/3/2019 Juan Torres - Car Washer/ Detailer                   $16.50   68.77   $   15.00               $ 237.33   $   237.33
 11/10/2019 Juan Torres - Car Washer/ Detailer                   $16.50   69.40   $   15.00               $ 242.55   $   242.55
 11/17/2019 Juan Torres - Car Washer/ Detailer                   $16.50   68.57   $   15.00               $ 235.68   $   235.68
 11/24/2019 Juan Torres - Car Washer/ Detailer                   $16.50   70.82   $   15.00               $ 254.24   $   254.24
  12/1/2019 Juan Torres - Car Washer/ Detailer                   $16.50   60.45   $   15.00               $ 168.71   $   168.71
  12/8/2019 Juan Torres - Car Washer/ Detailer                   $16.50   69.43   $   15.00               $ 242.83   $   242.83
 12/15/2019 Juan Torres - Car Washer/ Detailer                   $16.50   71.05   $   15.00               $ 256.16   $   256.16
 12/22/2019 Juan Torres - Car Washer/ Detailer                   $16.50   68.90   $   15.00               $ 238.43   $   238.43
 12/29/2019 Juan Torres - Car Washer/ Detailer                   $16.50   53.67   $   15.00               $ 112.75   $   112.75
   1/5/2020 Juan Torres - Car Washer/ Detailer                   $16.50   53.63   $   15.00               $ 112.48   $   112.48
  1/12/2020 Juan Torres - Car Washer/ Detailer                   $16.50   69.88   $   15.00               $ 246.54   $   246.54
  1/19/2020 Juan Torres - Car Washer/ Detailer                   $16.50   67.48   $   15.00               $ 226.74   $   226.74
  1/26/2020 Juan Torres - Car Washer/ Detailer                   $16.50   69.37   $   15.00               $ 242.28   $   242.28
  6/11/2017 Julian Latoni Rivera                                 $10.00   40.77   $   11.00   $   40.77   $   4.22   $    44.98
  6/18/2017 Julian Latoni Rivera                                 $10.00   42.33   $   11.00   $   42.33   $ 12.83    $    55.17
  6/25/2017 Julian Latoni Rivera                                 $10.00   40.93   $   11.00   $   40.93   $   5.13   $    46.07
   7/2/2017 Julian Latoni Rivera                                 $10.00   44.92   $   11.00   $   44.92   $ 27.04    $    71.96
  9/24/2017 Julio Cesar Guedez Yepez - Used Car Valet            $11.00   42.40   $   11.00               $ 13.20    $    13.20
  10/1/2017 Julio Cesar Guedez Yepez - Used Car Valet            $11.00   41.32   $   11.00               $   7.24   $     7.24
 10/15/2017 Julio Cesar Guedez Yepez - Used Car Valet            $11.00   43.57   $   11.00               $ 19.62    $    19.62
 10/22/2017 Julio Cesar Guedez Yepez - Used Car Valet            $11.00   43.53   $   11.00               $ 19.43    $    19.43
 10/29/2017 Julio Cesar Guedez Yepez - Used Car Valet            $11.00   51.37   $   11.00               $ 62.52    $    62.52
  11/5/2017 Julio Cesar Guedez Yepez - Used Car Valet            $11.00   45.07   $   11.00               $ 27.87    $    27.87
 11/12/2017 Julio Cesar Guedez Yepez - Used Car Valet            $11.00   51.75   $   11.00               $ 64.63    $    64.63
 11/19/2017 Julio Cesar Guedez Yepez - Used Car Valet            $11.00   52.45   $   11.00               $ 68.48    $    68.48
  12/3/2017 Julio Cesar Guedez Yepez - Used Car Valet            $11.00   51.82   $   11.00               $ 64.99    $    64.99
 12/10/2017 Julio Cesar Guedez Yepez - Used Car Valet            $11.00   41.30   $   11.00               $   7.15   $     7.15
 12/17/2017 Julio Cesar Guedez Yepez - Used Car Valet            $11.00   42.97   $   11.00               $ 16.32    $    16.32
 12/24/2017 Julio Cesar Guedez Yepez - Used Car Valet            $11.00   43.80   $   11.00               $ 20.90    $    20.90
  1/14/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   51.22   $   13.00   $   51.22   $ 72.91    $   124.13
  1/21/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.88   $   13.00   $   47.88   $ 51.24    $    99.13
   2/4/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.75   $   13.00   $   47.75   $ 50.38    $    98.13
  2/11/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   45.27   $   13.00   $   45.27   $ 34.23    $    79.50
  2/18/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.52   $   13.00   $   47.52   $ 48.86    $    96.38
  2/25/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.97   $   13.00   $   46.97   $ 45.28    $    92.25
   3/4/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.73   $   13.00   $   46.73   $ 43.77    $    90.50
  3/25/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   49.93   $   13.00   $   49.93   $ 64.57    $   114.50
   4/1/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   50.02   $   13.00   $   50.02   $ 65.11    $   115.13
   4/8/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.55   $   13.00   $   47.55   $ 49.08    $    96.63
  4/15/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   49.83   $   13.00   $   49.83   $ 63.92    $   113.75
  4/22/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   54.20   $   13.00   $   54.20   $ 92.30    $   146.50
  4/29/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   50.37   $   13.00   $   50.37   $ 67.38    $   117.75
   5/6/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   53.05   $   13.00   $   53.05   $ 84.83    $   137.88
  5/13/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   50.58   $   13.00   $   50.58   $ 68.79    $   119.38
  5/20/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   49.43   $   13.00   $   49.43   $ 61.32    $   110.75
  5/27/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   49.35   $   13.00   $   49.35   $ 60.78    $   110.13
   6/3/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.10   $   13.00   $   47.10   $ 46.15    $    93.25
  6/10/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   49.33   $   13.00   $   49.33   $ 60.67    $   110.00
  6/17/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   49.67   $   13.00   $   49.67   $ 62.83    $   112.50
  6/24/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   49.38   $   13.00   $   49.38   $ 60.99    $   110.38
   7/1/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.85   $   13.00   $   46.85   $ 44.53    $    91.38
  7/22/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   41.43   $   13.00   $   41.43   $   9.32   $    50.75
  7/29/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   49.22   $   13.00   $   49.22   $ 59.91    $   109.13
   8/5/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   53.80   $   13.00   $   53.80   $ 89.70    $   143.50
  8/12/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   50.47   $   13.00   $   50.47   $ 68.03    $   118.50
  8/19/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   52.62   $   13.00   $   52.62   $ 82.01    $   134.63
  8/26/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   49.08   $   13.00   $   49.08   $ 59.04    $   108.13
   9/2/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   40.45   $   13.00   $   40.45   $   2.93   $    43.38



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                                                            Exhibit 3
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   Week                                                                         State Section 7: Section 7: Total Section 7
                                                                Hourly Hours/
  Ending                           Name                                       Minimum Regular Half-time Overtime Back
                                                                 Rate Week
   Date                                                                        Wage   Rate Due     Due       Wages Due

   9/9/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   51.87   $   13.00   $ 51.87    $   77.13   $   129.00
  9/16/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   49.92   $   13.00   $ 49.92    $   64.46   $   114.38
  9/23/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   51.03   $   13.00   $ 51.03    $   71.72   $   122.75
  9/30/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   49.42   $   13.00   $ 49.42    $   61.21   $   110.63
  10/7/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.95   $   13.00   $ 47.95    $   51.68   $    99.63
 10/14/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   48.83   $   13.00   $ 48.83    $   57.42   $   106.25
 10/21/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   50.52   $   13.00   $ 50.52    $   68.36   $   118.88
 10/28/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.98   $   13.00   $ 47.98    $   51.89   $    99.88
  11/4/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   49.68   $   13.00   $ 49.68    $   62.94   $   112.63
 11/11/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.72   $   13.00   $ 47.72    $   50.16   $    97.88
 11/18/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.85   $   13.00   $ 46.85    $   44.53   $    91.38
 11/25/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   50.40   $   13.00   $ 50.40    $   67.60   $   118.00
  12/2/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   48.25   $   13.00   $ 48.25    $   53.63   $   101.88
  12/9/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.78   $   13.00   $ 47.78    $   50.59   $    98.38
 12/16/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.52   $   13.00   $ 47.52    $   48.86   $    96.38
 12/23/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   48.15   $   13.00   $ 48.15    $   52.98   $   101.13
 12/30/2018 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   43.87   $   13.00   $ 43.87    $   25.13   $    69.00
   1/6/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.43   $   15.00   $ 142.30   $   55.75   $   198.05
  1/13/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.28   $   15.00   $ 141.85   $   54.63   $   196.48
  1/20/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   49.23   $   15.00   $ 147.70   $   69.25   $   216.95
  1/27/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   50.48   $   15.00   $ 151.45   $   78.63   $   230.08
   2/3/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   51.33   $   15.00   $ 154.00   $   85.00   $   239.00
  2/10/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   48.05   $   15.00   $ 144.15   $   60.38   $   204.53
  2/17/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   51.23   $   15.00   $ 153.70   $   84.25   $   237.95
  2/24/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.65   $   15.00   $ 139.95   $   49.88   $   189.83
   3/3/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.30   $   15.00   $ 141.90   $   54.75   $   196.65
  3/10/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.33   $   15.00   $ 139.00   $   47.50   $   186.50
  3/17/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   48.07   $   15.00   $ 144.20   $   60.50   $   204.70
  3/24/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.87   $   15.00   $ 140.60   $   51.50   $   192.10
  3/31/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.95   $   15.00   $ 143.85   $   59.63   $   203.48
   4/7/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.92   $   15.00   $ 140.75   $   51.88   $   192.63
  4/14/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   45.92   $   15.00   $ 137.75   $   44.38   $   182.13
  4/21/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   48.52   $   15.00   $ 145.55   $   63.88   $   209.43
  4/28/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.95   $   15.00   $ 140.85   $   52.13   $   192.98
   5/5/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.65   $   15.00   $ 139.95   $   49.88   $   189.83
  5/12/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.87   $   15.00   $ 143.60   $   59.00   $   202.60
  5/19/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.55   $   15.00   $ 139.65   $   49.13   $   188.78
  5/26/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   51.63   $   15.00   $ 154.90   $   87.25   $   242.15
   6/2/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.43   $   15.00   $ 142.30   $   55.75   $   198.05
   6/9/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.55   $   15.00   $ 139.65   $   49.13   $   188.78
  6/16/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.13   $   15.00   $ 141.40   $   53.50   $   194.90
  6/23/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.48   $   15.00   $ 142.45   $   56.13   $   198.58
  6/30/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.33   $   15.00   $ 139.00   $   47.50   $   186.50
   7/7/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.83   $   15.00   $ 140.50   $   51.25   $   191.75
  7/14/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   45.87   $   15.00   $ 137.60   $   44.00   $   181.60
   8/4/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.38   $   15.00   $ 142.15   $   55.38   $   197.53
  8/11/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   45.25   $   15.00   $ 135.75   $   39.38   $   175.13
  8/18/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.20   $   15.00   $ 138.60   $   46.50   $   185.10
  8/25/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.17   $   15.00   $ 138.50   $   46.25   $   184.75
   9/1/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.43   $   15.00   $ 139.30   $   48.25   $   187.55
   9/8/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   45.17   $   15.00   $ 135.50   $   38.75   $   174.25
  9/15/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.07   $   15.00   $ 138.20   $   45.50   $   183.70
  9/22/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.78   $   15.00   $ 143.35   $   58.38   $   201.73
  9/29/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   48.83   $   15.00   $ 146.50   $   66.25   $   212.75
  10/6/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   42.98   $   15.00   $ 128.95   $   22.38   $   151.33
 10/13/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   45.98   $   15.00   $ 137.95   $   44.88   $   182.83
 10/20/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   45.68   $   15.00   $ 137.05   $   42.63   $   179.68
 10/27/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   45.48   $   15.00   $ 136.45   $   41.13   $   177.58



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   Week                                                                         State Section 7: Section 7: Total Section 7
                                                                Hourly Hours/
  Ending                           Name                                       Minimum Regular Half-time Overtime Back
                                                                 Rate Week
   Date                                                                        Wage   Rate Due     Due       Wages Due

 11/10/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   44.63   $   15.00   $   133.90   $ 34.75    $   168.65
 11/24/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.97   $   15.00   $   140.90   $ 52.25    $   193.15
  12/1/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   45.95   $   15.00   $   137.85   $ 44.63    $   182.48
  12/8/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.50   $   15.00   $   139.50   $ 48.75    $   188.25
 12/15/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   48.63   $   15.00   $   145.90   $ 64.75    $   210.65
 12/22/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   44.40   $   15.00   $   133.20   $ 33.00    $   166.20
 12/29/2019 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   46.80   $   15.00   $   140.40   $ 51.00    $   191.40
   1/5/2020 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   45.65   $   15.00   $   136.95   $ 42.37    $   179.33
  1/12/2020 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   47.53   $   15.00   $   142.60   $ 56.50    $   199.10
  1/19/2020 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   49.90   $   15.00   $   149.70   $ 74.25    $   223.95
  1/26/2020 Julio Cesar Guedez Yepez - Used Car Valet            $12.00   48.03   $   15.00   $   144.10   $ 60.25    $   204.35
  5/26/2019 Julio Lino                                           $15.00   43.37   $   15.00                $ 25.25    $    25.25
   6/9/2019 Julio Lino                                           $15.00   50.87   $   15.00                $ 81.50    $    81.50
  6/16/2019 Julio Lino                                           $15.00   58.48   $   15.00                $ 138.63   $   138.63
  6/30/2019 Julio Lino                                           $15.00   62.72   $   15.00                $ 170.38   $   170.38
   7/7/2019 Julio Lino                                           $10.00   41.40   $   15.00   $   207.00   $ 10.50    $   217.50
  7/14/2019 Julio Lino                                           $10.00   63.85   $   15.00   $   319.25   $ 178.88   $   498.13
  7/21/2019 Julio Lino                                           $10.00   55.00   $   15.00   $   275.00   $ 112.50   $   387.50
  7/28/2019 Julio Lino                                           $10.00   58.33   $   15.00   $   291.67   $ 137.50   $   429.17
   8/4/2019 Julio Lino                                           $10.00   58.70   $   15.00   $   293.50   $ 140.25   $   433.75
  8/18/2019 Julio Lino                                           $10.00   49.90   $   15.00   $   249.50   $ 74.25    $   323.75
  8/25/2019 Julio Lino                                           $10.00   58.80   $   15.00   $   294.00   $ 141.00   $   435.00
   9/8/2019 Julio Lino                                           $10.00   49.47   $   15.00   $   247.33   $ 71.00    $   318.33
  9/15/2019 Julio Lino                                           $10.00   46.07   $   15.00   $   230.33   $ 45.50    $   275.83
  9/22/2019 Julio Lino                                           $10.00   58.22   $   15.00   $   291.08   $ 136.63   $   427.71
  9/29/2019 Julio Lino                                           $10.00   57.63   $   15.00   $   288.17   $ 132.25   $   420.42
  10/6/2019 Julio Lino                                           $10.00   59.68   $   15.00   $   298.42   $ 147.63   $   446.04
  4/28/2019 Julio Matos                                          $15.00   40.80   $   15.00                $   6.00   $     6.00
   5/5/2019 Julio Matos                                          $15.00   46.67   $   15.00                $ 50.00    $    50.00
  5/12/2019 Julio Matos                                          $15.00   41.90   $   15.00                $ 14.25    $    14.25
  5/19/2019 Julio Matos                                          $15.00   44.55   $   15.00                $ 34.13    $    34.13
   6/9/2019 Julio Matos                                          $15.00   44.63   $   15.00                $ 34.75    $    34.75
  6/16/2019 Julio Matos                                          $15.00   43.35   $   15.00                $ 25.13    $    25.13
  6/23/2019 Julio Matos                                          $15.00   44.53   $   15.00                $ 34.00    $    34.00
  4/23/2017 Kau Shun Chan                                        $13.00   48.33   $   11.00                $ 54.17    $    54.17
  4/30/2017 Kau Shun Chan                                        $13.00   56.92   $   11.00                $ 109.96   $   109.96
   5/7/2017 Kau Shun Chan                                        $13.00   46.07   $   11.00                $ 39.43    $    39.43
  5/14/2017 Kau Shun Chan                                        $13.00   49.23   $   11.00                $ 60.02    $    60.02
  5/21/2017 Kau Shun Chan                                        $13.00   50.67   $   11.00                $ 69.33    $    69.33
  5/28/2017 Kau Shun Chan                                        $13.00   42.12   $   11.00                $ 13.76    $    13.76
  6/11/2017 Kau Shun Chan                                        $13.00   42.48   $   11.00                $ 16.14    $    16.14
  6/18/2017 Kau Shun Chan                                        $13.00   50.00   $   11.00                $ 65.00    $    65.00
  6/25/2017 Kau Shun Chan                                        $13.00   42.05   $   11.00                $ 13.33    $    13.33
  7/16/2017 Kau Shun Chan                                        $13.00   43.22   $   11.00                $ 20.91    $    20.91
  7/23/2017 Kau Shun Chan                                        $13.00   41.43   $   11.00                $   9.32   $     9.32
  7/30/2017 Kau Shun Chan                                        $13.00   50.65   $   11.00                $ 69.23    $    69.23
   8/6/2017 Kau Shun Chan                                        $13.00   40.27   $   11.00                $   1.73   $     1.73
  8/13/2017 Kau Shun Chan                                        $13.00   40.18   $   11.00                $   1.19   $     1.19
  8/20/2017 Kau Shun Chan                                        $13.00   40.48   $   11.00                $   3.14   $     3.14
   9/3/2017 Kau Shun Chan                                        $13.00   41.20   $   11.00                $   7.80   $     7.80
  9/17/2017 Kau Shun Chan                                        $13.00   45.02   $   11.00                $ 32.61    $    32.61
  9/24/2017 Kau Shun Chan                                        $13.00   53.90   $   11.00                $ 90.35    $    90.35
  10/1/2017 Kau Shun Chan                                        $13.00   49.43   $   11.00                $ 61.32    $    61.32
  10/8/2017 Kau Shun Chan                                        $13.00   41.10   $   11.00                $   7.15   $     7.15
 10/15/2017 Kau Shun Chan                                        $13.00   51.43   $   11.00                $ 74.32    $    74.32
 10/22/2017 Kau Shun Chan                                        $13.00   49.30   $   11.00                $ 60.45    $    60.45
 10/29/2017 Kau Shun Chan                                        $13.00   41.52   $   11.00                $   9.86   $     9.86
  11/5/2017 Kau Shun Chan                                        $13.00   49.57   $   11.00                $ 62.18    $    62.18



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   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                    Name                              Minimum Regular Half-time Overtime Back
                                                 Rate Week
   Date                                                        Wage   Rate Due     Due       Wages Due

 11/12/2017 Kau Shun Chan                        $13.00   40.90   $   11.00              $   5.85   $     5.85
 11/19/2017 Kau Shun Chan                        $13.00   40.35   $   11.00              $   2.27   $     2.27
  12/3/2017 Kau Shun Chan                        $13.00   47.63   $   11.00              $ 49.62    $    49.62
   2/5/2017 Kelvin Arias                          $9.00   57.12   $   11.00   $ 114.23   $ 94.14    $   208.38
  2/12/2017 Kelvin Arias                          $9.00   54.20   $   11.00   $ 108.40   $ 78.10    $   186.50
  2/19/2017 Kelvin Arias                          $9.00   56.88   $   11.00   $ 113.77   $ 92.86    $   206.63
  2/26/2017 Kelvin Arias                          $9.00   44.65   $   11.00   $ 89.30    $ 25.58    $   114.88
  3/19/2017 Kelvin Arias                          $9.00   52.15   $   11.00   $ 104.30   $ 66.83    $   171.13
  3/26/2017 Kelvin Arias                          $9.00   57.10   $   11.00   $ 114.20   $ 94.05    $   208.25
   4/2/2017 Kelvin Arias                          $9.00   57.15   $   11.00   $ 114.30   $ 94.33    $   208.63
   4/9/2017 Kelvin Arias                          $9.00   53.45   $   11.00   $ 106.90   $ 73.98    $   180.88
  4/16/2017 Kelvin Arias                          $9.00   55.55   $   11.00   $ 111.10   $ 85.53    $   196.63
  4/23/2017 Kelvin Arias                          $9.00   63.68   $   11.00   $ 127.37   $ 130.26   $   257.63
  4/30/2017 Kelvin Arias                          $9.00   57.20   $   11.00   $ 114.40   $ 94.60    $   209.00
   5/7/2017 Kelvin Arias                          $9.00   57.28   $   11.00   $ 114.57   $ 95.06    $   209.63
  5/14/2017 Kelvin Arias                          $9.00   57.18   $   11.00   $ 114.37   $ 94.51    $   208.88
  5/21/2017 Kelvin Arias                          $9.00   57.43   $   11.00   $ 114.87   $ 95.88    $   210.75
  5/28/2017 Kelvin Arias                          $9.00   58.47   $   11.00   $ 116.93   $ 101.57   $   218.50
   6/4/2017 Kelvin Arias                          $9.00   49.12   $   11.00   $ 98.23    $ 50.14    $   148.38
  6/11/2017 Kelvin Arias                          $9.00   59.45   $   11.00   $ 118.90   $ 106.98   $   225.88
  6/18/2017 Kelvin Arias                          $9.00   70.17   $   11.00   $ 140.33   $ 165.92   $   306.25
  6/25/2017 Kelvin Arias                          $9.00   59.48   $   11.00   $ 118.97   $ 107.16   $   226.13
   7/2/2017 Kelvin Arias                          $9.00   59.33   $   11.00   $ 118.67   $ 106.33   $   225.00
   7/9/2017 Kelvin Arias                          $9.00   49.37   $   11.00   $ 98.73    $ 51.52    $   150.25
  7/16/2017 Kelvin Arias                          $9.00   59.40   $   11.00   $ 118.80   $ 106.70   $   225.50
  7/23/2017 Kelvin Arias                          $9.00   49.22   $   11.00   $ 98.43    $ 50.69    $   149.13
  7/30/2017 Kelvin Arias                          $9.00   50.50   $   11.00   $ 101.00   $ 57.75    $   158.75
   8/6/2017 Kelvin Arias                          $9.00   50.28   $   11.00   $ 100.57   $ 56.56    $   157.13
  8/13/2017 Kelvin Arias                          $9.00   50.60   $   11.00   $ 101.20   $ 58.30    $   159.50
  8/20/2017 Kelvin Arias                          $9.00   56.20   $   11.00   $ 112.40   $ 89.10    $   201.50
  8/27/2017 Kelvin Arias                          $9.00   45.25   $   11.00   $ 90.50    $ 28.88    $   119.38
   9/3/2017 Kelvin Arias                          $9.00   44.82   $   11.00   $ 89.63    $ 26.49    $   116.13
  9/10/2017 Kelvin Arias                          $9.00   66.18   $   11.00   $ 132.37   $ 144.01   $   276.38
  9/17/2017 Kelvin Arias                          $9.00   56.25   $   11.00   $ 112.50   $ 89.38    $   201.88
  9/24/2017 Kelvin Arias                          $9.00   56.28   $   11.00   $ 112.57   $ 89.56    $   202.13
  10/1/2017 Kelvin Arias                          $9.00   57.32   $   11.00   $ 114.63   $ 95.24    $   209.88
  10/8/2017 Kelvin Arias                          $9.00   69.15   $   11.00   $ 138.30   $ 160.33   $   298.63
 10/15/2017 Kelvin Arias                          $9.00   58.70   $   11.00   $ 117.40   $ 102.85   $   220.25
 10/22/2017 Kelvin Arias                          $9.00   59.85   $   11.00   $ 119.70   $ 109.18   $   228.88
 10/29/2017 Kelvin Arias                          $9.00   54.37   $   11.00   $ 108.73   $ 79.02    $   187.75
 11/12/2017 Kelvin Arias                          $9.00   40.17   $   11.00   $ 80.33    $   0.92   $    81.25
 11/19/2017 Kelvin Arias                          $9.00   40.85   $   11.00   $ 81.70    $   4.68   $    86.38
 12/10/2017 Kelvin Arias                          $9.00   53.73   $   11.00   $ 107.47   $ 75.53    $   183.00
 12/24/2017 Kelvin Arias                          $9.00   46.30   $   11.00   $ 92.60    $ 34.65    $   127.25
 12/31/2017 Kelvin Arias                          $9.00   45.88   $   13.00   $ 183.53   $ 38.24    $   221.78
   1/7/2018 Kelvin Arias                          $9.00   43.82   $   13.00   $ 175.27   $ 24.81    $   200.08
  1/14/2018 Kelvin Arias                          $9.00   50.68   $   13.00   $ 202.73   $ 69.44    $   272.18
  4/22/2018 Kelvin Arias                          $9.00   43.48   $   13.00   $ 173.93   $ 22.64    $   196.58
  4/29/2018 Kelvin Arias                          $9.00   44.62   $   13.00   $ 178.47   $ 30.01    $   208.48
   5/6/2018 Kelvin Arias                          $9.00   44.23   $   13.00   $ 176.93   $ 27.52    $   204.45
  5/13/2018 Kelvin Arias                          $9.00   51.58   $   13.00   $ 206.33   $ 75.29    $   281.63
  5/20/2018 Kelvin Arias                          $9.00   49.58   $   13.00   $ 198.33   $ 62.29    $   260.63
  5/27/2018 Kelvin Arias                          $9.00   57.88   $   13.00   $ 231.53   $ 116.24   $   347.78
   6/3/2018 Kelvin Arias                          $9.00   50.88   $   13.00   $ 203.53   $ 70.74    $   274.28
  6/10/2018 Kelvin Arias                          $9.00   42.40   $   13.00   $ 169.60   $ 15.60    $   185.20
  6/17/2018 Kelvin Arias                          $9.00   45.73   $   13.00   $ 182.93   $ 37.27    $   220.20
  6/24/2018 Kelvin Arias                          $9.00   51.32   $   13.00   $ 205.27   $ 73.56    $   278.83
   7/1/2018 Kelvin Arias                          $9.00   52.65   $   13.00   $ 210.60   $ 82.23    $   292.83



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   Week                                                                 State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
  Ending                            Name                              Minimum Regular Half-time Overtime Back
                                                         Rate Week
   Date                                                                Wage   Rate Due     Due       Wages Due

   7/8/2018 Kelvin Arias                                  $9.00   50.45   $   13.00   $   201.80   $ 67.93    $   269.73
  7/15/2018 Kelvin Arias                                  $9.00   59.35   $   13.00   $   237.40   $ 125.78   $   363.18
  7/22/2018 Kelvin Arias                                  $9.00   49.47   $   13.00   $   197.87   $ 61.53    $   259.40
  7/29/2018 Kelvin Arias                                  $9.00   54.88   $   13.00   $   219.53   $ 96.74    $   316.28
   8/5/2018 Kelvin Arias                                  $9.00   59.80   $   13.00   $   239.20   $ 128.70   $   367.90
  8/12/2018 Kelvin Arias                                  $9.00   60.32   $   13.00   $   241.27   $ 132.06   $   373.33
  8/19/2018 Kelvin Arias                                  $9.00   55.93   $   13.00   $   223.73   $ 103.57   $   327.30
  8/26/2018 Kelvin Arias                                  $9.00   54.15   $   13.00   $   216.60   $ 91.98    $   308.58
   9/2/2018 Kelvin Arias                                  $9.00   50.32   $   13.00   $   201.27   $ 67.06    $   268.33
   9/9/2018 Kelvin Arias                                  $9.00   59.93   $   13.00   $   239.73   $ 129.57   $   369.30
  9/16/2018 Kelvin Arias                                  $9.00   61.42   $   13.00   $   245.67   $ 139.21   $   384.88
  9/23/2018 Kelvin Arias                                  $9.00   54.37   $   13.00   $   217.47   $ 93.38    $   310.85
  9/30/2018 Kelvin Arias                                  $9.00   56.02   $   13.00   $   224.07   $ 104.11   $   328.18
  10/7/2018 Kelvin Arias                                  $9.00   56.52   $   13.00   $   226.07   $ 107.36   $   333.43
   2/3/2019 Kenneth Cuomo                                $19.00   50.47   $   15.00                $ 99.43    $    99.43
  2/10/2019 Kenneth Cuomo                                $19.00   44.62   $   15.00                $ 43.86    $    43.86
  2/17/2019 Kenneth Cuomo                                $19.00   52.78   $   15.00                $ 121.44   $   121.44
  2/24/2019 Kenneth Cuomo                                $19.00   47.05   $   15.00                $ 66.98    $    66.98
   3/3/2019 Kenneth Cuomo                                $19.00   57.43   $   15.00                $ 165.62   $   165.62
  3/10/2019 Kenneth Cuomo                                $19.00   54.03   $   15.00                $ 133.32   $   133.32
  3/17/2019 Kenneth Cuomo                                $19.00   43.50   $   15.00                $ 33.25    $    33.25
  3/24/2019 Kenneth Cuomo                                $19.00   57.35   $   15.00                $ 164.83   $   164.83
  3/31/2019 Kenneth Cuomo                                $19.00   74.87   $   15.00                $ 331.23   $   331.23
   4/7/2019 Kenneth Cuomo                                $19.00   73.15   $   15.00                $ 314.93   $   314.93
  4/21/2019 Kenneth Cuomo                                $19.00   77.73   $   15.00                $ 358.47   $   358.47
  4/28/2019 Kenneth Cuomo                                $19.00   72.98   $   15.00                $ 313.34   $   313.34
   5/5/2019 Kenneth Cuomo                                $19.00   59.57   $   15.00                $ 185.88   $   185.88
  5/12/2019 Kenneth Cuomo                                $19.00   77.88   $   15.00                $ 359.89   $   359.89
  5/19/2019 Kenneth Cuomo                                $19.00   55.58   $   15.00                $ 148.04   $   148.04
  5/26/2019 Kenneth Cuomo                                $19.00   74.48   $   15.00                $ 327.59   $   327.59
   6/9/2019 Kenneth Cuomo                                $19.00   47.05   $   15.00                $ 66.98    $    66.98
   8/5/2018 Kenny Rodriguez                               $9.00   60.83   $   13.00   $   243.33   $ 135.42   $   378.75
  8/12/2018 Kenny Rodriguez                               $9.00   51.08   $   13.00   $   204.33   $ 72.04    $   276.38
 11/10/2019 Keon Dillon                                  $12.50   45.35   $   15.00   $   113.38   $ 40.13    $   153.50
 11/17/2019 Keon Dillon                                  $12.50   58.42   $   15.00   $   146.04   $ 138.13   $   284.17
 11/24/2019 Keon Dillon                                  $12.50   53.97   $   15.00   $   134.92   $ 104.75   $   239.67
  12/1/2019 Keon Dillon                                  $12.50   54.60   $   15.00   $   136.50   $ 109.50   $   246.00
  12/8/2019 Keon Dillon                                  $12.50   60.70   $   15.00   $   151.75   $ 155.25   $   307.00
 12/15/2019 Keon Dillon                                  $12.50   65.28   $   15.00   $   163.21   $ 189.63   $   352.83
 12/22/2019 Keon Dillon                                  $12.50   43.20   $   15.00   $   108.00   $ 24.00    $   132.00
 12/29/2019 Keon Dillon                                  $12.50   42.40   $   15.00   $   106.00   $ 18.00    $   124.00
   1/5/2020 Keon Dillon                                  $12.50   42.55   $   15.00   $   106.38   $ 19.13    $   125.50
  1/12/2020 Keon Dillon                                  $12.50   54.18   $   15.00   $   135.46   $ 106.38   $   241.83
  1/19/2020 Keon Dillon                                  $12.50   70.63   $   15.00   $   176.58   $ 229.75   $   406.33
  1/26/2020 Keon Dillon                                  $12.50   71.38   $   15.00   $   178.46   $ 235.38   $   413.83
  4/22/2018 Kessel Garibaldy Mauricio                    $16.50   61.00   $   13.00                $ 173.25   $   173.25
  4/29/2018 Kessel Garibaldy Mauricio                    $16.50   54.62   $   13.00                $ 120.59   $   120.59
   5/6/2018 Kessel Garibaldy Mauricio                    $16.50   59.62   $   13.00                $ 161.84   $   161.84
  5/13/2018 Kessel Garibaldy Mauricio                    $16.50   66.22   $   13.00                $ 216.29   $   216.29
  5/20/2018 Kessel Garibaldy Mauricio                    $16.50   67.08   $   13.00                $ 223.44   $   223.44
  5/27/2018 Kessel Garibaldy Mauricio                    $16.50   75.13   $   13.00                $ 289.85   $   289.85
   6/3/2018 Kessel Garibaldy Mauricio                    $16.50   54.12   $   13.00                $ 116.46   $   116.46
  6/10/2018 Kessel Garibaldy Mauricio                    $16.50   70.83   $   13.00                $ 254.38   $   254.38
  6/17/2018 Kessel Garibaldy Mauricio                    $16.50   57.53   $   13.00                $ 144.65   $   144.65
  6/24/2018 Kessel Garibaldy Mauricio                    $16.50   54.35   $   13.00                $ 118.39   $   118.39
   7/1/2018 Kessel Garibaldy Mauricio                    $16.50   57.02   $   13.00                $ 140.39   $   140.39
   7/8/2018 Kessel Garibaldy Mauricio                    $16.50   54.52   $   13.00                $ 119.76   $   119.76
  7/15/2018 Kessel Garibaldy Mauricio                    $16.50   50.72   $   13.00                $ 88.41    $    88.41



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   Week                                                                        State Section 7: Section 7: Total Section 7
                                                               Hourly Hours/
  Ending                           Name                                      Minimum Regular Half-time Overtime Back
                                                                Rate Week
   Date                                                                       Wage   Rate Due     Due       Wages Due

  7/22/2018 Kessel Garibaldy Mauricio                           $16.50   51.97   $   13.00                $ 98.73    $    98.73
  5/26/2019 Kessel Garibaldy Mauricio                           $16.50   45.35   $   15.00                $ 44.14    $    44.14
   6/2/2019 Kessel Garibaldy Mauricio                           $16.50   40.50   $   15.00                $   4.13   $     4.13
   6/9/2019 Kessel Garibaldy Mauricio                           $16.50   48.65   $   15.00                $ 71.36    $    71.36
  6/16/2019 Kessel Garibaldy Mauricio                           $16.50   60.67   $   15.00                $ 170.50   $   170.50
  6/23/2019 Kessel Garibaldy Mauricio                           $16.50   49.35   $   15.00                $ 77.14    $    77.14
  6/30/2019 Kessel Garibaldy Mauricio                           $16.50   53.70   $   15.00                $ 113.03   $   113.03
   7/7/2019 Kessel Garibaldy Mauricio                           $16.50   52.35   $   15.00                $ 101.89   $   101.89
  7/14/2019 Kessel Garibaldy Mauricio                           $16.50   60.28   $   15.00                $ 167.34   $   167.34
  7/21/2019 Kessel Garibaldy Mauricio                           $16.50   54.62   $   15.00                $ 120.59   $   120.59
  7/28/2019 Kessel Garibaldy Mauricio                           $16.50   65.52   $   15.00                $ 210.51   $   210.51
   8/4/2019 Kessel Garibaldy Mauricio                           $16.50   48.42   $   15.00                $ 69.44    $    69.44
  8/11/2019 Kessel Garibaldy Mauricio                           $19.50   54.43   $   15.00                $ 140.73   $   140.73
  8/18/2019 Kessel Garibaldy Mauricio                           $19.50   57.78   $   15.00                $ 173.39   $   173.39
  8/25/2019 Kessel Garibaldy Mauricio                           $19.50   52.03   $   15.00                $ 117.33   $   117.33
   9/1/2019 Kessel Garibaldy Mauricio                           $19.50   62.32   $   15.00                $ 217.59   $   217.59
   9/8/2019 Kessel Garibaldy Mauricio                           $19.50   45.63   $   15.00                $ 54.93    $    54.93
  9/15/2019 Kessel Garibaldy Mauricio                           $19.50   49.50   $   15.00                $ 92.63    $    92.63
  9/22/2019 Kessel Garibaldy Mauricio                           $19.50   61.82   $   15.00                $ 212.71   $   212.71
  9/29/2019 Kessel Garibaldy Mauricio                           $19.50   42.23   $   15.00                $ 21.78    $    21.78
  10/6/2019 Kessel Garibaldy Mauricio                           $19.50   65.80   $   15.00                $ 251.55   $   251.55
 10/13/2019 Kessel Garibaldy Mauricio                           $19.50   66.20   $   15.00                $ 255.45   $   255.45
 10/20/2019 Kessel Garibaldy Mauricio                           $19.50   44.73   $   15.00                $ 46.15    $    46.15
 10/27/2019 Kessel Garibaldy Mauricio                           $19.50   55.87   $   15.00                $ 154.70   $   154.70
  11/3/2019 Kessel Garibaldy Mauricio                           $19.50   58.30   $   15.00                $ 178.43   $   178.43
 11/10/2019 Kessel Garibaldy Mauricio                           $19.50   42.83   $   15.00                $ 27.63    $    27.63
 11/17/2019 Kessel Garibaldy Mauricio                           $19.50   48.40   $   15.00                $ 81.90    $    81.90
  12/1/2019 Kessel Garibaldy Mauricio                           $19.50   42.93   $   15.00                $ 28.60    $    28.60
  12/8/2019 Kessel Garibaldy Mauricio                           $19.50   56.30   $   15.00                $ 158.93   $   158.93
 12/15/2019 Kessel Garibaldy Mauricio                           $19.50   57.72   $   15.00                $ 172.74   $   172.74
 12/22/2019 Kessel Garibaldy Mauricio                           $19.50   68.97   $   15.00                $ 282.43   $   282.43
 12/29/2019 Kessel Garibaldy Mauricio                           $19.50   48.22   $   15.00                $ 80.11    $    80.11
   1/5/2020 Kessel Garibaldy Mauricio                           $19.50   47.17   $   15.00                $ 69.88    $    69.88
  1/12/2020 Kessel Garibaldy Mauricio                           $19.50   67.23   $   15.00                $ 265.53   $   265.53
  1/19/2020 Kessel Garibaldy Mauricio                           $19.50   60.73   $   15.00                $ 202.15   $   202.15
  1/26/2020 Kessel Garibaldy Mauricio                           $19.50   74.23   $   15.00                $ 333.78   $   333.78
 10/14/2018 Kevin Freeman                                       $16.50   48.00   $   13.00                $ 66.00    $    66.00
 10/21/2018 Kevin Freeman                                       $16.50   52.37   $   13.00                $ 102.03   $   102.03
 10/21/2018 Kilmer Joel Rodriguez                                $9.00   55.18   $   13.00   $   220.73   $ 98.69    $   319.43
 10/28/2018 Kilmer Joel Rodriguez                                $9.00   54.45   $   13.00   $   217.80   $ 93.93    $   311.73
  11/4/2018 Kilmer Joel Rodriguez                                $9.00   45.73   $   13.00   $   182.93   $ 37.27    $   220.20
   7/7/2019 Kirsi Gonzalez Rosario - @ Showroom                 $11.50   51.92   $   15.00   $   181.71   $ 89.37    $   271.08
  7/14/2019 Kirsi Gonzalez Rosario - @ Showroom                 $11.50   61.25   $   15.00   $   214.38   $ 159.38   $   373.75
  7/21/2019 Kirsi Gonzalez Rosario - @ Showroom                 $11.50   65.33   $   15.00   $   228.67   $ 190.00   $   418.67
  7/28/2019 Kirsi Gonzalez Rosario - @ Showroom                 $11.50   59.77   $   15.00   $   209.18   $ 148.25   $   357.43
   8/4/2019 Kirsi Gonzalez Rosario - @ Showroom                 $11.50   62.27   $   15.00   $   217.93   $ 167.00   $   384.93
  8/11/2019 Kirsi Gonzalez Rosario - @ Showroom                 $11.50   51.10   $   15.00   $   178.85   $ 83.25    $   262.10
  8/18/2019 Kirsi Gonzalez Rosario - @ Showroom                 $11.50   63.37   $   15.00   $   221.78   $ 175.25   $   397.03
  8/25/2019 Kirsi Gonzalez Rosario - @ Showroom                 $11.50   65.08   $   15.00   $   227.79   $ 188.13   $   415.92
   9/1/2019 Kirsi Gonzalez Rosario - @ Showroom                 $11.50   65.37   $   15.00   $   228.78   $ 190.25   $   419.03
   9/8/2019 Kirsi Gonzalez Rosario - @ Showroom                 $11.50   53.72   $   15.00   $   188.01   $ 102.88   $   290.88
  9/15/2019 Kirsi Gonzalez Rosario - @ Showroom                 $11.50   64.80   $   15.00   $   226.80   $ 186.00   $   412.80
  9/22/2019 Kirsi Gonzalez Rosario - @ Showroom                 $11.50   65.20   $   15.00   $   228.20   $ 189.00   $   417.20
  9/29/2019 Kirsi Gonzalez Rosario - @ Showroom                 $11.50   65.10   $   15.00   $   227.85   $ 188.25   $   416.10
  10/6/2019 Kirsi Gonzalez Rosario - @ Showroom                 $11.50   65.93   $   15.00   $   230.77   $ 194.50   $   425.27
 10/13/2019 Kirsi Gonzalez Rosario - @ Showroom                 $11.50   53.83   $   15.00   $   188.42   $ 103.75   $   292.17
 10/20/2019 Kirsi Gonzalez Rosario - @ Showroom                 $11.50   50.77   $   15.00   $   177.68   $ 80.75    $   258.43
 10/27/2019 Kirsi Gonzalez Rosario - @ Showroom                 $11.50   59.13   $   15.00   $   206.97   $ 143.50   $   350.47



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   Week                                                                            State Section 7: Section 7: Total Section 7
                                                                   Hourly Hours/
  Ending                             Name                                        Minimum Regular Half-time Overtime Back
                                                                    Rate Week
   Date                                                                           Wage   Rate Due     Due       Wages Due

  11/3/2019 Kirsi Gonzalez Rosario - @ Showroom                     $11.50   59.02   $   15.00   $   206.56   $ 142.63   $   349.18
 11/10/2019 Kirsi Gonzalez Rosario - @ Showroom                     $11.50   58.75   $   15.00   $   205.63   $ 140.63   $   346.25
 11/17/2019 Kirsi Gonzalez Rosario - @ Showroom                     $11.50   58.80   $   15.00   $   205.80   $ 141.00   $   346.80
 11/24/2019 Kirsi Gonzalez Rosario - @ Showroom                     $11.50   59.25   $   15.00   $   207.38   $ 144.38   $   351.75
  12/1/2019 Kirsi Gonzalez Rosario - @ Showroom                     $11.50   50.38   $   15.00   $   176.34   $ 77.88    $   254.22
  12/8/2019 Kirsi Gonzalez Rosario - @ Showroom                     $11.50   60.62   $   15.00   $   212.16   $ 154.63   $   366.78
 12/15/2019 Kirsi Gonzalez Rosario - @ Showroom                     $11.50   62.48   $   15.00   $   218.69   $ 168.63   $   387.32
 12/22/2019 Kirsi Gonzalez Rosario - @ Showroom                     $11.50   60.40   $   15.00   $   211.40   $ 153.00   $   364.40
 12/29/2019 Kirsi Gonzalez Rosario - @ Showroom                     $11.50   47.62   $   15.00   $   166.66   $ 57.13    $   223.78
   1/5/2020 Kirsi Gonzalez Rosario - @ Showroom                     $11.50   47.70   $   15.00   $   166.95   $ 57.75    $   224.70
  1/12/2020 Kirsi Gonzalez Rosario - @ Showroom                     $11.50   61.07   $   15.00   $   213.73   $ 158.00   $   371.73
  1/19/2020 Kirsi Gonzalez Rosario - @ Showroom                     $11.50   65.37   $   15.00   $   228.78   $ 190.25   $   419.03
  1/26/2020 Kirsi Gonzalez Rosario - @ Showroom                     $11.50   68.52   $   15.00   $   239.81   $ 213.88   $   453.68
   6/2/2019 Kirsi Gonzalez Rosario - Service Dispatcher             $15.00   52.97   $   15.00                $ 97.25    $    97.25
  6/16/2019 Kirsi Gonzalez Rosario - Service Dispatcher             $15.00   63.33   $   15.00                $ 175.00   $   175.00
  6/23/2019 Kirsi Gonzalez Rosario - Service Dispatcher             $15.00   51.92   $   15.00                $ 89.38    $    89.38
  6/30/2019 Kirsi Gonzalez Rosario - Service Dispatcher             $15.00   59.18   $   15.00                $ 143.88   $   143.88
  9/22/2019 Leonardo Grullon                                        $15.00   62.13   $   15.00                $ 166.00   $   166.00
   2/5/2017 Leonel Mendoza - Detailer                               $12.00   46.13   $   11.00                $ 36.80    $    36.80
  2/19/2017 Leonel Mendoza - Detailer                               $12.00   45.28   $   11.00                $ 31.70    $    31.70
  2/26/2017 Leonel Mendoza - Detailer                               $12.00   51.02   $   11.00                $ 66.10    $    66.10
   3/5/2017 Leonel Mendoza - Detailer                               $12.00   51.33   $   11.00                $ 68.00    $    68.00
  3/12/2017 Leonel Mendoza - Detailer                               $12.00   48.33   $   11.00                $ 50.00    $    50.00
  3/19/2017 Leonel Mendoza - Detailer                               $12.00   45.53   $   11.00                $ 33.20    $    33.20
  3/26/2017 Leonel Mendoza - Detailer                               $12.00   55.72   $   11.00                $ 94.30    $    94.30
   4/2/2017 Leonel Mendoza - Detailer                               $12.00   63.08   $   11.00                $ 138.50   $   138.50
   4/9/2017 Leonel Mendoza - Detailer                               $12.00   56.87   $   11.00                $ 101.20   $   101.20
  4/16/2017 Leonel Mendoza - Detailer                               $12.00   55.37   $   11.00                $ 92.20    $    92.20
  4/23/2017 Leonel Mendoza - Detailer                               $12.00   59.28   $   11.00                $ 115.70   $   115.70
  4/30/2017 Leonel Mendoza - Detailer                               $12.00   54.35   $   11.00                $ 86.10    $    86.10
   5/7/2017 Leonel Mendoza - Detailer                               $12.00   56.68   $   11.00                $ 100.10   $   100.10
  5/14/2017 Leonel Mendoza - Detailer                               $12.00   56.00   $   11.00                $ 96.00    $    96.00
  5/21/2017 Leonel Mendoza - Detailer                               $12.00   56.02   $   11.00                $ 96.10    $    96.10
  5/28/2017 Leonel Mendoza - Detailer                               $12.00   56.03   $   11.00                $ 96.20    $    96.20
   6/4/2017 Leonel Mendoza - Detailer                               $12.00   56.90   $   11.00                $ 101.40   $   101.40
  6/11/2017 Leonel Mendoza - Detailer                               $12.00   52.72   $   11.00                $ 76.30    $    76.30
  6/18/2017 Leonel Mendoza - Detailer                               $12.00   51.88   $   11.00                $ 71.30    $    71.30
  6/25/2017 Leonel Mendoza - Detailer                               $12.00   52.63   $   11.00                $ 75.80    $    75.80
   7/2/2017 Leonel Mendoza - Detailer                               $12.00   57.73   $   11.00                $ 106.40   $   106.40
   7/9/2017 Leonel Mendoza - Detailer                               $12.00   48.17   $   11.00                $ 49.00    $    49.00
  7/16/2017 Leonel Mendoza - Detailer                               $12.00   56.05   $   11.00                $ 96.30    $    96.30
  7/23/2017 Leonel Mendoza - Detailer                               $12.00   53.42   $   11.00                $ 80.50    $    80.50
  7/30/2017 Leonel Mendoza - Detailer                               $12.00   54.88   $   11.00                $ 89.30    $    89.30
   8/6/2017 Leonel Mendoza - Detailer                               $12.00   58.75   $   11.00                $ 112.50   $   112.50
  8/13/2017 Leonel Mendoza - Detailer                               $12.00   57.90   $   11.00                $ 107.40   $   107.40
  8/20/2017 Leonel Mendoza - Detailer                               $12.00   58.33   $   11.00                $ 110.00   $   110.00
  8/27/2017 Leonel Mendoza - Detailer                               $12.00   58.75   $   11.00                $ 112.50   $   112.50
   9/3/2017 Leonel Mendoza - Detailer                               $12.00   58.73   $   11.00                $ 112.40   $   112.40
  9/10/2017 Leonel Mendoza - Detailer                               $12.00   47.72   $   11.00                $ 46.30    $    46.30
  9/24/2017 Leonel Mendoza - Detailer                               $12.00   58.55   $   11.00                $ 111.30   $   111.30
  10/1/2017 Leonel Mendoza - Detailer                               $12.00   57.60   $   11.00                $ 105.60   $   105.60
  10/8/2017 Leonel Mendoza - Detailer                               $12.00   58.22   $   11.00                $ 109.30   $   109.30
 10/15/2017 Leonel Mendoza - Detailer                               $12.00   55.50   $   11.00                $ 93.00    $    93.00
 10/22/2017 Leonel Mendoza - Detailer                               $12.00   50.38   $   11.00                $ 62.30    $    62.30
 10/29/2017 Leonel Mendoza - Detailer                               $12.00   53.47   $   11.00                $ 80.80    $    80.80
  11/5/2017 Leonel Mendoza - Detailer                               $12.00   55.25   $   11.00                $ 91.50    $    91.50
 11/12/2017 Leonel Mendoza - Detailer                               $12.00   49.78   $   11.00                $ 58.70    $    58.70
 11/19/2017 Leonel Mendoza - Detailer                               $12.00   48.92   $   11.00                $ 53.50    $    53.50



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   Week                                                                 State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
  Ending                            Name                              Minimum Regular Half-time Overtime Back
                                                         Rate Week
   Date                                                                Wage   Rate Due     Due       Wages Due

  12/3/2017 Leonel Mendoza - Detailer                    $12.00   48.83   $   11.00              $ 53.00    $    53.00
 12/10/2017 Leonel Mendoza - Detailer                    $12.00   53.73   $   11.00              $ 82.40    $    82.40
 12/17/2017 Leonel Mendoza - Detailer                    $12.00   52.07   $   11.00              $ 72.40    $    72.40
 12/24/2017 Leonel Mendoza - Detailer                    $12.00   58.72   $   11.00              $ 112.30   $   112.30
 12/31/2017 Leonel Mendoza - Detailer                    $12.00   46.50   $   13.00   $ 46.50    $ 42.25    $    88.75
  1/14/2018 Leonel Mendoza - Detailer                    $12.00   40.83   $   13.00   $ 40.83    $   5.42   $    46.25
  1/21/2018 Leonel Mendoza - Detailer                    $12.00   43.12   $   13.00   $ 43.12    $ 20.26    $    63.38
  1/28/2018 Leonel Mendoza - Detailer                    $12.00   50.50   $   13.00   $ 50.50    $ 68.25    $   118.75
   2/4/2018 Leonel Mendoza - Detailer                    $12.00   52.93   $   13.00   $ 52.93    $ 84.07    $   137.00
  2/18/2018 Leonel Mendoza - Detailer                    $12.00   48.07   $   13.00   $ 48.07    $ 52.43    $   100.50
  2/25/2018 Leonel Mendoza - Detailer                    $12.00   49.42   $   13.00   $ 49.42    $ 61.21    $   110.63
   3/4/2018 Leonel Mendoza - Detailer                    $12.00   53.50   $   13.00   $ 53.50    $ 87.75    $   141.25
  3/25/2018 Leonel Mendoza - Detailer                    $12.00   52.80   $   13.00   $ 52.80    $ 83.20    $   136.00
   4/1/2018 Leonel Mendoza - Detailer                    $12.00   58.78   $   13.00   $ 58.78    $ 122.09   $   180.88
   4/8/2018 Leonel Mendoza - Detailer                    $12.00   56.73   $   13.00   $ 56.73    $ 108.77   $   165.50
  4/15/2018 Leonel Mendoza - Detailer                    $12.00   58.22   $   13.00   $ 58.22    $ 118.41   $   176.63
  4/22/2018 Leonel Mendoza - Detailer                    $12.00   58.70   $   13.00   $ 58.70    $ 121.55   $   180.25
  4/29/2018 Leonel Mendoza - Detailer                    $12.00   57.68   $   13.00   $ 57.68    $ 114.94   $   172.63
   5/6/2018 Leonel Mendoza - Detailer                    $12.00   58.53   $   13.00   $ 58.53    $ 120.47   $   179.00
  5/13/2018 Leonel Mendoza - Detailer                    $12.00   58.15   $   13.00   $ 58.15    $ 117.98   $   176.13
  5/20/2018 Leonel Mendoza - Detailer                    $12.00   59.58   $   13.00   $ 59.58    $ 127.29   $   186.88
  5/27/2018 Leonel Mendoza - Detailer                    $12.00   57.25   $   13.00   $ 57.25    $ 112.13   $   169.38
   6/3/2018 Leonel Mendoza - Detailer                    $12.00   48.52   $   13.00   $ 48.52    $ 55.36    $   103.88
  6/10/2018 Leonel Mendoza - Detailer                    $12.00   57.28   $   13.00   $ 57.28    $ 112.34   $   169.63
  6/17/2018 Leonel Mendoza - Detailer                    $12.00   57.63   $   13.00   $ 57.63    $ 114.62   $   172.25
  6/24/2018 Leonel Mendoza - Detailer                    $12.00   58.67   $   13.00   $ 58.67    $ 121.33   $   180.00
   7/1/2018 Leonel Mendoza - Detailer                    $12.00   55.12   $   13.00   $ 55.12    $ 98.26    $   153.38
   7/8/2018 Leonel Mendoza - Detailer                    $12.00   46.57   $   13.00   $ 46.57    $ 42.68    $    89.25
  7/15/2018 Leonel Mendoza - Detailer                    $12.00   58.97   $   13.00   $ 58.97    $ 123.28   $   182.25
  7/22/2018 Leonel Mendoza - Detailer                    $12.00   50.28   $   13.00   $ 50.28    $ 66.84    $   117.13
  7/29/2018 Leonel Mendoza - Detailer                    $12.00   58.48   $   13.00   $ 58.48    $ 120.14   $   178.63
   8/5/2018 Leonel Mendoza - Detailer                    $12.00   59.47   $   13.00   $ 59.47    $ 126.53   $   186.00
  8/12/2018 Leonel Mendoza - Detailer                    $12.00   58.47   $   13.00   $ 58.47    $ 120.03   $   178.50
  8/19/2018 Leonel Mendoza - Detailer                    $12.00   57.65   $   13.00   $ 57.65    $ 114.73   $   172.38
  8/26/2018 Leonel Mendoza - Detailer                    $12.00   58.73   $   13.00   $ 58.73    $ 121.77   $   180.50
   9/2/2018 Leonel Mendoza - Detailer                    $12.00   58.85   $   13.00   $ 58.85    $ 122.53   $   181.38
   9/9/2018 Leonel Mendoza - Detailer                    $12.00   40.53   $   13.00   $ 40.53    $   3.47   $    44.00
  9/16/2018 Leonel Mendoza - Detailer                    $12.00   48.80   $   13.00   $ 48.80    $ 57.20    $   106.00
  9/23/2018 Leonel Mendoza - Detailer                    $12.00   57.13   $   13.00   $ 57.13    $ 111.37   $   168.50
  9/30/2018 Leonel Mendoza - Detailer                    $12.00   58.72   $   13.00   $ 58.72    $ 121.66   $   180.38
  10/7/2018 Leonel Mendoza - Detailer                    $12.00   59.12   $   13.00   $ 59.12    $ 124.26   $   183.38
 10/14/2018 Leonel Mendoza - Detailer                    $12.00   58.23   $   13.00   $ 58.23    $ 118.52   $   176.75
 10/21/2018 Leonel Mendoza - Detailer                    $12.00   58.07   $   13.00   $ 58.07    $ 117.43   $   175.50
 10/28/2018 Leonel Mendoza - Detailer                    $12.00   58.58   $   13.00   $ 58.58    $ 120.79   $   179.38
  11/4/2018 Leonel Mendoza - Detailer                    $12.00   48.10   $   13.00   $ 48.10    $ 52.65    $   100.75
 11/11/2018 Leonel Mendoza - Detailer                    $12.00   57.53   $   13.00   $ 57.53    $ 113.97   $   171.50
 11/18/2018 Leonel Mendoza - Detailer                    $12.00   57.47   $   13.00   $ 57.47    $ 113.53   $   171.00
  12/2/2018 Leonel Mendoza - Detailer                    $12.00   58.20   $   13.00   $ 58.20    $ 118.30   $   176.50
  12/9/2018 Leonel Mendoza - Detailer                    $12.00   57.50   $   13.00   $ 57.50    $ 113.75   $   171.25
 12/16/2018 Leonel Mendoza - Detailer                    $12.00   58.17   $   13.00   $ 58.17    $ 118.08   $   176.25
 12/23/2018 Leonel Mendoza - Detailer                    $12.00   58.23   $   13.00   $ 58.23    $ 118.52   $   176.75
  1/13/2019 Leonel Mendoza - Detailer                    $12.00   58.38   $   15.00   $ 175.15   $ 137.88   $   313.03
  1/20/2019 Leonel Mendoza - Detailer                    $12.00   58.18   $   15.00   $ 174.55   $ 136.38   $   310.93
  1/27/2019 Leonel Mendoza - Detailer                    $12.00   58.60   $   15.00   $ 175.80   $ 139.50   $   315.30
   2/3/2019 Leonel Mendoza - Detailer                    $12.00   59.02   $   15.00   $ 177.05   $ 142.63   $   319.68
  2/10/2019 Leonel Mendoza - Detailer                    $12.00   59.10   $   15.00   $ 177.30   $ 143.25   $   320.55
  2/17/2019 Leonel Mendoza - Detailer                    $12.00   59.33   $   15.00   $ 178.00   $ 145.00   $   323.00
  2/24/2019 Leonel Mendoza - Detailer                    $12.00   59.30   $   15.00   $ 177.90   $ 144.75   $   322.65



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   Week                                                                        State Section 7: Section 7: Total Section 7
                                                               Hourly Hours/
  Ending                          Name                                       Minimum Regular Half-time Overtime Back
                                                                Rate Week
   Date                                                                       Wage   Rate Due     Due       Wages Due

   3/3/2019 Leonel Mendoza - Detailer                           $12.00   58.17   $   15.00   $   174.50   $ 136.25   $   310.75
  3/10/2019 Leonel Mendoza - Detailer                           $12.00   58.87   $   15.00   $   176.60   $ 141.50   $   318.10
  3/17/2019 Leonel Mendoza - Detailer                           $12.00   58.37   $   15.00   $   175.10   $ 137.75   $   312.85
  3/24/2019 Leonel Mendoza - Detailer                           $12.00   58.70   $   15.00   $   176.10   $ 140.25   $   316.35
  3/31/2019 Leonel Mendoza - Detailer                           $12.00   58.53   $   15.00   $   175.60   $ 139.00   $   314.60
   4/7/2019 Leonel Mendoza - Detailer                           $12.00   58.57   $   15.00   $   175.70   $ 139.25   $   314.95
  4/14/2019 Leonel Mendoza - Detailer                           $12.00   58.00   $   15.00   $   174.00   $ 135.00   $   309.00
  4/21/2019 Leonel Mendoza - Detailer                           $12.00   58.68   $   15.00   $   176.05   $ 140.13   $   316.18
  4/28/2019 Leonel Mendoza - Detailer                           $12.00   58.80   $   15.00   $   176.40   $ 141.00   $   317.40
   5/5/2019 Leonel Mendoza - Detailer                           $12.00   59.50   $   15.00   $   178.50   $ 146.25   $   324.75
  5/12/2019 Leonel Mendoza - Detailer                           $12.00   59.22   $   15.00   $   177.65   $ 144.13   $   321.78
  5/19/2019 Leonel Mendoza - Detailer                           $12.00   59.00   $   15.00   $   177.00   $ 142.50   $   319.50
  5/26/2019 Leonel Mendoza - Detailer                           $12.00   58.33   $   15.00   $   175.00   $ 137.50   $   312.50
   6/2/2019 Leonel Mendoza - Detailer                           $12.00   57.35   $   15.00   $   172.05   $ 130.13   $   302.18
   6/9/2019 Leonel Mendoza - Detailer                           $12.00   58.60   $   15.00   $   175.80   $ 139.50   $   315.30
  6/16/2019 Leonel Mendoza - Detailer                           $12.00   50.20   $   15.00   $   150.60   $ 76.50    $   227.10
  6/23/2019 Leonel Mendoza - Detailer                           $12.00   58.43   $   15.00   $   175.30   $ 138.25   $   313.55
  6/30/2019 Leonel Mendoza - Detailer                           $12.00   59.13   $   15.00   $   177.40   $ 143.50   $   320.90
   7/7/2019 Leonel Mendoza - Detailer                           $12.00   48.77   $   15.00   $   146.30   $ 65.75    $   212.05
  7/14/2019 Leonel Mendoza - Detailer                           $12.00   58.92   $   15.00   $   176.75   $ 141.88   $   318.63
  7/21/2019 Leonel Mendoza - Detailer                           $12.00   60.25   $   15.00   $   180.75   $ 151.88   $   332.63
  7/28/2019 Leonel Mendoza - Detailer                           $12.00   59.65   $   15.00   $   178.95   $ 147.38   $   326.33
   8/4/2019 Leonel Mendoza - Detailer                           $12.00   59.10   $   15.00   $   177.30   $ 143.25   $   320.55
  8/11/2019 Leonel Mendoza - Detailer                           $12.00   58.62   $   15.00   $   175.85   $ 139.63   $   315.48
  8/18/2019 Leonel Mendoza - Detailer                           $12.00   58.70   $   15.00   $   176.10   $ 140.25   $   316.35
  8/25/2019 Leonel Mendoza - Detailer                           $12.00   59.30   $   15.00   $   177.90   $ 144.75   $   322.65
   9/1/2019 Leonel Mendoza - Detailer                           $12.00   59.43   $   15.00   $   178.30   $ 145.75   $   324.05
   9/8/2019 Leonel Mendoza - Detailer                           $12.00   55.33   $   15.00   $   166.00   $ 115.00   $   281.00
  9/15/2019 Leonel Mendoza - Detailer                           $12.00   58.52   $   15.00   $   175.55   $ 138.88   $   314.43
  9/22/2019 Leonel Mendoza - Detailer                           $12.00   58.88   $   15.00   $   176.65   $ 141.63   $   318.28
  9/29/2019 Leonel Mendoza - Detailer                           $12.00   58.30   $   15.00   $   174.90   $ 137.25   $   312.15
  10/6/2019 Leonel Mendoza - Detailer                           $12.00   59.98   $   15.00   $   179.95   $ 149.88   $   329.83
 10/13/2019 Leonel Mendoza - Detailer                           $12.00   57.13   $   15.00   $   171.40   $ 128.50   $   299.90
 10/20/2019 Leonel Mendoza - Detailer                           $12.00   57.80   $   15.00   $   173.40   $ 133.50   $   306.90
 10/27/2019 Leonel Mendoza - Detailer                           $12.00   57.40   $   15.00   $   172.20   $ 130.50   $   302.70
  11/3/2019 Leonel Mendoza - Detailer                           $12.00   58.13   $   15.00   $   174.40   $ 136.00   $   310.40
 11/10/2019 Leonel Mendoza - Detailer                           $12.00   58.98   $   15.00   $   176.95   $ 142.38   $   319.33
 11/24/2019 Leonel Mendoza - Detailer                           $12.00   58.08   $   15.00   $   174.25   $ 135.63   $   309.88
  12/1/2019 Leonel Mendoza - Detailer                           $12.00   46.52   $   15.00   $   139.55   $ 48.88    $   188.43
  12/8/2019 Leonel Mendoza - Detailer                           $12.00   53.53   $   15.00   $   160.60   $ 101.50   $   262.10
 12/15/2019 Leonel Mendoza - Detailer                           $12.00   55.40   $   15.00   $   166.20   $ 115.50   $   281.70
  1/12/2020 Leonel Mendoza - Detailer                           $12.00   58.53   $   15.00   $   175.60   $ 139.00   $   314.60
  1/19/2020 Leonel Mendoza - Detailer                           $12.00   59.20   $   15.00   $   177.60   $ 144.00   $   321.60
  1/26/2020 Leonel Mendoza - Detailer                           $12.00   58.38   $   15.00   $   175.15   $ 137.88   $   313.03
  9/16/2018 Leopoldo Rodriguez - Porter @ Jeep Showroom         $10.00   45.18   $   13.00   $   135.55   $ 33.69    $   169.24
  9/23/2018 Leopoldo Rodriguez - Porter @ Jeep Showroom         $10.00   45.77   $   13.00   $   137.30   $ 37.48    $   174.78
 10/21/2018 Leopoldo Rodriguez - Porter @ Jeep Showroom         $10.00   49.18   $   13.00   $   147.55   $ 59.69    $   207.24
  11/4/2018 Leopoldo Rodriguez - Porter @ Jeep Showroom         $10.00   44.43   $   13.00   $   133.30   $ 28.82    $   162.12
 11/18/2018 Leopoldo Rodriguez - Porter @ Jeep Showroom         $10.00   46.92   $   13.00   $   140.75   $ 44.96    $   185.71
  5/12/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   40.70   $   15.00                $   5.78   $     5.78
  5/19/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   43.92   $   15.00                $ 32.31    $    32.31
  5/26/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   48.60   $   15.00                $ 70.95    $    70.95
   6/2/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   47.28   $   15.00                $ 60.09    $    60.09
   6/9/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   52.60   $   15.00                $ 103.95   $   103.95
  6/16/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   55.62   $   15.00                $ 128.84   $   128.84
  6/23/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   62.13   $   15.00                $ 182.60   $   182.60
  6/30/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   64.02   $   15.00                $ 198.14   $   198.14
   7/7/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   40.95   $   15.00                $   7.84   $     7.84



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                                                           Exhibit 3
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   Week                                                                        State Section 7: Section 7: Total Section 7
                                                               Hourly Hours/
  Ending                          Name                                       Minimum Regular Half-time Overtime Back
                                                                Rate Week
   Date                                                                       Wage   Rate Due     Due       Wages Due

  7/14/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   63.45   $   15.00                $ 193.46   $   193.46
  7/21/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   64.92   $   15.00                $ 205.56   $   205.56
  7/28/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   54.20   $   15.00                $ 117.15   $   117.15
   8/4/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   63.60   $   15.00                $ 194.70   $   194.70
  8/11/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   43.70   $   15.00                $ 30.53    $    30.53
  8/18/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   55.60   $   15.00                $ 128.70   $   128.70
  8/25/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   44.57   $   15.00                $ 37.68    $    37.68
   9/1/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   53.75   $   15.00                $ 113.44   $   113.44
  9/15/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   56.13   $   15.00                $ 133.10   $   133.10
  9/22/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   52.88   $   15.00                $ 106.29   $   106.29
  9/29/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   41.40   $   15.00                $ 11.55    $    11.55
  10/6/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   65.63   $   15.00                $ 211.48   $   211.48
 10/13/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   56.47   $   15.00                $ 135.85   $   135.85
 10/20/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   52.67   $   15.00                $ 104.50   $   104.50
 10/27/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   44.20   $   15.00                $ 34.65    $    34.65
  11/3/2019 Leopoldo Rodriguez - Porter @ Jeep Showroom         $16.50   55.70   $   15.00                $ 129.53   $   129.53
  10/8/2017 Leroy Lecky - Service Valet/Shuttle                 $16.50   44.98   $   11.00                $ 41.11    $    41.11
 10/15/2017 Leroy Lecky - Service Valet/Shuttle                 $16.50   46.17   $   11.00                $ 50.88    $    50.88
 11/12/2017 Leroy Lecky - Service Valet/Shuttle                 $16.50   41.33   $   11.00                $ 11.00    $    11.00
 12/17/2017 Leroy Lecky - Service Valet/Shuttle                 $16.50   42.38   $   11.00                $ 19.66    $    19.66
  5/27/2018 Luis Are                                            $13.00   51.60   $   13.00                $ 75.40    $    75.40
   6/3/2018 Luis Are                                            $13.00   43.23   $   13.00                $ 21.02    $    21.02
 11/12/2017 Luis Daniel Santana - Service Valet                 $16.50   45.50   $   11.00                $ 45.38    $    45.38
  7/15/2018 Luis David Guillen Rondon                           $10.00   47.00   $   13.00   $   141.00   $ 45.50    $   186.50
  7/22/2018 Luis David Guillen Rondon                           $10.00   48.98   $   13.00   $   146.95   $ 58.39    $   205.34
  7/29/2018 Luis David Guillen Rondon                           $10.00   40.30   $   13.00   $   120.90   $   1.95   $   122.85
   8/5/2018 Luis David Guillen Rondon                           $10.00   51.43   $   13.00   $   154.30   $ 74.32    $   228.62
  8/12/2018 Luis David Guillen Rondon                           $10.00   53.93   $   13.00   $   161.80   $ 90.57    $   252.37
   8/4/2019 Luis Eduardo Carbajal Ardon                         $12.00   62.17   $   15.00   $   186.50   $ 166.25   $   352.75
  8/11/2019 Luis Eduardo Carbajal Ardon                         $12.50   54.25   $   15.00   $   135.63   $ 106.88   $   242.50
  8/18/2019 Luis Eduardo Carbajal Ardon                         $12.50   62.55   $   15.00   $   156.38   $ 169.13   $   325.50
  8/25/2019 Luis Eduardo Carbajal Ardon                         $12.50   62.98   $   15.00   $   157.46   $ 172.38   $   329.83
   9/1/2019 Luis Eduardo Carbajal Ardon                         $12.50   50.75   $   15.00   $   126.88   $ 80.62    $   207.50
   9/8/2019 Luis Eduardo Carbajal Ardon                         $12.50   60.63   $   15.00   $   151.58   $ 154.75   $   306.33
  9/15/2019 Luis Eduardo Carbajal Ardon                         $12.50   52.22   $   15.00   $   130.54   $ 91.63    $   222.17
  9/22/2019 Luis Eduardo Carbajal Ardon                         $12.50   63.90   $   15.00   $   159.75   $ 179.25   $   339.00
  9/29/2019 Luis Eduardo Carbajal Ardon                         $12.50   54.63   $   15.00   $   136.58   $ 109.75   $   246.33
  10/6/2019 Luis Eduardo Carbajal Ardon                         $12.50   66.62   $   15.00   $   166.54   $ 199.63   $   366.17
 10/13/2019 Luis Eduardo Carbajal Ardon                         $12.50   53.62   $   15.00   $   134.04   $ 102.13   $   236.17
 10/20/2019 Luis Eduardo Carbajal Ardon                         $12.50   66.93   $   15.00   $   167.33   $ 202.00   $   369.33
 10/27/2019 Luis Eduardo Carbajal Ardon                         $12.50   66.75   $   15.00   $   166.88   $ 200.63   $   367.50
  11/3/2019 Luis Eduardo Carbajal Ardon                         $12.50   65.77   $   15.00   $   164.42   $ 193.25   $   357.67
 11/10/2019 Luis Eduardo Carbajal Ardon                         $12.50   68.83   $   15.00   $   172.08   $ 216.25   $   388.33
 11/17/2019 Luis Eduardo Carbajal Ardon                         $12.50   54.80   $   15.00   $   137.00   $ 111.00   $   248.00
 11/24/2019 Luis Eduardo Carbajal Ardon                         $12.50   63.68   $   15.00   $   159.21   $ 177.63   $   336.83
  12/1/2019 Luis Eduardo Carbajal Ardon                         $12.50   51.63   $   15.00   $   129.08   $ 87.25    $   216.33
  12/8/2019 Luis Eduardo Carbajal Ardon                         $12.50   62.43   $   15.00   $   156.08   $ 168.25   $   324.33
 12/15/2019 Luis Eduardo Carbajal Ardon                         $12.50   66.93   $   15.00   $   167.33   $ 202.00   $   369.33
 12/22/2019 Luis Eduardo Carbajal Ardon                         $12.50   64.90   $   15.00   $   162.25   $ 186.75   $   349.00
 12/29/2019 Luis Eduardo Carbajal Ardon                         $12.50   52.53   $   15.00   $   131.33   $ 94.00    $   225.33
   1/5/2020 Luis Eduardo Carbajal Ardon                         $12.50   40.87   $   15.00   $   102.17   $   6.50   $   108.67
  1/12/2020 Luis Eduardo Carbajal Ardon                         $12.50   64.93   $   15.00   $   162.33   $ 187.00   $   349.33
  1/19/2020 Luis Eduardo Carbajal Ardon                         $12.50   67.10   $   15.00   $   167.75   $ 203.25   $   371.00
  1/26/2020 Luis Eduardo Carbajal Ardon                         $12.50   55.02   $   15.00   $   137.54   $ 112.63   $   250.17
  5/27/2018 Luis Emilio De Asis                                  $9.50   43.82   $   13.00   $   153.36   $ 24.81    $   178.17
   6/3/2018 Luis Emilio De Asis                                  $9.50   48.43   $   13.00   $   169.52   $ 54.82    $   224.33
  6/10/2018 Luis Emilio De Asis                                  $9.50   58.45   $   13.00   $   204.58   $ 119.93   $   324.50
  6/17/2018 Luis Emilio De Asis                                  $9.50   59.60   $   13.00   $   208.60   $ 127.40   $   336.00



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                                                  Exhibit 3
                                         New York City Computations


   Week                                                               State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
  Ending                          Name                              Minimum Regular Half-time Overtime Back
                                                       Rate Week
   Date                                                              Wage   Rate Due     Due       Wages Due

  6/24/2018 Luis Emilio De Asis                           $9.50   60.15   $   13.00   $   210.53   $ 130.98   $   341.50
   7/1/2018 Luis Emilio De Asis                           $9.50   60.63   $   13.00   $   212.22   $ 134.12   $   346.33
   7/8/2018 Luis Emilio De Asis                           $9.50   51.30   $   13.00   $   179.55   $ 73.45    $   253.00
  7/15/2018 Luis Emilio De Asis                           $9.50   61.95   $   13.00   $   216.83   $ 142.68   $   359.50
  7/22/2018 Luis Emilio De Asis                           $9.50   61.22   $   13.00   $   214.26   $ 137.91   $   352.17
  7/29/2018 Luis Emilio De Asis                           $9.50   60.18   $   13.00   $   210.64   $ 131.19   $   341.83
   8/5/2018 Luis Emilio De Asis                           $9.50   61.12   $   13.00   $   213.91   $ 137.26   $   351.17
  8/12/2018 Luis Emilio De Asis                           $9.50   61.63   $   13.00   $   215.72   $ 140.62   $   356.33
  8/19/2018 Luis Emilio De Asis                           $9.50   61.00   $   13.00   $   213.50   $ 136.50   $   350.00
  8/26/2018 Luis Emilio De Asis                           $9.50   63.30   $   13.00   $   221.55   $ 151.45   $   373.00
   9/2/2018 Luis Emilio De Asis                           $9.50   64.68   $   13.00   $   226.39   $ 160.44   $   386.83
   9/9/2018 Luis Emilio De Asis                           $9.50   53.28   $   13.00   $   186.49   $ 86.34    $   272.83
  9/16/2018 Luis Emilio De Asis                           $9.50   64.98   $   13.00   $   227.44   $ 162.39   $   389.83
  9/23/2018 Luis Emilio De Asis                           $9.50   64.33   $   13.00   $   225.17   $ 158.17   $   383.33
  9/30/2018 Luis Emilio De Asis                           $9.50   63.83   $   13.00   $   223.42   $ 154.92   $   378.33
  10/7/2018 Luis Emilio De Asis                           $9.50   63.68   $   13.00   $   222.89   $ 153.94   $   376.83
 10/14/2018 Luis Emilio De Asis                           $9.50   64.80   $   13.00   $   226.80   $ 161.20   $   388.00
 10/21/2018 Luis Emilio De Asis                           $9.50   64.50   $   13.00   $   225.75   $ 159.25   $   385.00
 10/28/2018 Luis Emilio De Asis                           $9.50   62.10   $   13.00   $   217.35   $ 143.65   $   361.00
  11/4/2018 Luis Emilio De Asis                           $9.50   59.98   $   13.00   $   209.94   $ 129.89   $   339.83
 11/11/2018 Luis Emilio De Asis                           $9.50   66.87   $   13.00   $   234.03   $ 174.63   $   408.67
 11/18/2018 Luis Emilio De Asis                           $9.50   70.98   $   13.00   $   248.44   $ 201.39   $   449.83
 11/25/2018 Luis Emilio De Asis                           $9.50   61.80   $   13.00   $   216.30   $ 141.70   $   358.00
  12/2/2018 Luis Emilio De Asis                           $9.50   60.25   $   13.00   $   210.88   $ 131.63   $   342.50
  12/9/2018 Luis Emilio De Asis                           $9.50   57.13   $   13.00   $   199.97   $ 111.37   $   311.33
 12/16/2018 Luis Emilio De Asis                           $9.50   73.52   $   13.00   $   257.31   $ 217.86   $   475.17
 12/23/2018 Luis Emilio De Asis                           $9.50   72.30   $   13.00   $   253.05   $ 209.95   $   463.00
 12/30/2018 Luis Emilio De Asis                           $9.50   43.40   $   13.00   $   151.90   $ 22.10    $   174.00
   1/6/2019 Luis Emilio De Asis                           $9.50   58.83   $   15.00   $   323.58   $ 141.25   $   464.83
  1/13/2019 Luis Emilio De Asis                           $9.50   74.65   $   15.00   $   410.58   $ 259.88   $   670.45
  1/20/2019 Luis Emilio De Asis                           $9.50   74.30   $   15.00   $   408.65   $ 257.25   $   665.90
  1/27/2019 Luis Emilio De Asis                           $9.50   63.92   $   15.00   $   351.54   $ 179.38   $   530.92
   2/3/2019 Luis Emilio De Asis                           $9.50   42.52   $   15.00   $   233.84   $ 18.88    $   252.72
  2/10/2019 Luis Emilio De Asis                           $9.50   60.62   $   15.00   $   333.39   $ 154.63   $   488.02
  2/17/2019 Luis Emilio De Asis                           $9.50   57.67   $   15.00   $   317.17   $ 132.50   $   449.67
  2/24/2019 Luis Emilio De Asis                           $9.50   62.95   $   15.00   $   346.23   $ 172.13   $   518.35
   3/3/2019 Luis Emilio De Asis                           $9.50   62.82   $   15.00   $   345.49   $ 171.13   $   516.62
  3/10/2019 Luis Emilio De Asis                           $9.50   57.97   $   15.00   $   318.82   $ 134.75   $   453.57
  3/17/2019 Luis Emilio De Asis                           $9.50   68.48   $   15.00   $   376.66   $ 213.63   $   590.28
  3/24/2019 Luis Emilio De Asis                           $9.50   68.57   $   15.00   $   377.12   $ 214.25   $   591.37
  3/31/2019 Luis Emilio De Asis                           $9.50   69.33   $   15.00   $   381.33   $ 220.00   $   601.33
   4/7/2019 Luis Emilio De Asis                           $9.50   74.03   $   15.00   $   407.18   $ 255.25   $   662.43
  4/14/2019 Luis Emilio De Asis                           $9.50   57.88   $   15.00   $   318.36   $ 134.13   $   452.48
  4/21/2019 Luis Emilio De Asis                           $9.50   67.08   $   15.00   $   368.96   $ 203.13   $   572.08
  4/28/2019 Luis Emilio De Asis                           $9.50   68.03   $   15.00   $   374.18   $ 210.25   $   584.43
   5/5/2019 Luis Emilio De Asis                           $9.50   69.48   $   15.00   $   382.16   $ 221.13   $   603.28
  5/12/2019 Luis Emilio De Asis                           $9.50   69.90   $   15.00   $   384.45   $ 224.25   $   608.70
  5/19/2019 Luis Emilio De Asis                           $9.50   69.05   $   15.00   $   379.78   $ 217.88   $   597.65
  5/26/2019 Luis Emilio De Asis                           $9.50   69.03   $   15.00   $   379.68   $ 217.75   $   597.43
  6/16/2019 Luis Emilio De Asis                           $9.50   63.52   $   15.00   $   349.34   $ 176.38   $   525.72
  6/30/2019 Luis Emilio De Asis                           $9.50   69.95   $   15.00   $   384.73   $ 224.63   $   609.35
   7/7/2019 Luis Emilio De Asis                           $9.50   56.53   $   15.00   $   310.93   $ 124.00   $   434.93
  7/14/2019 Luis Emilio De Asis                           $9.50   59.23   $   15.00   $   325.78   $ 144.25   $   470.03
  7/21/2019 Luis Emilio De Asis                           $9.50   67.92   $   15.00   $   373.54   $ 209.38   $   582.92
  7/28/2019 Luis Emilio De Asis                           $9.50   68.48   $   15.00   $   376.66   $ 213.63   $   590.28
   8/4/2019 Luis Emilio De Asis                           $9.50   62.12   $   15.00   $   341.64   $ 165.88   $   507.52
  8/11/2019 Luis Emilio De Asis                           $9.50   56.73   $   15.00   $   312.03   $ 125.50   $   437.53
  8/18/2019 Luis Emilio De Asis                           $9.50   71.40   $   15.00   $   392.70   $ 235.50   $   628.20



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   Week                                                                       State Section 7: Section 7: Total Section 7
                                                              Hourly Hours/
  Ending                            Name                                    Minimum Regular Half-time Overtime Back
                                                               Rate Week
   Date                                                                      Wage   Rate Due     Due       Wages Due

  8/25/2019 Luis Emilio De Asis                                 $9.50   71.58   $   15.00   $ 393.71   $ 236.88   $   630.58
   9/1/2019 Luis Emilio De Asis                                 $9.50   56.45   $   15.00   $ 310.48   $ 123.38   $   433.85
   9/8/2019 Luis Emilio De Asis                                 $9.50   58.23   $   15.00   $ 320.28   $ 136.75   $   457.03
  1/12/2020 Luis Emilio De Asis                                $11.00   61.53   $   15.00   $ 246.13   $ 161.50   $   407.63
  1/19/2020 Luis Emilio De Asis                                $11.00   60.97   $   15.00   $ 243.87   $ 157.25   $   401.12
  1/26/2020 Luis Emilio De Asis                                $11.00   62.12   $   15.00   $ 248.47   $ 165.88   $   414.34
  7/23/2017 Luis J. DelaCruz                                    $9.00   57.22   $   11.00   $ 114.43   $ 94.69    $   209.13
  7/30/2017 Luis J. DelaCruz                                    $9.00   49.77   $   11.00   $ 99.53    $ 53.72    $   153.25
   8/6/2017 Luis J. DelaCruz                                    $9.00   51.07   $   11.00   $ 102.13   $ 60.87    $   163.00
  8/13/2017 Luis J. DelaCruz                                    $9.00   54.93   $   11.00   $ 109.87   $ 82.13    $   192.00
  8/20/2017 Luis J. DelaCruz                                    $9.00   56.30   $   11.00   $ 112.60   $ 89.65    $   202.25
  8/27/2017 Luis J. DelaCruz                                    $9.00   50.15   $   11.00   $ 100.30   $ 55.83    $   156.13
   9/3/2017 Luis J. DelaCruz                                    $9.00   45.18   $   11.00   $ 90.37    $ 28.51    $   118.88
  9/10/2017 Luis J. DelaCruz                                    $9.00   43.28   $   11.00   $ 86.57    $ 18.06    $   104.63
  4/29/2018 Luis Jorge Anderson                                $12.00   61.23   $   13.00   $ 61.23    $ 138.02   $   199.25
   5/6/2018 Luis Jorge Anderson                                $12.00   48.23   $   13.00   $ 48.23    $ 53.52    $   101.75
  5/13/2018 Luis Jorge Anderson                                $12.00   47.58   $   13.00   $ 47.58    $ 49.29    $    96.88
   8/5/2018 Luis Jorge Anderson                                $12.00   51.38   $   13.00   $ 51.38    $ 73.99    $   125.38
  8/12/2018 Luis Jorge Anderson                                $12.00   55.70   $   13.00   $ 55.70    $ 102.05   $   157.75
  8/19/2018 Luis Jorge Anderson                                $12.00   52.65   $   13.00   $ 52.65    $ 82.23    $   134.88
 10/21/2018 Luis Jorge Anderson                                $12.00   50.60   $   13.00   $ 50.60    $ 68.90    $   119.50
  11/4/2018 Luis Jorge Anderson                                $12.00   41.82   $   13.00   $ 41.82    $ 11.81    $    53.63
 11/11/2018 Luis Jorge Anderson                                $12.00   52.08   $   13.00   $ 52.08    $ 78.54    $   130.63
 11/18/2018 Luis Jorge Anderson                                $12.00   49.85   $   13.00   $ 49.85    $ 64.03    $   113.88
  12/9/2018 Luis Jorge Anderson                                $12.00   49.87   $   13.00   $ 49.87    $ 64.13    $   114.00
 12/16/2018 Luis Jorge Anderson                                $12.00   51.93   $   13.00   $ 51.93    $ 77.57    $   129.50
 12/23/2018 Luis Jorge Anderson                                $12.00   52.13   $   13.00   $ 52.13    $ 78.87    $   131.00
  1/13/2019 Luis Jorge Anderson                                $12.00   63.35   $   15.00   $ 190.05   $ 175.13   $   365.18
  1/20/2019 Luis Jorge Anderson                                $12.00   55.12   $   15.00   $ 165.35   $ 113.38   $   278.73
  1/27/2019 Luis Jorge Anderson                                $12.00   51.97   $   15.00   $ 155.90   $ 89.75    $   245.65
   2/3/2019 Luis Jorge Anderson                                $12.00   53.25   $   15.00   $ 159.75   $ 99.38    $   259.13
  2/10/2019 Luis Jorge Anderson                                $12.00   41.80   $   15.00   $ 125.40   $ 13.50    $   138.90
  2/17/2019 Luis Jorge Anderson                                $12.00   54.10   $   15.00   $ 162.30   $ 105.75   $   268.05
  2/24/2019 Luis Jorge Anderson                                $12.00   41.50   $   15.00   $ 124.50   $ 11.25    $   135.75
   3/3/2019 Luis Jorge Anderson                                $12.00   41.07   $   15.00   $ 123.20   $   8.00   $   131.20
   7/7/2019 Luis Jorge Anderson                                $12.00   44.38   $   15.00   $ 133.15   $ 32.88    $   166.03
  7/14/2019 Luis Jorge Anderson                                $12.00   44.58   $   15.00   $ 133.75   $ 34.38    $   168.13
  7/21/2019 Luis Jorge Anderson                                $12.00   42.83   $   15.00   $ 128.50   $ 21.25    $   149.75
  7/28/2019 Luis Jorge Anderson                                $12.00   42.50   $   15.00   $ 127.50   $ 18.75    $   146.25
   8/4/2019 Luis Jorge Anderson                                $12.00   43.17   $   15.00   $ 129.50   $ 23.75    $   153.25
  8/11/2019 Luis Jorge Anderson                                $12.00   42.90   $   15.00   $ 128.70   $ 21.75    $   150.45
  9/15/2019 Luis Jorge Anderson                                $12.00   42.68   $   15.00   $ 128.05   $ 20.13    $   148.18
  9/22/2019 Luis Jorge Anderson                                $12.00   42.13   $   15.00   $ 126.40   $ 16.00    $   142.40
  9/29/2019 Luis Jorge Anderson                                $12.00   43.40   $   15.00   $ 130.20   $ 25.50    $   155.70
  10/6/2019 Luis Jorge Anderson                                $12.00   44.35   $   15.00   $ 133.05   $ 32.63    $   165.68
  12/8/2019 Luis Jorge Anderson                                $12.00   42.08   $   15.00   $ 126.25   $ 15.63    $   141.88
 12/15/2019 Luis Jorge Anderson                                $12.00   42.97   $   15.00   $ 128.90   $ 22.25    $   151.15
  1/12/2020 Luis Jorge Anderson                                $12.00   43.35   $   15.00   $ 130.05   $ 25.13    $   155.18
  1/19/2020 Luis Jorge Anderson                                $12.00   40.50   $   15.00   $ 121.50   $   3.75   $   125.25
  9/10/2017 Luis Manuel De Leon- Service Valet                 $10.50   45.05   $   11.00   $ 22.53    $ 27.78    $    50.30
  9/17/2017 Luis Manuel De Leon- Service Valet                 $10.50   52.82   $   11.00   $ 26.41    $ 70.49    $    96.90
  9/24/2017 Luis Manuel De Leon- Service Valet                 $10.50   54.03   $   11.00   $ 27.02    $ 77.18    $   104.20
  10/1/2017 Luis Manuel De Leon- Service Valet                 $10.50   53.88   $   11.00   $ 26.94    $ 76.36    $   103.30
  10/8/2017 Luis Manuel De Leon- Service Valet                 $10.50   51.90   $   11.00   $ 25.95    $ 65.45    $    91.40
 10/15/2017 Luis Manuel De Leon- Service Valet                 $10.50   52.73   $   11.00   $ 26.37    $ 70.03    $    96.40
 10/22/2017 Luis Manuel De Leon- Service Valet                 $10.50   51.73   $   11.00   $ 25.87    $ 64.53    $    90.40
 10/29/2017 Luis Manuel De Leon- Service Valet                 $10.50   54.68   $   11.00   $ 27.34    $ 80.76    $   108.10
  11/5/2017 Luis Manuel De Leon- Service Valet                 $10.50   52.62   $   11.00   $ 26.31    $ 69.39    $    95.70



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   Week                                                                       State Section 7: Section 7: Total Section 7
                                                              Hourly Hours/
  Ending                            Name                                    Minimum Regular Half-time Overtime Back
                                                               Rate Week
   Date                                                                      Wage   Rate Due     Due       Wages Due

 11/12/2017 Luis Manuel De Leon- Service Valet                 $10.50   57.15   $   11.00   $ 28.58    $ 94.33    $   122.90
 11/19/2017 Luis Manuel De Leon- Service Valet                 $10.50   51.18   $   11.00   $ 25.59    $ 61.51    $    87.10
  12/3/2017 Luis Manuel De Leon- Service Valet                 $10.50   51.82   $   11.00   $ 25.91    $ 64.99    $    90.90
 12/10/2017 Luis Manuel De Leon- Service Valet                 $10.50   52.10   $   11.00   $ 26.05    $ 66.55    $    92.60
 12/17/2017 Luis Manuel De Leon- Service Valet                 $10.50   45.98   $   11.00   $ 22.99    $ 32.91    $    55.90
 12/24/2017 Luis Manuel De Leon- Service Valet                 $10.50   53.40   $   11.00   $ 26.70    $ 73.70    $   100.40
 12/31/2017 Luis Manuel De Leon- Service Valet                 $10.50   45.07   $   13.00   $ 112.67   $ 32.93    $   145.60
   1/7/2018 Luis Manuel De Leon- Service Valet                 $10.50   43.02   $   13.00   $ 107.54   $ 19.61    $   127.15
  1/14/2018 Luis Manuel De Leon- Service Valet                 $10.50   53.60   $   13.00   $ 134.00   $ 88.40    $   222.40
  1/21/2018 Luis Manuel De Leon- Service Valet                 $10.50   53.62   $   13.00   $ 134.04   $ 88.51    $   222.55
  1/28/2018 Luis Manuel De Leon- Service Valet                 $10.50   54.05   $   13.00   $ 135.13   $ 91.33    $   226.45
   2/4/2018 Luis Manuel De Leon- Service Valet                 $10.50   50.05   $   13.00   $ 125.13   $ 65.33    $   190.45
  2/11/2018 Luis Manuel De Leon- Service Valet                 $10.50   52.97   $   13.00   $ 132.42   $ 84.28    $   216.70
  2/18/2018 Luis Manuel De Leon- Service Valet                 $10.50   52.92   $   13.00   $ 132.29   $ 83.96    $   216.25
  2/25/2018 Luis Manuel De Leon- Service Valet                 $10.50   53.33   $   13.00   $ 133.33   $ 86.67    $   220.00
   3/4/2018 Luis Manuel De Leon- Service Valet                 $10.50   53.77   $   13.00   $ 134.42   $ 89.48    $   223.90
  3/25/2018 Luis Manuel De Leon- Service Valet                 $10.50   44.13   $   13.00   $ 110.33   $ 26.87    $   137.20
   4/1/2018 Luis Manuel De Leon- Service Valet                 $10.50   53.58   $   13.00   $ 133.96   $ 88.29    $   222.25
   4/8/2018 Luis Manuel De Leon- Service Valet                 $10.50   53.85   $   13.00   $ 134.63   $ 90.03    $   224.65
  4/15/2018 Luis Manuel De Leon- Service Valet                 $10.50   44.23   $   13.00   $ 110.58   $ 27.52    $   138.10
  4/22/2018 Luis Manuel De Leon- Service Valet                 $10.50   53.20   $   13.00   $ 133.00   $ 85.80    $   218.80
  4/29/2018 Luis Manuel De Leon- Service Valet                 $10.50   52.67   $   13.00   $ 131.67   $ 82.33    $   214.00
   5/6/2018 Luis Manuel De Leon- Service Valet                 $10.50   50.72   $   13.00   $ 126.79   $ 69.66    $   196.45
  5/13/2018 Luis Manuel De Leon- Service Valet                 $10.50   59.32   $   13.00   $ 148.29   $ 125.56   $   273.85
  5/20/2018 Luis Manuel De Leon- Service Valet                 $10.50   60.10   $   13.00   $ 150.25   $ 130.65   $   280.90
  5/27/2018 Luis Manuel De Leon- Service Valet                 $10.50   58.07   $   13.00   $ 145.17   $ 117.43   $   262.60
   6/3/2018 Luis Manuel De Leon- Service Valet                 $10.50   49.02   $   13.00   $ 122.54   $ 58.61    $   181.15
  6/10/2018 Luis Manuel De Leon- Service Valet                 $10.50   56.93   $   13.00   $ 142.33   $ 110.07   $   252.40
  6/17/2018 Luis Manuel De Leon- Service Valet                 $10.50   49.20   $   13.00   $ 123.00   $ 59.80    $   182.80
  6/24/2018 Luis Manuel De Leon- Service Valet                 $10.50   58.35   $   13.00   $ 145.88   $ 119.28   $   265.15
   7/1/2018 Luis Manuel De Leon- Service Valet                 $10.50   50.28   $   13.00   $ 125.71   $ 66.84    $   192.55
   7/8/2018 Luis Manuel De Leon- Service Valet                 $10.50   48.98   $   13.00   $ 122.46   $ 58.39    $   180.85
  7/15/2018 Luis Manuel De Leon- Service Valet                 $10.50   56.00   $   13.00   $ 140.00   $ 104.00   $   244.00
  7/22/2018 Luis Manuel De Leon- Service Valet                 $10.50   54.27   $   13.00   $ 135.67   $ 92.73    $   228.40
  7/29/2018 Luis Manuel De Leon- Service Valet                 $10.50   54.83   $   13.00   $ 137.08   $ 96.42    $   233.50
   8/5/2018 Luis Manuel De Leon- Service Valet                 $10.50   54.98   $   13.00   $ 137.46   $ 97.39    $   234.85
  8/12/2018 Luis Manuel De Leon- Service Valet                 $10.50   54.65   $   13.00   $ 136.63   $ 95.22    $   231.85
  8/19/2018 Luis Manuel De Leon- Service Valet                 $10.50   55.45   $   13.00   $ 138.63   $ 100.43   $   239.05
  8/26/2018 Luis Manuel De Leon- Service Valet                 $10.50   55.83   $   13.00   $ 139.58   $ 102.92   $   242.50
   9/2/2018 Luis Manuel De Leon- Service Valet                 $10.50   51.42   $   13.00   $ 128.54   $ 74.21    $   202.75
   9/9/2018 Luis Manuel De Leon- Service Valet                 $10.50   40.90   $   13.00   $ 102.25   $   5.85   $   108.10
   1/7/2018 Luis Manuel Hernandez Jimenez                      $11.00   49.83   $   13.00   $ 99.67    $ 63.92    $   163.58
  1/14/2018 Luis Manuel Hernandez Jimenez                      $11.00   82.65   $   13.00   $ 165.30   $ 277.23   $   442.53
  1/21/2018 Luis Manuel Hernandez Jimenez                      $11.00   81.40   $   13.00   $ 162.80   $ 269.10   $   431.90
  1/28/2018 Luis Manuel Hernandez Jimenez                      $11.00   72.15   $   13.00   $ 144.30   $ 208.98   $   353.28
   2/4/2018 Luis Manuel Hernandez Jimenez                      $11.00   81.82   $   13.00   $ 163.63   $ 271.81   $   435.44
  2/11/2018 Luis Manuel Hernandez Jimenez                      $11.00   83.32   $   13.00   $ 166.63   $ 281.56   $   448.19
  2/18/2018 Luis Manuel Hernandez Jimenez                      $11.00   75.83   $   13.00   $ 151.67   $ 232.92   $   384.58
  2/25/2018 Luis Manuel Hernandez Jimenez                      $11.00   76.37   $   13.00   $ 152.73   $ 236.38   $   389.12
   3/4/2018 Luis Manuel Hernandez Jimenez                      $11.00   74.53   $   13.00   $ 149.07   $ 224.47   $   373.53
  3/25/2018 Luis Manuel Hernandez Jimenez                      $11.00   72.50   $   13.00   $ 145.00   $ 211.25   $   356.25
   4/1/2018 Luis Manuel Hernandez Jimenez                      $11.00   75.72   $   13.00   $ 151.43   $ 232.16   $   383.59
   4/8/2018 Luis Manuel Hernandez Jimenez                      $11.00   56.30   $   13.00   $ 112.60   $ 105.95   $   218.55
  4/15/2018 Luis Manuel Hernandez Jimenez                      $11.00   80.35   $   13.00   $ 160.70   $ 262.28   $   422.98
  4/22/2018 Luis Manuel Hernandez Jimenez                      $11.00   75.03   $   13.00   $ 150.07   $ 227.72   $   377.78
  4/29/2018 Luis Manuel Hernandez Jimenez                      $11.00   80.33   $   13.00   $ 160.67   $ 262.17   $   422.83
   5/6/2018 Luis Manuel Hernandez Jimenez                      $11.00   72.35   $   13.00   $ 144.70   $ 210.28   $   354.98
  5/13/2018 Luis Manuel Hernandez Jimenez                      $11.00   79.98   $   13.00   $ 159.97   $ 259.89   $   419.86



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   Week                                                                  State Section 7: Section 7: Total Section 7
                                                         Hourly Hours/
  Ending                          Name                                 Minimum Regular Half-time Overtime Back
                                                          Rate Week
   Date                                                                 Wage   Rate Due     Due       Wages Due

  5/20/2018 Luis Manuel Hernandez Jimenez                 $11.00   79.38   $   13.00   $   158.77   $   255.99   $   414.76
  5/27/2018 Luis Manuel Hernandez Jimenez                 $11.00   74.88   $   13.00   $   149.77   $   226.74   $   376.51
   6/3/2018 Luis Manuel Hernandez Jimenez                 $11.00   79.73   $   13.00   $   159.47   $   258.27   $   417.73
  6/10/2018 Luis Manuel Hernandez Jimenez                 $11.00   62.55   $   13.00   $   125.10   $   146.58   $   271.68
  6/17/2018 Luis Manuel Hernandez Jimenez                 $11.00   81.53   $   13.00   $   163.07   $   269.97   $   433.03
  6/24/2018 Luis Manuel Hernandez Jimenez                 $11.00   64.28   $   13.00   $   128.57   $   157.84   $   286.41
   7/1/2018 Luis Manuel Hernandez Jimenez                 $11.00   68.72   $   13.00   $   137.43   $   186.66   $   324.09
   7/8/2018 Luis Manuel Hernandez Jimenez                 $11.00   60.22   $   13.00   $   120.43   $   131.41   $   251.84
  7/15/2018 Luis Manuel Hernandez Jimenez                 $11.00   67.23   $   13.00   $   134.47   $   177.02   $   311.48
  7/22/2018 Luis Manuel Hernandez Jimenez                 $11.00   71.57   $   13.00   $   143.13   $   205.18   $   348.32
  7/29/2018 Luis Manuel Hernandez Jimenez                 $11.00   77.68   $   13.00   $   155.37   $   244.94   $   400.31
   8/5/2018 Luis Manuel Hernandez Jimenez                 $11.00   81.50   $   13.00   $   163.00   $   269.75   $   432.75
  8/12/2018 Luis Manuel Hernandez Jimenez                 $11.00   79.00   $   13.00   $   158.00   $   253.50   $   411.50
  8/19/2018 Luis Manuel Hernandez Jimenez                 $11.00   80.40   $   13.00   $   160.80   $   262.60   $   423.40
  8/26/2018 Luis Manuel Hernandez Jimenez                 $11.00   70.92   $   13.00   $   141.83   $   200.96   $   342.79
   9/2/2018 Luis Manuel Hernandez Jimenez                 $11.00   82.98   $   13.00   $   165.97   $   279.39   $   445.36
   9/9/2018 Luis Manuel Hernandez Jimenez                 $11.00   75.28   $   13.00   $   150.57   $   229.34   $   379.91
  9/16/2018 Luis Manuel Hernandez Jimenez                 $11.00   82.40   $   13.00   $   164.80   $   275.60   $   440.40
  9/23/2018 Luis Manuel Hernandez Jimenez                 $11.00   82.03   $   13.00   $   164.07   $   273.22   $   437.28
  9/30/2018 Luis Manuel Hernandez Jimenez                 $11.00   74.12   $   13.00   $   148.23   $   221.76   $   369.99
  10/7/2018 Luis Manuel Hernandez Jimenez                 $11.00   80.98   $   13.00   $   161.97   $   266.39   $   428.36
 10/14/2018 Luis Manuel Hernandez Jimenez                 $11.00   78.93   $   13.00   $   157.87   $   253.07   $   410.93
 10/21/2018 Luis Manuel Hernandez Jimenez                 $11.00   77.75   $   13.00   $   155.50   $   245.38   $   400.88
 10/28/2018 Luis Manuel Hernandez Jimenez                 $11.00   77.73   $   13.00   $   155.47   $   245.27   $   400.73
  11/4/2018 Luis Manuel Hernandez Jimenez                 $11.00   62.62   $   13.00   $   125.23   $   147.01   $   272.24
 11/11/2018 Luis Manuel Hernandez Jimenez                 $11.00   76.87   $   13.00   $   153.73   $   239.63   $   393.37
 11/18/2018 Luis Manuel Hernandez Jimenez                 $11.00   71.65   $   13.00   $   143.30   $   205.73   $   349.03
 11/25/2018 Luis Manuel Hernandez Jimenez                 $11.00   67.13   $   13.00   $   134.27   $   176.37   $   310.63
  12/2/2018 Luis Manuel Hernandez Jimenez                 $11.00   80.27   $   13.00   $   160.53   $   261.73   $   422.27
  12/9/2018 Luis Manuel Hernandez Jimenez                 $11.00   80.83   $   13.00   $   161.67   $   265.42   $   427.08
 12/16/2018 Luis Manuel Hernandez Jimenez                 $11.00   81.32   $   13.00   $   162.63   $   268.56   $   431.19
 12/23/2018 Luis Manuel Hernandez Jimenez                 $11.00   81.22   $   13.00   $   162.43   $   267.91   $   430.34
 12/30/2018 Luis Manuel Hernandez Jimenez                 $11.00   71.15   $   13.00   $   142.30   $   202.48   $   344.78
   1/6/2019 Luis Manuel Hernandez Jimenez                 $11.00   67.55   $   15.00   $   270.20   $   206.63   $   476.83
  1/13/2019 Luis Manuel Hernandez Jimenez                 $11.00   84.10   $   15.00   $   336.40   $   330.75   $   667.15
  1/20/2019 Luis Manuel Hernandez Jimenez                 $11.00   89.17   $   15.00   $   356.67   $   368.75   $   725.42
  1/27/2019 Luis Manuel Hernandez Jimenez                 $11.00   73.57   $   15.00   $   294.27   $   251.75   $   546.02
   2/3/2019 Luis Manuel Hernandez Jimenez                 $11.00   75.12   $   15.00   $   300.47   $   263.38   $   563.84
  2/10/2019 Luis Manuel Hernandez Jimenez                 $11.00   67.93   $   15.00   $   271.73   $   209.50   $   481.23
  2/17/2019 Luis Manuel Hernandez Jimenez                 $11.00   61.70   $   15.00   $   246.80   $   162.75   $   409.55
  2/24/2019 Luis Manuel Hernandez Jimenez                 $11.00   72.50   $   15.00   $   290.00   $   243.75   $   533.75
   3/3/2019 Luis Manuel Hernandez Jimenez                 $11.00   76.70   $   15.00   $   306.80   $   275.25   $   582.05
  3/10/2019 Luis Manuel Hernandez Jimenez                 $11.00   73.27   $   15.00   $   293.07   $   249.50   $   542.57
  3/17/2019 Luis Manuel Hernandez Jimenez                 $11.00   66.05   $   15.00   $   264.20   $   195.38   $   459.58
  3/24/2019 Luis Manuel Hernandez Jimenez                 $11.00   70.45   $   15.00   $   281.80   $   228.38   $   510.18
  3/31/2019 Luis Manuel Hernandez Jimenez                 $11.00   73.63   $   15.00   $   294.53   $   252.25   $   546.78
   4/7/2019 Luis Manuel Hernandez Jimenez                 $11.00   81.13   $   15.00   $   324.53   $   308.50   $   633.03
  4/14/2019 Luis Manuel Hernandez Jimenez                 $11.00   82.53   $   15.00   $   330.13   $   319.00   $   649.13
  4/21/2019 Luis Manuel Hernandez Jimenez                 $11.00   74.57   $   15.00   $   298.27   $   259.25   $   557.52
  4/28/2019 Luis Manuel Hernandez Jimenez                 $11.00   67.45   $   15.00   $   269.80   $   205.88   $   475.68
   5/5/2019 Luis Manuel Hernandez Jimenez                 $11.00   61.10   $   15.00   $   244.40   $   158.25   $   402.65
  5/12/2019 Luis Manuel Hernandez Jimenez                 $11.00   72.67   $   15.00   $   290.67   $   245.00   $   535.67
  5/19/2019 Luis Manuel Hernandez Jimenez                 $11.00   79.72   $   15.00   $   318.87   $   297.88   $   616.74
  5/26/2019 Luis Manuel Hernandez Jimenez                 $11.00   71.95   $   15.00   $   287.80   $   239.63   $   527.43
   6/2/2019 Luis Manuel Hernandez Jimenez                 $11.00   62.65   $   15.00   $   250.60   $   169.88   $   420.48
   6/9/2019 Luis Manuel Hernandez Jimenez                 $11.00   68.43   $   15.00   $   273.73   $   213.25   $   486.98
  6/16/2019 Luis Manuel Hernandez Jimenez                 $11.00   86.78   $   15.00   $   347.13   $   350.88   $   698.01
  6/23/2019 Luis Manuel Hernandez Jimenez                 $11.00   72.35   $   15.00   $   289.40   $   242.63   $   532.03



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   Week                                                                       State Section 7: Section 7: Total Section 7
                                                              Hourly Hours/
  Ending                           Name                                     Minimum Regular Half-time Overtime Back
                                                               Rate Week
   Date                                                                      Wage   Rate Due     Due       Wages Due

  6/30/2019 Luis Manuel Hernandez Jimenez                      $11.00   80.08   $   15.00   $ 320.33   $ 300.63   $   620.96
   7/7/2019 Luis Manuel Hernandez Jimenez                      $11.00   63.18   $   15.00   $ 252.73   $ 173.88   $   426.61
  7/14/2019 Luis Manuel Hernandez Jimenez                      $11.00   73.43   $   15.00   $ 293.73   $ 250.75   $   544.48
  7/21/2019 Luis Manuel Hernandez Jimenez                      $11.00   72.88   $   15.00   $ 291.53   $ 246.63   $   538.16
  7/28/2019 Luis Manuel Hernandez Jimenez                      $11.00   71.23   $   15.00   $ 284.93   $ 234.25   $   519.18
   8/4/2019 Luis Manuel Hernandez Jimenez                      $11.00   64.12   $   15.00   $ 256.47   $ 180.88   $   437.34
  8/11/2019 Luis Manuel Hernandez Jimenez                      $11.00   68.93   $   15.00   $ 275.73   $ 217.00   $   492.73
  8/18/2019 Luis Manuel Hernandez Jimenez                      $11.00   70.33   $   15.00   $ 281.33   $ 227.50   $   508.83
  8/25/2019 Luis Manuel Hernandez Jimenez                      $11.00   71.28   $   15.00   $ 285.13   $ 234.63   $   519.76
   9/1/2019 Luis Manuel Hernandez Jimenez                      $11.00   53.82   $   15.00   $ 215.27   $ 103.63   $   318.89
   9/8/2019 Luis Manuel Hernandez Jimenez                      $11.00   46.92   $   15.00   $ 187.67   $ 51.88    $   239.54
  9/15/2019 Luis Manuel Hernandez Jimenez                      $11.00   62.33   $   15.00   $ 249.33   $ 167.50   $   416.83
  9/22/2019 Luis Manuel Hernandez Jimenez                      $11.00   46.65   $   15.00   $ 186.60   $ 49.88    $   236.48
  9/29/2019 Luis Manuel Hernandez Jimenez                      $11.00   68.68   $   15.00   $ 274.73   $ 215.13   $   489.86
  10/6/2019 Luis Manuel Hernandez Jimenez                      $11.00   57.72   $   15.00   $ 230.87   $ 132.88   $   363.74
 10/13/2019 Luis Manuel Hernandez Jimenez                      $11.00   56.33   $   15.00   $ 225.33   $ 122.50   $   347.83
 10/20/2019 Luis Manuel Hernandez Jimenez                      $11.00   65.23   $   15.00   $ 260.93   $ 189.25   $   450.18
 10/27/2019 Luis Manuel Hernandez Jimenez                      $11.00   64.83   $   15.00   $ 259.33   $ 186.25   $   445.58
  11/3/2019 Luis Manuel Hernandez Jimenez                      $11.00   60.22   $   15.00   $ 240.87   $ 151.63   $   392.49
 11/10/2019 Luis Manuel Hernandez Jimenez                      $11.00   63.07   $   15.00   $ 252.27   $ 173.00   $   425.27
 11/17/2019 Luis Manuel Hernandez Jimenez                      $11.00   70.60   $   15.00   $ 282.40   $ 229.50   $   511.90
 11/24/2019 Luis Manuel Hernandez Jimenez                      $11.00   69.33   $   15.00   $ 277.33   $ 220.00   $   497.33
  12/1/2019 Luis Manuel Hernandez Jimenez                      $11.00   68.83   $   15.00   $ 275.33   $ 216.25   $   491.58
  12/8/2019 Luis Manuel Hernandez Jimenez                      $11.00   69.23   $   15.00   $ 276.93   $ 219.25   $   496.18
 12/15/2019 Luis Manuel Hernandez Jimenez                      $11.00   68.62   $   15.00   $ 274.47   $ 214.63   $   489.09
 12/22/2019 Luis Manuel Hernandez Jimenez                      $11.00   67.50   $   15.00   $ 270.00   $ 206.25   $   476.25
 12/29/2019 Luis Manuel Hernandez Jimenez                      $11.00   55.38   $   15.00   $ 221.53   $ 115.38   $   336.91
   1/5/2020 Luis Manuel Hernandez Jimenez                      $11.00   54.43   $   15.00   $ 217.73   $ 108.25   $   325.98
  1/12/2020 Luis Manuel Hernandez Jimenez                      $11.00   71.80   $   15.00   $ 287.20   $ 238.50   $   525.70
  1/19/2020 Luis Manuel Hernandez Jimenez                      $11.00   69.27   $   15.00   $ 277.07   $ 219.50   $   496.57
  1/26/2020 Luis Manuel Hernandez Jimenez                      $11.00   69.72   $   15.00   $ 278.87   $ 222.88   $   501.74
 12/24/2017 Luis Miguel Pena                                    $9.00   47.47   $   11.00   $ 94.93    $ 41.07    $   136.00
  6/18/2017 Luis R. Sosa Roriguez                              $10.00   48.37   $   11.00   $ 48.37    $ 46.02    $    94.38
  6/25/2017 Luis R. Sosa Roriguez                              $10.00   55.62   $   11.00   $ 55.62    $ 85.89    $   141.51
  7/22/2018 Luis Rafael Salobo-On Site Manager                 $20.00   56.68   $   13.00              $ 166.83   $   166.83
  7/29/2018 Luis Rafael Salobo-On Site Manager                 $20.00   59.20   $   13.00              $ 192.00   $   192.00
   8/5/2018 Luis Rafael Salobo-On Site Manager                 $20.00   61.57   $   13.00              $ 215.67   $   215.67
  8/12/2018 Luis Rafael Salobo-On Site Manager                 $20.00   62.27   $   13.00              $ 222.67   $   222.67
  8/19/2018 Luis Rafael Salobo-On Site Manager                 $20.00   63.87   $   13.00              $ 238.67   $   238.67
  8/26/2018 Luis Rafael Salobo-On Site Manager                 $20.00   64.22   $   13.00              $ 242.17   $   242.17
   9/2/2018 Luis Rafael Salobo-On Site Manager                 $20.00   64.48   $   13.00              $ 244.83   $   244.83
   9/9/2018 Luis Rafael Salobo-On Site Manager                 $20.00   59.93   $   13.00              $ 199.33   $   199.33
  9/16/2018 Luis Rafael Salobo-On Site Manager                 $20.00   41.18   $   13.00              $ 11.83    $    11.83
   2/3/2019 Luis Rodriguez                                     $19.00   58.23   $   15.00              $ 173.22   $   173.22
  2/10/2019 Luis Rodriguez                                     $19.00   58.42   $   15.00              $ 174.96   $   174.96
  2/17/2019 Luis Rodriguez                                     $19.00   58.42   $   15.00              $ 174.96   $   174.96
  2/24/2019 Luis Rodriguez                                     $19.00   57.48   $   15.00              $ 166.09   $   166.09
   3/3/2019 Luis Rodriguez                                     $19.00   59.57   $   15.00              $ 185.88   $   185.88
  3/10/2019 Luis Rodriguez                                     $19.00   58.07   $   15.00              $ 171.63   $   171.63
  3/17/2019 Luis Rodriguez                                     $19.00   58.45   $   15.00              $ 175.28   $   175.28
  3/24/2019 Luis Rodriguez                                     $19.00   58.33   $   15.00              $ 174.17   $   174.17
  3/31/2019 Luis Rodriguez                                     $19.00   58.35   $   15.00              $ 174.33   $   174.33
   4/7/2019 Luis Rodriguez                                     $19.00   58.37   $   15.00              $ 174.48   $   174.48
  4/14/2019 Luis Rodriguez                                     $19.00   58.10   $   15.00              $ 171.95   $   171.95
  4/21/2019 Luis Rodriguez                                     $19.00   58.17   $   15.00              $ 172.58   $   172.58
  4/28/2019 Luis Rodriguez                                     $19.00   58.68   $   15.00              $ 177.49   $   177.49
   5/5/2019 Luis Rodriguez                                     $19.00   58.65   $   15.00              $ 177.18   $   177.18
  5/12/2019 Luis Rodriguez                                     $19.00   58.37   $   15.00              $ 174.48   $   174.48



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   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                     Name                              Minimum Regular Half-time Overtime Back
                                                  Rate Week
   Date                                                         Wage   Rate Due     Due       Wages Due

  5/19/2019 Luis Rodriguez                        $19.00   58.52   $   15.00                $ 175.91   $   175.91
  5/26/2019 Luis Rodriguez                        $19.00   58.33   $   15.00                $ 174.17   $   174.17
   6/2/2019 Luis Rodriguez                        $19.00   46.92   $   15.00                $ 65.71    $    65.71
   6/9/2019 Luis Rodriguez                        $19.00   58.45   $   15.00                $ 175.28   $   175.28
  6/16/2019 Luis Rodriguez                        $19.00   58.57   $   15.00                $ 176.38   $   176.38
  6/23/2019 Luis Rodriguez                        $19.00   58.43   $   15.00                $ 175.12   $   175.12
  6/30/2019 Luis Rodriguez                        $19.00   61.72   $   15.00                $ 206.31   $   206.31
  7/14/2019 Luis Rodriguez                        $15.00   59.35   $   15.00                $ 145.13   $   145.13
  7/21/2019 Luis Rodriguez                        $15.00   58.03   $   15.00                $ 135.25   $   135.25
  7/28/2019 Luis Rodriguez                        $15.00   58.23   $   15.00                $ 136.75   $   136.75
   8/4/2019 Luis Rodriguez                        $15.00   56.10   $   15.00                $ 120.75   $   120.75
  8/11/2019 Luis Rodriguez                        $15.00   58.12   $   15.00                $ 135.88   $   135.88
  8/18/2019 Luis Rodriguez                        $15.00   67.60   $   15.00                $ 207.00   $   207.00
  8/25/2019 Luis Rodriguez                        $15.00   58.27   $   15.00                $ 137.00   $   137.00
   9/1/2019 Luis Rodriguez                        $15.00   67.63   $   15.00                $ 207.25   $   207.25
   9/8/2019 Luis Rodriguez                        $15.00   57.00   $   15.00                $ 127.50   $   127.50
  9/15/2019 Luis Rodriguez                        $15.00   58.05   $   15.00                $ 135.38   $   135.38
  9/22/2019 Luis Rodriguez                        $15.00   59.23   $   15.00                $ 144.25   $   144.25
  9/29/2019 Luis Rodriguez                        $15.00   57.72   $   15.00                $ 132.88   $   132.88
  10/6/2019 Luis Rodriguez                        $15.00   58.02   $   15.00                $ 135.13   $   135.13
 10/13/2019 Luis Rodriguez                        $15.00   57.90   $   15.00                $ 134.25   $   134.25
 10/20/2019 Luis Rodriguez                        $15.00   57.77   $   15.00                $ 133.25   $   133.25
 10/27/2019 Luis Rodriguez                        $15.00   57.37   $   15.00                $ 130.25   $   130.25
  11/3/2019 Luis Rodriguez                        $15.00   57.83   $   15.00                $ 133.75   $   133.75
 11/10/2019 Luis Rodriguez                        $15.00   57.80   $   15.00                $ 133.50   $   133.50
 11/17/2019 Luis Rodriguez                        $15.00   57.52   $   15.00                $ 131.38   $   131.38
 11/24/2019 Luis Rodriguez                        $15.00   57.77   $   15.00                $ 133.25   $   133.25
  12/1/2019 Luis Rodriguez                        $15.00   46.33   $   15.00                $ 47.50    $    47.50
  12/8/2019 Luis Rodriguez                        $15.00   57.98   $   15.00                $ 134.88   $   134.88
 12/15/2019 Luis Rodriguez                        $15.00   57.87   $   15.00                $ 134.00   $   134.00
 12/22/2019 Luis Rodriguez                        $15.00   57.90   $   15.00                $ 134.25   $   134.25
 12/29/2019 Luis Rodriguez                        $15.00   45.43   $   15.00                $ 40.75    $    40.75
   1/5/2020 Luis Rodriguez                        $15.00   46.88   $   15.00                $ 51.63    $    51.63
  1/12/2020 Luis Rodriguez                        $15.00   57.97   $   15.00                $ 134.75   $   134.75
  1/19/2020 Luis Rodriguez                        $15.00   58.12   $   15.00                $ 135.88   $   135.88
  1/26/2020 Luis Rodriguez                        $15.00   58.05   $   15.00                $ 135.38   $   135.38
  12/3/2017 Luis Sandoval                         $11.00   56.07   $   11.00                $ 88.37    $    88.37
 12/10/2017 Luis Sandoval                         $11.00   55.15   $   11.00                $ 83.33    $    83.33
 12/17/2017 Luis Sandoval                         $11.00   55.20   $   11.00                $ 83.60    $    83.60
 12/24/2017 Luis Sandoval                         $11.00   57.50   $   11.00                $ 96.25    $    96.25
 12/31/2017 Luis Sandoval                         $11.00   45.98   $   13.00   $    91.97   $ 38.89    $   130.86
   1/7/2018 Luis Sandoval                         $13.00   46.53   $   13.00                $ 42.47    $    42.47
  1/14/2018 Luis Sandoval                         $13.00   57.58   $   13.00                $ 114.29   $   114.29
  1/21/2018 Luis Sandoval                         $13.00   60.02   $   13.00                $ 130.11   $   130.11
  1/28/2018 Luis Sandoval                         $13.00   61.35   $   13.00                $ 138.78   $   138.78
   2/4/2018 Luis Sandoval                         $13.00   60.65   $   13.00                $ 134.23   $   134.23
  2/11/2018 Luis Sandoval                         $13.00   60.88   $   13.00                $ 135.74   $   135.74
  2/18/2018 Luis Sandoval                         $13.00   60.37   $   13.00                $ 132.38   $   132.38
  2/25/2018 Luis Sandoval                         $13.00   61.10   $   13.00                $ 137.15   $   137.15
   6/2/2019 Luis Sandoval                         $15.00   53.00   $   15.00                $ 97.50    $    97.50
  6/16/2019 Luis Sandoval                         $15.00   66.57   $   15.00                $ 199.25   $   199.25
  6/23/2019 Luis Sandoval                         $15.00   66.33   $   15.00                $ 197.50   $   197.50
  6/30/2019 Luis Sandoval                         $15.00   66.42   $   15.00                $ 198.13   $   198.13
   7/7/2019 Luis Sandoval                          $9.50   54.70   $   15.00   $   300.85   $ 110.25   $   411.10
  7/14/2019 Luis Sandoval                          $9.50   66.45   $   15.00   $   365.48   $ 198.38   $   563.85
  7/21/2019 Luis Sandoval                          $9.50   66.20   $   15.00   $   364.10   $ 196.50   $   560.60
  7/28/2019 Luis Sandoval                          $9.50   66.53   $   15.00   $   365.93   $ 199.00   $   564.93
   8/4/2019 Luis Sandoval                          $9.50   66.35   $   15.00   $   364.93   $ 197.63   $   562.55



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                                                             Exhibit 3
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   Week                                                                          State Section 7: Section 7: Total Section 7
                                                                 Hourly Hours/
  Ending                            Name                                       Minimum Regular Half-time Overtime Back
                                                                  Rate Week
   Date                                                                         Wage   Rate Due     Due       Wages Due

  8/11/2019 Luis Sandoval                                          $9.50   66.12   $   15.00   $   363.64   $ 195.88   $   559.52
  8/18/2019 Luis Sandoval                                          $9.50   66.27   $   15.00   $   364.47   $ 197.00   $   561.47
  8/25/2019 Luis Sandoval                                          $9.50   65.85   $   15.00   $   362.18   $ 193.88   $   556.05
   9/1/2019 Luis Sandoval                                          $9.50   66.07   $   15.00   $   363.37   $ 195.50   $   558.87
   9/8/2019 Luis Sandoval                                          $9.50   45.75   $   15.00   $   251.63   $ 43.13    $   294.75
  8/20/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   60.50   $   11.00                $ 112.75   $   112.75
  8/27/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   61.87   $   11.00                $ 120.27   $   120.27
   9/3/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   60.33   $   11.00                $ 111.83   $   111.83
  9/10/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   56.90   $   11.00                $ 92.95    $    92.95
  9/17/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   63.42   $   11.00                $ 128.79   $   128.79
  9/24/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   60.62   $   11.00                $ 113.39   $   113.39
  10/1/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.40   $   11.00                $ 106.70   $   106.70
  10/8/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   56.15   $   11.00                $ 88.83    $    88.83
 10/15/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   58.20   $   11.00                $ 100.10   $   100.10
 10/22/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   58.23   $   11.00                $ 100.28   $   100.28
 10/29/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   56.37   $   11.00                $ 90.02    $    90.02
  11/5/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   64.43   $   11.00                $ 134.38   $   134.38
 11/12/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   56.42   $   11.00                $ 90.29    $    90.29
 11/19/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   63.72   $   11.00                $ 130.44   $   130.44
 11/26/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   53.48   $   11.00                $ 74.16    $    74.16
  12/3/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   57.83   $   11.00                $ 98.08    $    98.08
 12/10/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   58.20   $   11.00                $ 100.10   $   100.10
 12/17/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   55.57   $   11.00                $ 85.62    $    85.62
 12/24/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   58.27   $   11.00                $ 100.47   $   100.47
 12/31/2017 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   44.22   $   13.00   $ 88.43      $ 27.41    $   115.84
  1/14/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   56.68   $   13.00   $ 113.37     $ 108.44   $   221.81
  1/21/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.00   $   13.00   $ 118.00     $ 123.50   $   241.50
  1/28/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   57.37   $   13.00   $ 114.73     $ 112.88   $   227.62
   2/4/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   64.42   $   13.00   $ 128.83     $ 158.71   $   287.54
  2/11/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   56.02   $   13.00   $ 112.03     $ 104.11   $   216.14
  2/18/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   66.12   $   13.00   $ 132.23     $ 169.76   $   301.99
  2/25/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   57.15   $   13.00   $ 114.30     $ 111.48   $   225.78
   3/4/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   56.90   $   13.00   $ 113.80     $ 109.85   $   223.65
  3/25/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   51.35   $   13.00   $ 102.70     $ 73.78    $   176.48
   4/1/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   49.63   $   13.00   $ 99.27      $ 62.62    $   161.88
   4/8/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   54.08   $   13.00   $ 108.17     $ 91.54    $   199.71
  4/22/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   53.35   $   13.00   $ 106.70     $ 86.78    $   193.48
  4/29/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   42.52   $   13.00   $ 85.03      $ 16.36    $   101.39
   5/6/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   63.63   $   13.00   $ 127.27     $ 153.62   $   280.88
  5/13/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.18   $   13.00   $ 118.37     $ 124.69   $   243.06
  5/20/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   49.63   $   13.00   $ 99.27      $ 62.62    $   161.88
  5/27/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   48.03   $   13.00   $ 96.07      $ 52.22    $   148.28
  6/17/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   50.67   $   13.00   $ 101.33     $ 69.33    $   170.67
  6/24/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   44.55   $   13.00   $ 89.10      $ 29.58    $   118.68
  7/15/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   53.47   $   13.00   $ 106.93     $ 87.53    $   194.47
  7/22/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   57.37   $   13.00   $ 114.73     $ 112.88   $   227.62
  7/29/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   60.08   $   13.00   $ 120.17     $ 130.54   $   250.71
   8/5/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   51.58   $   13.00   $ 103.17     $ 75.29    $   178.46
  8/12/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   54.58   $   13.00   $ 109.17     $ 94.79    $   203.96
  8/19/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   58.30   $   13.00   $ 116.60     $ 118.95   $   235.55
  8/26/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   58.98   $   13.00   $ 117.97     $ 123.39   $   241.36
   9/2/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.27   $   13.00   $ 118.53     $ 125.23   $   243.77
   9/9/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   48.58   $   13.00   $ 97.17      $ 55.79    $   152.96
  9/16/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   58.85   $   13.00   $ 117.70     $ 122.53   $   240.23
  9/23/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   60.42   $   13.00   $ 120.83     $ 132.71   $   253.54
  9/30/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.63   $   13.00   $ 119.27     $ 127.62   $   246.88
  10/7/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   50.68   $   13.00   $ 101.37     $ 69.44    $   170.81
 10/14/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   61.23   $   13.00   $ 122.47     $ 138.02   $   260.48



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   Week                                                                          State Section 7: Section 7: Total Section 7
                                                                 Hourly Hours/
  Ending                            Name                                       Minimum Regular Half-time Overtime Back
                                                                  Rate Week
   Date                                                                         Wage   Rate Due     Due       Wages Due

 10/21/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   63.42   $   13.00   $ 126.83   $ 152.21   $   279.04
 10/28/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   68.23   $   13.00   $ 136.47   $ 183.52   $   319.98
  11/4/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   64.63   $   13.00   $ 129.27   $ 160.12   $   289.38
 11/11/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   66.23   $   13.00   $ 132.47   $ 170.52   $   302.98
 11/18/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   61.77   $   13.00   $ 123.53   $ 141.48   $   265.02
 11/25/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   50.57   $   13.00   $ 101.13   $ 68.68    $   169.82
  12/2/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   63.42   $   13.00   $ 126.83   $ 152.21   $   279.04
  12/9/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   62.27   $   13.00   $ 124.53   $ 144.73   $   269.27
 12/16/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   61.08   $   13.00   $ 122.17   $ 137.04   $   259.21
 12/23/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   60.15   $   13.00   $ 120.30   $ 130.98   $   251.28
 12/30/2018 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   46.83   $   13.00   $ 93.67    $ 44.42    $   138.08
   1/6/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   61.20   $   15.00   $ 244.80   $ 159.00   $   403.80
  1/13/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   63.78   $   15.00   $ 255.13   $ 178.38   $   433.51
  1/20/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   65.18   $   15.00   $ 260.73   $ 188.88   $   449.61
  1/27/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   65.72   $   15.00   $ 262.87   $ 192.88   $   455.74
   2/3/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   66.18   $   15.00   $ 264.73   $ 196.38   $   461.11
  2/10/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   67.28   $   15.00   $ 269.13   $ 204.63   $   473.76
  2/17/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   70.67   $   15.00   $ 282.67   $ 230.00   $   512.67
  2/24/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   58.37   $   15.00   $ 233.47   $ 137.75   $   371.22
  3/10/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   47.58   $   15.00   $ 190.33   $ 56.88    $   247.21
  3/17/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   51.97   $   15.00   $ 207.87   $ 89.75    $   297.62
  3/24/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   58.72   $   15.00   $ 234.87   $ 140.38   $   375.24
  3/31/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.65   $   15.00   $ 238.60   $ 147.38   $   385.98
   4/7/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   55.92   $   15.00   $ 223.67   $ 119.38   $   343.04
  4/14/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.30   $   15.00   $ 237.20   $ 144.75   $   381.95
  4/21/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.65   $   15.00   $ 238.60   $ 147.38   $   385.98
  4/28/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.58   $   15.00   $ 238.33   $ 146.88   $   385.21
   5/5/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.28   $   15.00   $ 237.13   $ 144.63   $   381.76
  5/12/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   60.03   $   15.00   $ 240.13   $ 150.25   $   390.38
  5/19/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   60.03   $   15.00   $ 240.13   $ 150.25   $   390.38
  5/26/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.33   $   15.00   $ 237.33   $ 145.00   $   382.33
   6/2/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   49.32   $   15.00   $ 197.27   $ 69.88    $   267.14
   6/9/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   60.12   $   15.00   $ 240.47   $ 150.88   $   391.34
  6/16/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   60.05   $   15.00   $ 240.20   $ 150.38   $   390.58
  6/23/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.37   $   15.00   $ 237.47   $ 145.25   $   382.72
  6/30/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.65   $   15.00   $ 238.60   $ 147.38   $   385.98
   7/7/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   49.87   $   15.00   $ 199.47   $ 74.00    $   273.47
  7/14/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.25   $   15.00   $ 237.00   $ 144.38   $   381.38
  7/21/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   58.52   $   15.00   $ 234.07   $ 138.88   $   372.94
  7/28/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   58.87   $   15.00   $ 235.47   $ 141.50   $   376.97
   8/4/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   58.88   $   15.00   $ 235.53   $ 141.63   $   377.16
  8/11/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.35   $   15.00   $ 237.40   $ 145.13   $   382.53
  8/25/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   57.17   $   15.00   $ 228.67   $ 128.75   $   357.42
   9/1/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   58.33   $   15.00   $ 233.33   $ 137.50   $   370.83
   9/8/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   48.58   $   15.00   $ 194.33   $ 64.38    $   258.71
  9/15/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.73   $   15.00   $ 238.93   $ 148.00   $   386.93
  9/22/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   60.83   $   15.00   $ 243.33   $ 156.25   $   399.58
  9/29/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   60.33   $   15.00   $ 241.33   $ 152.50   $   393.83
  10/6/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   60.20   $   15.00   $ 240.80   $ 151.50   $   392.30
 10/13/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   51.95   $   15.00   $ 207.80   $ 89.62    $   297.43
 10/20/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   57.18   $   15.00   $ 228.73   $ 128.88   $   357.61
 10/27/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   61.40   $   15.00   $ 245.60   $ 160.50   $   406.10
  11/3/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.78   $   15.00   $ 239.13   $ 148.38   $   387.51
 11/10/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   53.57   $   15.00   $ 214.27   $ 101.75   $   316.02
 11/17/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   52.57   $   15.00   $ 210.27   $ 94.25    $   304.52
 11/24/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   51.92   $   15.00   $ 207.67   $ 89.38    $   297.04
  12/1/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   49.37   $   15.00   $ 197.47   $ 70.25    $   267.72
  12/8/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   53.95   $   15.00   $ 215.80   $ 104.63   $   320.43



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   Week                                                                          State Section 7: Section 7: Total Section 7
                                                                 Hourly Hours/
  Ending                            Name                                       Minimum Regular Half-time Overtime Back
                                                                  Rate Week
   Date                                                                         Wage   Rate Due     Due       Wages Due

 12/29/2019 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   43.00   $   15.00   $   172.00   $ 22.50    $   194.50
   1/5/2020 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   42.92   $   15.00   $   171.67   $ 21.88    $   193.54
  1/12/2020 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   59.08   $   15.00   $   236.33   $ 143.13   $   379.46
  1/19/2020 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   49.23   $   15.00   $   196.93   $ 69.25    $   266.18
  1/26/2020 Luis Smeling Rodriguez - Car Washer/Detailer          $11.00   46.63   $   15.00   $   186.53   $ 49.75    $   236.28
  9/10/2017 Luis Villot                                           $11.00   52.95   $   11.00                $ 71.23    $    71.23
  9/17/2017 Luis Villot                                           $11.00   43.57   $   11.00                $ 19.62    $    19.62
  9/24/2017 Luswin Alexander Barrera - Car Wash                   $12.00   71.88   $   11.00                $ 191.30   $   191.30
  10/1/2017 Luswin Alexander Barrera - Car Wash                   $12.00   62.47   $   11.00                $ 134.80   $   134.80
  10/8/2017 Luswin Alexander Barrera - Car Wash                   $11.50   72.02   $   11.00                $ 184.10   $   184.10
 10/15/2017 Luswin Alexander Barrera - Car Wash                   $12.00   67.23   $   11.00                $ 163.40   $   163.40
 10/22/2017 Luswin Alexander Barrera - Car Wash                   $12.00   63.83   $   11.00                $ 143.00   $   143.00
 10/29/2017 Luswin Alexander Barrera - Car Wash                   $12.00   71.82   $   11.00                $ 190.90   $   190.90
  11/5/2017 Luswin Alexander Barrera - Car Wash                   $12.00   72.30   $   11.00                $ 193.80   $   193.80
 11/12/2017 Luswin Alexander Barrera - Car Wash                   $12.00   63.27   $   11.00                $ 139.60   $   139.60
 11/19/2017 Luswin Alexander Barrera - Car Wash                   $12.00   71.27   $   11.00                $ 187.60   $   187.60
 11/26/2017 Luswin Alexander Barrera - Car Wash                   $12.00   58.40   $   11.00                $ 110.40   $   110.40
  12/3/2017 Luswin Alexander Barrera - Car Wash                   $12.00   61.87   $   11.00                $ 131.20   $   131.20
 12/10/2017 Luswin Alexander Barrera - Car Wash                   $12.00   70.63   $   11.00                $ 183.80   $   183.80
 12/17/2017 Luswin Alexander Barrera - Car Wash                   $12.00   71.53   $   11.00                $ 189.20   $   189.20
 12/24/2017 Luswin Alexander Barrera - Car Wash                   $12.00   70.77   $   11.00                $ 184.60   $   184.60
 12/31/2017 Luswin Alexander Barrera - Car Wash                   $12.00   58.50   $   13.00   $    58.50   $ 120.25   $   178.75
   1/7/2018 Luswin Alexander Barrera - Car Wash                   $12.00   51.70   $   13.00   $    51.70   $ 76.05    $   127.75
  1/14/2018 Luswin Alexander Barrera - Car Wash                   $12.00   60.88   $   13.00   $    60.88   $ 135.74   $   196.63
  1/21/2018 Luswin Alexander Barrera - Car Wash                   $12.00   69.88   $   13.00   $    69.88   $ 194.24   $   264.13
  1/28/2018 Luswin Alexander Barrera - Car Wash                   $12.00   71.38   $   13.00   $    71.38   $ 203.99   $   275.38
   2/4/2018 Luswin Alexander Barrera - Car Wash                   $12.00   58.63   $   13.00   $    58.63   $ 121.12   $   179.75
  2/11/2018 Luswin Alexander Barrera - Car Wash                   $12.00   66.58   $   13.00   $    66.58   $ 172.79   $   239.38
  2/18/2018 Luswin Alexander Barrera - Car Wash                   $12.00   66.88   $   13.00   $    66.88   $ 174.74   $   241.63
  2/25/2018 Luswin Alexander Barrera - Car Wash                   $12.00   66.97   $   13.00   $    66.97   $ 175.28   $   242.25
   3/4/2018 Luswin Alexander Barrera - Car Wash                   $12.00   67.05   $   13.00   $    67.05   $ 175.83   $   242.88
   4/1/2018 Luswin Alexander Barrera - Car Wash                   $12.00   68.82   $   13.00   $    68.82   $ 187.31   $   256.13
   4/8/2018 Luswin Alexander Barrera - Car Wash                   $12.00   69.25   $   13.00   $    69.25   $ 190.13   $   259.38
  4/15/2018 Luswin Alexander Barrera - Car Wash                   $12.00   71.12   $   13.00   $    71.12   $ 202.26   $   273.38
  4/22/2018 Luswin Alexander Barrera - Car Wash                   $12.00   70.77   $   13.00   $    70.77   $ 199.98   $   270.75
  4/29/2018 Luswin Alexander Barrera - Car Wash                   $12.00   69.73   $   13.00   $    69.73   $ 193.27   $   263.00
   5/6/2018 Luswin Alexander Barrera - Car Wash                   $12.00   70.37   $   13.00   $    70.37   $ 197.38   $   267.75
  5/13/2018 Luswin Alexander Barrera - Car Wash                   $12.00   69.92   $   13.00   $    69.92   $ 194.46   $   264.38
  5/20/2018 Luswin Alexander Barrera - Car Wash                   $12.00   69.55   $   13.00   $    69.55   $ 192.08   $   261.63
  5/27/2018 Luswin Alexander Barrera - Car Wash                   $12.00   71.25   $   13.00   $    71.25   $ 203.13   $   274.38
   6/3/2018 Luswin Alexander Barrera - Car Wash                   $12.00   58.62   $   13.00   $    58.62   $ 121.01   $   179.63
  6/10/2018 Luswin Alexander Barrera - Car Wash                   $12.00   71.20   $   13.00   $    71.20   $ 202.80   $   274.00
  6/17/2018 Luswin Alexander Barrera - Car Wash                   $12.00   70.70   $   13.00   $    70.70   $ 199.55   $   270.25
  6/24/2018 Luswin Alexander Barrera - Car Wash                   $12.00   69.77   $   13.00   $    69.77   $ 193.48   $   263.25
   7/1/2018 Luswin Alexander Barrera - Car Wash                   $12.00   70.38   $   13.00   $    70.38   $ 197.49   $   267.88
   7/8/2018 Luswin Alexander Barrera - Car Wash                   $12.00   55.53   $   13.00   $    55.53   $ 100.97   $   156.50
  7/15/2018 Luswin Alexander Barrera - Car Wash                   $12.00   70.30   $   13.00   $    70.30   $ 196.95   $   267.25
  7/22/2018 Luswin Alexander Barrera - Car Wash                   $12.00   70.50   $   13.00   $    70.50   $ 198.25   $   268.75
  7/29/2018 Luswin Alexander Barrera - Car Wash                   $12.00   70.38   $   13.00   $    70.38   $ 197.49   $   267.88
   8/5/2018 Luswin Alexander Barrera - Car Wash                   $12.00   70.83   $   13.00   $    70.83   $ 200.42   $   271.25
  8/12/2018 Luswin Alexander Barrera - Car Wash                   $12.00   70.25   $   13.00   $    70.25   $ 196.63   $   266.88
  8/19/2018 Luswin Alexander Barrera - Car Wash                   $12.00   70.42   $   13.00   $    70.42   $ 197.71   $   268.13
  8/26/2018 Luswin Alexander Barrera - Car Wash                   $12.00   69.20   $   13.00   $    69.20   $ 189.80   $   259.00
   9/2/2018 Luswin Alexander Barrera - Car Wash                   $12.00   69.25   $   13.00   $    69.25   $ 190.13   $   259.38
   9/9/2018 Luswin Alexander Barrera - Car Wash                   $12.00   58.25   $   13.00   $    58.25   $ 118.63   $   176.88
  9/16/2018 Luswin Alexander Barrera - Car Wash                   $12.00   69.20   $   13.00   $    69.20   $ 189.80   $   259.00
  9/23/2018 Luswin Alexander Barrera - Car Wash                   $12.00   70.50   $   13.00   $    70.50   $ 198.25   $   268.75
  9/30/2018 Luswin Alexander Barrera - Car Wash                   $12.00   69.03   $   13.00   $    69.03   $ 188.72   $   257.75



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                                                           Exhibit 3
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   Week                                                                        State Section 7: Section 7: Total Section 7
                                                               Hourly Hours/
  Ending                           Name                                      Minimum Regular Half-time Overtime Back
                                                                Rate Week
   Date                                                                       Wage   Rate Due     Due       Wages Due

  10/7/2018 Luswin Alexander Barrera - Car Wash                 $12.00   70.08   $   13.00   $ 70.08    $ 195.54   $   265.63
 10/14/2018 Luswin Alexander Barrera - Car Wash                 $12.00   71.35   $   13.00   $ 71.35    $ 203.78   $   275.13
 10/21/2018 Luswin Alexander Barrera - Car Wash                 $12.00   69.52   $   13.00   $ 69.52    $ 191.86   $   261.38
 10/28/2018 Luswin Alexander Barrera - Car Wash                 $12.00   71.23   $   13.00   $ 71.23    $ 203.02   $   274.25
  11/4/2018 Luswin Alexander Barrera - Car Wash                 $12.00   70.67   $   13.00   $ 70.67    $ 199.33   $   270.00
 11/11/2018 Luswin Alexander Barrera - Car Wash                 $12.00   59.58   $   13.00   $ 59.58    $ 127.29   $   186.88
 11/18/2018 Luswin Alexander Barrera - Car Wash                 $12.00   69.42   $   13.00   $ 69.42    $ 191.21   $   260.63
 11/25/2018 Luswin Alexander Barrera - Car Wash                 $12.00   56.68   $   13.00   $ 56.68    $ 108.44   $   165.13
  12/2/2018 Luswin Alexander Barrera - Car Wash                 $12.00   70.07   $   13.00   $ 70.07    $ 195.43   $   265.50
  12/9/2018 Luswin Alexander Barrera - Car Wash                 $12.00   60.55   $   13.00   $ 60.55    $ 133.58   $   194.13
 12/16/2018 Luswin Alexander Barrera - Car Wash                 $12.00   69.97   $   13.00   $ 69.97    $ 194.78   $   264.75
 12/23/2018 Luswin Alexander Barrera - Car Wash                 $12.00   70.80   $   13.00   $ 70.80    $ 200.20   $   271.00
 12/30/2018 Luswin Alexander Barrera - Car Wash                 $12.00   54.02   $   13.00   $ 54.02    $ 91.11    $   145.13
   1/6/2019 Luswin Alexander Barrera - Car Wash                 $12.00   56.20   $   15.00   $ 168.60   $ 121.50   $   290.10
  1/13/2019 Luswin Alexander Barrera - Car Wash                 $12.00   68.60   $   15.00   $ 205.80   $ 214.50   $   420.30
  1/20/2019 Luswin Alexander Barrera - Car Wash                 $12.00   71.62   $   15.00   $ 214.85   $ 237.13   $   451.98
  1/27/2019 Luswin Alexander Barrera - Car Wash                 $12.00   68.87   $   15.00   $ 206.60   $ 216.50   $   423.10
   2/3/2019 Luswin Alexander Barrera - Car Wash                 $12.00   70.17   $   15.00   $ 210.50   $ 226.25   $   436.75
  2/10/2019 Luswin Alexander Barrera - Car Wash                 $12.00   54.20   $   15.00   $ 162.60   $ 106.50   $   269.10
  2/17/2019 Luswin Alexander Barrera - Car Wash                 $12.00   67.90   $   15.00   $ 203.70   $ 209.25   $   412.95
  2/24/2019 Luswin Alexander Barrera - Car Wash                 $12.00   69.20   $   15.00   $ 207.60   $ 219.00   $   426.60
   3/3/2019 Luswin Alexander Barrera - Car Wash                 $12.00   70.35   $   15.00   $ 211.05   $ 227.63   $   438.68
  3/10/2019 Luswin Alexander Barrera - Car Wash                 $12.00   69.93   $   15.00   $ 209.80   $ 224.50   $   434.30
  3/17/2019 Luswin Alexander Barrera - Car Wash                 $12.00   72.25   $   15.00   $ 216.75   $ 241.88   $   458.63
  3/24/2019 Luswin Alexander Barrera - Car Wash                 $12.00   69.37   $   15.00   $ 208.10   $ 220.25   $   428.35
   6/2/2019 Luswin Alexander Barrera - Car Wash                 $12.00   43.08   $   15.00   $ 129.25   $ 23.13    $   152.38
   6/9/2019 Luswin Alexander Barrera - Car Wash                 $12.00   49.98   $   15.00   $ 149.95   $ 74.88    $   224.83
  6/16/2019 Luswin Alexander Barrera - Car Wash                 $12.00   48.93   $   15.00   $ 146.80   $ 67.00    $   213.80
  6/23/2019 Luswin Alexander Barrera - Car Wash                 $12.00   51.95   $   15.00   $ 155.85   $ 89.63    $   245.48
  6/30/2019 Luswin Alexander Barrera - Car Wash                 $12.00   49.07   $   15.00   $ 147.20   $ 68.00    $   215.20
   7/7/2019 Luswin Alexander Barrera - Car Wash                 $15.00   48.38   $   15.00              $ 62.87    $    62.87
  7/14/2019 Luswin Alexander Barrera - Car Wash                 $15.00   65.03   $   15.00              $ 187.75   $   187.75
  7/21/2019 Luswin Alexander Barrera - Car Wash                 $15.00   51.02   $   15.00              $ 82.62    $    82.62
  7/28/2019 Luswin Alexander Barrera - Car Wash                 $15.00   52.03   $   15.00              $ 90.25    $    90.25
   8/4/2019 Luswin Alexander Barrera - Car Wash                 $15.00   56.42   $   15.00              $ 123.13   $   123.13
  8/11/2019 Luswin Alexander Barrera - Car Wash                 $15.00   51.22   $   15.00              $ 84.13    $    84.13
  8/18/2019 Luswin Alexander Barrera - Car Wash                 $15.00   65.48   $   15.00              $ 191.13   $   191.13
  8/25/2019 Luswin Alexander Barrera - Car Wash                 $15.00   57.07   $   15.00              $ 128.00   $   128.00
   9/1/2019 Luswin Alexander Barrera - Car Wash                 $15.00   59.03   $   15.00              $ 142.75   $   142.75
   9/8/2019 Luswin Alexander Barrera - Car Wash                 $15.00   45.75   $   15.00              $ 43.13    $    43.13
  9/15/2019 Luswin Alexander Barrera - Car Wash                 $15.00   52.32   $   15.00              $ 92.38    $    92.38
  9/22/2019 Luswin Alexander Barrera - Car Wash                 $15.00   58.20   $   15.00              $ 136.50   $   136.50
  9/29/2019 Luswin Alexander Barrera - Car Wash                 $15.00   54.83   $   15.00              $ 111.25   $   111.25
  10/6/2019 Luswin Alexander Barrera - Car Wash                 $15.00   54.40   $   15.00              $ 108.00   $   108.00
 10/13/2019 Luswin Alexander Barrera - Car Wash                 $15.00   60.97   $   15.00              $ 157.25   $   157.25
 10/20/2019 Luswin Alexander Barrera - Car Wash                 $15.00   52.33   $   15.00              $ 92.50    $    92.50
 10/27/2019 Luswin Alexander Barrera - Car Wash                 $15.00   53.27   $   15.00              $ 99.50    $    99.50
  11/3/2019 Luswin Alexander Barrera - Car Wash                 $15.00   56.45   $   15.00              $ 123.38   $   123.38
 11/10/2019 Luswin Alexander Barrera - Car Wash                 $15.00   46.42   $   15.00              $ 48.13    $    48.13
 11/17/2019 Luswin Alexander Barrera - Car Wash                 $15.00   59.62   $   15.00              $ 147.13   $   147.13
 11/24/2019 Luswin Alexander Barrera - Car Wash                 $15.00   61.90   $   15.00              $ 164.25   $   164.25
  12/1/2019 Luswin Alexander Barrera - Car Wash                 $15.00   50.10   $   15.00              $ 75.75    $    75.75
  12/8/2019 Luswin Alexander Barrera - Car Wash                 $15.00   60.42   $   15.00              $ 153.13   $   153.13
 12/15/2019 Luswin Alexander Barrera - Car Wash                 $15.00   59.97   $   15.00              $ 149.75   $   149.75
 12/22/2019 Luswin Alexander Barrera - Car Wash                 $15.00   60.90   $   15.00              $ 156.75   $   156.75
 12/29/2019 Luswin Alexander Barrera - Car Wash                 $15.00   42.05   $   15.00              $ 15.38    $    15.38
   1/5/2020 Luswin Alexander Barrera - Car Wash                 $15.00   55.73   $   15.00              $ 118.00   $   118.00
  1/12/2020 Luswin Alexander Barrera - Car Wash                 $15.00   60.80   $   15.00              $ 156.00   $   156.00



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   Week                                                                        State Section 7: Section 7: Total Section 7
                                                               Hourly Hours/
  Ending                           Name                                      Minimum Regular Half-time Overtime Back
                                                                Rate Week
   Date                                                                       Wage   Rate Due     Due       Wages Due

  1/19/2020 Luswin Alexander Barrera - Car Wash                 $15.00   60.75   $   15.00              $ 155.63   $   155.63
  1/26/2020 Luswin Alexander Barrera - Car Wash                 $15.00   47.28   $   15.00              $ 54.63    $    54.63
 10/29/2017 Malik Whall - Service Valet                         $16.00   48.00   $   11.00              $ 64.00    $    64.00
   4/8/2018 Manuel Hernandez-0308                               $10.00   70.68   $   13.00   $ 212.05   $ 199.44   $   411.49
  4/15/2018 Manuel Hernandez-0308                               $10.00   69.57   $   13.00   $ 208.70   $ 192.18   $   400.88
  4/22/2018 Manuel Hernandez-0308                               $10.00   73.42   $   13.00   $ 220.25   $ 217.21   $   437.46
  4/29/2018 Manuel Hernandez-0308                               $10.00   72.48   $   13.00   $ 217.45   $ 211.14   $   428.59
   5/6/2018 Manuel Hernandez-0308                               $10.00   73.17   $   13.00   $ 219.50   $ 215.58   $   435.08
  5/13/2018 Manuel Hernandez-0308                               $10.00   71.55   $   13.00   $ 214.65   $ 205.08   $   419.73
  5/20/2018 Manuel Hernandez-0308                               $10.00   69.65   $   13.00   $ 208.95   $ 192.73   $   401.68
  5/27/2018 Manuel Hernandez-0308                               $10.00   72.02   $   13.00   $ 216.05   $ 208.11   $   424.16
   6/3/2018 Manuel Hernandez-0308                               $10.00   68.73   $   13.00   $ 206.20   $ 186.77   $   392.97
  6/10/2018 Manuel Hernandez-0308                               $10.00   73.68   $   13.00   $ 221.05   $ 218.94   $   439.99
  6/17/2018 Manuel Hernandez-0308                               $10.00   76.08   $   13.00   $ 228.25   $ 234.54   $   462.79
  6/24/2018 Manuel Hernandez-0308                               $10.00   77.15   $   13.00   $ 231.45   $ 241.48   $   472.93
   7/1/2018 Manuel Hernandez-0308                               $10.00   70.83   $   13.00   $ 212.50   $ 200.42   $   412.92
   7/8/2018 Manuel Hernandez-0308                               $10.00   61.42   $   13.00   $ 184.25   $ 139.21   $   323.46
  7/15/2018 Manuel Hernandez-0308                               $10.00   62.80   $   13.00   $ 188.40   $ 148.20   $   336.60
  7/22/2018 Manuel Hernandez-0308                               $10.00   71.13   $   13.00   $ 213.40   $ 202.37   $   415.77
  7/29/2018 Manuel Hernandez-0308                               $10.00   68.67   $   13.00   $ 206.00   $ 186.33   $   392.33
   8/5/2018 Manuel Hernandez-0308                               $10.00   65.48   $   13.00   $ 196.45   $ 165.64   $   362.09
  8/12/2018 Manuel Hernandez-0308                               $10.00   59.95   $   13.00   $ 179.85   $ 129.68   $   309.53
  8/19/2018 Manuel Hernandez-0308                               $10.00   64.63   $   13.00   $ 193.90   $ 160.12   $   354.02
  8/26/2018 Manuel Hernandez-0308                               $10.00   67.18   $   13.00   $ 201.55   $ 176.69   $   378.24
   9/2/2018 Manuel Hernandez-0308                               $10.00   65.97   $   13.00   $ 197.90   $ 168.78   $   366.68
   9/9/2018 Manuel Hernandez-0308                               $10.00   54.55   $   13.00   $ 163.65   $ 94.58    $   258.23
  9/16/2018 Manuel Hernandez-0308                               $10.00   61.83   $   13.00   $ 185.50   $ 141.92   $   327.42
  9/23/2018 Manuel Hernandez-0308                               $10.00   65.57   $   13.00   $ 196.70   $ 166.18   $   362.88
  9/30/2018 Manuel Hernandez-0308                               $10.00   62.17   $   13.00   $ 186.50   $ 144.08   $   330.58
  10/7/2018 Manuel Hernandez-0308                               $10.00   60.95   $   13.00   $ 182.85   $ 136.18   $   319.03
 10/14/2018 Manuel Hernandez-0308                               $10.00   64.75   $   13.00   $ 194.25   $ 160.88   $   355.13
 10/21/2018 Manuel Hernandez-0308                               $10.00   60.63   $   13.00   $ 181.90   $ 134.12   $   316.02
 10/28/2018 Manuel Hernandez-0308                               $10.00   64.70   $   13.00   $ 194.10   $ 160.55   $   354.65
  11/4/2018 Manuel Hernandez-0308                               $10.00   61.70   $   13.00   $ 185.10   $ 141.05   $   326.15
 11/11/2018 Manuel Hernandez-0308                               $10.00   58.17   $   13.00   $ 174.50   $ 118.08   $   292.58
 11/18/2018 Manuel Hernandez-0308                               $10.00   60.43   $   13.00   $ 181.30   $ 132.82   $   314.12
 11/25/2018 Manuel Hernandez-0308                               $10.00   50.88   $   13.00   $ 152.65   $ 70.74    $   223.39
  12/2/2018 Manuel Hernandez-0308                               $10.00   63.43   $   13.00   $ 190.30   $ 152.32   $   342.62
  12/9/2018 Manuel Hernandez-0308                               $10.00   64.80   $   13.00   $ 194.40   $ 161.20   $   355.60
 12/16/2018 Manuel Hernandez-0308                               $10.00   64.18   $   13.00   $ 192.55   $ 157.19   $   349.74
 12/23/2018 Manuel Hernandez-0308                               $10.00   67.48   $   13.00   $ 202.45   $ 178.64   $   381.09
 12/30/2018 Manuel Hernandez-0308                               $10.00   55.55   $   13.00   $ 166.65   $ 101.08   $   267.73
  5/14/2017 Manuel Lebron                                       $10.00   45.25   $   11.00   $ 45.25    $ 28.88    $    74.13
  5/21/2017 Manuel Lebron                                       $10.00   47.28   $   11.00   $ 47.28    $ 40.06    $    87.34
  5/28/2017 Manuel Lebron                                       $10.00   47.77   $   11.00   $ 47.77    $ 42.72    $    90.48
  6/18/2017 Manuel Lebron                                       $10.00   44.47   $   11.00   $ 44.47    $ 24.57    $    69.03
  6/25/2017 Manuel Lebron                                       $10.00   46.13   $   11.00   $ 46.13    $ 33.73    $    79.87
   7/2/2017 Manuel Lebron                                       $10.00   43.85   $   11.00   $ 43.85    $ 21.18    $    65.03
  7/16/2017 Manuel Lebron                                       $10.00   47.60   $   11.00   $ 47.60    $ 41.80    $    89.40
  7/30/2017 Manuel Lebron                                       $10.00   51.33   $   11.00   $ 51.33    $ 62.33    $   113.67
   8/6/2017 Manuel Lebron                                       $10.00   48.88   $   11.00   $ 48.88    $ 48.86    $    97.74
  8/13/2017 Manuel Lebron                                       $10.00   40.28   $   11.00   $ 40.28    $   1.56   $    41.84
  8/20/2017 Manuel Lebron                                       $10.00   51.72   $   11.00   $ 51.72    $ 64.44    $   116.16
  8/27/2017 Manuel Lebron                                       $10.00   46.37   $   11.00   $ 46.37    $ 35.02    $    81.38
   9/3/2017 Manuel Lebron                                       $10.00   42.62   $   11.00   $ 42.62    $ 14.39    $    57.01
  9/10/2017 Manuel Lebron                                       $10.00   45.15   $   11.00   $ 45.15    $ 28.33    $    73.48
  9/17/2017 Manuel Lebron                                       $10.00   40.30   $   11.00   $ 40.30    $   1.65   $    41.95
  10/1/2017 Manuel Lebron                                       $10.00   50.28   $   11.00   $ 50.28    $ 56.56    $   106.84



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   Week                                                                State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
  Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                        Rate Week
   Date                                                               Wage   Rate Due     Due       Wages Due

  10/8/2017 Manuel Lebron                               $10.00   46.73   $   11.00   $    46.73   $ 37.03    $    83.77
 10/22/2017 Manuel Lebron                               $10.00   48.60   $   11.00   $    48.60   $ 47.30    $    95.90
 10/29/2017 Manuel Lebron                               $10.00   40.07   $   11.00   $    40.07   $   0.37   $    40.43
 11/12/2017 Manuel Lebron                               $10.00   57.35   $   11.00   $    57.35   $ 95.43    $   152.78
  12/3/2017 Manuel Lebron                               $10.00   45.57   $   11.00   $    45.57   $ 30.62    $    76.18
 12/10/2017 Manuel Lebron                               $10.00   54.32   $   11.00   $    54.32   $ 78.74    $   133.06
 12/24/2017 Manuel Lebron                               $10.00   43.58   $   11.00   $    43.58   $ 19.71    $    63.29
  1/28/2018 Manuel Lebron                               $13.00   40.83   $   13.00                $   5.42   $     5.42
   2/4/2018 Manuel Lebron                               $13.00   42.92   $   13.00                $ 18.96    $    18.96
  2/11/2018 Manuel Lebron                               $13.00   43.67   $   13.00                $ 23.83    $    23.83
  2/18/2018 Manuel Lebron                               $13.00   43.35   $   13.00                $ 21.78    $    21.78
  2/25/2018 Manuel Lebron                               $13.00   49.55   $   13.00                $ 62.08    $    62.08
   3/4/2018 Manuel Lebron                               $13.00   40.82   $   13.00                $   5.31   $     5.31
   4/1/2018 Manuel Lebron                               $16.50   40.85   $   13.00                $   7.01   $     7.01
  4/15/2018 Manuel Lebron                               $16.50   44.63   $   13.00                $ 38.23    $    38.23
  4/22/2018 Manuel Lebron                               $16.50   48.92   $   13.00                $ 73.56    $    73.56
  4/29/2018 Manuel Lebron                               $16.50   46.15   $   13.00                $ 50.74    $    50.74
   5/6/2018 Manuel Lebron                               $16.50   50.23   $   13.00                $ 84.43    $    84.43
  5/13/2018 Manuel Lebron                               $16.50   44.98   $   13.00                $ 41.11    $    41.11
  5/20/2018 Manuel Lebron                               $16.50   45.85   $   13.00                $ 48.26    $    48.26
  5/27/2018 Manuel Lebron                               $16.50   46.93   $   13.00                $ 57.20    $    57.20
   6/3/2018 Manuel Lebron                               $16.50   48.57   $   13.00                $ 70.68    $    70.68
  6/10/2018 Manuel Lebron                               $16.50   56.97   $   13.00                $ 139.98   $   139.98
  6/17/2018 Manuel Lebron                               $16.50   57.92   $   13.00                $ 147.81   $   147.81
  10/8/2017 Manuel Martinez-Shuttle                     $16.00   43.83   $   11.00                $ 30.67    $    30.67
 11/19/2017 Manuel Martinez-Shuttle                     $16.00   41.03   $   11.00                $   8.27   $     8.27
 10/27/2019 Marcos Santana                              $11.50   59.62   $   15.00   $   208.66   $ 147.13   $   355.78
  11/3/2019 Marcos Santana                              $11.50   73.62   $   15.00   $   257.66   $ 252.13   $   509.78
 11/10/2019 Marcos Santana                              $11.50   65.85   $   15.00   $   230.48   $ 193.88   $   424.35
 11/17/2019 Marcos Santana                              $11.50   58.90   $   15.00   $   206.15   $ 141.75   $   347.90
 11/24/2019 Marcos Santana                              $11.50   67.02   $   15.00   $   234.56   $ 202.63   $   437.18
  12/1/2019 Marcos Santana                              $11.50   44.43   $   15.00   $   155.52   $ 33.25    $   188.77
  12/8/2019 Marcos Santana                              $11.50   56.37   $   15.00   $   197.28   $ 122.75   $   320.03
 12/15/2019 Marcos Santana                              $11.50   66.47   $   15.00   $   232.63   $ 198.50   $   431.13
  1/19/2020 Marcos Santana                              $11.50   56.30   $   15.00   $   197.05   $ 122.25   $   319.30
  1/26/2020 Marcos Santana                              $11.50   70.20   $   15.00   $   245.70   $ 226.50   $   472.20
 10/21/2018 Maria Mendez                                $16.50   49.17   $   13.00                $ 75.63    $    75.63
 10/28/2018 Maria Mendez                                $16.50   48.88   $   13.00                $ 73.29    $    73.29
  1/14/2018 Mariano Candelario Calderon                 $13.00   42.55   $   13.00                $ 16.58    $    16.58
  1/21/2018 Mariano Candelario Calderon                 $13.00   53.38   $   13.00                $ 86.99    $    86.99
  1/28/2018 Mariano Candelario Calderon                 $13.00   43.12   $   13.00                $ 20.26    $    20.26
  5/19/2019 Mario Hernandez                             $16.50   47.08   $   15.00                $ 58.44    $    58.44
 10/29/2017 Mark Gyamfi - Service Valet                 $16.50   42.15   $   11.00                $ 17.74    $    17.74
 12/10/2017 Mark Gyamfi - Service Valet                 $16.50   42.73   $   11.00                $ 22.55    $    22.55
 12/17/2017 Mark Gyamfi - Service Valet                 $16.50   42.33   $   11.00                $ 19.25    $    19.25
  1/21/2018 Mark Gyamfi - Service Valet                 $16.50   43.40   $   13.00                $ 28.05    $    28.05
  1/28/2018 Mark Gyamfi - Service Valet                 $16.50   42.43   $   13.00                $ 20.08    $    20.08
   2/4/2018 Mark Gyamfi - Service Valet                 $16.50   42.20   $   13.00                $ 18.15    $    18.15
  2/11/2018 Mark Gyamfi - Service Valet                 $16.50   40.72   $   13.00                $   5.91   $     5.91
  2/25/2018 Mark Gyamfi - Service Valet                 $16.50   41.97   $   13.00                $ 16.23    $    16.23
   3/4/2018 Mark Gyamfi - Service Valet                 $16.50   42.63   $   13.00                $ 21.73    $    21.73
   4/1/2018 Mark Gyamfi - Service Valet                 $16.50   42.45   $   13.00                $ 20.21    $    20.21
   4/8/2018 Mark Gyamfi - Service Valet                 $16.50   43.78   $   13.00                $ 31.21    $    31.21
   5/6/2018 Mark Gyamfi - Service Valet                 $16.50   46.40   $   13.00                $ 52.80    $    52.80
  2/24/2019 Mark Mendoza                                 $9.50   46.38   $   15.00   $   255.11   $ 47.88    $   302.98
   3/3/2019 Mark Mendoza                                 $9.50   60.17   $   15.00   $   330.92   $ 151.25   $   482.17
  3/10/2019 Mark Mendoza                                 $9.50   51.23   $   15.00   $   281.78   $ 84.25    $   366.03
  3/17/2019 Mark Mendoza                                 $9.50   53.50   $   15.00   $   294.25   $ 101.25   $   395.50



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   Week                                                                      State Section 7: Section 7: Total Section 7
                                                             Hourly Hours/
  Ending                             Name                                  Minimum Regular Half-time Overtime Back
                                                              Rate Week
   Date                                                                     Wage   Rate Due     Due       Wages Due

  3/24/2019 Mark Mendoza                                       $9.50   64.83   $   15.00   $   356.58   $ 186.25   $   542.83
  3/31/2019 Mark Mendoza                                       $9.50   66.12   $   15.00   $   363.64   $ 195.88   $   559.52
   4/7/2019 Mark Mendoza                                       $9.50   63.18   $   15.00   $   347.51   $ 173.88   $   521.38
  4/14/2019 Mark Mendoza                                       $9.50   56.78   $   15.00   $   312.31   $ 125.88   $   438.18
  4/21/2019 Mark Mendoza                                       $9.50   65.18   $   15.00   $   358.51   $ 188.88   $   547.38
  4/28/2019 Mark Mendoza                                       $9.50   43.82   $   15.00   $   240.99   $ 28.63    $   269.62
   5/5/2019 Mark Mendoza                                       $9.50   68.48   $   15.00   $   376.66   $ 213.63   $   590.28
  5/12/2019 Mark Mendoza                                       $9.50   69.35   $   15.00   $   381.43   $ 220.13   $   601.55
  5/19/2019 Mark Mendoza                                       $9.50   77.40   $   15.00   $   425.70   $ 280.50   $   706.20
  5/26/2019 Mark Mendoza                                       $9.50   75.62   $   15.00   $   415.89   $ 267.13   $   683.02
   6/2/2019 Mark Mendoza                                       $9.50   64.60   $   15.00   $   355.30   $ 184.50   $   539.80
   6/9/2019 Mark Mendoza                                       $9.50   64.03   $   15.00   $   352.18   $ 180.25   $   532.43
  6/23/2019 Mark Mendoza                                       $9.50   64.35   $   15.00   $   353.93   $ 182.63   $   536.55
  6/30/2019 Mark Mendoza                                       $9.50   73.62   $   15.00   $   404.89   $ 252.13   $   657.02
   7/7/2019 Mark Mendoza                                       $9.50   60.80   $   15.00   $   334.40   $ 156.00   $   490.40
  7/14/2019 Mark Mendoza                                       $9.50   74.27   $   15.00   $   408.47   $ 257.00   $   665.47
  7/21/2019 Mark Mendoza                                       $9.50   81.28   $   15.00   $   447.06   $ 309.63   $   756.68
  2/11/2018 Mark Torrel Cruickshank - Shuttle                 $16.50   40.73   $   13.00                $   6.05   $     6.05
   3/4/2018 Mark Torrel Cruickshank - Shuttle                 $16.50   41.60   $   13.00                $ 13.20    $    13.20
   4/8/2018 Mark Torrel Cruickshank - Shuttle                 $16.50   42.53   $   13.00                $ 20.90    $    20.90
  4/29/2018 Mark Torrel Cruickshank - Shuttle                 $16.50   40.85   $   13.00                $   7.01   $     7.01
   7/1/2018 Mark Torrel Cruickshank - Shuttle                 $16.50   43.38   $   13.00                $ 27.91    $    27.91
   8/5/2018 Mark Torrel Cruickshank - Shuttle                 $16.50   40.62   $   13.00                $   5.09   $     5.09
  8/26/2018 Mark Torrel Cruickshank - Shuttle                 $16.50   41.80   $   13.00                $ 14.85    $    14.85
   9/9/2018 Mark Torrel Cruickshank - Shuttle                 $16.50   40.13   $   13.00                $   1.10   $     1.10
 10/21/2018 Mark Torrel Cruickshank - Shuttle                 $16.50   42.10   $   13.00                $ 17.33    $    17.33
  11/4/2018 Mark Torrel Cruickshank - Shuttle                 $16.50   40.95   $   13.00                $   7.84   $     7.84
   4/9/2017 Mauro Zambon                                      $10.00   54.78   $   11.00   $    54.78   $ 81.31    $   136.09
  4/16/2017 Mauro Zambon                                      $10.00   52.02   $   11.00   $    52.02   $ 66.09    $   118.11
  4/23/2017 Mauro Zambon                                      $10.00   51.98   $   11.00   $    51.98   $ 65.91    $   117.89
  4/30/2017 Mauro Zambon                                      $10.00   51.27   $   11.00   $    51.27   $ 61.97    $   113.23
   5/7/2017 Mauro Zambon                                      $10.00   52.25   $   11.00   $    52.25   $ 67.38    $   119.63
  5/14/2017 Mauro Zambon                                      $10.00   51.23   $   11.00   $    51.23   $ 61.78    $   113.02
  5/21/2017 Mauro Zambon                                      $10.00   53.52   $   11.00   $    53.52   $ 74.34    $   127.86
  5/28/2017 Mauro Zambon                                      $10.00   51.70   $   11.00   $    51.70   $ 64.35    $   116.05
   6/4/2017 Mauro Zambon                                      $10.00   45.43   $   11.00   $    45.43   $ 29.88    $    75.32
  6/11/2017 Mauro Zambon                                      $10.00   57.60   $   11.00   $    57.60   $ 96.80    $   154.40
  6/18/2017 Mauro Zambon                                      $10.00   56.98   $   11.00   $    56.98   $ 93.41    $   150.39
  6/25/2017 Mauro Zambon                                      $10.00   58.75   $   11.00   $    58.75   $ 103.13   $   161.88
   7/2/2017 Mauro Zambon                                      $10.00   63.22   $   11.00   $    63.22   $ 127.69   $   190.91
   7/9/2017 Mauro Zambon                                      $10.00   48.92   $   11.00   $    48.92   $ 49.04    $    97.96
  7/16/2017 Mauro Zambon                                      $10.00   56.68   $   11.00   $    56.68   $ 91.76    $   148.44
  7/23/2017 Mauro Zambon                                      $10.00   60.08   $   11.00   $    60.08   $ 110.46   $   170.54
  7/30/2017 Mauro Zambon                                      $10.00   58.53   $   11.00   $    58.53   $ 101.93   $   160.47
   8/6/2017 Mauro Zambon                                      $10.00   58.82   $   11.00   $    58.82   $ 103.49   $   162.31
  8/13/2017 Mauro Zambon                                      $10.00   58.47   $   11.00   $    58.47   $ 101.57   $   160.03
  8/20/2017 Mauro Zambon                                      $10.00   59.20   $   11.00   $    59.20   $ 105.60   $   164.80
  8/27/2017 Mauro Zambon                                      $10.00   58.78   $   11.00   $    58.78   $ 103.31   $   162.09
   9/3/2017 Mauro Zambon                                      $10.00   60.92   $   11.00   $    60.92   $ 115.04   $   175.96
  9/10/2017 Mauro Zambon                                      $10.00   59.10   $   11.00   $    59.10   $ 105.05   $   164.15
  9/17/2017 Mauro Zambon                                      $10.00   56.90   $   11.00   $    56.90   $ 92.95    $   149.85
  9/24/2017 Mauro Zambon                                      $10.00   59.35   $   11.00   $    59.35   $ 106.43   $   165.78
  10/1/2017 Mauro Zambon                                      $10.00   61.95   $   11.00   $    61.95   $ 120.73   $   182.68
  10/8/2017 Mauro Zambon                                      $10.00   59.85   $   11.00   $    59.85   $ 109.18   $   169.03
 10/15/2017 Mauro Zambon                                      $10.00   59.02   $   11.00   $    59.02   $ 104.59   $   163.61
 10/22/2017 Mauro Zambon                                      $10.00   59.65   $   11.00   $    59.65   $ 108.08   $   167.73
 10/29/2017 Mauro Zambon                                      $10.00   59.63   $   11.00   $    59.63   $ 107.98   $   167.62
  11/5/2017 Mauro Zambon                                      $10.00   59.12   $   11.00   $    59.12   $ 105.14   $   164.26



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   Week                                                                          State Section 7: Section 7: Total Section 7
                                                                 Hourly Hours/
  Ending                            Name                                       Minimum Regular Half-time Overtime Back
                                                                  Rate Week
   Date                                                                         Wage   Rate Due     Due       Wages Due

 11/12/2017 Mauro Zambon                                          $10.00   65.05   $   11.00   $ 65.05    $ 137.78   $   202.83
 11/19/2017 Mauro Zambon                                          $10.00   58.77   $   11.00   $ 58.77    $ 103.22   $   161.98
 11/26/2017 Mauro Zambon                                          $10.00   46.20   $   11.00   $ 46.20    $ 34.10    $    80.30
  12/3/2017 Mauro Zambon                                          $10.00   57.57   $   11.00   $ 57.57    $ 96.62    $   154.18
 12/10/2017 Mauro Zambon                                          $10.00   59.03   $   11.00   $ 59.03    $ 104.68   $   163.72
 12/17/2017 Mauro Zambon                                          $10.00   58.32   $   11.00   $ 58.32    $ 100.74   $   159.06
 12/24/2017 Mauro Zambon                                          $10.00   67.58   $   11.00   $ 67.58    $ 151.71   $   219.29
 12/31/2017 Mauro Zambon                                          $10.00   46.87   $   13.00   $ 140.60   $ 44.63    $   185.23
   1/7/2018 Mauro Zambon                                          $10.00   51.22   $   13.00   $ 153.65   $ 72.91    $   226.56
  1/14/2018 Mauro Zambon                                          $10.00   66.58   $   13.00   $ 199.75   $ 172.79   $   372.54
  3/25/2018 Mauro Zambon                                          $10.00   40.62   $   13.00   $ 121.85   $   4.01   $   125.86
   4/1/2018 Mauro Zambon                                          $10.00   57.22   $   13.00   $ 171.65   $ 111.91   $   283.56
   4/8/2018 Mauro Zambon                                          $10.00   57.88   $   13.00   $ 173.65   $ 116.24   $   289.89
  4/15/2018 Mauro Zambon                                          $10.00   59.87   $   13.00   $ 179.60   $ 129.13   $   308.73
  4/22/2018 Mauro Zambon                                          $10.00   61.82   $   13.00   $ 185.45   $ 141.81   $   327.26
  4/29/2018 Mauro Zambon                                          $10.00   59.82   $   13.00   $ 179.45   $ 128.81   $   308.26
   5/6/2018 Mauro Zambon                                          $10.00   48.73   $   13.00   $ 146.20   $ 56.77    $   202.97
  5/13/2018 Mauro Zambon                                          $10.00   54.25   $   13.00   $ 162.75   $ 92.63    $   255.38
  5/20/2018 Mauro Zambon                                          $10.00   56.90   $   13.00   $ 170.70   $ 109.85   $   280.55
  5/27/2018 Mauro Zambon                                          $10.00   64.42   $   13.00   $ 193.25   $ 158.71   $   351.96
  6/17/2018 Mauro Zambon                                          $10.00   51.07   $   13.00   $ 153.20   $ 71.93    $   225.13
  6/24/2018 Mauro Zambon                                          $10.00   48.43   $   13.00   $ 145.30   $ 54.82    $   200.12
   7/1/2018 Mauro Zambon                                          $10.00   57.45   $   13.00   $ 172.35   $ 113.43   $   285.78
   7/8/2018 Mauro Zambon                                          $10.00   48.77   $   13.00   $ 146.30   $ 56.98    $   203.28
  7/15/2018 Mauro Zambon                                          $10.00   60.48   $   13.00   $ 181.45   $ 133.14   $   314.59
  7/22/2018 Mauro Zambon                                          $10.00   60.00   $   13.00   $ 180.00   $ 130.00   $   310.00
  7/29/2018 Mauro Zambon                                          $10.00   62.13   $   13.00   $ 186.40   $ 143.87   $   330.27
   8/5/2018 Mauro Zambon                                          $10.00   61.88   $   13.00   $ 185.65   $ 142.24   $   327.89
  8/19/2018 Mauro Zambon                                          $10.00   55.48   $   13.00   $ 166.45   $ 100.64   $   267.09
  8/26/2018 Mauro Zambon                                          $10.00   55.20   $   13.00   $ 165.60   $ 98.80    $   264.40
   9/2/2018 Mauro Zambon                                          $10.00   53.37   $   13.00   $ 160.10   $ 86.88    $   246.98
  9/23/2018 Mauro Zambon                                          $10.00   55.98   $   13.00   $ 167.95   $ 103.89   $   271.84
  9/30/2018 Mauro Zambon                                          $10.00   49.60   $   13.00   $ 148.80   $ 62.40    $   211.20
  10/7/2018 Mauro Zambon                                          $10.00   48.65   $   13.00   $ 145.95   $ 56.23    $   202.18
 10/21/2018 Mauro Zambon                                          $10.00   60.40   $   13.00   $ 181.20   $ 132.60   $   313.80
 10/28/2018 Mauro Zambon                                          $10.00   62.23   $   13.00   $ 186.70   $ 144.52   $   331.22
  11/4/2018 Mauro Zambon                                          $10.00   58.62   $   13.00   $ 175.85   $ 121.01   $   296.86
 11/11/2018 Mauro Zambon                                          $10.00   63.55   $   13.00   $ 190.65   $ 153.08   $   343.73
 11/18/2018 Mauro Zambon                                          $10.00   63.80   $   13.00   $ 191.40   $ 154.70   $   346.10
 11/25/2018 Mauro Zambon                                          $10.00   52.35   $   13.00   $ 157.05   $ 80.28    $   237.33
   8/4/2019 Michael Leung                                         $15.00   57.03   $   15.00              $ 127.75   $   127.75
  8/11/2019 Michael Leung                                         $15.00   59.32   $   15.00              $ 144.88   $   144.88
  8/25/2019 Michael Leung                                         $15.00   48.33   $   15.00              $ 62.50    $    62.50
   9/1/2019 Michael Leung                                         $15.00   53.65   $   15.00              $ 102.38   $   102.38
  9/15/2019 Michael Leung                                         $15.00   52.98   $   15.00              $ 97.38    $    97.38
  9/22/2019 Michael Leung                                         $15.00   65.85   $   15.00              $ 193.88   $   193.88
  6/16/2019 Michael Lynch                                         $19.00   40.78   $   15.00              $   7.44   $     7.44
  7/28/2019 Michael Lynch                                         $19.00   46.83   $   15.00              $ 64.92    $    64.92
 10/27/2019 Michael Lynch                                         $19.00   43.87   $   15.00              $ 36.73    $    36.73
  5/21/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   51.47   $   11.00              $ 97.47    $    97.47
  5/28/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   50.88   $   11.00              $ 92.51    $    92.51
   6/4/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   49.45   $   11.00              $ 80.33    $    80.33
  6/11/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   49.78   $   11.00              $ 83.16    $    83.16
  6/18/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   50.30   $   11.00              $ 87.55    $    87.55
  6/25/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   57.73   $   11.00              $ 150.73   $   150.73
   7/2/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   51.72   $   11.00              $ 99.59    $    99.59
   7/9/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   46.20   $   11.00              $ 52.70    $    52.70
  7/16/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   41.82   $   11.00              $ 15.44    $    15.44



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   Week                                                                          State Section 7: Section 7: Total Section 7
                                                                 Hourly Hours/
  Ending                            Name                                       Minimum Regular Half-time Overtime Back
                                                                  Rate Week
   Date                                                                         Wage   Rate Due     Due       Wages Due

  7/23/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   49.53   $   11.00              $ 81.03    $    81.03
  7/30/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   48.83   $   11.00              $ 75.08    $    75.08
   8/6/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   40.70   $   11.00              $   5.95   $     5.95
  8/13/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   40.32   $   11.00              $   2.69   $     2.69
  8/20/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   43.27   $   11.00              $ 27.77    $    27.77
  8/27/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   43.35   $   11.00              $ 28.48    $    28.48
   9/3/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   49.65   $   11.00              $ 82.03    $    82.03
  9/24/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   49.68   $   11.00              $ 82.31    $    82.31
  10/1/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   42.98   $   11.00              $ 25.36    $    25.36
  10/8/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   50.37   $   11.00              $ 88.12    $    88.12
 10/15/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   52.88   $   11.00              $ 109.51   $   109.51
 10/22/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   49.87   $   11.00              $ 83.87    $    83.87
 10/29/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   46.83   $   11.00              $ 58.08    $    58.08
  11/5/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   43.05   $   11.00              $ 25.93    $    25.93
 11/12/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   48.02   $   11.00              $ 68.14    $    68.14
 11/19/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   58.20   $   11.00              $ 154.70   $   154.70
 11/26/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   49.15   $   11.00              $ 77.78    $    77.78
  12/3/2017 Michael Morel Concino - Car Washer/Detailer           $17.00   41.03   $   11.00              $   8.78   $     8.78
  2/18/2018 Michael Morel Concino - Car Washer/Detailer            $9.00   44.63   $   13.00   $ 178.53   $ 30.12    $   208.65
  2/25/2018 Michael Morel Concino - Car Washer/Detailer            $9.00   54.50   $   13.00   $ 218.00   $ 94.25    $   312.25
   3/4/2018 Michael Morel Concino - Car Washer/Detailer            $9.00   52.35   $   13.00   $ 209.40   $ 80.28    $   289.68
  3/25/2018 Michael Morel Concino - Car Washer/Detailer            $9.00   57.68   $   13.00   $ 230.73   $ 114.94   $   345.68
   4/1/2018 Michael Morel Concino - Car Washer/Detailer            $9.00   54.52   $   13.00   $ 218.07   $ 94.36    $   312.43
   4/8/2018 Michael Morel Concino - Car Washer/Detailer            $9.00   53.55   $   13.00   $ 214.20   $ 88.08    $   302.28
  4/15/2018 Michael Morel Concino - Car Washer/Detailer            $9.00   54.68   $   13.00   $ 218.73   $ 95.44    $   314.18
  4/22/2018 Michael Morel Concino - Car Washer/Detailer            $9.00   53.15   $   13.00   $ 212.60   $ 85.48    $   298.08
  4/29/2018 Michael Morel Concino - Car Washer/Detailer            $9.00   45.83   $   13.00   $ 183.33   $ 37.92    $   221.25
 11/11/2018 Miguel Alcantara-0759                                  $9.50   45.72   $   13.00   $ 160.01   $ 37.16    $   197.17
 11/18/2018 Miguel Alcantara-0759                                  $9.50   48.68   $   13.00   $ 170.39   $ 56.44    $   226.83
  12/2/2018 Miguel Alcantara-0759                                  $9.50   52.45   $   13.00   $ 183.58   $ 80.92    $   264.50
 12/16/2018 Miguel Alcantara-0759                                  $9.50   42.35   $   13.00   $ 148.23   $ 15.28    $   163.50
  6/17/2018 Miguel Martes - Car Washer                            $12.00   53.83   $   13.00   $ 53.83    $ 89.92    $   143.75
  6/24/2018 Miguel Martes - Car Washer                            $12.00   53.62   $   13.00   $ 53.62    $ 88.51    $   142.13
   7/1/2018 Miguel Martes - Car Washer                            $12.00   53.72   $   13.00   $ 53.72    $ 89.16    $   142.88
   7/8/2018 Miguel Martes - Car Washer                            $12.00   40.98   $   13.00   $ 40.98    $   6.39   $    47.38
  7/15/2018 Miguel Martes - Car Washer                            $12.00   53.92   $   13.00   $ 53.92    $ 90.46    $   144.38
  7/22/2018 Miguel Martes - Car Washer                            $12.00   54.68   $   13.00   $ 54.68    $ 95.44    $   150.13
  7/29/2018 Miguel Martes - Car Washer                            $12.00   54.33   $   13.00   $ 54.33    $ 93.17    $   147.50
   8/5/2018 Miguel Martes - Car Washer                            $12.00   55.02   $   13.00   $ 55.02    $ 97.61    $   152.63
  8/12/2018 Miguel Martes - Car Washer                            $12.00   54.90   $   13.00   $ 54.90    $ 96.85    $   151.75
  8/19/2018 Miguel Martes - Car Washer                            $12.00   54.60   $   13.00   $ 54.60    $ 94.90    $   149.50
  8/26/2018 Miguel Martes - Car Washer                            $12.00   54.10   $   13.00   $ 54.10    $ 91.65    $   145.75
   9/2/2018 Miguel Martes - Car Washer                            $12.00   54.55   $   13.00   $ 54.55    $ 94.58    $   149.13
   9/9/2018 Miguel Martes - Car Washer                            $12.00   44.73   $   13.00   $ 44.73    $ 30.77    $    75.50
  9/16/2018 Miguel Martes - Car Washer                            $12.00   54.47   $   13.00   $ 54.47    $ 94.03    $   148.50
  9/23/2018 Miguel Martes - Car Washer                            $12.00   49.47   $   13.00   $ 49.47    $ 61.53    $   111.00
  9/30/2018 Miguel Martes - Car Washer                            $12.00   54.32   $   13.00   $ 54.32    $ 93.06    $   147.38
  10/7/2018 Miguel Martes - Car Washer                            $12.00   54.38   $   13.00   $ 54.38    $ 93.49    $   147.88
 10/14/2018 Miguel Martes - Car Washer                            $12.00   54.20   $   13.00   $ 54.20    $ 92.30    $   146.50
 10/21/2018 Miguel Martes - Car Washer                            $12.00   54.68   $   13.00   $ 54.68    $ 95.44    $   150.13
 10/28/2018 Miguel Martes - Car Washer                            $12.00   45.83   $   13.00   $ 45.83    $ 37.92    $    83.75
  11/4/2018 Miguel Martes - Car Washer                            $12.00   51.00   $   13.00   $ 51.00    $ 71.50    $   122.50
 11/11/2018 Miguel Martes - Car Washer                            $12.00   53.50   $   13.00   $ 53.50    $ 87.75    $   141.25
 11/18/2018 Miguel Martes - Car Washer                            $12.00   48.70   $   13.00   $ 48.70    $ 56.55    $   105.25
  12/2/2018 Miguel Martes - Car Washer                            $12.00   54.23   $   13.00   $ 54.23    $ 92.52    $   146.75
  12/9/2018 Miguel Martes - Car Washer                            $12.00   48.75   $   13.00   $ 48.75    $ 56.88    $   105.63
 12/16/2018 Miguel Martes - Car Washer                            $12.00   52.53   $   13.00   $ 52.53    $ 81.47    $   134.00
 12/23/2018 Miguel Martes - Car Washer                            $12.00   53.92   $   13.00   $ 53.92    $ 90.46    $   144.38



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   Week                                                                    State Section 7: Section 7: Total Section 7
                                                           Hourly Hours/
  Ending                           Name                                  Minimum Regular Half-time Overtime Back
                                                            Rate Week
   Date                                                                   Wage   Rate Due     Due       Wages Due

  1/13/2019 Miguel Martes - Car Washer                      $12.00   54.25   $   15.00   $   162.75   $ 106.88   $   269.63
  1/20/2019 Miguel Martes - Car Washer                      $12.00   53.30   $   15.00   $   159.90   $ 99.75    $   259.65
  1/27/2019 Miguel Martes - Car Washer                      $12.00   57.90   $   15.00   $   173.70   $ 134.25   $   307.95
   2/3/2019 Miguel Martes - Car Washer                      $12.00   58.77   $   15.00   $   176.30   $ 140.75   $   317.05
  2/10/2019 Miguel Martes - Car Washer                      $12.00   58.75   $   15.00   $   176.25   $ 140.63   $   316.88
  2/17/2019 Miguel Martes - Car Washer                      $12.00   58.67   $   15.00   $   176.00   $ 140.00   $   316.00
  2/24/2019 Miguel Martes - Car Washer                      $12.00   52.03   $   15.00   $   156.10   $ 90.25    $   246.35
   3/3/2019 Miguel Martes - Car Washer                      $12.00   58.88   $   15.00   $   176.65   $ 141.63   $   318.28
  3/10/2019 Miguel Martes - Car Washer                      $12.00   59.27   $   15.00   $   177.80   $ 144.50   $   322.30
  3/17/2019 Miguel Martes - Car Washer                      $12.00   59.43   $   15.00   $   178.30   $ 145.75   $   324.05
  3/24/2019 Miguel Martes - Car Washer                      $12.00   59.53   $   15.00   $   178.60   $ 146.50   $   325.10
  3/31/2019 Miguel Martes - Car Washer                      $12.00   59.17   $   15.00   $   177.50   $ 143.75   $   321.25
   4/7/2019 Miguel Martes - Car Washer                      $12.00   58.80   $   15.00   $   176.40   $ 141.00   $   317.40
  4/14/2019 Miguel Martes - Car Washer                      $12.00   59.25   $   15.00   $   177.75   $ 144.38   $   322.13
  4/21/2019 Miguel Martes - Car Washer                      $12.00   59.28   $   15.00   $   177.85   $ 144.63   $   322.48
  4/28/2019 Miguel Martes - Car Washer                      $12.00   53.63   $   15.00   $   160.90   $ 102.25   $   263.15
   5/5/2019 Miguel Martes - Car Washer                      $12.00   59.32   $   15.00   $   177.95   $ 144.88   $   322.83
  5/12/2019 Miguel Martes - Car Washer                      $12.00   59.35   $   15.00   $   178.05   $ 145.13   $   323.18
  5/19/2019 Miguel Martes - Car Washer                      $12.00   59.62   $   15.00   $   178.85   $ 147.13   $   325.98
  5/26/2019 Miguel Martes - Car Washer                      $12.00   60.28   $   15.00   $   180.85   $ 152.13   $   332.98
   6/2/2019 Miguel Martes - Car Washer                      $12.00   49.83   $   15.00   $   149.50   $ 73.75    $   223.25
   6/9/2019 Miguel Martes - Car Washer                      $12.00   59.68   $   15.00   $   179.05   $ 147.63   $   326.68
  6/16/2019 Miguel Martes - Car Washer                      $12.00   59.43   $   15.00   $   178.30   $ 145.75   $   324.05
  6/23/2019 Miguel Martes - Car Washer                      $12.00   59.97   $   15.00   $   179.90   $ 149.75   $   329.65
  6/30/2019 Miguel Martes - Car Washer                      $12.00   60.62   $   15.00   $   181.85   $ 154.63   $   336.48
   7/7/2019 Miguel Martes - Car Washer                      $12.00   49.62   $   15.00   $   148.85   $ 72.12    $   220.98
  7/14/2019 Miguel Martes - Car Washer                      $12.00   60.10   $   15.00   $   180.30   $ 150.75   $   331.05
  7/21/2019 Miguel Martes - Car Washer                      $12.00   59.17   $   15.00   $   177.50   $ 143.75   $   321.25
  7/28/2019 Miguel Martes - Car Washer                      $12.00   57.55   $   15.00   $   172.65   $ 131.63   $   304.28
   8/4/2019 Miguel Martes - Car Washer                      $12.00   58.60   $   15.00   $   175.80   $ 139.50   $   315.30
  8/11/2019 Miguel Martes - Car Washer                      $12.00   47.30   $   15.00   $   141.90   $ 54.75    $   196.65
  8/18/2019 Miguel Martes - Car Washer                      $12.00   64.57   $   15.00   $   193.70   $ 184.25   $   377.95
  8/25/2019 Miguel Martes - Car Washer                      $12.00   64.68   $   15.00   $   194.05   $ 185.13   $   379.18
   9/1/2019 Miguel Martes - Car Washer                      $12.00   65.42   $   15.00   $   196.25   $ 190.63   $   386.88
   9/8/2019 Miguel Martes - Car Washer                      $12.00   50.17   $   15.00   $   150.50   $ 76.25    $   226.75
  9/15/2019 Miguel Martes - Car Washer                      $12.00   60.83   $   15.00   $   182.50   $ 156.25   $   338.75
  9/22/2019 Miguel Martes - Car Washer                      $12.00   53.45   $   15.00   $   160.35   $ 100.88   $   261.23
  9/29/2019 Miguel Martes - Car Washer                      $12.00   61.55   $   15.00   $   184.65   $ 161.63   $   346.28
  10/6/2019 Miguel Martes - Car Washer                      $12.00   62.90   $   15.00   $   188.70   $ 171.75   $   360.45
 10/13/2019 Miguel Martes - Car Washer                      $12.00   64.33   $   15.00   $   193.00   $ 182.50   $   375.50
 10/20/2019 Miguel Martes - Car Washer                      $12.00   61.68   $   15.00   $   185.05   $ 162.63   $   347.68
 10/27/2019 Miguel Martes - Car Washer                      $12.00   52.60   $   15.00   $   157.80   $ 94.50    $   252.30
  11/3/2019 Miguel Martes - Car Washer                      $12.00   61.18   $   15.00   $   183.55   $ 158.88   $   342.43
 11/10/2019 Miguel Martes - Car Washer                      $12.00   60.37   $   15.00   $   181.10   $ 152.75   $   333.85
 11/17/2019 Miguel Martes - Car Washer                      $12.00   59.32   $   15.00   $   177.95   $ 144.88   $   322.83
 11/24/2019 Miguel Martes - Car Washer                      $12.00   57.38   $   15.00   $   172.15   $ 130.38   $   302.53
  12/8/2019 Miguel Martes - Car Washer                      $12.00   54.88   $   15.00   $   164.65   $ 111.63   $   276.28
 12/15/2019 Miguel Martes - Car Washer                      $12.00   41.88   $   15.00   $   125.65   $ 14.13    $   139.78
 12/22/2019 Miguel Martes - Car Washer                      $12.00   42.03   $   15.00   $   126.10   $ 15.25    $   141.35
 12/29/2019 Miguel Martes - Car Washer                      $12.00   46.75   $   15.00   $   140.25   $ 50.63    $   190.88
   1/5/2020 Miguel Martes - Car Washer                      $12.00   42.32   $   15.00   $   126.95   $ 17.38    $   144.33
  1/12/2020 Miguel Martes - Car Washer                      $12.00   55.23   $   15.00   $   165.70   $ 114.25   $   279.95
  1/19/2020 Miguel Martes - Car Washer                      $12.00   51.30   $   15.00   $   153.90   $ 84.75    $   238.65
  1/26/2020 Miguel Martes - Car Washer                      $12.00   42.48   $   15.00   $   127.45   $ 18.63    $   146.08
  2/25/2018 Mikhail-Rose Lawrence                           $16.50   52.23   $   13.00                $ 100.93   $   100.93
   5/7/2017 Miller Alexander Matas Almanzar                 $11.00   58.23   $   11.00                $ 100.28   $   100.28
  5/14/2017 Miller Alexander Matas Almanzar                 $11.00   68.07   $   11.00                $ 154.37   $   154.37
  5/21/2017 Miller Alexander Matas Almanzar                 $11.00   69.32   $   11.00                $ 161.24   $   161.24



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   Week                                                                    State Section 7: Section 7: Total Section 7
                                                           Hourly Hours/
  Ending                           Name                                  Minimum Regular Half-time Overtime Back
                                                            Rate Week
   Date                                                                   Wage   Rate Due     Due       Wages Due

  5/28/2017 Miller Alexander Matas Almanzar                 $11.00   70.87   $   11.00              $ 169.77   $   169.77
   6/4/2017 Miller Alexander Matas Almanzar                 $11.00   66.75   $   11.00              $ 147.13   $   147.13
  6/11/2017 Miller Alexander Matas Almanzar                 $11.00   71.08   $   11.00              $ 170.96   $   170.96
  6/18/2017 Miller Alexander Matas Almanzar                 $11.00   70.90   $   11.00              $ 169.95   $   169.95
  6/25/2017 Miller Alexander Matas Almanzar                 $11.00   71.32   $   11.00              $ 172.24   $   172.24
   7/2/2017 Miller Alexander Matas Almanzar                 $11.00   76.25   $   11.00              $ 199.38   $   199.38
   7/9/2017 Miller Alexander Matas Almanzar                 $11.00   61.80   $   11.00              $ 119.90   $   119.90
  7/16/2017 Miller Alexander Matas Almanzar                 $11.00   75.73   $   11.00              $ 196.53   $   196.53
  7/23/2017 Miller Alexander Matas Almanzar                 $11.00   74.35   $   11.00              $ 188.93   $   188.93
  7/30/2017 Miller Alexander Matas Almanzar                 $11.00   74.42   $   11.00              $ 189.29   $   189.29
   8/6/2017 Miller Alexander Matas Almanzar                 $11.00   73.65   $   11.00              $ 185.08   $   185.08
  8/13/2017 Miller Alexander Matas Almanzar                 $11.00   73.25   $   11.00              $ 182.88   $   182.88
  8/20/2017 Miller Alexander Matas Almanzar                 $11.00   72.95   $   11.00              $ 181.23   $   181.23
  8/27/2017 Miller Alexander Matas Almanzar                 $11.00   70.65   $   11.00              $ 168.58   $   168.58
   9/3/2017 Miller Alexander Matas Almanzar                 $11.00   75.00   $   11.00              $ 192.50   $   192.50
  9/10/2017 Miller Alexander Matas Almanzar                 $11.00   60.50   $   11.00              $ 112.75   $   112.75
  9/17/2017 Miller Alexander Matas Almanzar                 $11.00   74.93   $   11.00              $ 192.13   $   192.13
  9/24/2017 Miller Alexander Matas Almanzar                 $11.00   75.40   $   11.00              $ 194.70   $   194.70
  10/1/2017 Miller Alexander Matas Almanzar                 $11.00   75.32   $   11.00              $ 194.24   $   194.24
  10/8/2017 Miller Alexander Matas Almanzar                 $11.00   75.10   $   11.00              $ 193.05   $   193.05
 10/15/2017 Miller Alexander Matas Almanzar                 $11.00   65.15   $   11.00              $ 138.33   $   138.33
 10/22/2017 Miller Alexander Matas Almanzar                 $11.00   74.23   $   11.00              $ 188.28   $   188.28
 10/29/2017 Miller Alexander Matas Almanzar                 $11.00   72.27   $   11.00              $ 177.47   $   177.47
  11/5/2017 Miller Alexander Matas Almanzar                 $11.00   72.50   $   11.00              $ 178.75   $   178.75
 11/12/2017 Miller Alexander Matas Almanzar                 $11.00   70.77   $   11.00              $ 169.22   $   169.22
 11/19/2017 Miller Alexander Matas Almanzar                 $11.00   70.58   $   11.00              $ 168.21   $   168.21
 11/26/2017 Miller Alexander Matas Almanzar                 $11.00   57.07   $   11.00              $ 93.87    $    93.87
  12/3/2017 Miller Alexander Matas Almanzar                 $11.00   73.68   $   11.00              $ 185.26   $   185.26
 12/10/2017 Miller Alexander Matas Almanzar                 $11.00   66.60   $   11.00              $ 146.30   $   146.30
 12/17/2017 Miller Alexander Matas Almanzar                 $11.00   71.18   $   11.00              $ 171.51   $   171.51
 12/24/2017 Miller Alexander Matas Almanzar                 $11.00   69.75   $   11.00              $ 163.63   $   163.63
 12/31/2017 Miller Alexander Matas Almanzar                 $11.00   61.28   $   13.00   $ 122.57   $ 138.34   $   260.91
   1/7/2018 Miller Alexander Matas Almanzar                 $11.00   50.93   $   13.00   $ 101.87   $ 71.07    $   172.93
  1/14/2018 Miller Alexander Matas Almanzar                 $11.00   67.22   $   13.00   $ 134.43   $ 176.91   $   311.34
  1/21/2018 Miller Alexander Matas Almanzar                 $11.00   69.72   $   13.00   $ 139.43   $ 193.16   $   332.59
  1/28/2018 Miller Alexander Matas Almanzar                 $11.00   50.80   $   13.00   $ 101.60   $ 70.20    $   171.80
   2/4/2018 Miller Alexander Matas Almanzar                 $11.00   61.80   $   13.00   $ 123.60   $ 141.70   $   265.30
  2/11/2018 Miller Alexander Matas Almanzar                 $11.00   72.62   $   13.00   $ 145.23   $ 212.01   $   357.24
  2/18/2018 Miller Alexander Matas Almanzar                 $11.00   68.28   $   13.00   $ 136.57   $ 183.84   $   320.41
  2/25/2018 Miller Alexander Matas Almanzar                 $11.00   70.45   $   13.00   $ 140.90   $ 197.93   $   338.83
   3/4/2018 Miller Alexander Matas Almanzar                 $11.00   67.80   $   13.00   $ 135.60   $ 180.70   $   316.30
  3/25/2018 Miller Alexander Matas Almanzar                 $11.00   65.55   $   13.00   $ 131.10   $ 166.08   $   297.18
   4/1/2018 Miller Alexander Matas Almanzar                 $11.00   70.42   $   13.00   $ 140.83   $ 197.71   $   338.54
   4/8/2018 Miller Alexander Matas Almanzar                 $11.00   70.68   $   13.00   $ 141.37   $ 199.44   $   340.81
  4/15/2018 Miller Alexander Matas Almanzar                 $11.00   70.80   $   13.00   $ 141.60   $ 200.20   $   341.80
  4/22/2018 Miller Alexander Matas Almanzar                 $11.00   73.43   $   13.00   $ 146.87   $ 217.32   $   364.18
  4/29/2018 Miller Alexander Matas Almanzar                 $11.00   73.57   $   13.00   $ 147.13   $ 218.18   $   365.32
   5/6/2018 Miller Alexander Matas Almanzar                 $11.00   76.88   $   13.00   $ 153.77   $ 239.74   $   393.51
  5/13/2018 Miller Alexander Matas Almanzar                 $11.00   74.38   $   13.00   $ 148.77   $ 223.49   $   372.26
  5/20/2018 Miller Alexander Matas Almanzar                 $11.00   71.75   $   13.00   $ 143.50   $ 206.38   $   349.88
  5/27/2018 Miller Alexander Matas Almanzar                 $11.00   75.05   $   13.00   $ 150.10   $ 227.83   $   377.93
   6/3/2018 Miller Alexander Matas Almanzar                 $11.00   67.18   $   13.00   $ 134.37   $ 176.69   $   311.06
  6/10/2018 Miller Alexander Matas Almanzar                 $11.00   74.13   $   13.00   $ 148.27   $ 221.87   $   370.13
  6/17/2018 Miller Alexander Matas Almanzar                 $11.00   77.72   $   13.00   $ 155.43   $ 245.16   $   400.59
  6/24/2018 Miller Alexander Matas Almanzar                 $11.00   78.63   $   13.00   $ 157.27   $ 251.12   $   408.38
   7/1/2018 Miller Alexander Matas Almanzar                 $11.00   76.43   $   13.00   $ 152.87   $ 236.82   $   389.68
   7/8/2018 Miller Alexander Matas Almanzar                 $11.00   49.85   $   13.00   $ 99.70    $ 64.03    $   163.73
  7/15/2018 Miller Alexander Matas Almanzar                 $11.00   74.02   $   13.00   $ 148.03   $ 221.11   $   369.14



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   Week                                                                    State Section 7: Section 7: Total Section 7
                                                           Hourly Hours/
  Ending                           Name                                  Minimum Regular Half-time Overtime Back
                                                            Rate Week
   Date                                                                   Wage   Rate Due     Due       Wages Due

  7/22/2018 Miller Alexander Matas Almanzar                 $11.00   66.35   $   13.00   $ 132.70   $ 171.28   $   303.98
  7/29/2018 Miller Alexander Matas Almanzar                 $11.00   65.70   $   13.00   $ 131.40   $ 167.05   $   298.45
   8/5/2018 Miller Alexander Matas Almanzar                 $11.00   54.73   $   13.00   $ 109.47   $ 95.77    $   205.23
  8/12/2018 Miller Alexander Matas Almanzar                 $11.00   63.25   $   13.00   $ 126.50   $ 151.13   $   277.63
  8/19/2018 Miller Alexander Matas Almanzar                 $11.00   66.92   $   13.00   $ 133.83   $ 174.96   $   308.79
  8/26/2018 Miller Alexander Matas Almanzar                 $11.00   64.80   $   13.00   $ 129.60   $ 161.20   $   290.80
   9/2/2018 Miller Alexander Matas Almanzar                 $11.00   65.58   $   13.00   $ 131.17   $ 166.29   $   297.46
   9/9/2018 Miller Alexander Matas Almanzar                 $11.00   52.43   $   13.00   $ 104.87   $ 80.82    $   185.68
  9/16/2018 Miller Alexander Matas Almanzar                 $11.00   64.62   $   13.00   $ 129.23   $ 160.01   $   289.24
  9/23/2018 Miller Alexander Matas Almanzar                 $11.00   66.65   $   13.00   $ 133.30   $ 173.23   $   306.53
  9/30/2018 Miller Alexander Matas Almanzar                 $11.00   67.45   $   13.00   $ 134.90   $ 178.43   $   313.33
  10/7/2018 Miller Alexander Matas Almanzar                 $11.00   67.32   $   13.00   $ 134.63   $ 177.56   $   312.19
 10/14/2018 Miller Alexander Matas Almanzar                 $11.00   66.67   $   13.00   $ 133.33   $ 173.33   $   306.67
 10/21/2018 Miller Alexander Matas Almanzar                 $11.00   66.20   $   13.00   $ 132.40   $ 170.30   $   302.70
 10/28/2018 Miller Alexander Matas Almanzar                 $11.00   68.62   $   13.00   $ 137.23   $ 186.01   $   323.24
  11/4/2018 Miller Alexander Matas Almanzar                 $11.00   65.65   $   13.00   $ 131.30   $ 166.73   $   298.03
 11/11/2018 Miller Alexander Matas Almanzar                 $11.00   69.03   $   13.00   $ 138.07   $ 188.72   $   326.78
 11/18/2018 Miller Alexander Matas Almanzar                 $11.00   60.03   $   13.00   $ 120.07   $ 130.22   $   250.28
 11/25/2018 Miller Alexander Matas Almanzar                 $11.00   43.40   $   13.00   $ 86.80    $ 22.10    $   108.90
  12/2/2018 Miller Alexander Matas Almanzar                 $11.00   57.92   $   13.00   $ 115.83   $ 116.46   $   232.29
  12/9/2018 Miller Alexander Matas Almanzar                 $11.00   70.80   $   13.00   $ 141.60   $ 200.20   $   341.80
 12/16/2018 Miller Alexander Matas Almanzar                 $11.00   70.25   $   13.00   $ 140.50   $ 196.63   $   337.13
 12/23/2018 Miller Alexander Matas Almanzar                 $11.00   71.67   $   13.00   $ 143.33   $ 205.83   $   349.17
 12/30/2018 Miller Alexander Matas Almanzar                 $11.00   49.05   $   13.00   $ 98.10    $ 58.83    $   156.93
   1/6/2019 Miller Alexander Matas Almanzar                 $11.00   57.38   $   15.00   $ 229.53   $ 130.38   $   359.91
  1/13/2019 Miller Alexander Matas Almanzar                 $11.00   68.85   $   15.00   $ 275.40   $ 216.38   $   491.78
  1/20/2019 Miller Alexander Matas Almanzar                 $11.00   67.28   $   15.00   $ 269.13   $ 204.63   $   473.76
  1/27/2019 Miller Alexander Matas Almanzar                 $11.00   69.22   $   15.00   $ 276.87   $ 219.13   $   495.99
   2/3/2019 Miller Alexander Matas Almanzar                 $11.00   68.63   $   15.00   $ 274.53   $ 214.75   $   489.28
  2/10/2019 Miller Alexander Matas Almanzar                 $11.00   63.05   $   15.00   $ 252.20   $ 172.88   $   425.08
  2/17/2019 Miller Alexander Matas Almanzar                 $11.00   72.38   $   15.00   $ 289.53   $ 242.88   $   532.41
  2/24/2019 Miller Alexander Matas Almanzar                 $11.00   68.58   $   15.00   $ 274.33   $ 214.38   $   488.71
   3/3/2019 Miller Alexander Matas Almanzar                 $11.00   71.97   $   15.00   $ 287.87   $ 239.75   $   527.62
  3/10/2019 Miller Alexander Matas Almanzar                 $11.00   71.55   $   15.00   $ 286.20   $ 236.63   $   522.83
  3/17/2019 Miller Alexander Matas Almanzar                 $11.00   48.00   $   15.00   $ 192.00   $ 60.00    $   252.00
  3/24/2019 Miller Alexander Matas Almanzar                 $11.00   59.62   $   15.00   $ 238.47   $ 147.13   $   385.59
  3/31/2019 Miller Alexander Matas Almanzar                 $11.00   72.83   $   15.00   $ 291.33   $ 246.25   $   537.58
   4/7/2019 Miller Alexander Matas Almanzar                 $11.00   72.78   $   15.00   $ 291.13   $ 245.88   $   537.01
  4/14/2019 Miller Alexander Matas Almanzar                 $11.00   71.05   $   15.00   $ 284.20   $ 232.88   $   517.08
  4/21/2019 Miller Alexander Matas Almanzar                 $11.00   72.65   $   15.00   $ 290.60   $ 244.88   $   535.48
  4/28/2019 Miller Alexander Matas Almanzar                 $11.00   72.18   $   15.00   $ 288.73   $ 241.38   $   530.11
   5/5/2019 Miller Alexander Matas Almanzar                 $11.00   72.22   $   15.00   $ 288.87   $ 241.63   $   530.49
  5/12/2019 Miller Alexander Matas Almanzar                 $11.00   51.75   $   15.00   $ 207.00   $ 88.13    $   295.13
  5/19/2019 Miller Alexander Matas Almanzar                 $11.00   50.25   $   15.00   $ 201.00   $ 76.88    $   277.88
  5/26/2019 Miller Alexander Matas Almanzar                 $11.00   43.08   $   15.00   $ 172.33   $ 23.13    $   195.46
   6/2/2019 Miller Alexander Matas Almanzar                 $11.00   41.82   $   15.00   $ 167.27   $ 13.63    $   180.89
   6/9/2019 Miller Alexander Matas Almanzar                 $11.00   51.53   $   15.00   $ 206.13   $ 86.50    $   292.63
  6/16/2019 Miller Alexander Matas Almanzar                 $11.00   50.28   $   15.00   $ 201.13   $ 77.13    $   278.26
  6/23/2019 Miller Alexander Matas Almanzar                 $11.00   52.90   $   15.00   $ 211.60   $ 96.75    $   308.35
  6/30/2019 Miller Alexander Matas Almanzar                 $11.00   52.20   $   15.00   $ 208.80   $ 91.50    $   300.30
  7/14/2019 Miller Alexander Matas Almanzar                 $15.00   52.97   $   15.00              $ 97.25    $    97.25
  7/21/2019 Miller Alexander Matas Almanzar                 $15.00   53.22   $   15.00              $ 99.13    $    99.13
  7/28/2019 Miller Alexander Matas Almanzar                 $15.00   48.08   $   15.00              $ 60.63    $    60.63
   8/4/2019 Miller Alexander Matas Almanzar                 $15.00   53.00   $   15.00              $ 97.50    $    97.50
  8/11/2019 Miller Alexander Matas Almanzar                 $15.00   55.93   $   15.00              $ 119.50   $   119.50
  8/25/2019 Miller Alexander Matas Almanzar                 $15.00   52.88   $   15.00              $ 96.63    $    96.63
   9/1/2019 Miller Alexander Matas Almanzar                 $15.00   53.58   $   15.00              $ 101.88   $   101.88
  9/15/2019 Miller Alexander Matas Almanzar                 $15.00   51.25   $   15.00              $ 84.38    $    84.38



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                                                       Exhibit 3
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   Week                                                                    State Section 7: Section 7: Total Section 7
                                                           Hourly Hours/
  Ending                           Name                                  Minimum Regular Half-time Overtime Back
                                                            Rate Week
   Date                                                                   Wage   Rate Due     Due       Wages Due

  9/22/2019 Miller Alexander Matas Almanzar                 $15.00   54.50   $   15.00                $ 108.75   $   108.75
  9/29/2019 Miller Alexander Matas Almanzar                 $15.00   54.33   $   15.00                $ 107.50   $   107.50
  10/6/2019 Miller Alexander Matas Almanzar                 $15.00   52.18   $   15.00                $ 91.38    $    91.38
 10/13/2019 Miller Alexander Matas Almanzar                 $15.00   44.65   $   15.00                $ 34.88    $    34.88
 10/20/2019 Miller Alexander Matas Almanzar                 $15.00   54.55   $   15.00                $ 109.13   $   109.13
 10/27/2019 Miller Alexander Matas Almanzar                 $15.00   44.22   $   15.00                $ 31.63    $    31.63
  11/3/2019 Miller Alexander Matas Almanzar                 $15.00   55.00   $   15.00                $ 112.50   $   112.50
 11/10/2019 Miller Alexander Matas Almanzar                 $15.00   57.65   $   15.00                $ 132.38   $   132.38
 11/17/2019 Miller Alexander Matas Almanzar                 $15.00   55.02   $   15.00                $ 112.63   $   112.63
 11/24/2019 Miller Alexander Matas Almanzar                 $15.00   57.35   $   15.00                $ 130.13   $   130.13
  12/1/2019 Miller Alexander Matas Almanzar                 $15.00   50.93   $   15.00                $ 82.00    $    82.00
  12/8/2019 Miller Alexander Matas Almanzar                 $15.00   61.15   $   15.00                $ 158.63   $   158.63
 12/15/2019 Miller Alexander Matas Almanzar                 $15.00   62.97   $   15.00                $ 172.25   $   172.25
 12/22/2019 Miller Alexander Matas Almanzar                 $15.00   62.75   $   15.00                $ 170.63   $   170.63
 12/29/2019 Miller Alexander Matas Almanzar                 $15.00   42.48   $   15.00                $ 18.63    $    18.63
   1/5/2020 Miller Alexander Matas Almanzar                 $15.00   59.17   $   15.00                $ 143.75   $   143.75
  1/12/2020 Miller Alexander Matas Almanzar                 $15.00   61.38   $   15.00                $ 160.38   $   160.38
  1/19/2020 Miller Alexander Matas Almanzar                 $15.00   60.73   $   15.00                $ 155.50   $   155.50
  1/26/2020 Miller Alexander Matas Almanzar                 $15.00   47.98   $   15.00                $ 59.88    $    59.88
 12/15/2019 Nathanael Roman                                 $15.00   59.15   $   15.00                $ 143.63   $   143.63
 12/22/2019 Nathanael Roman                                 $15.00   59.13   $   15.00                $ 143.50   $   143.50
 12/29/2019 Nathanael Roman                                 $15.00   44.72   $   15.00                $ 35.38    $    35.38
   1/5/2020 Nathanael Roman                                 $15.00   45.37   $   15.00                $ 40.25    $    40.25
  1/12/2020 Nathanael Roman                                 $15.00   61.23   $   15.00                $ 159.25   $   159.25
  1/19/2020 Nathanael Roman                                 $15.00   61.48   $   15.00                $ 161.13   $   161.13
  1/26/2020 Nathanael Roman                                 $15.00   61.75   $   15.00                $ 163.13   $   163.13
  7/21/2019 Neftali Chavez - Porter                         $10.50   60.57   $   15.00   $   272.55   $ 154.25   $   426.80
  7/28/2019 Neftali Chavez - Porter                         $10.50   60.45   $   15.00   $   272.03   $ 153.38   $   425.40
   8/4/2019 Neftali Chavez - Porter                         $10.50   63.48   $   15.00   $   285.68   $ 176.13   $   461.80
  8/11/2019 Neftali Chavez - Porter                         $10.50   51.90   $   15.00   $   233.55   $ 89.25    $   322.80
  8/18/2019 Neftali Chavez - Porter                         $10.50   62.30   $   15.00   $   280.35   $ 167.25   $   447.60
  8/25/2019 Neftali Chavez - Porter                         $10.50   61.63   $   15.00   $   277.35   $ 162.25   $   439.60
   9/1/2019 Neftali Chavez - Porter                         $10.50   62.73   $   15.00   $   282.30   $ 170.50   $   452.80
   9/8/2019 Neftali Chavez - Porter                         $10.50   50.88   $   15.00   $   228.98   $ 81.62    $   310.60
  9/15/2019 Neftali Chavez - Porter                         $10.50   64.33   $   15.00   $   289.50   $ 182.50   $   472.00
  9/22/2019 Neftali Chavez - Porter                         $10.50   65.18   $   15.00   $   293.33   $ 188.88   $   482.20
  9/29/2019 Neftali Chavez - Porter                         $10.50   65.10   $   15.00   $   292.95   $ 188.25   $   481.20
  10/6/2019 Neftali Chavez - Porter                         $10.50   65.97   $   15.00   $   296.85   $ 194.75   $   491.60
 10/13/2019 Neftali Chavez - Porter                         $10.50   65.65   $   15.00   $   295.43   $ 192.38   $   487.80
 10/20/2019 Neftali Chavez - Porter                         $15.00   65.90   $   15.00                $ 194.25   $   194.25
 10/27/2019 Neftali Chavez - Porter                         $15.00   64.12   $   15.00                $ 180.88   $   180.88
  11/3/2019 Neftali Chavez - Porter                         $15.00   66.32   $   15.00                $ 197.38   $   197.38
 11/10/2019 Neftali Chavez - Porter                         $15.00   66.38   $   15.00                $ 197.88   $   197.88
 11/17/2019 Neftali Chavez - Porter                         $15.00   60.93   $   15.00                $ 157.00   $   157.00
 11/24/2019 Neftali Chavez - Porter                         $15.00   55.87   $   15.00                $ 119.00   $   119.00
  12/1/2019 Neftali Chavez - Porter                         $15.00   51.48   $   15.00                $ 86.13    $    86.13
  12/8/2019 Neftali Chavez - Porter                         $15.00   66.97   $   15.00                $ 202.25   $   202.25
 12/15/2019 Neftali Chavez - Porter                         $10.50   66.85   $   15.00   $   300.83   $ 201.38   $   502.20
 12/22/2019 Neftali Chavez - Porter                         $10.50   66.32   $   15.00   $   298.43   $ 197.38   $   495.80
 12/29/2019 Neftali Chavez - Porter                         $10.50   55.77   $   15.00   $   250.95   $ 118.25   $   369.20
   1/5/2020 Neftali Chavez - Porter                         $10.50   51.00   $   15.00   $   229.50   $ 82.50    $   312.00
  1/12/2020 Neftali Chavez - Porter                         $10.50   66.38   $   15.00   $   298.73   $ 197.88   $   496.60
  1/19/2020 Neftali Chavez - Porter                         $10.50   65.32   $   15.00   $   293.93   $ 189.88   $   483.80
  1/26/2020 Neftali Chavez - Porter                         $10.50   65.67   $   15.00   $   295.50   $ 192.50   $   488.00
  12/2/2018 Nelson Salobo - Car Washer                      $16.50   57.00   $   13.00                $ 140.25   $   140.25
  12/9/2018 Nelson Salobo - Car Washer                      $16.50   58.42   $   13.00                $ 151.94   $   151.94
 12/16/2018 Nelson Salobo - Car Washer                      $16.50   50.73   $   13.00                $ 88.55    $    88.55
 12/23/2018 Nelson Salobo - Car Washer                      $16.50   55.60   $   13.00                $ 128.70   $   128.70



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   Week                                                                State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
  Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                        Rate Week
   Date                                                               Wage   Rate Due     Due       Wages Due

 12/30/2018 Nelson Salobo - Car Washer                  $16.50   42.37   $   13.00                $ 19.53    $    19.53
   1/6/2019 Nelson Salobo - Car Washer                  $16.50   48.63   $   15.00                $ 71.22    $    71.22
  1/13/2019 Nelson Salobo - Car Washer                  $16.50   57.82   $   15.00                $ 146.99   $   146.99
  1/20/2019 Nelson Salobo - Car Washer                  $16.50   51.95   $   15.00                $ 98.59    $    98.59
  1/27/2019 Nelson Salobo - Car Washer                  $16.50   53.87   $   15.00                $ 114.40   $   114.40
   2/3/2019 Nelson Salobo - Car Washer                  $16.50   45.28   $   15.00                $ 43.59    $    43.59
  2/10/2019 Nelson Salobo - Car Washer                  $16.50   52.27   $   15.00                $ 101.20   $   101.20
  2/17/2019 Nelson Salobo - Car Washer                  $16.50   59.03   $   15.00                $ 157.03   $   157.03
  2/24/2019 Nelson Salobo - Car Washer                  $16.50   58.83   $   15.00                $ 155.38   $   155.38
   3/3/2019 Nelson Salobo - Car Washer                  $16.50   58.45   $   15.00                $ 152.21   $   152.21
  3/10/2019 Nelson Salobo - Car Washer                  $16.50   40.20   $   15.00                $   1.65   $     1.65
 10/29/2017 Nicolas Lopez - Car Washer                   $8.50   46.38   $   11.00   $   115.96   $ 35.11    $   151.07
  11/5/2017 Nicolas Lopez - Car Washer                   $8.50   40.90   $   11.00   $   102.25   $   4.95   $   107.20
 11/12/2017 Nicolas Lopez - Car Washer                   $8.50   48.62   $   11.00   $   121.54   $ 47.39    $   168.93
 11/19/2017 Nicolas Lopez - Car Washer                   $8.50   44.38   $   11.00   $   110.96   $ 24.11    $   135.07
  12/3/2017 Nicolas Lopez - Car Washer                   $8.50   48.37   $   11.00   $   120.92   $ 46.02    $   166.93
 12/17/2017 Nicolas Lopez - Car Washer                   $8.50   47.05   $   11.00   $   117.63   $ 38.78    $   156.40
 12/24/2017 Nicolas Lopez - Car Washer                   $8.50   48.15   $   11.00   $   120.38   $ 44.83    $   165.20
 12/31/2017 Nicolas Lopez - Car Washer                   $8.50   41.37   $   13.00   $   186.15   $   8.88   $   195.03
  1/14/2018 Nicolas Lopez - Car Washer                   $8.50   46.82   $   13.00   $   210.68   $ 44.31    $   254.98
  1/21/2018 Nicolas Lopez - Car Washer                   $8.50   46.28   $   13.00   $   208.28   $ 40.84    $   249.12
  1/28/2018 Nicolas Lopez - Car Washer                   $9.00   48.83   $   13.00   $   195.33   $ 57.42    $   252.75
  2/11/2018 Nicolas Lopez - Car Washer                   $9.00   49.52   $   13.00   $   198.07   $ 61.86    $   259.93
  2/25/2018 Nicolas Lopez - Car Washer                   $9.00   40.07   $   13.00   $   160.27   $   0.43   $   160.70
   3/4/2018 Nicolas Lopez - Car Washer                   $9.00   47.18   $   13.00   $   188.73   $ 46.69    $   235.43
  3/25/2018 Nicolas Lopez - Car Washer                   $9.00   44.32   $   13.00   $   177.27   $ 28.06    $   205.33
   4/1/2018 Nicolas Lopez - Car Washer                   $9.00   40.58   $   13.00   $   162.33   $   3.79   $   166.13
   4/8/2018 Nicolas Lopez - Car Washer                   $9.00   43.25   $   13.00   $   173.00   $ 21.13    $   194.13
  4/15/2018 Nicolas Lopez - Car Washer                   $9.00   48.10   $   13.00   $   192.40   $ 52.65    $   245.05
  4/29/2018 Nicolas Lopez - Car Washer                   $9.00   41.83   $   13.00   $   167.33   $ 11.92    $   179.25
   5/6/2018 Nicolas Lopez - Car Washer                   $9.00   41.00   $   13.00   $   164.00   $   6.50   $   170.50
  5/13/2018 Nicolas Lopez - Car Washer                   $9.00   48.35   $   13.00   $   193.40   $ 54.28    $   247.68
  5/27/2018 Nicolas Lopez - Car Washer                   $9.00   48.75   $   13.00   $   195.00   $ 56.88    $   251.88
   6/3/2018 Nicolas Lopez - Car Washer                   $9.00   41.68   $   13.00   $   166.73   $ 10.94    $   177.68
  6/10/2018 Nicolas Lopez - Car Washer                   $9.00   48.58   $   13.00   $   194.33   $ 55.79    $   250.13
  6/17/2018 Nicolas Lopez - Car Washer                   $9.00   48.22   $   13.00   $   192.87   $ 53.41    $   246.28
  6/24/2018 Nicolas Lopez - Car Washer                   $9.00   40.98   $   13.00   $   163.93   $   6.39   $   170.33
   7/1/2018 Nicolas Lopez - Car Washer                   $9.00   40.32   $   13.00   $   161.27   $   2.06   $   163.33
   7/8/2018 Nicolas Lopez - Car Washer                   $9.00   41.63   $   13.00   $   166.53   $ 10.62    $   177.15
  7/15/2018 Nicolas Lopez - Car Washer                   $9.00   41.67   $   13.00   $   166.67   $ 10.83    $   177.50
  7/22/2018 Nicolas Lopez - Car Washer                   $9.00   52.73   $   13.00   $   210.93   $ 82.77    $   293.70
  7/29/2018 Nicolas Lopez - Car Washer                   $9.00   52.67   $   13.00   $   210.67   $ 82.33    $   293.00
   8/5/2018 Nicolas Lopez - Car Washer                   $9.00   53.93   $   13.00   $   215.73   $ 90.57    $   306.30
  8/12/2018 Nicolas Lopez - Car Washer                   $9.00   52.63   $   13.00   $   210.53   $ 82.12    $   292.65
  8/19/2018 Nicolas Lopez - Car Washer                   $9.00   53.82   $   13.00   $   215.27   $ 89.81    $   305.08
  8/26/2018 Nicolas Lopez - Car Washer                   $9.00   44.62   $   13.00   $   178.47   $ 30.01    $   208.48
   9/2/2018 Nicolas Lopez - Car Washer                   $9.00   46.60   $   13.00   $   186.40   $ 42.90    $   229.30
   9/9/2018 Nicolas Lopez - Car Washer                   $9.00   43.33   $   13.00   $   173.33   $ 21.67    $   195.00
  9/16/2018 Nicolas Lopez - Car Washer                   $9.00   43.27   $   13.00   $   173.07   $ 21.23    $   194.30
  9/23/2018 Nicolas Lopez - Car Washer                   $9.00   43.23   $   13.00   $   172.93   $ 21.02    $   193.95
  9/30/2018 Nicolas Lopez - Car Washer                   $9.00   40.77   $   13.00   $   163.07   $   4.98   $   168.05
 10/14/2018 Nicolas Lopez - Car Washer                   $9.00   53.95   $   13.00   $   215.80   $ 90.68    $   306.48
 10/21/2018 Nicolas Lopez - Car Washer                   $9.00   56.03   $   13.00   $   224.13   $ 104.22   $   328.35
 10/28/2018 Nicolas Lopez - Car Washer                   $9.00   54.98   $   13.00   $   219.93   $ 97.39    $   317.33
  11/4/2018 Nicolas Lopez - Car Washer                   $9.00   52.87   $   13.00   $   211.47   $ 83.63    $   295.10
 11/11/2018 Nicolas Lopez - Car Washer                   $9.00   52.68   $   13.00   $   210.73   $ 82.44    $   293.18
 11/18/2018 Nicolas Lopez - Car Washer                   $9.00   53.28   $   13.00   $   213.13   $ 86.34    $   299.48
  12/2/2018 Nicolas Lopez - Car Washer                   $9.00   45.87   $   13.00   $   183.47   $ 38.13    $   221.60



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   Week                                                                State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
  Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                        Rate Week
   Date                                                               Wage   Rate Due     Due       Wages Due

  12/9/2018 Nicolas Lopez - Car Washer                   $9.00   54.90   $   13.00   $ 219.60    $ 96.85    $   316.45
 12/16/2018 Nicolas Lopez - Car Washer                   $9.00   54.28   $   13.00   $ 217.13    $ 92.84    $   309.98
 12/23/2018 Nicolas Lopez - Car Washer                   $9.00   50.80   $   13.00   $ 203.20    $ 70.20    $   273.40
  1/13/2019 Nicolas Lopez - Car Washer                   $9.00   52.03   $   15.00   $ 312.20    $ 90.25    $   402.45
   2/5/2017 Nilson Objio - Car Wash                      $9.50   66.68   $   11.00   $ 100.03    $ 146.76   $   246.78
  2/12/2017 Nilson Objio - Car Wash                      $9.50   60.73   $   11.00   $ 91.10     $ 114.03   $   205.13
  2/19/2017 Nilson Objio - Car Wash                      $9.50   74.45   $   11.00   $ 111.68    $ 189.48   $   301.15
  2/26/2017 Nilson Objio - Car Wash                      $9.50   66.57   $   11.00   $ 99.85     $ 146.12   $   245.97
   3/5/2017 Nilson Objio - Car Wash                      $9.50   72.05   $   11.00   $ 108.08    $ 176.28   $   284.35
  3/26/2017 Nilson Objio - Car Wash                     $11.50   43.82   $   11.00               $ 21.95    $    21.95
   4/2/2017 Nilson Objio - Car Wash                     $11.50   68.27   $   11.00               $ 162.53   $   162.53
   4/9/2017 Nilson Objio - Car Wash                     $11.50   65.23   $   11.00               $ 145.09   $   145.09
  4/16/2017 Nilson Objio - Car Wash                     $11.50   54.65   $   11.00               $ 84.24    $    84.24
  4/23/2017 Nilson Objio - Car Wash                     $11.50   68.85   $   11.00               $ 165.89   $   165.89
  4/30/2017 Nilson Objio - Car Wash                     $11.50   70.75   $   11.00               $ 176.81   $   176.81
   5/7/2017 Nilson Objio - Car Wash                     $11.50   71.50   $   11.00               $ 181.13   $   181.13
  5/14/2017 Nilson Objio - Car Wash                     $11.50   51.63   $   11.00               $ 66.89    $    66.89
  5/21/2017 Nilson Objio - Car Wash                     $11.50   63.70   $   11.00               $ 136.28   $   136.28
  5/28/2017 Nilson Objio - Car Wash                     $11.50   72.95   $   11.00               $ 189.46   $   189.46
   6/4/2017 Nilson Objio - Car Wash                     $11.50   59.17   $   11.00               $ 110.21   $   110.21
  6/11/2017 Nilson Objio - Car Wash                     $11.50   67.18   $   11.00               $ 156.30   $   156.30
  6/18/2017 Nilson Objio - Car Wash                     $11.50   73.48   $   11.00               $ 192.53   $   192.53
  6/25/2017 Nilson Objio - Car Wash                     $11.50   70.22   $   11.00               $ 173.75   $   173.75
   7/2/2017 Nilson Objio - Car Wash                     $11.50   70.97   $   11.00               $ 178.06   $   178.06
   7/9/2017 Nilson Objio - Car Wash                     $11.50   46.68   $   11.00               $ 38.43    $    38.43
  7/16/2017 Nilson Objio - Car Wash                     $11.50   73.32   $   11.00               $ 191.57   $   191.57
  7/23/2017 Nilson Objio - Car Wash                     $11.50   71.47   $   11.00               $ 180.93   $   180.93
  7/30/2017 Nilson Objio - Car Wash                     $11.50   73.73   $   11.00               $ 193.97   $   193.97
  8/27/2017 Nilson Objio - Car Wash                     $11.50   60.03   $   11.00               $ 115.19   $   115.19
   9/3/2017 Nilson Objio - Car Wash                     $11.50   62.87   $   11.00               $ 131.48   $   131.48
  9/10/2017 Nilson Objio - Car Wash                     $11.50   51.43   $   11.00               $ 65.74    $    65.74
  9/17/2017 Nilson Objio - Car Wash                     $11.50   57.62   $   11.00               $ 101.30   $   101.30
  9/24/2017 Nilson Objio - Car Wash                     $11.50   67.55   $   11.00               $ 158.41   $   158.41
  10/1/2017 Nilson Objio - Car Wash                     $11.50   68.35   $   11.00               $ 163.01   $   163.01
  10/8/2017 Nilson Objio - Car Wash                     $11.50   55.80   $   11.00               $ 90.85    $    90.85
 10/15/2017 Nilson Objio - Car Wash                     $11.50   74.08   $   11.00               $ 195.98   $   195.98
 10/22/2017 Nilson Objio - Car Wash                     $11.50   70.15   $   11.00               $ 173.36   $   173.36
 10/29/2017 Nilson Objio - Car Wash                     $11.50   68.03   $   11.00               $ 161.19   $   161.19
  11/5/2017 Nilson Objio - Car Wash                     $11.50   56.70   $   11.00               $ 96.03    $    96.03
 11/12/2017 Nilson Objio - Car Wash                     $11.50   60.88   $   11.00               $ 120.08   $   120.08
 11/19/2017 Nilson Objio - Car Wash                     $11.50   59.55   $   11.00               $ 112.41   $   112.41
 11/26/2017 Nilson Objio - Car Wash                     $11.50   47.48   $   11.00               $ 43.03    $    43.03
  12/3/2017 Nilson Objio - Car Wash                     $11.50   57.08   $   11.00               $ 98.23    $    98.23
 12/10/2017 Nilson Objio - Car Wash                     $11.50   63.13   $   11.00               $ 133.02   $   133.02
 12/17/2017 Nilson Objio - Car Wash                     $11.50   59.10   $   11.00               $ 109.83   $   109.83
 12/24/2017 Nilson Objio - Car Wash                     $11.50   60.02   $   11.00               $ 115.10   $   115.10
 12/31/2017 Nilson Objio - Car Wash                     $11.50   50.35   $   13.00   $   75.53   $ 67.28    $   142.80
   1/7/2018 Nilson Objio - Car Wash                     $11.50   44.97   $   13.00   $   67.45   $ 32.28    $    99.73
  1/14/2018 Nilson Objio - Car Wash                     $11.50   63.10   $   13.00   $   94.65   $ 150.15   $   244.80
  1/21/2018 Nilson Objio - Car Wash                     $11.50   62.15   $   13.00   $   93.23   $ 143.98   $   237.20
  1/28/2018 Nilson Objio - Car Wash                     $11.50   58.80   $   13.00   $   88.20   $ 122.20   $   210.40
   2/4/2018 Nilson Objio - Car Wash                     $11.50   63.32   $   13.00   $   94.98   $ 151.56   $   246.53
  2/11/2018 Nilson Objio - Car Wash                     $11.50   55.32   $   13.00   $   82.98   $ 99.56    $   182.53
  2/18/2018 Nilson Objio - Car Wash                     $11.50   64.60   $   13.00   $   96.90   $ 159.90   $   256.80
  2/25/2018 Nilson Objio - Car Wash                     $11.50   64.13   $   13.00   $   96.20   $ 156.87   $   253.07
   3/4/2018 Nilson Objio - Car Wash                     $11.50   60.92   $   13.00   $   91.38   $ 135.96   $   227.33
  3/25/2018 Nilson Objio - Car Wash                     $11.50   53.52   $   13.00   $   80.28   $ 87.86    $   168.13
   4/1/2018 Nilson Objio - Car Wash                     $11.50   57.00   $   13.00   $   85.50   $ 110.50   $   196.00



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                                                      Exhibit 3
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   Week                                                                   State Section 7: Section 7: Total Section 7
                                                          Hourly Hours/
  Ending                              Name                              Minimum Regular Half-time Overtime Back
                                                           Rate Week
   Date                                                                  Wage   Rate Due     Due       Wages Due

   4/8/2018 Nilson Objio - Car Wash                        $11.50   63.03   $   13.00   $ 94.55    $ 149.72   $   244.27
  4/15/2018 Nilson Objio - Car Wash                        $11.50   59.22   $   13.00   $ 88.83    $ 124.91   $   213.73
  4/22/2018 Nilson Objio - Car Wash                        $11.50   56.87   $   13.00   $ 85.30    $ 109.63   $   194.93
  4/29/2018 Nilson Objio - Car Wash                        $11.50   56.63   $   13.00   $ 84.95    $ 108.12   $   193.07
   5/6/2018 Nilson Objio - Car Wash                        $11.50   54.65   $   13.00   $ 81.98    $ 95.22    $   177.20
  5/13/2018 Nilson Objio - Car Wash                        $11.50   44.65   $   13.00   $ 66.98    $ 30.22    $    97.20
  5/20/2018 Nilson Objio - Car Wash                        $11.50   60.45   $   13.00   $ 90.68    $ 132.93   $   223.60
  5/27/2018 Nilson Objio - Car Wash                        $11.50   59.57   $   13.00   $ 89.35    $ 127.18   $   216.53
   6/3/2018 Nilson Objio - Car Wash                        $11.50   53.60   $   13.00   $ 80.40    $ 88.40    $   168.80
  6/10/2018 Nilson Objio - Car Wash                        $11.50   58.18   $   13.00   $ 87.28    $ 118.19   $   205.47
  6/17/2018 Nilson Objio - Car Wash                        $11.50   52.72   $   13.00   $ 79.08    $ 82.66    $   161.73
  6/24/2018 Nilson Objio - Car Wash                        $11.50   56.68   $   13.00   $ 85.03    $ 108.44   $   193.47
   7/1/2018 Nilson Objio - Car Wash                        $11.50   60.70   $   13.00   $ 91.05    $ 134.55   $   225.60
   7/8/2018 Nilson Objio - Car Wash                        $11.50   48.17   $   13.00   $ 72.25    $ 53.08    $   125.33
  7/15/2018 Nilson Objio - Car Wash                        $11.50   57.95   $   13.00   $ 86.93    $ 116.68   $   203.60
  7/22/2018 Nilson Objio - Car Wash                        $11.50   48.73   $   13.00   $ 73.10    $ 56.77    $   129.87
  7/29/2018 Nilson Objio - Car Wash                        $11.50   58.02   $   13.00   $ 87.03    $ 117.11   $   204.13
   8/5/2018 Nilson Objio - Car Wash                        $11.50   61.10   $   13.00   $ 91.65    $ 137.15   $   228.80
  8/26/2018 Nilson Objio - Car Wash                        $11.50   42.75   $   13.00   $ 64.13    $ 17.88    $    82.00
   9/2/2018 Nilson Objio - Car Wash                        $11.50   49.27   $   13.00   $ 73.90    $ 60.23    $   134.13
  9/16/2018 Nilson Objio - Car Wash                        $11.50   51.18   $   13.00   $ 76.78    $ 72.69    $   149.47
  9/23/2018 Nilson Objio - Car Wash                        $11.50   45.07   $   13.00   $ 67.60    $ 32.93    $   100.53
  9/30/2018 Nilson Objio - Car Wash                        $11.50   54.22   $   13.00   $ 81.33    $ 92.41    $   173.73
 10/14/2018 Nilson Objio - Car Wash                        $11.50   44.75   $   13.00   $ 67.13    $ 30.88    $    98.00
   6/2/2019 Nilson Objio - Car Wash                        $11.50   48.50   $   15.00   $ 169.75   $ 63.75    $   233.50
   6/9/2019 Nilson Objio - Car Wash                        $11.50   55.73   $   15.00   $ 195.07   $ 118.00   $   313.07
  6/16/2019 Nilson Objio - Car Wash                        $11.50   55.22   $   15.00   $ 193.26   $ 114.13   $   307.38
  6/23/2019 Nilson Objio - Car Wash                        $11.50   60.95   $   15.00   $ 213.33   $ 157.13   $   370.45
  6/30/2019 Nilson Objio - Car Wash                        $11.50   66.42   $   15.00   $ 232.46   $ 198.13   $   430.58
   7/7/2019 Nilson Objio - Car Wash                        $11.50   51.27   $   15.00   $ 179.43   $ 84.50    $   263.93
  7/14/2019 Nilson Objio - Car Wash                        $11.50   63.77   $   15.00   $ 223.18   $ 178.25   $   401.43
  7/21/2019 Nilson Objio - Car Wash                        $11.50   63.38   $   15.00   $ 221.84   $ 175.38   $   397.22
  7/28/2019 Nilson Objio - Car Wash                        $11.50   65.05   $   15.00   $ 227.68   $ 187.88   $   415.55
   8/4/2019 Nilson Objio - Car Wash                        $11.50   55.52   $   15.00   $ 194.31   $ 116.38   $   310.68
  8/11/2019 Nilson Objio - Car Wash                        $11.50   61.68   $   15.00   $ 215.89   $ 162.63   $   378.52
  8/18/2019 Nilson Objio - Car Wash                        $11.50   63.40   $   15.00   $ 221.90   $ 175.50   $   397.40
  8/25/2019 Nilson Objio - Car Wash                        $11.50   58.75   $   15.00   $ 205.63   $ 140.63   $   346.25
   9/1/2019 Nilson Objio - Car Wash                        $11.50   58.70   $   15.00   $ 205.45   $ 140.25   $   345.70
  4/16/2017 Odair Donato                                   $10.00   56.92   $   11.00   $ 56.92    $ 93.04    $   149.96
  4/23/2017 Odair Donato                                   $10.00   52.93   $   11.00   $ 52.93    $ 71.13    $   124.07
  4/30/2017 Odair Donato                                   $10.00   55.10   $   11.00   $ 55.10    $ 83.05    $   138.15
   5/7/2017 Odair Donato                                   $10.00   45.53   $   11.00   $ 45.53    $ 30.43    $    75.97
  5/14/2017 Odair Donato                                   $10.00   49.05   $   11.00   $ 49.05    $ 49.78    $    98.83
  4/14/2019 Omar Selim                                     $19.00   58.88   $   15.00              $ 179.39   $   179.39
  4/21/2019 Omar Selim                                     $19.00   55.73   $   15.00              $ 149.47   $   149.47
  4/28/2019 Omar Selim                                     $19.00   53.00   $   15.00              $ 123.50   $   123.50
  5/12/2019 Omar Selim                                     $19.00   62.78   $   15.00              $ 216.44   $   216.44
  5/19/2019 Omar Selim                                     $19.00   70.15   $   15.00              $ 286.43   $   286.43
   6/2/2019 Omar Selim                                     $19.00   57.38   $   15.00              $ 165.14   $   165.14
   6/9/2019 Omar Selim                                     $19.00   43.50   $   15.00              $ 33.25    $    33.25
  6/16/2019 Omar Selim                                     $19.00   46.97   $   15.00              $ 66.18    $    66.18
  6/23/2019 Omar Selim                                     $19.00   67.62   $   15.00              $ 262.36   $   262.36
  6/30/2019 Omar Selim                                     $19.00   49.30   $   15.00              $ 88.35    $    88.35
   7/7/2019 Omar Selim                                     $19.00   56.35   $   15.00              $ 155.33   $   155.33
  7/14/2019 Omar Selim                                     $19.00   64.93   $   15.00              $ 236.87   $   236.87
  7/21/2019 Omar Selim                                     $19.00   55.92   $   15.00              $ 151.21   $   151.21
   9/8/2019 Omar Selim                                     $19.00   53.72   $   15.00              $ 130.31   $   130.31
 11/11/2018 Pabel De La Cruz                               $10.00   46.00   $   13.00   $ 138.00   $ 39.00    $   177.00



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   Week                                                             State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
  Ending                        Name                              Minimum Regular Half-time Overtime Back
                                                     Rate Week
   Date                                                            Wage   Rate Due     Due       Wages Due

  12/9/2018 Pabel De La Cruz                         $10.00   41.15   $   13.00   $ 123.45     $   7.47   $   130.93
   3/3/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  3/10/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  3/17/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  3/24/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  3/31/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
   4/7/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  4/14/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  4/21/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  4/28/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
   5/5/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  5/12/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  5/19/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  5/26/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
   6/2/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
   6/9/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  6/16/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  6/23/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  6/30/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
   7/7/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  7/14/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  7/21/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  7/28/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
   8/4/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  8/11/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  8/18/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  8/25/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
   9/1/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
   9/8/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  9/15/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  9/22/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  9/29/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  10/6/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
 10/13/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
 10/20/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
 10/27/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  11/3/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
 11/10/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
 11/17/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
 11/24/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  12/1/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  12/8/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
 12/15/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
 12/22/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
 12/29/2019 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
   1/5/2020 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  1/12/2020 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  1/19/2020 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  1/26/2020 Pablo Rivera                             $15.00   60.00   $   15.00                $ 150.00   $   150.00
  2/17/2019 Paola Reyes Lopez                        $11.00   44.00   $   15.00   $   176.00   $ 30.00    $   206.00
  2/24/2019 Paola Reyes Lopez                        $11.00   49.47   $   15.00   $   197.87   $ 71.00    $   268.87
   3/3/2019 Paola Reyes Lopez                        $11.00   52.80   $   15.00   $   211.20   $ 96.00    $   307.20
  3/10/2019 Paola Reyes Lopez                        $11.00   43.62   $   15.00   $   174.47   $ 27.13    $   201.59
  3/17/2019 Paola Reyes Lopez                        $11.00   52.13   $   15.00   $   208.53   $ 91.00    $   299.53
  3/24/2019 Paola Reyes Lopez                        $11.00   48.72   $   15.00   $   194.87   $ 65.38    $   260.24
  3/31/2019 Paola Reyes Lopez                        $11.00   42.53   $   15.00   $   170.13   $ 19.00    $   189.13
  4/14/2019 Paola Reyes Lopez                        $11.00   49.85   $   15.00   $   199.40   $ 73.88    $   273.28
  4/21/2019 Paola Reyes Lopez                        $11.00   49.98   $   15.00   $   199.93   $ 74.88    $   274.81



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   Week                                                                   State Section 7: Section 7: Total Section 7
                                                          Hourly Hours/
  Ending                           Name                                 Minimum Regular Half-time Overtime Back
                                                           Rate Week
   Date                                                                  Wage   Rate Due     Due       Wages Due

  4/28/2019 Paola Reyes Lopez                              $11.00   53.88   $   15.00   $   215.53   $ 104.13   $   319.66
   5/5/2019 Paola Reyes Lopez                              $11.00   48.68   $   15.00   $   194.73   $ 65.13    $   259.86
  5/12/2019 Paola Reyes Lopez                              $11.00   52.27   $   15.00   $   209.07   $ 92.00    $   301.07
  5/26/2019 Paola Reyes Lopez                              $11.00   42.23   $   15.00   $   168.93   $ 16.75    $   185.68
   6/2/2019 Paola Reyes Lopez                              $11.00   50.47   $   15.00   $   201.87   $ 78.50    $   280.37
  6/16/2019 Paola Reyes Lopez                              $11.00   59.27   $   15.00   $   237.07   $ 144.50   $   381.57
  6/23/2019 Paola Reyes Lopez                              $11.00   47.08   $   15.00   $   188.33   $ 53.13    $   241.46
  6/30/2019 Paola Reyes Lopez                              $11.00   51.07   $   15.00   $   204.27   $ 83.00    $   287.27
  1/21/2018 Patriss Eustache                               $16.50   42.22   $   13.00                $ 18.29    $    18.29
  1/28/2018 Patriss Eustache                               $16.50   41.87   $   13.00                $ 15.40    $    15.40
   2/4/2018 Patriss Eustache                               $16.50   44.02   $   13.00                $ 33.14    $    33.14
  2/11/2018 Patriss Eustache                               $16.50   40.53   $   13.00                $   4.40   $     4.40
  2/18/2018 Patriss Eustache                               $16.50   40.85   $   13.00                $   7.01   $     7.01
  2/25/2018 Patriss Eustache                               $16.50   41.58   $   13.00                $ 13.06    $    13.06
  11/4/2018 Paul Manigat - Valet @ Service                 $16.50   60.27   $   13.00                $ 167.20   $   167.20
 11/11/2018 Paul Manigat - Valet @ Service                 $16.50   61.07   $   13.00                $ 173.80   $   173.80
 11/18/2018 Paul Manigat - Valet @ Service                 $16.50   60.30   $   13.00                $ 167.48   $   167.48
 11/25/2018 Paul Manigat - Valet @ Service                 $16.50   47.25   $   13.00                $ 59.81    $    59.81
  12/2/2018 Paul Manigat - Valet @ Service                 $16.50   59.00   $   13.00                $ 156.75   $   156.75
 12/16/2018 Paul Manigat - Valet @ Service                 $16.50   54.93   $   13.00                $ 123.20   $   123.20
 12/23/2018 Paul Manigat - Valet @ Service                 $16.50   57.53   $   13.00                $ 144.65   $   144.65
 12/30/2018 Paul Manigat - Valet @ Service                 $16.50   41.50   $   13.00                $ 12.38    $    12.38
   1/6/2019 Paul Manigat - Valet @ Service                 $16.50   45.07   $   15.00                $ 41.80    $    41.80
  1/13/2019 Paul Manigat - Valet @ Service                 $16.50   58.22   $   15.00                $ 150.29   $   150.29
  1/20/2019 Paul Manigat - Valet @ Service                 $16.50   54.90   $   15.00                $ 122.93   $   122.93
   2/3/2019 Paul Manigat - Valet @ Service                 $16.50   40.42   $   15.00                $   3.44   $     3.44
  2/10/2019 Paul Manigat - Valet @ Service                 $16.50   54.95   $   15.00                $ 123.34   $   123.34
  2/17/2019 Paul Manigat - Valet @ Service                 $16.50   58.48   $   15.00                $ 152.49   $   152.49
  2/24/2019 Paul Manigat - Valet @ Service                 $16.50   56.30   $   15.00                $ 134.48   $   134.48
   3/3/2019 Paul Manigat - Valet @ Service                 $16.50   49.23   $   15.00                $ 76.18    $    76.18
  3/10/2019 Paul Manigat - Valet @ Service                 $16.50   59.75   $   15.00                $ 162.94   $   162.94
  3/17/2019 Paul Manigat - Valet @ Service                 $16.50   42.05   $   15.00                $ 16.91    $    16.91
  3/24/2019 Paul Manigat - Valet @ Service                 $16.50   57.00   $   15.00                $ 140.25   $   140.25
  3/31/2019 Paul Manigat - Valet @ Service                 $16.50   59.22   $   15.00                $ 158.54   $   158.54
   4/7/2019 Paul Manigat - Valet @ Service                 $16.50   53.28   $   15.00                $ 109.59   $   109.59
  4/14/2019 Paul Manigat - Valet @ Service                 $16.50   49.10   $   15.00                $ 75.08    $    75.08
  4/21/2019 Paul Manigat - Valet @ Service                 $16.50   59.03   $   15.00                $ 157.03   $   157.03
  4/28/2019 Paul Manigat - Valet @ Service                 $16.50   60.87   $   15.00                $ 172.15   $   172.15
   5/5/2019 Paul Manigat - Valet @ Service                 $16.50   62.58   $   15.00                $ 186.31   $   186.31
  5/12/2019 Paul Manigat - Valet @ Service                 $16.50   48.33   $   15.00                $ 68.75    $    68.75
  5/19/2019 Paul Manigat - Valet @ Service                 $16.50   56.18   $   15.00                $ 133.51   $   133.51
  5/26/2019 Paul Manigat - Valet @ Service                 $16.50   63.17   $   15.00                $ 191.13   $   191.13
   6/2/2019 Paul Manigat - Valet @ Service                 $16.50   50.93   $   15.00                $ 90.20    $    90.20
   6/9/2019 Paul Manigat - Valet @ Service                 $16.50   61.58   $   15.00                $ 178.06   $   178.06
  6/16/2019 Paul Manigat - Valet @ Service                 $16.50   58.33   $   15.00                $ 151.25   $   151.25
  6/23/2019 Paul Manigat - Valet @ Service                 $16.50   51.43   $   15.00                $ 94.33    $    94.33
  6/30/2019 Paul Manigat - Valet @ Service                 $16.50   55.62   $   15.00                $ 128.84   $   128.84
   7/7/2019 Paul Manigat - Valet @ Service                 $16.50   46.70   $   15.00                $ 55.28    $    55.28
  7/21/2019 Paul Manigat - Valet @ Service                 $16.50   57.10   $   15.00                $ 141.08   $   141.08
  7/28/2019 Paul Manigat - Valet @ Service                 $16.50   56.15   $   15.00                $ 133.24   $   133.24
   8/4/2019 Paul Manigat - Valet @ Service                 $16.50   55.48   $   15.00                $ 127.74   $   127.74
 12/17/2017 Pedro De La Cruz - Car Washer                   $9.00   57.18   $   11.00   $   114.37   $ 94.51    $   208.88
 12/24/2017 Pedro De La Cruz - Car Washer                   $9.00   57.55   $   11.00   $   115.10   $ 96.53    $   211.63
 12/31/2017 Pedro De La Cruz - Car Washer                   $9.00   58.52   $   13.00   $   234.07   $ 120.36   $   354.43
   1/7/2018 Pedro De La Cruz - Car Washer                   $9.00   48.33   $   13.00   $   193.33   $ 54.17    $   247.50
  1/14/2018 Pedro De La Cruz - Car Washer                   $9.00   69.80   $   13.00   $   279.20   $ 193.70   $   472.90
  1/21/2018 Pedro De La Cruz - Car Washer                  $13.00   56.03   $   13.00                $ 104.22   $   104.22
  1/28/2018 Pedro De La Cruz - Car Washer                   $9.00   53.57   $   13.00   $ 214.27     $ 88.18    $   302.45



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   Week                                                                  State Section 7: Section 7: Total Section 7
                                                         Hourly Hours/
  Ending                           Name                                Minimum Regular Half-time Overtime Back
                                                          Rate Week
   Date                                                                 Wage   Rate Due     Due       Wages Due

  2/11/2018 Pedro De La Cruz - Car Washer                  $9.00   53.08   $   13.00   $   212.33   $ 85.04    $   297.38
  2/18/2018 Pedro De La Cruz - Car Washer                  $9.00   50.82   $   13.00   $   203.27   $ 70.31    $   273.58
  2/25/2018 Pedro De La Cruz - Car Washer                  $9.00   56.78   $   13.00   $   227.13   $ 109.09   $   336.23
   3/4/2018 Pedro De La Cruz - Car Washer                  $9.00   52.88   $   13.00   $   211.53   $ 83.74    $   295.28
  3/25/2018 Pedro De La Cruz - Car Washer                  $9.00   49.97   $   13.00   $   199.87   $ 64.78    $   264.65
   4/1/2018 Pedro De La Cruz - Car Washer                  $9.00   51.88   $   13.00   $   207.53   $ 77.24    $   284.78
   4/8/2018 Pedro De La Cruz - Car Washer                  $9.00   49.95   $   13.00   $   199.80   $ 64.68    $   264.48
  4/15/2018 Pedro De La Cruz - Car Washer                  $9.00   55.20   $   13.00   $   220.80   $ 98.80    $   319.60
  4/22/2018 Pedro De La Cruz - Car Washer                  $9.00   44.58   $   13.00   $   178.33   $ 29.79    $   208.13
  4/29/2018 Pedro De La Cruz - Car Washer                  $9.00   53.02   $   13.00   $   212.07   $ 84.61    $   296.68
   9/9/2018 Pedro Enrique Tirado                           $9.00   42.47   $   13.00   $   169.87   $ 16.03    $   185.90
  9/16/2018 Pedro Enrique Tirado                           $9.00   61.77   $   13.00   $   247.07   $ 141.48   $   388.55
  9/23/2018 Pedro Enrique Tirado                           $9.00   63.75   $   13.00   $   255.00   $ 154.38   $   409.38
  10/7/2018 Pedro Enrique Tirado                           $9.00   50.38   $   13.00   $   201.53   $ 67.49    $   269.03
 10/14/2018 Pedro Enrique Tirado                           $9.00   60.67   $   13.00   $   242.67   $ 134.33   $   377.00
  3/31/2019 Pedro Enrique Tirado                          $10.00   66.92   $   15.00   $   334.58   $ 201.88   $   536.46
   4/7/2019 Pedro Enrique Tirado                          $10.00   66.73   $   15.00   $   333.67   $ 200.50   $   534.17
  4/14/2019 Pedro Enrique Tirado                          $10.00   68.53   $   15.00   $   342.67   $ 214.00   $   556.67
  4/21/2019 Pedro Enrique Tirado                          $10.00   69.55   $   15.00   $   347.75   $ 221.63   $   569.38
  4/28/2019 Pedro Enrique Tirado                          $10.00   70.25   $   15.00   $   351.25   $ 226.88   $   578.13
   5/5/2019 Pedro Enrique Tirado                          $10.00   69.68   $   15.00   $   348.42   $ 222.63   $   571.04
  5/12/2019 Pedro Enrique Tirado                          $10.00   71.95   $   15.00   $   359.75   $ 239.63   $   599.38
  5/19/2019 Pedro Enrique Tirado                          $10.00   60.60   $   15.00   $   303.00   $ 154.50   $   457.50
  5/26/2019 Pedro Enrique Tirado                          $10.00   71.72   $   15.00   $   358.58   $ 237.88   $   596.46
   6/2/2019 Pedro Enrique Tirado                          $10.00   65.38   $   15.00   $   326.92   $ 190.38   $   517.29
   6/9/2019 Pedro Enrique Tirado                          $10.00   71.63   $   15.00   $   358.17   $ 237.25   $   595.42
  6/16/2019 Pedro Enrique Tirado                          $10.00   71.85   $   15.00   $   359.25   $ 238.88   $   598.13
  6/23/2019 Pedro Enrique Tirado                          $10.00   74.42   $   15.00   $   372.08   $ 258.13   $   630.21
  6/30/2019 Pedro Enrique Tirado                          $10.00   73.00   $   15.00   $   365.00   $ 247.50   $   612.50
   7/7/2019 Pedro Enrique Tirado                          $11.00   61.55   $   15.00   $   246.20   $ 161.63   $   407.83
  7/14/2019 Pedro Enrique Tirado                          $11.00   59.77   $   15.00   $   239.07   $ 148.25   $   387.32
  7/21/2019 Pedro Enrique Tirado                          $11.00   72.73   $   15.00   $   290.93   $ 245.50   $   536.43
  7/28/2019 Pedro Enrique Tirado                          $11.00   72.10   $   15.00   $   288.40   $ 240.75   $   529.15
   8/4/2019 Pedro Enrique Tirado                          $11.00   72.42   $   15.00   $   289.67   $ 243.13   $   532.79
  8/11/2019 Pedro Enrique Tirado                          $11.00   72.02   $   15.00   $   288.07   $ 240.13   $   528.19
  8/18/2019 Pedro Enrique Tirado                          $11.00   72.60   $   15.00   $   290.40   $ 244.50   $   534.90
  8/25/2019 Pedro Enrique Tirado                          $11.00   72.45   $   15.00   $   289.80   $ 243.38   $   533.18
   9/1/2019 Pedro Enrique Tirado                          $11.00   72.60   $   15.00   $   290.40   $ 244.50   $   534.90
   9/8/2019 Pedro Enrique Tirado                          $11.00   72.50   $   15.00   $   290.00   $ 243.75   $   533.75
  9/15/2019 Pedro Enrique Tirado                          $11.00   72.98   $   15.00   $   291.93   $ 247.38   $   539.31
  9/22/2019 Pedro Enrique Tirado                          $11.00   73.23   $   15.00   $   292.93   $ 249.25   $   542.18
  9/29/2019 Pedro Enrique Tirado                          $11.00   72.43   $   15.00   $   289.73   $ 243.25   $   532.98
  10/6/2019 Pedro Enrique Tirado                          $11.00   72.27   $   15.00   $   289.07   $ 242.00   $   531.07
 10/13/2019 Pedro Enrique Tirado                          $11.00   68.83   $   15.00   $   275.33   $ 216.25   $   491.58
 10/20/2019 Pedro Enrique Tirado                          $11.00   72.58   $   15.00   $   290.33   $ 244.38   $   534.71
 10/27/2019 Pedro Enrique Tirado                          $11.00   72.43   $   15.00   $   289.73   $ 243.25   $   532.98
  11/3/2019 Pedro Enrique Tirado                          $11.00   72.60   $   15.00   $   290.40   $ 244.50   $   534.90
 11/10/2019 Pedro Enrique Tirado                          $11.00   72.20   $   15.00   $   288.80   $ 241.50   $   530.30
 11/17/2019 Pedro Enrique Tirado                          $11.00   72.37   $   15.00   $   289.47   $ 242.75   $   532.22
 11/24/2019 Pedro Enrique Tirado                          $11.00   73.98   $   15.00   $   295.93   $ 254.88   $   550.81
  12/1/2019 Pedro Enrique Tirado                          $11.00   58.08   $   15.00   $   232.33   $ 135.63   $   367.96
  12/8/2019 Pedro Enrique Tirado                          $11.00   72.78   $   15.00   $   291.13   $ 245.88   $   537.01
 12/15/2019 Pedro Enrique Tirado                          $11.00   72.47   $   15.00   $   289.87   $ 243.50   $   533.37
 12/22/2019 Pedro Enrique Tirado                          $11.00   70.78   $   15.00   $   283.13   $ 230.88   $   514.01
 12/29/2019 Pedro Enrique Tirado                          $11.00   45.72   $   15.00   $   182.87   $ 42.88    $   225.74
   1/5/2020 Pedro Enrique Tirado                          $11.00   58.30   $   15.00   $   233.20   $ 137.25   $   370.45
  1/12/2020 Pedro Enrique Tirado                          $11.00   69.95   $   15.00   $   279.80   $ 224.63   $   504.43
  1/19/2020 Pedro Enrique Tirado                          $11.00   68.17   $   15.00   $   272.67   $ 211.25   $   483.92



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   Week                                                                 State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
  Ending                          Name                                Minimum Regular Half-time Overtime Back
                                                         Rate Week
   Date                                                                Wage   Rate Due     Due       Wages Due

  1/26/2020 Pedro Enrique Tirado                         $11.00   72.25   $   15.00   $   289.00   $ 241.88   $   530.88
  12/2/2018 Pedro Sadiel Vargas Mercedes                  $9.00   62.95   $   13.00   $   251.80   $ 149.18   $   400.98
  12/9/2018 Pedro Sadiel Vargas Mercedes                  $9.00   59.85   $   13.00   $   239.40   $ 129.03   $   368.43
 12/16/2018 Pedro Sadiel Vargas Mercedes                  $9.00   64.92   $   13.00   $   259.67   $ 161.96   $   421.63
 12/23/2018 Pedro Sadiel Vargas Mercedes                  $9.00   59.28   $   13.00   $   237.13   $ 125.34   $   362.48
 12/30/2018 Pedro Sadiel Vargas Mercedes                  $9.00   52.25   $   13.00   $   209.00   $ 79.63    $   288.63
   1/6/2019 Pedro Sadiel Vargas Mercedes                  $9.00   51.93   $   15.00   $   311.60   $ 89.50    $   401.10
  1/13/2019 Pedro Sadiel Vargas Mercedes                  $9.00   65.38   $   15.00   $   392.30   $ 190.38   $   582.68
  1/20/2019 Pedro Sadiel Vargas Mercedes                  $9.00   64.00   $   15.00   $   384.00   $ 180.00   $   564.00
  1/27/2019 Pedro Sadiel Vargas Mercedes                  $9.00   63.27   $   15.00   $   379.60   $ 174.50   $   554.10
   2/3/2019 Pedro Sadiel Vargas Mercedes                  $9.00   66.65   $   15.00   $   399.90   $ 199.88   $   599.78
  2/10/2019 Pedro Sadiel Vargas Mercedes                  $9.00   65.87   $   15.00   $   395.20   $ 194.00   $   589.20
  2/17/2019 Pedro Sadiel Vargas Mercedes                  $9.00   71.48   $   15.00   $   428.90   $ 236.13   $   665.03
  2/24/2019 Pedro Sadiel Vargas Mercedes                  $9.00   70.38   $   15.00   $   422.30   $ 227.88   $   650.18
   3/3/2019 Pedro Sadiel Vargas Mercedes                  $9.00   71.47   $   15.00   $   428.80   $ 236.00   $   664.80
  3/10/2019 Pedro Sadiel Vargas Mercedes                  $9.00   66.27   $   15.00   $   397.60   $ 197.00   $   594.60
  3/17/2019 Pedro Sadiel Vargas Mercedes                  $9.00   70.82   $   15.00   $   424.90   $ 231.13   $   656.03
  3/24/2019 Pedro Sadiel Vargas Mercedes                  $9.00   72.73   $   15.00   $   436.40   $ 245.50   $   681.90
  3/31/2019 Pedro Sadiel Vargas Mercedes                  $9.00   73.58   $   15.00   $   441.50   $ 251.88   $   693.38
   4/7/2019 Pedro Sadiel Vargas Mercedes                  $9.00   73.48   $   15.00   $   440.90   $ 251.13   $   692.03
  4/14/2019 Pedro Sadiel Vargas Mercedes                  $9.00   72.58   $   15.00   $   435.50   $ 244.38   $   679.88
  4/21/2019 Pedro Sadiel Vargas Mercedes                  $9.00   73.18   $   15.00   $   439.10   $ 248.88   $   687.98
  4/28/2019 Pedro Sadiel Vargas Mercedes                  $9.00   71.42   $   15.00   $   428.50   $ 235.63   $   664.13
   5/5/2019 Pedro Sadiel Vargas Mercedes                  $9.00   74.02   $   15.00   $   444.10   $ 255.13   $   699.23
  5/12/2019 Pedro Sadiel Vargas Mercedes                  $9.00   71.47   $   15.00   $   428.80   $ 236.00   $   664.80
  5/19/2019 Pedro Sadiel Vargas Mercedes                  $9.00   76.45   $   15.00   $   458.70   $ 273.38   $   732.08
  5/26/2019 Pedro Sadiel Vargas Mercedes                  $9.00   75.93   $   15.00   $   455.60   $ 269.50   $   725.10
   6/2/2019 Pedro Sadiel Vargas Mercedes                  $9.00   70.20   $   15.00   $   421.20   $ 226.50   $   647.70
   6/9/2019 Pedro Sadiel Vargas Mercedes                  $9.00   75.25   $   15.00   $   451.50   $ 264.38   $   715.88
  6/16/2019 Pedro Sadiel Vargas Mercedes                  $9.00   74.13   $   15.00   $   444.80   $ 256.00   $   700.80
  6/23/2019 Pedro Sadiel Vargas Mercedes                  $9.00   74.63   $   15.00   $   447.80   $ 259.75   $   707.55
  6/30/2019 Pedro Sadiel Vargas Mercedes                  $9.00   72.33   $   15.00   $   434.00   $ 242.50   $   676.50
   7/7/2019 Pedro Sadiel Vargas Mercedes                 $10.00   58.12   $   15.00   $   290.58   $ 135.88   $   426.46
  7/14/2019 Pedro Sadiel Vargas Mercedes                 $10.00   74.25   $   15.00   $   371.25   $ 256.88   $   628.13
  7/21/2019 Pedro Sadiel Vargas Mercedes                 $10.00   75.17   $   15.00   $   375.83   $ 263.75   $   639.58
  7/28/2019 Pedro Sadiel Vargas Mercedes                 $10.00   73.55   $   15.00   $   367.75   $ 251.63   $   619.38
   8/4/2019 Pedro Sadiel Vargas Mercedes                 $10.00   75.68   $   15.00   $   378.42   $ 267.63   $   646.04
  8/11/2019 Pedro Sadiel Vargas Mercedes                 $10.00   74.45   $   15.00   $   372.25   $ 258.38   $   630.63
  8/18/2019 Pedro Sadiel Vargas Mercedes                 $10.00   74.73   $   15.00   $   373.67   $ 260.50   $   634.17
  8/25/2019 Pedro Sadiel Vargas Mercedes                 $10.00   74.27   $   15.00   $   371.33   $ 257.00   $   628.33
   9/1/2019 Pedro Sadiel Vargas Mercedes                 $10.00   73.37   $   15.00   $   366.83   $ 250.25   $   617.08
   9/8/2019 Pedro Sadiel Vargas Mercedes                 $10.00   71.05   $   15.00   $   355.25   $ 232.88   $   588.13
  9/15/2019 Pedro Sadiel Vargas Mercedes                 $10.00   71.28   $   15.00   $   356.42   $ 234.63   $   591.04
  9/22/2019 Pedro Sadiel Vargas Mercedes                 $10.00   73.97   $   15.00   $   369.83   $ 254.75   $   624.58
  9/29/2019 Pedro Sadiel Vargas Mercedes                 $10.00   74.00   $   15.00   $   370.00   $ 255.00   $   625.00
  10/6/2019 Pedro Sadiel Vargas Mercedes                 $10.00   72.35   $   15.00   $   361.75   $ 242.63   $   604.38
 10/13/2019 Pedro Sadiel Vargas Mercedes                 $10.00   73.67   $   15.00   $   368.33   $ 252.50   $   620.83
 10/20/2019 Pedro Sadiel Vargas Mercedes                 $11.00   76.65   $   15.00   $   306.60   $ 274.88   $   581.48
 10/27/2019 Pedro Sadiel Vargas Mercedes                 $11.00   74.77   $   15.00   $   299.07   $ 260.75   $   559.82
  11/3/2019 Pedro Sadiel Vargas Mercedes                 $11.00   74.27   $   15.00   $   297.07   $ 257.00   $   554.07
 11/10/2019 Pedro Sadiel Vargas Mercedes                 $11.00   71.50   $   15.00   $   286.00   $ 236.25   $   522.25
 11/17/2019 Pedro Sadiel Vargas Mercedes                 $11.00   75.42   $   15.00   $   301.67   $ 265.63   $   567.29
 11/24/2019 Pedro Sadiel Vargas Mercedes                 $11.00   70.20   $   15.00   $   280.80   $ 226.50   $   507.30
  12/1/2019 Pedro Sadiel Vargas Mercedes                 $11.00   64.15   $   15.00   $   256.60   $ 181.13   $   437.73
  12/8/2019 Pedro Sadiel Vargas Mercedes                 $11.00   74.45   $   15.00   $   297.80   $ 258.38   $   556.18
 12/15/2019 Pedro Sadiel Vargas Mercedes                 $10.00   73.02   $   15.00   $   365.08   $ 247.63   $   612.71
 12/22/2019 Pedro Sadiel Vargas Mercedes                 $10.00   74.42   $   15.00   $   372.08   $ 258.13   $   630.21
 12/29/2019 Pedro Sadiel Vargas Mercedes                 $10.00   58.87   $   15.00   $   294.33   $ 141.50   $   435.83



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   Week                                                                   State Section 7: Section 7: Total Section 7
                                                          Hourly Hours/
  Ending                          Name                                  Minimum Regular Half-time Overtime Back
                                                           Rate Week
   Date                                                                  Wage   Rate Due     Due       Wages Due

   1/5/2020 Pedro Sadiel Vargas Mercedes                   $10.00   61.40   $   15.00   $ 307.00   $ 160.50   $   467.50
  1/12/2020 Pedro Sadiel Vargas Mercedes                   $10.00   75.42   $   15.00   $ 377.08   $ 265.63   $   642.71
  1/19/2020 Pedro Sadiel Vargas Mercedes                   $10.00   75.02   $   15.00   $ 375.08   $ 262.63   $   637.71
  1/26/2020 Pedro Sadiel Vargas Mercedes                   $10.00   73.07   $   15.00   $ 365.33   $ 248.00   $   613.33
  8/11/2019 Pursham Sawh                                   $11.00   40.88   $   15.00   $ 163.53   $   6.63   $   170.16
  9/29/2019 Pursham Sawh                                   $11.00   58.55   $   15.00   $ 234.20   $ 139.13   $   373.33
  10/6/2019 Pursham Sawh                                   $11.00   58.38   $   15.00   $ 233.53   $ 137.88   $   371.41
 10/22/2017 Rafael Angel Hernandez Pacheco                 $10.00   47.98   $   11.00   $ 47.98    $ 43.91    $    91.89
 10/29/2017 Rafael Angel Hernandez Pacheco                 $10.00   48.28   $   11.00   $ 48.28    $ 45.56    $    93.84
  11/5/2017 Rafael Angel Hernandez Pacheco                 $10.00   47.85   $   11.00   $ 47.85    $ 43.18    $    91.03
 11/12/2017 Rafael Angel Hernandez Pacheco                 $10.00   49.63   $   11.00   $ 49.63    $ 52.98    $   102.62
 11/19/2017 Rafael Angel Hernandez Pacheco                 $10.00   48.75   $   11.00   $ 48.75    $ 48.13    $    96.88
  12/3/2017 Rafael Angel Hernandez Pacheco                 $10.00   55.35   $   11.00   $ 55.35    $ 84.43    $   139.78
 12/10/2017 Rafael Angel Hernandez Pacheco                 $10.00   55.28   $   11.00   $ 55.28    $ 84.06    $   139.34
 12/24/2017 Rafael Angel Hernandez Pacheco                 $10.00   46.40   $   11.00   $ 46.40    $ 35.20    $    81.60
  9/22/2019 Rafael Antonio Arroyo Rosario                  $12.00   62.52   $   15.00   $ 187.55   $ 168.88   $   356.43
  9/29/2019 Rafael Antonio Arroyo Rosario                  $12.00   56.15   $   15.00   $ 168.45   $ 121.13   $   289.58
  10/6/2019 Rafael Antonio Arroyo Rosario                  $12.00   54.30   $   15.00   $ 162.90   $ 107.25   $   270.15
 10/13/2019 Rafael Antonio Arroyo Rosario                  $12.00   54.80   $   15.00   $ 164.40   $ 111.00   $   275.40
 10/20/2019 Rafael Antonio Arroyo Rosario                  $12.00   59.00   $   15.00   $ 177.00   $ 142.50   $   319.50
 10/27/2019 Rafael Antonio Arroyo Rosario                  $12.00   59.75   $   15.00   $ 179.25   $ 148.13   $   327.38
  11/3/2019 Rafael Antonio Arroyo Rosario                  $12.00   57.92   $   15.00   $ 173.75   $ 134.38   $   308.13
 11/10/2019 Rafael Antonio Arroyo Rosario                  $12.00   59.00   $   15.00   $ 177.00   $ 142.50   $   319.50
 11/17/2019 Rafael Antonio Arroyo Rosario                  $12.00   58.15   $   15.00   $ 174.45   $ 136.13   $   310.58
 11/24/2019 Rafael Antonio Arroyo Rosario                  $12.00   57.73   $   15.00   $ 173.20   $ 133.00   $   306.20
  12/1/2019 Rafael Antonio Arroyo Rosario                  $12.00   49.22   $   15.00   $ 147.65   $ 69.13    $   216.78
  12/8/2019 Rafael Antonio Arroyo Rosario                  $12.00   59.15   $   15.00   $ 177.45   $ 143.63   $   321.08
 12/15/2019 Rafael Antonio Arroyo Rosario                  $12.00   60.85   $   15.00   $ 182.55   $ 156.38   $   338.93
 12/22/2019 Rafael Antonio Arroyo Rosario                  $12.00   58.85   $   15.00   $ 176.55   $ 141.38   $   317.93
 12/29/2019 Rafael Antonio Arroyo Rosario                  $12.00   45.32   $   15.00   $ 135.95   $ 39.88    $   175.83
   1/5/2020 Rafael Antonio Arroyo Rosario                  $12.00   47.37   $   15.00   $ 142.10   $ 55.25    $   197.35
  1/12/2020 Rafael Antonio Arroyo Rosario                  $12.00   58.60   $   15.00   $ 175.80   $ 139.50   $   315.30
  1/19/2020 Rafael Antonio Arroyo Rosario                  $12.00   46.30   $   15.00   $ 138.90   $ 47.25    $   186.15
  1/26/2020 Rafael Antonio Arroyo Rosario                  $12.00   59.43   $   15.00   $ 178.30   $ 145.75   $   324.05
  4/23/2017 Rafael Dominguez                                $9.50   58.95   $   11.00   $ 88.43    $ 104.23   $   192.65
  4/30/2017 Rafael Dominguez                                $9.50   65.32   $   11.00   $ 97.98    $ 139.24   $   237.22
   5/7/2017 Rafael Dominguez                                $9.50   60.83   $   11.00   $ 91.25    $ 114.58   $   205.83
  5/14/2017 Rafael Dominguez                                $9.50   60.73   $   11.00   $ 91.10    $ 114.03   $   205.13
  5/21/2017 Rafael Dominguez                                $9.50   64.48   $   11.00   $ 96.73    $ 134.66   $   231.38
  5/28/2017 Rafael Dominguez                                $9.50   63.78   $   11.00   $ 95.68    $ 130.81   $   226.48
   6/4/2017 Rafael Dominguez                                $9.50   55.27   $   11.00   $ 82.90    $ 83.97    $   166.87
  6/11/2017 Rafael Dominguez                                $9.50   65.07   $   11.00   $ 97.60    $ 137.87   $   235.47
  6/18/2017 Rafael Dominguez                                $9.50   65.20   $   11.00   $ 97.80    $ 138.60   $   236.40
  6/25/2017 Rafael Dominguez                                $9.50   55.12   $   11.00   $ 82.68    $ 83.14    $   165.82
   7/2/2017 Rafael Dominguez                                $9.50   64.57   $   11.00   $ 96.85    $ 135.12   $   231.97
   7/9/2017 Rafael Dominguez                                $9.50   56.65   $   11.00   $ 84.98    $ 91.58    $   176.55
  7/16/2017 Rafael Dominguez                                $9.50   61.50   $   11.00   $ 92.25    $ 118.25   $   210.50
  7/23/2017 Rafael Dominguez                                $9.50   60.78   $   11.00   $ 91.18    $ 114.31   $   205.48
  7/30/2017 Rafael Dominguez                                $9.50   60.13   $   11.00   $ 90.20    $ 110.73   $   200.93
   8/6/2017 Rafael Dominguez                                $9.50   53.08   $   11.00   $ 79.63    $ 71.96    $   151.58
  8/13/2017 Rafael Dominguez                                $9.50   61.80   $   11.00   $ 92.70    $ 119.90   $   212.60
  8/20/2017 Rafael Dominguez                                $9.50   68.27   $   11.00   $ 102.40   $ 155.47   $   257.87
  8/27/2017 Rafael Dominguez                                $9.50   58.35   $   11.00   $ 87.53    $ 100.93   $   188.45
   9/3/2017 Rafael Dominguez                                $9.50   64.53   $   11.00   $ 96.80    $ 134.93   $   231.73
  9/10/2017 Rafael Dominguez                                $9.50   65.63   $   11.00   $ 98.45    $ 140.98   $   239.43
  9/17/2017 Rafael Dominguez                                $9.50   65.52   $   11.00   $ 98.28    $ 140.34   $   238.62
  9/24/2017 Rafael Dominguez                                $9.50   59.05   $   11.00   $ 88.58    $ 104.78   $   193.35
  10/1/2017 Rafael Dominguez                                $9.50   68.02   $   11.00   $ 102.03   $ 154.09   $   256.12



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   Week                                                                 State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
  Ending                            Name                              Minimum Regular Half-time Overtime Back
                                                         Rate Week
   Date                                                                Wage   Rate Due     Due       Wages Due

  10/8/2017 Rafael Dominguez                              $9.50   63.08   $   11.00   $ 94.63    $ 126.96   $   221.58
 10/15/2017 Rafael Dominguez                              $9.50   62.58   $   11.00   $ 93.88    $ 124.21   $   218.08
 10/22/2017 Rafael Dominguez                              $9.50   64.78   $   11.00   $ 97.18    $ 136.31   $   233.48
 10/29/2017 Rafael Dominguez                              $9.50   59.82   $   11.00   $ 89.73    $ 108.99   $   198.72
  11/5/2017 Rafael Dominguez                              $9.50   55.95   $   11.00   $ 83.93    $ 87.73    $   171.65
 11/12/2017 Rafael Dominguez                              $9.50   58.82   $   11.00   $ 88.23    $ 103.49   $   191.72
 11/19/2017 Rafael Dominguez                              $9.50   63.37   $   11.00   $ 95.05    $ 128.52   $   223.57
 10/28/2018 Rafael E. Uribe - Car Washer                 $10.00   53.00   $   13.00   $ 159.00   $ 84.50    $   243.50
  11/4/2018 Rafael E. Uribe - Car Washer                 $10.00   43.63   $   13.00   $ 130.90   $ 23.62    $   154.52
 11/11/2018 Rafael E. Uribe - Car Washer                 $10.00   49.52   $   13.00   $ 148.55   $ 61.86    $   210.41
 11/18/2018 Rafael E. Uribe - Car Washer                 $10.00   51.27   $   13.00   $ 153.80   $ 73.23    $   227.03
  12/9/2018 Rafael E. Uribe - Car Washer                 $10.00   49.73   $   13.00   $ 149.20   $ 63.27    $   212.47
 12/16/2018 Rafael E. Uribe - Car Washer                 $10.00   53.07   $   13.00   $ 159.20   $ 84.93    $   244.13
 12/23/2018 Rafael E. Uribe - Car Washer                 $10.00   42.18   $   13.00   $ 126.55   $ 14.19    $   140.74
  1/13/2019 Rafael E. Uribe - Car Washer                 $10.00   42.27   $   15.00   $ 211.33   $ 17.00    $   228.33
  1/20/2019 Rafael E. Uribe - Car Washer                 $10.00   50.08   $   15.00   $ 250.42   $ 75.63    $   326.04
  1/27/2019 Rafael E. Uribe - Car Washer                 $10.00   44.58   $   15.00   $ 222.92   $ 34.38    $   257.29
   2/3/2019 Rafael E. Uribe - Car Washer                 $10.00   56.98   $   15.00   $ 284.92   $ 127.38   $   412.29
  2/10/2019 Rafael E. Uribe - Car Washer                 $10.00   57.10   $   15.00   $ 285.50   $ 128.25   $   413.75
  2/17/2019 Rafael E. Uribe - Car Washer                 $10.00   46.80   $   15.00   $ 234.00   $ 51.00    $   285.00
  2/24/2019 Rafael E. Uribe - Car Washer                 $10.00   46.57   $   15.00   $ 232.83   $ 49.25    $   282.08
   3/3/2019 Rafael E. Uribe - Car Washer                 $10.00   56.30   $   15.00   $ 281.50   $ 122.25   $   403.75
  3/10/2019 Rafael E. Uribe - Car Washer                 $10.00   55.57   $   15.00   $ 277.83   $ 116.75   $   394.58
  3/17/2019 Rafael E. Uribe - Car Washer                 $10.00   57.40   $   15.00   $ 287.00   $ 130.50   $   417.50
  3/24/2019 Rafael E. Uribe - Car Washer                 $10.00   52.32   $   15.00   $ 261.58   $ 92.38    $   353.96
  3/31/2019 Rafael E. Uribe - Car Washer                 $10.00   57.65   $   15.00   $ 288.25   $ 132.38   $   420.63
   4/7/2019 Rafael E. Uribe - Car Washer                 $10.00   46.65   $   15.00   $ 233.25   $ 49.88    $   283.13
  4/14/2019 Rafael E. Uribe - Car Washer                 $10.00   42.40   $   15.00   $ 212.00   $ 18.00    $   230.00
  4/21/2019 Rafael E. Uribe - Car Washer                 $10.00   55.78   $   15.00   $ 278.92   $ 118.38   $   397.29
  4/28/2019 Rafael E. Uribe - Car Washer                 $10.00   59.07   $   15.00   $ 295.33   $ 143.00   $   438.33
   5/5/2019 Rafael E. Uribe - Car Washer                 $10.00   58.38   $   15.00   $ 291.92   $ 137.88   $   429.79
  5/12/2019 Rafael E. Uribe - Car Washer                 $10.00   54.62   $   15.00   $ 273.08   $ 109.63   $   382.71
  5/19/2019 Rafael E. Uribe - Car Washer                 $10.00   57.47   $   15.00   $ 287.33   $ 131.00   $   418.33
  5/26/2019 Rafael E. Uribe - Car Washer                 $10.00   58.78   $   15.00   $ 293.92   $ 140.88   $   434.79
   6/9/2019 Rafael E. Uribe - Car Washer                 $10.00   55.30   $   15.00   $ 276.50   $ 114.75   $   391.25
  6/16/2019 Rafael E. Uribe - Car Washer                 $10.00   58.83   $   15.00   $ 294.17   $ 141.25   $   435.42
  6/23/2019 Rafael E. Uribe - Car Washer                 $10.00   59.52   $   15.00   $ 297.58   $ 146.38   $   443.96
  6/30/2019 Rafael E. Uribe - Car Washer                 $10.00   59.08   $   15.00   $ 295.42   $ 143.13   $   438.54
  7/14/2019 Rafael E. Uribe - Car Washer                 $10.00   58.80   $   15.00   $ 294.00   $ 141.00   $   435.00
  7/21/2019 Rafael E. Uribe - Car Washer                 $10.00   57.88   $   15.00   $ 289.42   $ 134.13   $   423.54
  7/28/2019 Rafael E. Uribe - Car Washer                 $10.00   54.18   $   15.00   $ 270.92   $ 106.38   $   377.29
   8/4/2019 Rafael E. Uribe - Car Washer                 $10.00   44.85   $   15.00   $ 224.25   $ 36.38    $   260.63
  8/11/2019 Rafael E. Uribe - Car Washer                 $10.00   44.70   $   15.00   $ 223.50   $ 35.25    $   258.75
  8/18/2019 Rafael E. Uribe - Car Washer                 $10.00   56.33   $   15.00   $ 281.67   $ 122.50   $   404.17
  8/25/2019 Rafael E. Uribe - Car Washer                 $10.00   57.52   $   15.00   $ 287.58   $ 131.38   $   418.96
   9/1/2019 Rafael E. Uribe - Car Washer                 $10.00   57.85   $   15.00   $ 289.25   $ 133.88   $   423.13
   9/8/2019 Rafael E. Uribe - Car Washer                 $10.00   49.13   $   15.00   $ 245.67   $ 68.50    $   314.17
  9/29/2019 Rafael E. Uribe - Car Washer                 $10.00   42.48   $   15.00   $ 212.42   $ 18.63    $   231.04
  10/6/2019 Rafael E. Uribe - Car Washer                 $10.00   52.85   $   15.00   $ 264.25   $ 96.38    $   360.63
 10/20/2019 Rafael E. Uribe - Car Washer                 $10.00   53.72   $   15.00   $ 268.58   $ 102.88   $   371.46
 10/27/2019 Rafael E. Uribe - Car Washer                 $10.00   68.10   $   15.00   $ 340.50   $ 210.75   $   551.25
  11/3/2019 Rafael E. Uribe - Car Washer                 $10.00   56.57   $   15.00   $ 282.83   $ 124.25   $   407.08
 11/10/2019 Rafael E. Uribe - Car Washer                 $10.00   55.00   $   15.00   $ 275.00   $ 112.50   $   387.50
 11/17/2019 Rafael E. Uribe - Car Washer                 $10.00   57.73   $   15.00   $ 288.67   $ 133.00   $   421.67
 11/24/2019 Rafael E. Uribe - Car Washer                 $10.00   65.83   $   15.00   $ 329.17   $ 193.75   $   522.92
  12/1/2019 Rafael E. Uribe - Car Washer                 $10.00   49.97   $   15.00   $ 249.83   $ 74.75    $   324.58
  12/8/2019 Rafael E. Uribe - Car Washer                 $10.00   43.65   $   15.00   $ 218.25   $ 27.38    $   245.63
 12/15/2019 Rafael E. Uribe - Car Washer                 $10.00   62.72   $   15.00   $ 313.58   $ 170.38   $   483.96



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   Week                                                                 State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
  Ending                            Name                              Minimum Regular Half-time Overtime Back
                                                         Rate Week
   Date                                                                Wage   Rate Due     Due       Wages Due

 12/22/2019 Rafael E. Uribe - Car Washer                 $10.00   64.55   $   15.00   $   322.75   $ 184.13   $   506.88
 12/29/2019 Rafael E. Uribe - Car Washer                 $10.00   48.13   $   15.00   $   240.67   $ 61.00    $   301.67
  1/12/2020 Rafael E. Uribe - Car Washer                 $10.00   62.50   $   15.00   $   312.50   $ 168.75   $   481.25
  1/19/2020 Rafael E. Uribe - Car Washer                 $10.00   66.03   $   15.00   $   330.17   $ 195.25   $   525.42
  1/26/2020 Rafael E. Uribe - Car Washer                 $10.00   67.75   $   15.00   $   338.75   $ 208.13   $   546.88
 12/17/2017 Rafael Garcia-Beras                          $11.00   62.30   $   11.00                $ 122.65   $   122.65
 12/24/2017 Rafael Garcia-Beras                          $13.00   58.75   $   11.00                $ 121.88   $   121.88
 12/31/2017 Rafael Garcia-Beras                          $13.00   55.13   $   13.00                $ 98.37    $    98.37
  1/14/2018 Rafael Garcia-Beras                          $13.00   60.63   $   13.00                $ 134.12   $   134.12
  1/21/2018 Rafael Garcia-Beras                          $13.00   53.97   $   13.00                $ 90.78    $    90.78
  1/28/2018 Rafael Garcia-Beras                          $13.00   61.35   $   13.00                $ 138.78   $   138.78
   2/4/2018 Rafael Garcia-Beras                          $13.00   58.23   $   13.00                $ 118.52   $   118.52
  2/11/2018 Rafael Garcia-Beras                          $13.00   60.28   $   13.00                $ 131.84   $   131.84
  2/18/2018 Rafael Garcia-Beras                          $13.00   61.03   $   13.00                $ 136.72   $   136.72
  2/25/2018 Rafael Garcia-Beras                          $13.00   56.32   $   13.00                $ 106.06   $   106.06
   3/4/2018 Rafael Garcia-Beras                          $13.00   55.58   $   13.00                $ 101.29   $   101.29
  4/15/2018 Rafael Garcia-Beras                          $13.00   43.53   $   13.00                $ 22.97    $    22.97
  4/22/2018 Rafael Garcia-Beras                          $13.00   45.73   $   13.00                $ 37.27    $    37.27
  4/29/2018 Rafael Garcia-Beras                          $13.00   48.55   $   13.00                $ 55.58    $    55.58
   5/6/2018 Rafael Garcia-Beras                          $13.00   54.22   $   13.00                $ 92.41    $    92.41
  5/13/2018 Rafael Garcia-Beras                          $13.00   46.85   $   13.00                $ 44.53    $    44.53
  5/20/2018 Rafael Garcia-Beras                          $13.00   57.45   $   13.00                $ 113.43   $   113.43
  5/27/2018 Rafael Garcia-Beras                          $13.00   47.70   $   13.00                $ 50.05    $    50.05
   6/3/2018 Rafael Garcia-Beras                          $13.00   54.23   $   13.00                $ 92.52    $    92.52
  6/10/2018 Rafael Garcia-Beras                          $13.00   54.78   $   13.00                $ 96.09    $    96.09
  6/17/2018 Rafael Garcia-Beras                          $13.00   52.85   $   13.00                $ 83.53    $    83.53
  6/24/2018 Rafael Garcia-Beras                          $13.00   57.08   $   13.00                $ 111.04   $   111.04
   7/1/2018 Rafael Garcia-Beras                          $13.00   40.08   $   13.00                $   0.54   $     0.54
   7/8/2018 Rafael Garcia-Beras                          $13.00   49.88   $   13.00                $ 64.24    $    64.24
  7/15/2018 Rafael Garcia-Beras                          $13.00   50.85   $   13.00                $ 70.53    $    70.53
  7/22/2018 Rafael Garcia-Beras                          $13.00   49.87   $   13.00                $ 64.13    $    64.13
  7/29/2018 Rafael Garcia-Beras                          $13.00   40.55   $   13.00                $   3.57   $     3.57
 10/28/2018 Rafael Johnson                               $12.00   60.03   $   13.00   $ 60.03      $ 130.22   $   190.25
  11/4/2018 Rafael Johnson                               $12.00   54.63   $   13.00   $ 54.63      $ 95.12    $   149.75
 11/11/2018 Rafael Johnson                               $12.00   44.00   $   13.00   $ 44.00      $ 26.00    $    70.00
 11/18/2018 Rafael Johnson                               $12.00   51.13   $   13.00   $ 51.13      $ 72.37    $   123.50
  12/2/2018 Rafael Johnson                               $12.00   63.42   $   13.00   $ 63.42      $ 152.21   $   215.63
  12/9/2018 Rafael Johnson                               $12.00   48.65   $   13.00   $ 48.65      $ 56.23    $   104.88
 12/23/2018 Rafael Johnson                               $12.00   57.28   $   13.00   $ 57.28      $ 112.34   $   169.63
  1/27/2019 Rafael Johnson                               $12.00   54.25   $   15.00   $ 162.75     $ 106.88   $   269.63
   2/3/2019 Rafael Johnson                               $12.00   45.30   $   15.00   $ 135.90     $ 39.75    $   175.65
  2/24/2019 Rafael Johnson                               $12.00   41.40   $   15.00   $ 124.20     $ 10.50    $   134.70
   3/3/2019 Rafael Johnson                               $12.00   50.75   $   15.00   $ 152.25     $ 80.62    $   232.88
  3/17/2019 Rafael Johnson                               $12.00   46.58   $   15.00   $ 139.75     $ 49.38    $   189.13
  3/24/2019 Rafael Johnson                               $12.00   44.57   $   15.00   $ 133.70     $ 34.25    $   167.95
  3/31/2019 Rafael Johnson                               $12.00   54.20   $   15.00   $ 162.60     $ 106.50   $   269.10
  4/14/2019 Rafael Johnson                               $12.00   50.77   $   15.00   $ 152.30     $ 80.75    $   233.05
  4/21/2019 Rafael Johnson                               $12.00   45.47   $   15.00   $ 136.40     $ 41.00    $   177.40
  4/28/2019 Rafael Johnson                               $12.00   53.33   $   15.00   $ 160.00     $ 100.00   $   260.00
   5/5/2019 Rafael Johnson                               $12.00   41.07   $   15.00   $ 123.20     $   8.00   $   131.20
  5/12/2019 Rafael Johnson                               $12.00   47.10   $   15.00   $ 141.30     $ 53.25    $   194.55
  5/19/2019 Rafael Johnson                               $12.00   54.35   $   15.00   $ 163.05     $ 107.63   $   270.68
  5/26/2019 Rafael Johnson                               $12.00   56.50   $   15.00   $ 169.50     $ 123.75   $   293.25
   6/2/2019 Rafael Johnson                               $12.00   48.50   $   15.00   $ 145.50     $ 63.75    $   209.25
   6/9/2019 Rafael Johnson                               $12.00   53.08   $   15.00   $ 159.25     $ 98.13    $   257.38
  6/16/2019 Rafael Johnson                               $12.00   54.92   $   15.00   $ 164.75     $ 111.88   $   276.63
  6/23/2019 Rafael Johnson                               $12.00   54.08   $   15.00   $ 162.25     $ 105.63   $   267.88
  6/30/2019 Rafael Johnson                               $12.00   58.30   $   15.00   $ 174.90     $ 137.25   $   312.15



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   Week                                                                      State Section 7: Section 7: Total Section 7
                                                             Hourly Hours/
  Ending                            Name                                   Minimum Regular Half-time Overtime Back
                                                              Rate Week
   Date                                                                     Wage   Rate Due     Due       Wages Due

   7/7/2019 Rafael Johnson                                    $12.50   46.15   $   15.00   $   115.38   $ 46.12    $   161.50
  7/14/2019 Rafael Johnson                                    $12.50   51.63   $   15.00   $   129.08   $ 87.25    $   216.33
  7/21/2019 Rafael Johnson                                    $12.50   48.57   $   15.00   $   121.42   $ 64.25    $   185.67
  7/28/2019 Rafael Johnson                                    $12.50   53.58   $   15.00   $   133.96   $ 101.88   $   235.83
   8/4/2019 Rafael Johnson                                    $12.50   49.97   $   15.00   $   124.92   $ 74.75    $   199.67
  8/11/2019 Rafael Johnson                                    $12.50   48.92   $   15.00   $   122.29   $ 66.87    $   189.17
   9/1/2019 Rafael Johnson                                    $12.50   45.45   $   15.00   $   113.63   $ 40.88    $   154.50
  9/15/2019 Rafael Johnson                                    $12.50   43.65   $   15.00   $   109.13   $ 27.38    $   136.50
  9/22/2019 Rafael Johnson                                    $12.50   43.98   $   15.00   $   109.96   $ 29.88    $   139.83
  9/29/2019 Rafael Johnson                                    $12.50   51.33   $   15.00   $   128.33   $ 85.00    $   213.33
 10/13/2019 Rafael Johnson                                    $12.50   50.88   $   15.00   $   127.21   $ 81.63    $   208.83
 10/20/2019 Rafael Johnson                                    $12.50   51.57   $   15.00   $   128.92   $ 86.75    $   215.67
 10/27/2019 Rafael Johnson                                    $12.50   50.50   $   15.00   $   126.25   $ 78.75    $   205.00
  11/3/2019 Rafael Johnson                                    $12.50   44.13   $   15.00   $   110.33   $ 31.00    $   141.33
 11/10/2019 Rafael Johnson                                    $12.50   42.18   $   15.00   $   105.46   $ 16.38    $   121.83
 11/17/2019 Rafael Johnson                                    $12.50   57.13   $   15.00   $   142.83   $ 128.50   $   271.33
 11/24/2019 Rafael Johnson                                    $12.50   41.83   $   15.00   $   104.58   $ 13.75    $   118.33
  12/1/2019 Rafael Johnson                                    $12.50   50.65   $   15.00   $   126.63   $ 79.88    $   206.50
  12/8/2019 Rafael Johnson                                    $12.50   50.00   $   15.00   $   125.00   $ 75.00    $   200.00
 12/15/2019 Rafael Johnson                                    $12.50   58.85   $   15.00   $   147.13   $ 141.38   $   288.50
 12/22/2019 Rafael Johnson                                    $12.50   56.07   $   15.00   $   140.17   $ 120.50   $   260.67
 12/29/2019 Rafael Johnson                                    $12.50   44.83   $   15.00   $   112.08   $ 36.25    $   148.33
  1/12/2020 Rafael Johnson                                    $12.50   55.72   $   15.00   $   139.29   $ 117.88   $   257.17
  1/19/2020 Rafael Johnson                                    $12.50   40.92   $   15.00   $   102.29   $   6.87   $   109.17
  1/26/2020 Rafael Johnson                                    $12.50   51.85   $   15.00   $   129.63   $ 88.88    $   218.50
  1/14/2018 Rainel Araujo - Valet                             $13.00   58.95   $   13.00                $ 123.18   $   123.18
  1/21/2018 Rainel Araujo - Valet                             $13.00   54.72   $   13.00                $ 95.66    $    95.66
  1/28/2018 Rainel Araujo - Valet                             $13.00   47.57   $   13.00                $ 49.18    $    49.18
   2/4/2018 Rainel Araujo - Valet                             $13.00   54.08   $   13.00                $ 91.54    $    91.54
  2/11/2018 Rainel Araujo - Valet                             $13.00   53.15   $   13.00                $ 85.48    $    85.48
  2/18/2018 Rainel Araujo - Valet                             $13.00   57.13   $   13.00                $ 111.37   $   111.37
  2/25/2018 Rainel Araujo - Valet                             $13.00   44.17   $   13.00                $ 27.08    $    27.08
   3/4/2018 Rainel Araujo - Valet                             $13.00   45.77   $   13.00                $ 37.48    $    37.48
  3/25/2018 Rainel Araujo - Valet                             $13.00   52.43   $   13.00                $ 80.82    $    80.82
   4/1/2018 Rainel Araujo - Valet                             $13.00   46.03   $   13.00                $ 39.22    $    39.22
   4/8/2018 Rainel Araujo - Valet                             $13.00   43.78   $   13.00                $ 24.59    $    24.59
  4/15/2018 Rainel Araujo - Valet                             $13.00   48.02   $   13.00                $ 52.11    $    52.11
  4/29/2018 Rainel Araujo - Valet                             $13.00   40.87   $   13.00                $   5.63   $     5.63
   5/6/2018 Rainel Araujo - Valet                             $13.00   40.07   $   13.00                $   0.43   $     0.43
  5/13/2018 Rainel Araujo - Valet                             $13.00   50.93   $   13.00                $ 71.07    $    71.07
  5/20/2018 Rainel Araujo - Valet                             $13.00   49.63   $   13.00                $ 62.62    $    62.62
  5/27/2018 Rainel Araujo - Valet                             $13.00   50.63   $   13.00                $ 69.12    $    69.12
  6/10/2018 Rainel Araujo - Valet                             $13.00   40.92   $   13.00                $   5.96   $     5.96
  6/17/2018 Rainel Araujo - Valet                             $13.00   52.33   $   13.00                $ 80.17    $    80.17
  6/24/2018 Rainel Araujo - Valet                             $13.00   48.28   $   13.00                $ 53.84    $    53.84
   7/1/2018 Rainel Araujo - Valet                             $13.00   49.82   $   13.00                $ 63.81    $    63.81
   7/8/2018 Rainel Araujo - Valet                             $13.00   40.83   $   13.00                $   5.42   $     5.42
  1/27/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   62.72   $   15.00   $   376.30   $ 170.38   $   546.68
   2/3/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   62.52   $   15.00   $   375.10   $ 168.88   $   543.98
  2/10/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   66.10   $   15.00   $   396.60   $ 195.75   $   592.35
  2/17/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   66.27   $   15.00   $   397.60   $ 197.00   $   594.60
  2/24/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   64.88   $   15.00   $   389.30   $ 186.63   $   575.93
   3/3/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   71.63   $   15.00   $   429.80   $ 237.25   $   667.05
  3/10/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   58.07   $   15.00   $   348.40   $ 135.50   $   483.90
  3/17/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   69.47   $   15.00   $   416.80   $ 221.00   $   637.80
  3/24/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   73.33   $   15.00   $   440.00   $ 250.00   $   690.00
  3/31/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   72.20   $   15.00   $   433.20   $ 241.50   $   674.70
   4/7/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   70.17   $   15.00   $   421.00   $ 226.25   $   647.25



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   Week                                                                      State Section 7: Section 7: Total Section 7
                                                             Hourly Hours/
  Ending                            Name                                   Minimum Regular Half-time Overtime Back
                                                              Rate Week
   Date                                                                     Wage   Rate Due     Due       Wages Due

  4/14/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   72.90   $   15.00   $   437.40   $ 246.75   $   684.15
  4/21/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   73.03   $   15.00   $   438.20   $ 247.75   $   685.95
  4/28/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   55.12   $   15.00   $   330.70   $ 113.38   $   444.08
   5/5/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   72.73   $   15.00   $   436.40   $ 245.50   $   681.90
  5/12/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   73.27   $   15.00   $   439.60   $ 249.50   $   689.10
  5/19/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   73.53   $   15.00   $   441.20   $ 251.50   $   692.70
  5/26/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   74.63   $   15.00   $   447.80   $ 259.75   $   707.55
   6/2/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   69.30   $   15.00   $   415.80   $ 219.75   $   635.55
   6/9/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   74.88   $   15.00   $   449.30   $ 261.63   $   710.93
  6/16/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   73.68   $   15.00   $   442.10   $ 252.63   $   694.73
  6/23/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   73.90   $   15.00   $   443.40   $ 254.25   $   697.65
  6/30/2019 Rairys Rafael Rodriguez Alcantara                  $9.00   73.72   $   15.00   $   442.30   $ 252.88   $   695.18
   7/7/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   55.88   $   15.00   $   279.42   $ 119.13   $   398.54
  7/14/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   60.12   $   15.00   $   300.58   $ 150.88   $   451.46
  7/21/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   74.73   $   15.00   $   373.67   $ 260.50   $   634.17
  7/28/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   73.68   $   15.00   $   368.42   $ 252.63   $   621.04
   8/4/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   71.95   $   15.00   $   359.75   $ 239.63   $   599.38
  8/11/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   74.13   $   15.00   $   370.67   $ 256.00   $   626.67
  8/18/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   72.32   $   15.00   $   361.58   $ 242.38   $   603.96
  8/25/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   73.23   $   15.00   $   366.17   $ 249.25   $   615.42
   9/1/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   73.15   $   15.00   $   365.75   $ 248.63   $   614.38
   9/8/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   60.22   $   15.00   $   301.08   $ 151.63   $   452.71
  9/15/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   61.95   $   15.00   $   309.75   $ 164.63   $   474.38
  9/22/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   65.35   $   15.00   $   326.75   $ 190.13   $   516.88
  9/29/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   73.60   $   15.00   $   368.00   $ 252.00   $   620.00
  10/6/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   74.22   $   15.00   $   371.08   $ 256.63   $   627.71
 10/13/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   60.00   $   15.00   $   300.00   $ 150.00   $   450.00
 10/20/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   73.28   $   15.00   $   366.42   $ 249.63   $   616.04
 10/27/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   73.50   $   15.00   $   367.50   $ 251.25   $   618.75
  11/3/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   73.87   $   15.00   $   369.33   $ 254.00   $   623.33
 11/10/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   73.68   $   15.00   $   368.42   $ 252.63   $   621.04
 11/17/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   74.20   $   15.00   $   371.00   $ 256.50   $   627.50
 11/24/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   72.07   $   15.00   $   360.33   $ 240.50   $   600.83
  12/1/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   64.15   $   15.00   $   320.75   $ 181.13   $   501.88
  12/8/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   74.30   $   15.00   $   371.50   $ 257.25   $   628.75
 12/15/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   71.78   $   15.00   $   358.92   $ 238.38   $   597.29
 12/22/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   68.85   $   15.00   $   344.25   $ 216.38   $   560.63
 12/29/2019 Rairys Rafael Rodriguez Alcantara                 $10.00   58.38   $   15.00   $   291.92   $ 137.88   $   429.79
   1/5/2020 Rairys Rafael Rodriguez Alcantara                 $10.00   57.82   $   15.00   $   289.08   $ 133.63   $   422.71
  1/12/2020 Rairys Rafael Rodriguez Alcantara                 $10.00   70.72   $   15.00   $   353.58   $ 230.38   $   583.96
  1/19/2020 Rairys Rafael Rodriguez Alcantara                 $10.00   75.43   $   15.00   $   377.17   $ 265.75   $   642.92
  1/26/2020 Rairys Rafael Rodriguez Alcantara                 $10.00   69.53   $   15.00   $   347.67   $ 221.50   $   569.17
  6/23/2019 Randy Burno                                       $19.00   41.82   $   15.00                $ 17.26    $    17.26
  6/30/2019 Randy Burno                                       $19.00   44.08   $   15.00                $ 38.79    $    38.79
   7/7/2019 Randy Burno                                       $19.00   41.47   $   15.00                $ 13.93    $    13.93
  7/14/2019 Randy Burno                                       $19.00   50.33   $   15.00                $ 98.17    $    98.17
  7/21/2019 Randy Burno                                       $19.00   40.57   $   15.00                $   5.38   $     5.38
   8/4/2019 Randy Burno                                       $19.00   51.37   $   15.00                $ 107.98   $   107.98
  8/18/2019 Randy Burno                                       $19.00   48.22   $   15.00                $ 78.06    $    78.06
  8/25/2019 Randy Burno                                       $19.00   45.02   $   15.00                $ 47.66    $    47.66
   9/1/2019 Randy Burno                                       $19.00   48.58   $   15.00                $ 81.54    $    81.54
  9/22/2019 Randy Burno                                       $19.00   50.40   $   15.00                $ 98.80    $    98.80
  9/29/2019 Randy Burno                                       $19.00   50.58   $   15.00                $ 100.54   $   100.54
 10/13/2019 Randy Burno                                       $19.00   49.37   $   15.00                $ 88.98    $    88.98
 10/20/2019 Randy Burno                                       $19.00   42.97   $   15.00                $ 28.18    $    28.18
 10/27/2019 Randy Burno                                       $19.00   48.90   $   15.00                $ 84.55    $    84.55
  11/3/2019 Randy Burno                                       $19.00   42.72   $   15.00                $ 25.81    $    25.81
 11/10/2019 Randy Burno                                       $19.00   50.62   $   15.00                $ 100.86   $   100.86



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   Week                                                                State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
  Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                        Rate Week
   Date                                                               Wage   Rate Due     Due       Wages Due

 11/24/2019 Randy Burno                                 $19.00   61.85   $   15.00                $ 207.58   $   207.58
 12/15/2019 Randy Burno                                 $19.00   42.57   $   15.00                $ 24.38    $    24.38
 12/22/2019 Randy Burno                                 $19.00   41.93   $   15.00                $ 18.37    $    18.37
  7/15/2018 Raquan Coley - Valet                        $16.50   42.03   $   13.00                $ 16.78    $    16.78
  7/22/2018 Raquan Coley - Valet                        $16.50   41.70   $   13.00                $ 14.03    $    14.03
  7/29/2018 Raquan Coley - Valet                        $16.50   41.57   $   13.00                $ 12.93    $    12.93
   8/5/2018 Raquan Coley - Valet                        $16.50   42.10   $   13.00                $ 17.33    $    17.33
  8/12/2018 Raquan Coley - Valet                        $16.50   44.10   $   13.00                $ 33.83    $    33.83
  8/19/2018 Raquan Coley - Valet                        $16.50   42.15   $   13.00                $ 17.74    $    17.74
  8/26/2018 Raquan Coley - Valet                        $16.50   42.73   $   13.00                $ 22.55    $    22.55
   9/2/2018 Raquan Coley - Valet                        $16.50   43.28   $   13.00                $ 27.09    $    27.09
   9/9/2018 Raquan Coley - Valet                        $16.50   45.07   $   13.00                $ 41.80    $    41.80
  9/16/2018 Raquan Coley - Valet                        $16.50   56.42   $   13.00                $ 135.44   $   135.44
  9/23/2018 Raquan Coley - Valet                        $16.50   51.87   $   13.00                $ 97.90    $    97.90
  9/30/2018 Raquan Coley - Valet                        $16.50   50.85   $   13.00                $ 89.51    $    89.51
  10/7/2018 Raquan Coley - Valet                        $16.50   50.83   $   13.00                $ 89.38    $    89.38
 10/14/2018 Raquan Coley - Valet                        $16.50   52.63   $   13.00                $ 104.23   $   104.23
 10/21/2018 Raquan Coley - Valet                        $16.50   53.37   $   13.00                $ 110.28   $   110.28
 10/28/2018 Raquan Coley - Valet                        $16.50   51.55   $   13.00                $ 95.29    $    95.29
  11/4/2018 Raquan Coley - Valet                        $16.50   49.58   $   13.00                $ 79.06    $    79.06
 11/11/2018 Raquan Coley - Valet                        $16.50   40.97   $   13.00                $   7.98   $     7.98
 11/18/2018 Raquan Coley - Valet                        $16.50   49.70   $   13.00                $ 80.03    $    80.03
 11/25/2018 Raquan Coley - Valet                        $16.50   41.00   $   13.00                $   8.25   $     8.25
  12/2/2018 Raquan Coley - Valet                        $16.50   45.82   $   13.00                $ 47.99    $    47.99
  12/9/2018 Raquan Coley - Valet                        $16.50   51.27   $   13.00                $ 92.95    $    92.95
 12/16/2018 Raquan Coley - Valet                        $16.50   53.47   $   13.00                $ 111.10   $   111.10
 12/23/2018 Raquan Coley - Valet                        $16.50   51.17   $   13.00                $ 92.13    $    92.13
 12/30/2018 Raquan Coley - Valet                        $16.50   48.18   $   13.00                $ 67.51    $    67.51
   1/6/2019 Raquan Coley - Valet                        $16.50   48.00   $   15.00                $ 66.00    $    66.00
  1/13/2019 Raquan Coley - Valet                        $16.50   56.87   $   15.00                $ 139.15   $   139.15
  1/20/2019 Raquan Coley - Valet                        $16.50   53.22   $   15.00                $ 109.04   $   109.04
  1/27/2019 Raquan Coley - Valet                        $16.50   41.47   $   15.00                $ 12.10    $    12.10
   2/3/2019 Raquan Coley - Valet                        $16.50   46.98   $   15.00                $ 57.61    $    57.61
  2/10/2019 Raquan Coley - Valet                        $16.50   46.73   $   15.00                $ 55.55    $    55.55
  2/17/2019 Raquan Coley - Valet                        $16.50   48.47   $   15.00                $ 69.85    $    69.85
  2/24/2019 Raquan Coley - Valet                        $16.50   52.58   $   15.00                $ 103.81   $   103.81
   3/3/2019 Raquan Coley - Valet                        $16.50   48.33   $   15.00                $ 68.75    $    68.75
  3/17/2019 Raquan Coley - Valet                        $16.50   40.03   $   15.00                $   0.27   $     0.27
  3/24/2019 Raquan Coley - Valet                        $16.50   40.25   $   15.00                $   2.06   $     2.06
  3/31/2019 Raquan Coley - Valet                        $16.50   45.62   $   15.00                $ 46.34    $    46.34
   4/7/2019 Raquan Coley - Valet                        $16.50   40.90   $   15.00                $   7.43   $     7.43
  4/14/2019 Raquan Coley - Valet                        $16.50   44.65   $   15.00                $ 38.36    $    38.36
  4/21/2019 Raquan Coley - Valet                        $16.50   43.75   $   15.00                $ 30.94    $    30.94
  4/28/2019 Raquan Coley - Valet                        $16.50   43.53   $   15.00                $ 29.15    $    29.15
   5/5/2019 Raquan Coley - Valet                        $16.50   43.20   $   15.00                $ 26.40    $    26.40
  5/12/2019 Raquan Coley - Valet                        $16.50   43.85   $   15.00                $ 31.76    $    31.76
  5/19/2019 Raquan Coley - Valet                        $16.50   44.12   $   15.00                $ 33.96    $    33.96
  5/26/2019 Raquan Coley - Valet                        $16.50   42.62   $   15.00                $ 21.59    $    21.59
   6/2/2019 Raquan Coley - Valet                        $16.50   43.78   $   15.00                $ 31.21    $    31.21
  8/27/2017 Raul German                                  $8.50   58.80   $   11.00   $   147.00   $ 103.40   $   250.40
   9/3/2017 Raul German                                  $8.50   67.12   $   11.00   $   167.79   $ 149.14   $   316.93
  9/10/2017 Raul German                                  $8.50   50.18   $   11.00   $   125.46   $ 56.01    $   181.47
  9/17/2017 Raul German                                  $8.50   58.47   $   11.00   $   146.17   $ 101.57   $   247.73
  9/24/2017 Raul German                                  $8.50   69.93   $   11.00   $   174.83   $ 164.63   $   339.47
  10/1/2017 Raul German                                  $8.50   70.00   $   11.00   $   175.00   $ 165.00   $   340.00
  10/8/2017 Raul German                                  $8.50   69.83   $   11.00   $   174.58   $ 164.08   $   338.67
 10/15/2017 Raul German                                  $8.50   58.98   $   11.00   $   147.46   $ 104.41   $   251.87
 10/22/2017 Raul German                                  $8.50   70.35   $   11.00   $   175.88   $ 166.93   $   342.80



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   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                  Name                              Minimum Regular Half-time Overtime Back
                                               Rate Week
   Date                                                      Wage   Rate Due     Due       Wages Due

 10/29/2017 Raul German                         $8.50   59.60   $   11.00   $ 149.00   $ 107.80   $   256.80
  11/5/2017 Raul German                         $8.50   71.00   $   11.00   $ 177.50   $ 170.50   $   348.00
 11/12/2017 Raul German                         $8.50   65.05   $   11.00   $ 162.63   $ 137.78   $   300.40
 11/19/2017 Raul German                         $8.50   58.75   $   11.00   $ 146.88   $ 103.13   $   250.00
 11/26/2017 Raul German                         $8.50   49.02   $   11.00   $ 122.54   $ 49.59    $   172.13
  12/3/2017 Raul German                         $8.50   59.23   $   11.00   $ 148.08   $ 105.78   $   253.87
 12/10/2017 Raul German                         $8.50   58.93   $   11.00   $ 147.33   $ 104.13   $   251.47
 12/17/2017 Raul German                         $8.50   58.27   $   11.00   $ 145.67   $ 100.47   $   246.13
 12/24/2017 Raul German                         $8.50   70.55   $   11.00   $ 176.38   $ 168.03   $   344.40
 12/31/2017 Raul German                         $8.50   40.60   $   13.00   $ 182.70   $   3.90   $   186.60
  1/28/2018 Raul German                         $8.50   74.22   $   13.00   $ 333.98   $ 222.41   $   556.38
   4/1/2018 Raul German                         $8.50   56.75   $   13.00   $ 255.38   $ 108.88   $   364.25
   4/8/2018 Raul German                         $8.50   58.72   $   13.00   $ 264.23   $ 121.66   $   385.88
  4/15/2018 Raul German                         $8.50   53.65   $   13.00   $ 241.43   $ 88.73    $   330.15
  4/22/2018 Raul German                         $8.50   60.27   $   13.00   $ 271.20   $ 131.73   $   402.93
  4/29/2018 Raul German                         $8.50   59.75   $   13.00   $ 268.88   $ 128.38   $   397.25
   5/6/2018 Raul German                         $8.50   59.22   $   13.00   $ 266.48   $ 124.91   $   391.38
  5/13/2018 Raul German                         $8.50   59.95   $   13.00   $ 269.78   $ 129.68   $   399.45
  5/20/2018 Raul German                         $8.50   50.85   $   13.00   $ 228.83   $ 70.53    $   299.35
  5/27/2018 Raul German                         $8.50   52.53   $   13.00   $ 236.40   $ 81.47    $   317.87
  6/17/2018 Raul German                         $8.50   51.07   $   13.00   $ 229.80   $ 71.93    $   301.73
  6/24/2018 Raul German                         $8.50   48.45   $   13.00   $ 218.03   $ 54.93    $   272.95
   7/1/2018 Raul German                        $11.00   57.47   $   13.00   $ 114.93   $ 113.53   $   228.47
  7/15/2018 Raul German                        $11.00   55.85   $   13.00   $ 111.70   $ 103.03   $   214.73
  7/22/2018 Raul German                        $11.00   46.18   $   13.00   $ 92.37    $ 40.19    $   132.56
  7/29/2018 Raul German                        $11.00   53.85   $   13.00   $ 107.70   $ 90.03    $   197.73
   8/5/2018 Raul German                        $11.00   41.00   $   13.00   $ 82.00    $   6.50   $    88.50
  8/19/2018 Raul German                        $11.00   50.52   $   13.00   $ 101.03   $ 68.36    $   169.39
   9/2/2018 Raul German                        $11.00   49.77   $   13.00   $ 99.53    $ 63.48    $   163.02
   9/9/2018 Raul German                        $11.00   42.93   $   13.00   $ 85.87    $ 19.07    $   104.93
  9/16/2018 Raul German                        $11.00   55.68   $   13.00   $ 111.37   $ 101.94   $   213.31
  9/23/2018 Raul German                        $11.00   52.63   $   13.00   $ 105.27   $ 82.12    $   187.38
  9/30/2018 Raul German                        $11.00   51.18   $   13.00   $ 102.37   $ 72.69    $   175.06
  10/7/2018 Raul German                        $11.00   42.52   $   13.00   $ 85.03    $ 16.36    $   101.39
 10/14/2018 Raul German                        $11.00   53.10   $   13.00   $ 106.20   $ 85.15    $   191.35
 10/21/2018 Raul German                        $11.00   51.60   $   13.00   $ 103.20   $ 75.40    $   178.60
 10/28/2018 Raul German                        $11.00   55.83   $   13.00   $ 111.67   $ 102.92   $   214.58
  11/4/2018 Raul German                        $11.00   54.57   $   13.00   $ 109.13   $ 94.68    $   203.82
 11/11/2018 Raul German                        $11.00   59.32   $   13.00   $ 118.63   $ 125.56   $   244.19
 11/18/2018 Raul German                        $11.00   51.35   $   13.00   $ 102.70   $ 73.78    $   176.48
 11/25/2018 Raul German                        $11.00   41.75   $   13.00   $ 83.50    $ 11.38    $    94.88
  12/2/2018 Raul German                        $11.00   41.27   $   13.00   $ 82.53    $   8.23   $    90.77
  12/9/2018 Raul German                        $11.00   52.20   $   13.00   $ 104.40   $ 79.30    $   183.70
 12/16/2018 Raul German                        $11.00   47.63   $   13.00   $ 95.27    $ 49.62    $   144.88
 12/23/2018 Raul German                        $11.00   49.97   $   13.00   $ 99.93    $ 64.78    $   164.72
   1/6/2019 Raul German                        $11.00   40.77   $   15.00   $ 163.07   $   5.75   $   168.82
  1/13/2019 Raul German                        $11.00   54.48   $   15.00   $ 217.93   $ 108.63   $   326.56
  1/20/2019 Raul German                        $11.00   55.22   $   15.00   $ 220.87   $ 114.13   $   334.99
  1/27/2019 Raul German                        $11.00   53.08   $   15.00   $ 212.33   $ 98.13    $   310.46
   2/3/2019 Raul German                        $11.00   49.67   $   15.00   $ 198.67   $ 72.50    $   271.17
  2/10/2019 Raul German                        $11.00   41.68   $   15.00   $ 166.73   $ 12.63    $   179.36
  2/17/2019 Raul German                        $11.00   46.27   $   15.00   $ 185.07   $ 47.00    $   232.07
  2/24/2019 Raul German                        $11.00   46.78   $   15.00   $ 187.13   $ 50.88    $   238.01
   3/3/2019 Raul German                        $11.00   55.35   $   15.00   $ 221.40   $ 115.13   $   336.53
  3/10/2019 Raul German                        $11.00   51.30   $   15.00   $ 205.20   $ 84.75    $   289.95
  3/17/2019 Raul German                        $11.00   53.72   $   15.00   $ 214.87   $ 102.88   $   317.74
  3/24/2019 Raul German                        $11.00   45.53   $   15.00   $ 182.13   $ 41.50    $   223.63
  3/31/2019 Raul German                        $11.00   50.53   $   15.00   $ 202.13   $ 79.00    $   281.13



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   Week                                                                       State Section 7: Section 7: Total Section 7
                                                              Hourly Hours/
  Ending                          Name                                      Minimum Regular Half-time Overtime Back
                                                               Rate Week
   Date                                                                      Wage   Rate Due     Due       Wages Due

   4/7/2019 Raul German                                        $11.00   48.23   $   15.00   $ 192.93   $ 61.75    $   254.68
  4/14/2019 Raul German                                        $11.00   48.13   $   15.00   $ 192.53   $ 61.00    $   253.53
  4/21/2019 Raul German                                        $11.00   40.18   $   15.00   $ 160.73   $   1.37   $   162.11
  4/28/2019 Raul German                                        $11.00   52.60   $   15.00   $ 210.40   $ 94.50    $   304.90
   5/5/2019 Raul German                                        $11.00   47.10   $   15.00   $ 188.40   $ 53.25    $   241.65
  5/12/2019 Raul German                                        $11.00   54.47   $   15.00   $ 217.87   $ 108.50   $   326.37
  5/26/2019 Raul German                                        $11.00   51.72   $   15.00   $ 206.87   $ 87.88    $   294.74
   6/2/2019 Raul German                                        $11.00   46.82   $   15.00   $ 187.27   $ 51.13    $   238.39
   6/9/2019 Raul German                                        $11.00   47.48   $   15.00   $ 189.93   $ 56.13    $   246.06
  6/16/2019 Raul German                                        $11.00   52.13   $   15.00   $ 208.53   $ 91.00    $   299.53
  6/30/2019 Raul German                                        $11.00   60.18   $   15.00   $ 240.73   $ 151.38   $   392.11
   7/7/2019 Raul German                                        $11.00   50.03   $   15.00   $ 200.13   $ 75.25    $   275.38
  7/14/2019 Raul German                                        $11.00   59.95   $   15.00   $ 239.80   $ 149.63   $   389.43
  7/21/2019 Raul German                                        $11.00   51.77   $   15.00   $ 207.07   $ 88.25    $   295.32
  7/28/2019 Raul German                                        $11.00   46.80   $   15.00   $ 187.20   $ 51.00    $   238.20
   8/4/2019 Raul German                                        $11.00   58.57   $   15.00   $ 234.27   $ 139.25   $   373.52
  8/11/2019 Raul German                                        $11.00   59.10   $   15.00   $ 236.40   $ 143.25   $   379.65
  8/18/2019 Raul German                                        $11.00   57.38   $   15.00   $ 229.53   $ 130.38   $   359.91
  8/25/2019 Raul German                                        $11.00   60.25   $   15.00   $ 241.00   $ 151.88   $   392.88
  9/15/2019 Raul German                                        $11.00   52.13   $   15.00   $ 208.53   $ 91.00    $   299.53
  9/22/2019 Raul German                                        $11.00   57.03   $   15.00   $ 228.13   $ 127.75   $   355.88
  9/29/2019 Raul German                                        $11.00   56.82   $   15.00   $ 227.27   $ 126.13   $   353.39
  10/6/2019 Raul German                                        $11.00   60.17   $   15.00   $ 240.67   $ 151.25   $   391.92
 10/13/2019 Raul German                                        $11.00   57.27   $   15.00   $ 229.07   $ 129.50   $   358.57
 10/20/2019 Raul German                                        $11.00   56.65   $   15.00   $ 226.60   $ 124.88   $   351.48
 10/27/2019 Raul German                                        $11.00   54.88   $   15.00   $ 219.53   $ 111.63   $   331.16
  11/3/2019 Raul German                                        $11.00   57.62   $   15.00   $ 230.47   $ 132.13   $   362.59
 11/10/2019 Raul German                                        $11.00   55.27   $   15.00   $ 221.07   $ 114.50   $   335.57
 11/17/2019 Raul German                                        $11.00   56.85   $   15.00   $ 227.40   $ 126.38   $   353.78
 11/24/2019 Raul German                                        $11.00   52.17   $   15.00   $ 208.67   $ 91.25    $   299.92
  12/1/2019 Raul German                                        $11.00   45.00   $   15.00   $ 180.00   $ 37.50    $   217.50
  12/8/2019 Raul German                                        $11.00   62.53   $   15.00   $ 250.13   $ 169.00   $   419.13
 12/15/2019 Raul German                                        $11.00   62.03   $   15.00   $ 248.13   $ 165.25   $   413.38
 12/22/2019 Raul German                                        $11.00   60.22   $   15.00   $ 240.87   $ 151.63   $   392.49
 12/29/2019 Raul German                                        $11.00   48.17   $   15.00   $ 192.67   $ 61.25    $   253.92
  1/19/2020 Raul German                                        $11.00   42.67   $   15.00   $ 170.67   $ 20.00    $   190.67
  1/26/2020 Raul German                                        $11.00   57.08   $   15.00   $ 228.33   $ 128.13   $   356.46
  12/2/2018 Raymond Rodriguez - Service Valet                  $12.00   55.45   $   13.00   $ 55.45    $ 100.43   $   155.88
  12/9/2018 Raymond Rodriguez - Service Valet                  $12.00   55.32   $   13.00   $ 55.32    $ 99.56    $   154.88
 12/16/2018 Raymond Rodriguez - Service Valet                  $12.00   55.47   $   13.00   $ 55.47    $ 100.53   $   156.00
 12/23/2018 Raymond Rodriguez - Service Valet                  $12.00   55.38   $   13.00   $ 55.38    $ 99.99    $   155.38
  1/13/2019 Raymond Rodriguez - Service Valet                  $12.00   56.02   $   15.00   $ 168.05   $ 120.13   $   288.18
  1/20/2019 Raymond Rodriguez - Service Valet                  $12.00   55.73   $   15.00   $ 167.20   $ 118.00   $   285.20
  1/27/2019 Raymond Rodriguez - Service Valet                  $12.00   55.60   $   15.00   $ 166.80   $ 117.00   $   283.80
   2/3/2019 Raymond Rodriguez - Service Valet                  $12.00   51.68   $   15.00   $ 155.05   $ 87.63    $   242.68
  2/10/2019 Raymond Rodriguez - Service Valet                  $12.00   53.45   $   15.00   $ 160.35   $ 100.88   $   261.23
  2/17/2019 Raymond Rodriguez - Service Valet                  $12.00   50.58   $   15.00   $ 151.75   $ 79.38    $   231.13
  2/24/2019 Raymond Rodriguez - Service Valet                  $12.00   40.57   $   15.00   $ 121.70   $   4.25   $   125.95
   3/3/2019 Raymond Rodriguez - Service Valet                  $12.00   41.57   $   15.00   $ 124.70   $ 11.75    $   136.45
  3/10/2019 Raymond Rodriguez - Service Valet                  $12.00   42.65   $   15.00   $ 127.95   $ 19.88    $   147.83
  9/10/2017 Rene Alexander Velasquez - Showroom Porter         $11.00   42.40   $   11.00              $ 13.20    $    13.20
  9/17/2017 Rene Alexander Velasquez - Showroom Porter         $11.00   52.83   $   11.00              $ 70.58    $    70.58
  9/24/2017 Rene Alexander Velasquez - Showroom Porter         $11.00   61.37   $   11.00              $ 117.52   $   117.52
  10/1/2017 Rene Alexander Velasquez - Showroom Porter         $11.00   60.38   $   11.00              $ 112.11   $   112.11
  10/8/2017 Rene Alexander Velasquez - Showroom Porter         $11.00   52.05   $   11.00              $ 66.28    $    66.28
 10/15/2017 Rene Alexander Velasquez - Showroom Porter         $11.00   56.92   $   11.00              $ 93.04    $    93.04
 10/22/2017 Rene Alexander Velasquez - Showroom Porter         $11.00   52.85   $   11.00              $ 70.68    $    70.68
 10/29/2017 Rene Alexander Velasquez - Showroom Porter         $11.00   61.13   $   11.00              $ 116.23   $   116.23



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   Week                                                                       State Section 7: Section 7: Total Section 7
                                                              Hourly Hours/
  Ending                          Name                                      Minimum Regular Half-time Overtime Back
                                                               Rate Week
   Date                                                                      Wage   Rate Due     Due       Wages Due

  11/5/2017 Rene Alexander Velasquez - Showroom Porter         $11.00   53.08   $   11.00                $ 71.96    $    71.96
 11/12/2017 Rene Alexander Velasquez - Showroom Porter         $11.00   55.72   $   11.00                $ 86.44    $    86.44
 11/19/2017 Rene Alexander Velasquez - Showroom Porter         $11.00   45.85   $   11.00                $ 32.18    $    32.18
  12/3/2017 Rene Alexander Velasquez - Showroom Porter         $11.00   59.20   $   11.00                $ 105.60   $   105.60
 12/10/2017 Rene Alexander Velasquez - Showroom Porter         $11.00   40.87   $   11.00                $   4.77   $     4.77
 12/17/2017 Rene Alexander Velasquez - Showroom Porter         $11.00   62.27   $   11.00                $ 122.47   $   122.47
 12/24/2017 Rene Alexander Velasquez - Showroom Porter         $11.00   63.12   $   11.00                $ 127.14   $   127.14
 12/31/2017 Rene Alexander Velasquez - Showroom Porter         $11.00   52.03   $   13.00   $ 104.07     $ 78.22    $   182.28
   1/7/2018 Rene Alexander Velasquez - Showroom Porter         $13.00   46.33   $   13.00                $ 41.17    $    41.17
  1/14/2018 Rene Alexander Velasquez - Showroom Porter         $13.00   59.82   $   13.00                $ 128.81   $   128.81
  1/21/2018 Rene Alexander Velasquez - Showroom Porter         $13.00   53.92   $   13.00                $ 90.46    $    90.46
  1/28/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   57.92   $   13.00   $   173.75   $ 116.46   $   290.21
   2/4/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   63.67   $   13.00   $   191.00   $ 153.83   $   344.83
  2/11/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   60.20   $   13.00   $   180.60   $ 131.30   $   311.90
  2/18/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   58.67   $   13.00   $   176.00   $ 121.33   $   297.33
  2/25/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   62.30   $   13.00   $   186.90   $ 144.95   $   331.85
   3/4/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   52.95   $   13.00   $   158.85   $ 84.18    $   243.03
   4/1/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   41.62   $   13.00   $   124.85   $ 10.51    $   135.36
   4/8/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   42.55   $   13.00   $   127.65   $ 16.58    $   144.23
  4/22/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   41.35   $   13.00   $   124.05   $   8.78   $   132.83
  4/29/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   41.58   $   13.00   $   124.75   $ 10.29    $   135.04
   5/6/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   51.00   $   13.00   $   153.00   $ 71.50    $   224.50
  5/13/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   53.53   $   13.00   $   160.60   $ 87.97    $   248.57
  5/27/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   52.02   $   13.00   $   156.05   $ 78.11    $   234.16
   6/3/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   53.77   $   13.00   $   161.30   $ 89.48    $   250.78
  6/10/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   54.22   $   13.00   $   162.65   $ 92.41    $   255.06
  6/17/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   46.95   $   13.00   $   140.85   $ 45.18    $   186.03
  6/24/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   53.20   $   13.00   $   159.60   $ 85.80    $   245.40
   7/1/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   54.00   $   13.00   $   162.00   $ 91.00    $   253.00
   7/8/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   49.00   $   13.00   $   147.00   $ 58.50    $   205.50
  7/15/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   53.68   $   13.00   $   161.05   $ 88.94    $   249.99
  7/22/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   53.70   $   13.00   $   161.10   $ 89.05    $   250.15
  7/29/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   52.02   $   13.00   $   156.05   $ 78.11    $   234.16
   8/5/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   43.00   $   13.00   $   129.00   $ 19.50    $   148.50
  8/12/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   52.72   $   13.00   $   158.15   $ 82.66    $   240.81
  8/19/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   54.88   $   13.00   $   164.65   $ 96.74    $   261.39
  8/26/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   52.63   $   13.00   $   157.90   $ 82.12    $   240.02
   9/2/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   44.17   $   13.00   $   132.50   $ 27.08    $   159.58
   9/9/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   52.78   $   13.00   $   158.35   $ 83.09    $   241.44
  9/16/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   49.68   $   13.00   $   149.05   $ 62.94    $   211.99
  9/23/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   50.28   $   13.00   $   150.85   $ 66.84    $   217.69
  9/30/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   49.47   $   13.00   $   148.40   $ 61.53    $   209.93
  10/7/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   46.15   $   13.00   $   138.45   $ 39.97    $   178.43
 10/14/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   50.95   $   13.00   $   152.85   $ 71.18    $   224.03
 10/21/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   52.32   $   13.00   $   156.95   $ 80.06    $   237.01
 10/28/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   42.78   $   13.00   $   128.35   $ 18.09    $   146.44
  11/4/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   40.42   $   13.00   $   121.25   $   2.71   $   123.96
 11/11/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   51.73   $   13.00   $   155.20   $ 76.27    $   231.47
 11/18/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   56.47   $   13.00   $   169.40   $ 107.03   $   276.43
  12/2/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   45.78   $   13.00   $   137.35   $ 37.59    $   174.94
  12/9/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   53.60   $   13.00   $   160.80   $ 88.40    $   249.20
 12/16/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   52.30   $   13.00   $   156.90   $ 79.95    $   236.85
 12/23/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   43.95   $   13.00   $   131.85   $ 25.68    $   157.53
 12/30/2018 Rene Alexander Velasquez - Showroom Porter         $10.00   42.10   $   13.00   $   126.30   $ 13.65    $   139.95
  1/13/2019 Rene Alexander Velasquez - Showroom Porter         $10.00   48.47   $   15.00   $   242.33   $ 63.50    $   305.83
  1/20/2019 Rene Alexander Velasquez - Showroom Porter         $10.00   43.43   $   15.00   $   217.17   $ 25.75    $   242.92
  1/27/2019 Rene Alexander Velasquez - Showroom Porter         $10.00   58.23   $   15.00   $   291.17   $ 136.75   $   427.92
   2/3/2019 Rene Alexander Velasquez - Showroom Porter         $10.00   58.05   $   15.00   $   290.25   $ 135.38   $   425.63



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   Week                                                                           State Section 7: Section 7: Total Section 7
                                                                  Hourly Hours/
  Ending                          Name                                          Minimum Regular Half-time Overtime Back
                                                                   Rate Week
   Date                                                                          Wage   Rate Due     Due       Wages Due

  2/24/2019 Rene Alexander Velasquez - Porter @ Jeep Showroom     $16.50   40.22   $   15.00        $   1.79   $        1.79
   3/3/2019 Rene Alexander Velasquez - Porter @ Jeep Showroom     $16.50   41.17   $   15.00        $   9.63   $        9.63
  3/10/2019 Rene Alexander Velasquez - Porter @ Jeep Showroom     $16.50   64.95   $   15.00        $ 205.84   $      205.84
   5/5/2019 Rene Alexander Velasquez - Porter @ Jeep Showroom     $16.50   43.97   $   15.00        $ 32.73    $       32.73
  5/12/2019 Rene Alexander Velasquez - Porter @ Jeep Showroom     $16.50   40.15   $   15.00        $   1.24   $        1.24
  5/19/2019 Rene Alexander Velasquez - Porter @ Jeep Showroom     $16.50   46.25   $   15.00        $ 51.56    $       51.56
  5/26/2019 Rene Alexander Velasquez - Porter @ Jeep Showroom     $16.50   46.10   $   15.00        $ 50.33    $       50.33
  4/23/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   56.50   $   11.00        $ 94.88    $       94.88
  4/30/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   45.05   $   11.00        $ 29.04    $       29.04
   5/7/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   58.45   $   11.00        $ 106.09   $      106.09
  5/14/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   43.27   $   11.00        $ 18.78    $       18.78
  5/21/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   57.35   $   11.00        $ 99.76    $       99.76
  5/28/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   48.62   $   11.00        $ 49.55    $       49.55
   6/4/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   41.18   $   11.00        $   6.80   $        6.80
  6/11/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   51.23   $   11.00        $ 64.59    $       64.59
  6/18/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   52.78   $   11.00        $ 73.50    $       73.50
  6/25/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   51.48   $   11.00        $ 66.03    $       66.03
   7/2/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   44.10   $   11.00        $ 23.58    $       23.58
   7/9/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   44.27   $   11.00        $ 24.53    $       24.53
  7/16/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   51.70   $   11.00        $ 67.28    $       67.28
   8/6/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   53.53   $   11.00        $ 77.82    $       77.82
  8/13/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   52.60   $   11.00        $ 72.45    $       72.45
  8/20/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   51.60   $   11.00        $ 66.70    $       66.70
  8/27/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   53.00   $   11.00        $ 74.75    $       74.75
   9/3/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   50.12   $   11.00        $ 58.17    $       58.17
  9/10/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   42.58   $   11.00        $ 14.85    $       14.85
  9/17/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   52.90   $   11.00        $ 74.18    $       74.18
  9/24/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   52.17   $   11.00        $ 69.96    $       69.96
  10/1/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   52.32   $   11.00        $ 70.82    $       70.82
  10/8/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   52.38   $   11.00        $ 71.20    $       71.20
 10/15/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   52.45   $   11.00        $ 71.59    $       71.59
 10/22/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   53.02   $   11.00        $ 74.85    $       74.85
 10/29/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   52.42   $   11.00        $ 71.40    $       71.40
  11/5/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   52.95   $   11.00        $ 74.46    $       74.46
 11/12/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   52.37   $   11.00        $ 71.11    $       71.11
 11/19/2017 Reynaldo Sanchez - Manager Valet @ Service            $11.50   52.38   $   11.00        $ 71.20    $       71.20
  12/3/2017 Reynaldo Sanchez - Manager Valet @ Service            $16.00   57.73   $   11.00        $ 141.87   $      141.87
 12/10/2017 Reynaldo Sanchez - Manager Valet @ Service            $20.00   61.80   $   11.00        $ 218.00   $      218.00
 12/17/2017 Reynaldo Sanchez - Manager Valet @ Service            $20.00   65.38   $   11.00        $ 253.83   $      253.83
 12/24/2017 Reynaldo Sanchez - Manager Valet @ Service            $20.00   62.95   $   11.00        $ 229.50   $      229.50
 12/31/2017 Reynaldo Sanchez - Manager Valet @ Service            $20.00   56.40   $   13.00        $ 164.00   $      164.00
   1/7/2018 Reynaldo Sanchez - Manager Valet @ Service            $20.00   48.07   $   13.00        $ 80.67    $       80.67
  1/28/2018 Reynaldo Sanchez - Manager Valet @ Service            $20.00   62.67   $   13.00        $ 226.67   $      226.67
   2/4/2018 Reynaldo Sanchez - Manager Valet @ Service            $20.00   56.73   $   13.00        $ 167.33   $      167.33
  2/11/2018 Reynaldo Sanchez - Manager Valet @ Service            $20.00   63.23   $   13.00        $ 232.33   $      232.33
  2/18/2018 Reynaldo Sanchez - Manager Valet @ Service            $20.00   66.32   $   13.00        $ 263.17   $      263.17
  2/25/2018 Reynaldo Sanchez - Manager Valet @ Service            $20.00   65.28   $   13.00        $ 252.83   $      252.83
   3/4/2018 Reynaldo Sanchez - Manager Valet @ Service            $20.00   58.87   $   13.00        $ 188.67   $      188.67
  3/25/2018 Reynaldo Sanchez - Manager Valet @ Service            $20.00   55.92   $   13.00        $ 159.17   $      159.17
   4/8/2018 Reynaldo Sanchez - Manager Valet @ Service            $20.00   59.22   $   13.00        $ 192.17   $      192.17
  4/15/2018 Reynaldo Sanchez - Manager Valet @ Service            $20.00   59.80   $   13.00        $ 198.00   $      198.00
  4/22/2018 Reynaldo Sanchez - Manager Valet @ Service            $20.00   60.28   $   13.00        $ 202.83   $      202.83
  4/29/2018 Reynaldo Sanchez - Manager Valet @ Service            $20.00   61.75   $   13.00        $ 217.50   $      217.50
   5/6/2018 Reynaldo Sanchez - Manager Valet @ Service            $20.00   60.55   $   13.00        $ 205.50   $      205.50
  5/13/2018 Reynaldo Sanchez - Manager Valet @ Service            $20.00   55.80   $   13.00        $ 158.00   $      158.00
  5/20/2018 Reynaldo Sanchez - Manager Valet @ Service            $20.00   61.82   $   13.00        $ 218.17   $      218.17
  5/27/2018 Reynaldo Sanchez - Manager Valet @ Service            $20.00   60.37   $   13.00        $ 203.67   $      203.67
   6/3/2018 Reynaldo Sanchez - Manager Valet @ Service            $20.00   50.73   $   13.00        $ 107.33   $      107.33



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                                                           Exhibit 3
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   Week                                                                        State Section 7: Section 7: Total Section 7
                                                               Hourly Hours/
  Ending                          Name                                       Minimum Regular Half-time Overtime Back
                                                                Rate Week
   Date                                                                       Wage   Rate Due     Due       Wages Due

  6/10/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   55.83   $   13.00       $ 158.33   $      158.33
  6/17/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   63.42   $   13.00       $ 234.17   $      234.17
  6/24/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   58.73   $   13.00       $ 187.33   $      187.33
   7/1/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   58.23   $   13.00       $ 182.33   $      182.33
   7/8/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   50.77   $   13.00       $ 107.67   $      107.67
  7/15/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   58.12   $   13.00       $ 181.17   $      181.17
  7/22/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   63.00   $   13.00       $ 230.00   $      230.00
  7/29/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   62.03   $   13.00       $ 220.33   $      220.33
   8/5/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   63.95   $   13.00       $ 239.50   $      239.50
  8/12/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   55.05   $   13.00       $ 150.50   $      150.50
  8/19/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   62.05   $   13.00       $ 220.50   $      220.50
  8/26/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   67.88   $   13.00       $ 278.83   $      278.83
   9/2/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   62.02   $   13.00       $ 220.17   $      220.17
   9/9/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   45.77   $   13.00       $ 57.67    $       57.67
  9/16/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   58.15   $   13.00       $ 181.50   $      181.50
  9/23/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   57.17   $   13.00       $ 171.67   $      171.67
  9/30/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   58.60   $   13.00       $ 186.00   $      186.00
  10/7/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   53.35   $   13.00       $ 133.50   $      133.50
 10/14/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   64.63   $   13.00       $ 246.33   $      246.33
 10/21/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   68.48   $   13.00       $ 284.83   $      284.83
 10/28/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   69.02   $   13.00       $ 290.17   $      290.17
  11/4/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   69.62   $   13.00       $ 296.17   $      296.17
 11/11/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   65.42   $   13.00       $ 254.17   $      254.17
 11/18/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   60.43   $   13.00       $ 204.33   $      204.33
 11/25/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   52.88   $   13.00       $ 128.83   $      128.83
  12/2/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   54.37   $   13.00       $ 143.67   $      143.67
  12/9/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   64.00   $   13.00       $ 240.00   $      240.00
 12/16/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   64.32   $   13.00       $ 243.17   $      243.17
 12/23/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   65.68   $   13.00       $ 256.83   $      256.83
 12/30/2018 Reynaldo Sanchez - Manager Valet @ Service          $20.00   49.27   $   13.00       $ 92.67    $       92.67
   1/6/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   55.28   $   15.00       $ 152.83   $      152.83
  1/13/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   55.07   $   15.00       $ 150.67   $      150.67
  1/20/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   66.50   $   15.00       $ 265.00   $      265.00
  1/27/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   69.18   $   15.00       $ 291.83   $      291.83
   2/3/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   54.63   $   15.00       $ 146.33   $      146.33
  2/10/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   70.10   $   15.00       $ 301.00   $      301.00
  2/17/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   66.43   $   15.00       $ 264.33   $      264.33
  2/24/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   66.18   $   15.00       $ 261.83   $      261.83
   3/3/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   69.65   $   15.00       $ 296.50   $      296.50
  3/10/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   65.87   $   15.00       $ 258.67   $      258.67
  3/17/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   64.05   $   15.00       $ 240.50   $      240.50
  3/24/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   67.15   $   15.00       $ 271.50   $      271.50
  3/31/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   65.75   $   15.00       $ 257.50   $      257.50
   4/7/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   65.37   $   15.00       $ 253.67   $      253.67
  4/14/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   66.15   $   15.00       $ 261.50   $      261.50
  4/21/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   66.53   $   15.00       $ 265.33   $      265.33
  4/28/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   66.02   $   15.00       $ 260.17   $      260.17
   5/5/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   68.25   $   15.00       $ 282.50   $      282.50
  5/12/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   65.65   $   15.00       $ 256.50   $      256.50
  5/19/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   67.35   $   15.00       $ 273.50   $      273.50
   6/2/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   60.58   $   15.00       $ 205.83   $      205.83
   6/9/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   67.48   $   15.00       $ 274.83   $      274.83
  6/16/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   66.73   $   15.00       $ 267.33   $      267.33
  6/23/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   64.90   $   15.00       $ 249.00   $      249.00
  6/30/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   56.02   $   15.00       $ 160.17   $      160.17
   7/7/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   55.10   $   15.00       $ 151.00   $      151.00
  7/14/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   64.30   $   15.00       $ 243.00   $      243.00
  7/21/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   64.12   $   15.00       $ 241.17   $      241.17



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   Week                                                                        State Section 7: Section 7: Total Section 7
                                                               Hourly Hours/
  Ending                          Name                                       Minimum Regular Half-time Overtime Back
                                                                Rate Week
   Date                                                                       Wage   Rate Due     Due       Wages Due

  7/28/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   62.47   $   15.00                $ 224.67   $   224.67
   8/4/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   65.12   $   15.00                $ 251.17   $   251.17
  8/11/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   57.62   $   15.00                $ 176.17   $   176.17
  8/18/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   62.87   $   15.00                $ 228.67   $   228.67
  8/25/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   66.03   $   15.00                $ 260.33   $   260.33
   9/1/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   62.10   $   15.00                $ 221.00   $   221.00
   9/8/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   57.30   $   15.00                $ 173.00   $   173.00
  9/15/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   67.40   $   15.00                $ 274.00   $   274.00
  9/22/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   67.85   $   15.00                $ 278.50   $   278.50
  9/29/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   68.12   $   15.00                $ 281.17   $   281.17
  10/6/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   71.50   $   15.00                $ 315.00   $   315.00
 10/13/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   67.85   $   15.00                $ 278.50   $   278.50
 10/20/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   67.15   $   15.00                $ 271.50   $   271.50
 10/27/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   68.92   $   15.00                $ 289.17   $   289.17
  11/3/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   69.77   $   15.00                $ 297.67   $   297.67
 11/10/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   69.32   $   15.00                $ 293.17   $   293.17
 11/17/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   70.67   $   15.00                $ 306.67   $   306.67
 11/24/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   68.22   $   15.00                $ 282.17   $   282.17
  12/1/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   58.75   $   15.00                $ 187.50   $   187.50
  12/8/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   64.27   $   15.00                $ 242.67   $   242.67
 12/22/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   43.77   $   15.00                $ 37.67    $    37.67
 12/29/2019 Reynaldo Sanchez - Manager Valet @ Service          $20.00   50.38   $   15.00                $ 103.83   $   103.83
   1/5/2020 Reynaldo Sanchez - Manager Valet @ Service          $20.00   53.28   $   15.00                $ 132.83   $   132.83
  1/12/2020 Reynaldo Sanchez - Manager Valet @ Service          $20.00   68.57   $   15.00                $ 285.67   $   285.67
  1/19/2020 Reynaldo Sanchez - Manager Valet @ Service          $20.00   62.13   $   15.00                $ 221.33   $   221.33
  1/26/2020 Reynaldo Sanchez - Manager Valet @ Service          $20.00   69.70   $   15.00                $ 297.00   $   297.00
 11/11/2018 Richard Cespedes                                     $9.00   63.58   $   13.00   $   254.33   $ 153.29   $   407.63
 11/18/2018 Richard Cespedes                                     $9.00   56.70   $   13.00   $   226.80   $ 108.55   $   335.35
 11/25/2018 Richard Cespedes                                     $9.00   47.87   $   13.00   $   191.47   $ 51.13    $   242.60
  12/2/2018 Richard Cespedes                                     $9.00   45.95   $   13.00   $   183.80   $ 38.68    $   222.48
  12/9/2018 Richard Cespedes                                     $9.00   60.87   $   13.00   $   243.47   $ 135.63   $   379.10
 12/16/2018 Richard Cespedes                                     $9.00   62.27   $   13.00   $   249.07   $ 144.73   $   393.80
 12/23/2018 Richard Cespedes                                     $9.00   53.43   $   13.00   $   213.73   $ 87.32    $   301.05
   1/6/2019 Richard Cespedes                                     $9.00   42.77   $   15.00   $   256.60   $ 20.75    $   277.35
  1/13/2019 Richard Cespedes                                     $9.00   65.83   $   15.00   $   395.00   $ 193.75   $   588.75
  1/20/2019 Richard Cespedes                                     $9.00   52.18   $   15.00   $   313.10   $ 91.38    $   404.48
  1/27/2019 Richard Cespedes                                     $9.00   50.28   $   15.00   $   301.70   $ 77.13    $   378.83
   2/3/2019 Richard Cespedes                                     $9.00   58.72   $   15.00   $   352.30   $ 140.38   $   492.68
  2/10/2019 Richard Cespedes                                     $9.00   63.42   $   15.00   $   380.50   $ 175.63   $   556.13
  2/17/2019 Richard Cespedes                                     $9.00   65.55   $   15.00   $   393.30   $ 191.63   $   584.93
  2/24/2019 Richard Cespedes                                     $9.00   59.67   $   15.00   $   358.00   $ 147.50   $   505.50
   3/3/2019 Richard Cespedes                                     $9.00   65.28   $   15.00   $   391.70   $ 189.63   $   581.33
  3/10/2019 Richard Cespedes                                     $9.00   63.17   $   15.00   $   379.00   $ 173.75   $   552.75
  3/17/2019 Richard Cespedes                                     $9.00   53.88   $   15.00   $   323.30   $ 104.13   $   427.43
  3/24/2019 Richard Cespedes                                     $9.00   53.43   $   15.00   $   320.60   $ 100.75   $   421.35
  3/31/2019 Richard Cespedes                                     $9.00   54.88   $   15.00   $   329.30   $ 111.63   $   440.93
   4/7/2019 Richard Cespedes                                     $9.00   61.83   $   15.00   $   371.00   $ 163.75   $   534.75
  4/14/2019 Richard Cespedes                                     $9.00   53.67   $   15.00   $   322.00   $ 102.50   $   424.50
  4/21/2019 Richard Cespedes                                     $9.00   60.60   $   15.00   $   363.60   $ 154.50   $   518.10
  4/28/2019 Richard Cespedes                                     $9.00   62.55   $   15.00   $   375.30   $ 169.13   $   544.43
   5/5/2019 Richard Cespedes                                     $9.00   60.00   $   15.00   $   360.00   $ 150.00   $   510.00
  5/12/2019 Richard Cespedes                                     $9.00   65.87   $   15.00   $   395.20   $ 194.00   $   589.20
  5/19/2019 Richard Cespedes                                     $9.00   65.25   $   15.00   $   391.50   $ 189.38   $   580.88
  5/26/2019 Richard Cespedes                                     $9.00   69.12   $   15.00   $   414.70   $ 218.38   $   633.08
   6/2/2019 Richard Cespedes                                     $9.00   55.90   $   15.00   $   335.40   $ 119.25   $   454.65
   6/9/2019 Richard Cespedes                                     $9.00   71.60   $   15.00   $   429.60   $ 237.00   $   666.60
  6/16/2019 Richard Cespedes                                     $9.00   71.17   $   15.00   $   427.00   $ 233.75   $   660.75
  6/23/2019 Richard Cespedes                                     $9.00   69.42   $   15.00   $   416.50   $ 220.63   $   637.13



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   Week                                                                    State Section 7: Section 7: Total Section 7
                                                           Hourly Hours/
  Ending                          Name                                   Minimum Regular Half-time Overtime Back
                                                            Rate Week
   Date                                                                   Wage   Rate Due     Due       Wages Due

  6/30/2019 Richard Cespedes                                 $9.00   68.62   $   15.00   $ 411.70   $ 214.63   $   626.33
  7/28/2019 Richard Cespedes                                 $9.00   74.92   $   15.00   $ 449.50   $ 261.88   $   711.38
   8/4/2019 Richard Cespedes                                 $9.00   66.43   $   15.00   $ 398.60   $ 198.25   $   596.85
  8/11/2019 Richard Cespedes                                 $9.00   66.22   $   15.00   $ 397.30   $ 196.63   $   593.93
  8/18/2019 Richard Cespedes                                 $9.00   65.13   $   15.00   $ 390.80   $ 188.50   $   579.30
  8/25/2019 Richard Cespedes                                 $9.00   67.35   $   15.00   $ 404.10   $ 205.13   $   609.23
   9/1/2019 Richard Cespedes                                 $9.00   69.88   $   15.00   $ 419.30   $ 224.13   $   643.43
   9/8/2019 Richard Cespedes                                 $9.00   54.37   $   15.00   $ 326.20   $ 107.75   $   433.95
  9/15/2019 Richard Cespedes                                 $9.00   61.45   $   15.00   $ 368.70   $ 160.88   $   529.58
  9/22/2019 Richard Cespedes                                 $9.00   63.32   $   15.00   $ 379.90   $ 174.88   $   554.78
  9/29/2019 Richard Cespedes                                 $9.00   53.17   $   15.00   $ 319.00   $ 98.75    $   417.75
  10/6/2019 Richard Cespedes                                 $9.00   52.15   $   15.00   $ 312.90   $ 91.13    $   404.03
  12/2/2018 Roberto Rodriguez                                $9.00   43.73   $   13.00   $ 174.93   $ 24.27    $   199.20
 12/16/2018 Roberto Rodriguez                                $9.00   40.05   $   13.00   $ 160.20   $   0.32   $   160.53
  2/25/2018 Roberto Sanchez - New Cars                      $12.50   55.37   $   13.00   $ 27.68    $ 99.88    $   127.57
   3/4/2018 Roberto Sanchez - New Cars                      $12.50   51.67   $   13.00   $ 25.83    $ 75.83    $   101.67
  6/10/2018 Robinson Fermin Rosa De La Cruz                  $9.00   71.90   $   13.00   $ 287.60   $ 207.35   $   494.95
  6/17/2018 Robinson Fermin Rosa De La Cruz                  $9.00   72.00   $   13.00   $ 288.00   $ 208.00   $   496.00
  6/24/2018 Robinson Fermin Rosa De La Cruz                  $9.00   72.12   $   13.00   $ 288.47   $ 208.76   $   497.23
   7/1/2018 Robinson Fermin Rosa De La Cruz                  $9.00   71.92   $   13.00   $ 287.67   $ 207.46   $   495.13
   7/8/2018 Robinson Fermin Rosa De La Cruz                  $9.00   58.77   $   13.00   $ 235.07   $ 121.98   $   357.05
  7/15/2018 Robinson Fermin Rosa De La Cruz                  $9.00   71.68   $   13.00   $ 286.73   $ 205.94   $   492.68
  7/22/2018 Robinson Fermin Rosa De La Cruz                  $9.00   72.25   $   13.00   $ 289.00   $ 209.63   $   498.63
  7/29/2018 Robinson Fermin Rosa De La Cruz                  $9.00   74.97   $   13.00   $ 299.87   $ 227.28   $   527.15
   8/5/2018 Robinson Fermin Rosa De La Cruz                  $9.00   73.17   $   13.00   $ 292.67   $ 215.58   $   508.25
  8/12/2018 Robinson Fermin Rosa De La Cruz                  $9.00   72.47   $   13.00   $ 289.87   $ 211.03   $   500.90
  8/19/2018 Robinson Fermin Rosa De La Cruz                  $9.00   72.92   $   13.00   $ 291.67   $ 213.96   $   505.63
  8/26/2018 Robinson Fermin Rosa De La Cruz                  $9.00   78.58   $   13.00   $ 314.33   $ 250.79   $   565.13
   9/2/2018 Robinson Fermin Rosa De La Cruz                  $9.00   58.82   $   13.00   $ 235.27   $ 122.31   $   357.58
   9/9/2018 Robinson Fermin Rosa De La Cruz                  $9.00   68.37   $   13.00   $ 273.47   $ 184.38   $   457.85
  9/16/2018 Robinson Fermin Rosa De La Cruz                  $9.00   72.80   $   13.00   $ 291.20   $ 213.20   $   504.40
  9/23/2018 Robinson Fermin Rosa De La Cruz                  $9.00   71.88   $   13.00   $ 287.53   $ 207.24   $   494.78
  9/30/2018 Robinson Fermin Rosa De La Cruz                  $9.00   68.92   $   13.00   $ 275.67   $ 187.96   $   463.63
  10/7/2018 Robinson Fermin Rosa De La Cruz                  $9.00   72.77   $   13.00   $ 291.07   $ 212.98   $   504.05
 10/14/2018 Robinson Fermin Rosa De La Cruz                  $9.00   71.02   $   13.00   $ 284.07   $ 201.61   $   485.68
 10/21/2018 Robinson Fermin Rosa De La Cruz                  $9.00   74.00   $   13.00   $ 296.00   $ 221.00   $   517.00
 10/28/2018 Robinson Fermin Rosa De La Cruz                  $9.00   73.58   $   13.00   $ 294.33   $ 218.29   $   512.63
  11/4/2018 Robinson Fermin Rosa De La Cruz                  $9.00   73.87   $   13.00   $ 295.47   $ 220.13   $   515.60
 11/11/2018 Robinson Fermin Rosa De La Cruz                  $9.00   62.23   $   13.00   $ 248.93   $ 144.52   $   393.45
 11/18/2018 Robinson Fermin Rosa De La Cruz                  $9.00   73.47   $   13.00   $ 293.87   $ 217.53   $   511.40
 11/25/2018 Robinson Fermin Rosa De La Cruz                  $9.00   66.78   $   13.00   $ 267.13   $ 174.09   $   441.23
  12/2/2018 Robinson Fermin Rosa De La Cruz                  $9.00   74.13   $   13.00   $ 296.53   $ 221.87   $   518.40
  12/9/2018 Robinson Fermin Rosa De La Cruz                  $9.00   73.97   $   13.00   $ 295.87   $ 220.78   $   516.65
 12/16/2018 Robinson Fermin Rosa De La Cruz                  $9.00   61.12   $   13.00   $ 244.47   $ 137.26   $   381.73
 12/23/2018 Robinson Fermin Rosa De La Cruz                  $9.00   73.88   $   13.00   $ 295.53   $ 220.24   $   515.78
 12/30/2018 Robinson Fermin Rosa De La Cruz                  $9.00   58.67   $   13.00   $ 234.67   $ 121.33   $   356.00
   1/6/2019 Robinson Fermin Rosa De La Cruz                  $9.00   56.73   $   15.00   $ 340.40   $ 125.50   $   465.90
  1/13/2019 Robinson Fermin Rosa De La Cruz                  $9.00   73.15   $   15.00   $ 438.90   $ 248.63   $   687.53
  1/20/2019 Robinson Fermin Rosa De La Cruz                  $9.00   66.10   $   15.00   $ 396.60   $ 195.75   $   592.35
  1/27/2019 Robinson Fermin Rosa De La Cruz                  $9.00   68.70   $   15.00   $ 412.20   $ 215.25   $   627.45
   2/3/2019 Robinson Fermin Rosa De La Cruz                 $19.00   59.70   $   15.00              $ 187.15   $   187.15
  2/10/2019 Robinson Fermin Rosa De La Cruz                 $19.00   63.88   $   15.00              $ 226.89   $   226.89
  2/17/2019 Robinson Fermin Rosa De La Cruz                 $19.00   58.68   $   15.00              $ 177.49   $   177.49
  2/24/2019 Robinson Fermin Rosa De La Cruz                 $19.00   62.15   $   15.00              $ 210.43   $   210.43
   3/3/2019 Robinson Fermin Rosa De La Cruz                 $19.00   64.02   $   15.00              $ 228.16   $   228.16
  3/10/2019 Robinson Fermin Rosa De La Cruz                 $19.00   62.75   $   15.00              $ 216.13   $   216.13
  3/17/2019 Robinson Fermin Rosa De La Cruz                 $19.00   59.38   $   15.00              $ 184.14   $   184.14
  3/24/2019 Robinson Fermin Rosa De La Cruz                 $19.00   63.82   $   15.00              $ 226.26   $   226.26



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   Week                                                                    State Section 7: Section 7: Total Section 7
                                                           Hourly Hours/
  Ending                          Name                                   Minimum Regular Half-time Overtime Back
                                                            Rate Week
   Date                                                                   Wage   Rate Due     Due       Wages Due

  3/31/2019 Robinson Fermin Rosa De La Cruz                 $19.00   40.28   $   15.00       $   2.69   $        2.69
   4/7/2019 Robinson Fermin Rosa De La Cruz                 $19.00   48.13   $   15.00       $ 77.27    $       77.27
  4/14/2019 Robinson Fermin Rosa De La Cruz                 $19.00   62.88   $   15.00       $ 217.39   $      217.39
  4/21/2019 Robinson Fermin Rosa De La Cruz                 $19.00   51.78   $   15.00       $ 111.94   $      111.94
 12/17/2017 Robinson R. Rodriguez - Manager                 $18.00   49.22   $   11.00       $ 82.95    $       82.95
 12/24/2017 Robinson R. Rodriguez - Manager                 $18.00   57.48   $   11.00       $ 157.35   $      157.35
 12/31/2017 Robinson R. Rodriguez - Manager                 $18.00   50.83   $   13.00       $ 97.50    $       97.50
   1/7/2018 Robinson R. Rodriguez - Manager                 $18.00   42.58   $   13.00       $ 23.25    $       23.25
  1/14/2018 Robinson R. Rodriguez - Manager                 $18.00   48.40   $   13.00       $ 75.60    $       75.60
  1/21/2018 Robinson R. Rodriguez - Manager                 $18.00   65.07   $   13.00       $ 225.60   $      225.60
  1/28/2018 Robinson R. Rodriguez - Manager                 $18.00   55.30   $   13.00       $ 137.70   $      137.70
   2/4/2018 Robinson R. Rodriguez - Manager                 $18.00   59.72   $   13.00       $ 177.45   $      177.45
  2/11/2018 Robinson R. Rodriguez - Manager                 $18.00   55.88   $   13.00       $ 142.95   $      142.95
  2/18/2018 Robinson R. Rodriguez - Manager                 $18.00   54.58   $   13.00       $ 131.25   $      131.25
  2/25/2018 Robinson R. Rodriguez - Manager                 $18.00   51.52   $   13.00       $ 103.65   $      103.65
   3/4/2018 Robinson R. Rodriguez - Manager                 $18.00   63.40   $   13.00       $ 210.60   $      210.60
  3/25/2018 Robinson R. Rodriguez - Manager                 $18.00   52.47   $   13.00       $ 112.20   $      112.20
   4/1/2018 Robinson R. Rodriguez - Manager                 $18.00   56.25   $   13.00       $ 146.25   $      146.25
   4/8/2018 Robinson R. Rodriguez - Manager                 $18.00   55.67   $   13.00       $ 141.00   $      141.00
  4/15/2018 Robinson R. Rodriguez - Manager                 $18.00   57.02   $   13.00       $ 153.15   $      153.15
  4/22/2018 Robinson R. Rodriguez - Manager                 $18.00   68.60   $   13.00       $ 257.40   $      257.40
  4/29/2018 Robinson R. Rodriguez - Manager                 $18.00   56.15   $   13.00       $ 145.35   $      145.35
   5/6/2018 Robinson R. Rodriguez - Manager                 $18.00   70.28   $   13.00       $ 272.55   $      272.55
  5/13/2018 Robinson R. Rodriguez - Manager                 $18.00   60.65   $   13.00       $ 185.85   $      185.85
  5/20/2018 Robinson R. Rodriguez - Manager                 $18.00   60.02   $   13.00       $ 180.15   $      180.15
  5/27/2018 Robinson R. Rodriguez - Manager                 $18.00   64.62   $   13.00       $ 221.55   $      221.55
   6/3/2018 Robinson R. Rodriguez - Manager                 $18.00   52.77   $   13.00       $ 114.90   $      114.90
  6/10/2018 Robinson R. Rodriguez - Manager                 $18.00   75.30   $   13.00       $ 317.70   $      317.70
  6/17/2018 Robinson R. Rodriguez - Manager                 $18.00   75.77   $   13.00       $ 321.90   $      321.90
  6/24/2018 Robinson R. Rodriguez - Manager                 $18.00   62.83   $   13.00       $ 205.50   $      205.50
   7/1/2018 Robinson R. Rodriguez - Manager                 $18.00   75.78   $   13.00       $ 322.05   $      322.05
   7/8/2018 Robinson R. Rodriguez - Manager                 $18.00   58.58   $   13.00       $ 167.25   $      167.25
  7/15/2018 Robinson R. Rodriguez - Manager                 $18.00   82.57   $   13.00       $ 383.10   $      383.10
  7/22/2018 Robinson R. Rodriguez - Manager                 $18.00   81.05   $   13.00       $ 369.45   $      369.45
  7/29/2018 Robinson R. Rodriguez - Manager                 $18.00   81.87   $   13.00       $ 376.80   $      376.80
   8/5/2018 Robinson R. Rodriguez - Manager                 $18.00   82.05   $   13.00       $ 378.45   $      378.45
  8/12/2018 Robinson R. Rodriguez - Manager                 $18.00   84.00   $   13.00       $ 396.00   $      396.00
  8/19/2018 Robinson R. Rodriguez - Manager                 $18.00   80.02   $   13.00       $ 360.15   $      360.15
  8/26/2018 Robinson R. Rodriguez - Manager                 $18.00   79.80   $   13.00       $ 358.20   $      358.20
   9/2/2018 Robinson R. Rodriguez - Manager                 $18.00   85.22   $   13.00       $ 406.95   $      406.95
   9/9/2018 Robinson R. Rodriguez - Manager                 $18.00   68.77   $   13.00       $ 258.90   $      258.90
  9/16/2018 Robinson R. Rodriguez - Manager                 $18.00   84.45   $   13.00       $ 400.05   $      400.05
  9/23/2018 Robinson R. Rodriguez - Manager                 $18.00   82.63   $   13.00       $ 383.70   $      383.70
  9/30/2018 Robinson R. Rodriguez - Manager                 $18.00   80.38   $   13.00       $ 363.45   $      363.45
  10/7/2018 Robinson R. Rodriguez - Manager                 $18.00   87.08   $   13.00       $ 423.75   $      423.75
 10/14/2018 Robinson R. Rodriguez - Manager                 $18.00   79.02   $   13.00       $ 351.15   $      351.15
 10/21/2018 Robinson R. Rodriguez - Manager                 $18.00   85.57   $   13.00       $ 410.10   $      410.10
 10/28/2018 Robinson R. Rodriguez - Manager                 $18.00   84.98   $   13.00       $ 404.85   $      404.85
  11/4/2018 Robinson R. Rodriguez - Manager                 $18.00   86.98   $   13.00       $ 422.85   $      422.85
 11/11/2018 Robinson R. Rodriguez - Manager                 $18.00   84.78   $   13.00       $ 403.05   $      403.05
 11/18/2018 Robinson R. Rodriguez - Manager                 $18.00   85.85   $   13.00       $ 412.65   $      412.65
 11/25/2018 Robinson R. Rodriguez - Manager                 $18.00   71.78   $   13.00       $ 286.05   $      286.05
  12/2/2018 Robinson R. Rodriguez - Manager                 $18.00   85.73   $   13.00       $ 411.60   $      411.60
  12/9/2018 Robinson R. Rodriguez - Manager                 $18.00   85.58   $   13.00       $ 410.25   $      410.25
 12/16/2018 Robinson R. Rodriguez - Manager                 $18.00   85.87   $   13.00       $ 412.80   $      412.80
 12/23/2018 Robinson R. Rodriguez - Manager                 $18.00   86.30   $   13.00       $ 416.70   $      416.70
 12/30/2018 Robinson R. Rodriguez - Manager                 $18.00   66.85   $   13.00       $ 241.65   $      241.65
   1/6/2019 Robinson R. Rodriguez - Manager                 $18.00   71.55   $   15.00       $ 283.95   $      283.95



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   Week                                                                    State Section 7: Section 7: Total Section 7
                                                           Hourly Hours/
  Ending                           Name                                  Minimum Regular Half-time Overtime Back
                                                            Rate Week
   Date                                                                   Wage   Rate Due     Due       Wages Due

  1/13/2019 Robinson R. Rodriguez - Manager                 $18.00   87.43   $   15.00       $ 426.90   $      426.90
  1/20/2019 Robinson R. Rodriguez - Manager                 $18.00   85.22   $   15.00       $ 406.95   $      406.95
  1/27/2019 Robinson R. Rodriguez - Manager                 $18.00   71.55   $   15.00       $ 283.95   $      283.95
   2/3/2019 Robinson R. Rodriguez - Manager                 $18.00   75.52   $   15.00       $ 319.65   $      319.65
  2/10/2019 Robinson R. Rodriguez - Manager                 $18.00   75.43   $   15.00       $ 318.90   $      318.90
  2/17/2019 Robinson R. Rodriguez - Manager                 $18.00   64.72   $   15.00       $ 222.45   $      222.45
   3/3/2019 Robinson R. Rodriguez - Manager                 $18.00   78.10   $   15.00       $ 342.90   $      342.90
  3/10/2019 Robinson R. Rodriguez - Manager                 $18.00   80.70   $   15.00       $ 366.30   $      366.30
  3/17/2019 Robinson R. Rodriguez - Manager                 $18.00   78.50   $   15.00       $ 346.50   $      346.50
  3/24/2019 Robinson R. Rodriguez - Manager                 $18.00   61.08   $   15.00       $ 189.75   $      189.75
  3/31/2019 Robinson R. Rodriguez - Manager                 $18.00   48.27   $   15.00       $ 74.40    $       74.40
   4/7/2019 Robinson R. Rodriguez - Manager                 $18.00   55.65   $   15.00       $ 140.85   $      140.85
  4/14/2019 Robinson R. Rodriguez - Manager                 $18.00   66.35   $   15.00       $ 237.15   $      237.15
  4/21/2019 Robinson R. Rodriguez - Manager                 $18.00   53.83   $   15.00       $ 124.50   $      124.50
  4/28/2019 Robinson R. Rodriguez - Manager                 $18.00   66.70   $   15.00       $ 240.30   $      240.30
   5/5/2019 Robinson R. Rodriguez - Manager                 $18.00   63.28   $   15.00       $ 209.55   $      209.55
  5/12/2019 Robinson R. Rodriguez - Manager                 $18.00   59.97   $   15.00       $ 179.70   $      179.70
  5/19/2019 Robinson R. Rodriguez - Manager                 $18.00   53.10   $   15.00       $ 117.90   $      117.90
  5/26/2019 Robinson R. Rodriguez - Manager                 $18.00   63.73   $   15.00       $ 213.60   $      213.60
   6/2/2019 Robinson R. Rodriguez - Manager                 $18.00   50.55   $   15.00       $ 94.95    $       94.95
   6/9/2019 Robinson R. Rodriguez - Manager                 $18.00   44.13   $   15.00       $ 37.20    $       37.20
  6/16/2019 Robinson R. Rodriguez - Manager                 $18.00   62.28   $   15.00       $ 200.55   $      200.55
  6/23/2019 Robinson R. Rodriguez - Manager                 $18.00   61.12   $   15.00       $ 190.05   $      190.05
  6/30/2019 Robinson R. Rodriguez - Manager                 $18.00   61.60   $   15.00       $ 194.40   $      194.40
   7/7/2019 Robinson R. Rodriguez - Manager                 $18.00   55.43   $   15.00       $ 138.90   $      138.90
  7/14/2019 Robinson R. Rodriguez - Manager                 $18.00   44.62   $   15.00       $ 41.55    $       41.55
   8/4/2019 Robinson R. Rodriguez - Manager                 $18.00   63.30   $   15.00       $ 209.70   $      209.70
  8/11/2019 Robinson R. Rodriguez - Manager                 $18.00   62.40   $   15.00       $ 201.60   $      201.60
  8/18/2019 Robinson R. Rodriguez - Manager                 $18.00   65.98   $   15.00       $ 233.85   $      233.85
  8/25/2019 Robinson R. Rodriguez - Manager                 $18.00   62.55   $   15.00       $ 202.95   $      202.95
   9/1/2019 Robinson R. Rodriguez - Manager                 $18.00   63.92   $   15.00       $ 215.25   $      215.25
   9/8/2019 Robinson R. Rodriguez - Manager                 $18.00   52.98   $   15.00       $ 116.85   $      116.85
  9/15/2019 Robinson R. Rodriguez - Manager                 $18.00   62.55   $   15.00       $ 202.95   $      202.95
  9/22/2019 Robinson R. Rodriguez - Manager                 $18.00   65.07   $   15.00       $ 225.60   $      225.60
  9/29/2019 Robinson R. Rodriguez - Manager                 $18.00   67.87   $   15.00       $ 250.80   $      250.80
  10/6/2019 Robinson R. Rodriguez - Manager                 $18.00   64.78   $   15.00       $ 223.05   $      223.05
 10/13/2019 Robinson R. Rodriguez - Manager                 $18.00   47.83   $   15.00       $ 70.50    $       70.50
 10/20/2019 Robinson R. Rodriguez - Manager                 $18.00   64.30   $   15.00       $ 218.70   $      218.70
 10/27/2019 Robinson R. Rodriguez - Manager                 $18.00   61.68   $   15.00       $ 195.15   $      195.15
  11/3/2019 Robinson R. Rodriguez - Manager                 $18.00   64.42   $   15.00       $ 219.75   $      219.75
 11/10/2019 Robinson R. Rodriguez - Manager                 $18.00   53.77   $   15.00       $ 123.90   $      123.90
 11/17/2019 Robinson R. Rodriguez - Manager                 $18.00   53.93   $   15.00       $ 125.40   $      125.40
 11/24/2019 Robinson R. Rodriguez - Manager                 $18.00   46.28   $   15.00       $ 56.55    $       56.55
  12/8/2019 Robinson R. Rodriguez - Manager                 $18.00   45.83   $   15.00       $ 52.50    $       52.50
 12/15/2019 Robinson R. Rodriguez - Manager                 $18.00   45.93   $   15.00       $ 53.40    $       53.40
 12/22/2019 Robinson R. Rodriguez - Manager                 $18.00   45.92   $   15.00       $ 53.25    $       53.25
  1/12/2020 Robinson R. Rodriguez - Manager                 $18.00   45.93   $   15.00       $ 53.40    $       53.40
  1/19/2020 Robinson R. Rodriguez - Manager                 $18.00   46.20   $   15.00       $ 55.80    $       55.80
  5/19/2019 Rodrigo Agudelo                                 $19.00   46.28   $   15.00       $ 59.69    $       59.69
  5/26/2019 Rodrigo Agudelo                                 $19.00   49.75   $   15.00       $ 92.63    $       92.63
   6/2/2019 Rodrigo Agudelo                                 $19.00   41.57   $   15.00       $ 14.88    $       14.88
   6/9/2019 Rodrigo Agudelo                                 $19.00   52.82   $   15.00       $ 121.76   $      121.76
  6/16/2019 Rodrigo Agudelo                                 $19.00   63.70   $   15.00       $ 225.15   $      225.15
  6/23/2019 Rodrigo Agudelo                                 $19.00   63.42   $   15.00       $ 222.46   $      222.46
  6/30/2019 Rodrigo Agudelo                                 $19.00   64.30   $   15.00       $ 230.85   $      230.85
   7/7/2019 Rodrigo Agudelo                                 $19.00   53.42   $   15.00       $ 127.46   $      127.46
  7/14/2019 Rodrigo Agudelo                                 $19.00   66.12   $   15.00       $ 248.11   $      248.11
  7/21/2019 Rodrigo Agudelo                                 $19.00   67.15   $   15.00       $ 257.93   $      257.93



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   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                      Name                              Minimum Regular Half-time Overtime Back
                                                   Rate Week
   Date                                                          Wage   Rate Due     Due       Wages Due

  7/28/2019 Rodrigo Agudelo                        $19.00   66.93   $   15.00       $ 255.87   $      255.87
   8/4/2019 Rodrigo Agudelo                        $19.00   77.87   $   15.00       $ 359.73   $      359.73
  8/11/2019 Rodrigo Agudelo                        $19.00   77.88   $   15.00       $ 359.89   $      359.89
  8/18/2019 Rodrigo Agudelo                        $19.00   68.68   $   15.00       $ 272.49   $      272.49
  8/25/2019 Rodrigo Agudelo                        $19.00   77.07   $   15.00       $ 352.13   $      352.13
   9/1/2019 Rodrigo Agudelo                        $19.00   78.02   $   15.00       $ 361.16   $      361.16
   9/8/2019 Rodrigo Agudelo                        $19.00   63.78   $   15.00       $ 225.94   $      225.94
  9/15/2019 Rodrigo Agudelo                        $19.00   78.28   $   15.00       $ 363.69   $      363.69
  9/22/2019 Rodrigo Agudelo                        $19.00   78.23   $   15.00       $ 363.22   $      363.22
  9/29/2019 Rodrigo Agudelo                        $19.00   77.62   $   15.00       $ 357.36   $      357.36
  10/6/2019 Rodrigo Agudelo                        $19.00   78.47   $   15.00       $ 365.43   $      365.43
 10/13/2019 Rodrigo Agudelo                        $19.00   77.37   $   15.00       $ 354.98   $      354.98
 10/20/2019 Rodrigo Agudelo                        $19.00   78.57   $   15.00       $ 366.38   $      366.38
 10/27/2019 Rodrigo Agudelo                        $19.00   76.98   $   15.00       $ 351.34   $      351.34
  11/3/2019 Rodrigo Agudelo                        $19.00   77.18   $   15.00       $ 353.24   $      353.24
 11/10/2019 Rodrigo Agudelo                        $19.00   74.60   $   15.00       $ 328.70   $      328.70
 11/17/2019 Rodrigo Agudelo                        $19.00   62.62   $   15.00       $ 214.86   $      214.86
 11/24/2019 Rodrigo Agudelo                        $19.00   84.12   $   15.00       $ 419.11   $      419.11
  12/1/2019 Rodrigo Agudelo                        $19.00   62.20   $   15.00       $ 210.90   $      210.90
  12/8/2019 Rodrigo Agudelo                        $19.00   74.92   $   15.00       $ 331.71   $      331.71
 12/15/2019 Rodrigo Agudelo                        $19.00   76.12   $   15.00       $ 343.11   $      343.11
 12/22/2019 Rodrigo Agudelo                        $19.00   62.20   $   15.00       $ 210.90   $      210.90
 12/29/2019 Rodrigo Agudelo                        $19.00   57.22   $   15.00       $ 163.56   $      163.56
   1/5/2020 Rodrigo Agudelo                        $19.00   67.68   $   15.00       $ 262.99   $      262.99
  1/12/2020 Rodrigo Agudelo                        $19.00   74.93   $   15.00       $ 331.87   $      331.87
  1/19/2020 Rodrigo Agudelo                        $19.00   73.43   $   15.00       $ 317.62   $      317.62
  1/26/2020 Rodrigo Agudelo                        $19.00   75.03   $   15.00       $ 332.82   $      332.82
   2/5/2017 Ronan Pacheco                          $13.00   72.00   $   11.00       $ 208.00   $      208.00
  2/12/2017 Ronan Pacheco                          $13.00   60.15   $   11.00       $ 130.98   $      130.98
  2/19/2017 Ronan Pacheco                          $13.00   69.43   $   11.00       $ 191.32   $      191.32
  2/26/2017 Ronan Pacheco                          $13.00   72.48   $   11.00       $ 211.14   $      211.14
   3/5/2017 Ronan Pacheco                          $13.00   69.27   $   11.00       $ 190.23   $      190.23
  3/12/2017 Ronan Pacheco                          $13.00   55.83   $   11.00       $ 102.92   $      102.92
  3/19/2017 Ronan Pacheco                          $13.00   54.78   $   11.00       $ 96.09    $       96.09
  3/26/2017 Ronan Pacheco                          $13.00   69.00   $   11.00       $ 188.50   $      188.50
   4/2/2017 Ronan Pacheco                          $13.00   67.67   $   11.00       $ 179.83   $      179.83
   4/9/2017 Ronan Pacheco                          $13.00   63.70   $   11.00       $ 154.05   $      154.05
  4/16/2017 Ronan Pacheco                          $13.00   70.00   $   11.00       $ 195.00   $      195.00
  4/23/2017 Ronan Pacheco                          $13.00   70.05   $   11.00       $ 195.33   $      195.33
  4/30/2017 Ronan Pacheco                          $13.00   59.15   $   11.00       $ 124.48   $      124.48
   5/7/2017 Ronan Pacheco                          $13.00   71.02   $   11.00       $ 201.61   $      201.61
  5/14/2017 Ronan Pacheco                          $13.00   66.87   $   11.00       $ 174.63   $      174.63
  5/21/2017 Ronan Pacheco                          $13.00   67.40   $   11.00       $ 178.10   $      178.10
  5/28/2017 Ronan Pacheco                          $13.00   70.17   $   11.00       $ 196.08   $      196.08
   6/4/2017 Ronan Pacheco                          $13.00   67.60   $   11.00       $ 179.40   $      179.40
  6/11/2017 Ronan Pacheco                          $13.00   65.67   $   11.00       $ 166.83   $      166.83
  6/18/2017 Ronan Pacheco                          $13.00   71.33   $   11.00       $ 203.67   $      203.67
  6/25/2017 Ronan Pacheco                          $13.00   71.85   $   11.00       $ 207.03   $      207.03
   7/2/2017 Ronan Pacheco                          $13.00   79.63   $   11.00       $ 257.62   $      257.62
   7/9/2017 Ronan Pacheco                          $13.00   49.45   $   11.00       $ 61.43    $       61.43
  7/16/2017 Ronan Pacheco                          $13.00   78.23   $   11.00       $ 248.52   $      248.52
  7/23/2017 Ronan Pacheco                          $13.00   75.92   $   11.00       $ 233.46   $      233.46
  7/30/2017 Ronan Pacheco                          $13.00   51.07   $   11.00       $ 71.93    $       71.93
   8/6/2017 Ronan Pacheco                          $13.00   73.93   $   11.00       $ 220.57   $      220.57
  8/13/2017 Ronan Pacheco                          $13.00   71.88   $   11.00       $ 207.24   $      207.24
  8/20/2017 Ronan Pacheco                          $13.00   61.45   $   11.00       $ 139.43   $      139.43
  8/27/2017 Ronan Pacheco                          $13.00   74.73   $   11.00       $ 225.77   $      225.77
   9/3/2017 Ronan Pacheco                          $13.00   73.30   $   11.00       $ 216.45   $      216.45



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   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                    Name                              Minimum Regular Half-time Overtime Back
                                                 Rate Week
   Date                                                        Wage   Rate Due     Due       Wages Due

  9/10/2017 Ronan Pacheco                        $13.00   66.45   $   11.00       $ 171.93   $      171.93
  10/1/2017 Ronan Pacheco                        $13.00   75.10   $   11.00       $ 228.15   $      228.15
  10/8/2017 Ronan Pacheco                        $13.00   69.98   $   11.00       $ 194.89   $      194.89
 10/15/2017 Ronan Pacheco                        $13.00   63.20   $   11.00       $ 150.80   $      150.80
 10/22/2017 Ronan Pacheco                        $13.00   72.55   $   11.00       $ 211.58   $      211.58
 10/29/2017 Ronan Pacheco                        $13.00   68.37   $   11.00       $ 184.38   $      184.38
  11/5/2017 Ronan Pacheco                        $13.00   72.58   $   11.00       $ 211.79   $      211.79
 11/12/2017 Ronan Pacheco                        $13.00   67.72   $   11.00       $ 180.16   $      180.16
 11/19/2017 Ronan Pacheco                        $13.00   66.98   $   11.00       $ 175.39   $      175.39
 11/26/2017 Ronan Pacheco                        $13.00   57.88   $   11.00       $ 116.24   $      116.24
  12/3/2017 Ronan Pacheco                        $13.00   73.27   $   11.00       $ 216.23   $      216.23
 12/10/2017 Ronan Pacheco                        $13.00   72.82   $   11.00       $ 213.31   $      213.31
 12/17/2017 Ronan Pacheco                        $13.00   75.85   $   11.00       $ 233.03   $      233.03
 12/24/2017 Ronan Pacheco                        $13.00   77.50   $   11.00       $ 243.75   $      243.75
 12/31/2017 Ronan Pacheco                        $13.00   66.33   $   13.00       $ 171.17   $      171.17
   1/7/2018 Ronan Pacheco                        $13.00   55.83   $   13.00       $ 102.92   $      102.92
  1/14/2018 Ronan Pacheco                        $13.00   69.73   $   13.00       $ 193.27   $      193.27
  1/21/2018 Ronan Pacheco                        $13.00   78.78   $   13.00       $ 252.09   $      252.09
  1/28/2018 Ronan Pacheco                        $13.00   79.67   $   13.00       $ 257.83   $      257.83
   2/4/2018 Ronan Pacheco                        $13.00   77.20   $   13.00       $ 241.80   $      241.80
  2/11/2018 Ronan Pacheco                        $13.00   70.57   $   13.00       $ 198.68   $      198.68
  2/18/2018 Ronan Pacheco                        $13.00   73.65   $   13.00       $ 218.73   $      218.73
  2/25/2018 Ronan Pacheco                        $13.00   72.42   $   13.00       $ 210.71   $      210.71
   3/4/2018 Ronan Pacheco                        $13.00   64.93   $   13.00       $ 162.07   $      162.07
  3/25/2018 Ronan Pacheco                        $13.00   49.33   $   13.00       $ 60.67    $       60.67
   4/8/2018 Ronan Pacheco                        $13.00   73.38   $   13.00       $ 216.99   $      216.99
  4/15/2018 Ronan Pacheco                        $13.00   74.18   $   13.00       $ 222.19   $      222.19
  4/22/2018 Ronan Pacheco                        $13.00   72.98   $   13.00       $ 214.39   $      214.39
  4/29/2018 Ronan Pacheco                        $13.00   77.82   $   13.00       $ 245.81   $      245.81
   5/6/2018 Ronan Pacheco                        $13.00   79.10   $   13.00       $ 254.15   $      254.15
  5/13/2018 Ronan Pacheco                        $13.00   76.58   $   13.00       $ 237.79   $      237.79
  5/20/2018 Ronan Pacheco                        $13.00   76.00   $   13.00       $ 234.00   $      234.00
  5/27/2018 Ronan Pacheco                        $13.00   75.50   $   13.00       $ 230.75   $      230.75
   6/3/2018 Ronan Pacheco                        $13.00   66.70   $   13.00       $ 173.55   $      173.55
  6/10/2018 Ronan Pacheco                        $13.00   78.13   $   13.00       $ 247.87   $      247.87
  6/17/2018 Ronan Pacheco                        $13.00   75.40   $   13.00       $ 230.10   $      230.10
  6/24/2018 Ronan Pacheco                        $13.00   81.82   $   13.00       $ 271.81   $      271.81
   7/1/2018 Ronan Pacheco                        $13.00   83.58   $   13.00       $ 283.29   $      283.29
   7/8/2018 Ronan Pacheco                        $13.00   67.45   $   13.00       $ 178.43   $      178.43
  7/15/2018 Ronan Pacheco                        $13.00   82.80   $   13.00       $ 278.20   $      278.20
  7/22/2018 Ronan Pacheco                        $13.00   79.65   $   13.00       $ 257.73   $      257.73
  7/29/2018 Ronan Pacheco                        $13.00   73.33   $   13.00       $ 216.67   $      216.67
   8/5/2018 Ronan Pacheco                        $13.00   40.47   $   13.00       $   3.03   $        3.03
  8/12/2018 Ronan Pacheco                        $13.00   69.00   $   13.00       $ 188.50   $      188.50
  8/19/2018 Ronan Pacheco                        $13.00   57.28   $   13.00       $ 112.34   $      112.34
  8/26/2018 Ronan Pacheco                        $13.00   52.83   $   13.00       $ 83.42    $       83.42
   9/2/2018 Ronan Pacheco                        $13.00   63.12   $   13.00       $ 150.26   $      150.26
   9/9/2018 Ronan Pacheco                        $13.00   63.28   $   13.00       $ 151.34   $      151.34
  9/16/2018 Ronan Pacheco                        $13.00   80.12   $   13.00       $ 260.76   $      260.76
  9/23/2018 Ronan Pacheco                        $13.00   85.47   $   13.00       $ 295.53   $      295.53
  9/30/2018 Ronan Pacheco                        $13.00   87.45   $   13.00       $ 308.43   $      308.43
  10/7/2018 Ronan Pacheco                        $13.00   87.38   $   13.00       $ 307.99   $      307.99
 10/14/2018 Ronan Pacheco                        $13.00   84.28   $   13.00       $ 287.84   $      287.84
 10/21/2018 Ronan Pacheco                        $13.00   87.92   $   13.00       $ 311.46   $      311.46
 10/28/2018 Ronan Pacheco                        $13.00   86.73   $   13.00       $ 303.77   $      303.77
  11/4/2018 Ronan Pacheco                        $13.00   88.67   $   13.00       $ 316.33   $      316.33
 11/11/2018 Ronan Pacheco                        $13.00   86.68   $   13.00       $ 303.44   $      303.44
 11/18/2018 Ronan Pacheco                        $13.00   88.68   $   13.00       $ 316.44   $      316.44



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   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                    Name                              Minimum Regular Half-time Overtime Back
                                                 Rate Week
   Date                                                        Wage   Rate Due     Due       Wages Due

 11/25/2018 Ronan Pacheco                        $13.00   73.85   $   13.00              $ 220.03   $   220.03
  12/2/2018 Ronan Pacheco                        $13.00   87.67   $   13.00              $ 309.83   $   309.83
  12/9/2018 Ronan Pacheco                        $13.00   88.40   $   13.00              $ 314.60   $   314.60
 12/16/2018 Ronan Pacheco                        $13.00   84.78   $   13.00              $ 291.09   $   291.09
   1/6/2019 Ronan Pacheco                        $13.00   42.50   $   15.00   $ 85.00    $ 18.75    $   103.75
  1/13/2019 Ronan Pacheco                        $13.00   87.48   $   15.00   $ 174.97   $ 356.13   $   531.09
  1/20/2019 Ronan Pacheco                        $13.00   85.32   $   15.00   $ 170.63   $ 339.88   $   510.51
  1/27/2019 Ronan Pacheco                        $13.00   84.03   $   15.00   $ 168.07   $ 330.25   $   498.32
   2/3/2019 Ronan Pacheco                        $13.00   87.52   $   15.00   $ 175.03   $ 356.38   $   531.41
  2/10/2019 Ronan Pacheco                        $13.00   85.08   $   15.00   $ 170.17   $ 338.13   $   508.29
  2/17/2019 Ronan Pacheco                        $13.00   85.28   $   15.00   $ 170.57   $ 339.63   $   510.19
  2/24/2019 Ronan Pacheco                        $13.00   88.07   $   15.00   $ 176.13   $ 360.50   $   536.63
   3/3/2019 Ronan Pacheco                        $13.00   88.72   $   15.00   $ 177.43   $ 365.38   $   542.81
  3/10/2019 Ronan Pacheco                        $13.00   87.85   $   15.00   $ 175.70   $ 358.88   $   534.58
  3/17/2019 Ronan Pacheco                        $13.00   85.82   $   15.00   $ 171.63   $ 343.63   $   515.26
  3/24/2019 Ronan Pacheco                        $13.00   84.50   $   15.00   $ 169.00   $ 333.75   $   502.75
  3/31/2019 Ronan Pacheco                        $13.00   84.20   $   15.00   $ 168.40   $ 331.50   $   499.90
   4/7/2019 Ronan Pacheco                        $13.00   82.27   $   15.00   $ 164.53   $ 317.00   $   481.53
  4/14/2019 Ronan Pacheco                        $13.00   85.08   $   15.00   $ 170.17   $ 338.13   $   508.29
  4/21/2019 Ronan Pacheco                        $13.00   86.88   $   15.00   $ 173.77   $ 351.63   $   525.39
  4/28/2019 Ronan Pacheco                        $13.00   82.58   $   15.00   $ 165.17   $ 319.38   $   484.54
   5/5/2019 Ronan Pacheco                        $13.00   82.48   $   15.00   $ 164.97   $ 318.63   $   483.59
  5/12/2019 Ronan Pacheco                        $13.00   61.18   $   15.00   $ 122.37   $ 158.88   $   281.24
  5/19/2019 Ronan Pacheco                        $13.00   78.03   $   15.00   $ 156.07   $ 285.25   $   441.32
  5/26/2019 Ronan Pacheco                        $13.00   79.90   $   15.00   $ 159.80   $ 299.25   $   459.05
   6/2/2019 Ronan Pacheco                        $13.00   65.23   $   15.00   $ 130.47   $ 189.25   $   319.72
   6/9/2019 Ronan Pacheco                        $13.00   74.43   $   15.00   $ 148.87   $ 258.25   $   407.12
  6/16/2019 Ronan Pacheco                        $13.00   80.27   $   15.00   $ 160.53   $ 302.00   $   462.53
  6/23/2019 Ronan Pacheco                        $13.00   58.25   $   15.00   $ 116.50   $ 136.88   $   253.38
  6/30/2019 Ronan Pacheco                        $13.00   76.03   $   15.00   $ 152.07   $ 270.25   $   422.32
   7/7/2019 Ronan Pacheco                        $16.00   64.00   $   15.00              $ 192.00   $   192.00
  7/14/2019 Ronan Pacheco                        $16.00   79.50   $   15.00              $ 316.00   $   316.00
  7/21/2019 Ronan Pacheco                        $16.00   76.63   $   15.00              $ 293.07   $   293.07
  7/28/2019 Ronan Pacheco                        $16.00   63.38   $   15.00              $ 187.07   $   187.07
   8/4/2019 Ronan Pacheco                        $16.00   76.40   $   15.00              $ 291.20   $   291.20
  8/11/2019 Ronan Pacheco                        $16.00   77.77   $   15.00              $ 302.13   $   302.13
  8/18/2019 Ronan Pacheco                        $16.00   78.17   $   15.00              $ 305.33   $   305.33
  8/25/2019 Ronan Pacheco                        $16.00   78.42   $   15.00              $ 307.33   $   307.33
   9/1/2019 Ronan Pacheco                        $16.00   50.45   $   15.00              $ 83.60    $    83.60
  9/15/2019 Ronan Pacheco                        $16.00   71.33   $   15.00              $ 250.67   $   250.67
  9/22/2019 Ronan Pacheco                        $16.00   61.87   $   15.00              $ 174.93   $   174.93
  9/29/2019 Ronan Pacheco                        $16.00   65.67   $   15.00              $ 205.33   $   205.33
  10/6/2019 Ronan Pacheco                        $16.00   74.87   $   15.00              $ 278.93   $   278.93
 10/13/2019 Ronan Pacheco                        $16.00   75.42   $   15.00              $ 283.33   $   283.33
 10/20/2019 Ronan Pacheco                        $16.00   60.82   $   15.00              $ 166.53   $   166.53
 10/27/2019 Ronan Pacheco                        $16.00   62.65   $   15.00              $ 181.20   $   181.20
  11/3/2019 Ronan Pacheco                        $16.00   75.40   $   15.00              $ 283.20   $   283.20
 11/10/2019 Ronan Pacheco                        $16.00   58.73   $   15.00              $ 149.87   $   149.87
 11/17/2019 Ronan Pacheco                        $16.00   61.58   $   15.00              $ 172.67   $   172.67
 11/24/2019 Ronan Pacheco                        $16.00   60.07   $   15.00              $ 160.53   $   160.53
  12/1/2019 Ronan Pacheco                        $16.00   47.78   $   15.00              $ 62.27    $    62.27
  12/8/2019 Ronan Pacheco                        $16.00   61.72   $   15.00              $ 173.73   $   173.73
 12/15/2019 Ronan Pacheco                        $16.00   73.07   $   15.00              $ 264.53   $   264.53
 12/22/2019 Ronan Pacheco                        $16.00   61.93   $   15.00              $ 175.47   $   175.47
   1/5/2020 Ronan Pacheco                        $16.00   59.45   $   15.00              $ 155.60   $   155.60
  1/12/2020 Ronan Pacheco                        $16.00   68.67   $   15.00              $ 229.33   $   229.33
  1/19/2020 Ronan Pacheco                        $16.00   76.38   $   15.00              $ 291.07   $   291.07
  1/26/2020 Ronan Pacheco                        $16.00   42.23   $   15.00              $ 17.87    $    17.87



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   Week                                                                   State Section 7: Section 7: Total Section 7
                                                          Hourly Hours/
  Ending                              Name                              Minimum Regular Half-time Overtime Back
                                                           Rate Week
   Date                                                                  Wage   Rate Due     Due       Wages Due

  8/19/2018 Ronny Sanchez                                  $11.00   42.15   $   13.00   $ 84.30    $ 13.98    $    98.28
  8/26/2018 Ronny Sanchez                                  $11.00   48.18   $   13.00   $ 96.37    $ 53.19    $   149.56
   9/2/2018 Ronny Sanchez                                  $11.00   65.60   $   13.00   $ 131.20   $ 166.40   $   297.60
  9/16/2018 Ronny Sanchez                                  $11.00   47.20   $   13.00   $ 94.40    $ 46.80    $   141.20
  9/23/2018 Ronny Sanchez                                  $11.00   40.63   $   13.00   $ 81.27    $   4.12   $    85.38
  9/30/2018 Ronny Sanchez                                  $11.00   51.80   $   13.00   $ 103.60   $ 76.70    $   180.30
  10/7/2018 Ronny Sanchez                                  $11.00   43.75   $   13.00   $ 87.50    $ 24.38    $   111.88
 10/14/2018 Ronny Sanchez                                  $11.00   50.23   $   13.00   $ 100.47   $ 66.52    $   166.98
 10/28/2018 Ronny Sanchez                                  $11.00   51.05   $   13.00   $ 102.10   $ 71.83    $   173.93
  11/4/2018 Ronny Sanchez                                  $11.00   54.62   $   13.00   $ 109.23   $ 95.01    $   204.24
 11/11/2018 Ronny Sanchez                                  $11.00   51.87   $   13.00   $ 103.73   $ 77.13    $   180.87
 11/18/2018 Ronny Sanchez                                  $11.00   42.68   $   13.00   $ 85.37    $ 17.44    $   102.81
  12/2/2018 Ronny Sanchez                                  $11.00   41.07   $   13.00   $ 82.13    $   6.93   $    89.07
  12/9/2018 Ronny Sanchez                                  $11.00   45.53   $   13.00   $ 91.07    $ 35.97    $   127.03
 12/16/2018 Ronny Sanchez                                  $11.00   45.03   $   13.00   $ 90.07    $ 32.72    $   122.78
 12/30/2018 Ronny Sanchez                                  $11.00   43.72   $   13.00   $ 87.43    $ 24.16    $   111.59
   1/6/2019 Ronny Sanchez                                  $11.00   46.57   $   15.00   $ 186.27   $ 49.25    $   235.52
  1/13/2019 Ronny Sanchez                                  $11.00   49.38   $   15.00   $ 197.53   $ 70.38    $   267.91
  1/27/2019 Ronny Sanchez                                  $11.00   43.93   $   15.00   $ 175.73   $ 29.50    $   205.23
  3/10/2019 Russell Vladimir Aponte                        $11.00   44.00   $   15.00   $ 176.00   $ 30.00    $   206.00
  3/17/2019 Russell Vladimir Aponte                        $11.00   64.00   $   15.00   $ 256.00   $ 180.00   $   436.00
  3/24/2019 Russell Vladimir Aponte                        $11.00   57.67   $   15.00   $ 230.67   $ 132.50   $   363.17
  3/31/2019 Russell Vladimir Aponte                        $11.00   60.10   $   15.00   $ 240.40   $ 150.75   $   391.15
   4/7/2019 Russell Vladimir Aponte                        $11.00   58.73   $   15.00   $ 234.93   $ 140.50   $   375.43
  4/14/2019 Russell Vladimir Aponte                        $11.00   58.50   $   15.00   $ 234.00   $ 138.75   $   372.75
  4/21/2019 Russell Vladimir Aponte                        $11.00   59.62   $   15.00   $ 238.47   $ 147.13   $   385.59
  4/28/2019 Russell Vladimir Aponte                        $11.00   64.25   $   15.00   $ 257.00   $ 181.88   $   438.88
   5/5/2019 Russell Vladimir Aponte                        $11.00   60.43   $   15.00   $ 241.73   $ 153.25   $   394.98
  5/12/2019 Russell Vladimir Aponte                        $11.00   59.03   $   15.00   $ 236.13   $ 142.75   $   378.88
  5/19/2019 Russell Vladimir Aponte                        $11.00   62.97   $   15.00   $ 251.87   $ 172.25   $   424.12
  5/26/2019 Russell Vladimir Aponte                        $11.00   59.73   $   15.00   $ 238.93   $ 148.00   $   386.93
   6/2/2019 Russell Vladimir Aponte                        $11.00   54.27   $   15.00   $ 217.07   $ 107.00   $   324.07
   6/9/2019 Russell Vladimir Aponte                        $11.00   60.58   $   15.00   $ 242.33   $ 154.38   $   396.71
  6/16/2019 Russell Vladimir Aponte                        $11.00   60.50   $   15.00   $ 242.00   $ 153.75   $   395.75
  6/23/2019 Russell Vladimir Aponte                        $11.00   61.35   $   15.00   $ 245.40   $ 160.13   $   405.53
  6/30/2019 Russell Vladimir Aponte                        $11.00   60.78   $   15.00   $ 243.13   $ 155.88   $   399.01
   7/7/2019 Russell Vladimir Aponte                        $11.00   51.18   $   15.00   $ 204.73   $ 83.88    $   288.61
  7/14/2019 Russell Vladimir Aponte                        $11.00   59.52   $   15.00   $ 238.07   $ 146.38   $   384.44
  7/21/2019 Russell Vladimir Aponte                        $11.00   59.22   $   15.00   $ 236.87   $ 144.13   $   380.99
  8/12/2018 Ryan Anormaliza                                $11.00   47.03   $   13.00   $ 94.07    $ 45.72    $   139.78
  8/26/2018 Ryan Anormaliza                                $11.00   45.65   $   13.00   $ 91.30    $ 36.72    $   128.03
   9/2/2018 Ryan Anormaliza                                $11.00   43.27   $   13.00   $ 86.53    $ 21.23    $   107.77
  9/16/2018 Ryan Anormaliza                                $11.00   50.08   $   13.00   $ 100.17   $ 65.54    $   165.71
  9/23/2018 Ryan Anormaliza                                $11.00   49.13   $   13.00   $ 98.27    $ 59.37    $   157.63
  9/30/2018 Ryan Anormaliza                                $11.00   52.48   $   13.00   $ 104.97   $ 81.14    $   186.11
  10/7/2018 Ryan Anormaliza                                $11.00   51.78   $   13.00   $ 103.57   $ 76.59    $   180.16
 10/14/2018 Ryan Anormaliza                                $11.00   41.53   $   13.00   $ 83.07    $   9.97   $    93.03
 11/18/2018 Ryan Anormaliza                                $11.00   49.65   $   13.00   $ 99.30    $ 62.73    $   162.03
  12/2/2018 Ryan Anormaliza                                $11.00   50.42   $   13.00   $ 100.83   $ 67.71    $   168.54
  12/9/2018 Ryan Anormaliza                                $11.00   49.33   $   13.00   $ 98.67    $ 60.67    $   159.33
 12/16/2018 Ryan Anormaliza                                $11.00   50.42   $   13.00   $ 100.83   $ 67.71    $   168.54
 12/23/2018 Ryan Anormaliza                                $11.00   49.07   $   13.00   $ 98.13    $ 58.93    $   157.07
  1/13/2019 Ryan Anormaliza                                $11.00   48.67   $   15.00   $ 194.67   $ 65.00    $   259.67
  1/20/2019 Ryan Anormaliza                                $11.00   41.75   $   15.00   $ 167.00   $ 13.13    $   180.13
  1/27/2019 Ryan Anormaliza                                $11.00   48.72   $   15.00   $ 194.87   $ 65.38    $   260.24
   2/3/2019 Ryan Anormaliza                                $11.00   46.72   $   15.00   $ 186.87   $ 50.38    $   237.24
  2/10/2019 Ryan Anormaliza                                $11.00   42.05   $   15.00   $ 168.20   $ 15.38    $   183.58
  2/17/2019 Ryan Anormaliza                                $11.00   41.87   $   15.00   $ 167.47   $ 14.00    $   181.47



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   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                      Name                              Minimum Regular Half-time Overtime Back
                                                   Rate Week
   Date                                                          Wage   Rate Due     Due       Wages Due

  2/24/2019 Ryan Anormaliza                        $11.00   41.87   $   15.00   $   167.47   $ 14.00    $   181.47
   3/3/2019 Ryan Anormaliza                        $11.00   49.95   $   15.00   $   199.80   $ 74.63    $   274.43
  3/10/2019 Ryan Anormaliza                        $11.00   42.30   $   15.00   $   169.20   $ 17.25    $   186.45
  3/17/2019 Ryan Anormaliza                        $11.00   42.47   $   15.00   $   169.87   $ 18.50    $   188.37
  3/24/2019 Ryan Anormaliza                        $11.00   47.35   $   15.00   $   189.40   $ 55.13    $   244.53
  3/31/2019 Ryan Anormaliza                        $11.00   45.32   $   15.00   $   181.27   $ 39.88    $   221.14
  4/14/2019 Ryan Anormaliza                        $11.00   49.10   $   15.00   $   196.40   $ 68.25    $   264.65
  4/21/2019 Ryan Anormaliza                        $11.00   45.57   $   15.00   $   182.27   $ 41.75    $   224.02
  3/17/2019 Sage Halcomb                           $19.00   45.47   $   15.00                $ 51.93    $    51.93
  3/24/2019 Sage Halcomb                           $19.00   42.33   $   15.00                $ 22.17    $    22.17
   4/7/2019 Sage Halcomb                           $19.00   42.68   $   15.00                $ 25.49    $    25.49
  4/14/2019 Sage Halcomb                           $19.00   43.17   $   15.00                $ 30.08    $    30.08
  4/21/2019 Sage Halcomb                           $19.00   43.28   $   15.00                $ 31.19    $    31.19
  4/28/2019 Sage Halcomb                           $19.00   42.83   $   15.00                $ 26.92    $    26.92
   5/5/2019 Sage Halcomb                           $19.00   45.42   $   15.00                $ 51.46    $    51.46
  5/12/2019 Sage Halcomb                           $19.00   54.47   $   15.00                $ 137.43   $   137.43
  5/19/2019 Sage Halcomb                           $19.00   50.00   $   15.00                $ 95.00    $    95.00
  5/26/2019 Sage Halcomb                           $19.00   48.43   $   15.00                $ 80.12    $    80.12
   6/2/2019 Sage Halcomb                           $19.00   44.40   $   15.00                $ 41.80    $    41.80
   6/9/2019 Sage Halcomb                           $19.00   51.87   $   15.00                $ 112.73   $   112.73
  6/23/2019 Sage Halcomb                           $19.00   49.30   $   15.00                $ 88.35    $    88.35
  6/30/2019 Sage Halcomb                           $19.00   45.08   $   15.00                $ 48.29    $    48.29
   7/7/2019 Sage Halcomb                           $19.00   45.70   $   15.00                $ 54.15    $    54.15
  7/14/2019 Sage Halcomb                           $19.00   43.23   $   15.00                $ 30.72    $    30.72
  7/21/2019 Sage Halcomb                           $19.00   45.08   $   15.00                $ 48.29    $    48.29
  7/28/2019 Sage Halcomb                           $19.00   53.00   $   15.00                $ 123.50   $   123.50
   8/4/2019 Sage Halcomb                           $19.00   51.42   $   15.00                $ 108.46   $   108.46
  8/11/2019 Sage Halcomb                           $19.00   48.70   $   15.00                $ 82.65    $    82.65
  8/25/2019 Sage Halcomb                           $19.00   42.98   $   15.00                $ 28.34    $    28.34
   9/8/2019 Sage Halcomb                           $19.00   45.63   $   15.00                $ 53.52    $    53.52
  9/15/2019 Sage Halcomb                           $19.00   47.77   $   15.00                $ 73.78    $    73.78
  9/22/2019 Sage Halcomb                           $19.00   46.42   $   15.00                $ 60.96    $    60.96
  9/29/2019 Sage Halcomb                           $19.00   42.85   $   15.00                $ 27.08    $    27.08
  10/6/2019 Sage Halcomb                           $19.00   42.47   $   15.00                $ 23.43    $    23.43
 10/20/2019 Sage Halcomb                           $19.00   40.27   $   15.00                $   2.53   $     2.53
  11/3/2019 Sage Halcomb                           $19.00   40.27   $   15.00                $   2.53   $     2.53
 11/17/2019 Sage Halcomb                           $19.00   40.97   $   15.00                $   9.18   $     9.18
 11/24/2019 Sage Halcomb                           $19.00   43.22   $   15.00                $ 30.56    $    30.56
  12/1/2019 Sage Halcomb                           $19.00   44.80   $   15.00                $ 45.60    $    45.60
  12/8/2019 Sage Halcomb                           $19.00   42.70   $   15.00                $ 25.65    $    25.65
 12/15/2019 Sage Halcomb                           $19.00   48.60   $   15.00                $ 81.70    $    81.70
 12/22/2019 Sage Halcomb                           $19.00   45.22   $   15.00                $ 49.56    $    49.56
 12/29/2019 Sage Halcomb                           $19.00   42.07   $   15.00                $ 19.63    $    19.63
   1/5/2020 Sage Halcomb                           $19.00   44.82   $   15.00                $ 45.76    $    45.76
  1/12/2020 Sage Halcomb                           $19.00   42.43   $   15.00                $ 23.12    $    23.12
  1/19/2020 Sage Halcomb                           $19.00   41.88   $   15.00                $ 17.89    $    17.89
  1/26/2020 Sage Halcomb                           $19.00   45.18   $   15.00                $ 49.24    $    49.24
   2/5/2017 Samuel Orellana                        $12.00   49.33   $   11.00                $ 56.00    $    56.00
  2/19/2017 Samuel Orellana                        $12.00   48.13   $   11.00                $ 48.80    $    48.80
  2/26/2017 Samuel Orellana                        $12.00   54.82   $   11.00                $ 88.90    $    88.90
   3/5/2017 Samuel Orellana                        $12.00   51.90   $   11.00                $ 71.40    $    71.40
  3/12/2017 Samuel Orellana                        $12.00   51.17   $   11.00                $ 67.00    $    67.00
  3/26/2017 Samuel Orellana                        $12.00   47.20   $   11.00                $ 43.20    $    43.20
   4/2/2017 Samuel Orellana                        $12.00   53.12   $   11.00                $ 78.70    $    78.70
   4/9/2017 Samuel Orellana                        $12.00   50.72   $   11.00                $ 64.30    $    64.30
  4/16/2017 Samuel Orellana                        $12.00   54.80   $   11.00                $ 88.80    $    88.80
  4/23/2017 Samuel Orellana                        $12.00   45.93   $   11.00                $ 35.60    $    35.60
  4/30/2017 Samuel Orellana                        $12.00   55.75   $   11.00                $ 94.50    $    94.50



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   Week                                                             State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
  Ending                        Name                              Minimum Regular Half-time Overtime Back
                                                     Rate Week
   Date                                                            Wage   Rate Due     Due       Wages Due

   5/7/2017 Samuel Orellana                          $12.00   42.68   $   11.00               $ 16.10    $    16.10
  5/14/2017 Samuel Orellana                          $12.00   47.72   $   11.00               $ 46.30    $    46.30
  5/21/2017 Samuel Orellana                          $12.00   57.75   $   11.00               $ 106.50   $   106.50
  5/28/2017 Samuel Orellana                          $12.00   53.52   $   11.00               $ 81.10    $    81.10
  6/11/2017 Samuel Orellana                          $12.00   48.47   $   11.00               $ 50.80    $    50.80
  6/18/2017 Samuel Orellana                          $12.00   58.05   $   11.00               $ 108.30   $   108.30
  6/25/2017 Samuel Orellana                          $12.00   57.73   $   11.00               $ 106.40   $   106.40
   7/2/2017 Samuel Orellana                          $12.00   60.17   $   11.00               $ 121.00   $   121.00
   7/9/2017 Samuel Orellana                          $12.00   45.42   $   11.00               $ 32.50    $    32.50
  7/16/2017 Samuel Orellana                          $12.00   56.03   $   11.00               $ 96.20    $    96.20
  7/23/2017 Samuel Orellana                          $12.00   53.85   $   11.00               $ 83.10    $    83.10
  7/30/2017 Samuel Orellana                          $12.00   54.65   $   11.00               $ 87.90    $    87.90
   8/6/2017 Samuel Orellana                          $12.00   53.30   $   11.00               $ 79.80    $    79.80
  8/13/2017 Samuel Orellana                          $12.00   52.12   $   11.00               $ 72.70    $    72.70
  8/20/2017 Samuel Orellana                          $12.00   49.45   $   11.00               $ 56.70    $    56.70
  8/27/2017 Samuel Orellana                          $12.00   55.47   $   11.00               $ 92.80    $    92.80
   9/3/2017 Samuel Orellana                          $12.00   57.95   $   11.00               $ 107.70   $   107.70
  9/17/2017 Samuel Orellana                          $12.00   56.17   $   11.00               $ 97.00    $    97.00
  9/24/2017 Samuel Orellana                          $12.00   52.77   $   11.00               $ 76.60    $    76.60
  10/1/2017 Samuel Orellana                          $12.00   57.07   $   11.00               $ 102.40   $   102.40
  10/8/2017 Samuel Orellana                          $12.00   46.13   $   11.00               $ 36.80    $    36.80
 10/15/2017 Samuel Orellana                          $12.00   50.53   $   11.00               $ 63.20    $    63.20
 10/22/2017 Samuel Orellana                          $12.00   44.65   $   11.00               $ 27.90    $    27.90
 10/29/2017 Samuel Orellana                          $12.00   57.20   $   11.00               $ 103.20   $   103.20
  11/5/2017 Samuel Orellana                          $12.00   55.83   $   11.00               $ 95.00    $    95.00
 11/12/2017 Samuel Orellana                          $12.00   55.35   $   11.00               $ 92.10    $    92.10
 11/19/2017 Samuel Orellana                          $12.00   51.30   $   11.00               $ 67.80    $    67.80
 11/26/2017 Samuel Orellana                          $12.00   45.28   $   11.00               $ 31.70    $    31.70
  12/3/2017 Samuel Orellana                          $12.00   59.33   $   11.00               $ 116.00   $   116.00
 12/10/2017 Samuel Orellana                          $12.00   55.73   $   11.00               $ 94.40    $    94.40
 12/17/2017 Samuel Orellana                          $12.00   50.62   $   11.00               $ 63.70    $    63.70
 12/24/2017 Samuel Orellana                          $12.00   57.93   $   11.00               $ 107.60   $   107.60
 12/31/2017 Samuel Orellana                          $12.00   49.45   $   13.00   $   49.45   $ 61.43    $   110.88
   1/7/2018 Samuel Orellana                          $12.00   42.17   $   13.00   $   42.17   $ 14.08    $    56.25
  1/14/2018 Samuel Orellana                          $12.00   44.67   $   13.00   $   44.67   $ 30.33    $    75.00
  1/21/2018 Samuel Orellana                          $12.00   52.73   $   13.00   $   52.73   $ 82.77    $   135.50
  1/28/2018 Samuel Orellana                          $12.00   53.75   $   13.00   $   53.75   $ 89.38    $   143.13
   2/4/2018 Samuel Orellana                          $12.00   50.40   $   13.00   $   50.40   $ 67.60    $   118.00
  2/11/2018 Samuel Orellana                          $12.00   46.62   $   13.00   $   46.62   $ 43.01    $    89.62
  2/18/2018 Samuel Orellana                          $12.00   56.82   $   13.00   $   56.82   $ 109.31   $   166.13
  2/25/2018 Samuel Orellana                          $12.00   47.28   $   13.00   $   47.28   $ 47.34    $    94.63
   3/4/2018 Samuel Orellana                          $12.00   42.37   $   13.00   $   42.37   $ 15.38    $    57.75
  3/25/2018 Samuel Orellana                          $12.00   42.53   $   13.00   $   42.53   $ 16.47    $    59.00
   4/1/2018 Samuel Orellana                          $12.00   48.00   $   13.00   $   48.00   $ 52.00    $   100.00
   4/8/2018 Samuel Orellana                          $12.00   51.57   $   13.00   $   51.57   $ 75.18    $   126.75
  4/15/2018 Samuel Orellana                          $12.00   53.98   $   13.00   $   53.98   $ 90.89    $   144.88
   2/5/2017 Sandro Paloguachi                        $16.00   52.48   $   11.00               $ 99.87    $    99.87
  2/12/2017 Sandro Paloguachi                        $16.00   51.85   $   11.00               $ 94.80    $    94.80
  2/19/2017 Sandro Paloguachi                        $16.00   46.12   $   11.00               $ 48.93    $    48.93
  2/26/2017 Sandro Paloguachi                        $16.00   51.97   $   11.00               $ 95.73    $    95.73
   3/5/2017 Sandro Paloguachi                        $16.00   53.07   $   11.00               $ 104.53   $   104.53
  3/12/2017 Sandro Paloguachi                        $16.00   54.55   $   11.00               $ 116.40   $   116.40
  3/19/2017 Sandro Paloguachi                        $16.00   45.80   $   11.00               $ 46.40    $    46.40
  3/26/2017 Sandro Paloguachi                        $16.00   46.50   $   11.00               $ 52.00    $    52.00
   4/2/2017 Sandro Paloguachi                        $16.00   54.72   $   11.00               $ 117.73   $   117.73
   4/9/2017 Sandro Paloguachi                        $16.00   54.72   $   11.00               $ 117.73   $   117.73
  4/16/2017 Sandro Paloguachi                        $16.00   53.33   $   11.00               $ 106.67   $   106.67
  4/23/2017 Sandro Paloguachi                        $16.00   44.47   $   11.00               $ 35.73    $    35.73



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   Week                                                             State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
  Ending                        Name                              Minimum Regular Half-time Overtime Back
                                                     Rate Week
   Date                                                            Wage   Rate Due     Due       Wages Due

  4/30/2017 Sandro Paloguachi                        $16.00   57.12   $   11.00       $ 136.93   $      136.93
   5/7/2017 Sandro Paloguachi                        $16.00   51.20   $   11.00       $ 89.60    $       89.60
  5/14/2017 Sandro Paloguachi                        $16.00   55.30   $   11.00       $ 122.40   $      122.40
  5/21/2017 Sandro Paloguachi                        $16.00   57.98   $   11.00       $ 143.87   $      143.87
  5/28/2017 Sandro Paloguachi                        $16.00   55.42   $   11.00       $ 123.33   $      123.33
   6/4/2017 Sandro Paloguachi                        $16.00   47.50   $   11.00       $ 60.00    $       60.00
  6/11/2017 Sandro Paloguachi                        $16.00   55.45   $   11.00       $ 123.60   $      123.60
  6/18/2017 Sandro Paloguachi                        $16.00   45.00   $   11.00       $ 40.00    $       40.00
  6/25/2017 Sandro Paloguachi                        $16.00   53.62   $   11.00       $ 108.93   $      108.93
   7/2/2017 Sandro Paloguachi                        $16.00   56.38   $   11.00       $ 131.07   $      131.07
   7/9/2017 Sandro Paloguachi                        $16.00   42.42   $   11.00       $ 19.33    $       19.33
  7/16/2017 Sandro Paloguachi                        $16.00   55.60   $   11.00       $ 124.80   $      124.80
  7/23/2017 Sandro Paloguachi                        $16.00   43.57   $   11.00       $ 28.53    $       28.53
  7/30/2017 Sandro Paloguachi                        $16.00   53.33   $   11.00       $ 106.67   $      106.67
   8/6/2017 Sandro Paloguachi                        $16.00   53.93   $   11.00       $ 111.47   $      111.47
  8/13/2017 Sandro Paloguachi                        $16.00   47.63   $   11.00       $ 61.07    $       61.07
  8/20/2017 Sandro Paloguachi                        $16.00   52.33   $   11.00       $ 98.67    $       98.67
   9/3/2017 Sandro Paloguachi                        $16.00   52.80   $   11.00       $ 102.40   $      102.40
  9/10/2017 Sandro Paloguachi                        $16.00   44.02   $   11.00       $ 32.13    $       32.13
  9/17/2017 Sandro Paloguachi                        $16.00   45.60   $   11.00       $ 44.80    $       44.80
  9/24/2017 Sandro Paloguachi                        $16.00   54.48   $   11.00       $ 115.87   $      115.87
  10/1/2017 Sandro Paloguachi                        $16.00   57.13   $   11.00       $ 137.07   $      137.07
  10/8/2017 Sandro Paloguachi                        $16.00   55.25   $   11.00       $ 122.00   $      122.00
 10/15/2017 Sandro Paloguachi                        $16.00   56.65   $   11.00       $ 133.20   $      133.20
 10/22/2017 Sandro Paloguachi                        $16.00   44.08   $   11.00       $ 32.67    $       32.67
 10/29/2017 Sandro Paloguachi                        $16.00   54.90   $   11.00       $ 119.20   $      119.20
  11/5/2017 Sandro Paloguachi                        $16.00   57.05   $   11.00       $ 136.40   $      136.40
 11/12/2017 Sandro Paloguachi                        $16.00   50.12   $   11.00       $ 80.93    $       80.93
 11/19/2017 Sandro Paloguachi                        $16.00   47.55   $   11.00       $ 60.40    $       60.40
 11/26/2017 Sandro Paloguachi                        $16.00   43.77   $   11.00       $ 30.13    $       30.13
  12/3/2017 Sandro Paloguachi                        $16.00   55.75   $   11.00       $ 126.00   $      126.00
 12/10/2017 Sandro Paloguachi                        $16.00   51.38   $   11.00       $ 91.07    $       91.07
 12/17/2017 Sandro Paloguachi                        $16.00   43.43   $   11.00       $ 27.47    $       27.47
 12/24/2017 Sandro Paloguachi                        $16.00   54.75   $   11.00       $ 118.00   $      118.00
 12/31/2017 Sandro Paloguachi                        $16.00   45.98   $   13.00       $ 47.87    $       47.87
  1/14/2018 Sandro Paloguachi                        $16.00   52.33   $   13.00       $ 98.67    $       98.67
  1/21/2018 Sandro Paloguachi                        $16.00   51.63   $   13.00       $ 93.07    $       93.07
  1/28/2018 Sandro Paloguachi                        $16.00   44.22   $   13.00       $ 33.73    $       33.73
   2/4/2018 Sandro Paloguachi                        $16.00   53.80   $   13.00       $ 110.40   $      110.40
  2/11/2018 Sandro Paloguachi                        $16.00   51.00   $   13.00       $ 88.00    $       88.00
  2/18/2018 Sandro Paloguachi                        $16.00   51.20   $   13.00       $ 89.60    $       89.60
  2/25/2018 Sandro Paloguachi                        $16.00   41.58   $   13.00       $ 12.67    $       12.67
   3/4/2018 Sandro Paloguachi                        $16.00   51.87   $   13.00       $ 94.93    $       94.93
  3/25/2018 Sandro Paloguachi                        $16.00   48.93   $   13.00       $ 71.47    $       71.47
   4/1/2018 Sandro Paloguachi                        $16.00   54.95   $   13.00       $ 119.60   $      119.60
   4/8/2018 Sandro Paloguachi                        $16.00   45.53   $   13.00       $ 44.27    $       44.27
  4/15/2018 Sandro Paloguachi                        $16.00   53.88   $   13.00       $ 111.07   $      111.07
  4/22/2018 Sandro Paloguachi                        $16.00   55.32   $   13.00       $ 122.53   $      122.53
  4/29/2018 Sandro Paloguachi                        $16.00   54.22   $   13.00       $ 113.73   $      113.73
   5/6/2018 Sandro Paloguachi                        $16.00   56.40   $   13.00       $ 131.20   $      131.20
  5/13/2018 Sandro Paloguachi                        $16.00   45.18   $   13.00       $ 41.47    $       41.47
  5/20/2018 Sandro Paloguachi                        $16.00   55.40   $   13.00       $ 123.20   $      123.20
  5/27/2018 Sandro Paloguachi                        $16.00   57.22   $   13.00       $ 137.73   $      137.73
  6/10/2018 Sandro Paloguachi                        $16.00   45.98   $   13.00       $ 47.87    $       47.87
  6/17/2018 Sandro Paloguachi                        $16.00   45.18   $   13.00       $ 41.47    $       41.47
  6/24/2018 Sandro Paloguachi                        $16.00   56.20   $   13.00       $ 129.60   $      129.60
   7/1/2018 Sandro Paloguachi                        $16.00   48.30   $   13.00       $ 66.40    $       66.40
   7/8/2018 Sandro Paloguachi                        $16.00   46.13   $   13.00       $ 49.07    $       49.07



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   Week                                                             State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
  Ending                        Name                              Minimum Regular Half-time Overtime Back
                                                     Rate Week
   Date                                                            Wage   Rate Due     Due       Wages Due

  7/15/2018 Sandro Paloguachi                        $16.00   51.95   $   13.00              $ 95.60    $    95.60
  7/22/2018 Sandro Paloguachi                        $16.00   41.67   $   13.00              $ 13.33    $    13.33
  7/29/2018 Sandro Paloguachi                        $16.00   52.85   $   13.00              $ 102.80   $   102.80
   8/5/2018 Sandro Paloguachi                        $16.00   43.27   $   13.00              $ 26.13    $    26.13
  8/12/2018 Sandro Paloguachi                        $16.00   52.70   $   13.00              $ 101.60   $   101.60
  8/19/2018 Sandro Paloguachi                        $16.00   45.88   $   13.00              $ 47.07    $    47.07
   9/2/2018 Sandro Paloguachi                        $16.00   46.30   $   13.00              $ 50.40    $    50.40
  9/16/2018 Sandro Paloguachi                        $16.00   54.32   $   13.00              $ 114.53   $   114.53
  9/23/2018 Sandro Paloguachi                        $16.00   52.88   $   13.00              $ 103.07   $   103.07
  9/30/2018 Sandro Paloguachi                        $16.00   56.92   $   13.00              $ 135.33   $   135.33
  10/7/2018 Sandro Paloguachi                        $16.00   47.77   $   13.00              $ 62.13    $    62.13
 10/14/2018 Sandro Paloguachi                        $16.00   54.30   $   13.00              $ 114.40   $   114.40
 10/21/2018 Sandro Paloguachi                        $16.00   51.22   $   13.00              $ 89.73    $    89.73
 10/28/2018 Sandro Paloguachi                        $16.00   53.47   $   13.00              $ 107.73   $   107.73
  11/4/2018 Sandro Paloguachi                        $16.00   55.20   $   13.00              $ 121.60   $   121.60
 11/11/2018 Sandro Paloguachi                        $16.00   52.90   $   13.00              $ 103.20   $   103.20
 11/18/2018 Sandro Paloguachi                        $16.00   49.00   $   13.00              $ 72.00    $    72.00
 11/25/2018 Sandro Paloguachi                        $16.00   43.20   $   13.00              $ 25.60    $    25.60
  12/2/2018 Sandro Paloguachi                        $16.00   54.22   $   13.00              $ 113.73   $   113.73
  12/9/2018 Sandro Paloguachi                        $16.00   49.77   $   13.00              $ 78.13    $    78.13
 12/16/2018 Sandro Paloguachi                        $16.00   48.18   $   13.00              $ 65.47    $    65.47
 12/23/2018 Sandro Paloguachi                        $16.00   53.70   $   13.00              $ 109.60   $   109.60
 12/30/2018 Sandro Paloguachi                        $16.00   45.08   $   13.00              $ 40.67    $    40.67
  1/20/2019 Sandro Paloguachi                        $16.00   44.20   $   15.00              $ 33.60    $    33.60
  1/27/2019 Sandro Paloguachi                        $16.00   50.88   $   15.00              $ 87.07    $    87.07
   2/3/2019 Sandro Paloguachi                        $16.00   51.02   $   15.00              $ 88.13    $    88.13
  2/10/2019 Sandro Paloguachi                        $16.00   49.75   $   15.00              $ 78.00    $    78.00
  2/17/2019 Sandro Paloguachi                        $16.00   43.87   $   15.00              $ 30.93    $    30.93
  2/24/2019 Sandro Paloguachi                        $16.00   44.35   $   15.00              $ 34.80    $    34.80
   3/3/2019 Sandro Paloguachi                        $16.00   55.50   $   15.00              $ 124.00   $   124.00
  3/17/2019 Sandro Paloguachi                        $16.00   48.37   $   15.00              $ 66.93    $    66.93
  3/24/2019 Sandro Paloguachi                        $16.00   42.85   $   15.00              $ 22.80    $    22.80
  3/31/2019 Sandro Paloguachi                        $16.00   54.97   $   15.00              $ 119.73   $   119.73
   4/7/2019 Sandro Paloguachi                        $16.00   48.82   $   15.00              $ 70.53    $    70.53
  4/14/2019 Sandro Paloguachi                        $16.00   49.87   $   15.00              $ 78.93    $    78.93
  3/26/2017 Santiago Pena                            $10.00   53.23   $   11.00   $ 53.23    $ 72.78    $   126.02
   4/2/2017 Santiago Pena                            $10.00   60.77   $   11.00   $ 60.77    $ 114.22   $   174.98
   4/9/2017 Santiago Pena                            $10.00   50.60   $   11.00   $ 50.60    $ 58.30    $   108.90
  4/16/2017 Santiago Pena                            $10.00   61.72   $   11.00   $ 61.72    $ 119.44   $   181.16
  4/23/2017 Santiago Pena                            $10.00   65.80   $   11.00   $ 65.80    $ 141.90   $   207.70
  4/30/2017 Santiago Pena                            $10.00   64.62   $   11.00   $ 64.62    $ 135.39   $   200.01
  5/14/2017 Santiago Pena                            $10.00   51.12   $   11.00   $ 51.12    $ 61.14    $   112.26
  5/21/2017 Santiago Pena                            $10.00   44.52   $   11.00   $ 44.52    $ 24.84    $    69.36
  7/16/2017 Santiago Pena                            $10.00   44.52   $   11.00   $ 44.52    $ 24.84    $    69.36
  7/23/2017 Santiago Pena                            $10.00   49.20   $   11.00   $ 49.20    $ 50.60    $    99.80
  1/20/2019 Santiago Pena                            $12.00   56.13   $   15.00   $ 168.40   $ 121.00   $   289.40
  1/27/2019 Santiago Pena                            $12.00   60.22   $   15.00   $ 180.65   $ 151.63   $   332.28
   2/3/2019 Santiago Pena                            $12.00   59.42   $   15.00   $ 178.25   $ 145.63   $   323.88
  2/10/2019 Santiago Pena                            $12.00   65.83   $   15.00   $ 197.50   $ 193.75   $   391.25
  2/17/2019 Santiago Pena                            $12.00   71.33   $   15.00   $ 214.00   $ 235.00   $   449.00
  2/24/2019 Santiago Pena                            $12.00   74.25   $   15.00   $ 222.75   $ 256.88   $   479.63
   3/3/2019 Santiago Pena                            $12.00   81.20   $   15.00   $ 243.60   $ 309.00   $   552.60
  3/10/2019 Santiago Pena                            $12.00   93.65   $   15.00   $ 280.95   $ 402.38   $   683.33
  3/17/2019 Santiago Pena                            $12.00   80.87   $   15.00   $ 242.60   $ 306.50   $   549.10
  3/24/2019 Santiago Pena                            $12.00   82.63   $   15.00   $ 247.90   $ 319.75   $   567.65
  3/31/2019 Santiago Pena                            $12.00   73.08   $   15.00   $ 219.25   $ 248.13   $   467.38
   4/7/2019 Santiago Pena                            $12.00   73.12   $   15.00   $ 219.35   $ 248.38   $   467.73
  4/14/2019 Santiago Pena                            $12.00   88.55   $   15.00   $ 265.65   $ 364.13   $   629.78



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   Week                                                                State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
  Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                        Rate Week
   Date                                                               Wage   Rate Due     Due       Wages Due

  4/21/2019 Santiago Pena                               $12.00   69.65   $   15.00   $   208.95   $ 222.38   $   431.33
  4/28/2019 Santiago Pena                               $12.00   80.30   $   15.00   $   240.90   $ 302.25   $   543.15
   5/5/2019 Santiago Pena                               $12.00   83.17   $   15.00   $   249.50   $ 323.75   $   573.25
  5/12/2019 Santiago Pena                               $12.00   81.42   $   15.00   $   244.25   $ 310.63   $   554.88
  5/19/2019 Santiago Pena                               $12.00   81.50   $   15.00   $   244.50   $ 311.25   $   555.75
  5/26/2019 Santiago Pena                               $12.00   81.00   $   15.00   $   243.00   $ 307.50   $   550.50
   6/2/2019 Santiago Pena                               $12.00   79.98   $   15.00   $   239.95   $ 299.88   $   539.83
   6/9/2019 Santiago Pena                               $12.00   78.77   $   15.00   $   236.30   $ 290.75   $   527.05
  6/16/2019 Santiago Pena                               $12.00   79.25   $   15.00   $   237.75   $ 294.38   $   532.13
  6/23/2019 Santiago Pena                               $12.00   83.85   $   15.00   $   251.55   $ 328.88   $   580.43
  6/30/2019 Santiago Pena                               $12.00   80.53   $   15.00   $   241.60   $ 304.00   $   545.60
   7/7/2019 Santiago Pena                               $12.00   55.63   $   15.00   $   166.90   $ 117.25   $   284.15
  7/14/2019 Santiago Pena                               $12.00   75.15   $   15.00   $   225.45   $ 263.63   $   489.08
  7/21/2019 Santiago Pena                               $12.00   75.93   $   15.00   $   227.80   $ 269.50   $   497.30
  7/28/2019 Santiago Pena                               $12.00   78.83   $   15.00   $   236.50   $ 291.25   $   527.75
   8/4/2019 Santiago Pena                               $12.00   81.80   $   15.00   $   245.40   $ 313.50   $   558.90
  8/11/2019 Santiago Pena                               $12.00   78.10   $   15.00   $   234.30   $ 285.75   $   520.05
  8/18/2019 Santiago Pena                               $12.00   77.60   $   15.00   $   232.80   $ 282.00   $   514.80
  8/25/2019 Santiago Pena                               $12.00   81.25   $   15.00   $   243.75   $ 309.38   $   553.13
   9/1/2019 Santiago Pena                               $12.00   66.83   $   15.00   $   200.50   $ 201.25   $   401.75
   9/8/2019 Santiago Pena                               $12.00   66.83   $   15.00   $   200.50   $ 201.25   $   401.75
  9/15/2019 Santiago Pena                               $12.00   78.47   $   15.00   $   235.40   $ 288.50   $   523.90
  9/22/2019 Santiago Pena                               $12.00   79.87   $   15.00   $   239.60   $ 299.00   $   538.60
  9/29/2019 Santiago Pena                               $12.00   80.88   $   15.00   $   242.65   $ 306.63   $   549.28
  10/6/2019 Santiago Pena                               $12.00   81.05   $   15.00   $   243.15   $ 307.88   $   551.03
 10/13/2019 Santiago Pena                               $12.00   80.28   $   15.00   $   240.85   $ 302.13   $   542.98
 10/20/2019 Santiago Pena                               $12.00   81.13   $   15.00   $   243.40   $ 308.50   $   551.90
 10/27/2019 Santiago Pena                               $12.00   80.92   $   15.00   $   242.75   $ 306.88   $   549.63
  11/3/2019 Santiago Pena                               $12.00   81.95   $   15.00   $   245.85   $ 314.63   $   560.48
 11/10/2019 Santiago Pena                               $12.00   86.77   $   15.00   $   260.30   $ 350.75   $   611.05
 11/17/2019 Santiago Pena                               $12.00   86.98   $   15.00   $   260.95   $ 352.38   $   613.33
 11/24/2019 Santiago Pena                               $12.00   86.67   $   15.00   $   260.00   $ 350.00   $   610.00
  12/1/2019 Santiago Pena                               $12.00   68.53   $   15.00   $   205.60   $ 214.00   $   419.60
  12/8/2019 Santiago Pena                               $12.00   77.48   $   15.00   $   232.45   $ 281.13   $   513.58
 12/15/2019 Santiago Pena                               $12.00   78.17   $   15.00   $   234.50   $ 286.25   $   520.75
 12/22/2019 Santiago Pena                               $12.00   79.63   $   15.00   $   238.90   $ 297.25   $   536.15
 12/29/2019 Santiago Pena                               $12.00   64.72   $   15.00   $   194.15   $ 185.38   $   379.53
   1/5/2020 Santiago Pena                               $12.00   65.30   $   15.00   $   195.90   $ 189.75   $   385.65
  1/12/2020 Santiago Pena                               $12.00   83.48   $   15.00   $   250.45   $ 326.13   $   576.58
  1/19/2020 Santiago Pena                               $12.00   84.00   $   15.00   $   252.00   $ 330.00   $   582.00
  1/26/2020 Santiago Pena                               $12.00   84.02   $   15.00   $   252.05   $ 330.13   $   582.18
   2/5/2017 Sergio Reyes Jimenez                        $13.50   47.27   $   11.00                $ 49.05    $    49.05
  2/12/2017 Sergio Reyes Jimenez                        $13.50   42.07   $   11.00                $ 13.95    $    13.95
  2/19/2017 Sergio Reyes Jimenez                        $13.50   42.33   $   11.00                $ 15.75    $    15.75
  2/26/2017 Sergio Reyes Jimenez                        $13.50   55.12   $   11.00                $ 102.04   $   102.04
   3/5/2017 Sergio Reyes Jimenez                        $13.50   45.62   $   11.00                $ 37.91    $    37.91
  3/12/2017 Sergio Reyes Jimenez                        $13.50   56.48   $   11.00                $ 111.26   $   111.26
  3/26/2017 Sergio Reyes Jimenez                        $13.50   52.33   $   11.00                $ 83.25    $    83.25
   4/2/2017 Sergio Reyes Jimenez                        $13.50   56.05   $   11.00                $ 108.34   $   108.34
   4/9/2017 Sergio Reyes Jimenez                        $13.50   52.70   $   11.00                $ 85.73    $    85.73
  4/16/2017 Sergio Reyes Jimenez                        $13.50   47.03   $   11.00                $ 47.48    $    47.48
  4/23/2017 Sergio Reyes Jimenez                        $13.50   53.00   $   11.00                $ 87.75    $    87.75
  4/30/2017 Sergio Reyes Jimenez                        $13.50   55.15   $   11.00                $ 102.26   $   102.26
   5/7/2017 Sergio Reyes Jimenez                        $13.50   48.67   $   11.00                $ 58.50    $    58.50
  5/14/2017 Sergio Reyes Jimenez                        $13.50   51.98   $   11.00                $ 80.89    $    80.89
  5/21/2017 Sergio Reyes Jimenez                        $13.50   55.85   $   11.00                $ 106.99   $   106.99
  5/28/2017 Sergio Reyes Jimenez                        $13.50   58.57   $   11.00                $ 125.33   $   125.33
   6/4/2017 Sergio Reyes Jimenez                        $13.50   47.37   $   11.00                $ 49.73    $    49.73



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   Week                                                                State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
  Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                        Rate Week
   Date                                                               Wage   Rate Due     Due       Wages Due

  6/11/2017 Sergio Reyes Jimenez                        $13.50   55.33   $   11.00       $ 103.50   $      103.50
  6/18/2017 Sergio Reyes Jimenez                        $13.50   55.67   $   11.00       $ 105.75   $      105.75
  6/25/2017 Sergio Reyes Jimenez                        $13.50   52.68   $   11.00       $ 85.61    $       85.61
   7/2/2017 Sergio Reyes Jimenez                        $13.50   55.18   $   11.00       $ 102.49   $      102.49
  7/16/2017 Sergio Reyes Jimenez                        $13.50   48.38   $   11.00       $ 56.59    $       56.59
  7/23/2017 Sergio Reyes Jimenez                        $13.50   48.00   $   11.00       $ 54.00    $       54.00
  7/30/2017 Sergio Reyes Jimenez                        $13.50   56.32   $   11.00       $ 110.14   $      110.14
   8/6/2017 Sergio Reyes Jimenez                        $13.50   45.45   $   11.00       $ 36.79    $       36.79
  8/13/2017 Sergio Reyes Jimenez                        $13.50   51.60   $   11.00       $ 78.30    $       78.30
  8/20/2017 Sergio Reyes Jimenez                        $13.50   53.23   $   11.00       $ 89.33    $       89.33
  8/27/2017 Sergio Reyes Jimenez                        $13.50   53.70   $   11.00       $ 92.48    $       92.48
   9/3/2017 Sergio Reyes Jimenez                        $13.50   56.65   $   11.00       $ 112.39   $      112.39
  9/17/2017 Sergio Reyes Jimenez                        $13.50   57.15   $   11.00       $ 115.76   $      115.76
  9/24/2017 Sergio Reyes Jimenez                        $13.50   51.80   $   11.00       $ 79.65    $       79.65
  10/1/2017 Sergio Reyes Jimenez                        $13.50   58.27   $   11.00       $ 123.30   $      123.30
  10/8/2017 Sergio Reyes Jimenez                        $13.50   55.75   $   11.00       $ 106.31   $      106.31
 10/15/2017 Sergio Reyes Jimenez                        $13.50   48.65   $   11.00       $ 58.39    $       58.39
 10/22/2017 Sergio Reyes Jimenez                        $13.50   51.53   $   11.00       $ 77.85    $       77.85
 10/29/2017 Sergio Reyes Jimenez                        $13.50   57.60   $   11.00       $ 118.80   $      118.80
  11/5/2017 Sergio Reyes Jimenez                        $13.50   52.65   $   11.00       $ 85.39    $       85.39
 11/12/2017 Sergio Reyes Jimenez                        $13.50   54.95   $   11.00       $ 100.91   $      100.91
 11/19/2017 Sergio Reyes Jimenez                        $13.50   57.52   $   11.00       $ 118.24   $      118.24
 11/26/2017 Sergio Reyes Jimenez                        $13.50   42.60   $   11.00       $ 17.55    $       17.55
  12/3/2017 Sergio Reyes Jimenez                        $13.50   55.32   $   11.00       $ 103.39   $      103.39
 12/10/2017 Sergio Reyes Jimenez                        $13.50   53.87   $   11.00       $ 93.60    $       93.60
 12/17/2017 Sergio Reyes Jimenez                        $13.50   53.78   $   11.00       $ 93.04    $       93.04
 12/24/2017 Sergio Reyes Jimenez                        $13.50   57.35   $   11.00       $ 117.11   $      117.11
 12/31/2017 Sergio Reyes Jimenez                        $13.50   45.97   $   13.00       $ 40.28    $       40.28
  1/14/2018 Sergio Reyes Jimenez                        $13.50   53.12   $   13.00       $ 88.54    $       88.54
  1/21/2018 Sergio Reyes Jimenez                        $13.50   52.80   $   13.00       $ 86.40    $       86.40
  1/28/2018 Sergio Reyes Jimenez                        $13.50   48.73   $   13.00       $ 58.95    $       58.95
   2/4/2018 Sergio Reyes Jimenez                        $13.50   48.37   $   13.00       $ 56.48    $       56.48
  2/11/2018 Sergio Reyes Jimenez                        $13.50   49.17   $   13.00       $ 61.88    $       61.88
  2/18/2018 Sergio Reyes Jimenez                        $13.50   53.62   $   13.00       $ 91.91    $       91.91
  2/25/2018 Sergio Reyes Jimenez                        $13.50   51.00   $   13.00       $ 74.25    $       74.25
   3/4/2018 Sergio Reyes Jimenez                        $13.50   54.52   $   13.00       $ 97.99    $       97.99
  3/25/2018 Sergio Reyes Jimenez                        $13.50   51.20   $   13.00       $ 75.60    $       75.60
   4/1/2018 Sergio Reyes Jimenez                        $13.50   57.88   $   13.00       $ 120.71   $      120.71
   4/8/2018 Sergio Reyes Jimenez                        $13.50   48.37   $   13.00       $ 56.48    $       56.48
  4/15/2018 Sergio Reyes Jimenez                        $13.50   55.80   $   13.00       $ 106.65   $      106.65
  4/22/2018 Sergio Reyes Jimenez                        $13.50   54.67   $   13.00       $ 99.00    $       99.00
  4/29/2018 Sergio Reyes Jimenez                        $13.50   57.85   $   13.00       $ 120.49   $      120.49
   5/6/2018 Sergio Reyes Jimenez                        $13.50   55.22   $   13.00       $ 102.71   $      102.71
  5/13/2018 Sergio Reyes Jimenez                        $13.50   57.10   $   13.00       $ 115.43   $      115.43
  5/20/2018 Sergio Reyes Jimenez                        $13.50   47.75   $   13.00       $ 52.31    $       52.31
  5/27/2018 Sergio Reyes Jimenez                        $13.50   59.88   $   13.00       $ 134.21   $      134.21
   6/3/2018 Sergio Reyes Jimenez                        $13.50   46.77   $   13.00       $ 45.68    $       45.68
  6/10/2018 Sergio Reyes Jimenez                        $13.50   54.70   $   13.00       $ 99.23    $       99.23
  6/17/2018 Sergio Reyes Jimenez                        $13.50   57.85   $   13.00       $ 120.49   $      120.49
  6/24/2018 Sergio Reyes Jimenez                        $13.50   56.93   $   13.00       $ 114.30   $      114.30
   7/1/2018 Sergio Reyes Jimenez                        $13.50   57.37   $   13.00       $ 117.23   $      117.23
   7/8/2018 Sergio Reyes Jimenez                        $13.50   43.37   $   13.00       $ 22.73    $       22.73
  7/15/2018 Sergio Reyes Jimenez                        $13.50   46.85   $   13.00       $ 46.24    $       46.24
  7/22/2018 Sergio Reyes Jimenez                        $13.50   56.23   $   13.00       $ 109.58   $      109.58
  7/29/2018 Sergio Reyes Jimenez                        $13.50   54.00   $   13.00       $ 94.50    $       94.50
   8/5/2018 Sergio Reyes Jimenez                        $13.50   55.80   $   13.00       $ 106.65   $      106.65
  8/12/2018 Sergio Reyes Jimenez                        $13.50   50.18   $   13.00       $ 68.74    $       68.74
  8/26/2018 Sergio Reyes Jimenez                        $13.50   56.28   $   13.00       $ 109.91   $      109.91



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                                                   Exhibit 3
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   Week                                                                State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
  Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                        Rate Week
   Date                                                               Wage   Rate Due     Due       Wages Due

   9/2/2018 Sergio Reyes Jimenez                        $13.50   55.65   $   13.00               $ 105.64   $   105.64
   9/9/2018 Sergio Reyes Jimenez                        $13.50   47.98   $   13.00               $ 53.89    $    53.89
  9/16/2018 Sergio Reyes Jimenez                        $13.50   55.57   $   13.00               $ 105.08   $   105.08
  9/23/2018 Sergio Reyes Jimenez                        $13.50   52.25   $   13.00               $ 82.69    $    82.69
  9/30/2018 Sergio Reyes Jimenez                        $13.50   57.08   $   13.00               $ 115.31   $   115.31
  10/7/2018 Sergio Reyes Jimenez                        $13.50   55.88   $   13.00               $ 107.21   $   107.21
 10/14/2018 Sergio Reyes Jimenez                        $13.50   53.53   $   13.00               $ 91.35    $    91.35
 10/21/2018 Sergio Reyes Jimenez                        $13.50   46.38   $   13.00               $ 43.09    $    43.09
 10/28/2018 Sergio Reyes Jimenez                        $13.50   55.65   $   13.00               $ 105.64   $   105.64
  11/4/2018 Sergio Reyes Jimenez                        $13.50   55.27   $   13.00               $ 103.05   $   103.05
 11/11/2018 Sergio Reyes Jimenez                        $13.50   54.58   $   13.00               $ 98.44    $    98.44
 11/18/2018 Sergio Reyes Jimenez                        $13.50   49.53   $   13.00               $ 64.35    $    64.35
 11/25/2018 Sergio Reyes Jimenez                        $13.50   45.20   $   13.00               $ 35.10    $    35.10
  12/2/2018 Sergio Reyes Jimenez                        $13.50   57.85   $   13.00               $ 120.49   $   120.49
  12/9/2018 Sergio Reyes Jimenez                        $13.50   52.62   $   13.00               $ 85.16    $    85.16
 12/16/2018 Sergio Reyes Jimenez                        $13.50   57.28   $   13.00               $ 116.66   $   116.66
 12/23/2018 Sergio Reyes Jimenez                        $13.50   54.62   $   13.00               $ 98.66    $    98.66
 12/30/2018 Sergio Reyes Jimenez                        $13.50   44.85   $   13.00               $ 32.74    $    32.74
   1/6/2019 Sergio Reyes Jimenez                        $13.50   45.57   $   15.00   $   68.35   $ 41.75    $   110.10
  1/13/2019 Sergio Reyes Jimenez                        $13.50   52.13   $   15.00   $   78.20   $ 91.00    $   169.20
  1/20/2019 Sergio Reyes Jimenez                        $13.50   49.58   $   15.00   $   74.38   $ 71.88    $   146.25
  1/27/2019 Sergio Reyes Jimenez                        $13.50   51.10   $   15.00   $   76.65   $ 83.25    $   159.90
   2/3/2019 Sergio Reyes Jimenez                        $13.50   54.87   $   15.00   $   82.30   $ 111.50   $   193.80
  2/10/2019 Sergio Reyes Jimenez                        $13.50   44.88   $   15.00   $   67.33   $ 36.63    $   103.95
  2/17/2019 Sergio Reyes Jimenez                        $13.50   50.13   $   15.00   $   75.20   $ 76.00    $   151.20
  2/24/2019 Sergio Reyes Jimenez                        $13.50   44.78   $   15.00   $   67.18   $ 35.88    $   103.05
   3/3/2019 Sergio Reyes Jimenez                        $13.50   55.18   $   15.00   $   82.78   $ 113.88   $   196.65
  3/10/2019 Sergio Reyes Jimenez                        $13.50   44.83   $   15.00   $   67.25   $ 36.25    $   103.50
  3/17/2019 Sergio Reyes Jimenez                        $13.50   52.18   $   15.00   $   78.28   $ 91.37    $   169.65
  3/24/2019 Sergio Reyes Jimenez                        $13.50   58.25   $   15.00   $   87.38   $ 136.88   $   224.25
  3/31/2019 Sergio Reyes Jimenez                        $13.50   57.48   $   15.00   $   86.23   $ 131.13   $   217.35
   4/7/2019 Sergio Reyes Jimenez                        $13.50   57.27   $   15.00   $   85.90   $ 129.50   $   215.40
  4/14/2019 Sergio Reyes Jimenez                        $13.50   56.43   $   15.00   $   84.65   $ 123.25   $   207.90
  4/21/2019 Sergio Reyes Jimenez                        $13.50   50.35   $   15.00   $   75.53   $ 77.63    $   153.15
  4/28/2019 Sergio Reyes Jimenez                        $13.50   57.28   $   15.00   $   85.93   $ 129.63   $   215.55
   5/5/2019 Sergio Reyes Jimenez                        $13.50   58.65   $   15.00   $   87.98   $ 139.88   $   227.85
  5/12/2019 Sergio Reyes Jimenez                        $13.50   56.27   $   15.00   $   84.40   $ 122.00   $   206.40
  5/19/2019 Sergio Reyes Jimenez                        $13.50   59.13   $   15.00   $   88.70   $ 143.50   $   232.20
  5/26/2019 Sergio Reyes Jimenez                        $13.50   58.38   $   15.00   $   87.58   $ 137.88   $   225.45
   6/2/2019 Sergio Reyes Jimenez                        $13.50   48.85   $   15.00   $   73.28   $ 66.38    $   139.65
   6/9/2019 Sergio Reyes Jimenez                        $13.50   57.75   $   15.00   $   86.63   $ 133.13   $   219.75
  6/16/2019 Sergio Reyes Jimenez                        $13.50   60.37   $   15.00   $   90.55   $ 152.75   $   243.30
  6/23/2019 Sergio Reyes Jimenez                        $13.50   59.78   $   15.00   $   89.68   $ 148.38   $   238.05
  6/30/2019 Sergio Reyes Jimenez                        $13.50   62.67   $   15.00   $   94.00   $ 170.00   $   264.00
   7/7/2019 Sergio Reyes Jimenez                        $13.50   50.57   $   15.00   $   75.85   $ 79.25    $   155.10
  7/14/2019 Sergio Reyes Jimenez                        $13.50   63.30   $   15.00   $   94.95   $ 174.75   $   269.70
  7/21/2019 Sergio Reyes Jimenez                        $13.50   62.98   $   15.00   $   94.48   $ 172.38   $   266.85
  7/28/2019 Sergio Reyes Jimenez                        $13.50   62.78   $   15.00   $   94.18   $ 170.88   $   265.05
   8/4/2019 Sergio Reyes Jimenez                        $13.50   54.42   $   15.00   $   81.63   $ 108.13   $   189.75
  8/11/2019 Sergio Reyes Jimenez                        $13.50   64.02   $   15.00   $   96.03   $ 180.13   $   276.15
  8/18/2019 Sergio Reyes Jimenez                        $13.50   59.37   $   15.00   $   89.05   $ 145.25   $   234.30
  8/25/2019 Sergio Reyes Jimenez                        $13.50   53.63   $   15.00   $   80.45   $ 102.25   $   182.70
   9/1/2019 Sergio Reyes Jimenez                        $13.50   56.72   $   15.00   $   85.08   $ 125.38   $   210.45
   9/8/2019 Sergio Reyes Jimenez                        $13.50   44.55   $   15.00   $   66.83   $ 34.13    $   100.95
  9/15/2019 Sergio Reyes Jimenez                        $13.50   56.80   $   15.00   $   85.20   $ 126.00   $   211.20
  9/22/2019 Sergio Reyes Jimenez                        $13.50   57.77   $   15.00   $   86.65   $ 133.25   $   219.90
  9/29/2019 Sergio Reyes Jimenez                        $13.50   57.80   $   15.00   $   86.70   $ 133.50   $   220.20
  10/6/2019 Sergio Reyes Jimenez                        $13.50   55.30   $   15.00   $   82.95   $ 114.75   $   197.70



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                                             New York City Computations


   Week                                                                   State Section 7: Section 7: Total Section 7
                                                          Hourly Hours/
  Ending                          Name                                  Minimum Regular Half-time Overtime Back
                                                           Rate Week
   Date                                                                  Wage   Rate Due     Due       Wages Due

 10/13/2019 Sergio Reyes Jimenez                           $13.50   44.15   $   15.00   $   66.23   $ 31.13    $    97.35
 10/20/2019 Sergio Reyes Jimenez                           $13.50   48.15   $   15.00   $   72.23   $ 61.13    $   133.35
 10/27/2019 Sergio Reyes Jimenez                           $13.50   59.27   $   15.00   $   88.90   $ 144.50   $   233.40
  11/3/2019 Sergio Reyes Jimenez                           $13.50   52.78   $   15.00   $   79.18   $ 95.88    $   175.05
 11/10/2019 Sergio Reyes Jimenez                           $13.50   53.28   $   15.00   $   79.93   $ 99.63    $   179.55
 11/17/2019 Sergio Reyes Jimenez                           $13.50   53.97   $   15.00   $   80.95   $ 104.75   $   185.70
 11/24/2019 Sergio Reyes Jimenez                           $13.50   52.75   $   15.00   $   79.13   $ 95.63    $   174.75
  12/8/2019 Sergio Reyes Jimenez                           $13.50   52.67   $   15.00   $   79.00   $ 95.00    $   174.00
 12/15/2019 Sergio Reyes Jimenez                           $13.50   51.98   $   15.00   $   77.98   $ 89.88    $   167.85
 12/22/2019 Sergio Reyes Jimenez                           $13.50   59.37   $   15.00   $   89.05   $ 145.25   $   234.30
 12/29/2019 Sergio Reyes Jimenez                           $13.50   46.27   $   15.00   $   69.40   $ 47.00    $   116.40
   1/5/2020 Sergio Reyes Jimenez                           $13.50   47.03   $   15.00   $   70.55   $ 52.75    $   123.30
  1/12/2020 Sergio Reyes Jimenez                           $13.50   51.50   $   15.00   $   77.25   $ 86.25    $   163.50
  1/19/2020 Sergio Reyes Jimenez                           $13.50   49.83   $   15.00   $   74.75   $ 73.75    $   148.50
  1/26/2020 Sergio Reyes Jimenez                           $13.50   53.02   $   15.00   $   79.53   $ 97.63    $   177.15
   4/1/2018 Shakir A. Grier                                $16.50   42.00   $   13.00               $ 16.50    $    16.50
  4/15/2018 Shakir A. Grier                                $16.50   40.17   $   13.00               $   1.37   $     1.37
  4/22/2018 Shakir A. Grier                                $16.50   40.65   $   13.00               $   5.36   $     5.36
   5/6/2018 Shakir A. Grier                                $16.50   45.07   $   13.00               $ 41.80    $    41.80
  5/13/2018 Shakir A. Grier                                $16.50   44.77   $   13.00               $ 39.33    $    39.33
  5/20/2018 Shakir A. Grier                                $16.50   42.93   $   13.00               $ 24.20    $    24.20
  5/27/2018 Shakir A. Grier                                $16.50   43.22   $   13.00               $ 26.54    $    26.54
  6/10/2018 Shakir A. Grier                                $16.50   43.20   $   13.00               $ 26.40    $    26.40
  6/17/2018 Shakir A. Grier                                $16.50   43.13   $   13.00               $ 25.85    $    25.85
  6/24/2018 Shakir A. Grier                                $16.50   44.60   $   13.00               $ 37.95    $    37.95
   7/1/2018 Shakir A. Grier                                $16.50   48.32   $   13.00               $ 68.61    $    68.61
   7/8/2018 Shakir A. Grier                                $16.50   46.67   $   13.00               $ 55.00    $    55.00
  7/15/2018 Shakir A. Grier                                $16.50   45.52   $   13.00               $ 45.51    $    45.51
  7/22/2018 Shakir A. Grier                                $16.50   48.63   $   13.00               $ 71.23    $    71.23
  7/29/2018 Shakir A. Grier                                $16.50   44.97   $   13.00               $ 40.98    $    40.98
  8/19/2018 Shane Olatunde - Valet @ Mazda                 $16.50   43.57   $   13.00               $ 29.43    $    29.43
   9/2/2018 Shane Olatunde - Valet @ Mazda                 $16.50   42.40   $   13.00               $ 19.80    $    19.80
  9/16/2018 Shane Olatunde - Valet @ Mazda                 $16.50   44.15   $   13.00               $ 34.24    $    34.24
  9/23/2018 Shane Olatunde - Valet @ Mazda                 $16.50   43.45   $   13.00               $ 28.46    $    28.46
  9/30/2018 Shane Olatunde - Valet @ Mazda                 $16.50   48.80   $   13.00               $ 72.60    $    72.60
  10/7/2018 Shane Olatunde - Valet @ Mazda                 $16.50   40.93   $   13.00               $   7.70   $     7.70
 10/21/2018 Shane Olatunde - Valet @ Mazda                 $16.50   50.82   $   13.00               $ 89.24    $    89.24
  11/4/2018 Shane Olatunde - Valet @ Mazda                 $16.50   48.30   $   13.00               $ 68.48    $    68.48
 11/11/2018 Shane Olatunde - Valet @ Mazda                 $16.50   48.10   $   13.00               $ 66.83    $    66.83
 11/25/2018 Shane Olatunde - Valet @ Mazda                 $16.50   41.48   $   13.00               $ 12.24    $    12.24
  12/2/2018 Shane Olatunde - Valet @ Mazda                 $16.50   42.40   $   13.00               $ 19.80    $    19.80
  12/9/2018 Shane Olatunde - Valet @ Mazda                 $16.50   57.72   $   13.00               $ 146.16   $   146.16
 12/16/2018 Shane Olatunde - Valet @ Mazda                 $16.50   55.82   $   13.00               $ 130.49   $   130.49
 12/23/2018 Shane Olatunde - Valet @ Mazda                 $16.50   51.08   $   13.00               $ 91.44    $    91.44
   1/6/2019 Shane Olatunde - Valet @ Mazda                 $16.50   51.28   $   15.00               $ 93.09    $    93.09
  1/13/2019 Shane Olatunde - Valet @ Mazda                 $16.50   46.52   $   15.00               $ 53.76    $    53.76
  1/20/2019 Shane Olatunde - Valet @ Mazda                 $16.50   47.77   $   15.00               $ 64.08    $    64.08
   2/3/2019 Shane Olatunde - Valet @ Mazda                 $16.50   47.80   $   15.00               $ 64.35    $    64.35
  2/10/2019 Shane Olatunde - Valet @ Mazda                 $16.50   43.78   $   15.00               $ 31.21    $    31.21
  2/17/2019 Shane Olatunde - Valet @ Mazda                 $16.50   49.22   $   15.00               $ 76.04    $    76.04
  2/24/2019 Shane Olatunde - Valet @ Mazda                 $16.50   50.08   $   15.00               $ 83.19    $    83.19
   3/3/2019 Shane Olatunde - Valet @ Mazda                 $16.50   50.92   $   15.00               $ 90.06    $    90.06
  3/10/2019 Shane Olatunde - Valet @ Mazda                 $16.50   47.87   $   15.00               $ 64.90    $    64.90
  3/17/2019 Shane Olatunde - Valet @ Mazda                 $16.50   48.52   $   15.00               $ 70.26    $    70.26
  3/24/2019 Shane Olatunde - Valet @ Mazda                 $19.00   46.95   $   15.00               $ 66.03    $    66.03
   4/7/2019 Shane Olatunde - Valet @ Mazda                 $19.00   47.27   $   15.00               $ 69.03    $    69.03
  4/14/2019 Shane Olatunde - Valet @ Mazda                 $19.00   47.03   $   15.00               $ 66.82    $    66.82
  2/10/2019 Shon Lambert                                   $19.00   40.20   $   15.00               $   1.90   $     1.90



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   Week                                                                State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
  Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                        Rate Week
   Date                                                               Wage   Rate Due     Due       Wages Due

  2/17/2019 Shon Lambert                                $19.00   46.42   $   15.00              $ 60.96    $    60.96
  3/10/2019 Shon Lambert                                $19.00   44.40   $   15.00              $ 41.80    $    41.80
   6/9/2019 Shon Lambert                                $19.00   40.58   $   15.00              $   5.54   $     5.54
  6/23/2019 Shon Lambert                                $19.00   47.60   $   15.00              $ 72.20    $    72.20
  6/30/2019 Shon Lambert                                $19.00   47.18   $   15.00              $ 68.24    $    68.24
   7/7/2019 Shon Lambert                                $19.00   47.20   $   15.00              $ 68.40    $    68.40
  7/14/2019 Shon Lambert                                $19.00   47.53   $   15.00              $ 71.57    $    71.57
  7/21/2019 Shon Lambert                                $19.00   47.52   $   15.00              $ 71.41    $    71.41
   8/4/2019 Shon Lambert                                $19.00   47.60   $   15.00              $ 72.20    $    72.20
  8/11/2019 Shon Lambert                                $19.00   47.97   $   15.00              $ 75.68    $    75.68
  8/18/2019 Shon Lambert                                $19.00   48.93   $   15.00              $ 84.87    $    84.87
  8/25/2019 Shon Lambert                                $19.00   47.73   $   15.00              $ 73.47    $    73.47
   9/1/2019 Shon Lambert                                $19.00   47.32   $   15.00              $ 69.51    $    69.51
  9/15/2019 Shon Lambert                                $19.00   53.02   $   15.00              $ 123.66   $   123.66
  9/22/2019 Shon Lambert                                $19.00   47.78   $   15.00              $ 73.94    $    73.94
  9/29/2019 Shon Lambert                                $19.00   47.48   $   15.00              $ 71.09    $    71.09
  10/6/2019 Shon Lambert                                $19.00   47.78   $   15.00              $ 73.94    $    73.94
 10/13/2019 Shon Lambert                                $19.00   47.57   $   15.00              $ 71.88    $    71.88
 11/10/2019 Shon Lambert                                $19.00   47.43   $   15.00              $ 70.62    $    70.62
 11/24/2019 Shon Lambert                                $19.00   47.97   $   15.00              $ 75.68    $    75.68
  12/1/2019 Shon Lambert                                $19.00   47.60   $   15.00              $ 72.20    $    72.20
  12/8/2019 Shon Lambert                                $19.00   56.98   $   15.00              $ 161.34   $   161.34
 12/15/2019 Shon Lambert                                $19.00   57.43   $   15.00              $ 165.62   $   165.62
 12/22/2019 Shon Lambert                                $19.00   51.83   $   15.00              $ 112.42   $   112.42
  1/19/2020 Shon Lambert                                $19.00   57.78   $   15.00              $ 168.94   $   168.94
  1/26/2020 Shon Lambert                                $19.00   57.05   $   15.00              $ 161.98   $   161.98
 10/29/2017 Sihan Pinales Soto                          $11.00   52.80   $   11.00              $ 70.40    $    70.40
  11/5/2017 Sihan Pinales Soto                          $11.00   41.82   $   11.00              $   9.99   $     9.99
 11/12/2017 Sihan Pinales Soto                          $11.00   45.78   $   11.00              $ 31.81    $    31.81
  8/20/2017 Silverio Cruz Linares                        $9.00   61.10   $   11.00   $ 122.20   $ 116.05   $   238.25
  8/27/2017 Silverio Cruz Linares                        $9.00   60.03   $   11.00   $ 120.07   $ 110.18   $   230.25
   9/3/2017 Silverio Cruz Linares                        $9.00   52.52   $   11.00   $ 105.03   $ 68.84    $   173.88
  9/10/2017 Silverio Cruz Linares                        $9.00   41.75   $   11.00   $ 83.50    $   9.63   $    93.13
  9/17/2017 Silverio Cruz Linares                        $9.00   57.67   $   11.00   $ 115.33   $ 97.17    $   212.50
  9/24/2017 Silverio Cruz Linares                        $9.00   70.43   $   11.00   $ 140.87   $ 167.38   $   308.25
  10/1/2017 Silverio Cruz Linares                        $9.00   71.00   $   11.00   $ 142.00   $ 170.50   $   312.50
  10/8/2017 Silverio Cruz Linares                        $9.00   70.22   $   11.00   $ 140.43   $ 166.19   $   306.63
 10/15/2017 Silverio Cruz Linares                        $9.00   70.85   $   11.00   $ 141.70   $ 169.68   $   311.38
   2/5/2017 Socrates Luzon - Car Washer                 $11.00   59.08   $   11.00              $ 104.96   $   104.96
  2/12/2017 Socrates Luzon - Car Washer                 $11.00   50.98   $   11.00              $ 60.41    $    60.41
  2/19/2017 Socrates Luzon - Car Washer                 $11.00   60.10   $   11.00              $ 110.55   $   110.55
  2/26/2017 Socrates Luzon - Car Washer                 $11.00   60.15   $   11.00              $ 110.83   $   110.83
   3/5/2017 Socrates Luzon - Car Washer                 $11.00   62.50   $   11.00              $ 123.75   $   123.75
  3/12/2017 Socrates Luzon - Car Washer                 $11.00   65.77   $   11.00              $ 141.72   $   141.72
  3/19/2017 Socrates Luzon - Car Washer                 $11.00   54.23   $   11.00              $ 78.28    $    78.28
  4/23/2017 Socrates Luzon - Car Washer                 $11.00   47.50   $   11.00              $ 41.25    $    41.25
  4/30/2017 Socrates Luzon - Car Washer                 $11.00   46.27   $   11.00              $ 34.47    $    34.47
   5/7/2017 Socrates Luzon - Car Washer                 $11.00   46.63   $   11.00              $ 36.48    $    36.48
  5/14/2017 Socrates Luzon - Car Washer                 $11.00   46.78   $   11.00              $ 37.31    $    37.31
  5/21/2017 Socrates Luzon - Car Washer                 $11.00   46.60   $   11.00              $ 36.30    $    36.30
  5/28/2017 Socrates Luzon - Car Washer                 $11.00   55.65   $   11.00              $ 86.08    $    86.08
   6/4/2017 Socrates Luzon - Car Washer                 $11.00   46.43   $   11.00              $ 35.38    $    35.38
  6/11/2017 Socrates Luzon - Car Washer                 $11.00   55.32   $   11.00              $ 84.24    $    84.24
  6/18/2017 Socrates Luzon - Car Washer                 $11.00   55.08   $   11.00              $ 82.96    $    82.96
  6/25/2017 Socrates Luzon - Car Washer                 $11.00   54.77   $   11.00              $ 81.22    $    81.22
   7/9/2017 Socrates Luzon - Car Washer                 $11.00   48.12   $   11.00              $ 44.64    $    44.64
  7/16/2017 Socrates Luzon - Car Washer                 $11.00   53.97   $   11.00              $ 76.82    $    76.82
  7/23/2017 Socrates Luzon - Car Washer                 $11.00   65.18   $   11.00              $ 138.51   $   138.51



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   Week                                                                State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
  Ending                           Name                              Minimum Regular Half-time Overtime Back
                                                        Rate Week
   Date                                                               Wage   Rate Due     Due       Wages Due

  7/30/2017 Socrates Luzon - Car Washer                 $11.00   65.42   $   11.00                $ 139.79   $   139.79
   8/6/2017 Socrates Luzon - Car Washer                 $11.00   65.67   $   11.00                $ 141.17   $   141.17
  8/13/2017 Socrates Luzon - Car Washer                 $11.00   53.55   $   11.00                $ 74.53    $    74.53
  8/20/2017 Socrates Luzon - Car Washer                 $11.00   65.62   $   11.00                $ 140.89   $   140.89
  8/27/2017 Socrates Luzon - Car Washer                 $11.00   62.37   $   11.00                $ 123.02   $   123.02
   9/3/2017 Socrates Luzon - Car Washer                 $11.00   65.30   $   11.00                $ 139.15   $   139.15
  9/10/2017 Socrates Luzon - Car Washer                 $11.00   53.58   $   11.00                $ 74.71    $    74.71
  9/17/2017 Socrates Luzon - Car Washer                 $11.00   64.43   $   11.00                $ 134.38   $   134.38
  9/24/2017 Socrates Luzon - Car Washer                 $11.00   53.73   $   11.00                $ 75.53    $    75.53
  10/1/2017 Socrates Luzon - Car Washer                 $11.00   53.70   $   11.00                $ 75.35    $    75.35
  10/8/2017 Socrates Luzon - Car Washer                 $11.00   44.03   $   11.00                $ 22.18    $    22.18
 10/15/2017 Socrates Luzon - Car Washer                 $11.00   65.15   $   11.00                $ 138.33   $   138.33
 10/22/2017 Socrates Luzon - Car Washer                 $11.00   65.97   $   11.00                $ 142.82   $   142.82
 10/29/2017 Socrates Luzon - Car Washer                 $11.00   63.33   $   11.00                $ 128.33   $   128.33
  11/5/2017 Socrates Luzon - Car Washer                 $11.00   63.80   $   11.00                $ 130.90   $   130.90
 11/12/2017 Socrates Luzon - Car Washer                 $11.00   65.23   $   11.00                $ 138.78   $   138.78
 11/19/2017 Socrates Luzon - Car Washer                 $11.00   55.58   $   11.00                $ 85.71    $    85.71
 12/10/2017 Socrates Luzon - Car Washer                 $11.00   47.47   $   11.00                $ 41.07    $    41.07
 12/17/2017 Socrates Luzon - Car Washer                 $11.00   40.38   $   11.00                $   2.11   $     2.11
 12/24/2017 Socrates Luzon - Car Washer                 $11.00   45.70   $   11.00                $ 31.35    $    31.35
  1/14/2018 Socrates Luzon - Car Washer                 $11.00   42.00   $   13.00   $ 84.00      $ 13.00    $    97.00
  4/22/2018 Socrates Luzon - Car Washer                 $11.00   48.87   $   13.00   $ 97.73      $ 57.63    $   155.37
  4/29/2018 Socrates Luzon - Car Washer                 $11.00   49.00   $   13.00   $ 98.00      $ 58.50    $   156.50
   5/6/2018 Socrates Luzon - Car Washer                 $11.00   48.53   $   13.00   $ 97.07      $ 55.47    $   152.53
  5/13/2018 Socrates Luzon - Car Washer                 $11.00   49.12   $   13.00   $ 98.23      $ 59.26    $   157.49
  5/20/2018 Socrates Luzon - Car Washer                 $11.00   41.28   $   13.00   $ 82.57      $   8.34   $    90.91
  5/27/2018 Socrates Luzon - Car Washer                 $11.00   49.12   $   13.00   $ 98.23      $ 59.26    $   157.49
   6/3/2018 Socrates Luzon - Car Washer                 $11.00   47.60   $   13.00   $ 95.20      $ 49.40    $   144.60
  6/10/2018 Socrates Luzon - Car Washer                 $11.00   49.57   $   13.00   $ 99.13      $ 62.18    $   161.32
  6/17/2018 Socrates Luzon - Car Washer                 $11.00   51.00   $   13.00   $ 102.00     $ 71.50    $   173.50
  6/24/2018 Socrates Luzon - Car Washer                 $11.00   46.32   $   13.00   $ 92.63      $ 41.06    $   133.69
   8/5/2018 Socrates Luzon - Car Washer                 $17.00   54.83   $   13.00                $ 126.08   $   126.08
  8/12/2018 Socrates Luzon - Car Washer                 $17.00   51.00   $   13.00                $ 93.50    $    93.50
  8/19/2018 Socrates Luzon - Car Washer                 $17.00   50.22   $   13.00                $ 86.84    $    86.84
  8/26/2018 Socrates Luzon - Car Washer                 $17.00   50.92   $   13.00                $ 92.79    $    92.79
   9/2/2018 Socrates Luzon - Car Washer                 $17.00   51.25   $   13.00                $ 95.63    $    95.63
   9/9/2018 Socrates Luzon - Car Washer                 $17.00   40.12   $   13.00                $   0.99   $     0.99
  9/16/2018 Socrates Luzon - Car Washer                 $17.00   50.28   $   13.00                $ 87.41    $    87.41
  9/23/2018 Socrates Luzon - Car Washer                 $17.00   50.28   $   13.00                $ 87.41    $    87.41
  8/18/2019 Socrates Mencia Sosa                        $11.00   69.60   $   15.00   $   278.40   $ 222.00   $   500.40
  8/25/2019 Socrates Mencia Sosa                        $11.00   66.73   $   15.00   $   266.93   $ 200.50   $   467.43
   9/1/2019 Socrates Mencia Sosa                        $11.00   50.78   $   15.00   $   203.13   $ 80.88    $   284.01
   9/8/2019 Socrates Mencia Sosa                        $11.00   57.00   $   15.00   $   228.00   $ 127.50   $   355.50
  9/15/2019 Socrates Mencia Sosa                        $11.00   50.07   $   15.00   $   200.27   $ 75.50    $   275.77
  9/22/2019 Socrates Mencia Sosa                        $11.00   60.70   $   15.00   $   242.80   $ 155.25   $   398.05
  9/29/2019 Socrates Mencia Sosa                        $11.00   60.22   $   15.00   $   240.87   $ 151.63   $   392.49
  10/6/2019 Socrates Mencia Sosa                        $11.00   61.78   $   15.00   $   247.13   $ 163.38   $   410.51
 10/13/2019 Socrates Mencia Sosa                        $11.00   59.93   $   15.00   $   239.73   $ 149.50   $   389.23
 10/20/2019 Socrates Mencia Sosa                        $11.00   51.83   $   15.00   $   207.33   $ 88.75    $   296.08
 10/27/2019 Socrates Mencia Sosa                        $11.00   51.10   $   15.00   $   204.40   $ 83.25    $   287.65
 12/15/2019 Socrates Mencia Sosa                        $11.00   54.45   $   15.00   $   217.80   $ 108.38   $   326.18
 12/22/2019 Socrates Mencia Sosa                        $11.00   69.10   $   15.00   $   276.40   $ 218.25   $   494.65
 12/29/2019 Socrates Mencia Sosa                        $11.00   49.85   $   15.00   $   199.40   $ 73.88    $   273.28
   1/5/2020 Socrates Mencia Sosa                        $11.00   51.58   $   15.00   $   206.33   $ 86.88    $   293.21
  1/12/2020 Socrates Mencia Sosa                        $11.00   60.40   $   15.00   $   241.60   $ 153.00   $   394.60
  1/19/2020 Socrates Mencia Sosa                        $11.00   61.40   $   15.00   $   245.60   $ 160.50   $   406.10
  1/26/2020 Socrates Mencia Sosa                        $11.00   50.05   $   15.00   $   200.20   $ 75.38    $   275.58
  7/23/2017 Steve Simancas                              $13.00   44.13   $   11.00                $ 26.87    $    26.87



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   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                     Name                              Minimum Regular Half-time Overtime Back
                                                  Rate Week
   Date                                                         Wage   Rate Due     Due       Wages Due

  7/30/2017 Steve Simancas                        $13.00   46.07   $   11.00       $ 39.43    $       39.43
   8/6/2017 Steve Simancas                        $13.00   46.35   $   11.00       $ 41.28    $       41.28
  8/13/2017 Steve Simancas                        $13.00   45.83   $   11.00       $ 37.92    $       37.92
  8/20/2017 Steve Simancas                        $13.00   45.15   $   11.00       $ 33.48    $       33.48
   9/3/2017 Steve Simancas                        $13.00   45.07   $   11.00       $ 32.93    $       32.93
  9/17/2017 Steve Simancas                        $13.00   40.93   $   11.00       $   6.07   $        6.07
  9/24/2017 Steve Simancas                        $13.00   46.18   $   11.00       $ 40.19    $       40.19
  10/1/2017 Steve Simancas                        $13.00   48.07   $   11.00       $ 52.43    $       52.43
  10/8/2017 Steve Simancas                        $13.00   47.02   $   11.00       $ 45.61    $       45.61
 10/15/2017 Steve Simancas                        $13.00   44.83   $   11.00       $ 31.42    $       31.42
 10/22/2017 Steve Simancas                        $13.00   45.12   $   11.00       $ 33.26    $       33.26
 10/29/2017 Steve Simancas                        $13.00   50.55   $   11.00       $ 68.58    $       68.58
  11/5/2017 Steve Simancas                        $13.00   55.17   $   11.00       $ 98.58    $       98.58
 11/12/2017 Steve Simancas                        $13.00   50.62   $   11.00       $ 69.01    $       69.01
 11/19/2017 Steve Simancas                        $13.00   54.25   $   11.00       $ 92.63    $       92.63
  12/3/2017 Steve Simancas                        $13.00   54.12   $   11.00       $ 91.76    $       91.76
 12/10/2017 Steve Simancas                        $13.00   52.02   $   11.00       $ 78.11    $       78.11
 12/17/2017 Steve Simancas                        $13.00   52.18   $   11.00       $ 79.19    $       79.19
 12/24/2017 Steve Simancas                        $13.00   52.05   $   11.00       $ 78.33    $       78.33
 12/31/2017 Steve Simancas                        $13.00   43.18   $   13.00       $ 20.69    $       20.69
  1/14/2018 Steve Simancas                        $13.00   54.92   $   13.00       $ 96.96    $       96.96
  1/21/2018 Steve Simancas                        $13.00   52.70   $   13.00       $ 82.55    $       82.55
  1/28/2018 Steve Simancas                        $13.00   43.13   $   13.00       $ 20.37    $       20.37
   2/4/2018 Steve Simancas                        $13.00   51.70   $   13.00       $ 76.05    $       76.05
  2/11/2018 Steve Simancas                        $13.00   52.22   $   13.00       $ 79.41    $       79.41
  2/18/2018 Steve Simancas                        $13.00   45.17   $   13.00       $ 33.58    $       33.58
  2/25/2018 Steve Simancas                        $13.00   52.33   $   13.00       $ 80.17    $       80.17
   3/4/2018 Steve Simancas                        $13.00   51.27   $   13.00       $ 73.23    $       73.23
  3/25/2018 Steve Simancas                        $13.00   46.52   $   13.00       $ 42.36    $       42.36
   4/1/2018 Steve Simancas                        $13.00   50.77   $   13.00       $ 69.98    $       69.98
   4/8/2018 Steve Simancas                        $13.00   52.12   $   13.00       $ 78.76    $       78.76
  4/15/2018 Steve Simancas                        $13.00   50.23   $   13.00       $ 66.52    $       66.52
  4/22/2018 Steve Simancas                        $13.00   47.17   $   13.00       $ 46.58    $       46.58
  4/29/2018 Steve Simancas                        $13.00   53.67   $   13.00       $ 88.83    $       88.83
   5/6/2018 Steve Simancas                        $13.00   55.57   $   13.00       $ 101.18   $      101.18
  5/13/2018 Steve Simancas                        $13.00   54.83   $   13.00       $ 96.42    $       96.42
  5/20/2018 Steve Simancas                        $13.00   51.78   $   13.00       $ 76.59    $       76.59
  5/27/2018 Steve Simancas                        $13.00   54.45   $   13.00       $ 93.93    $       93.93
   6/3/2018 Steve Simancas                        $13.00   42.97   $   13.00       $ 19.28    $       19.28
  6/10/2018 Steve Simancas                        $13.00   54.28   $   13.00       $ 92.84    $       92.84
  6/17/2018 Steve Simancas                        $13.00   53.98   $   13.00       $ 90.89    $       90.89
  6/24/2018 Steve Simancas                        $13.00   53.78   $   13.00       $ 89.59    $       89.59
   7/1/2018 Steve Simancas                        $13.00   53.95   $   13.00       $ 90.68    $       90.68
   7/8/2018 Steve Simancas                        $13.00   42.58   $   13.00       $ 16.79    $       16.79
  7/15/2018 Steve Simancas                        $13.00   51.90   $   13.00       $ 77.35    $       77.35
  7/22/2018 Steve Simancas                        $13.00   54.12   $   13.00       $ 91.76    $       91.76
  7/29/2018 Steve Simancas                        $13.00   54.17   $   13.00       $ 92.08    $       92.08
   8/5/2018 Steve Simancas                        $13.00   54.93   $   13.00       $ 97.07    $       97.07
  8/12/2018 Steve Simancas                        $13.00   41.30   $   13.00       $   8.45   $        8.45
  8/19/2018 Steve Simancas                        $13.00   52.75   $   13.00       $ 82.88    $       82.88
  8/26/2018 Steve Simancas                        $13.00   54.82   $   13.00       $ 96.31    $       96.31
   9/2/2018 Steve Simancas                        $13.00   56.47   $   13.00       $ 107.03   $      107.03
   9/9/2018 Steve Simancas                        $13.00   47.30   $   13.00       $ 47.45    $       47.45
  9/16/2018 Steve Simancas                        $13.00   60.33   $   13.00       $ 132.17   $      132.17
  9/30/2018 Steve Simancas                        $13.00   41.32   $   13.00       $   8.56   $        8.56
 10/14/2018 Steve Simancas                        $13.00   61.32   $   13.00       $ 138.56   $      138.56
 10/21/2018 Steve Simancas                        $13.00   58.33   $   13.00       $ 119.17   $      119.17
 10/28/2018 Steve Simancas                        $13.00   61.03   $   13.00       $ 136.72   $      136.72



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   Week                                                                        State Section 7: Section 7: Total Section 7
                                                               Hourly Hours/
  Ending                          Name                                       Minimum Regular Half-time Overtime Back
                                                                Rate Week
   Date                                                                       Wage   Rate Due     Due       Wages Due

  11/4/2018 Steve Simancas                                      $13.00   53.22   $   13.00               $ 85.91    $    85.91
 11/11/2018 Steve Simancas                                      $13.00   59.08   $   13.00               $ 124.04   $   124.04
 11/18/2018 Steve Simancas                                      $13.00   59.43   $   13.00               $ 126.32   $   126.32
 11/25/2018 Steve Simancas                                      $13.00   40.10   $   13.00               $   0.65   $     0.65
  12/9/2018 Steve Simancas                                      $13.00   59.08   $   13.00               $ 124.04   $   124.04
 12/16/2018 Steve Simancas                                      $13.00   58.68   $   13.00               $ 121.44   $   121.44
 12/23/2018 Steve Simancas                                      $13.00   57.82   $   13.00               $ 115.81   $   115.81
  2/10/2019 Steven Michel Ortiz Acevedo                         $16.50   49.00   $   15.00               $ 74.25    $    74.25
  2/17/2019 Steven Michel Ortiz Acevedo                         $16.50   52.50   $   15.00               $ 103.13   $   103.13
  2/24/2019 Steven Michel Ortiz Acevedo                         $16.50   55.37   $   15.00               $ 126.78   $   126.78
   3/3/2019 Steven Michel Ortiz Acevedo                         $16.50   51.05   $   15.00               $ 91.16    $    91.16
  3/10/2019 Steven Michel Ortiz Acevedo                         $16.50   56.07   $   15.00               $ 132.55   $   132.55
  3/17/2019 Steven Michel Ortiz Acevedo                         $16.50   56.58   $   15.00               $ 136.81   $   136.81
  3/24/2019 Steven Michel Ortiz Acevedo                         $16.50   53.50   $   15.00               $ 111.38   $   111.38
  3/31/2019 Steven Michel Ortiz Acevedo                         $16.50   56.50   $   15.00               $ 136.13   $   136.13
   4/7/2019 Steven Michel Ortiz Acevedo                         $16.50   56.03   $   15.00               $ 132.28   $   132.28
  4/14/2019 Steven Michel Ortiz Acevedo                         $16.50   54.53   $   15.00               $ 119.90   $   119.90
  4/21/2019 Steven Michel Ortiz Acevedo                         $16.50   64.77   $   15.00               $ 204.33   $   204.33
  4/28/2019 Steven Michel Ortiz Acevedo                         $16.50   73.13   $   15.00               $ 273.35   $   273.35
   5/5/2019 Steven Michel Ortiz Acevedo                         $16.50   65.05   $   15.00               $ 206.66   $   206.66
  5/12/2019 Steven Michel Ortiz Acevedo                         $16.50   70.77   $   15.00               $ 253.83   $   253.83
  5/19/2019 Steven Michel Ortiz Acevedo                         $16.50   50.15   $   15.00               $ 83.74    $    83.74
  5/26/2019 Steven Michel Ortiz Acevedo                         $16.50   67.63   $   15.00               $ 227.98   $   227.98
   6/2/2019 Steven Michel Ortiz Acevedo                         $16.50   62.03   $   15.00               $ 181.78   $   181.78
   6/9/2019 Steven Michel Ortiz Acevedo                         $16.50   75.62   $   15.00               $ 293.84   $   293.84
  6/16/2019 Steven Michel Ortiz Acevedo                         $16.50   75.27   $   15.00               $ 290.95   $   290.95
  6/23/2019 Steven Michel Ortiz Acevedo                         $16.50   72.32   $   15.00               $ 266.61   $   266.61
  6/30/2019 Steven Michel Ortiz Acevedo                         $16.50   65.32   $   15.00               $ 208.86   $   208.86
   7/7/2019 Steven Michel Ortiz Acevedo                         $16.50   54.75   $   15.00               $ 121.69   $   121.69
  7/14/2019 Steven Michel Ortiz Acevedo                         $16.50   66.20   $   15.00               $ 216.15   $   216.15
  7/21/2019 Steven Michel Ortiz Acevedo                         $16.50   66.47   $   15.00               $ 218.35   $   218.35
  7/28/2019 Steven Michel Ortiz Acevedo                         $16.50   67.88   $   15.00               $ 230.04   $   230.04
   8/4/2019 Steven Michel Ortiz Acevedo                         $16.50   73.95   $   15.00               $ 280.09   $   280.09
  8/11/2019 Steven Michel Ortiz Acevedo                         $16.50   73.27   $   15.00               $ 274.45   $   274.45
  8/18/2019 Steven Michel Ortiz Acevedo                         $16.50   73.48   $   15.00               $ 276.24   $   276.24
  8/25/2019 Steven Michel Ortiz Acevedo                         $16.50   69.80   $   15.00               $ 245.85   $   245.85
   9/1/2019 Steven Michel Ortiz Acevedo                         $16.50   68.02   $   15.00               $ 231.14   $   231.14
   9/8/2019 Steven Michel Ortiz Acevedo                         $16.50   66.83   $   15.00               $ 221.38   $   221.38
  9/15/2019 Steven Michel Ortiz Acevedo                         $16.50   73.42   $   15.00               $ 275.69   $   275.69
  9/22/2019 Steven Michel Ortiz Acevedo                         $16.50   73.53   $   15.00               $ 276.65   $   276.65
  9/29/2019 Steven Michel Ortiz Acevedo                         $16.50   73.33   $   15.00               $ 275.00   $   275.00
  10/6/2019 Steven Michel Ortiz Acevedo                         $16.50   73.45   $   15.00               $ 275.96   $   275.96
 10/13/2019 Steven Michel Ortiz Acevedo                         $16.50   72.38   $   15.00               $ 267.16   $   267.16
 10/20/2019 Steven Michel Ortiz Acevedo                         $16.50   74.60   $   15.00               $ 285.45   $   285.45
 10/27/2019 Steven Michel Ortiz Acevedo                         $16.50   73.48   $   15.00               $ 276.24   $   276.24
  11/3/2019 Steven Michel Ortiz Acevedo                         $16.50   73.80   $   15.00               $ 278.85   $   278.85
 11/10/2019 Steven Michel Ortiz Acevedo                         $16.50   69.07   $   15.00               $ 239.80   $   239.80
 11/17/2019 Steven Michel Ortiz Acevedo                         $16.50   69.47   $   15.00               $ 243.10   $   243.10
 11/24/2019 Steven Michel Ortiz Acevedo                         $16.50   72.17   $   15.00               $ 265.38   $   265.38
   7/9/2017 Sucadi Davis                                         $9.00   43.68   $   11.00   $   87.37   $ 20.26    $   107.63
  11/4/2018 Susana Piedra - Porter @ Both Showrooms             $16.50   48.48   $   13.00               $ 69.99    $    69.99
 11/11/2018 Susana Piedra - Porter @ Both Showrooms             $16.50   46.48   $   13.00               $ 53.49    $    53.49
 11/18/2018 Susana Piedra - Porter @ Both Showrooms             $16.50   48.60   $   13.00               $ 70.95    $    70.95
  1/13/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   42.22   $   15.00               $ 18.29    $    18.29
  1/27/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   40.83   $   15.00               $   6.87   $     6.87
  2/24/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   41.22   $   15.00               $ 10.04    $    10.04
  3/17/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   46.80   $   15.00               $ 56.10    $    56.10
  4/28/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   42.27   $   15.00               $ 18.70    $    18.70



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   Week                                                                        State Section 7: Section 7: Total Section 7
                                                               Hourly Hours/
  Ending                          Name                                       Minimum Regular Half-time Overtime Back
                                                                Rate Week
   Date                                                                       Wage   Rate Due     Due       Wages Due

   5/5/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   46.58   $   15.00               $ 54.31    $    54.31
  5/26/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   45.58   $   15.00               $ 46.06    $    46.06
   6/9/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   44.88   $   15.00               $ 40.29    $    40.29
  8/25/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   40.78   $   15.00               $   6.46   $     6.46
  9/15/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   40.23   $   15.00               $   1.93   $     1.93
  9/29/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   48.30   $   15.00               $ 68.48    $    68.48
  10/6/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   41.87   $   15.00               $ 15.40    $    15.40
 10/13/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   44.65   $   15.00               $ 38.36    $    38.36
 10/27/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   40.70   $   15.00               $   5.78   $     5.78
  11/3/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   40.68   $   15.00               $   5.64   $     5.64
 11/10/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   48.65   $   15.00               $ 71.36    $    71.36
 11/17/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   42.33   $   15.00               $ 19.25    $    19.25
 11/24/2019 Susana Piedra - Porter @ Both Showrooms             $16.50   47.95   $   15.00               $ 65.59    $    65.59
  7/15/2018 Tahj Silvera                                        $11.00   46.35   $   13.00   $   92.70   $ 41.28    $   133.98
  7/22/2018 Tahj Silvera                                        $11.00   48.30   $   13.00   $   96.60   $ 53.95    $   150.55
  7/29/2018 Tahj Silvera                                        $11.00   46.08   $   13.00   $   92.17   $ 39.54    $   131.71
   8/5/2018 Tahj Silvera                                        $11.00   46.83   $   13.00   $   93.67   $ 44.42    $   138.08
  8/26/2018 Tahj Silvera                                        $16.50   42.00   $   13.00               $ 16.50    $    16.50
   9/9/2018 Tahj Silvera                                        $16.50   42.82   $   13.00               $ 23.24    $    23.24
  9/16/2018 Tahj Silvera                                        $16.50   45.62   $   13.00               $ 46.34    $    46.34
  3/26/2017 Victor DuDamel - Valet                              $11.00   46.85   $   11.00               $ 37.68    $    37.68
   4/2/2017 Victor DuDamel - Valet                              $11.00   46.78   $   11.00               $ 37.31    $    37.31
   4/9/2017 Victor DuDamel - Valet                              $11.00   44.77   $   11.00               $ 26.22    $    26.22
 11/19/2017 Victor DuDamel - Valet                              $16.00   47.03   $   11.00               $ 56.27    $    56.27
 11/26/2017 Victor DuDamel - Valet                              $16.00   42.80   $   11.00               $ 22.40    $    22.40
  12/3/2017 Victor DuDamel - Valet                              $16.00   53.50   $   11.00               $ 108.00   $   108.00
 12/10/2017 Victor DuDamel - Valet                              $16.00   48.93   $   11.00               $ 71.47    $    71.47
 12/17/2017 Victor DuDamel - Valet                              $16.00   49.30   $   11.00               $ 74.40    $    74.40
 12/24/2017 Victor DuDamel - Valet                              $16.00   43.68   $   11.00               $ 29.47    $    29.47
   1/7/2018 Victor DuDamel - Valet                              $16.00   44.82   $   13.00               $ 38.53    $    38.53
  1/14/2018 Victor DuDamel - Valet                              $16.00   46.02   $   13.00               $ 48.13    $    48.13
  1/21/2018 Victor DuDamel - Valet                              $16.00   46.30   $   13.00               $ 50.40    $    50.40
  2/11/2018 Victor DuDamel - Valet                              $16.00   45.33   $   13.00               $ 42.67    $    42.67
  2/18/2018 Victor DuDamel - Valet                              $16.00   46.30   $   13.00               $ 50.40    $    50.40
  2/25/2018 Victor DuDamel - Valet                              $16.00   46.67   $   13.00               $ 53.33    $    53.33
   3/4/2018 Victor DuDamel - Valet                              $16.00   48.27   $   13.00               $ 66.13    $    66.13
  3/25/2018 Victor DuDamel - Valet                              $16.00   44.10   $   13.00               $ 32.80    $    32.80
  7/22/2018 Victor Jose Martinez                                $11.00   48.72   $   13.00   $ 97.43     $ 56.66    $   154.09
  7/29/2018 Victor Jose Martinez                                $11.00   41.37   $   13.00   $ 82.73     $   8.88   $    91.62
 10/21/2018 Vincent Deusanio                                    $12.50   58.83   $   13.00   $ 29.42     $ 122.42   $   151.83
  12/2/2018 Vincent Deusanio                                    $12.50   42.40   $   13.00   $ 21.20     $ 15.60    $    36.80
  12/9/2018 Vincent Deusanio                                    $12.50   41.97   $   13.00   $ 20.98     $ 12.78    $    33.77
  1/13/2019 Vincent Deusanio                                    $12.50   43.73   $   15.00   $ 109.33    $ 28.00    $   137.33
  3/24/2019 Vincent Deusanio                                    $12.50   43.42   $   15.00   $ 108.54    $ 25.63    $   134.17
  4/21/2019 Vincent Deusanio                                    $12.50   45.45   $   15.00   $ 113.63    $ 40.88    $   154.50
  4/28/2019 Vincent Deusanio                                    $12.50   47.22   $   15.00   $ 118.04    $ 54.13    $   172.17
  7/21/2019 Vincent Deusanio                                    $12.50   45.43   $   15.00   $ 113.58    $ 40.75    $   154.33
  8/18/2019 Vincent Deusanio                                    $12.50   44.58   $   15.00   $ 111.46    $ 34.38    $   145.83
  8/25/2019 Vincent Deusanio                                    $12.50   52.55   $   15.00   $ 131.38    $ 94.13    $   225.50
  4/29/2018 Vinicio Caniz                                       $12.00   59.65   $   13.00   $ 59.65     $ 127.73   $   187.38
   5/6/2018 Vinicio Caniz                                       $12.00   59.88   $   13.00   $ 59.88     $ 129.24   $   189.13
  5/13/2018 Vinicio Caniz                                       $12.00   55.93   $   13.00   $ 55.93     $ 103.57   $   159.50
  5/20/2018 Vinicio Caniz                                       $12.00   59.72   $   13.00   $ 59.72     $ 128.16   $   187.88
  5/27/2018 Vinicio Caniz                                       $12.00   62.17   $   13.00   $ 62.17     $ 144.08   $   206.25
   6/3/2018 Vinicio Caniz                                       $12.00   48.68   $   13.00   $ 48.68     $ 56.44    $   105.13
  6/10/2018 Vinicio Caniz                                       $12.00   55.72   $   13.00   $ 55.72     $ 102.16   $   157.88
  6/17/2018 Vinicio Caniz                                       $12.00   58.02   $   13.00   $ 58.02     $ 117.11   $   175.13
  6/24/2018 Vinicio Caniz                                       $12.00   58.83   $   13.00   $ 58.83     $ 122.42   $   181.25



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   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                    Name                              Minimum Regular Half-time Overtime Back
                                                 Rate Week
   Date                                                        Wage   Rate Due     Due       Wages Due

   7/1/2018 Vinicio Caniz                        $12.00   59.12   $   13.00   $   59.12   $ 124.26   $   183.38
   7/8/2018 Vinicio Caniz                        $12.00   47.57   $   13.00   $   47.57   $ 49.18    $    96.75
  7/15/2018 Vinicio Caniz                        $12.00   56.42   $   13.00   $   56.42   $ 106.71   $   163.13
  7/22/2018 Vinicio Caniz                        $12.00   58.53   $   13.00   $   58.53   $ 120.47   $   179.00
  7/29/2018 Vinicio Caniz                        $12.00   57.47   $   13.00   $   57.47   $ 113.53   $   171.00
   8/5/2018 Vinicio Caniz                        $12.00   49.78   $   13.00   $   49.78   $ 63.59    $   113.38
  8/12/2018 Vinicio Caniz                        $12.00   55.93   $   13.00   $   55.93   $ 103.57   $   159.50
  8/19/2018 Vinicio Caniz                        $12.00   57.95   $   13.00   $   57.95   $ 116.68   $   174.63
  8/26/2018 Vinicio Caniz                        $12.00   55.23   $   13.00   $   55.23   $ 99.02    $   154.25
   9/2/2018 Vinicio Caniz                        $12.00   57.40   $   13.00   $   57.40   $ 113.10   $   170.50
   9/9/2018 Vinicio Caniz                        $12.00   47.83   $   13.00   $   47.83   $ 50.92    $    98.75
  9/16/2018 Vinicio Caniz                        $12.00   56.92   $   13.00   $   56.92   $ 109.96   $   166.88
  9/23/2018 Vinicio Caniz                        $16.50   55.58   $   13.00               $ 128.56   $   128.56
  9/30/2018 Vinicio Caniz                        $16.50   59.23   $   13.00               $ 158.68   $   158.68
  10/7/2018 Vinicio Caniz                        $16.50   59.57   $   13.00               $ 161.43   $   161.43
 10/14/2018 Vinicio Caniz                        $16.50   61.37   $   13.00               $ 176.28   $   176.28
 10/21/2018 Vinicio Caniz                        $12.00   45.53   $   13.00   $ 45.53     $ 35.97    $    81.50
 10/28/2018 Vinicio Caniz                        $12.00   57.63   $   13.00   $ 57.63     $ 114.62   $   172.25
  11/4/2018 Vinicio Caniz                        $12.00   59.27   $   13.00   $ 59.27     $ 125.23   $   184.50
 11/11/2018 Vinicio Caniz                        $12.00   56.75   $   13.00   $ 56.75     $ 108.88   $   165.63
 11/18/2018 Vinicio Caniz                        $12.00   58.75   $   13.00   $ 58.75     $ 121.88   $   180.63
 11/25/2018 Vinicio Caniz                        $12.00   48.33   $   13.00   $ 48.33     $ 54.17    $   102.50
  12/2/2018 Vinicio Caniz                        $12.00   59.27   $   13.00   $ 59.27     $ 125.23   $   184.50
  12/9/2018 Vinicio Caniz                        $12.00   53.92   $   13.00   $ 53.92     $ 90.46    $   144.38
 12/16/2018 Vinicio Caniz                        $12.00   58.63   $   13.00   $ 58.63     $ 121.12   $   179.75
  1/13/2019 Vinicio Caniz                        $12.00   57.30   $   15.00   $ 171.90    $ 129.75   $   301.65
  1/20/2019 Vinicio Caniz                        $12.00   52.90   $   15.00   $ 158.70    $ 96.75    $   255.45
  1/27/2019 Vinicio Caniz                        $12.00   53.27   $   15.00   $ 159.80    $ 99.50    $   259.30
   2/3/2019 Vinicio Caniz                        $12.00   57.47   $   15.00   $ 172.40    $ 131.00   $   303.40
  2/10/2019 Vinicio Caniz                        $12.00   44.35   $   15.00   $ 133.05    $ 32.63    $   165.68
  2/17/2019 Vinicio Caniz                        $12.00   58.37   $   15.00   $ 175.10    $ 137.75   $   312.85
  2/24/2019 Vinicio Caniz                        $12.00   48.30   $   15.00   $ 144.90    $ 62.25    $   207.15
   3/3/2019 Vinicio Caniz                        $12.00   56.52   $   15.00   $ 169.55    $ 123.88   $   293.43
  3/10/2019 Vinicio Caniz                        $12.00   54.38   $   15.00   $ 163.15    $ 107.88   $   271.03
  3/17/2019 Vinicio Caniz                        $12.00   47.62   $   15.00   $ 142.85    $ 57.13    $   199.98
  3/24/2019 Vinicio Caniz                        $12.00   59.33   $   15.00   $ 178.00    $ 145.00   $   323.00
  3/31/2019 Vinicio Caniz                        $12.00   55.15   $   15.00   $ 165.45    $ 113.63   $   279.08
   4/7/2019 Vinicio Caniz                        $12.00   57.12   $   15.00   $ 171.35    $ 128.38   $   299.73
  4/14/2019 Vinicio Caniz                        $12.00   54.23   $   15.00   $ 162.70    $ 106.75   $   269.45
  4/21/2019 Vinicio Caniz                        $12.00   56.55   $   15.00   $ 169.65    $ 124.13   $   293.78
  4/28/2019 Vinicio Caniz                        $12.00   59.10   $   15.00   $ 177.30    $ 143.25   $   320.55
   5/5/2019 Vinicio Caniz                        $12.00   57.32   $   15.00   $ 171.95    $ 129.88   $   301.83
  5/12/2019 Vinicio Caniz                        $12.00   56.87   $   15.00   $ 170.60    $ 126.50   $   297.10
  5/19/2019 Vinicio Caniz                        $12.00   57.18   $   15.00   $ 171.55    $ 128.88   $   300.43
  5/26/2019 Vinicio Caniz                        $12.00   58.93   $   15.00   $ 176.80    $ 142.00   $   318.80
   6/2/2019 Vinicio Caniz                        $12.00   49.12   $   15.00   $ 147.35    $ 68.38    $   215.73
   6/9/2019 Vinicio Caniz                        $12.00   58.97   $   15.00   $ 176.90    $ 142.25   $   319.15
  6/16/2019 Vinicio Caniz                        $12.00   58.53   $   15.00   $ 175.60    $ 139.00   $   314.60
  6/23/2019 Vinicio Caniz                        $12.00   58.37   $   15.00   $ 175.10    $ 137.75   $   312.85
  6/30/2019 Vinicio Caniz                        $12.00   59.78   $   15.00   $ 179.35    $ 148.38   $   327.73
   7/7/2019 Vinicio Caniz                        $13.50   48.42   $   15.00   $ 72.63     $ 63.13    $   135.75
  7/14/2019 Vinicio Caniz                        $13.50   51.43   $   15.00   $ 77.15     $ 85.75    $   162.90
  7/21/2019 Vinicio Caniz                        $13.50   55.83   $   15.00   $ 83.75     $ 118.75   $   202.50
  7/28/2019 Vinicio Caniz                        $13.50   57.18   $   15.00   $ 85.78     $ 128.88   $   214.65
   8/4/2019 Vinicio Caniz                        $13.50   59.43   $   15.00   $ 89.15     $ 145.75   $   234.90
  8/11/2019 Vinicio Caniz                        $13.50   54.55   $   15.00   $ 81.83     $ 109.13   $   190.95
  8/18/2019 Vinicio Caniz                        $13.50   56.97   $   15.00   $ 85.45     $ 127.25   $   212.70
  8/25/2019 Vinicio Caniz                        $13.50   57.27   $   15.00   $ 85.90     $ 129.50   $   215.40



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                                                  Exhibit 3
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   Week                                                               State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
  Ending                          Name                              Minimum Regular Half-time Overtime Back
                                                       Rate Week
   Date                                                              Wage   Rate Due     Due       Wages Due

   9/1/2019 Vinicio Caniz                              $13.50   58.20   $   15.00   $    87.30   $ 136.50   $   223.80
   9/8/2019 Vinicio Caniz                              $13.50   46.83   $   15.00   $    70.25   $ 51.25    $   121.50
  9/15/2019 Vinicio Caniz                              $13.50   56.30   $   15.00   $    84.45   $ 122.25   $   206.70
  9/22/2019 Vinicio Caniz                              $13.50   58.38   $   15.00   $    87.58   $ 137.88   $   225.45
  9/29/2019 Vinicio Caniz                              $13.50   59.23   $   15.00   $    88.85   $ 144.25   $   233.10
  10/6/2019 Vinicio Caniz                              $13.50   57.78   $   15.00   $    86.68   $ 133.38   $   220.05
 10/13/2019 Vinicio Caniz                              $13.50   57.42   $   15.00   $    86.13   $ 130.63   $   216.75
 10/20/2019 Vinicio Caniz                              $13.50   58.07   $   15.00   $    87.10   $ 135.50   $   222.60
 10/27/2019 Vinicio Caniz                              $13.50   59.28   $   15.00   $    88.93   $ 144.63   $   233.55
  11/3/2019 Vinicio Caniz                              $13.50   58.00   $   15.00   $    87.00   $ 135.00   $   222.00
 11/10/2019 Vinicio Caniz                              $13.50   58.30   $   15.00   $    87.45   $ 137.25   $   224.70
 11/17/2019 Vinicio Caniz                              $13.50   50.93   $   15.00   $    76.40   $ 82.00    $   158.40
 11/24/2019 Vinicio Caniz                              $13.50   56.43   $   15.00   $    84.65   $ 123.25   $   207.90
  12/1/2019 Vinicio Caniz                              $13.50   45.30   $   15.00   $    67.95   $ 39.75    $   107.70
  12/8/2019 Vinicio Caniz                              $13.50   58.85   $   15.00   $    88.28   $ 141.38   $   229.65
 12/15/2019 Vinicio Caniz                              $13.50   59.48   $   15.00   $    89.23   $ 146.13   $   235.35
 12/22/2019 Vinicio Caniz                              $13.50   53.82   $   15.00   $    80.73   $ 103.63   $   184.35
  1/19/2020 Vinicio Caniz                              $13.50   47.43   $   15.00   $    71.15   $ 55.75    $   126.90
  1/26/2020 Vinicio Caniz                              $13.50   58.68   $   15.00   $    88.03   $ 140.13   $   228.15
  7/21/2019 Virgil Andre Chance                        $19.00   41.05   $   15.00                $   9.97   $     9.97
  8/11/2019 Virgil Andre Chance                        $19.00   45.60   $   15.00                $ 53.20    $    53.20
  8/18/2019 Virgil Andre Chance                        $19.00   41.05   $   15.00                $   9.97   $     9.97
  9/15/2019 Virgil Andre Chance                        $19.00   40.35   $   15.00                $   3.32   $     3.32
  9/29/2019 Virgil Andre Chance                        $19.00   43.43   $   15.00                $ 32.62    $    32.62
 11/17/2019 Virgil Andre Chance                        $19.00   40.93   $   15.00                $   8.87   $     8.87
 11/24/2019 Virgil Andre Chance                        $19.00   40.23   $   15.00                $   2.22   $     2.22
  5/27/2018 Walter Raymundo                            $10.00   61.10   $   13.00   $   183.30   $ 137.15   $   320.45
   6/3/2018 Walter Raymundo                            $10.00   44.52   $   13.00   $   133.55   $ 29.36    $   162.91
  6/10/2018 Walter Raymundo                            $10.00   50.10   $   13.00   $   150.30   $ 65.65    $   215.95
  6/17/2018 Walter Raymundo                            $10.00   57.33   $   13.00   $   172.00   $ 112.67   $   284.67
  6/24/2018 Walter Raymundo                            $10.00   55.20   $   13.00   $   165.60   $ 98.80    $   264.40
   7/1/2018 Walter Raymundo                            $10.00   57.35   $   13.00   $   172.05   $ 112.78   $   284.83
   7/8/2018 Walter Raymundo                            $10.00   42.72   $   13.00   $   128.15   $ 17.66    $   145.81
   6/2/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
   6/9/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
  6/16/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
  6/23/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
  6/30/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
   7/7/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
  7/14/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
  7/21/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
  7/28/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
   8/4/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
  8/11/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
  8/18/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
  8/25/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
   9/1/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
   9/8/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
  9/15/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
  9/22/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
  9/29/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
  10/6/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
 10/13/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
 10/20/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
 10/27/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
  11/3/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
 11/10/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
 11/17/2019 Warrick Dawkins                            $15.00   60.00   $   15.00                $ 150.00   $   150.00



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                                                    Exhibit 3
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   Week                                                                 State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
  Ending                            Name                              Minimum Regular Half-time Overtime Back
                                                         Rate Week
   Date                                                                Wage   Rate Due     Due       Wages Due

 11/24/2019 Warrick Dawkins                              $15.00   60.00   $   15.00                $ 150.00   $   150.00
  12/1/2019 Warrick Dawkins                              $15.00   60.00   $   15.00                $ 150.00   $   150.00
  12/8/2019 Warrick Dawkins                              $15.00   60.00   $   15.00                $ 150.00   $   150.00
 12/15/2019 Warrick Dawkins                              $15.00   60.00   $   15.00                $ 150.00   $   150.00
 12/22/2019 Warrick Dawkins                              $15.00   60.00   $   15.00                $ 150.00   $   150.00
 12/29/2019 Warrick Dawkins                              $15.00   60.00   $   15.00                $ 150.00   $   150.00
   1/5/2020 Warrick Dawkins                              $15.00   60.00   $   15.00                $ 150.00   $   150.00
  1/12/2020 Warrick Dawkins                              $15.00   60.00   $   15.00                $ 150.00   $   150.00
  1/19/2020 Warrick Dawkins                              $15.00   60.00   $   15.00                $ 150.00   $   150.00
  1/26/2020 Warrick Dawkins                              $15.00   60.00   $   15.00                $ 150.00   $   150.00
  6/24/2018 Wilbert Chavez- Valet                        $10.00   42.07   $   13.00   $   126.20   $ 13.43    $   139.63
   7/1/2018 Wilbert Chavez- Valet                        $10.00   53.00   $   13.00   $   159.00   $ 84.50    $   243.50
  7/15/2018 Wilbert Chavez- Valet                        $10.00   52.35   $   13.00   $   157.05   $ 80.28    $   237.33
  7/22/2018 Wilbert Chavez- Valet                        $10.00   56.20   $   13.00   $   168.60   $ 105.30   $   273.90
  7/29/2018 Wilbert Chavez- Valet                        $10.00   53.25   $   13.00   $   159.75   $ 86.13    $   245.88
   8/5/2018 Wilbert Chavez- Valet                        $10.00   52.70   $   13.00   $   158.10   $ 82.55    $   240.65
  8/12/2018 Wilbert Chavez- Valet                        $10.00   49.92   $   13.00   $   149.75   $ 64.46    $   214.21
  8/19/2018 Wilbert Chavez- Valet                        $10.00   49.27   $   13.00   $   147.80   $ 60.23    $   208.03
   9/2/2018 Wilbert Chavez- Valet                        $10.00   53.57   $   13.00   $   160.70   $ 88.18    $   248.88
   9/9/2018 Wilbert Chavez- Valet                        $10.00   49.57   $   13.00   $   148.70   $ 62.18    $   210.88
  9/16/2018 Wilbert Chavez- Valet                        $10.00   50.35   $   13.00   $   151.05   $ 67.28    $   218.33
  9/23/2018 Wilbert Chavez- Valet                        $10.00   49.62   $   13.00   $   148.85   $ 62.51    $   211.36
  9/30/2018 Wilbert Chavez- Valet                        $10.00   49.08   $   13.00   $   147.25   $ 59.04    $   206.29
 10/14/2018 Wilbert Chavez- Valet                        $10.00   49.15   $   13.00   $   147.45   $ 59.48    $   206.93
 10/21/2018 Wilbert Chavez- Valet                        $10.00   50.40   $   13.00   $   151.20   $ 67.60    $   218.80
 10/28/2018 Wilbert Chavez- Valet                        $10.00   49.32   $   13.00   $   147.95   $ 60.56    $   208.51
  11/4/2018 Wilbert Chavez- Valet                        $10.00   48.97   $   13.00   $   146.90   $ 58.28    $   205.18
   5/6/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  5/13/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  5/20/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  5/27/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
   6/3/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  6/10/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  6/17/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  6/24/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
   7/1/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
   7/8/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  7/15/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  7/22/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  7/29/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
   8/5/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  8/12/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  8/19/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  8/26/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
   9/2/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
   9/9/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  9/16/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  9/23/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  9/30/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  10/7/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
 10/14/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
 10/21/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
 10/28/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  11/4/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
 11/11/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
 11/18/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
 11/25/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00
  12/2/2018 Wilbert Par                                  $13.00   60.00   $   13.00                $ 130.00   $   130.00



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                                          Exhibit 3
                                 New York City Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                  Name                              Minimum Regular Half-time Overtime Back
                                               Rate Week
   Date                                                      Wage   Rate Due     Due       Wages Due

  12/9/2018 Wilbert Par                        $13.00   60.00   $   13.00       $   130.00   $    130.00
 12/16/2018 Wilbert Par                        $13.00   60.00   $   13.00       $   130.00   $    130.00
 12/23/2018 Wilbert Par                        $13.00   60.00   $   13.00       $   130.00   $    130.00
 12/30/2018 Wilbert Par                        $13.00   60.00   $   13.00       $   130.00   $    130.00
   1/6/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  1/13/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  1/20/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  1/27/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
   2/3/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  2/10/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  2/17/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  2/24/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
   3/3/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  3/10/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  3/17/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  3/24/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  3/31/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
   4/7/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  4/14/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  4/21/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  4/28/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
   5/5/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  5/12/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  5/19/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  5/26/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
   6/2/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
   6/9/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  6/16/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  6/23/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  6/30/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
   7/7/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  7/14/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  7/21/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  7/28/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
   8/4/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  8/11/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  8/18/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  8/25/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
   9/1/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
   9/8/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  9/15/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  9/22/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  9/29/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  10/6/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
 10/13/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
 10/20/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
 10/27/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  11/3/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
 11/10/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
 11/17/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
 11/24/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  12/1/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  12/8/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
 12/15/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
 12/22/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
 12/29/2019 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
   1/5/2020 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00
  1/12/2020 Wilbert Par                        $15.00   60.00   $   15.00       $   150.00   $    150.00



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   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                      Name                              Minimum Regular Half-time Overtime Back
                                                   Rate Week
   Date                                                          Wage   Rate Due     Due       Wages Due

  1/19/2020 Wilbert Par                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
  1/26/2020 Wilbert Par                            $15.00   60.00   $   15.00                $ 150.00   $   150.00
  4/22/2018 Wilbert Taveras                        $10.00   53.60   $   13.00   $   160.80   $ 88.40    $   249.20
  4/29/2018 Wilbert Taveras                        $10.00   60.20   $   13.00   $   180.60   $ 131.30   $   311.90
   5/6/2018 Wilbert Taveras                        $10.00   62.13   $   13.00   $   186.40   $ 143.87   $   330.27
  5/13/2018 Wilbert Taveras                        $10.00   63.77   $   13.00   $   191.30   $ 154.48   $   345.78
  5/20/2018 Wilbert Taveras                        $10.00   48.77   $   13.00   $   146.30   $ 56.98    $   203.28
  5/27/2018 Wilbert Taveras                        $10.00   61.58   $   13.00   $   184.75   $ 140.29   $   325.04
   6/3/2018 Wilbert Taveras                        $10.00   61.80   $   13.00   $   185.40   $ 141.70   $   327.10
  6/10/2018 Wilbert Taveras                        $10.00   60.95   $   13.00   $   182.85   $ 136.18   $   319.03
  6/17/2018 Wilbert Taveras                        $10.00   62.07   $   13.00   $   186.20   $ 143.43   $   329.63
  6/24/2018 Wilbert Taveras                        $10.00   66.43   $   13.00   $   199.30   $ 171.82   $   371.12
   7/1/2018 Wilbert Taveras                        $10.00   72.10   $   13.00   $   216.30   $ 208.65   $   424.95
   7/8/2018 Wilbert Taveras                        $10.00   57.63   $   13.00   $   172.90   $ 114.62   $   287.52
  7/15/2018 Wilbert Taveras                        $10.00   68.22   $   13.00   $   204.65   $ 183.41   $   388.06
  7/22/2018 Wilbert Taveras                        $10.00   64.62   $   13.00   $   193.85   $ 160.01   $   353.86
  7/29/2018 Wilbert Taveras                        $10.00   65.27   $   13.00   $   195.80   $ 164.23   $   360.03
   8/5/2018 Wilbert Taveras                        $10.00   55.93   $   13.00   $   167.80   $ 103.57   $   271.37
  8/12/2018 Wilbert Taveras                        $10.00   62.72   $   13.00   $   188.15   $ 147.66   $   335.81
  8/19/2018 Wilbert Taveras                        $10.00   46.15   $   13.00   $   138.45   $ 39.98    $   178.43
  8/26/2018 Wilbert Taveras                        $10.00   64.90   $   13.00   $   194.70   $ 161.85   $   356.55
   9/2/2018 Wilbert Taveras                        $10.00   64.00   $   13.00   $   192.00   $ 156.00   $   348.00
   9/9/2018 Wilbert Taveras                        $10.00   52.47   $   13.00   $   157.40   $ 81.03    $   238.43
  9/16/2018 Wilbert Taveras                        $10.00   65.62   $   13.00   $   196.85   $ 166.51   $   363.36
  9/23/2018 Wilbert Taveras                        $10.00   62.07   $   13.00   $   186.20   $ 143.43   $   329.63
  9/30/2018 Wilbert Taveras                        $10.00   63.95   $   13.00   $   191.85   $ 155.68   $   347.53
  10/7/2018 Wilbert Taveras                        $10.00   61.20   $   13.00   $   183.60   $ 137.80   $   321.40
 10/14/2018 Wilbert Taveras                        $10.00   71.80   $   13.00   $   215.40   $ 206.70   $   422.10
 10/21/2018 Wilbert Taveras                        $10.00   62.73   $   13.00   $   188.20   $ 147.77   $   335.97
 10/28/2018 Wilbert Taveras                        $10.00   63.72   $   13.00   $   191.15   $ 154.16   $   345.31
  11/4/2018 Wilbert Taveras                        $10.00   68.83   $   13.00   $   206.50   $ 187.42   $   393.92
 11/11/2018 Wilbert Taveras                        $10.00   70.43   $   13.00   $   211.30   $ 197.82   $   409.12
 11/18/2018 Wilbert Taveras                        $10.00   64.43   $   13.00   $   193.30   $ 158.82   $   352.12
 11/25/2018 Wilbert Taveras                        $10.00   63.03   $   13.00   $   189.10   $ 149.72   $   338.82
  12/2/2018 Wilbert Taveras                        $10.00   67.83   $   13.00   $   203.50   $ 180.92   $   384.42
  12/9/2018 Wilbert Taveras                        $10.00   73.92   $   13.00   $   221.75   $ 220.46   $   442.21
 12/16/2018 Wilbert Taveras                        $10.00   73.27   $   13.00   $   219.80   $ 216.23   $   436.03
 12/23/2018 Wilbert Taveras                        $10.00   71.52   $   13.00   $   214.55   $ 204.86   $   419.41
 12/30/2018 Wilbert Taveras                        $10.00   49.80   $   13.00   $   149.40   $ 63.70    $   213.10
   1/6/2019 Wilbert Taveras                        $10.00   49.22   $   15.00   $   246.08   $ 69.13    $   315.21
  1/13/2019 Wilbert Taveras                        $10.00   73.22   $   15.00   $   366.08   $ 249.13   $   615.21
  1/20/2019 Wilbert Taveras                        $10.00   67.35   $   15.00   $   336.75   $ 205.13   $   541.88
  1/27/2019 Wilbert Taveras                        $10.00   62.38   $   15.00   $   311.92   $ 167.88   $   479.79
  3/17/2019 Wilbert Taveras                        $10.00   42.33   $   15.00   $   211.67   $ 17.50    $   229.17
  3/24/2019 Wilbert Taveras                        $10.00   59.28   $   15.00   $   296.42   $ 144.63   $   441.04
  3/31/2019 Wilbert Taveras                        $10.00   61.25   $   15.00   $   306.25   $ 159.38   $   465.63
   4/7/2019 Wilbert Taveras                        $10.00   65.63   $   15.00   $   328.17   $ 192.25   $   520.42
  4/14/2019 Wilbert Taveras                        $10.00   62.18   $   15.00   $   310.92   $ 166.38   $   477.29
  4/21/2019 Wilbert Taveras                        $10.00   60.25   $   15.00   $   301.25   $ 151.88   $   453.13
  4/28/2019 Wilbert Taveras                        $10.00   62.18   $   15.00   $   310.92   $ 166.38   $   477.29
   5/5/2019 Wilbert Taveras                        $10.00   56.45   $   15.00   $   282.25   $ 123.38   $   405.63
  5/12/2019 Wilbert Taveras                        $10.00   61.88   $   15.00   $   309.42   $ 164.13   $   473.54
  5/19/2019 Wilbert Taveras                        $10.00   60.70   $   15.00   $   303.50   $ 155.25   $   458.75
  5/26/2019 Wilbert Taveras                        $10.00   61.75   $   15.00   $   308.75   $ 163.13   $   471.88
   6/2/2019 Wilbert Taveras                        $10.00   48.88   $   15.00   $   244.42   $ 66.63    $   311.04
   6/9/2019 Wilbert Taveras                        $10.00   60.62   $   15.00   $   303.08   $ 154.63   $   457.71
  6/16/2019 Wilbert Taveras                        $10.00   61.33   $   15.00   $   306.67   $ 160.00   $   466.67
  6/23/2019 Wilbert Taveras                        $10.00   51.42   $   15.00   $   257.08   $ 85.63    $   342.71



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   Week                                                                 State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
  Ending                            Name                              Minimum Regular Half-time Overtime Back
                                                         Rate Week
   Date                                                                Wage   Rate Due     Due       Wages Due

  6/30/2019 Wilbert Taveras                              $10.00   56.97   $   15.00   $   284.83   $ 127.25   $   412.08
   7/7/2019 Wilbert Taveras                              $11.00   53.38   $   15.00   $   213.53   $ 100.38   $   313.91
  7/14/2019 Wilbert Taveras                              $11.00   66.40   $   15.00   $   265.60   $ 198.00   $   463.60
  7/21/2019 Wilbert Taveras                              $11.00   70.88   $   15.00   $   283.53   $ 231.63   $   515.16
  7/28/2019 Wilbert Taveras                              $11.00   69.32   $   15.00   $   277.27   $ 219.88   $   497.14
   8/4/2019 Wilbert Taveras                              $11.00   67.87   $   15.00   $   271.47   $ 209.00   $   480.47
  8/11/2019 Wilbert Taveras                              $11.00   69.47   $   15.00   $   277.87   $ 221.00   $   498.87
  8/18/2019 Wilbert Taveras                              $11.00   67.72   $   15.00   $   270.87   $ 207.88   $   478.74
  8/25/2019 Wilbert Taveras                              $11.00   58.37   $   15.00   $   233.47   $ 137.75   $   371.22
   9/1/2019 Wilbert Taveras                              $11.00   65.93   $   15.00   $   263.73   $ 194.50   $   458.23
   9/8/2019 Wilbert Taveras                              $11.00   55.28   $   15.00   $   221.13   $ 114.63   $   335.76
 10/29/2017 William De La Cruz                           $11.00   54.40   $   11.00                $ 79.20    $    79.20
  11/5/2017 William De La Cruz                           $11.00   44.18   $   11.00                $ 23.01    $    23.01
 11/12/2017 William De La Cruz                           $11.00   54.00   $   11.00                $ 77.00    $    77.00
  4/29/2018 William Espinal                              $10.00   56.80   $   13.00   $   170.40   $ 109.20   $   279.60
   5/6/2018 William Espinal                              $10.00   56.90   $   13.00   $   170.70   $ 109.85   $   280.55
  5/13/2018 William Espinal                              $10.00   46.50   $   13.00   $   139.50   $ 42.25    $   181.75
  5/20/2018 William Espinal                              $10.00   54.53   $   13.00   $   163.60   $ 94.47    $   258.07
  5/27/2018 William Espinal                              $10.00   47.48   $   13.00   $   142.45   $ 48.64    $   191.09
   6/3/2018 William Espinal                              $10.00   46.57   $   13.00   $   139.70   $ 42.68    $   182.38
  6/10/2018 William Espinal                              $10.00   53.00   $   13.00   $   159.00   $ 84.50    $   243.50
  6/17/2018 William Espinal                              $10.00   56.97   $   13.00   $   170.90   $ 110.28   $   281.18
  6/24/2018 William Espinal                              $10.00   54.17   $   13.00   $   162.50   $ 92.08    $   254.58
   7/1/2018 William Espinal                              $10.00   43.85   $   13.00   $   131.55   $ 25.03    $   156.58
  7/15/2018 William Espinal                              $10.00   50.15   $   13.00   $   150.45   $ 65.98    $   216.43
  7/29/2018 William Espinal                              $10.00   42.88   $   13.00   $   128.65   $ 18.74    $   147.39
  8/19/2018 William Espinal                              $10.00   49.98   $   13.00   $   149.95   $ 64.89    $   214.84
  8/26/2018 William Espinal                              $10.00   41.95   $   13.00   $   125.85   $ 12.68    $   138.53
   9/2/2018 William Espinal                              $10.00   47.00   $   13.00   $   141.00   $ 45.50    $   186.50
   9/9/2018 William Espinal                              $10.00   45.08   $   13.00   $   135.25   $ 33.04    $   168.29
  9/16/2018 William Espinal                              $10.00   41.97   $   13.00   $   125.90   $ 12.78    $   138.68
  1/13/2019 William Jose Garcia Bello                    $15.00   65.93   $   15.00                $ 194.50   $   194.50
  1/20/2019 William Jose Garcia Bello                    $15.00   55.75   $   15.00                $ 118.13   $   118.13
  1/27/2019 William Jose Garcia Bello                    $10.50   54.97   $   15.00   $   247.35   $ 112.25   $   359.60
   2/3/2019 William Jose Garcia Bello                    $10.50   54.08   $   15.00   $   243.38   $ 105.63   $   349.00
  2/10/2019 William Jose Garcia Bello                    $10.50   53.53   $   15.00   $   240.90   $ 101.50   $   342.40
  2/17/2019 William Jose Garcia Bello                    $10.50   53.77   $   15.00   $   241.95   $ 103.25   $   345.20
  2/24/2019 William Jose Garcia Bello                    $10.50   54.50   $   15.00   $   245.25   $ 108.75   $   354.00
   3/3/2019 William Jose Garcia Bello                    $10.50   55.23   $   15.00   $   248.55   $ 114.25   $   362.80
  3/10/2019 William Jose Garcia Bello                    $10.50   53.80   $   15.00   $   242.10   $ 103.50   $   345.60
  3/17/2019 William Jose Garcia Bello                    $10.50   54.22   $   15.00   $   243.98   $ 106.63   $   350.60
  3/24/2019 William Jose Garcia Bello                    $10.50   52.03   $   15.00   $   234.15   $ 90.25    $   324.40
  3/31/2019 William Jose Garcia Bello                    $10.50   55.65   $   15.00   $   250.43   $ 117.38   $   367.80
   4/7/2019 William Jose Garcia Bello                    $10.50   52.08   $   15.00   $   234.38   $ 90.63    $   325.00
  4/14/2019 William Jose Garcia Bello                    $10.50   51.10   $   15.00   $   229.95   $ 83.25    $   313.20
  4/21/2019 William Jose Garcia Bello                    $10.50   49.05   $   15.00   $   220.73   $ 67.88    $   288.60
  4/28/2019 William Jose Garcia Bello                    $10.50   49.93   $   15.00   $   224.70   $ 74.50    $   299.20
  5/12/2019 William Jose Garcia Bello                    $10.50   42.33   $   15.00   $   190.50   $ 17.50    $   208.00
  12/3/2017 William Sandoval                             $11.00   56.07   $   11.00                $ 88.37    $    88.37
 12/10/2017 William Sandoval                             $11.00   55.90   $   11.00                $ 87.45    $    87.45
 12/17/2017 William Sandoval                             $11.00   55.20   $   11.00                $ 83.60    $    83.60
 12/24/2017 William Sandoval                             $11.00   57.50   $   11.00                $ 96.25    $    96.25
 12/31/2017 William Sandoval                             $11.00   45.98   $   13.00   $    91.97   $ 38.89    $   130.86
   1/7/2018 William Sandoval                             $13.00   46.52   $   13.00                $ 42.36    $    42.36
  1/14/2018 William Sandoval                             $13.00   57.57   $   13.00                $ 114.18   $   114.18
  1/21/2018 William Sandoval                             $13.00   60.02   $   13.00                $ 130.11   $   130.11
  1/28/2018 William Sandoval                             $13.00   61.35   $   13.00                $ 138.78   $   138.78
   2/4/2018 William Sandoval                             $13.00   60.70   $   13.00                $ 134.55   $   134.55



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   Week                                                            State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
  Ending                       Name                              Minimum Regular Half-time Overtime Back
                                                    Rate Week
   Date                                                           Wage   Rate Due     Due       Wages Due

  2/11/2018 William Sandoval                        $13.00   60.88   $   13.00              $ 135.74   $   135.74
  2/18/2018 William Sandoval                        $13.00   60.33   $   13.00              $ 132.17   $   132.17
  2/25/2018 William Sandoval                        $13.00   61.10   $   13.00              $ 137.15   $   137.15
   6/2/2019 William Sandoval                        $15.00   53.00   $   15.00              $ 97.50    $    97.50
  6/16/2019 William Sandoval                        $15.00   66.60   $   15.00              $ 199.50   $   199.50
  6/23/2019 William Sandoval                        $15.00   66.27   $   15.00              $ 197.00   $   197.00
  6/30/2019 William Sandoval                        $15.00   66.42   $   15.00              $ 198.13   $   198.13
   7/7/2019 William Sandoval                         $9.50   54.72   $   15.00   $ 300.94   $ 110.38   $   411.32
  7/14/2019 William Sandoval                         $9.50   66.43   $   15.00   $ 365.38   $ 198.25   $   563.63
  7/21/2019 William Sandoval                         $9.50   66.20   $   15.00   $ 364.10   $ 196.50   $   560.60
  7/28/2019 William Sandoval                         $9.50   66.53   $   15.00   $ 365.93   $ 199.00   $   564.93
   8/4/2019 William Sandoval                         $9.50   66.35   $   15.00   $ 364.93   $ 197.63   $   562.55
  8/11/2019 William Sandoval                         $9.50   66.08   $   15.00   $ 363.46   $ 195.63   $   559.08
  8/18/2019 William Sandoval                         $9.50   66.28   $   15.00   $ 364.56   $ 197.13   $   561.68
  8/25/2019 William Sandoval                         $9.50   65.85   $   15.00   $ 362.18   $ 193.88   $   556.05
   9/1/2019 William Sandoval                         $9.50   66.10   $   15.00   $ 363.55   $ 195.75   $   559.30
   9/8/2019 William Sandoval                         $9.50   45.77   $   15.00   $ 251.72   $ 43.25    $   294.97
   6/4/2017 Willy Morel                              $9.00   47.97   $   11.00   $ 95.93    $ 43.82    $   139.75
  6/11/2017 Willy Morel                              $9.00   51.37   $   11.00   $ 102.73   $ 62.52    $   165.25
  6/18/2017 Willy Morel                              $9.00   51.17   $   11.00   $ 102.33   $ 61.42    $   163.75
  6/25/2017 Willy Morel                              $9.00   52.02   $   11.00   $ 104.03   $ 66.09    $   170.13
  2/26/2017 Wilmer Gomez                            $11.00   49.95   $   11.00              $ 54.73    $    54.73
   3/5/2017 Wilmer Gomez                            $11.00   52.20   $   11.00              $ 67.10    $    67.10
  3/12/2017 Wilmer Gomez                            $11.00   47.58   $   11.00              $ 41.71    $    41.71
  3/19/2017 Wilmer Gomez                            $11.00   44.30   $   11.00              $ 23.65    $    23.65
  3/26/2017 Wilmer Gomez                            $11.00   47.37   $   11.00              $ 40.52    $    40.52
   4/2/2017 Wilmer Gomez                            $11.00   59.93   $   11.00              $ 109.63   $   109.63
   4/9/2017 Wilmer Gomez                            $11.00   55.67   $   11.00              $ 86.17    $    86.17
  4/16/2017 Wilmer Gomez                            $11.00   55.90   $   11.00              $ 87.45    $    87.45
  4/23/2017 Wilmer Gomez                            $11.00   50.43   $   11.00              $ 57.38    $    57.38
  4/30/2017 Wilmer Gomez                            $11.00   59.13   $   11.00              $ 105.23   $   105.23
   5/7/2017 Wilmer Gomez                            $11.00   54.70   $   11.00              $ 80.85    $    80.85
  5/14/2017 Wilmer Gomez                            $11.00   45.83   $   11.00              $ 32.08    $    32.08
  5/21/2017 Wilmer Gomez                            $11.00   59.37   $   11.00              $ 106.52   $   106.52
  5/28/2017 Wilmer Gomez                            $11.00   46.57   $   11.00              $ 36.12    $    36.12
   6/4/2017 Wilmer Gomez                            $11.00   48.52   $   11.00              $ 46.84    $    46.84
  6/11/2017 Wilmer Gomez                            $11.00   49.05   $   11.00              $ 49.78    $    49.78
  6/25/2017 Wilmer Gomez                            $11.00   62.33   $   11.00              $ 122.83   $   122.83
   7/2/2017 Wilmer Gomez                            $11.00   62.15   $   11.00              $ 121.83   $   121.83
   7/9/2017 Wilmer Gomez                            $11.00   46.83   $   11.00              $ 37.58    $    37.58
  7/16/2017 Wilmer Gomez                            $11.00   55.03   $   11.00              $ 82.68    $    82.68
  7/23/2017 Wilmer Gomez                            $11.00   55.98   $   11.00              $ 87.91    $    87.91
  7/30/2017 Wilmer Gomez                            $11.00   55.28   $   11.00              $ 84.06    $    84.06
   8/6/2017 Wilmer Gomez                            $11.00   56.35   $   11.00              $ 89.93    $    89.93
  8/13/2017 Wilmer Gomez                            $11.00   53.45   $   11.00              $ 73.98    $    73.98
  8/20/2017 Wilmer Gomez                            $11.00   50.68   $   11.00              $ 58.76    $    58.76
  8/27/2017 Wilmer Gomez                            $11.00   55.80   $   11.00              $ 86.90    $    86.90
   9/3/2017 Wilmer Gomez                            $11.00   58.22   $   11.00              $ 100.19   $   100.19
  9/17/2017 Wilmer Gomez                            $11.00   57.32   $   11.00              $ 95.24    $    95.24
  9/24/2017 Wilmer Gomez                            $11.00   53.58   $   11.00              $ 74.71    $    74.71
  10/1/2017 Wilmer Gomez                            $11.00   59.92   $   11.00              $ 109.54   $   109.54
 10/15/2017 Wilmer Gomez                            $11.00   58.28   $   11.00              $ 100.56   $   100.56
 10/22/2017 Wilmer Gomez                            $11.00   42.80   $   11.00              $ 15.40    $    15.40
 10/29/2017 Wilmer Gomez                            $11.00   55.52   $   11.00              $ 85.34    $    85.34
  11/5/2017 Wilmer Gomez                            $11.00   55.02   $   11.00              $ 82.59    $    82.59
 11/12/2017 Wilmer Gomez                            $11.00   54.55   $   11.00              $ 80.03    $    80.03
 11/19/2017 Wilmer Gomez                            $11.00   41.28   $   11.00              $   7.06   $     7.06
 11/26/2017 Wilmer Gomez                            $11.00   46.93   $   11.00              $ 38.13    $    38.13



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                                               Exhibit 3
                                      New York City Computations


   Week                                                            State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
  Ending                       Name                              Minimum Regular Half-time Overtime Back
                                                    Rate Week
   Date                                                           Wage   Rate Due     Due       Wages Due

  12/3/2017 Wilmer Gomez                            $11.00   59.33   $   11.00              $ 106.33   $   106.33
 12/10/2017 Wilmer Gomez                            $11.00   56.20   $   11.00              $ 89.10    $    89.10
 12/24/2017 Wilmer Gomez                            $11.00   54.05   $   11.00              $ 77.28    $    77.28
 12/31/2017 Wilmer Gomez                            $11.00   50.50   $   13.00   $ 101.00   $ 68.25    $   169.25
   1/7/2018 Wilmer Gomez                            $11.00   43.42   $   13.00   $ 86.83    $ 22.21    $   109.04
  1/14/2018 Wilmer Gomez                            $11.00   45.15   $   13.00   $ 90.30    $ 33.48    $   123.78
  1/21/2018 Wilmer Gomez                            $11.00   49.53   $   13.00   $ 99.07    $ 61.97    $   161.03
  1/28/2018 Wilmer Gomez                            $11.00   54.20   $   13.00   $ 108.40   $ 92.30    $   200.70
   2/4/2018 Wilmer Gomez                            $11.00   51.95   $   13.00   $ 103.90   $ 77.68    $   181.58
  2/11/2018 Wilmer Gomez                            $11.00   44.43   $   13.00   $ 88.87    $ 28.82    $   117.68
  2/18/2018 Wilmer Gomez                            $11.00   56.57   $   13.00   $ 113.13   $ 107.68   $   220.82
  2/25/2018 Wilmer Gomez                            $11.00   56.33   $   13.00   $ 112.67   $ 106.17   $   218.83
   3/4/2018 Wilmer Gomez                            $11.00   47.23   $   13.00   $ 94.47    $ 47.02    $   141.48
  5/21/2017 Wilson Rodriguez                         $9.00   46.68   $   11.00   $ 93.37    $ 36.76    $   130.13
  5/28/2017 Wilson Rodriguez                         $9.00   64.42   $   11.00   $ 128.83   $ 134.29   $   263.13
   6/4/2017 Wilson Rodriguez                         $9.00   74.57   $   11.00   $ 149.13   $ 190.12   $   339.25
  6/11/2017 Wilson Rodriguez                         $9.00   73.35   $   11.00   $ 146.70   $ 183.43   $   330.13
  6/18/2017 Wilson Rodriguez                         $9.00   63.43   $   11.00   $ 126.87   $ 128.88   $   255.75
  6/25/2017 Wilson Rodriguez                         $9.00   60.98   $   11.00   $ 121.97   $ 115.41   $   237.38
   7/2/2017 Wilson Rodriguez                         $9.00   71.22   $   11.00   $ 142.43   $ 171.69   $   314.13
   7/9/2017 Wilson Rodriguez                         $9.00   71.63   $   11.00   $ 143.27   $ 173.98   $   317.25
  7/16/2017 Wilson Rodriguez                         $9.00   55.68   $   11.00   $ 111.37   $ 86.26    $   197.63
  7/23/2017 Wilson Rodriguez                         $9.00   73.30   $   11.00   $ 146.60   $ 183.15   $   329.75
  7/30/2017 Wilson Rodriguez                         $9.00   74.63   $   11.00   $ 149.27   $ 190.48   $   339.75
   8/6/2017 Wilson Rodriguez                         $9.00   68.80   $   11.00   $ 137.60   $ 158.40   $   296.00
  8/13/2017 Wilson Rodriguez                         $9.00   76.22   $   11.00   $ 152.43   $ 199.19   $   351.63
  8/20/2017 Wilson Rodriguez                         $9.00   60.85   $   11.00   $ 121.70   $ 114.68   $   236.38
   2/5/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  2/12/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  2/19/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  2/26/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
   3/5/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  3/12/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  3/19/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  3/26/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
   4/2/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
   4/9/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  4/16/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  4/23/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  4/30/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
   5/7/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  5/14/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  5/21/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  5/28/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
   6/4/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  6/11/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  6/18/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  6/25/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
   7/2/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
   7/9/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  7/16/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  7/23/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  7/30/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
   8/6/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  8/13/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  8/20/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
  8/27/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00
   9/3/2017 Wilson Rolon                            $11.00   60.00   $   11.00              $ 110.00   $   110.00



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   Week                                                                  State Section 7: Section 7: Total Section 7
                                                         Hourly Hours/
  Ending                             Name                              Minimum Regular Half-time Overtime Back
                                                          Rate Week
   Date                                                                 Wage   Rate Due     Due       Wages Due

  9/10/2017 Wilson Rolon                                  $11.00   60.00   $   11.00       $ 110.00   $      110.00
  9/17/2017 Wilson Rolon                                  $11.00   60.00   $   11.00       $ 110.00   $      110.00
  9/24/2017 Wilson Rolon                                  $11.00   60.00   $   11.00       $ 110.00   $      110.00
  10/1/2017 Wilson Rolon                                  $11.00   60.00   $   11.00       $ 110.00   $      110.00
  10/8/2017 Wilson Rolon                                  $11.00   60.00   $   11.00       $ 110.00   $      110.00
 10/15/2017 Wilson Rolon                                  $11.00   60.00   $   11.00       $ 110.00   $      110.00
 10/22/2017 Wilson Rolon                                  $11.00   60.00   $   11.00       $ 110.00   $      110.00
 10/29/2017 Wilson Rolon                                  $11.00   60.00   $   11.00       $ 110.00   $      110.00
  11/5/2017 Wilson Rolon                                  $11.00   60.00   $   11.00       $ 110.00   $      110.00
 11/12/2017 Wilson Rolon                                  $11.00   60.00   $   11.00       $ 110.00   $      110.00
 11/19/2017 Wilson Rolon                                  $11.00   60.00   $   11.00       $ 110.00   $      110.00
 11/26/2017 Wilson Rolon                                  $11.00   60.00   $   11.00       $ 110.00   $      110.00
  12/3/2017 Wilson Rolon                                  $11.00   60.00   $   11.00       $ 110.00   $      110.00
 12/10/2017 Wilson Rolon                                  $11.00   60.00   $   11.00       $ 110.00   $      110.00
 12/17/2017 Wilson Rolon                                  $11.00   60.00   $   11.00       $ 110.00   $      110.00
 12/24/2017 Wilson Rolon                                  $11.00   60.00   $   11.00       $ 110.00   $      110.00
 12/31/2017 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
   1/7/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  1/14/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  1/21/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  1/28/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
   2/4/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  2/11/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  2/18/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  2/25/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
   3/4/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  3/11/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  3/18/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  3/25/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
   4/1/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
   4/8/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  4/15/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  4/22/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  4/29/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
   5/6/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  5/13/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  5/20/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  5/27/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
   6/3/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  6/10/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  6/17/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  6/24/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
   7/1/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
   7/8/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  7/15/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  7/22/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  7/29/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
   8/5/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  8/12/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  8/19/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  8/26/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
   9/2/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
   9/9/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  9/16/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  9/23/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  9/30/2018 Wilson Rolon                                  $13.00   60.00   $   13.00       $ 130.00   $      130.00
  9/10/2017 Winston Jose Placencia                        $11.50   42.08   $   11.00       $ 11.98    $       11.98
  9/17/2017 Winston Jose Placencia                        $11.50   57.08   $   11.00       $ 98.23    $       98.23



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   Week                                                                  State Section 7: Section 7: Total Section 7
                                                         Hourly Hours/
  Ending                             Name                              Minimum Regular Half-time Overtime Back
                                                          Rate Week
   Date                                                                 Wage   Rate Due     Due       Wages Due

  9/24/2017 Winston Jose Placencia                        $11.50   57.42   $   11.00               $ 100.15   $   100.15
  10/1/2017 Winston Jose Placencia                        $11.50   56.38   $   11.00               $ 94.20    $    94.20
  10/8/2017 Winston Jose Placencia                        $11.50   57.58   $   11.00               $ 101.10   $   101.10
 10/15/2017 Winston Jose Placencia                        $11.50   56.95   $   11.00               $ 97.46    $    97.46
 10/22/2017 Winston Jose Placencia                        $11.50   53.78   $   11.00               $ 79.25    $    79.25
 10/29/2017 Winston Jose Placencia                        $11.50   56.42   $   11.00               $ 94.40    $    94.40
  11/5/2017 Winston Jose Placencia                        $11.50   56.65   $   11.00               $ 95.74    $    95.74
 11/12/2017 Winston Jose Placencia                        $11.50   56.93   $   11.00               $ 97.37    $    97.37
 11/19/2017 Winston Jose Placencia                        $11.50   55.85   $   11.00               $ 91.14    $    91.14
  12/3/2017 Winston Jose Placencia                        $11.50   56.70   $   11.00               $ 96.03    $    96.03
 12/10/2017 Winston Jose Placencia                        $11.50   57.17   $   11.00               $ 98.71    $    98.71
 12/17/2017 Winston Jose Placencia                        $11.50   60.40   $   11.00               $ 117.30   $   117.30
 12/24/2017 Winston Jose Placencia                        $11.50   56.73   $   11.00               $ 96.22    $    96.22
 12/31/2017 Winston Jose Placencia                        $11.50   46.02   $   13.00   $   69.03   $ 39.11    $   108.13
   1/7/2018 Winston Jose Placencia                        $11.50   43.32   $   13.00   $   64.98   $ 21.56    $    86.53
  1/14/2018 Winston Jose Placencia                        $11.50   53.43   $   13.00   $   80.15   $ 87.32    $   167.47
  1/21/2018 Winston Jose Placencia                        $11.50   58.35   $   13.00   $   87.53   $ 119.28   $   206.80
  1/28/2018 Winston Jose Placencia                        $11.50   48.27   $   13.00   $   72.40   $ 53.73    $   126.13
   2/4/2018 Winston Jose Placencia                        $11.50   48.82   $   13.00   $   73.23   $ 57.31    $   130.53
  2/11/2018 Winston Jose Placencia                        $11.50   58.02   $   13.00   $   87.03   $ 117.11   $   204.13
  2/18/2018 Winston Jose Placencia                        $11.50   53.70   $   13.00   $   80.55   $ 89.05    $   169.60
  2/25/2018 Winston Jose Placencia                        $11.50   57.20   $   13.00   $   85.80   $ 111.80   $   197.60
   3/4/2018 Winston Jose Placencia                        $11.50   58.45   $   13.00   $   87.68   $ 119.93   $   207.60
  3/25/2018 Winston Jose Placencia                        $11.50   55.53   $   13.00   $   83.30   $ 100.97   $   184.27
   4/1/2018 Winston Jose Placencia                        $11.50   58.28   $   13.00   $   87.43   $ 118.84   $   206.27
   4/8/2018 Winston Jose Placencia                        $11.50   57.30   $   13.00   $   85.95   $ 112.45   $   198.40
  4/15/2018 Winston Jose Placencia                        $11.50   57.78   $   13.00   $   86.68   $ 115.59   $   202.27
  4/22/2018 Winston Jose Placencia                        $11.50   58.23   $   13.00   $   87.35   $ 118.52   $   205.87
  4/29/2018 Winston Jose Placencia                        $11.50   57.93   $   13.00   $   86.90   $ 116.57   $   203.47
   5/6/2018 Winston Jose Placencia                        $11.50   59.12   $   13.00   $   88.68   $ 124.26   $   212.93
  5/13/2018 Winston Jose Placencia                        $11.50   58.78   $   13.00   $   88.18   $ 122.09   $   210.27
  5/20/2018 Winston Jose Placencia                        $11.50   60.55   $   13.00   $   90.83   $ 133.58   $   224.40
  5/27/2018 Winston Jose Placencia                        $11.50   58.08   $   13.00   $   87.13   $ 117.54   $   204.67
   6/3/2018 Winston Jose Placencia                        $11.50   48.50   $   13.00   $   72.75   $ 55.25    $   128.00
  6/10/2018 Winston Jose Placencia                        $11.50   50.32   $   13.00   $   75.48   $ 67.06    $   142.53
  6/17/2018 Winston Jose Placencia                        $11.50   42.32   $   13.00   $   63.48   $ 15.06    $    78.53
  6/24/2018 Winston Jose Placencia                        $11.50   60.40   $   13.00   $   90.60   $ 132.60   $   223.20
   7/1/2018 Winston Jose Placencia                        $11.50   40.07   $   13.00   $   60.10   $   0.43   $    60.53
   7/8/2018 Winston Jose Placencia                        $11.50   53.93   $   13.00   $   80.90   $ 90.57    $   171.47
  7/15/2018 Winston Jose Placencia                        $11.50   45.47   $   13.00   $   68.20   $ 35.53    $   103.73
  7/22/2018 Winston Jose Placencia                        $11.50   61.43   $   13.00   $   92.15   $ 139.32   $   231.47
  7/29/2018 Winston Jose Placencia                        $11.50   60.83   $   13.00   $   91.25   $ 135.42   $   226.67
   8/5/2018 Winston Jose Placencia                        $11.50   60.77   $   13.00   $   91.15   $ 134.98   $   226.13
  8/12/2018 Winston Jose Placencia                        $11.50   60.30   $   13.00   $   90.45   $ 131.95   $   222.40
  8/19/2018 Winston Jose Placencia                        $11.50   61.62   $   13.00   $   92.43   $ 140.51   $   232.93
  8/26/2018 Winston Jose Placencia                        $11.50   61.02   $   13.00   $   91.53   $ 136.61   $   228.13
   9/2/2018 Winston Jose Placencia                        $11.50   65.50   $   13.00   $   98.25   $ 165.75   $   264.00
   9/9/2018 Winston Jose Placencia                        $12.50   66.33   $   13.00   $   33.17   $ 171.17   $   204.33
  9/16/2018 Winston Jose Placencia                        $12.50   67.33   $   13.00   $   33.67   $ 177.67   $   211.33
  9/23/2018 Winston Jose Placencia                        $12.50   66.53   $   13.00   $   33.27   $ 172.47   $   205.73
  9/30/2018 Winston Jose Placencia                        $12.50   54.57   $   13.00   $   27.28   $ 94.68    $   121.97
  10/7/2018 Winston Jose Placencia                        $12.50   61.33   $   13.00   $   30.67   $ 138.67   $   169.33
 10/28/2018 Winston Jose Placencia                        $12.50   61.33   $   13.00   $   30.67   $ 138.67   $   169.33
  11/4/2018 Winston Jose Placencia                        $12.50   60.50   $   13.00   $   30.25   $ 133.25   $   163.50
 11/11/2018 Winston Jose Placencia                        $12.50   64.42   $   13.00   $   32.21   $ 158.71   $   190.92
 11/18/2018 Winston Jose Placencia                        $12.50   70.07   $   13.00   $   35.03   $ 195.43   $   230.47
 11/25/2018 Winston Jose Placencia                        $12.50   53.60   $   13.00   $   26.80   $ 88.40    $   115.20
  12/2/2018 Winston Jose Placencia                        $12.50   69.55   $   13.00   $   34.78   $ 192.08   $   226.85



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                                                      Exhibit 3
                                             New York City Computations


   Week                                                                   State Section 7: Section 7: Total Section 7
                                                          Hourly Hours/
  Ending                            Name                                Minimum Regular Half-time Overtime Back
                                                           Rate Week
   Date                                                                  Wage   Rate Due     Due       Wages Due

  12/9/2018 Winston Jose Placencia                         $12.50   71.02   $   13.00   $ 35.51    $ 201.61   $   237.12
 12/16/2018 Winston Jose Placencia                         $12.50   71.13   $   13.00   $ 35.57    $ 202.37   $   237.93
 12/23/2018 Winston Jose Placencia                         $12.50   67.63   $   13.00   $ 33.82    $ 179.62   $   213.43
 12/30/2018 Winston Jose Placencia                         $12.50   49.88   $   13.00   $ 24.94    $ 64.24    $    89.18
   1/6/2019 Winston Jose Placencia                         $12.50   51.22   $   15.00   $ 128.04   $ 84.13    $   212.17
  1/13/2019 Winston Jose Placencia                         $12.50   65.03   $   15.00   $ 162.58   $ 187.75   $   350.33
  1/20/2019 Winston Jose Placencia                         $12.50   64.17   $   15.00   $ 160.42   $ 181.25   $   341.67
  1/27/2019 Winston Jose Placencia                         $12.50   59.52   $   15.00   $ 148.79   $ 146.38   $   295.17
   2/3/2019 Winston Jose Placencia                         $12.50   59.82   $   15.00   $ 149.54   $ 148.63   $   298.17
  2/10/2019 Winston Jose Placencia                         $12.50   66.88   $   15.00   $ 167.21   $ 201.63   $   368.83
  2/17/2019 Winston Jose Placencia                         $12.50   63.58   $   15.00   $ 158.96   $ 176.88   $   335.83
  2/24/2019 Winston Jose Placencia                         $12.50   67.67   $   15.00   $ 169.17   $ 207.50   $   376.67
   3/3/2019 Winston Jose Placencia                         $12.50   69.62   $   15.00   $ 174.04   $ 222.13   $   396.17
  3/10/2019 Winston Jose Placencia                         $12.50   69.17   $   15.00   $ 172.92   $ 218.75   $   391.67
  3/17/2019 Winston Jose Placencia                         $12.50   66.20   $   15.00   $ 165.50   $ 196.50   $   362.00
  3/24/2019 Winston Jose Placencia                         $12.50   69.00   $   15.00   $ 172.50   $ 217.50   $   390.00
  3/31/2019 Winston Jose Placencia                         $12.50   65.72   $   15.00   $ 164.29   $ 192.88   $   357.17
   4/7/2019 Winston Jose Placencia                         $12.50   70.37   $   15.00   $ 175.92   $ 227.75   $   403.67
  4/14/2019 Winston Jose Placencia                         $12.50   61.58   $   15.00   $ 153.96   $ 161.88   $   315.83
  4/21/2019 Winston Jose Placencia                         $12.50   68.12   $   15.00   $ 170.29   $ 210.88   $   381.17
  4/28/2019 Winston Jose Placencia                         $12.50   65.65   $   15.00   $ 164.13   $ 192.38   $   356.50
   5/5/2019 Winston Jose Placencia                         $12.50   68.52   $   15.00   $ 171.29   $ 213.88   $   385.17
  5/12/2019 Winston Jose Placencia                         $12.50   69.63   $   15.00   $ 174.08   $ 222.25   $   396.33
  5/19/2019 Winston Jose Placencia                         $12.50   69.63   $   15.00   $ 174.08   $ 222.25   $   396.33
  5/26/2019 Winston Jose Placencia                         $12.50   69.35   $   15.00   $ 173.38   $ 220.13   $   393.50
   6/2/2019 Winston Jose Placencia                         $12.50   58.00   $   15.00   $ 145.00   $ 135.00   $   280.00
   6/9/2019 Winston Jose Placencia                         $12.50   69.68   $   15.00   $ 174.21   $ 222.63   $   396.83
  6/16/2019 Winston Jose Placencia                         $12.50   70.48   $   15.00   $ 176.21   $ 228.63   $   404.83
  6/23/2019 Winston Jose Placencia                         $12.50   66.53   $   15.00   $ 166.33   $ 199.00   $   365.33
  6/30/2019 Winston Jose Placencia                         $12.50   73.83   $   15.00   $ 184.58   $ 253.75   $   438.33
   7/7/2019 Winston Jose Placencia - Valet                 $12.50   58.62   $   15.00   $ 146.54   $ 139.63   $   286.17
  7/14/2019 Winston Jose Placencia - Valet                 $12.50   71.27   $   15.00   $ 178.17   $ 234.50   $   412.67
  7/21/2019 Winston Jose Placencia - Valet                 $12.50   71.80   $   15.00   $ 179.50   $ 238.50   $   418.00
  7/28/2019 Winston Jose Placencia - Valet                 $12.50   71.85   $   15.00   $ 179.63   $ 238.88   $   418.50
   8/4/2019 Winston Jose Placencia - Valet                 $12.50   69.12   $   15.00   $ 172.79   $ 218.38   $   391.17
  8/11/2019 Winston Jose Placencia - Valet                 $12.50   65.13   $   15.00   $ 162.83   $ 188.50   $   351.33
  8/18/2019 Winston Jose Placencia - Valet                 $12.50   68.23   $   15.00   $ 170.58   $ 211.75   $   382.33
  8/25/2019 Winston Jose Placencia - Valet                 $12.50   59.97   $   15.00   $ 149.92   $ 149.75   $   299.67
   9/1/2019 Winston Jose Placencia - Valet                 $12.50   69.52   $   15.00   $ 173.79   $ 221.38   $   395.17
   9/8/2019 Winston Jose Placencia - Valet                 $12.50   57.17   $   15.00   $ 142.92   $ 128.75   $   271.67
  9/15/2019 Winston Jose Placencia - Valet                 $12.50   63.43   $   15.00   $ 158.58   $ 175.75   $   334.33
  9/22/2019 Winston Jose Placencia - Valet                 $12.50   66.52   $   15.00   $ 166.29   $ 198.88   $   365.17
  9/29/2019 Winston Jose Placencia - Valet                 $12.50   67.05   $   15.00   $ 167.63   $ 202.88   $   370.50
  10/6/2019 Winston Jose Placencia - Valet                 $12.50   69.68   $   15.00   $ 174.21   $ 222.63   $   396.83
 10/13/2019 Winston Jose Placencia - Valet                 $12.50   44.60   $   15.00   $ 111.50   $ 34.50    $   146.00
 10/20/2019 Winston Jose Placencia - Valet                 $12.50   57.13   $   15.00   $ 142.83   $ 128.50   $   271.33
 10/27/2019 Winston Jose Placencia - Valet                 $12.50   58.80   $   15.00   $ 147.00   $ 141.00   $   288.00
  11/3/2019 Winston Jose Placencia - Valet                 $12.50   67.80   $   15.00   $ 169.50   $ 208.50   $   378.00
 11/10/2019 Winston Jose Placencia - Valet                 $15.00   61.97   $   15.00              $ 164.75   $   164.75
 11/17/2019 Winston Jose Placencia - Valet                 $15.00   52.48   $   15.00              $ 93.63    $    93.63
 11/24/2019 Winston Jose Placencia - Valet                 $15.00   63.20   $   15.00              $ 174.00   $   174.00
  12/8/2019 Winston Jose Placencia - Valet                 $15.00   64.22   $   15.00              $ 181.63   $   181.63
 12/15/2019 Winston Jose Placencia - Valet                 $15.00   59.22   $   15.00              $ 144.13   $   144.13
 12/22/2019 Winston Jose Placencia - Valet                 $15.00   55.72   $   15.00              $ 117.88   $   117.88
 12/29/2019 Winston Jose Placencia - Valet                 $15.00   42.58   $   15.00              $ 19.38    $    19.38
   1/5/2020 Winston Jose Placencia - Valet                 $15.00   44.50   $   15.00              $ 33.75    $    33.75
  1/12/2020 Winston Jose Placencia - Valet                 $15.00   59.67   $   15.00              $ 147.50   $   147.50
  1/19/2020 Winston Jose Placencia - Valet                 $15.00   52.35   $   15.00              $ 92.63    $    92.63



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                                             New York City Computations


   Week                                                                   State Section 7: Section 7: Total Section 7
                                                          Hourly Hours/
  Ending                            Name                                Minimum Regular Half-time Overtime Back
                                                           Rate Week
   Date                                                                  Wage   Rate Due     Due       Wages Due

  1/26/2020 Winston Jose Placencia - Valet                 $15.00   47.72   $   15.00              $ 57.88    $    57.88
 11/11/2018 Winston Placencia-7065                         $16.50   41.50   $   13.00              $ 12.38    $    12.38
  1/20/2019 Winston Placencia-7065                         $16.50   41.87   $   15.00              $ 15.40    $    15.40
   6/4/2017 Yefry Castillo                                 $10.00   56.28   $   11.00   $ 56.28    $ 89.56    $   145.84
  6/11/2017 Yefry Castillo                                 $10.00   64.03   $   11.00   $ 64.03    $ 132.18   $   196.22
  6/18/2017 Yefry Castillo                                 $10.00   61.37   $   11.00   $ 61.37    $ 117.52   $   178.88
  6/25/2017 Yefry Castillo                                 $10.00   56.77   $   11.00   $ 56.77    $ 92.22    $   148.98
   7/2/2017 Yefry Castillo                                 $10.00   60.10   $   11.00   $ 60.10    $ 110.55   $   170.65
  7/16/2017 Yefry Castillo                                 $10.00   48.50   $   11.00   $ 48.50    $ 46.75    $    95.25
  7/23/2017 Yefry Castillo                                 $10.00   60.37   $   11.00   $ 60.37    $ 112.02   $   172.38
   8/6/2017 Yefry Castillo                                 $10.00   66.52   $   11.00   $ 66.52    $ 145.84   $   212.36
  8/13/2017 Yefry Castillo                                 $10.00   68.25   $   11.00   $ 68.25    $ 155.38   $   223.63
  8/20/2017 Yefry Castillo                                 $10.00   67.05   $   11.00   $ 67.05    $ 148.78   $   215.83
  8/27/2017 Yefry Castillo                                 $10.00   67.73   $   11.00   $ 67.73    $ 152.53   $   220.27
  9/10/2017 Yefry Castillo                                 $10.00   51.48   $   11.00   $ 51.48    $ 63.16    $   114.64
  9/17/2017 Yefry Castillo                                 $10.00   64.18   $   11.00   $ 64.18    $ 133.01   $   197.19
  9/24/2017 Yefry Castillo                                 $10.00   67.70   $   11.00   $ 67.70    $ 152.35   $   220.05
  10/1/2017 Yefry Castillo                                 $10.00   51.08   $   11.00   $ 51.08    $ 60.96    $   112.04
  10/8/2017 Yefry Castillo                                 $10.00   53.42   $   11.00   $ 53.42    $ 73.79    $   127.21
 10/22/2017 Yefry Castillo                                 $10.00   53.03   $   11.00   $ 53.03    $ 71.68    $   124.72
 10/29/2017 Yefry Castillo                                 $10.00   53.95   $   11.00   $ 53.95    $ 76.73    $   130.68
  11/5/2017 Yefry Castillo                                 $10.00   60.27   $   11.00   $ 60.27    $ 111.47   $   171.73
 11/12/2017 Yefry Castillo                                 $10.00   44.02   $   11.00   $ 44.02    $ 22.09    $    66.11
 11/19/2017 Yefry Castillo                                 $10.00   51.07   $   11.00   $ 51.07    $ 60.87    $   111.93
  12/3/2017 Yefry Castillo                                 $10.00   51.53   $   11.00   $ 51.53    $ 63.43    $   114.97
 12/10/2017 Yefry Castillo                                 $10.00   54.98   $   11.00   $ 54.98    $ 82.41    $   137.39
 12/17/2017 Yefry Castillo                                 $10.00   68.97   $   11.00   $ 68.97    $ 159.32   $   228.28
 12/24/2017 Yefry Castillo                                 $10.00   51.90   $   11.00   $ 51.90    $ 65.45    $   117.35
   1/7/2018 Yefry Castillo                                 $10.00   41.35   $   13.00   $ 124.05   $   8.78   $   132.83
  1/14/2018 Yefry Castillo                                 $10.00   59.38   $   13.00   $ 178.15   $ 125.99   $   304.14
  1/21/2018 Yefry Castillo                                 $10.00   57.75   $   13.00   $ 173.25   $ 115.38   $   288.63
  1/28/2018 Yefry Castillo                                 $10.00   59.80   $   13.00   $ 179.40   $ 128.70   $   308.10
   2/4/2018 Yefry Castillo                                 $10.00   51.13   $   13.00   $ 153.40   $ 72.37    $   225.77
  2/18/2018 Yefry Castillo                                 $10.00   48.97   $   13.00   $ 146.90   $ 58.28    $   205.18
  2/25/2018 Yefry Castillo                                 $12.00   57.95   $   13.00   $ 57.95    $ 116.68   $   174.63
   3/4/2018 Yefry Castillo                                 $12.00   59.73   $   13.00   $ 59.73    $ 128.27   $   188.00
  3/25/2018 Yefry Castillo                                 $12.00   59.03   $   13.00   $ 59.03    $ 123.72   $   182.75
   4/1/2018 Yefry Castillo                                 $12.00   51.00   $   13.00   $ 51.00    $ 71.50    $   122.50
   4/8/2018 Yefry Castillo                                 $12.00   49.20   $   13.00   $ 49.20    $ 59.80    $   109.00
  4/15/2018 Yefry Castillo                                 $12.00   55.47   $   13.00   $ 55.47    $ 100.53   $   156.00
  4/22/2018 Yefry Castillo                                 $12.00   55.53   $   13.00   $ 55.53    $ 100.97   $   156.50
  4/29/2018 Yefry Castillo                                 $12.00   61.35   $   13.00   $ 61.35    $ 138.78   $   200.13
   5/6/2018 Yefry Castillo                                 $12.00   60.80   $   13.00   $ 60.80    $ 135.20   $   196.00
  5/13/2018 Yefry Castillo                                 $12.00   53.97   $   13.00   $ 53.97    $ 90.78    $   144.75
  5/20/2018 Yefry Castillo                                 $12.00   64.35   $   13.00   $ 64.35    $ 158.28   $   222.63
  5/27/2018 Yefry Castillo                                 $12.00   57.67   $   13.00   $ 57.67    $ 114.83   $   172.50
   6/3/2018 Yefry Castillo                                 $12.00   53.62   $   13.00   $ 53.62    $ 88.51    $   142.13
  6/10/2018 Yefry Castillo                                 $12.00   58.35   $   13.00   $ 58.35    $ 119.28   $   177.63
  6/17/2018 Yefry Castillo                                 $12.00   59.38   $   13.00   $ 59.38    $ 125.99   $   185.38
  6/24/2018 Yefry Castillo                                 $12.00   64.52   $   13.00   $ 64.52    $ 159.36   $   223.88
   7/1/2018 Yefry Castillo                                 $12.00   64.30   $   13.00   $ 64.30    $ 157.95   $   222.25
   7/8/2018 Yefry Castillo                                 $12.00   55.92   $   13.00   $ 55.92    $ 103.46   $   159.38
  7/15/2018 Yefry Castillo                                 $12.00   65.50   $   13.00   $ 65.50    $ 165.75   $   231.25
  7/22/2018 Yefry Castillo                                 $12.00   63.20   $   13.00   $ 63.20    $ 150.80   $   214.00
  7/29/2018 Yefry Castillo                                 $12.00   55.18   $   13.00   $ 55.18    $ 98.69    $   153.88
   8/5/2018 Yefry Castillo                                 $12.00   73.05   $   13.00   $ 73.05    $ 214.83   $   287.88
  8/12/2018 Yefry Castillo                                 $12.00   68.22   $   13.00   $ 68.22    $ 183.41   $   251.63
  8/19/2018 Yefry Castillo                                 $12.00   66.13   $   13.00   $ 66.13    $ 169.87   $   236.00



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   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                     Name                              Minimum Regular Half-time Overtime Back
                                                  Rate Week
   Date                                                         Wage   Rate Due     Due       Wages Due

  8/26/2018 Yefry Castillo                        $12.00   68.55   $   13.00   $ 68.55    $ 185.58   $   254.13
   9/2/2018 Yefry Castillo                        $12.00   54.10   $   13.00   $ 54.10    $ 91.65    $   145.75
   9/9/2018 Yefry Castillo                        $12.00   53.17   $   13.00   $ 53.17    $ 85.58    $   138.75
  9/16/2018 Yefry Castillo                        $12.00   65.52   $   13.00   $ 65.52    $ 165.86   $   231.38
  9/23/2018 Yefry Castillo                        $12.00   65.72   $   13.00   $ 65.72    $ 167.16   $   232.88
  9/30/2018 Yefry Castillo                        $12.00   67.32   $   13.00   $ 67.32    $ 177.56   $   244.88
  10/7/2018 Yefry Castillo                        $12.00   58.58   $   13.00   $ 58.58    $ 120.79   $   179.38
 10/14/2018 Yefry Castillo                        $12.00   65.88   $   13.00   $ 65.88    $ 168.24   $   234.13
 10/21/2018 Yefry Castillo                        $12.00   64.53   $   13.00   $ 64.53    $ 159.47   $   224.00
 10/28/2018 Yefry Castillo                        $12.00   55.00   $   13.00   $ 55.00    $ 97.50    $   152.50
  11/4/2018 Yefry Castillo                        $12.00   66.72   $   13.00   $ 66.72    $ 173.66   $   240.38
 11/11/2018 Yefry Castillo                        $12.00   55.43   $   13.00   $ 55.43    $ 100.32   $   155.75
 11/18/2018 Yefry Castillo                        $12.00   69.45   $   13.00   $ 69.45    $ 191.43   $   260.88
  12/2/2018 Yefry Castillo                        $12.00   70.50   $   13.00   $ 70.50    $ 198.25   $   268.75
  12/9/2018 Yefry Castillo                        $12.00   68.45   $   13.00   $ 68.45    $ 184.93   $   253.38
 12/16/2018 Yefry Castillo                        $12.00   55.32   $   13.00   $ 55.32    $ 99.56    $   154.88
 12/23/2018 Yefry Castillo                        $12.00   71.68   $   13.00   $ 71.68    $ 205.94   $   277.63
   1/6/2019 Yefry Castillo                        $12.00   45.47   $   15.00   $ 136.40   $ 41.00    $   177.40
  1/13/2019 Yefry Castillo                        $12.00   73.98   $   15.00   $ 221.95   $ 254.88   $   476.83
  1/20/2019 Yefry Castillo                        $12.00   70.90   $   15.00   $ 212.70   $ 231.75   $   444.45
  1/27/2019 Yefry Castillo                        $12.00   47.70   $   15.00   $ 143.10   $ 57.75    $   200.85
   2/3/2019 Yefry Castillo                        $12.00   72.68   $   15.00   $ 218.05   $ 245.13   $   463.18
  2/10/2019 Yefry Castillo                        $12.00   67.70   $   15.00   $ 203.10   $ 207.75   $   410.85
  2/17/2019 Yefry Castillo                        $12.00   60.32   $   15.00   $ 180.95   $ 152.38   $   333.33
  2/24/2019 Yefry Castillo                        $12.00   71.20   $   15.00   $ 213.60   $ 234.00   $   447.60
   3/3/2019 Yefry Castillo                        $12.00   60.17   $   15.00   $ 180.50   $ 151.25   $   331.75
  3/10/2019 Yefry Castillo                        $12.00   50.17   $   15.00   $ 150.50   $ 76.25    $   226.75
  3/17/2019 Yefry Castillo                        $12.00   69.80   $   15.00   $ 209.40   $ 223.50   $   432.90
  3/24/2019 Yefry Castillo                        $12.00   70.68   $   15.00   $ 212.05   $ 230.13   $   442.18
  3/31/2019 Yefry Castillo                        $12.00   69.40   $   15.00   $ 208.20   $ 220.50   $   428.70
   4/7/2019 Yefry Castillo                        $12.00   70.30   $   15.00   $ 210.90   $ 227.25   $   438.15
  4/14/2019 Yefry Castillo                        $12.00   54.87   $   15.00   $ 164.60   $ 111.50   $   276.10
  4/21/2019 Yefry Castillo                        $12.00   46.68   $   15.00   $ 140.05   $ 50.13    $   190.18
  4/28/2019 Yefry Castillo                        $12.00   71.00   $   15.00   $ 213.00   $ 232.50   $   445.50
   5/5/2019 Yefry Castillo                        $12.00   65.40   $   15.00   $ 196.20   $ 190.50   $   386.70
  5/12/2019 Yefry Castillo                        $12.00   68.40   $   15.00   $ 205.20   $ 213.00   $   418.20
  5/19/2019 Yefry Castillo                        $12.00   68.05   $   15.00   $ 204.15   $ 210.38   $   414.53
  5/26/2019 Yefry Castillo                        $12.00   71.72   $   15.00   $ 215.15   $ 237.88   $   453.03
   6/9/2019 Yefry Castillo                        $12.00   50.93   $   15.00   $ 152.80   $ 82.00    $   234.80
  6/23/2019 Yefry Castillo                        $12.00   40.92   $   15.00   $ 122.75   $   6.87   $   129.63
  7/21/2019 Yefry Castillo                        $13.00   58.23   $   15.00   $ 116.47   $ 136.75   $   253.22
  7/28/2019 Yefry Castillo                        $13.00   65.90   $   15.00   $ 131.80   $ 194.25   $   326.05
   8/4/2019 Yefry Castillo                        $13.00   68.58   $   15.00   $ 137.17   $ 214.38   $   351.54
  8/11/2019 Yefry Castillo                        $13.00   71.63   $   15.00   $ 143.27   $ 237.25   $   380.52
  8/18/2019 Yefry Castillo                        $13.00   59.92   $   15.00   $ 119.83   $ 149.38   $   269.21
  8/25/2019 Yefry Castillo                        $13.00   70.87   $   15.00   $ 141.73   $ 231.50   $   373.23
   9/1/2019 Yefry Castillo                        $13.00   58.03   $   15.00   $ 116.07   $ 135.25   $   251.32
  9/15/2019 Yefry Castillo                        $13.00   66.85   $   15.00   $ 133.70   $ 201.38   $   335.08
  9/22/2019 Yefry Castillo                        $13.00   67.70   $   15.00   $ 135.40   $ 207.75   $   343.15
  9/29/2019 Yefry Castillo                        $13.00   68.05   $   15.00   $ 136.10   $ 210.38   $   346.48
  10/6/2019 Yefry Castillo                        $13.00   68.67   $   15.00   $ 137.33   $ 215.00   $   352.33
 10/20/2019 Yefry Castillo                        $13.00   58.02   $   15.00   $ 116.03   $ 135.13   $   251.16
 10/27/2019 Yefry Castillo                        $13.00   72.78   $   15.00   $ 145.57   $ 245.88   $   391.44
  11/3/2019 Yefry Castillo                        $13.00   55.32   $   15.00   $ 110.63   $ 114.88   $   225.51
 11/10/2019 Yefry Castillo                        $13.00   65.57   $   15.00   $ 131.13   $ 191.75   $   322.88
 11/17/2019 Yefry Castillo                        $13.00   64.85   $   15.00   $ 129.70   $ 186.38   $   316.08
 11/24/2019 Yefry Castillo                        $13.00   55.73   $   15.00   $ 111.47   $ 118.00   $   229.47
  12/1/2019 Yefry Castillo                        $13.00   52.50   $   15.00   $ 105.00   $ 93.75    $   198.75



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                                                Exhibit 3
                                       New York City Computations


   Week                                                             State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
  Ending                        Name                              Minimum Regular Half-time Overtime Back
                                                     Rate Week
   Date                                                            Wage   Rate Due     Due       Wages Due

  12/8/2019 Yefry Castillo                           $13.00   54.07   $   15.00   $ 108.13     $ 105.50   $   213.63
 12/15/2019 Yefry Castillo                           $13.00   64.20   $   15.00   $ 128.40     $ 181.50   $   309.90
 12/22/2019 Yefry Castillo                           $13.00   63.60   $   15.00   $ 127.20     $ 177.00   $   304.20
 12/29/2019 Yefry Castillo                           $13.00   47.82   $   15.00   $ 95.63      $ 58.63    $   154.26
  1/12/2020 Yefry Castillo                           $13.00   45.07   $   15.00   $ 90.13      $ 38.00    $   128.13
  1/19/2020 Yefry Castillo                           $13.00   67.00   $   15.00   $ 134.00     $ 202.50   $   336.50
  1/26/2020 Yefry Castillo                           $13.00   66.47   $   15.00   $ 132.93     $ 198.50   $   331.43
  2/24/2019 Yerlin Rivera                            $19.00   42.82   $   15.00                $ 26.76    $    26.76
   3/3/2019 Yerlin Rivera                            $19.00   45.97   $   15.00                $ 56.68    $    56.68
  3/10/2019 Yerlin Rivera                            $19.00   47.25   $   15.00                $ 68.88    $    68.88
  3/17/2019 Yerlin Rivera                            $19.00   52.78   $   15.00                $ 121.44   $   121.44
  3/24/2019 Yerlin Rivera                            $19.00   41.47   $   15.00                $ 13.93    $    13.93
  3/31/2019 Yerlin Rivera                            $19.00   47.02   $   15.00                $ 66.66    $    66.66
   4/7/2019 Yerlin Rivera                            $19.00   48.22   $   15.00                $ 78.06    $    78.06
  4/21/2019 Yerlin Rivera                            $19.00   46.35   $   15.00                $ 60.32    $    60.32
  4/28/2019 Yerlin Rivera                            $19.00   49.05   $   15.00                $ 85.98    $    85.98
   5/5/2019 Yerlin Rivera                            $19.00   47.00   $   15.00                $ 66.50    $    66.50
  5/12/2019 Yerlin Rivera                            $19.00   43.87   $   15.00                $ 36.73    $    36.73
  4/21/2019 Yoel Jose Sanchez                         $9.50   65.73   $   15.00   $   361.53   $ 193.00   $   554.53
  4/28/2019 Yoel Jose Sanchez                         $9.50   67.60   $   15.00   $   371.80   $ 207.00   $   578.80
   5/5/2019 Yoel Jose Sanchez                         $9.50   71.58   $   15.00   $   393.71   $ 236.88   $   630.58
  5/12/2019 Yoel Jose Sanchez                         $9.50   77.25   $   15.00   $   424.88   $ 279.38   $   704.25
  5/19/2019 Yoel Jose Sanchez                         $9.50   78.02   $   15.00   $   429.09   $ 285.13   $   714.22
  5/26/2019 Yoel Jose Sanchez                         $9.50   76.13   $   15.00   $   418.73   $ 271.00   $   689.73
   6/2/2019 Yoel Jose Sanchez                         $9.50   73.50   $   15.00   $   404.25   $ 251.25   $   655.50
   6/9/2019 Yoel Jose Sanchez                         $9.50   65.98   $   15.00   $   362.91   $ 194.88   $   557.78
  6/16/2019 Yoel Jose Sanchez                         $9.50   77.75   $   15.00   $   427.63   $ 283.13   $   710.75
  6/23/2019 Yoel Jose Sanchez                         $9.50   78.07   $   15.00   $   429.37   $ 285.50   $   714.87
  6/30/2019 Yoel Jose Sanchez                         $9.50   73.05   $   15.00   $   401.78   $ 247.88   $   649.65
   7/7/2019 Yoel Jose Sanchez                         $9.50   66.13   $   15.00   $   363.73   $ 196.00   $   559.73
  7/14/2019 Yoel Jose Sanchez                         $9.50   79.55   $   15.00   $   437.53   $ 296.63   $   734.15
  7/21/2019 Yoel Jose Sanchez                         $9.50   72.50   $   15.00   $   398.75   $ 243.75   $   642.50
  7/28/2019 Yoel Jose Sanchez                         $9.50   62.87   $   15.00   $   345.77   $ 171.50   $   517.27
   8/4/2019 Yoel Jose Sanchez                         $9.50   56.83   $   15.00   $   312.58   $ 126.25   $   438.83
  8/25/2019 Yoel Jose Sanchez                        $10.00   47.53   $   15.00   $   237.67   $ 56.50    $   294.17
   9/1/2019 Yoel Jose Sanchez                        $10.00   64.75   $   15.00   $   323.75   $ 185.63   $   509.38
   9/8/2019 Yoel Jose Sanchez                        $10.00   54.67   $   15.00   $   273.33   $ 110.00   $   383.33
  9/15/2019 Yoel Jose Sanchez                        $10.00   65.13   $   15.00   $   325.67   $ 188.50   $   514.17
  9/22/2019 Yoel Jose Sanchez                        $10.00   63.15   $   15.00   $   315.75   $ 173.63   $   489.38
  9/29/2019 Yoel Jose Sanchez                        $10.00   47.95   $   15.00   $   239.75   $ 59.63    $   299.38
  10/6/2019 Yoel Jose Sanchez                        $10.00   59.50   $   15.00   $   297.50   $ 146.25   $   443.75
 10/13/2019 Yoel Jose Sanchez                        $10.00   66.48   $   15.00   $   332.42   $ 198.63   $   531.04
 10/20/2019 Yoel Jose Sanchez                        $10.00   60.32   $   15.00   $   301.58   $ 152.38   $   453.96
 10/27/2019 Yoel Jose Sanchez                        $10.00   69.18   $   15.00   $   345.92   $ 218.88   $   564.79
  11/3/2019 Yoel Jose Sanchez                        $10.00   59.82   $   15.00   $   299.08   $ 148.63   $   447.71
 11/10/2019 Yoel Jose Sanchez                        $10.00   60.12   $   15.00   $   300.58   $ 150.88   $   451.46
 11/17/2019 Yoel Jose Sanchez                        $10.00   60.53   $   15.00   $   302.67   $ 154.00   $   456.67
 11/24/2019 Yoel Jose Sanchez                        $10.00   58.88   $   15.00   $   294.42   $ 141.63   $   436.04
  12/1/2019 Yoel Jose Sanchez                        $10.00   55.08   $   15.00   $   275.42   $ 113.13   $   388.54
  12/8/2019 Yoel Jose Sanchez                        $10.00   67.92   $   15.00   $   339.58   $ 209.38   $   548.96
 12/15/2019 Yoel Jose Sanchez                        $10.00   66.88   $   15.00   $   334.42   $ 201.63   $   536.04
 12/22/2019 Yoel Jose Sanchez                        $10.00   65.93   $   15.00   $   329.67   $ 194.50   $   524.17
 12/29/2019 Yoel Jose Sanchez                        $10.00   43.92   $   15.00   $   219.58   $ 29.38    $   248.96
   1/5/2020 Yoel Jose Sanchez                        $10.00   43.37   $   15.00   $   216.83   $ 25.25    $   242.08
  1/12/2020 Yoel Jose Sanchez                        $10.00   67.57   $   15.00   $   337.83   $ 206.75   $   544.58
  1/19/2020 Yoel Jose Sanchez                        $10.00   67.58   $   15.00   $   337.92   $ 206.88   $   544.79
  1/26/2020 Yoel Jose Sanchez                        $10.00   65.07   $   15.00   $   325.33   $ 188.00   $   513.33
   9/3/2017 Yohansi Tobias                            $9.00   54.67   $   11.00   $   109.33   $ 80.67    $   190.00



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                                                         Exhibit 3
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   Week                                                                      State Section 7: Section 7: Total Section 7
                                                             Hourly Hours/
  Ending                            Name                                   Minimum Regular Half-time Overtime Back
                                                              Rate Week
   Date                                                                     Wage   Rate Due     Due       Wages Due

  9/10/2017 Yohansi Tobias                                     $9.00   57.65   $   11.00   $   115.30   $ 97.08    $   212.38
  9/17/2017 Yohansi Tobias                                     $9.00   66.05   $   11.00   $   132.10   $ 143.28   $   275.38
  9/24/2017 Yohansi Tobias                                     $9.00   54.83   $   11.00   $   109.67   $ 81.58    $   191.25
  10/1/2017 Yohansi Tobias                                     $9.00   63.30   $   11.00   $   126.60   $ 128.15   $   254.75
  10/8/2017 Yohansi Tobias                                     $9.00   67.05   $   11.00   $   134.10   $ 148.78   $   282.88
 10/15/2017 Yohansi Tobias                                     $9.00   60.18   $   11.00   $   120.37   $ 111.01   $   231.38
 10/22/2017 Yohansi Tobias                                     $9.00   65.10   $   11.00   $   130.20   $ 138.05   $   268.25
 10/29/2017 Yohansi Tobias                                     $9.00   60.95   $   11.00   $   121.90   $ 115.23   $   237.13
  11/5/2017 Yohansi Tobias                                     $9.00   63.07   $   11.00   $   126.13   $ 126.87   $   253.00
 11/12/2017 Yohansi Tobias                                     $9.00   65.53   $   11.00   $   131.07   $ 140.43   $   271.50
 11/19/2017 Yohansi Tobias                                     $9.00   59.78   $   11.00   $   119.57   $ 108.81   $   228.38
  12/3/2017 Yohansi Tobias                                     $9.00   52.70   $   11.00   $   105.40   $ 69.85    $   175.25
 12/10/2017 Yohansi Tobias                                     $9.00   64.80   $   11.00   $   129.60   $ 136.40   $   266.00
 12/17/2017 Yohansi Tobias                                     $9.00   58.15   $   11.00   $   116.30   $ 99.83    $   216.13
 12/17/2017 Ysidoro J. Rodriguez - Car Washer                 $11.00   40.30   $   11.00                $   1.65   $     1.65
 12/24/2017 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.80   $   11.00                $ 114.40   $   114.40
 12/31/2017 Ysidoro J. Rodriguez - Car Washer                 $11.00   50.32   $   13.00   $ 100.63     $ 67.06    $   167.69
   1/7/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   45.05   $   13.00   $ 90.10      $ 32.83    $   122.93
  1/14/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   63.27   $   13.00   $ 126.53     $ 151.23   $   277.77
  1/21/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.32   $   13.00   $ 122.63     $ 138.56   $   261.19
  1/28/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.80   $   13.00   $ 121.60     $ 135.20   $   256.80
   2/4/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.90   $   13.00   $ 121.80     $ 135.85   $   257.65
  2/11/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.07   $   13.00   $ 122.13     $ 136.93   $   259.07
  2/18/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.12   $   13.00   $ 122.23     $ 137.26   $   259.49
  2/25/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.00   $   13.00   $ 122.00     $ 136.50   $   258.50
   3/4/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   50.57   $   13.00   $ 101.13     $ 68.68    $   169.82
  3/25/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   46.70   $   13.00   $ 93.40      $ 43.55    $   136.95
   4/1/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   52.47   $   13.00   $ 104.93     $ 81.03    $   185.97
   4/8/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   50.68   $   13.00   $ 101.37     $ 69.44    $   170.81
  4/15/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   50.40   $   13.00   $ 100.80     $ 67.60    $   168.40
  4/22/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   50.02   $   13.00   $ 100.03     $ 65.11    $   165.14
  4/29/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   50.62   $   13.00   $ 101.23     $ 69.01    $   170.24
   5/6/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   52.52   $   13.00   $ 105.03     $ 81.36    $   186.39
  5/13/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.58   $   13.00   $ 121.17     $ 133.79   $   254.96
  5/20/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   50.82   $   13.00   $ 101.63     $ 70.31    $   171.94
  5/27/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.85   $   13.00   $ 121.70     $ 135.53   $   257.23
   6/3/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   49.83   $   13.00   $ 99.67      $ 63.92    $   163.58
  6/10/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.47   $   13.00   $ 120.93     $ 133.03   $   253.97
  6/17/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.47   $   13.00   $ 120.93     $ 133.03   $   253.97
  6/24/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.47   $   13.00   $ 122.93     $ 139.53   $   262.47
   7/1/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.48   $   13.00   $ 122.97     $ 139.64   $   262.61
   7/8/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   50.97   $   13.00   $ 101.93     $ 71.28    $   173.22
  7/15/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.53   $   13.00   $ 123.07     $ 139.97   $   263.03
  7/22/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   52.28   $   13.00   $ 104.57     $ 79.84    $   184.41
  7/29/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.93   $   13.00   $ 121.87     $ 136.07   $   257.93
   8/5/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   50.23   $   13.00   $ 100.47     $ 66.52    $   166.98
  8/12/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.78   $   13.00   $ 123.57     $ 141.59   $   265.16
  8/19/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.30   $   13.00   $ 122.60     $ 138.45   $   261.05
  8/26/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.88   $   13.00   $ 121.77     $ 135.74   $   257.51
   9/2/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   51.33   $   13.00   $ 102.67     $ 73.67    $   176.33
   9/9/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   50.90   $   13.00   $ 101.80     $ 70.85    $   172.65
  9/16/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.62   $   13.00   $ 123.23     $ 140.51   $   263.74
  9/23/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.67   $   13.00   $ 123.33     $ 140.83   $   264.17
  9/30/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   62.00   $   13.00   $ 124.00     $ 143.00   $   267.00
  10/7/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.58   $   13.00   $ 123.17     $ 140.29   $   263.46
 10/14/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.42   $   13.00   $ 122.83     $ 139.21   $   262.04
 10/21/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.75   $   13.00   $ 121.50     $ 134.88   $   256.38
 10/28/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.78   $   13.00   $ 121.57     $ 135.09   $   256.66



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                                                         Exhibit 3
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   Week                                                                      State Section 7: Section 7: Total Section 7
                                                             Hourly Hours/
  Ending                            Name                                   Minimum Regular Half-time Overtime Back
                                                              Rate Week
   Date                                                                     Wage   Rate Due     Due       Wages Due

  11/4/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   40.25   $   13.00   $ 80.50    $   1.63   $    82.13
 11/11/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.65   $   13.00   $ 121.30   $ 134.23   $   255.53
 11/18/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.70   $   13.00   $ 121.40   $ 134.55   $   255.95
 11/25/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   40.43   $   13.00   $ 80.87    $   2.82   $    83.68
  12/2/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.75   $   13.00   $ 121.50   $ 134.88   $   256.38
  12/9/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.68   $   13.00   $ 121.37   $ 134.44   $   255.81
 12/16/2018 Ysidoro J. Rodriguez - Car Washer                 $11.00   41.10   $   13.00   $ 82.20    $   7.15   $    89.35
  1/20/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.03   $   15.00   $ 244.13   $ 157.75   $   401.88
  1/27/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.98   $   15.00   $ 243.93   $ 157.38   $   401.31
   2/3/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.12   $   15.00   $ 244.47   $ 158.38   $   402.84
  2/10/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.02   $   15.00   $ 244.07   $ 157.63   $   401.69
  2/17/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.00   $   15.00   $ 244.00   $ 157.50   $   401.50
  2/24/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.80   $   15.00   $ 243.20   $ 156.00   $   399.20
   3/3/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.25   $   15.00   $ 245.00   $ 159.38   $   404.38
  3/10/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.98   $   15.00   $ 243.93   $ 157.38   $   401.31
  3/17/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.07   $   15.00   $ 240.27   $ 150.50   $   390.77
  3/24/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.97   $   15.00   $ 243.87   $ 157.25   $   401.12
  3/31/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.52   $   15.00   $ 246.07   $ 161.38   $   407.44
   4/7/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.95   $   15.00   $ 243.80   $ 157.13   $   400.93
  4/14/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.93   $   15.00   $ 243.73   $ 157.00   $   400.73
  4/21/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.40   $   15.00   $ 245.60   $ 160.50   $   406.10
  4/28/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.75   $   15.00   $ 243.00   $ 155.63   $   398.63
   5/5/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.00   $   15.00   $ 244.00   $ 157.50   $   401.50
  5/12/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.92   $   15.00   $ 243.67   $ 156.88   $   400.54
  5/19/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.47   $   15.00   $ 245.87   $ 161.00   $   406.87
  5/26/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   61.23   $   15.00   $ 244.93   $ 159.25   $   404.18
   6/2/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   50.68   $   15.00   $ 202.73   $ 80.13    $   282.86
   6/9/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.67   $   15.00   $ 242.67   $ 155.00   $   397.67
  6/16/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.93   $   15.00   $ 243.73   $ 157.00   $   400.73
  6/23/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.90   $   15.00   $ 243.60   $ 156.75   $   400.35
  6/30/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.08   $   15.00   $ 240.33   $ 150.63   $   390.96
   7/7/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   49.98   $   15.00   $ 199.93   $ 74.88    $   274.81
  7/14/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.28   $   15.00   $ 241.13   $ 152.13   $   393.26
  7/21/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.50   $   15.00   $ 242.00   $ 153.75   $   395.75
  7/28/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.22   $   15.00   $ 240.87   $ 151.63   $   392.49
   8/4/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.42   $   15.00   $ 241.67   $ 153.13   $   394.79
  8/11/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.47   $   15.00   $ 241.87   $ 153.50   $   395.37
  8/18/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.33   $   15.00   $ 241.33   $ 152.50   $   393.83
  8/25/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.33   $   15.00   $ 241.33   $ 152.50   $   393.83
   9/1/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.47   $   15.00   $ 241.87   $ 153.50   $   395.37
   9/8/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   50.18   $   15.00   $ 200.73   $ 76.37    $   277.11
  9/15/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.58   $   15.00   $ 242.33   $ 154.38   $   396.71
  9/22/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.37   $   15.00   $ 241.47   $ 152.75   $   394.22
  9/29/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.42   $   15.00   $ 241.67   $ 153.13   $   394.79
  10/6/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.25   $   15.00   $ 241.00   $ 151.88   $   392.88
 10/13/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.32   $   15.00   $ 241.27   $ 152.38   $   393.64
 10/20/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   59.38   $   15.00   $ 237.53   $ 145.38   $   382.91
 10/27/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.30   $   15.00   $ 241.20   $ 152.25   $   393.45
  11/3/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   59.90   $   15.00   $ 239.60   $ 149.25   $   388.85
 11/10/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.30   $   15.00   $ 241.20   $ 152.25   $   393.45
 11/24/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.48   $   15.00   $ 241.93   $ 153.63   $   395.56
  12/8/2019 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.37   $   15.00   $ 241.47   $ 152.75   $   394.22
  1/12/2020 Ysidoro J. Rodriguez - Car Washer                 $11.00   50.65   $   15.00   $ 202.60   $ 79.88    $   282.48
  1/19/2020 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.72   $   15.00   $ 242.87   $ 155.38   $   398.24
  1/26/2020 Ysidoro J. Rodriguez - Car Washer                 $11.00   60.95   $   15.00   $ 243.80   $ 157.13   $   400.93




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